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  15
                         IN THE UNITED STATES DISTRICT COURT
  16
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  17

  18

  19   MATTHEW JONES, et al.,                      3:19-cv-01226-L-AHG
  20
                                       Plaintiffs, DECLARATION OF PROFESSOR
  21                                               JOHN J. DONOHUE
                    v.
  22                                               Dept:         5B
  23                                               Judge:        The Honorable M. James
       ROB BONTA, in his official capacity
                                                                 Lorenz and Magistrate
  24   as Attorney General of the State of
                                                                 Judge Alison H. Goddard
       California, et al.,
  25                                                 Action
                                     Defendants.     Filed:      July 1, 2019
  26

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   1                       DECLARATION OF JOHN J. DONOHUE
   2        I, John J. Donohue, declare under penalty of perjury that the following is true
   3   and correct:
   4            1.    I am the C. Wendell and Edith M. Carlsmith Professor of Law at
   5   Stanford Law School. A copy of my complete curriculum vitae (CV) is attached
   6   as Exhibit A. I have personal knowledge of the facts set forth in this declaration,
   7   and if called upon as a witness, I could and would testify competently as to those
   8   facts.
   9            2.    I am being compensated for my work in this case at the rate of $850
  10   per hour.
  11                       BACKGROUND AND QUALIFICATIONS
  12            3.    After earning a law degree from Harvard and a Ph.D. in economics
  13   from Yale, I have been a member of the legal academy since 1986. I have
  14   previously held tenured positions as a chaired professor at both Yale Law School
  15   and Northwestern Law School. I have also been a visiting professor at a number of
  16   prominent law schools, including Harvard, Yale, the University of Chicago,
  17   Cornell, the University of Virginia, Oxford, Toin University (Tokyo), St. Gallens
  18   (Switzerland), and Renmin University (Beijing).
  19            4.    At Stanford, I regularly teach a course on empirical law and economics
  20   issues involving crime and criminal justice, and I have previously taught similar
  21   courses at Yale Law School, Tel Aviv University Law School, the Gerzensee Study
  22   Center in Switzerland, St. Gallen University School of Law in Switzerland, and the
  23   Universidad del Rosario in Bogota, Colombia.
  24            5.    Since gun crime is such an important aspect of overall American
  25   crime, my courses evaluate both the nature of gun regulation in the United States
  26   and the impact of gun regulation on crime. This topic is an important part of my
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   1   research, about which I have published extensively (as reflected in my CV). I have
   2   also consistently taught courses on law and statistics for over two decades.
   3         6.     I am a Research Associate of the National Bureau of Economic
   4   Research, and a member of the American Academy of Arts and Sciences. I was a
   5   Fellow at the Center for Advanced Studies in Behavioral Sciences in 2000-01 and
   6   served as the co-editor (handling empirical articles) of the American Law and
   7   Economics Review for six years. I have also served as the President of the
   8   American Law and Economics Association and as Co-President of the Society of
   9   Empirical Legal Studies.
  10         7.     From 2011-2018, I served on the Committee on Law and Justice of the
  11   National Research Council (NRC), which “reviews, synthesizes, and proposes
  12   research related to crime, law enforcement, and the administration of justice, and
  13   provides an intellectual resource for federal agencies and private groups.” 1
  14         8.     I have submitted expert declarations, expert reports, and/or provided
  15   expert testimony in the following 20 cases: 1) Fyock v. City of Sunnyvale, Case No.
  16   C-13-5807-RMW, United States District Court (N.D. Cal.), January 2014; 2)
  17   Herrera v. San Francisco, Case No. CV 13-5351 WHA, United States District
  18   Court (N.D. Cal.), January 2014; 3) Tardy v. O’Malley, Case No. 1:13-cv-02841-
  19   CCB, United States District Court (D. Maryland), February 2014; 4) Association of
  20   New Jersey Rifle & Pistol Clubs, Inc. v. Grewal, Case No. 3:18–cv–10507–PGS–
  21   LHG, United States District Court (D.N.J.), August 2018; 5) Flanagan v. Becerra,
  22   Case No. 2:16-cv-06164-JAK-AS, United States District Court (C.D. Cal.); 6)
  23   Duncan v. Becerra, Case No. 17-cv-1017-BEN-JLB, United States District Court
  24   (S.D. Cal.), on June 4, 2017, and a supplemental declaration in Duncan (now
  25   Duncan v. Bonta) on November 8, 2022; 7) Weise v. Becerra, Case No. 2:17-cv-
  26         1
                See National Academies, Committee on Law and Justice,
  27   https://www.nationalacademies.org/claj/committee-on-law-and-justice, for more
       information about the NRC.              3
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   1   00903-WBS-KJN, United States District Court (E.D. Cal.) on June 16, 2017; 8)
   2   Rupp v. Becerra, Case No. 8:17-cv-00746-JLS-JDE, United States District Court
   3   (E.D. Cal.), October 25, 2018 and November 21, 2018, and on January 6, 2023 in
   4   Rupp v. Bonta; 9) Vermont Federation of Sportsmen’s Clubs v. Birmingham, Case
   5   No. 224-4-18 Wncv (Vermont Superior Court, Washington Unit) in October 2018;
   6   10) Association of New Jersey Rifle & Pistol Clubs, Inc. v. Grewal, No. 3:18–cv–
   7   10507–PGS–LHG (D.N.J.); 11) Chambers v. City of Boulder, Case No.
   8   2018CV30581, in the District Court of Boulder County in September 2020; 12)
   9   Miller v. Bonta, a lawsuit in the Southern District of California (Case No. 3:19-cv-
  10   01537-BEN-JLB) on October 13, 2022; 13) Holcombe, et al. v. United States, Case
  11   No. 5:18-CV-555-XR in the United States District Court for the Western District of
  12   Texas in July 2020; 14) Caldwell v. City of San Francisco, Case No. 12-cv-1892
  13   DMR, United States District Court, Northern District of California, Oakland
  14   Division December 9, 2020; 15) Worth v. Harrington, a lawsuit in the District of
  15   Minnesota (Case No. 21-cv-1348) on January 24, 2022; 16) Meyer v. Raoul, a
  16   lawsuit in the Southern District of Illinois (Case No. 21-cv-518-SMY) on May 31,
  17   2022; 17) Viramontes v. The County of Cook, a lawsuit in the Northern District of
  18   Illinois (Case No. 1:21-cv-04595) on September 14, 2022; 18) State of Vermont v.
  19   Misch, Criminal Division, Docket No. 173-2-19 Bncr on January 6, 2023; 18)
  20   NAGR v. Lamont, a lawsuit in the District of Connecticut, Case No. 3:22-cv-01118
  21   on January 26, 2023; 20) NAGR v. Campbell, a lawsuit in the United States District
  22   Court for the District of Massachusetts, Civil Action No. 1:22-cv-11431-FDS, on
  23   January 26, 2023.
  24         9.     I was the main author of the Brief of Amici Curiae Social Scientists
  25   and Public Health Researchers in Support of Respondents, which was submitted to
  26   the United States Supreme Court on September 21, 2021 in New York State Rifle &
  27   Pistol Association v. Bruen, Case No. 20-843.
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   1         10.    In preparing this declaration, I reviewed the preliminary injunction
   2   briefing and declarations filed in 2019 and 2023, as well as the scientific literature
   3   and relevant crime and arrest data cited herein.
   4                                        OPINIONS
   5   I.   SUMMARY OF OPINIONS
   6         11.    Individuals between the ages of 18-20, as a group, exhibit unusually
   7   high rates of homicide and other violent crimes according to both national and
   8   California data. Moreover, this age group is much more likely than other age groups
   9   to commit these crimes with guns. Both of these factors suggest that efforts to limit
  10   the access to guns of 18-20-year-olds will benefit the public by lowering rates of
  11   gun homicide and firearm-inflicted injuries.
  12         12.    The group of 18-20-year-olds also has a high rate of perpetrating
  13   public mass shootings, which is a growing problem in the United States and
  14   imposes significant societal costs far beyond the numbers of dead and wounded.
  15   Indeed, the data indicate that the 18-20-year-old cohort is more murderous than any
  16   other three-year age group (see Figure 4, below). Given the current dangers of
  17   mass shootings, the highly elevated murder rates in the 18-20 age group provide
  18   ample justification for the age-based firearm restrictions of California law.
  19         13.    Public mass shootings with at least four deaths committed by 18-20-
  20   year-olds from 1982 to the present have ended in the death of the shooter in 70
  21   percent of the cases. Specifically, of these public mass shootings, 50 percent ended
  22   by suicide and 20 percent ended when the shooter was killed by police. These facts
  23   indicate that suicide rates, and particularly firearm suicide rates, among 18-20-year-
  24   olds have risen sharply in recent years, and increased gun access correlates strongly
  25   with increases in suicide levels generally.
  26         14.    Careful studies using micro-level data have shown that restricting
  27   access to firearms for individuals who have an elevated risk of engaging in violent
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   1   crime reduces their future levels of violence by about 20 percent. One would expect
   2   that similar benefits would be generated by restricting access to firearms by the
   3   high-risk group of 18-20-year-olds. California’s continuing efforts to promote gun
   4   safety have helped to move it from a state with a considerably higher rate of firearm
   5   and overall homicide (and firearm assault) than the rest of the country in 2005 to
   6   having a considerably lower rate of firearm and overall homicide at the end of our
   7   data period in 2021—see Figure 13. These improvements have saved hundreds, if
   8   not thousands, of lives, and also prevented thousands of non-lethal shootings in
   9   California.
  10          15.    The scientific literature on the neurobiological development of late
  11   adolescents is consistent with the patterns discussed above of the higher rates of
  12   firearm violence in the 18-20-year-old age group. The higher rates of impulsivity,
  13   mental illness, and drug and alcohol use in this age group are all factors that elevate
  14   risk-taking and undermine caution and reflection in ways that promote violence,
  15   accidents, and suicides, all of which the scientific literature has clearly
  16   demonstrated become more serious with the ready availability of firearms.
  17          16.    The claims by Plaintiffs and their declarants Thomas Marvell and John
  18   Lott that little is to be gained from the challenged firearm restrictions are not based
  19   on valid studies of similar regulations undertaken in a state like California that has
  20   universal background checks and higher levels of gun safety enforcement measures
  21   than most other jurisdictions. The best, most-relevant, and methodologically sound
  22   empirical evidence supports the view that restricting gun access to the high-risk 18-
  23   20-year-old cohort will save lives and reduce injuries inflicted by firearms.
  24   II.   18-20-YEAR-OLDS COMMIT DISPROPROTIONATELY HIGHER RATES OF
  25         HOMICIDE AND OTHER VIOLENT CRIME

  26
              17.    One of the most strikingly consistent facts of crime over time, both in

  27
       California and the United States, is that 18-20-year-olds commit homicide at

  28
       disproportionately high rates. Therefore, legislative
                                                  6          efforts to reduce homicides,
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   1   such as Section 27510, appropriately focus on this age group and are likely to
   2   generate beneficial results.
   3        To highlight this enduring feature of homicide, Figures 1 and 2 below depict
   4   per capita murder arrests in California by age in 2014 and 2020, respectively. Both
   5   figures confirm that if one wanted to target safety measures at the age group at
   6   highest risk for committing homicide, one would focus on those aged 18-20. No
   7   other three-year age group above or below age 21 is as homicidal as 18-20-year-
   8   olds. Note that the homicide rate for California in 2014 was 4.4 per 100,000, while
   9   the homicide rate for 19-year-olds that year was more than four times as high.
  10   Therefore, the restriction at issue in this case appropriately limits firearm access to
  11   the age group carrying the greatest homicide risk.
  12                                          Figure 1
  13             The Most Homicidal Three-Year Age Group is 18-20-Year-Olds
                     (Compared to any such group above or below age 21)
  14                           California Arrest Data for 2014
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  25        Source: Author’s calculations based on data supplied by the FBI.
  26

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   1         18.     Figure 2 below presents the same California murder arrest data for
   2   2021 (the most recent publicly available data), and again shows that no other three-
   3   year age group above or below age 21 is as homicidal as 18-20-year-olds. I
   4   examined the FBI’s murder arrest data for California by age group from 1980-2020.
   5   Over this 41-year period, the age group with the highest homicide rates in
   6   California in a given year was always either 18- or 19-year-olds, with only one
   7   exception: in 2019, 21 was the most homicidal age and 20-year-olds were second.
   8                                           Figure 2
   9               The Most Homicidal Three-Year Age Group is 18-20-Year-Olds
                       (Compared to any such group above or below age 21)
  10                             California Arrest Data for 2020
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   1         Source: Author’s calculations based on data supplied by the FBI. 2
   2         19.    The unusually high homicide rate of 18-20-year-olds depicted for
   3   California in Figures 1 and 2 is also seen in national arrest data from the FBI. 3
   4   Table 38 of the FBI report on Crime in the United States shows that in 2019 (the
   5   last year this Table was released), the single most homicidal age group in the nation
   6   was age 19—which is exactly what we see in both Figures 1 and 2 for California
   7   for 2014 and 2020. FBI Table 38 also shows that the two age groups with the
   8   second and third highest number of arrests for murder in 2019 are 18- and 20-year-
   9   olds. National FBI crime data for 2017 and 2018 shows exactly the same pattern of
  10   homicide arrests for those years as well.4 Overall, the 2019 murder arrest rate for
  11   18-20-year-olds for the nation was 14 percent higher than that of 21-year-olds. In
  12   other words, if one wants to reduce homicidal violence in a targeted fashion, one
  13   should focus on age groups that exhibit the highest rates of homicide—namely, 18-
  14   20-year-olds—as California has done.5
  15

  16         2
                U.S. Fed. Bureau of Investigation, Uniform Crime Reporting Program
  17   Arrest Master File (Data Set), Sept. 26, 2022, available
       at https://cde.ucr.cjis.gov/LATEST/webapp/#/pages/downloads (accessed on Mar.
  18   14, 2023); National Center for Health Statistics, Vintage 2020 Postcensal Series
  19   (Data Set), Sept. 22, 2021, cited in Centers for Disease Control and Prevention,
       National Center for Health Statistics, National Vital Statistics System, Mortalitiy
  20   1999-2020 on CDC Wonder Online Database, available
  21   at http://wonder.cdc.gov/mcd-icd10.html (accessed on Mar. 14, 2023).
  22
             3
               U.S. Fed. Bureau of Investigation, Uniform Crime Reports, 2019 (2021),
       available at https://ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-2019/topic-
  23   pages/tables/table-38, attached hereto as Exhibit B.
  24         4
                 U.S. Fed. Bureau of Investigation, Uniform Crime Reports, 2017 (2019),
       available at https://bit.ly/3u1j573, and Uniform Crime Reports, 2018 (2020),
  25
       https://bit.ly/3x2oYmv.
  26         5
               It should also be noted that the FBI violent crimes data for the nation
  27   from 2017-2019 (see supra, notes 3 and 4,) also confirms that 18-20-year-olds
       consistently have the highest rates of rape9and robbery, as well as homicide.
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    1         20.    In the United States, most murders are committed with firearms. In
    2   2010, the percentage of murders committed with firearms in California was almost
    3   identical to the rest of the country: 68.7 percent vs. 68.1 percent. However, as a
    4   result of California’s gun safety measures, over the next decade, California had
    5   only half the increase in the share of murders committed with firearms as the rest of
    6   the U.S. Specifically, according to CDC data, by 2021, 75 percent of murders were
    7   committed with firearms in California, while 81 percent of murders were
    8   committed with firearms in the rest of the U.S.
    9         21.    Furthermore, the 18-20-year-old cohort has not only established an
   10   enduring pattern of elevated risk for homicide, but it has long been recognized as
   11   the most likely to use firearms to commit homicides and other violent crimes.
   12   Specifically, a 1999 joint report of the Department of the Treasury and Department
   13   of Justice (“Joint Report”) found that:
   14         Among murderers, 18 to 20-year-olds were more likely to use a
              firearm than adults 21 and over. More specifically, in 1997, 74 percent
   15         of the homicides committed by 18 to 20-year-old offenders involved
              firearms. In contrast, only 61 percent of homicides committed by
   16         offenders 21 or over involved firearms. (Table 1).… Similarly, in non-
              lethal crimes, including assault, rape, and robbery, 18 to 20-year-old
   17         offenders were more likely to use guns than both younger and older
              offender age groups. For non-lethal crimes of violence from 1992 to
   18         1997, in cases where the weapon and age of offender were identified,
              15 percent of 18 to 20-year-old offenders used a firearm, in contrast to
   19         10 percent6 of adult offenders, and 5 percent of offenders 17 and under.
              (Table 2).
   20

   21         22.      Figure 3 below reproduces a chart from the 1999 Joint Report
   22   showing that the 18-20-year-old cohort dominates in the commission of gun
   23   homicides. The Joint Report also noted on the basis of crime gun trace data that this
   24   cohort uses both handguns and long guns in committing violent crime with guns.
   25

   26         6
               Dep’t of the Treasury & Dep’t of Justice, Gun Crime in the Age Group 18–
   27
        20 (1999), available at https://bit.ly/3hBjp9R.
                                                    10
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    1   Overall, 15 percent of the trace data across 27 cities involved long guns, but in
    2   some cities, that percentage was more than twice as high.7 According to the data,
    3   the cohort of 18-20-year-olds is the most homicidal age group, and its members use
    4   guns to commit murder and other non-lethal crimes at a substantially higher rate
    5   than other age groups. Thus, targeting effective gun safety measures at this group is
    6   likely to generate crime reduction benefits for all violent crime.
    7
                                                 Figure 3
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             Source: Table from Report of the Department of the Treasury and Department
   22   of Justice.8
   23

   24         7
               Id. at Table 3. Three of the 27 cities were from California: Los Angeles,
   25   Inglewood, and Salinas.
   26

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              8
                  See supra, note 7.
                                                      11
   28
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    1         23.    The Joint Report also mentioned an additional benefit from restricting
    2   access to firearms by those who are younger than 21 years old:
    3         The significant role that 18 to 20-year-olds have in gun crime and
              violence in our Nation demands that we make changes in the legal
    4         regulation of their access to guns. A further benefit to restricting
              possession of firearms by 18 to 20-year-olds will be to decrease the
    5         likelihood that younger family members,    friends, and classmates will
              be able to obtain guns illegally. 9
    6
              24.    Thus, the Joint Report highlights that restricting firearm access of 18-
    7
        20-year-olds will not only be expected to reduce gun crime and violence directly in
    8
        this high-risk age group but will also generate indirect benefits by reducing firearm
    9
        access by still younger family members and friends.
   10
              25.    When passing SB 1100, the legislature specifically considered data
   11
        showing that long guns are frequently used in the commission of crime in
   12
        California. Specifically, it was noted that of the 26,682 guns used in crime that were
   13
        entered into the California Department of Justice Automated Firearms Systems
   14
        database, 11,500 were long guns.10
   15
              26.    Decades of research has shown that while everything from sticks to
   16
        knives to handguns to rifles can be used in assaults, there is a considerable variation
   17
        in the survivability of assault depending on the instrumentality employed. Since a
   18
        semi-automatic centerfire rifle is generally more powerful than rimfire rifles,
   19

   20         9
                 Id. at 2. Studies of high school students show that a non-trivial
   21   number will gain access to guns within the household, and that such youth
   22   reporting gun possession have the strongest associations with poor mental
        health as well as alcohol and drug use overall. Kelly V. Ruggles & Sonali
   23   Rajan, Gun Possession Among American Youth: A Discovery-Based
   24   Approach to Understand Gun Violence, PLoS One (2014), available at
        https://bit.ly/3yxKf9d.
   25         10
                 Statement of Sen. Anthony Portantino on SB 1100 to Senate Public Safety
   26   Committee, April 17, 2018. A video of Sen. Anthony Portantino’s statement is
   27
        available at https://bit.ly/3c9exWe.
                                                    12
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    1   greater restrictions on access to more powerful weapons by those in the high-crime
    2   18-20-year-old age cohort is likely to reduce firearm deaths and injuries.
    3          27.        Both common sense and consistent empirical evidence have
    4   established that there is a strong instrumentality effect in violent activity. A seminal
    5   1972 study by UC Berkeley Professor Frank Zimring found “that the outcome of
    6   gun assaults had a large random element, and that the power of the firearm was one
    7   systematic factor influencing the likelihood that an individual with a gunshot injury
    8   would survive.” 11 Phil Cook and Anthony Braja conducted a very careful study of
    9   files of 511 gunshot victims kept by the Boston Police Department and similarly
   10   found that survivability from gunshot wounds varied considerably based on
   11   attributes of the weapon and ammunition that generated the wound. The authors
   12   calculated that switching to less deadly firearm options could reduce the homicide
   13   rate substantially. 12
   14          28.        Based on decades of compelling evidence and research, “It is widely
   15   accepted among medical and public health professionals that the likelihood of death
   16   in an assault increases with the power of the gun.”13 In 2020, Frank Zimring and
   17   Duke economist Phil Cook shared the Stockholm Prize in Criminology based in
   18   part on their work confirming this effect.14 Thus, restricting access to one of the
   19

   20
               11
                  Zimring FE, The Medium Is the Message: Firearm Caliber as a
        Determinant of Death from Assault, J LEGAL STUD. 1:97-124 (1972). The
   21
        description of the Zimring study comes from Anthony A. Braga and Philip J. Cook,
   22   The Association of Firearm Caliber with Likelihood of Death From Gunshot Injury
        in Criminal Assaults, JAMA Netw. Open. 1(3) (2018), available at
   23
        https://bit.ly/2RhJBMc.
   24          12
                    Anthony A. Braga & Philip J. Cook, supra note 11.
   25          13
                    Id.
   26          14
                 Stockholm Univ., 2020 Winners of the Stockholm Prize in Criminology
   27
        (Sept. 13, 2020), https://bit.ly/3fIbiHr.
                                                        13
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    1   more lethal firearms capable of firing multiple rounds in quick succession— semi-
    2   automatic centerfire rifles—would be expected to diminish firearm homicides and
    3   injuries.
    4   III. SECTION 27510’S LIMITATIONS ARE FURTHER JUSTIFIED BY THE
    5        INCREASING RISK OF AND SUBSTANTIAL HARM FROM MASS
             SHOOTINGS BY 18-20-YEAR-OLDS
    6

    7        A.      The 18-20 Age Group Is Among the Most Dangerous for Mass
                     Shootings
    8

    9          29.     The 18-20-year-old population not only commits higher rates of
   10   homicide and other violent crimes, but it also has a high rate of engaging in public
   11   mass shootings, defined as shootings in a public place, unrelated to the commission
   12   of another crime, in which four or more individuals are murdered (excluding the
   13   shooter). 15 These shootings are particularly difficult to stop because traditional
   14   steps aimed at deterrence, such as imposing higher penalties for these crimes, are
   15   ineffectual; as my evaluation of the national public mass shooting data reveals, over
   16   the period from 1982 to the present, in 70 percent of such shootings committed by
   17   those aged 18-20, the shooter died at the scene (50 percent of the time by suicide
   18   and 20 percent of the time being killed by police).
   19          30.     Figure 4 below provides information on public mass shootings
   20   throughout the United States from 1982-2022 in which four or more individuals
   21   were killed, and indicates the number of incidents, deaths, and overall casualties in
   22

   23

   24          15
                 For further discussion of the definition of public mass shootings used in
        this report and the effectiveness of the federal assault weapons ban in limiting the
   25
        deaths from mass shootings, see John J. Donohue III & Theodora Boulouta, The
   26   Assault Weapon Ban Saved Lives, Stanford Law School Legal Aggregate (Oct. 15,
   27
        2019), https://stanford.io/3whsito.
                                                     14
   28
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    1   different age categories under the age of 63. 16 The first category depicted is for
    2   those under 18, and from that point on, it shows three-year age increments
    3   beginning with 18-20 and ending with 60-62 (although there are no mass shooting
    4   incidents for this last age group, so the field is left blank). 17 The Figure reveals that
    5   the 122 deaths in mass shootings committed by 18-20-year-olds were greater than
    6   those committed by any other three-year age group. Not only is the mass shooting
    7   problem in the U.S. getting worse, but the growth rate is fastest for young shooters.
    8         31.    It should be noted that the number of public mass shootings
    9   documented in Figure 4 does not include attempted mass shootings that were cut
   10   short before reaching the four-fatality threshold. For example, the Poway,
   11   California synagogue shooting of April 27, 2019, in which a 19-year-old launched
   12   an attack with a semiautomatic rifle purchased two weeks earlier, is not included in
   13   the Figure 4 numbers because only one of the four shooting victims died before the
   14   shooter’s rifle malfunctioned and he fled the scene (although this case would fall
   15   under an alternative definition of mass shootings involving four or more individuals
   16   shot). 18 Similarly, the Gilroy, California Garlic Festival shooting, committed by a
   17

   18         16
                 This data is from the Mother Jones Mass Shootings Database.
   19   https://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-
   20   data/.
              17
                 Over this 41-year period ending in 2022, there were only three mass
   21
        shootings by those older than 62, including the most recent in which a 64-year-old
   22   killed 59 and injured 546 in Las Vegas in 2017. The other two—the Mohawk
        Valley shooting (2013) and the Navistar shooting (2001)—each resulted in four
   23
        deaths.
   24         18
                When the mass shooter lowered his gun to reload or deal with a
   25   malfunction, an unarmed congregant ran at the shooter, prompting him to flee the
        synagogue and jump back in his car to escape, thereby ending the attack. Pauline
   26
        Repard, ‘There was chaos’: Witnesses in Court Hearing Recall Poway Synagogue
   27   Shooting, L.A. Times, Sept. 20, 2019, available at https://lat.ms/3ypCL7V; DA to
                                                     15
   28
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    1   19-year-old, was stopped by rapid police intervention after three victims were killed
    2   and 11 others shot (thereby also falling short of the 4-fatality threshold). 19
    3                                           Figure 4
    4                          18-20 Year-Old Public Mass Shooters
                          Are The Most Murderous Three-Year Age Group
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   19        Source: Author’s calculations based on data from the Mother Jones Mass
   20        Shooter Database.
   21         32.    Some of the most dramatic and socially damaging mass shootings have
   22   been conducted by individuals in the 18-20 age group, including:
   23

   24
        Seek Death Penalty Against Poway Synagogue Shooting Suspect, City News Serv.,
   25
        Mar. 5, 2020, https://bit.ly/33ZmMPW.
   26         19
                  Eric Levenson & Cheri Mossburg, Gilroy Festival Shooter Had a ‘Target
   27   List’ with Religious and Political Groups, CNN, Aug. 6, 2019,
        https://cnn.it/2RoVL64.                  16
   28
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    1                (a) the Columbine High School shooting, which killed 13 people (18-
    2   year-old and 17-year-old shooters);
    3                (b) the Sandy Hook Elementary School shooting, which killed 26
    4   people (19-year-old shooter who used a semi-automatic rifle);
    5                (c) the Marjory Stoneman Douglas High School shooting in Parkland,
    6   Florida, which killed 17 people with a semi-automatic rifle (19-year-old shooter);
    7                (d) in April 2021, a 19-year-old shooter killed 8 people and wounded
    8   others at a FedEx facility in Indianapolis. Despite specific warnings to the police
    9   from his mother that he was too dangerous to possess firearms, this shooter had
   10   legally purchased the two semiautomatic rifles he used in the attack. Indeed, the
   11   police had seized a shotgun from him, only to have him “legally purchase a much
   12   more powerful weapon than a shotgun,” according to the Chief of the Indianapolis
   13   Metropolitan Police Department. 20 Officials concluded that the shooter decided to
   14   kill himself “in a way he believed would demonstrate his masculinity…;”21
   15                (e) the May 14, 2022 supermarket shooting in Buffalo, New York (10
   16   killed) was committed by an 18-year-old with a semi-automatic rifle; and
   17                (f) the May 24, 2022 shooting at Robb Elementary School in Uvalde,
   18   Texas (19 children and 2 adults killed) was committed by an 18-year-old with a
   19   semi-automatic rifle that he lawfully purchased on his 18th birthday.
   20

   21
              20
                 Andrés R. Martínez et al, FedEx Gunman Bought 2 Rifles After Police
   22   Seized His Shotgun, Chief Says, N.Y. Times, Apr. 17, 2001, available at
   23   https://nyti.ms/3f3gK7u.
   24
              21
                 Elizabeth DePompei, ‘Demonstrate his masculinity’: Indianapolis FedEx
        shooter's motivations revealed, Indianapolis Star, Aug. 13, 2021.
   25   https://www.indystar.com/story/news/crime/2021/07/28/fedex-shooting-
   26   indianapolis-fbi-reveals-brandon-holes-motives/5400900001/.

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                                                    17
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    1         33.    John Lott’s declaration filed in support of Plaintiffs’ November 2019
    2   motion for preliminary injunction, ECF. No. 21-17, contains a figure (appearing on
    3   page 6 of his declaration) that seems designed to obscure the reality of the notable
    4   lethality in public mass shootings of 18-20 year olds. Lott’s figure should be
    5   ignored for a number of reasons. First, his figure is constructed in a way to
    6   minimize the relative lethality of the 18-20-year-old group because he includes the
    7   less lethal 16 and 17 year olds in the same 16-20 grouping; in contrast, my Figure 4
    8   appropriately uses three-year age groups to correctly identify the effect for the age
    9   group relevant in this litigation. Second, my figure is more comprehensive: while
   10   Lott’s figure only looks at mass shootings from 1998-2019, my Figure 4 includes
   11   all public mass shootings from 1982-2022. Third, while Lott’s figure only looks at
   12   mass shooting incidents, mine is more comprehensive in also showing the harm
   13   from these incidents: note that Figure 4 highlights clearly that mass shootings by
   14   18-20 year olds have resulted in more fatalities (122) than those committed by any
   15   other three-year age group.
   16         34.    The more complete and precise offender data shown in Figure 4 shows
   17   that 18-20-year-old public mass shooters have traditionally been among the most
   18   dangerous, as judged by numbers shot and killed. Moreover, the emergence of the
   19   this age group as the most deadly for public mass shootings is reflected in the
   20   recent increase in mass shootings by 18-20-year-olds. Indeed, just last May, two of
   21   the most horrendous recent mass shootings were committed by 18-year-olds with
   22   semi-automatic rifles: the May 14, 2022 supermarket shooting in Buffalo, New
   23   York (10 killed) and the May 24, 2022 shooting at Robb Elementary School in
   24   Uvalde, Texas (19 children and 2 adults killed).
   25         35.    In addition, while Figure 4 limits the count of public mass shootings to
   26   those in which at least four persons are killed, there were two other shootings by
   27   19-year-olds in 2019 with numerous victims shot, which were fortunately stopped
                                                    18
   28
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    1   by the unusually rapid intervention of an unarmed citizen and a police officer. In
    2   the Poway, California synagogue shooting of April 27, 2019, a 19-year-old, who
    3   launched an attack with a rifle purchased two weeks earlier, still managed to shoot
    4   four and kill one before being chased away. Three months later at the Gilroy,
    5   California Garlic Festival shooting, another 19-year-old only fell short of the four
    6   death threshold because of rapid police intervention after three victims were killed
    7   and 11 others shot. All of these considerations underscore the particular need to
    8   keep the most lethal weaponry away from potential mass shooters in this age group.
    9   Moreover, any claim about infrequent mass public shooting ignores the far more
   10   common problems of overall homicide and suicide among 18-20-year-olds that the
   11   challenged firearm restrictions can also be expected to help reduce.
   12         36.      The particular danger posed by troubled 18-20 years olds with access
   13   to highly lethal weaponry was vividly illustrated by the horrific killing of 17 at
   14   Marjory Stoneman Douglas High School in February 2018 by a 19-year-old who
   15   had purchased his rifle legally. This horrific event prompted states and businesses
   16   to take action to limit the ability of this group to purchase firearms. Almost
   17   immediately after the Parkland shooting, Walmart and Dick’s Sporting Goods
   18   announced they would raise the minimum age for all firearm purchases to 21. 22 At
   19   the same time, Florida enacted a similar age-based statutory limitation.23
   20   Furthermore, in March of 2018, Citibank announced that it would no longer allow
   21

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              22
                  Julie Creswell and Michael Corkery, Walmart and Dick’s Raise Minimum
        Age for Gun Buyers to 21, The New York Times, Feb. 28, 2018;
   25   https://www.nytimes.com/2018/02/28/business/walmart-and-dicks-major-gun-
   26   retailers-will-tighten-rules-on-guns-they-sell.html.

   27
              23
                   Laws of Florida, ch. 2018-3.
                                                      19
   28
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    1   any company with which it does business to sell guns to anyone under the age of
    2   21.24
    3            37.     But other credit card companies still allow citizens to buy guns using
    4   credit cards, thereby facilitating the ability of those as young as 18 years old to
    5   purchase a firearm with credit in advance of a mass shooting. As we saw recently in
    6   Atlanta and Boulder—when two 21-year-olds bought guns shortly before killing 8
    7   and 10 individuals, respectively—perpetrators of mass shootings frequently procure
    8   their weapons a short time prior to beginning their deadly assaults. Since 18-20-
    9   year-olds often have relatively limited financial resources, the risk that they could
   10   show up at a gun dealer as they prepare to launch a mass murder and buy a gun
   11   with a credit card knowing that they may not ever have to pay anything is chilling.
   12   Wells Fargo announced that it would still facilitate such transactions, and it
   13   announced that in its view, age limitations on gun purchases required a “legislative
   14   solution.”25 California has supplied this legislative solution.
   15           B.     The Problem of Mass Shootings Will Continue to Get Worse
   16                  Without Effective Legislative Solutions

   17            38.     Although overall crime has been trending down over the last 25 years
   18   (assuming the COVID-19 pandemic has not started a reversal of this longer-term
   19   trend), the opposite is true for the trend in public mass shootings. According to a
   20   report of the Congressional Research Service, the average of 2.7 public mass
   21

   22

   23         Jackie Wattles, Citigroup Restricts Gun Sales by Business Customers,
                 24

   24   CNN.com, Mar. 22, 2018, https://cnn.it/33Y10Mx.
                 Kate Rooney, Wells Fargo Customers Can Still Buy Guns with a Credit
                 25
   25
        Card, But Now They Can’t Buy Bitcoin, CNBC.com, June 11, 2018,
   26   https://cnb.cx/3v4OwP0 (statement of John Shrewsberry, the chief financial officer
   27
        of Wells Fargo).
                                                        20
   28
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    1   shootings per year in the 1980s rose to an average of 4.5 events per year from 2010
    2   to 2013. 26
    3          39.    Since 2013, things have only gotten worse. My analysis of the Mother
    4   Jones public mass shooting database confirms this ominous trend. The Mother
    5   Jones database identifies killings occurring in a public place that are not related to
    6   armed robbery, gang activity, or domestic violence. Figure 5 below shows the trend
    7   in fatalities from public mass shootings in which at least four deaths occurred (not
    8   including the perpetrator). 27 The figure is divided into two periods: the ten years
    9   that the federal assault weapons ban was in place (1994-2004) and the period since
   10   the federal ban has lapsed. The Figure reveals that the federal assault weapons ban
   11   largely served its goal of restraining the growth in mass shooting deaths—indeed,
   12   mass shooting fatalities trended downward for the duration of the federal ban.
   13          40.    Since the ban lapsed, however, there has been a clear upward trend in
   14   mass shootings, with only the exception of the unusual and idiosyncratic pandemic
   15   year of 2020 when much of the country was shut down. The total number of
   16   casualties (individuals killed or injured) in mass shootings since 2004 has been
   17   growing at an even faster rate. The consequences of such a sustained and unabating
   18   upward trend in deaths from public mass killings are dire and clearly merit the
   19

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               26
                  William J. Krouse & Daniel J. Richardson, Cong. Research Serv.,
        Mass Murder with Firearms: Incidents and Victims, 1999-2013, at 14-15
   21   (2015), available at https://bit.ly/3fvpAcZ; Mark Follman, Yes, Mass Shootings
   22   Are Occurring More Often, Mother Jones, Oct. 21, 2014, available at
        https://bit.ly/3oxWuOj.
   23          27
                  Mother Jones currently employs a 3-fatality threshold for including a
   24   shooting in its list, but for incidents occurring before 2015, Mother Jones utilized
        a 4-fatality threshold, which I used throughout my analysis to ensure all
   25
        comparisons over time were consistent. For additional documentation of the
   26   worsening problem of mass public shootings, see Donohue & Boulouta, supra
   27
        note 15.
                                                     21
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    1   serious efforts that California has taken to restrain this deadly and injurious pattern,
    2   including the amendments to Section 27510 to raise minimum age limits for sale of
    3   long guns to 18-20-year-olds.
    4
                                        Figure 5
         Unabated Growth in U.S. Public Mass Shooting Deaths Since the End of the
    5               Federal Assault Weapons Ban in September 2004
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   20        Source: Author’s calculations from Mother Jones mass shooting database.
   21         41.    The empirical evidence supports the view that legislative restrictions
   22   on weaponry have reduced deaths and injuries from mass shootings. Figures 6 and
   23   7 below further illustrate the restraining influence of the federal assault weapons
   24   ban on deaths from public mass shootings in which at least four were killed and the
   25   ominous developments since that ban lapsed in late 2004. Figure 6 illustrates that
   26   deaths from these mass shootings fell 23.2 percent (from 125 to 96) during the ten
   27   years of the federal assault weapons ban from September 1994 through 2004 and
                                                    22
   28
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    1   rose sharply after the federal ban was lifted. Note the dotted line in Figure 6 shows
    2   that over this entire period violent crime was declining, which highlights that the
    3   restraint in mass shooting deaths during the federal assault weapons ban was not
    4   simply the product of a declining violent crime rate.
    5         42.    After 96 total deaths in public mass shootings during the decade in
    6   which the federal assault weapons ban was in effect (1994-2004), public mass
    7   shooting deaths more than tripled, rising to 296 in the decade after it lapsed (2004-
    8   2014). This murderous leap has occurred at the same time that overall violent crime
    9   persisted on a downward trend, as the dotted line in Figure 6 confirms. 28
   10         43.    The last column of Figure 6 shows the astonishing increase in public
   11   mass shooting deaths over the nearly 20-year period since the lapse of the federal
   12   assault weapons ban.29
   13

   14
              28
                  This downward trend in violent crime even as mass shootings rise after
   15   2004 is important evidence of the harmful impact of ending the federal assault
   16   weapons ban. Without that evidence, one might mistakenly think that the drop in
        mass shooting deaths during the decade of the federal assault weapons ban was
   17   simply part of downward violent crime drop that occurred in that decade. The
   18   experience after 2004 undermines that view because the violent crime rate
        continued to decline after the federal ban lapsed, yet mass shooting deaths began to
   19
        rise sharply and unrelentingly.
   20          29
                  While the Mother Jones data set has not updated the death toll, a
        59th victim of the Las Vegas shooting whose spinal cord was severed and
   21
        whose body was laced with shrapnel from the exploding bullets died from her
   22   injuries two years after the massacre (thus, Figure 6 should actually show a
        one-higher fatality count in the last period). The following article highlights
   23
        some of the devastating injuries that result from being shot by a semi-
   24   automatic centerfire rifle, such as that used by the Las Vegas shooter. See
        CNN Wire, SoCal Woman Dies 2 Years After Las Vegas Massacre, Bringing
   25
        Shooting’s Death Toll to 59, https://ktla.com/news/local-news/l-a-woman-
   26   dies-2-years-after-las-vegas-massacre-bringing-shootings-death-toll-to-59-
   27
        family/.
                                                    23
   28
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    1         44.    The evident effectiveness of the assault weapons ban in reducing mass
    2   shooting deaths is exactly what we would expect, since during the decade of the
    3   federal assault weapons ban, mass killers could not simply enter a gun store and
    4   buy an assault weapon with a large capacity magazine, as they can do in most of the
    5   U.S. today. 30
    6                                          Figure 6
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   21        Source: Author’s calculations from Mother Jones mass shooting database.
   22         45.    Figure 7 illustrates the average number of fatalities in each mass
   23   shooting for the same four periods shown in Figure 6. The pattern is the same:
   24   fatalities per incident fell during the federal assault weapon ban and have risen
   25   sharply thereafter. With the weaponry available to citizens getting increasingly
   26         30
                 Only 9 states and the District of Columbia ban assault weapons, and all
   27   those states, plus Colorado and Vermont, restrict the permissible size of the
        ammunition magazines.                      24
   28
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    1   more potent and plentiful, the average number of people who die in every incident
    2   has grown by more than 60 percent since the elimination of the federal assault
    3   weapons ban in 2004.
    4                                    Figure 7
    5
            Public Mass Shootings Became Less Deadly During the Federal Assault
                 Weapons Ban and Increasingly More Deadly Since it Lapsed
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   20   Source: Author’s calculations from Mother Jones mass shooting database.
   21         46.   Moreover, public mass shootings are not only becoming more deadly,
   22   but according to the research of Adam Lankford & James Silver, the perpetrators
   23   have also gotten younger in the last decade: 67% of high-fatality incidents—those
   24   in which eight or more victims were killed—from 2010 to 2019 were committed by
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                                                   25
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    1   perpetrators younger than 30, compared with only 25% of high-fatality incidents
    2   from 1966 to 2009.31
    3         47.    Note that the numbers of mass shootings would be substantially
    4   larger using alternative definitions, such as the Gun Violence Archive (“GVA”)
    5   definition of four individuals wounded by gunfire in a single incident. Using that
    6   more capacious definition, the United States now suffers more than a mass shooting
    7   every day. The following Figure 8 highlights how mass shootings (using the GVA
    8   definition) jumped sharply in mid-year 2020. The line in red shows that by late
    9   August of 2020, the number of mass shootings had surged ahead of the pace of the
   10   last four years, and the year ended with “more than 600 such shootings.” 32 The
   11   deadly pace continued in 2021 with the killing of 9 individuals at the San Jose light
   12   rail facility being the 232nd mass shooting for the year by May 26, 2021, according
   13   to GVA. 33 2021 ended with 692 mass shootings under the GVA definition, up 66%
   14   from 2019’s total of 417.
   15   ///
   16   ///
   17   ///
   18   ///
   19   ///
   20   ///
   21   ///
   22         31
                  Adam Lankford & James Silver, Why Have Public Mass Shootings Become
   23   More Deadly?,19 Criminology & Pub. Policy 37, 43 (2019), available at
   24   https://bit.ly/3yHTQdy (this study does not provide a finer age breakdown).
              32
                  Daniel Victor & Derrick Bryson Taylor, A Partial List of Mass Shootings
   25
        in the United States in 2021, N.Y. Times, May 27, 2021, available at
   26   https://nyti.ms/3hAvrjX.
   27         33
                Gun Violence Archive, https://bit.ly/3bTevla (2020 data); Gun Violence
        Archive, https://bit.ly/3up2mL4 (2021 data).
                                                26
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    1                                          Figure 8
                                     Mass Shootings Surged in 2020
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    9   Source: The Trace, September 3, 2020.
   10

   11         48.    The long-term trend in shootings in school settings is also troubling. 34
   12   Indeed, the authors of a 2018 study on mass school shootings emphasized the
   13   young age of school shooters and concluded that “[m]ore people have died or been
   14   injured in mass school shootings in the US in the past 18 years than in the entire
   15   20th century.” 35
   16         49.    A more recent study in 2020 found that indiscriminate school
   17   shootings—shootings with primarily random targets—have grown at an alarming
   18   rate. From 2012-2019, the annual rate of these shootings was almost five times
   19

   20

   21         34
                 Antonis Katsiyannis et al., Historical Examination of United States
   22   Intentional Mass School Shootings in the 20th and 21st Centuries: Implications for
        Students, Schools, and Society, 27 J. of Child & Family Studies 2562 (2018),
   23   available at https://bit.ly/340hjby.
   24         35
                  ScienceDaily.com, Rapid Rise in Mass School Shootings in the United
        States, Study Shows: Researchers Call for Action to Address Worrying Increase in
   25
        the Number of Mass School Shootings in Past Two Decades (Apr. 19, 2018),
   26   https://bit.ly/3wfU9u3 (referring to the study of Antonis Katsiyannis et al, supra
   27
        note 34).
                                                       27
   28
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    1   higher than during the period from 1999-2011.36 Most importantly, the study found
    2   that these incidents were more likely to occur in states with fewer firearm
    3   restrictions, underscoring the value of California’s stronger firearm regulations. 37
    4        C.     The Victims of Mass Shootings Are Far More Numerous Than
    5               Reflected in the Number of Deaths

    6         50.     The harms of mass shootings extend far beyond the statistical counts
    7   of the dead and injured. The impact of the elevated stress experienced by students
    8   and parents across the country, as America’s tragic mass shooting problem
    9   continues unabated, is undeniable. Public mass shootings are particularly high-
   10   visibility events that are quite shocking to the public and unsettling to the sense of
   11   public safety. Horrific mass shootings, although less common than homicides
   12   generally, have generated widespread apprehension and increased demand for
   13   effective responses from government. As Gabriel Sanchez of the Brookings
   14   Institution noted only 23 days into 2023: 38
   15
              Gun violence continues to be a major public health crisis across the country
   16         with the rise of mass shootings. There were more than 600 mass shooting
   17         events that took place in 2022 alone, and 2023 is so far unfortunately
              following the same trend, with an astonishing 36 mass shootings having
   18         already taken place across the country. In fact, over the past weekend, two
   19         mass shootings occurred, including an incident in Monterey Park, California
   20

   21         36
                Phillip B. Levine & Robin McKnight, Not All School Shootings Are the
   22   Same and the Differences Matter, Nat’l Bureau of Econ. Research Paper No.
        26728, 2020, at 10, https://bit.ly/33YqdX7.
   23         37
                 The authors also note that “Gun sales (measured as the average number of
   24   guns sold per capita in the state between 1999 and 2019) are also 34 percent higher
        than the national average in states where indiscriminate shootings occur.” Id at 15.
   25
              38
                Gabriel Sanchez and Carly Bennett, Voters Want Congress to Address Gun
   26
        Violence and Mass Shootings, 2023, https://www.brookings.edu/blog/how-we-
   27   rise/2023/01/23/voters-want-congress-to-address-gun-violence-and-mass-
        shootings/.                            28
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    1         that left 10 people dead, and a separate shooting at a night club in Louisiana
    2         resulting in numerous serious injuries.

    3         The 2022 Midterm Voter Election Poll made clear that voters want Congress
    4         to address mass shootings and support a host of public policies aimed at
              addressing gun violence. When asked to identify the most important issues
    5         that they want Congress and the President to address, 17% of voters
    6         identified “mass shootings and gun policy” as one of their top priorities.
              Mass shootings were sixth among all priorities mentioned by voters, coming
    7         in higher than education or immigration. Mass shootings and gun policy are a
    8         high priority for voters regardless of whether they live in rural, suburban, or
              small or large urban areas of the country—voters from all geographical areas
    9         named gun policy as a key priority at either 16% or 17%.
   10

   11         51. A recent study of broad scope by Maya Rossin-Slater, et al. (2020) tries
   12   to estimate the impact on mental health of the over 338,000 American students who
   13   experienced and survived a school shooting since 2019.39 Using large-scale
   14   prescription data from 2006 to 2015, the authors examined the effects of 44 school
   15   shootings on youth antidepressant use in a difference-in-difference framework.
   16   Their main finding was that local exposure to fatal school shootings increased
   17   youth antidepressant use by 21.4 percent in the following two years.40 The authors
   18   conclude:
   19

   20
              39
                 The latest tally of the number of children in the United States who had
   21
        endured a shooting at a K-12 school since 1999 is 338,000. John Woodrow Cox
   22   and Steven Rich, After Parkland: What we’ve learned tracking school shootings for
        5 years, The Washington Post, February 14, 2023,
   23
        https://www.washingtonpost.com/dc-md-va/2023/02/14/school-shootings-parkland-
   24   5th-anniversary/.
   25
              40
                Maya Rossin-Slater, Molly Schnell, Hannes Schwandt, Sam Trejo, Lindsey
        Uniat, Local Exposure to School Shootings and Youth Antidepressant Use, PNAS,
   26
        Vol. 117:38, https://www.pnas.org/doi/10.1073/pnas.2000804117. See also My Son
   27   Survived Sandy Hook. It’s Changed Me as a Parent, The Washington Post,
                                                   29
   28
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    1         [W]e find that exposure to a single, fatal school shooting leads to worse
    2         mental health among local youth for years. These lasting impacts are
              consistent with the development of chronic mental health conditions for
    3         which clinical practice guidelines recommend long or indefinite treatment.
    4         Other factors, such as heightened insecurity in the local community, could
              further contribute to persistent mental health effects.
    5

    6         52. Given such evidence, any notion that the problem of public mass
    7   shootings in the U.S. is relatively minor is untenable. With only five percent of the
    8   world’s population, the U.S. has roughly one-third of the public mass shootings
    9   across 171 countries since the late 1960s.41
   10         53.    A considerable body of scientific literature has documented the
   11   significant emotional and mental health harms that mass shootings inflict on
   12   survivors, community members, surviving victims, active responders, and children.
   13   The consistent finding of these studies is that mass shootings can lead to increased
   14   levels of post-traumatic stress disorder (PTSD), anxiety, and depression.42 For
   15   example, the February 14, 2008 mass shooting at Northern Illinois University left
   16   five victims dead and 17 more wounded. Researchers determined that this shooting
   17   led to dramatic increases in the levels of post-traumatic stress (PTS) symptoms in a
   18   sample of Northern Illinois University students.43
   19
        December 13, 2019, https://www.washingtonpost.com/lifestyle/2019/12/13/i-cry-
   20   high-school-meets-how-sandy-hook-changed-me-parent/.
   21         41
                 Lankford, Adam, Public Mass Shooters and Firearms: A Cross-National
   22   Study of 171 Countries, Violence and Victims, Vol 31, Issue 2, DOI: 10.1891/0886-
        6708.VV-D-15-00093, http://connect.springerpub.com/content/sgrvv/31/2/187.
   23          42
                   James M. Shultz et al., Multiple Vantage Points on the Mental Health
   24   Effects of Mass Shootings, 16 Current Psychiatry Reports 469 (2014), available at
        https://bit.ly/3v8DIPR.
   25
              43
                Joseph R. Bardeen et al., Emotion Regulation Difficulties as a Prospective
   26
        Predictor of Posttraumatic Stress Symptoms Following a Mass Shooting, 27 J. of
   27   Anxiety Disorders 188 (2013), available at https://bit.ly/3fziXGD. This
                                                    30
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    1         54.     The medical and social consequences of this increase in PTS can be
    2   profound, as the medical literature notes:
    3         PTSD has substantial impact on the individual and society. There has
              been emerging evidence demonstrating that, among the anxiety
    4         disorders, PTSD is one of the most strongly associated with suicidal
              behaviour, even after adjusting for other … mental disorders. . . . Data
    5         from several cross-sectional and longitudinal studies have replicated
              this finding. People with PTSD also struggle with interpersonal
    6         problems, parenting difficulties, and reductions in household income,
              and have several mental and physical health comorbidities….
    7
              Studies in combat veterans [citations] and in the general population
    8         have shown that PTSD is associated with several physical health
              conditions. … Our group demonstrated that, even after adjusting for
    9         other … disorders, PTSD was associated with bone and joint disease,
              neurological conditions, cardiovascular conditions, respiratory
   10         conditions, and metabolic disease (odds ratios ranging between 1.5
              and 3.0). The mechanisms that underlie these associations between
   11         PTSD and physical health problems are not well understood. It is
              possible that PTSD increases the risk of developing physical health
   12         problems through sleep disturbances, physical symptoms,    obesity, or
              development of comorbid depression and substance use.44
   13

   14   IV. CALIFORNIA’S AGE RESTRICTION CAN ALSO HELP REDUCE THE
   15       RISING YOUTH SUICIDE RATE

   16        A.     The Increased Risk of Suicide Among Young Adults Is Elevated
                    by Access to Firearms
   17

   18         55.     Apart from posing a threat to others, adolescents and young adults,
   19   including 18-20-year-olds, are also prone to harming themselves given their
   20

   21   longitudinal study assessed the presence of PTS symptoms in a sample of female
   22   undergraduates at Northern Illinois University at three time points: T1, the starting
        period (pre-shooting) (n=1,045); T2, short term post-shooting (17-100 days post-
   23   shooting, n=691); and T3, roughly 7-8 months post-shooting (n=588). In the
   24   sample of 691 students that were assessed at T1 and T2, clinically significant levels
        of PTS rose from 20% pre-shooting to almost 50% post-shooting.
   25         44
                Jitender Sareen, Posttraumatic Stress Disorder in Adults: Impact,
   26   Comorbidity, Risk Factors, and Treatment, 59 Can. J. Psychiatry 460 (2014),
   27
        available at https://bit.ly/2S1vkDC.
                                                     31
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    1   particular vulnerability to a range of mental health issues. The stresses associated
    2   with the life transitions inherent in this age group place adolescents and young
    3   adults at an increased risk of conditions like depression and anxiety. 45 According to
    4   a 2019 study conducted across two large national datasets of U.S. college students
    5   from 2007 to 2018, about 41 percent of college students exhibited symptoms of
    6   moderate to severe depression, and about 34 percent exhibited symptoms of
    7   moderate to severe anxiety. 46
    8         56.    Further, many major psychiatric conditions unrelated to life
    9   transitions, such as bipolar disorder, depression, and schizophrenia, develop in
   10   adolescence.47 And despite the high prevalence of mental health issues among
   11   college age adolescents, many go untreated. 48 One study that conducted surveys in
   12   2007 and 2009 of random samples of students on 26 U.S. campuses found that, on
   13

   14

   15         45
                 See Justin Hunt & Daniel Eisenberg, Mental Health Problems and
   16   Help-Seeking Behavior Among College Students, 46 J. Adolescent Health, 3, 5
        (2010), available at https://bit.ly/3f5nzFB (“Mental disorders are as prevalent
   17   among college students as same-aged non-students, and these disorders appear
   18   to be increasing in number and severity”).
   19
              46
                  Mary E. Duffy et al., Trends in Mood and Anxiety Symptoms and Suicide-
        Related Outcomes Among U.S. Undergraduates, 2007–2018: Evidence from Two
   20   National Surveys, 65 J. Adolescent Health 590, 593 (2019), available at
   21   https://bit.ly/3yvk42D.
   22
             47
                Tomáš Paus et al., Why Do Many Psychiatric Disorders Emerge
        During Adolescence?, 9 Nature Reviews Neuroscience 947, 952 (2008),
   23   available at https://go.nature.com/2RrsnvZ (“Anxiety disorders, bipolar
   24   disorder, depression, eating disorder, psychosis including schizophrenia and
        substance abuse all most commonly emerge during adolescence.”).
   25        48
                See Daniel Eisenberg et al., Mental Health Service Utilization Among
   26   College Students in the United States, 199 J. Nervous & Mental Diseases 301
   27
        (2011), available at https://bit.ly/3wmzhRY.
                                                    32
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    1   average, only 36 percent of students who had one or more mental illnesses had
    2   received treatment in the previous year. 49
    3         57.      Jeffrey Swanson, one of the top researchers on issues of guns and
    4   mental health, emphasizes the considerable risk of firearm suicide among young
    5   adults, noting that background checks designed to weed out those with the most
    6   serious depression are not likely to adequately address this problem on their own:
    7         Suicide is the third leading cause of death in Americans age 15 to 24,
              perhaps not coincidentally the age group when young go off to
    8         college, join the military, and experience a first episode of major
              mental illness…. Depression is the particular psychiatric illness most
    9         strongly associated with suicide. …. Depression is not, however, a
              disorder that gets most individuals a gun-disqualifying record of
   10         involuntary commitment. In other words, people suffering from the
              one mental health condition that is most closely and frequently linked
   11         to suicidality are unlikely to show up in a gun background check. 50
   12         58.      The combination of impulsivity, low emotional regulation, and the
   13   onset of mental illness in the 18-20-year-old cohort contributes to high rates of
   14   suicide and suicide attempts in that age group. In fact, suicide is the second leading
   15   cause of death in the U.S. among this age group. 51 In the American College Health
   16   Association’s National College Health Assessment for Spring 2019, which
   17   surveyed 54,497 undergraduate students, 9.3 percent of students reported “seriously
   18   considering suicide” and 1.6 percent reported attempting suicide within the
   19   previous 12 months. 52 Suicide attempts resulting in death or hospital treatment
   20
              49
                   See id.
   21
              50
                Jeffrey Swanson et al., Preventing Gun Violence Involving People with
   22   Serious Mental Illness, in Reducing Gun Violence in America 49 (Daniel
   23   Webster & Jon Vernick, eds., 2013).
   24
              51
                Melonie Heron, Deaths: Leading Causes for 2017, 68 Nat’l Vital Statistics
        Reports 1, 11 (2019), https://bit.ly/3oxWz4C.
   25         52
                  Am. College Health Ass’n, Nat’l College Health Assessment,
   26   Executive Summary: Undergraduate Student Reference Group (Spring 2019),
   27
        https://bit.ly/3fBVzbl.
                                                        33
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    1   “remains high through age 25.”53 Taken as a whole, these statistics are of particular
    2   relevance to the present case because firearms are the most common means of
    3   suicide in the United States.54
    4         59.        As the American Public Health Association (“APHA”) recognizes,
    5   access to firearms is a key risk factor for suicide, with particularly high risk for
    6   young adults.55 The APHA policy statement notes:
    7         While suicide affects all individuals, males are four times more likely
              than females to die by suicide, and the prevalence of suicidal
    8         thoughts, planning, and attempts is significantly higher among
              younger age groups (18–29 years) than older age groups….
    9
              There is ample evidence that suicidality is transitory. Should a person
   10         survive a suicidal impulse, his or her prognosis is quite good. The
              results of a meta-analysis of nearly 100 studies of suicide attempters
   11         showed that 90% of attempters who survive do not go on to die by
              suicide. In fact, many suicide attempts occur with little planning, often
   12         in response to a short-term crisis. However, if a person attempts
              suicide through a means that is highly lethal, such as a firearm, the
   13         odds of survival are quite low.
   14         One must not opt to make a suicide attempt using a highly lethal
              means such as a firearm if there is to be any opportunity to obtain
   15         mental health treatment or endure a painful short-term crisis.56
   16

   17

   18

   19

   20

   21         53
                Daniel Webster et al., Johns Hopkins Bloomberg School of Public Health,
   22   Firearms on College Campuses: Research Evidence and Policy Implications 21
        (2016) at 3, available at https://bit.ly/3p9CeD3.
   23
              54
                  Suicide Prevention Resource Center, “Means of Suicide,”
   24   https://bit.ly/3wnzXGB.
   25         55
                  Am. Pub. Health Ass’n, Reducing Suicides by Firearms (2018),
   26   https://bit.ly/2RqBiOd.
              56
   27
                   Id.
                                                       34
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    1        B.     The Most Directly Relevant and Methodologically Sound Study
    2               Finds that Age Restrictions on Firearm Purchases Reduced
                    Suicides for 18-20-Year-Olds
    3

    4         60.     While Plaintiffs’ experts summarize a number of studies, none of these
    5   studies contains an assessment of an age restriction like the one challenged here, let
    6   alone a similar regulation in a state with universal background checks and the range
    7   of complementary gun safety laws found in California. The most recent and
    8   important study of age restrictions that explores the effect of state restrictions on all
    9   handgun purchases to those who are 21 on suicide rates is Julia Raifman et al.
   10   (2020).57 The Raifman et al. study uses a sophisticated and compelling
   11   methodology and the most up-to-date data, and for these reasons, provides more
   12   useful insights than the less relevant and less reliable studies found in the
   13   declarations of Plaintiffs’ experts. The Raifman et al. study clearly finds that these
   14   restrictions limiting the sale of handguns to individuals aged 21 and older reduce
   15   suicides among those in the 18-20-year-old age group. A copy of the Raifman et al.
   16   study is attached as Exhibit C.
   17         61.     The Raifman et al. study makes use of a particularly valuable
   18   methodological approach called a “regression discontinuity” analysis to more
   19   precisely evaluate the patterns of suicide in 46 states during the time period from
   20   2001 to 2017.58 This regression discontinuity modeling showed that states with
   21   more relaxed restrictions experienced a jump in suicides at 18—when gun access
   22

   23         57
                Julia Raifman et al., State Handgun Purchase Age Minimums in the US
   24   and Adolescent Suicide Rates: Regression Discontinuity and Difference-in-
        Differences Analyses, 370 BMJ 1 (2020), attached hereto as Exhibit C.
   25         58
                  For this regression discontinuity analysis, Raifman et al. excluded four
   26   states that experienced policy changes during the period: Missouri, South Carolina,
   27
        West Virginia, and Wyoming. See id. at 2.
                                                     35
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    1   through purchase first became available—that was not seen in the states that
    2   delayed access until 21. The study describes the conclusion of their regression
    3   discontinuity analysis as follows:
    4         Based on the predicted probabilities of suicide at ages 18 to 20, an
              average of 344 adolescent suicide deaths would have been averted in
    5         each state with a minimum handgun purchaser age of 21 compared
              with age 18 from 2001 to 2017.59
    6

    7   This is the single most methodologically sound assessment of the impact of state
    8   laws restricting handgun access to those in the precise age category addressed by
    9   SB 1100’s and SB 61’s amendments to California Penal Code section 27510.
   10   California’s regime that also prohibits (with certain exceptions) sales and transfers
   11   of handguns and long guns to this vulnerable age group will only be that much
   12   more effective in saving lives.
   13         62.      Raifman et al. also discuss Daniel W. Webster et al., Association
   14   Between Youth-Focused Firearm Laws and Youth Suicides, 292 JAMA 594 (2004).
   15   Raifman et al. describe and evaluate this study as follows:
   16         [Webster et al.] evaluated the link between suicides and laws for
              minimum purchase age passed in 29 states between 1976 and 2001
   17         and found that the policies for limiting handgun sales to those aged 21
              or older were associated with statistically significant reductions in
   18         firearm related suicides but not in overall suicides. This study was
              based on a difference-in-differences design but did not examine pre-
   19         period trends in all cause suicide to assess the suitability of the
              comparison group. We conducted an analysis based on more recent
   20         data most relevant to the current policy environment, including a
              difference-in-differences analysis in which we evaluated parallel
   21         trends.
   22   Utilizing advances in econometric methodology (with a “regression discontinuity”
   23   analysis) and more current data, Raifman et al. buttressed the link Webster
   24   identified in 2004 between firearm-related suicides and age restrictions on the
   25   ability to purchase handguns, finding that limiting firearm access to those who were
   26

   27
              59
                   Id. at 4.
                                                          36
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    1   21 led to a large and statistically significant decline in suicides for those aged 18-
    2   20.
    3         63.    Notably, a cross-sectional study conducted between 2007 and 2014
    4   based on suicidal acts resulting in an emergency room visit, a hospitalization, or
    5   death, found that about 90 percent of suicide attempts with a firearm during that
    6   period resulted in a fatality compared to 4 percent of all attempts not involving a
    7   firearm. 60 As scholars have noted, “[s]uicide attempters often have second thoughts,
    8   but when a method like a gun works so effectively, there’s no opportunity to
    9   reconsider.”61 Access to firearms during a suicide attempt often determines whether
   10   an individual attempting suicide will die or recover.
   11         64.    Daniel Webster, John Donohue, et al. (2016) summarized the research
   12   concerning access to guns on college campuses, noting:
   13         A large body of literature clearly shows that firearm access is
              associated with increased rates of suicide, suggesting that increased
   14         access to firearms on college campuses could significantly increase
              suicide in this vulnerable group. . . .
   15
              The combination of challenges with impulse control, emotional
   16         regulation, and onset of mental illness contribute to high rates of
              suicide and suicide attempts among adolescents and young adults.
   17
              The lethality of a given means or method of suicide attempt accounts
   18         for a substantial portion of the variation observed in suicide mortality
              and points to the unrealized potential for means restrictions strategies
   19         to reduce suicide.
   20         The method used for a suicide attempt depends on availability; there
              is a strong association between the availability of firearms in
   21         households and death by suicide. Having ready access to firearms is
   22

   23

   24
              60
                 Andrew Conner et al., Suicide Case-Fatality Rates in the United
        States, 2007 to 2014: A Nationwide Population-Based Study, 172 Annals of
   25   Internal Medicine 885, 890 (2019).
   26         61
                Jane E. Brody, After a Suicide Attempt, the Risk of Another Try, N.Y.
   27
        Times, Nov. 7, 2016, available at https://nyti.ms/3hOPon0.
                                                    37
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    1         linked with suicide not only for the gun owner but for all members of
              the household, especially for children and adolescents.62
    2
             C.     A Number of Other Studies Have Found that Age Restriction
    3
                    Laws and Other Policies to Keep Guns from this Age Cohort
    4               Effectively Reduce Suicides
    5

    6         65.     The APHA policy statement highlights the results of two interventions
    7   that reduced gun access for young adults, leading to substantial reductions in
    8   firearm suicides:
    9         Between 2003 and 2005, about 90% of all suicides in the Israeli
              Defense Force (IDF), a mandatory population-based army drafting all
   10         youths 18–21 years of age, were firearm suicides. Since many IDF
              soldiers go home on the weekends, the IDF changed its weapons
   11         policy in 2006 to require that firearms remain on base when soldiers
              take a weekend leave. After this policy change, the overall IDF
   12         suicide rate decreased by 40% in 2007–2008. Most of this decrease
              was due to a reduction in weekend firearm suicides; there was no
   13         significant change in weekday suicide rates. A study of suicides in
              Switzerland showed that when the army halved the number of soldiers
   14         from 2003 to 2004 (leading to a decrease in gun availability
              nationwide), both firearm suicide and overall suicide (but not non-
   15         firearm suicide) rates dropped among military-aged men but not
              military-aged women or older men.
   16
              These IDF and Switzerland data support nationwide research
   17         indicating that restricting firearm access is effective in decreasing
              overall suicide rates.63
   18

   19         66.     Similar findings have emerged from examinations of age restriction
   20   laws in the United States. For example, a 2004 study by Webster et al. documented
   21   a significant decline in suicides in the 18-20-year-old group following
   22   implementation of age restriction statutes limiting access to firearms. 64
   23
              62
                Webster, Firearms on College Campuses, supra note 53 (internal citations
   24   omitted).
   25         63
                   APHA, supra note 55.
   26          Daniel W. Webster et al., Association Between Youth-Focused Firearm
              64


   27
        Laws and Youth Suicides, 292 JAMA 594 (2004).
                                                       38
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    1         67.   In 1994, the federal government adopted the Federal Crime Control
    2   and Law Enforcement Act of 1994, which prohibited handgun possession for those
    3   under age 18. A 2015 study by Mark Gius concluded that this federal minimum-
    4   age restriction on firearm possession contributed to a “very significant decline” in
    5   youth firearm suicide and unintentional death rates.65 While it is challenging to
    6   ascertain the impact of a federal law since there is no obvious comparison group,
    7   the data presented in the Gius study—which I depict in Figures 9 and 10 below—
    8   provides visual support for his conclusion that the federal law did curtail both
    9   suicides and unintentional firearm deaths in the 18-20-year-old age group. Note
   10   that in Figure 9, we see that the youth firearm suicide rate had been rising, but this
   11   upward trend is abruptly reversed following the adoption of the federal law. That
   12   conclusion would be wholly consistent with the well-established link between
   13   firearm availability and suicide—a link highlighted in the Raifman et al. study
   14   discussed above, which convincingly demonstrates the effectiveness of minimum-
   15   age requirements in reducing youth suicides. 66
   16   ///
   17   ///
   18   ///
   19   ///
   20   ///
   21

   22         65
                 Mark Gius, The Impact of Minimum Age and Child Access Prevention
        Laws on Firearm-Related Youth Suicides and Unintentional Deaths, 52 Soc. Sci.
   23
        J. 168, 173 (2015).
   24         66
                  For example, a study of 26 million Californians over the age of 21 found
   25   that handgun owners committed suicide at much higher rates than nonowners.
        David M. Studdert et al., Handgun Ownership and Suicide in California, 382 New
   26
        Eng. J. Med. 2220, 2220, 2224 (2020) (“Handgun ownership is associated with a
   27   greatly elevated and enduring risk of suicide by firearm”), available at
        https://bit.ly/2VUfoEG.                   39
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    1                                           Figure 9
    2   The Rising Trend in Youth Firearm Suicides Was Sharply Reversed in 1994 When
          the Federal Government Imposed Minimum Age Requirements for Handgun
    3                                     Possession
    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14         Source: M. Gius / The Social Science Journal 52 (2015) 168–175, Chart 1.
   15

   16           68.   Similarly, Figure 10, which depicts the national youth unintentional
   17   firearm death rate over time, reveals another abrupt improvement starting at the
   18   time of adoption of the federal gun restriction in 1994: while youth accidental
   19   deaths had been relatively stable for a decade, they began a sharp decline after
   20   1994.
   21   ///
   22   ///
   23   ///
   24   ///
   25   ///
   26   ///
   27   ///
                                                     40
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    1                                          Figure 10
    2     The Youth Unintentional Firearm Death Rate Fell Sharply After 1994 When the
                                 Federal Government Imposed
    3                Minimum Age Requirements for Handgun Possession
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   19        Source: M. Gius / The Social Science Journal 52 (2015) 168–175, Chart 2.
   20         69.    Considering the Raifman et al. study, the APHA findings, the RAND
   21   commentary on the frequent use of long guns in youth suicides, and the extensive
   22   literature linking gun access to firearm suicides in general and specifically among
   23   18-20-year-olds, the restrictions at issue in this litigation are well-designed to
   24   prevent avoidable deaths in this vulnerable age group. These age restrictions on
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    1   long gun sale and transfer are particularly critical given the growing stresses and
    2   increased levels of suicide among 18-20-year-olds over the last decade.67
    3          70.    Figure 11 below plots the rate of suicide for this cohort from 2005-
    4   2019, which shows a strong rising trend from 2009-2019. For the rest of the country
    5   (not including California), 18-20-year-olds committed suicide at a rate of 10.52 per
    6   100,000 in 2009 and at 15.45 per 100,000 in 2021, an increase of 46.9 percent. For
    7   California, the comparable numbers jumped from 6.79 to 8.73, an increase of 28.6
    8   percent. 68
    9          67
                  Given the focus of the age restriction on access to long guns at issue in this
   10   litigation, it is important to note that the 2018 RAND study, referenced by
        Plaintiffs’ declarant Thomas Marvell, cites four prominent studies in support of the
   11
        claim that 40 to 50 percent of suicides by youth under 21 were committed with long
   12   guns. Andrew R. Morral et al., RAND Corp., The Science of Gun Policy: A
        Critical Synthesis of Research Evidence on the Effects of Gun Policies in the
   13
        United States 146 (2020),
   14   https://www.rand.org/pubs/research_reports/RR2088.html, citing the following four
        studies: Johnson, R. M., C. Barber, D. Azrael, D. E. Clark, and D. Hemenway,
   15
        “Who Are the Owners of Firearms Used in Adolescent Suicides?” Suicide and Life-
   16   Threatening Behavior, Vol. 40, No. 6, 2010, pp. 609–611; Wright, M. A., G. J.
        Wintemute, and B. E. Claire, “Gun Suicide by Young People in California:
   17
        Descriptive Epidemiology and Gun Ownership,” Journal of Adolescent Health,
   18   Vol. 43, No. 6, 2008, pp. 619–622; Shah, S., R. E. Hoffman, L. Wake, and W. M.
        Marine, “Adolescent Suicide and Household Access to Firearms in Colorado:
   19
        Results of a Case-Control Study,” Journal of Adolescent Health, Vol. 26, No. 3,
   20   2000, pp. 157–163; and Kellermann, A. L., F. P. Rivara, G. Somes, D. T. Reay, J.
        Francisco, J. G. Banton, J. Prodzinski, C. Fligner, and B. B. Hackman, “Suicide in
   21
        the Home in Relation to Gun Ownership,” New England Journal of Medicine, Vol.
   22   327, No. 7, 1992, pp. 467–472.
   23
               68
                  Of course, a growing population of individuals at significant risk of suicide
        within the most homicidal age cohort raises concomitant concerns about the
   24
        increasing risk of mass shootings by individuals in this cohort. Specifically, fully
   25   70 percent of 18-20-year-olds who commit public mass shootings with at least four
        fatalities die at the scene of the crime, either by suicide (50 percent) or being killed
   26
        at the scene by police (20 percent). These numbers are based on all public mass
   27   shootings by 18-20-year-olds from 1982 to the present in which at least four people
        were killed, excluding the shooter.          42
   28
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    1                                         Figure 11
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   17         Source: Centers for Disease Control and Prevention.
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    1                                         Figure 12
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   16        Source: Centers for Disease Control and Prevention.
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   18         71.    While one might take comfort that California’s overall suicide rate has
   19   increased at a slower pace than the rest of the nation over the last decade, the recent
   20   trend over the last five years in firearm suicides has been more concerning. As
   21   Figure 12 illustrates below, for the rest of the country (not including California),
   22   18-20-year-olds committed suicide with a firearm at a rate of 5.19 per 100,000 in
   23   2014 and at 8.17 in 2021, a troubling increase of 57.4 percent. For California, the
   24   numbers jumped from 1.61 to 2.96—an increase of 83.9 percent. This large
   25   increase in firearm suicide by 18-20-year-olds in California in only five years
   26   underscores, once again, the value of restricting firearm access for this increasingly
   27   vulnerable age group.
                                                    44
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    1         72.    The data highlight the need for measures to limit firearm access for the
    2   increasingly stressed and vulnerable 18-20-year-old cohort, given that this age
    3   group in California is at elevated risk of homicidal violence, has traditionally been a
    4   major contributor to the growing problem of public mass shootings, and is at
    5   increasing risk of self-harm given the massive increase in firearm suicides among
    6   18-20-year-olds in the last five years in California, which much evidence has shown
    7   is strongly influenced by gun availability. 69
    8
        V.   NEUROBIOLOGICAL AND BEHAVIORAL FACTORS OF THE 18-20-YEAR-
    9        OLD AGE GROUP INCREASE THE RISKS OF GUN VIOLENCE
   10         73.    There is considerable evidence that a substantial number of 18-20-
   11   year-olds are impulsive, immature, and prone to making poor or unreasoned
   12   decisions for a number of reasons, including underdeveloped cognitive abilities and
   13   issues with mental health, such as depression, anxiety, and suicidality.
   14   Neuroscience and social science data support the conclusion that 18-20-year-olds
   15   pose a considerable risk of increased danger to themselves and others if they
   16   possess firearms. The heightened risk is due to three principal factors: (1) the still-
   17   developing cognitive systems of 18-20-year-olds increases their risk of impulsive
   18   behavior; (2) the frequency of binge drinking during emerging adulthood is a
   19   stimulant to violence that is obviously more dangerous when accompanied with gun
   20   possession; and (3) the onset of mental illness during emerging adulthood is
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   24         69
                 Justin Thomas Briggs & Alexander Tabarrok, Firearms and Suicides in US
        States, 37 Int’l Rev. of Law & Econ. 180 (2014), available at https://bit.ly/3wkew9r
   25
        (“This study investigates the relationship between firearm prevalence and suicide in
   26   a sample of all US states over the years 2000–2009. We find strong, positive effects
   27
        of gun prevalence on suicide….”).
                                                    45
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    1   correlated with self-harm and suicide attempts. 70 We have already discussed the
    2   problem of suicide for these late adolescents, and now turn to points 1 and 2 below.
    3         A. The Observed Pattern of Young Adult Violence Is Consistent
    4            with the Neurobiological Development of 18-20-Year-Olds

    5         74.    Young adults are at an increased risk of violence and misuse of
    6   firearms in part because emerging adulthood is a time of considerable change in the
    7   neurobiological systems that support decision-making, emotional and behavioral
    8   regulation, and motivation. 71 Indeed, the brain’s higher association areas continue
    9   to develop well into the third decade of life. 72 One of the last parts of the brain to
   10   mature—and which continues to develop into the mid-twenties—is the prefrontal
   11   cortex, which supports self-control, including judgment, impulse control and
   12   inhibition, and long-range planning.73 The limbic system, which controls basic
   13   emotions like anger, pleasure, and fear, develops well before the prefrontal cortex,
   14
              70
                See Daniel Webster, John Donohue et al., Johns Hopkins Bloomberg
   15   School of Public Health, Firearms on College Campuses: Research Evidence and
   16   Policy Implications (2016), https://bit.ly/33WaMPp (hereinafter Webster, Firearms
        on College Campuses).
   17
              71
                 See generally Jay N. Giedd et al., Brain development during childhood
   18   and adolescence: a longitudinal MRI study, 2 Nature Neuroscience 861
   19   (1999), https://go.nature.com/3hEOJoc. The “higher association areas” of the
        brain are “parts of the cerebral cortex that receive inputs from multiple areas;
   20   association areas integrate incoming sensory information, and also form
   21   connections between sensory and motor areas. Because they are involved in
        organizing information that comes from various other areas of the brain,
   22   association areas are often linked to complex functions.” See,
   23   https://www.neuroscientificallychallenged.com/glossary/association-areas.
   24
              72
                BJ Casey et al., The Adolescent Brain, 1124 Annals of the N.Y. Academy
        of Sciences 111, 120 (2008), https://bit.ly/2ScxOyz.
   25         73
                  Mariam Arain et al., Maturation of the Adolescent Brain, 9
   26   Neuropsychiatric Disease & Treatment 449, 453, 456 (2013),
   27
        https://bit.ly/3bGgw3N.
                                                     46
   28
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    1   meaning that until the cerebral cortices can catch up with the limbic system, the
    2   desire for rewards and susceptibility to social pressures can, at times, lead to an
    3   overriding of rational thinking by more impulsive, emotional, or irrational
    4   behavior. 74 Moreover, young adults are uniquely prone to negative emotional states,
    5   and their responses to these “frequent” negative states “tend to be more intense,
    6   variable, and subject to extremes relative to adults.”75
    7         75.        As a result of the neurobiological factors, adolescents (including older
    8   adolescents aged 18-20) and young adults in their early- to mid-twenties may be
    9   more likely to act on negative emotions like stress or rage and are thus more prone
   10   to using firearms impulsively and dangerously. 76 Members of this age group
   11   typically have lower self-control and react more impulsively to perceived threats
   12   than do their younger counterparts and older adults, which results in a greater
   13   proclivity towards more risky and violent behavior. 77 These factors explain why
   14   gun possession among 18-20-year-olds correlates with such high rates of murder
   15   and firearm violence, as seen in Figures 1-3.
   16

   17         74
                   Id. at 453.
   18         75
                Leah H. Somerville et al., A Time of Change: Behavioral and Neural
   19   Correlates of Adolescent Sensitivity to Appetitive and Aversive Environmental Cues,
        72 Brain & Cognition 124, 125 (2010), https://bit.ly/3yriI9l.
   20         76
                   Id.
   21         77
                  See, e.g., Michael Dreyfuss et al., Teens Impulsively React Rather Than
   22   Retreat from Threat, 36 Developmental Neuroscience 220 (2014),
        https://bit.ly/33Z0nT6 (finding that adolescents—particularly males—were more
   23
        likely to react impulsively to threat cues than their older and younger peers);
   24   Laurence Steinberg et al., Age Differences in Sensation Seeking and Impulsivity as
        Indexed by Behavior and Self-Report: Evidence for a Dual Systems Model, 44
   25
        Developmental Psychology 1764, 1766 (2008), https://bit.ly/2RvXu9y (finding that
   26   adolescents are vulnerable to risk taking because of a combination of higher
   27
        inclination to seek excitement and immature capacities for self-control).
                                                        47
   28
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    1         76.    Laurence Steinberg, a professor of psychology and neuroscience at
    2   Temple University who has worked extensively on issues involving adolescent
    3   brain development, explained that a disproportionate number of crimes are
    4   committed by males in their late teens and early 20s because during adolescence a
    5   “huge mismatch” develops between parts of the brain that cause impulsive behavior
    6   and emotional sensitivity and other parts of the brain that regulate acting out on
    7   such impulses.78
    8         77.    These important scientific considerations support California’s
    9   restrictions on access to the most lethal weaponry until age 21.
   10         B. The 18-20-Year-Old Cohort Is Susceptible to Heavy Alcohol
   11            Use, Which Has an Established Link to Violence that Can Only
                 be Exacerbated by Access to Firearms
   12

   13         78.    18-20-year-olds are known to frequently drink heavily at a higher rate
   14   than other groups, and there is a close association between alcohol use and
   15   violence. 79 Indeed, my own research has highlighted that increases in alcohol
   16   consumption in a state is one of the strongest factors associated with higher
   17   homicide rates.80 According to a 2019 national survey of approximately 34,000
   18         78
                 Glenn Thrush and Matt Richtel, A Disturbing New Pattern in Mass
   19   Shootings: Young Assailants, The New York Times, June 2, 2022,
        https://www.nytimes.com/2022/06/02/us/politics/mass-shootings-young-men-
   20   guns.html (quoting Dr. Lawrence Steinberg).
   21         79
                 See Charles C. Branas et al., Alcohol Use and Firearm Violence, 38
   22   Epidemiologic Revs. 32, 42-43 (2016), available at https://bit.ly/2Rs9PvC (alcohol
        and firearm use “studies consistently reported that alcohol use was significantly
   23   associated with the possession of firearms, the ownership of firearms, and the use of
   24   firearm as a suicide means, and that the association was stronger for heavy alcohol
        use”).
   25         80
                See John J. Donohue & Steven Levitt, The Impact of Legalized
   26   Abortion on Crime over the Last Two Decades, 22 Am. Law & Econs. Rev.
   27
        241, 256 tbl. 4 (2020), available at https://bit.ly/3oAyfyR.
                                                      48
   28
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    1   college-age students from across the U.S., almost 53 percent of college students
    2   ages 18 to 22 reported drinking alcohol in the past month, and about 33 percent
    3   engaged in binge drinking during the same time frame. 81
    4         79.        An evaluation of data from the National Highway Traffic Safety
    5   Administration, the Centers for Disease Control and Prevention, national coroner
    6   studies, census and college enrollment data for 18-24-year-olds, the National
    7   Household Survey on Drug Abuse, and the Harvard College Alcohol Survey
    8   estimated that, over a three-year period, more than 600,000 students aged 18 to 24
    9   had been assaulted by another student who had been drinking. 82 The Bureau of
   10   Justice Statistics of the U.S. Department of Justice reported that in a year-long
   11   period, alcohol was involved in 41 percent of on-campus acts of violence for
   12   students living on campus, and 18 percent of on-campus acts of violence for
   13   students living off campus. 83 Off-campus acts of violence involving students were
   14   shown to have a similarly high association with alcohol use: 37 percent for students
   15   living on campus, and 31 percent for students living off campus. 84
   16         80.        The link between alcohol and violence is unmistakable in the crime
   17   literature, and an interesting study by Scott Phillips et al. suggests that removing
   18   firearms from those abusing alcohol should lessen the social harm from the alcohol-
   19

   20
              81
                 Substance Abuse and Mental Health Services Administration (SAMHSA),
        Results from the 2019 National Survey on Drug Use and Health: Percentages, 2018
   21
        and 2019, https://bit.ly/3bKgKXT.
   22         82
                See Ralph Hingson et al., Magnitude of Alcohol-Related Mortality and
   23   Morbidity Among U.S. College Students Ages 18-24: Changes from 1998 to 2001,
        Ann. Rev. of Pub. Health 259 (2005).
   24         83
                 Lawrence A. Greenfeld, Alcohol and Crime: An Analysis of National Data
   25   on the Prevalence of Alcohol Involvement in Crime, U.S. Dep’t of Justice, Bureau
   26   of Justice Statistics (1998), https://bit.ly/3ysMWsn.
              84
   27
                   Id.
                                                       49
   28
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    1   violence link. This study focused on male-male violence and found that greater
    2   alcohol intoxication is associated with violence escalating to a lethal level.85 The
    3   study concluded that the greater the level of intoxication, the more likely that one
    4   will have a gun, and it is the presence of the gun that leads to the more homicidal
    5   outcome. 86
    6         81.        Professor Wintemute, who has reviewed the “existing research on the
    7   relationships between alcohol misuse; ownership, access to, and use of firearms;
    8   and the commission of firearm violence,” concluded: “Acute and chronic alcohol
    9   misuse is positively associated with firearm ownership, risk behaviors involving
   10   firearms, and risk for perpetrating both interpersonal and self-directed firearm
   11   violence…. For men, deaths from alcohol-related firearm violence equal those
   12   from alcohol-related motor vehicle crashes.” 87 I agree with Professor Wintemute’s
   13   conclusion that keeping guns away from alcohol abusers would be “an effective
   14   violence prevention measure.”88
   15         VI.        CALIFORNIA’S GUN SAFETY REGULATIONS HAVE HELPED THE
                         STATE TO MORE EFFECTIVELY ADDRESS FIREARM HOMICIDE
   16
                         AND OVERALL VIOLENCE RELATIVE TO OTHER STATES
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                82. California has consistently shown that legislative efforts to keep guns
   18
        away from higher-risk individuals are beneficial. 89 In my opinion, restricting access
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              85
                Scott Phillips et al., Reconsidering the Relationship Between Alcohol and
        Lethal Violence, 22 J. Interpers. Violence 66 (2007).
   21
              86
                   Id.
   22         87
                Garen Wintemute, Alcohol Misuse, Firearm Violence Perpetration, and
   23   Public Policy in the United States, 79 Preventive Med. 15 (2015).
              88
   24              Id.
   25
              89
                 Garen J. Wintemute et al., Subsequent Criminal Activity Among Violent
        Misdemeanants Who Seek to Purchase Handguns: Risk Factors and Effectiveness of
   26
        Denying Handgun Purchase, 285 JAMA 1019 (2001), https://bit.ly/3fy6Rh2
   27   (prohibiting those convicted of violent misdemeanors from purchasing a handgun
                                                       50
   28
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    1   to firearms for the higher-risk cohort of 18-20-year-olds would generate similar
    2   benefits in reduced gun crime as California’s efforts to restrict access to firearms
    3   for other high-risk groups.
    4         83.    Indeed, the data indicate that the state’s cumulative efforts at
    5   strengthening gun safety measures has led to very encouraging results. Fifteen years
    6   ago, California had a considerably higher rate of firearm homicide than the rest of
    7   the country as shown in Figure 13 below. Specifically, in 2005, California’s rate
    8   was more than 25 percent higher than the rest of the country: 5.2 per 100,000 in
    9   California and 4.0 per 100,000 for the rest of the country.
   10   84. Over time, California has implemented numerous gun safety measures and
   11   initiatives, including restrictions on assault weapons, high-capacity magazines, and
   12   concealed carry licenses, as well as a universal background check system. The
   13   state’s comprehensive efforts to reduce gun violence have borne fruit, as illustrated
   14   in Figure 13 (based on my calculations from FBI crime data): in the 2005-2021
   15   period—when firearm homicide in California fell 9.5 percent—firearm homicide in
   16   the rest of the country rose by 61.8 percent. Similarly, California has performed
   17   much better than the rest of the country over this period in both overall homicides
   18   and firearm assaults, which show a pattern similar to that of Figure 13.
   19

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   25   reduced future criminal offending for the covered group by roughly 22 percent); M.
        A. Wright et al., Effectiveness of Denial of Handgun Purchase to Persons Believed
   26
        to Be at High Risk for Firearm Violence, 89 Am. J. Pub. Health 88 (1999),
   27   https://bit.ly/3bE1go8u (law preventing felons from buying guns led to a 19.4
        percent statistically significant reduction 51
                                                    in their future violent criminality).
   28
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    1                                           Figure 13
                    California’s Firearm Homicide Rate Was Well Above the Rest of the
    2                     Country 15 Years Ago, and Is Now Well Below It
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   13         Source: Author’s calculations based on FBI crime data.90
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   15         85.    It is also interesting to compare California—the largest state that has
   16   tried to limit gun violence—with Texas, which banned carrying guns outside the
   17   home for protection from 1871 to 1995. In 1995, California had a 22 percent higher
   18   murder rate than the gun-restrictive Texas. After 25 years of increasing gun
   19   restrictions in California, Texas’s simultaneous pro-gun strategy has now left it
   20   with a 27 percent higher murder rate than California.91 When Paul Clement on
   21

   22         90
                  Fed. Bureau of Investigation, Uniform Crime Reporting Program,
        Summary Reporting System, Estimated Crimes (Data Set) (Sept. 10, 2021),
   23
        available at https://cde.ucr.cjis.gov/LATEST/webapp/#; National Center for Health
   24   Statistics, Vintage 2020 Postcensal Series, supra note 3.
   25
              91
                 Specifically, by 2021, Texas’s murder rate of 8.1 was 27.3 percent higher
        than California’s murder rate of 6.36, even though in 1995, when Texas was still
   26
        gun restrictive and prior to California’s dedicated efforts at prudent gun safety
   27   regulation, California’s murder rate of 11.26 per 100,000 in California was
                                                    52
   28
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    1   behalf of the NRA told the U.S. Supreme Court during oral argument in Bruen that
    2   being more permissive with respect to firearm regulation would make “no
    3   difference” to crime, he was dead wrong. 92
    4           VII. THE CLAIMS BY PLAINTIFFS’ DECLARANTS IN SUPPORT OF THE
                     MOTION FOR PRELIMINARY INJUNCTION ARE DEVOID OF MERIT
    5

    6           86.   John Lott and Thomas Marvell submitted declarations in support of the
    7   2019 motion for preliminary injunction in this case to advance the unlikely
    8   proposition that restricting the ability of a high-risk age group to purchase or transfer
    9   firearms at licensed retailers will not contribute to a reduction in homicides, violent
   10   gun crime, gun suicides, and gun accidents. This argument is without merit for all
   11   the reasons previously discussed. Moreover, their theories and declarations rely on
   12   fatally flawed studies and misleading claims.
   13           87.   Abundant evidence over the last 50 years demonstrates the
   14   instrumentality effect—i.e., that the deadliness of the weapon has an effect on the
   15   outcomes of gun violence and injury. Yet, Plaintiffs’ experts Marvell and Lott say
   16   not a word about this critical effect, nor do they acknowledge that the work
   17   demonstrating this effect was internationally acclaimed and recognized in 2020,
   18   when Berkeley law professor Frank Zimring and Duke economist Phil Cook shared
   19   the Stockholm Prize in Criminology based in part on their work confirming this
   20   effect. 93
   21

   22   substantially higher than the murder rate of 9.24 per 100,000 in Texas, according to
   23   CDC data.
   24            New York State Rifle & Pistol Association v. Bruen, Nov. 23, 2021,
                92

        https://www.supremecourt.gov/oral_arguments/argument_transcripts/2021/20-
   25   843_7m5e.pdf.
   26            Stockholm Univ., 2020 Winners of the Stockholm Prize in Criminology
                93


   27
        (Sept. 13, 2020), https://bit.ly/3fIbiHr.
                                                     53
   28
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    1         88.    Moreover, the evidence on the link between firearm acquisition and
    2   suicide—an issue of particular importance for the 18-20-year-old age group—is
    3   powerful. Indeed, one study found that, in California, “[i]n the first week after the
    4   purchase of a handgun, the rate of suicide by means of firearms among purchasers
    5   (644 per 100,000 person-years) was 57 times as high as the adjusted rate in the
    6   general population.” 94 Moreover, recent evidence suggests that long guns are used
    7   more often to commit suicide than had previously been realized, even more so for
    8   those under 21 than for older individuals—precisely because handguns traditionally
    9   have been more tightly regulated than long guns. 95 Theory and evidence strongly
   10   suggest that California’s efforts to restrict acquisition of long guns by those under
   11   21 will not only reduce homicides, but will also reduce suicides in this vulnerable
   12   age group. In addition, reduced firearm access by (typically less cautious) 18-20-
   13   year-olds can only reduce accidental firearm deaths and injuries. 96
   14         94
                  Garen J. Wintemute et al., Mortality Among Recent Purchasers of
   15   Handguns, 341 N.E. J. of Medicine 1583, 1583 (1999), available at
   16
        https://bit.ly/3kEMaEo.
              95
                  Noting that “[f]irearms account for the majority of US suicides, largely due
   17
        to lethality and accessibility” and that “long guns are less regulated than handguns
   18   which is a concern for increased suicide risk,” a recent study in Maryland found
        that roughly 40 percent of suicides among those aged 18-21 were committed with
   19
        long guns. Paul S. Nestadt et al., Prevalence of Long Gun Use in Maryland Firearm
   20   Suicides, 7 Injury Epidemiology 1 (2020), available at https://bit.ly/3kJGDwl.
   21
              96
                 Notably, young people appear to be far more likely to be injured or die in
        firearm accidents than older adults. See Sarah J. Solnick & David Hemenway,
   22
        Unintentional Firearm Deaths in the United States 2005-2015, 6 Inj. Epidemiology
   23   1, 3-4 (2019) (finding that “children and teens, ages 10 to 19,” and “young adults,
        aged 20 to 29,” have an elevated risk of dying in a gun accident than older adults),
   24
        available at https://bit.ly/3zowb14; Victor Lee et al., Emergency Department Visits
   25   for Firearm-Related Injuries Among Youth in the United States, 2006-2015, 48 J.
        L., Med. & Ethics 67, 70 (2020) (finding that, between 2006 and 2015, 36,780 18-
   26
        20-year-olds reported to a hospital emergency room for unintentional firearm injury
   27   and an additional 2,399 reported for firearm injury caused by a suicide attempt or
        self-harm), available at https://bit.ly/3isoUGR.
                                                    54
   28
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    1         89.      Lott and Marvell, however, try to argue that the instrumentality effect
    2   is somehow diminished for the 18-20-year age group—the age group with the
    3   highest homicide rate in the country that is simultaneously experiencing a troubling
    4   increase in its rate of suicide. Their supposition that reducing access to firearms for
    5   18-20-year-olds will not save lives or reduce gun violence is contradicted by a
    6   range of psychological, neurobiological, biological, and empirical evidence. Since
    7   Lott and Marvell offer no evidence concerning the California gun regulation at
    8   issue in this case, their invocation of weak or flawed studies about different
    9   regulations in other states, under circumstances that make it difficult to determine
   10   the true impact of the laws examined, provides little reason to depart from
   11   California’s evidence-based decision to restrict gun sales to 18-20-year-olds by
   12   licensed retailers. Moreover, Lott and Marvell’s claims that keeping guns away
   13   from a particularly vulnerable group of individuals will not prevent some suicides
   14   are hollow in the face of the compelling new evidence from Raifman et al. on how
   15   age-based firearm restrictions have reduced suicides for 18-20-year-olds. 97
   16         90.      Indeed, Marvell’s declaration in support of the preliminary injunction
   17   motion begins its recitation of the literature by referencing a study by Gary Kleck, 98
   18   which very explicitly laid out the rationale for enacting age-based firearm
   19   restrictions covering 18-20-year-olds:
   20         [G]un control measures specific to young adults reduce violent crime
              within that group. This focus is especially important because criminal
   21         violence in America is at its highest in the young adult ages. For
              example, national arrest data for 2017 indicate that the single ages
   22         with the highest rates of arrest for murder were 18, 19, and 20 years
              old (U.S. FBI, 2019, Table 38). Society therefore has an especially
   23         strong interest in reducing violence among young adults, and it would
              seem reasonable to focus violence-prevention efforts especially
   24         heavily on this group.
   25

   26         97
                   Raifman et al., see supra note 57.
   27         98
                 Gary Kleck, Regulating Guns Among Young Adults, 44 Am. J. of Crim.
        Justice 689 (2019), https://bit.ly/3fyFl2W.55
   28
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    1         There are also good reasons to believe that gun control measures
              would be especially likely to be effective if they focused on young
    2         adults. First, precisely because violent criminal behavior is more
              common within this group, any one instance of denying a gun to such
    3         a person is more likely to prevent a violent crime with a gun. Second,
              young adults are more likely to use firearms when they commit
    4         violence crimes (Department of the Treasury and Department of
              Justice, 1999, pp. 7, 9).
    5

    6         91.     This overview is quite right. The most reasonable inference that can be
    7   drawn from the evidence presented in this declaration is that regulations limiting
    8   access to firearms to those aged 18-20 who have appropriate training or oversight,
    9   and placing additional, stringent limitations on access to some of the deadliest types
   10   of firearms (such as semi-automatic centerfire rifles), will have beneficial effects in
   11   saving lives and reducing injuries. This is underscored by the fact that the 18-20-
   12   year-old cohort is at greater risk of violence and suicide. Certainly nothing that
   13   appears in the Marvell and Lott declarations provides any basis to reject this
   14   determination.
   15        A.     John Lott and Thomas Marvell Rely on Studies with Limited
   16               Empirical Value in this Case

   17         92.     Lott and Marvell rely on evaluations of gun regulations that are both
   18   substantively different from the California laws at issue in this litigation and that have
   19   been enacted in states that are substantially different from California on matters of
   20   gun policy. Marvell begins his declaration with the admission that “[t]he impact of
   21   increasing minimum age to purchase a firearm from 18 to 21 is difficult to determine
   22   because very few states have made such a change.” Neither he nor Lott offers any
   23   empirical evidence about the actual effects of SB 1100 and SB 61, the precise legal
   24   amendments at issue in this case, which are unique among the states.
   25         93.     An ideal empirical study on the impact of SB 1100 and SB 61 would
   26   examine all states with 1) age-based restrictions similar to the California law
   27   challenged here that restrict the ability of young people aged 18-20 to purchase,
                                                     56
   28
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    1   receive, or transfer long guns at licensed retailers (while prohibiting those retailers
    2   from selling or transferring more lethal, semiautomatic centerfire rifles to individuals
    3   in this age group), and 2) a comparable gun-safety regime in place to enhance the
    4   effectiveness of those laws (e.g., universal background checks, waiting periods, and
    5   other provisions).
    6         94.    Instead, Lott and Marvell offer studies about different types of age
    7   restrictions in states that do not have a regulatory regime to prevent gun violence
    8   that is comparable to that of California, with its demonstrated record of reducing
    9   violent crime through prudent gun safety measures. In addition, the laws Lott and
   10   Marvell review are often directed at a younger age group, and the researchers they
   11   cite look at an age group different from the 18-20-year-old group that is the focus of
   12   SB 1100 and SB 61, further undermining Lott’s and Marvell’s opinions in this case.
   13   But as noted above, those under 18 have a dramatically lower homicide rate than
   14   those in the 18-20 age category, so there is simply less opportunity to diminish their
   15   lower crime rates. Moreover, those seventeen years of age and under work less and
   16   have far less access to capital than older individuals, so restrictions on gun
   17   purchasing will have less of an impact on the overall possession of weapons by the
   18   youngest cohort.
   19         95.    At the same time, Lott and Marvell make no mention of
   20   methodologically superior studies that do show the effectiveness of age-based
   21   restrictions as well as the massive evidence on the instrumentality effect of weapons,
   22   which provides compelling justification for restrictions on firearm acquisition for the
   23   age group with the highest homicide rate in the country.
   24
        ///
   25   ///
   26

   27
                                                      57
   28
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    1        B.        Plaintiffs’ Experts Rely on Studies Plagued by Practical and
    2                  Methodological Shortcomings That Further Undermine Their
                       Value in this Litigation Concerning SB 1100 and SB 61
    3

    4         96.        Across the fields of econometrics and statistics, there is a hierarchy of
    5   research methodologies concerning the empirical evaluation of law and policy. 99 The
    6   studies cited by Plaintiffs’ experts to suggest there are no benefits from age-based
    7   restrictions are 1) either too low in the hierarchy to generate results that could be
    8   expected to overturn a strong body of contrary theory and evidence, or 2) were
    9   conducted before the empirical field had fully understood how to assess statistical
   10   significance and the need to establish the existence of “parallel trends” in conducting
   11   panel data analyses. 100 Moreover, their cited studies also labor under a practical
   12   difficulty: the laws they do look at are often few in number with an insufficient
   13

   14
                  99
                    The apex of the methodological hierarchy for causal inference would be a
        randomized control trial, which is commonly used in the medical literature to
   15   evaluate drugs, vaccines, and medical treatments. Since RTC laws are not
   16   randomly assigned (i.e., adopted by states randomly), one necessarily must use a less
        rigorous econometric approach than randomized samples. Of course, studies done
   17   at any level in the hierarchy can be performed and interpreted well or poorly, as the
   18   discussion below highlights. Well-informed judgment that can evaluate the entire
        corpus of empirical information in light of the most sound theoretical onsiderations
   19   will ultimately be needed to draw the most compelling causal inferences. As I
   20   explain, the reports of Lott and Marvell are often untethered from the broader
        insights of the entire corpus of theory and empiricism concerning gun safety
   21   measures and therefore fail to demonstrate the requisite well-informed judgment.
   22             100
                      In my Presidential address to the American Law and Economics
        Association, which was published in the American Law and Economics Review in
   23
        2015, I explained that there is a hierarchy of empirical methodologies, specifically
   24   noting that the regression discontinuity approach is just below the randomized
        control experiment and superior to the panel data methodology that is used in the
   25
        best of the studies that Marvell discusses. See John J. Donohue, Empirical
   26   Evaluation of Law: The Dream and the Nightmare, 17 Am. Law & Econ. Rev. 313
   27
        (2015), available at https://bit.ly/3hSJgtD.
                                                        58
   28
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    1   number of years of data available to expect to be able to identify a statistically
    2   significant effect, even if it exists. In statistical jargon, they are “under-powered.”
    3        C.     The First Study on which Marvell Relies Embodies the Type of
    4               Econometric and Interpretive Errors that Lead to Erroneous
                    Conclusions about the Impact of Firearm Regulations
    5

    6         97.      The very first article that Marvell discusses in support of his theory that
    7   the firearm restrictions in SB 1100 and SB 61 would not be effective in saving lives,
    8   avoiding injuries, and reducing suicides is a study by Gary Kleck that evaluates a
    9   1968 federal law prohibiting licensed gun dealers (but not private citizens) from
   10   selling handguns to persons under 21. 101 Kleck describes his methodology for
   11   determining the effect of the 1968 law as follows:
   12
                       We do this by measuring the average trend in the 18-to-20 year old
   13                  share of arrests in the years immediately before the [Gun
                       Control Act or GCA] went into effect in late 1968 (i.e., in 1963-
   14                  1968) and comparing this with the average trend in the years
   15                  immediately after the GCA (i.e., 1969-1973), excluding 1968
                       because part of it was before the GCA went into effect and part
   16                  was after. If the relevant provisions of the GCA were effective,
                       the post-1968 trends should be either downward or at least be
   17
                       less steeply upward than they had been before the GCA. 102
   18   Kleck then concludes that the law had no effect because the growth rate in the share
   19   of crime committed by 18-20-year-olds was not notably less from 1969-1973 than
   20   in the five years prior to the adoption of the federal law.103
   21         98.      This type of time-series analysis is considered lower in the
   22   methodological hierarchy because it does not allow a “treatment-control”
   23

   24         101
                  Gary Kleck, Regulating Guns Among Young Adults, 44 Am. J. Crim.
   25   Justice 689 (2019).
   26
              102
                    Id. at 97.

   27
              103
                    Id. at 99.
                                                       59
   28
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    1   comparison, and instead only provides a “before-after” assessment.104 The first
    2   thing to note is that Kleck’s simple test would only be accurate if everything other
    3   than the 1968 law was the same before and after 1968 (or at least the influences on
    4   crime for those who were 18-20 were identical to those who were an age other than
    5   18-20). As is well known, however, the period beginning in 1968 was one of
    6   enormous youth rebellion, increased drug use, protests over civil rights and the
    7   Vietnam War, and major urban riots after the deaths of Martin Luther King and
    8   Robert Kennedy in 1968. In fact, in 1968, 536,000 U.S. military personnel were in
    9   Vietnam—largely young men who could not be committing crimes in the U.S.—but
   10   American forces had largely returned by 1973. As might be expected, these societal
   11   changes influenced the rates of crime in dramatic ways in the 5 years after the
   12   federal law went into effect. Kleck fails to account for these factors in his analysis.
   13         99.    But even if Kleck had found that the law had no effect during the period
   14   examined, what would that tell us about the very different law and situation relevant
   15   to the litigation in this case? Kleck provides the answer: essentially nothing. He
   16   writes:
   17                Why did the new ban on handgun buying not reduce violent crime
                     among the young adults who should have been affected? One
   18                obvious explanation would be that they bought handguns from
   19                other sources besides licensed dealers, such as friends or
                     relatives. … It is even possible that the ban did reduce
   20                handgun acquisition in this group, but that this did not reduce
                     the youths’ involvement in violent crime. Criminally inclined
   21                young adults could substitute long guns like shotguns or rifles
   22                … to use in crimes …. (emphasis supplied.)
   23         100. There are a number of important reasons why the 1968 handgun sale
   24

   25
              104
                 One of the difficulties with analyzing a federal law is that there is no
        obvious comparison group, like there is when evaluating changes in state laws
   26   when enough other states have not made the change. Thus, the nature of the legal
        change that is to be evaluated and limitations on the available data can constrain
   27   the choices of researchers to less-preferred methodological approaches.
                                                    60
   28
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    1   restriction would not be as effective as the legal regime that California has in place:
    2   1) In contrast to the legal system Kleck was investigating, California has universal
    3   background checks requiring every gun sale to proceed through a licensed dealer, so
    4   the option of an 18-20-year-old buying a handgun through a private dealer legally
    5   has long been foreclosed in California, and 2) SB 1100 and SB 61 limit the
    6   circumstances under which these young people may purchase, receive, or transfer
    7   long guns. In sum, Kleck’s study is too misdirected in its focus to aid in assessing
    8   the effectiveness of Section 27510 and it is too flawed methodologically to be
    9   reliable. Indeed, the last study cited in Marvell’s declaration was a RAND study on
   10   the impact of gun laws, which specifically indicated that the methodology
   11   employed by Kleck was not likely to yield reliable results and therefore was not
   12   worthy of consideration.105
   13         101. The shortcomings of the research cited by Lott and Marvell are
   14   underscored by the fact that there is a study of an age-based firearm restriction that
   15   does not labor under these disadvantages, which does not appear in their discussions
   16   of the literature. This superior study by Raifman et al., which analyzes more
   17   comprehensive data, refutes their conclusion and finds a clear benefit in reducing
   18   suicides in the 18-20-year-old group when comparable age-based restrictions are
   19   adopted.106 Specifically, this study employs a methodological design (“a regression
   20

   21         105
                   Andrew R. Morral et al., RAND Corp., The Science of Gun Policy: A
   22   Critical Synthesis of Research Evidence on the Effects of Gun Policies in the
        United States (2018), available at https://bit.ly/3yQT91E. I agree with the RAND
   23   analysts’ rejection of the methodology employed in the Kleck paper—which
   24   Marvell seems to implicitly accept in noting that Kleck’s actual statistical work uses
        a very weak statistical methodology.
   25          106
                   See the discussion above of Julia Raifman et al., State Handgun Purchase
   26   Age Minimums in the US and Adolescent Suicide Rates: Regression Discontinuity
   27
        and Difference-in-Differences Analyses, 370 BMJ (2020), supra note 57.
                                                    61
   28
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    1   discontinuity” analysis) that is superior to the studies cited by Plaintiffs’ experts,107
    2   and, since it was recently conducted, it has the advantages of both more complete
    3   data and the benefits of the latest statistical techniques in causal inference.
    4        D.     Lott’s Declaration is Marred By Numerous Factual and
    5               Interpretive Errors that Undermine His Claims
    6         102. In an apparent attempt to undercut the well-established neuroscientific
    7   data about the relative immaturity of the 18-20-year-old cohort, Lott references the
    8   experience from Texas, Michigan, and Nevada regarding 18-20-year-olds who hold
    9   concealed handgun carry permits.108 Lott’s contention that young concealed carry
   10   permit holders are not that dangerous is misguided for two reasons. First, data
   11   regarding the very limited number of 18-20-year-old concealed carry permit holders
   12   in other states with different firearms regulation regimes tells us very little about the
   13   entire population of 18-20-year-olds, which the data show to be—comparatively—a
   14   more violent and homicidal age group than all other age groups. 109 Since the
   15
              107
                    The closer one comes to mimicking the advantages of a randomized
   16   control analysis, the better the chance of securing valid estimates of the impact of
   17   any particular legal or policy initiative. Regression discontinuity studies do come
        closer than standard observational studies because they evaluate behavior on either
   18   side of a distinct demarcation where those just on one side or other of the cutoff in
   19   question (here, an age-based cutoff) can be thought of as close to randomly
        distributed in their tendency to commit crime.
   20           108
                    ECF No. 21-17 at 12-14.
   21
                109
                    When the Texas legislature adopted a right-to-carry law, it barred 18-20-
        year-olds from getting a permit because of their diminished maturity. A decade
   22
        later in 2005, an exception was created “to allow persons under 21 who had military
   23   training to apply for concealed handgun licenses … because this group’s ‘extensive
        training in handling weapons’ mitigated the legislature’s concern that persons under
   24
        21 generally were not sufficiently mature to handle guns responsibly.” Nat'l Rifle
   25   Ass'n of Am., Inc. v. McCraw, 719 F.3d 338 (5th Cir. 2013). So Lott is basing his
        comparison on a group that the legislature thought was clearly more responsible
   26
        than the average 18-20-year-old, which at the start undermines the value of his
   27   evidence.
                                                     62
   28
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    1   regulation in question here is of a very different and more comprehensive scope,
    2   Lott’s evidence does not provide useful insight into the value of California’s
    3   regulation.
    4         103. Second, Lott badly misinterprets his own data. He states:
    5         Michigan and Texas grant to 18-to-20-year-olds (sic) and provide data
              by year of age of permit holders, though relatively few permits are
    6         granted (for 2018, 322 permits). For 18-to-20-year-olds in Texas who
              were granted such a permit in 2018,110
                                                   only 5 of 322 were revoked
    7         (0.015%) and zero were suspended.
    8   Lott’s first sentence seems to suggest he is referring to revocations of Michigan and
    9   Texas permit holders who are aged 18-20. He alludes to the small number of
   10   permits in this category, which he lists as 322 in 2018. While one might think he
   11   was referring to the combined permits in this age category for both Michigan and
   12   Texas, the next sentence and his subsequent exhibit show that 322 is the number for
   13   Texas alone.
   14         104. The data that Lott does present is from a Texas report that he construes
   15   as establishing that 5 of the 322 18-20-year-old permit holders in Texas had their
   16   permits revoked for misconduct in 2018. Apparently trying to persuade his
   17   audience that the Texas revocation rate is low, Lott misstates that 5 of 322 is only
   18   .015 percent. Lott’s calculation is off by two orders of magnitude: The true
   19   percentage is 1.552 percent, which is 100 times greater than the percentage that Lott
   20   reports.
   21         105. Two points must be made about this egregious error. First, the standard
   22   metric for criminal misconduct is not measured in percentage terms, but rather in
   23   crimes per 100,000. Thus, 1.552 revocations per 100 would ordinarily be referenced
   24   as a misconduct rate of 1,552 per 100,0000—a rate that is in fact considered a
   25   troublingly high rate of misconduct. For comparison, in 2019, California’s violent
   26   crime rate for the state was 430 per 100,000. In other words, Lott’s evidence
   27
              110
                    ECF No. 21-17, ¶ 18.             63
   28
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    1   actually suggests that the Texas permit holders have a high rate of criminal
    2   misconduct.111
    3         106. Indeed, comparing those who have been caught and had their licenses
    4   revoked to the total amount of violent crime is unduly beneficial to Lott’s
    5   comparisons, as a very substantial proportion of violent crimes are not solved and
    6   do not result in criminal conviction. 112 The bottom line is that even if Lott’s
    7   evidence is correct, it stands for the opposite of his claim: these 18-20-year-old
    8   Texans with concealed carry permits seem to be at a rather high risk of criminality.
    9         107. Lott also presents figures in two tables, for which he provides no data
   10   source, that purport to tell us that the revocation rate of Texas permit holders who
   11   are 18-20 is lower than it is for those 21 and above. 113 But this is contradicted by
   12   his own Exhibit 7, which shows a 1.552 percent revocation rate for those 18-20-
   13   year-olds (5 of 322) and a .367 percent revocation rate for those older than 20 (1253
   14   of 341,761). In other words, Lott’s Exhibit 7 data indicates that the 2018 revocation
   15   rate for 18–20-year-olds was 4.2 times higher than it is for older Texas permit
   16

   17
              111
                   While Texas did not release the basis for the revocations for the
        youthful permit holders, it does report that in 2018 permit holders overall were
   18   convicted of 41,180 criminal offenses, predominantly for violent crime. See Tex.
   19   Dep’t of Pub. Safety, Conviction Rates for Handgun License Holders (2019),
        https://bit.ly/3vtHNi2.
   20         112
                  To see this point, note that if 430 violent crimes were committed by a
   21   population of 100,000, we would not expect to catch and convict all of these
   22   criminals. Thus, the number that would be caught and sanctioned would be smaller
        than 430. Since the violent crime clearance rate in California is usually around 45
   23   percent, one might expect to catch fewer than 200. The number who were then
   24   subsequently convicted would be smaller still. But in Texas, the rate at which
        youthful permit holders were caught, deemed to have committed misconduct, and
   25   had their permits revoked in 2018 was 1552 per 100,000—a dramatically higher rate
   26   than the overall rate of violent criminals caught and convicted in California.

   27
              113
                    ECF No. 21-17, p. 14.
                                                     64
   28
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    1   holders. (Note that the .367 percent revocation rate for older Texans from Lott’s
    2   Exhibit 7 is more than twice the figure that Lott shows in his unsourced tables, 114
    3   but since I do not have his data, I cannot determine whether older permit holders
    4   had their permits revoked at unusually high rates in 2018. However, since there are
    5   so many errors in his report around these numbers, they should not be relied on.)
    6   But even if Lott’s claim were true and Texas permit holders who were 18-20 years
    7   old were less criminally disposed than older Texans, this could well be because
    8   Texas only allows 18–20-year-olds to carry handguns if they are in the military. But
    9   California has the same age-based treatment for purchases of semi-automatic
   10   centerfire rifles that Texas has for issuing right to carry (“RTC”) permits: 18–20-
   11   year-olds are subject to a restriction, unless they are in the military or, in California,
   12   law enforcement.
   13         108. Lott makes a passing reference to Michigan’s permit revocation data,
   14   but there is a well-known case from Michigan that highlights why Lott’s reliance
   15   on permit revocations understates the level of misconduct by right-to-carry permit
   16   holders and provides little basis for assessing the age limitations imposed by
   17   Section 27510. In 2013, two Michigan permit holders became embroiled in a road
   18   rage incident and pulled over to the side of the road to settle their dispute. They
   19   both jumped out of their cars and proceeded to shoot each other, with each killing
   20   the other.115 Since both permit holders were dead, there was no need to proceed to
   21   permit revocation, which highlights that revocations can undercount even the most
   22   extreme misconduct committed by permit holders. In sum, Lott’s data on permit
   23   revocations in Texas understates the harm caused by permit holders.
   24

   25
              114
   26               Id.
   27         115
                  Hunter Stuart, 2 Concealed Carry Holders Kill Each Other in Road Rage
        Incident, Huffington Post, Sept. 19, 2013,65https://bit.ly/3hHX5f2.
   28
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    1        E.     More Semi-Automatic Rifles in the Hands of 18-20-Year-Olds
    2               Will Lead to Increased Social Harms

    3         109. Plaintiffs’ Memorandum of Points and Authorities in Support of their
    4   Motion For Preliminary Injunction indicates that they seek to enable 18-20-year-
    5   olds to acquire semi-automatic centerfire rifles “for self-defense and all other lawful
    6   purposes.” Conspicuously, the Plaintiffs’ experts do not suggest success in this
    7   venture would be protective for the 18-20-year-olds or anyone else. Indeed, 18
    8   recent studies have shown that more guns being carried has a net harmful effect on
    9   violent crime. 116 RAND has evaluated the entire array of gun scholarship and
   10   concludes on the basis of this literature review that more gun carrying leads to
   11   pernicious social consequences. Specifically, RAND concludesthat adoption of a
   12   right to carry concealed weapons increases total and firearm homicides.117
   13         110.      Since these 18 studies showing that RTC laws lead to increases in
   14   violent crime do not capture the additional harms of greater gun accidents that
   15   follow from greater gun prevalence—a complete cost-benefit calculus tips even
   16   further against gun acquisition by a high-risk age group. (According to the CDC, in
   17   2020, a total of 535 Americans were killed by gun accidents and 29,000 more were
   18   injured seriously enough to visit the emergency department. 118)
   19         111. Indeed, while anecdotes of instances when guns have been used for
   20   protection can perpetuate the myth that guns might provide sufficient benefits to
   21   offset their large costs, the empirical evidence does not support this view. A study
   22

   23         116
                    The 18 articles are listed in Exhibit D.
   24         117
                   RAND. 2023. “Effects of Concealed-Carry Laws on Violent Crime.”
        https://www.rand.org/research/gun-policy/analysis/concealed-carry/violent-
   25
        crime.html. Accessed on 2023-01-31.
   26          118
                   WISQARS™ — Web-based Injury Statistics Query and Reporting
   27
        System. https://www.cdc.gov/injury/wisqars/index.html.
                                                      66
   28
                           Declaration of John J. Donohue (3:19-cv-01226-L-AHG)
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    1   of over-age-21 gun carriers in Philadelphia from 2003–2006, who almost all said
    2   they carried to protect against crime, found that gun possession was associated with
    3   a significantly increased risk of being shot in an assault.119
    4         112. A recent study focused on younger gun carriers in Phoenix and
    5   Philadelphia from 2000–2010 and found that, at times when they were carrying
    6   guns, they were at vastly higher rates of being shot than when they were not
    7   carrying:
    8         The key finding is that even among populations with chronic exposure
              to gun violence, gun carrying is associated with increased risk of gun
    9         violence victimization and exposure, while even the temporary
              cessation  of gun carrying is associated with the reduction of such
   10         risks. 120
   11         113.    Moreover, evidence from the National Crime Victimization Survey
   12   (“NCVS”) has consistently shown that people confronted by a criminal are able to
   13   try to defend with a gun less than 0.9 percent of the time. This identical percentage
   14   was observed when looking at NCVS data for 1992-2001 as well as for 2007-
   15   2011.121
   16         114.    The persistence of this minute percentage over a roughly two-decade
   17   time period during which time RTC laws expanded greatly across the nation
   18         119
                 Charles C. Branas et al., Investigating the Link Between Gun Possession
   19   and Gun Assault, Am J Public Health. 2009; 99: 2034–2040.
        doi:10.2105/AJPH.2008.143099.
   20         120
                  David Hureau and Theodore Wilson, The Co-Occurrence of Illegal Gun
   21   Carrying and Gun Violence Exposure: Evidence for Practitioners from Young
   22   People Adjudicated for Serious Involvement in Crime, American Journal of
        Epidemiology, Vol. 190, No. 12, 2021, available at
   23   https://academic.oup.com/aje/advance-
   24   article/doi/10.1093/aje/kwab188/6311494?guestAccessKey=fc0cb67b-f839-4da3-
        bba7-42c0a8bc9e57.
   25         121
                 David Hemenway and Sara J. Solnick, The epidemiology of self-defense
   26   gun use: Evidence from the National Crime Victimization Surveys 2007–2011,
   27
        Preventive Medicine. Volume 79, October 2015, Pages 22-27.
                                                    67
   28
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    1   underscores the low level of effectiveness of greater gun availability in protecting
    2   against crime. Specifically, in the first period from 1992-2001, 41 percent of the
    3   U.S. population lived in states with RTC (or permitless carry) laws. By the second
    4   period of 2007-2011, this percentage had jumped to 67 percent—a 63% increase in
    5   the proportion of the country living in RTC states. And yet this massive increase in
    6   gun carrying did nothing to elevate the likelihood of defensive gun use, which was
    7   at exactly the same low rate it had been in the earlier period.
    8         115. Effective gun use in response to criminal threat is rare for many
    9   reasons. First, criminals will have the first-mover advantage on potential victims,
   10   thereby greatly limiting the possibility of using a gun for defense even when one is
   11   armed. Second, a gun can only be useful for self-defense if it is in one’s possession
   12   when the infrequent need for it arises—and typically less than one percent of the
   13   population experiences threatened or actual violent crime each year. Moreover, the
   14   semi-automatic rifles at issue in this litigation are not well-adapted to defensive use
   15   in close quarters.122
   16         116. Guns are stolen far more frequently than they are even attempted to be
   17   used for defensive purposes, and given the characteristics of the high-risk age group
   18   at issue in this litigation, theft is one very real harmful consequence to add to the
   19

   20
             122
                Retired Air Force colonel Dean L. Winslow notes that semi-automatic rifles
   21
        “are not optimal for home defense” and their high-velocity bullets “are too likely to
   22   go through a wall to endanger someone in the next room.” Dean L. Winslow, I
        Spoke My Mind on Guns. Then My Senate Confirmation Was Put on Hold, The
   23
        Washington Post, Dec. 20, 2017. According to Maryland Police Superintendent
   24   Marcus Brown, semi-automatic rifles are less effective for defense, since “they are
        less maneuverable in confined areas.” Brown Decl. ¶ 20, Kolbe v. O’Malley, 42 F.
   25
        Supp. 3d 768 (D. Md. 2014). Massachusetts Chief of Police Mark K. Leahy
   26   indicated that he would never recommend a semi-automatic rifle for self-defense.
   27
        Leahy Decl. ¶ 22, Worman v. Healy, 293 F. Supp. 3d 251 (D. Mass. 2018).
                                                     68
   28
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    1   other potential ills described throughout this report.123 I estimate that, as a result of
    2   RTC laws, gun carrying has increased by roughly 16 million permit holders, which
    3   has increased the number of gun thefts by roughly 100,000 per year since guns left
    4   in cars and elsewhere by permit holders are an easy target for thieves.124 In large
    5   cities, where gun thefts have increased by 50 percent, gun theft is an important
    6   pathway to increased violent crime. 125 Similarly, Khalil analyzed crime data from
    7   the FBI’s National Incident-Based Reporting System (“NIBRS”) for over 400
    8   jurisdictions from 34 different states from 1993–2010 and found that stolen
    9   firearms led to statistically significant increases in homicide, aggravated assault,
   10   and robbery. 126
   11                                       CONCLUSION
   12         117. The gun safety measures at issue in this litigation are appropriately
   13   targeted to the 18-20-year-old age group because that group is at heightened risk of
   14

   15         123
                  David Hemenway et al., Whose Guns are Stolen? The Epidemiology of
   16   Gun Theft Victims, 4 Injury Epidemiology 1, 3 (2017) (people who carried firearms
        at least once in the past month were three times more likely to have a firearm stolen
   17   than other gun owners). John Donohue, Sam Cai, Matt Bondy, and Phil Cook,
   18   “Why Does Right-to-Carry Cause Violent Crime to Increase?” February 2023.
   19
              124
                 Donohue, John J., Abhay Aneja, and Kyle D. Weber. Right‐to‐Carry Laws
        and Violent Crime: A Comprehensive Assessment Using Panel Data and a State‐
   20   Level Synthetic Control Analysis, Journal of Empirical Legal Studies 16, no. 2
   21   (2019): 198–247 at 207, https://doi.org/10.1111/jels.12219.
   22
              125
                  Billings, Stephen B., Smoking Gun? Linking Gun Ownership to
        Neighborhood Crime (January 6, 2023) (more RTC permits lead to increased gun
   23   thefts and then to increased violent crime); John Donohue, Sam Cai, Matt Bondy,
   24   and Phil Cook, “Why Does Right-to-Carry Cause Violent Crime to Increase?”
        February 2023.
   25         126
                   Khalil, U., 2017, Do more guns lead to more crime? Understanding the
   26   role of illegal firearms, Journal of Economic Behavior & Organization 133, 342–
   27
        361, https://www.sciencedirect.com/science/article/abs/pii/S0167268116302669.
                                                      69
   28
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    1   committing firearm homicide and other violent crime, and should reduce suicide
    2   and firearm accidents in this vulnerable age group. Due to challenges of
    3   underdeveloped neurobiological function and worsening levels of stress and mental
    4   health issues, this age group is at an increased risk of making poor decisions and
    5   acting impulsively (in general and in connection with alcohol and drug
    6   consumption), which is why governments and businesses have imposed an array of
    7   age-based restrictions for those under age 21 to reduce the damage that can follow
    8   from this incomplete brain maturation.
    9         118. It is worth considering the lesson from an actual case of a 19-year-old
   10   who killed his parents in 2003 with a recently purchased shotgun. The perpetrator, a
   11   very troubled teenager struggling with mental illness and homicidal thoughts,
   12   purchased the murder weapon at a sporting goods store in Falls Church, Virginia
   13   two days before the murders. 127 In an interview with CNN, the 19-year-old killer
   14

   15

   16
              127
                  Tom Jackman, “Virginia Teenager Pleads Guilty to Murdering Parents,”
        Wash. Post, June 25, 2003, https://wapo.st/3rlQBFa. The killer, who is serving 40
   17   years for the double murder, described how he had been playing violent video games
   18
        in his bedroom, when he picked up a shotgun, looked at his poster for the Matrix
        film, and decided:
   19
              That was it, there was nothing left in my life….I wanted to end my life and
   20         theirs.” He then walked downstairs and shot his mother in the chest as she
   21
              turned towards him from her computer. His father, who had been on the phone
              to Cooke's sister at the time, tried to take cover under the desk but Cooke fired
   22         at him several times.
   23         I was numb. There had been so many years of hurt from mother’s abuse and
   24
              bullying, rejection from girls, all types of things like that, I just - I didn’t care
              about anything anymore.
   25
              He went back upstairs to reload the weapon and as he came back down his
   26         mother confronted him, clasping her chest and saying: “What are you doing
   27
              Joshua? Why did you do this?”
                                                    70
   28
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    1   stated that the availability of firearms for young people is “[a]bsolutely” “a big
    2   problem” and that the availability of certain semiautomatic rifles, like AR-platform
    3   assault weapons, exacerbate the problem:
    4           If I had an assault weapon, things would have been much worse.
                And I thank God I didn’t have an AR-15 or some other type of
    5           assault weapon because the way I was back then mentally, I would
                have gone to the mall that night or to one of my old high schools the
    6           next morning and killed as many people as I possibly could. But
                because I didn’t have an assault weapon, that didn’t happen. So I
    7           thank God   I didn’t have one of those things, and the gun does
                matter.128
    8

    9         119. This is precisely the type of firearms violence that SB 1100 and SB 61
   10   were designed to prevent, and this unfortunate episode underscores the sound basis
   11   for limiting the circumstances under which licensed firearms dealers may sell or
   12   transfer long guns, and in particular the more lethal semi-automatic centerfire rifles,
   13   to 18-20-year-olds.
   14                     I declare under penalty of perjury under the laws of the United States
   15   of America that the foregoing is true and correct.
   16                     Executed on March 16, 2023, at Stanford, California.
   17

   18

   19

   20

   21                                                        John J. Donohue
   22
              Cooke said: “I loaded the gun, I pointed it at her face and I shot her in the face.
   23         I walked down the steps, I stepped over her body and I shot my father in the
   24
              head one more time.”
        Daily Mail Reporter, “‘I was like a zombie’: Joshua Cooke describes the moment he
   25
        shot adopted parents when he was 19 years old as he calls for assault weapons to be
   26   banned,” August 24, 2013, https://www.dailymail.co.uk/news/article-
   27
        2401316/Joshua-Cooke-describes-moment-shot-adopted-parents-19.html.
              128
                    Id.                                  71
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  11                  and Adolescent Suicide Rates:
                      Regression Discontinuity and
  12                  Difference-in-Differences Analyses,
                      370 BMJ 1 (2020)
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  15                  Increased Violent Crime
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         EXHIBIT A




                                                                      Exhibit A
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                           https://law.stanford.edu/directory/john-j-donohue-iii/


  EMPLOYMENT
  Full-time Positions
     •   Stanford Law School, C. Wendell and Edith M. Carlsmith Professor of Law, September 2010 to the present.
     •   Yale Law School, Leighton Homer Surbeck Professor of Law, July 2004 to August 2010.
     •   Stanford Law School, Professor of Law, September 1995 to June 2004.
         -   William H. Neukom Professor of Law, February 2002 – June 2004.
         -   John A. Wilson Distinguished Faculty Scholar, March 1997 – January 2002.
         -   Academic Associate Dean for Research, since July 2001 – July 2003.
         -   Stanford University Fellow, September 2001 – May 2003.
     •   Northwestern University School of Law:
         -   Class of 1967 James B. Haddad Professor of Law, September 1994-August 1995
         -   Harry B. Reese Teaching Professor, 1994-1995
         -   Professor of Law, May 1991-September 1994
         -   Associate Professor, May 1989-May 1991
         -   Assistant Professor, September 1986-May 1989.
     •   Research Fellow, American Bar Foundation, September 1986-August 1995.
     •   Associate Attorney, Covington & Burling, Washington, D.C., October 1978-July 1981 (including last six months
         as Attorney, Neighborhood Legal Services)
     •   Law Clerk to Chief Justice T. Emmet Clarie, U.S. District Court, Hartford, Connecticut, September 1977-August
         1978.

  Temporary Appointments

     •   Affiliated Research Professor, American Bar Foundation, September 2020 – August 2025.
     •   Visiting Professor, Tel Aviv University School of Law, May 2022.
     •   Lecturer on the Economics of Crime, Bogota Summer School in Economics, Universidad del Rosario, Bogota,
         Colombia, June 2020.
     •   Visiting Professor, Bocconi University, Milan, Italy, October- November 2012, April 2014, and June 2015.
     •   2011 Faculty Scholar in Residence, University of Denver Sturm College of Law, April 21-22, 2011.


                                                           1



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     •   Visiting Fellow, The Milton Friedman Institute for Research in Economics, University of Chicago, October 2009.
     •   Schmidheiny Visiting Professor of Law and Economics, St. Gallen University, November – December, 2007.
     •   Visiting Lecturer in Law and Economics, Gerzensee Study Center, Switzerland, June 2007.
     •   Visiting Professor, Tel Aviv University School of Law, May 2007.
     •   Herbert Smith Visitor to the Law Faculty, University of Cambridge, England, February 2006.
     •   Visiting Professor, Harvard Law School, January 2003.
     •   Fellow, Center for Advanced Studies in the Behavioral Sciences, Stanford, California, Academic year 2000-01.
     •   Visiting Professor, Yale Law School, Fall, 1999.
     •   Professor, Center for the Study of American Law in China, Renmin University Law School, Beijing, July 1998.
     •   Visiting Professor of Law and Economics, University of Virginia, January 1997.
     •   Lecturer, Toin University School of Law, Yokohama, Japan, May-June 1996.
     •   Cornell Law School, Distinguished Visiting Fellow in Law and Economics, April 8-12, 1996 and September 25-
         29, 2000
     •   Visiting Professor, University of Chicago Law School, January 1992-June 1992.
     •   Visiting Professor of Law and Economics, University of Virginia Law School, January 1990-May 1990.
     •   Fellow, Yale Law School Program in Civil Liability, July 1985-August 1986.
     •   Private Practice (part-time), New Haven, Connecticut, September 1981-August 1986.
     •   Instructor in Economics, Yale College, September 1983-August 1985.
     •   Summer Associate, Donovan Leisure Newton & Irvine, New York, Summer 1982.
     •   Summer Associate, Perkins, Coie, Stone, Olsen & Williams, Seattle, Washington, Summer 1976.
     •   Research Assistant, Prof. Laurence Lynn, Kennedy School of Government, Harvard University, Summer 1975.
     •   LSAT Tutor, Stanley Kaplan Education Center, Boston, Massachusetts; Research Assistant, Prof. Philip
         Heymann, Harvard Law School; Research Assistant, Prof. Gordon Chase, Harvard School of Public Health.
         (During Law School).


  EDUCATION
  Yale University, 1981-1986
     •   University Fellow in Economics; M.A. 1982, M. Phil. 1984, Ph.D. 1986.
         -   Dissertation: ″A Continuous-Time Stochastic Model of Job Mobility: A Comparison of Male-Female
             Hazard Rates of Young Workers.″ Awarded with Distinction by Yale.

         -   Winner of the Michael E. Borus Award for best social science dissertation in the last three years making
             substantial use of the National Longitudinal Surveys--awarded by the Center for Human Research at Ohio
             State University on October 24, 1988.

     •   National Research Service Award, National Institute of Health.
     •   Member, Graduate Executive Committee; Graduate Affiliate, Jonathan Edwards College.

  Harvard Law School, 1974-1977 (J.D.)

     •   Graduated Cum Laude.



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     •   Activities: Law Clerk (Volunteer) for Judge John Forte, Appellate Division of the District Court of Central
         Middlesex; Civil Rights, Civil Liberties Law Review; Intra-mural Athletics; Clinical Placement (Third Year): (a)
         First Semester: Massachusetts Advocacy Center; (b) Second Semester: Massachusetts Attorney General's
         Office--Civil Rights and Consumer Protection Divisions. Drafted comments for the Massachusetts Attorney
         General on the proposed U.S. Department of Justice settlement of its case against BechtelCorporation's
         adherence to the Arab Boycott of Israeli companies.


  Hamilton College, 1970-1974 (B.A.)
     •   Departmental Honors in both Economics and Mathematics
         -  Phi Beta Kappa (Junior Year)
     •   Graduated fourth in class with the following academic awards:

         -   Brockway Prize (Highest GPA Freshman Year)
         -   Edwin Huntington Memorial Mathematical Scholarship
         -   Fayerweather Prize Scholarship
         -   Oren Root Prize Scholarship in Mathematics

     •   President, Root-Jessup Public Affairs Council.


  PUBLICATIONS
  Books and Edited Volumes:
     •   Law and Economics of Discrimination, Edward Elgar Publishing, 2013.
     •   Employment Discrimination: Law and Theory, Foundation Press, 2005, 2021 (5th edition) (with George
         Rutherglen).
     •   Economics of Labor and Employment Law: Volumes I and II, Edward Elgar Publishing, 2007. http://www.e-
         elgar.co.uk/bookentry_main.lasso?id=4070
     •   Foundations of Employment Discrimination Law, Foundation Press, 2003 (2d edition).
     •   Foundations of Employment Discrimination Law, Oxford University Press, 1997 (Initial edition).

  Book Chapters:
     •   "Drug Prohibitions and Its Alternatives." Chapter 2 in Cook, Philip J., Stephen Machin, Olivier Marie, and
         Giovanni Mastrobuoni, eds, Lessons from the Economics of Crime: What Reduces Offending? MIT Press. 45-66
         (2013).
     •   "The Death Penalty" Chapter in Encyclopedia of Law and Economics, Spring (2013) and in Alain Marciano &
         Giovanni Battista Ramello eds., Encyclopedia of Law and Economics (2019).
     •   "Rethinking America's Illegal Drug Policy," in Philip J. Cook, Jens Ludwig, and Justin McCrary, eds, Controlling
         Crime: Strategies and Tradeoffs (2011), pp.215-289 (with Benjamin Ewing and David Peloquin).
     •   "Assessing the Relative Benefits of Incarceration: The Overall Change Over the Previous Decades and the
         Benefits on the Margin" in Steven Raphael and Michael Stoll, eds., “Do Prisons Make Us Safer? The Benefits
         and Costs of the Prison Boom,” pp. 269-341 (2009).



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     •   "Does Greater Managerial Freedom to Sacrifice Profits Lead to Higher Social Welfare" In Bruce Hay, Robert
         Stavins, and Richard Vietor, eds., Environmental Protection and the Social Responsibility of Firms:
         Perspectives from Law, Economics, and Business (2005).
     •   "The Evolution of Employment Discrimination Law in the 1990s: A Preliminary Empirical Evaluation" (with
         Peter Siegelman), in Laura Beth Nielsen and Robert L. Nelson, eds., Handbook of Employment Discrimination
         Research (2005).
     •   "The Impact of Concealed Carry Laws" in Jens Ludwig and Philip Cook, Evaluating Gun Policy: Effects on Crime
         and Violence (Washington D.C.: Brookings, 2003).

  Articles:

     •   Phil Cook and John Donohue, “Regulating Assault Weapons and Large-Capacity Magazines for
         Ammunition,” JAMA. 2022;328(12):1191-1192.
         https://jamanetwork.com/journals/jama/fullarticle/2796675.

     •   John J. Donohue, Samuel V. Cai, Matthew V. Bondy, and Philip J. Cook, (2022) “More Guns, More
         Unintended Consequences: The Effects of Right-to-Carry on Criminal Behavior and Policing in US Cities,”
         https://www.nber.org/papers/w30190.
             o Featured in August 2022 Issue of NBER Digest.
             o Featured in August 11, 2022 issue of The Economist: “A Supreme Court ruling could spell even
                  more gun crime: Right-to-carry laws are associated with increases in violence.”
     •   “The Supreme Court’s gun decision will lead to more violent crime,” Washington Post, July 8, 2022,
         https://www.washingtonpost.com/outlook/2022/07/08/guns-crime-bruen-supreme-court/.
     •   Daniel Cerqueira, Danilo Coelho, John J. Donohue III, Marcelo Fernandes, & Jony Pinto Junior, "A panel-based
         proxy for gun prevalence in US and Mexico" International Review of Law & Economics (2022).
         https://www.sciencedirect.com/science/article/abs/pii/S0144818822000369.

     •   “Increasing murders but overall lower crime suggests a growing gun problem,” Am J Public Health. (2022).

     •   “An expert draws 7 lessons about US gun laws from the murder of Ahmaud Arbery and the Rittenhouse
         verdict,” The Conversation (December 6, 2021), https://theconversation.com/an-expert-draws-7-lessons-
         about-us-gun-laws-from-the-murder-of-ahmaud-arbery-and-the-rittenhouse-verdict-172741.

     •   Lisa Vicen, Samuel Levander, & John J. Donohue III, 'NYSRPA v. Bruen': Studies Show Direct Link Between
         Right-to-Carry and Violent Crime Increase, The National Law Journal, November 4, 2021.
         https://www.law.com/nationallawjournal/2021/11/04/nysrpa-v-bruen-studies-show-direct-link-between-
         right-to-carry-and-violent-crime-increase/.
     •   “Will the Supreme Court Avoid Further Self-Inflicted Second Amendment Wounds?” Brennan Center for
         Justice (June 2021), https://www.brennancenter.org/sites/default/files/2021-06/Donohue_final.pdf. This is
         part of the Brennan Center for Justice Protests, Insurrection, and the Second Amendment series.
     •   "We Must Confront the Threats to America's Democracy" 56 Idaho Law Review 119 (2020)."
     •   The Impact of Legalized Abortion on Crime over the Last Two Decades" American Law and Economics Review
         (Fall 2020)(with Steven Levitt), Volume 22, Issue 2, Pages 241–302.



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         https://academic.oup.com/aler/article/22/2/241/5973959?guestAccessKey=917acf36-918d-4310-9d22-
         73c713757238.
            NBER Working Paper No. 25863, May 2019,
             https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3391510.
             o    Featured on Freakonomics Radio, "Abortion and Crime,
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                  radio/id354668519?i=1000444184627."
     •   “The Swerve to ‘Guns Everywhere:’ A Legal and Empirical Evaluation" 83 Law and Contemporary
         Problems 117-136 (2020). https://scholarship.law.duke.edu/lcp/vol83/iss3/7.
     •   Daniel Cerqueira, Danilo Santa Cruz Coelho, John J. Donohue, Marcelo Fernandes & Jony Arrais Pinto, A Panel-
         Based Proxy for Gun Prevalence in the US (Nat’l Bureau of Econ. Research, Working Paper No. 25530,
         2019), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3332277.

     •   "That Assault Weapon Ban? It Really Did Work" The New York Times, September 5, 2019, (with Theodora
         Boulouta), https://www.nytimes.com/2019/09/04/opinion/assault-weapon-
         ban.html?action=click&module=Opinion&pgtype=Homepage.

     •   "Right-to-Carry Laws and Violent Crime: A Comprehensive Assessment Using Panel Data and a State-Level
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     •   “Remembering Justice Ginsburg,” Stanford Law School Legal Aggregate Blog (September 19, 2020),
         https://law.stanford.edu/2020/09/19/stanford-laws-john-donohue-remembers-justice-ginsburg/.
     •   “The Assault Weapon Ban Saved Lives,” (with Theodora Boulouta), Stanford Law School Legal Aggregate Blog,
         October 15, 2019, https://stanford.io/2MWNsrV.
     •   “Stanford Law’s John Donohue on Mass Shootings and Gun Regulation in the U.S.,” Stanford Law School Legal
         Aggregate Blog, August 6, 2019, https://law.stanford.edu/2019/08/06/stanford-laws-john-donohue-on-mass-
         shootings-and-gun-regulation-in-the-u-s/.
     •   "Stanford Law Faculty Remember Justice Stevens." Stanford Law School Legal Aggregate Blog, July 18, 2019,
         https://law.stanford.edu/2019/07/18/stanford-law-faculty-remember-justice-stevens/.
     •   "Arming Teachers Is Not a Good Option," Scientific American, February 28, 2018,
         https://blogs.scientificamerican.com/observations/arming-teachers-is-not-a-good-option/.
     •   "Another Mass Shooting: An Update on U.S. Gun Laws," Stanford Law School Legal Aggregate Blog, February
         18, 2018, https://law.stanford.edu/2018/02/18/another-mass-shooting-qa-us-gun-laws/.
     •   “Orlando to Las Vegas: Guns, Law, and Mass Shootings in the U.S.,” Stanford Law School Legal Aggregate Blog,
         October 3, 2017, https://law.stanford.edu/2017/10/03/orlando-to-las-vegas-guns-and-law/.
     •   “Moore v. Texas and the Pathologies that Still Mar Capital Punishment in the U.S.,” Stanford Law School Legal
         Aggregate Blog, March 29, 2017, https://law.stanford.edu/2017/03/29/moore-v-texas-and-the-pathologies-
         that-mar-capital-punishment-in-the-u-s/.
     •   “Trump and Gun Policy,” Stanford Law School Legal Aggregate Blog, November 12, 2016,
         http://stanford.io/2eoWnna.
     •   "Facts Do Not Support Claim That Guns Make Us Safer" Stanford Law School Legal Aggregate Blog, October
         12, 2015, https://law.stanford.edu/2015/10/12/professor-john-donohue-facts-do-not-support-claim-that-
         guns-make-us-safer/.
     •   "When will America wake up to gun violence?" CNN.com, July 20, 2012,
         http://www.cnn.com/2012/07/20/opinion/donohue-gun-control/index.html.
     •   "It Takes Laws to Control the Bad Guys," The New York Times -- Room For Debate:
         http://www.nytimes.com/roomfordebate/2011/01/11/more-guns-less-crime (January 11, 2011).

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     •   “Have “Woman-Protective” Studies Resolved the Abortion Debate? Don’t Bet on It,”
         http://balkin.blogspot.com/2008/09/have-woman-protective-studies-resolved.html (September 2008).
     •   “Dodging the Death Penalty Bullet On Child Rape,” http://balkin.blogspot.com/2008/07/dodging-death-
         penalty-bullet-on-child.html (July 2008).
     •   “Why I'd Stick With Yale Clerks-- Some Econometric Ruminations,” http://balkin.blogspot.com/2008/04/why-
         id-stick-with-yale-clerks-some.html (April 2008).

     WORKSHOPS AND ADDRESSES:
     •   Panelist, “Inside the Brain of the Mass Shooter and the Impact of Their Criminal Behavior,” Symposium on
         "The Law and Neuroscience of Mass Shootings," held virtually by the Neuroscience and Law Center, Fordham
         University School of Law, November 1, 2022.
     •   “Can We Get Strong Gun Safety Legislation Passed?” Vi Seminar, Palo Alto, CA, July 18, 2022.
     •   Panelist, “Inside the Brain of the Mass Shooter and the Impact of Their Criminal Behavior,” Symposium on
         "The Law and Neuroscience of Mass Shootings," held virtually at Fordham Law School, November 1, 2022.
     •   “Bruen, Permissive Gun Carrying, Constitutional Law, and Violent Crime,” Faculty Workshop, Stanford Law
         School, July 13, 2022.
     •   “Effectiveness of Permissive Gun Laws: Carry Laws, Stand Your Ground,” Annals Authors’ Conference,
         University of Connecticut, Hartford, April 7, 2022.
     •   “Permissive Gun Carrying Laws and Violent Crime,” ETH, Zurich, April 6, 2022; Law and Economics Workshop,
         Tel Aviv University School of Law, May 11, 2022.
     •   “Guns and Crime in American Life and Law,” University of Zurich, April 5, 2022.
     •   “Do Permissive Gun Carrying Laws Increase Violent Crime?” Applied Webinar at the Sao Paulo School of
         Economics, November 17, 2021.
     •   “Mass Shootings, Gun Laws and the Evolution of the Second Amendment – Where Do We Go from Here?”
         Minnesota Continuing Legal Education Webcast, November 2, 2021.
     •   Discussant of Richard Berk, “Firearm Sales in California Through the Myopic Vision of an Interrupted Time
         Series Causal Analysis,” Online Causal Inference Seminar, Stanford University, April 6, 2021.
     •   “The Impact of Legalized Abortion on Crime over the Last Two Decades,” American Law and Economics
         Association Meetings, NYU School of Law, May 18, 2019; Department of Economics, University of California,
         Irvine, October 13, 2020; Harvard Kennedy School Program in Inequality and Social Policy, March 22, 2021;
         Crime Seminar, Northwestern Law School, March 3, 2022.
     •   Discussant of Chika Okafor, “Prosecutor Politics: The Impact of Election Cycles on Criminal Sentencing in the
         Era of Rising Incarceration,” Harvard Kennedy School Program in Inequality and Social Policy, March 22, 2021.
     •   “Guns and Crime,” Economic Analysis of Crime course, Bocconi University, Dept. of Social and Political
         Sciences, March 8, 2021.
     •   Discussant, “How the Massachusetts assault weapons ban enforcement notice changed firearm sales,”
         Firearms and Policy session, Assoc. for Public Policy Analysis and Management (APPAM) Virtual Fall Research
         Conference, November 12, 2020.
     •   “We Must Confront the Threats to America’s Democracy,” Idaho Law Review Election Law Symposium,
         University of Idaho College of Law, October 20, 2020.


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     •   “The Impact of Legalized Abortion on Crime over the Last Two Decades,” Department of Economics,
         University of California, Irvine, October 13, 2020.
     •   “The Death Penalty: Informing Policy Through Empirical Research,” Program in Criminal Law and Policy,
         University of Arizona College of Law, October 6, 2020.
     •   Discussant, “Mandatory Retirement Improved Performance on State Supreme Courts,” Law and Economics
         Session, NBER Summer Institute, July 22, 2020.
     •   Discussant, “Measuring Racial Discrimination in Bail Decisions,” Crime Session, NBER Summer Institute, July
         15, 2020.
     •   “Guns and Empirical Evidence in Second Amendment Litigation,” Columbia Law School, March 24, 2020; Yale
         Law School, March 25, 2020 (Zoom Presentation).
     •   Panelist, “Guns, Schools, and Adolescents: A Disaster Waiting to Happen,” Psychiatry Grand Rounds,
     •   Sapp Center for Science Teaching and Learning, Stanford University School of Medicine, February 20, 2020.
     •   “The Power of Data to Change Hearts, Minds, and Public Policy,” Law and Policy Lab, Stanford Law School,
         February 13, 2020.
     •   “The Move to ‘Guns Everywhere’,” Inaugural Cooter-Rubinfeld Lecture, University of California, Berkeley, Law
         School, February 6, 2020.
     •   “The Swerve: A Legal and Empirical Evaluation of the Move to ‘Guns Everywhere,’” Law and Economic Studies
         Workshop, Columbia Law School, September 23, 2019; Conference on Gun Rights and Regulations Outside the
         Home, Duke Law School, September 27, 2019.
     •   “Evidence to Guide Gun-related Public Policy,” Conference on Gun Violence Epidemic, Stanford Medical
         School, September 16, 2019; Lecturer, Physicians and Social Responsibility Course, Stanford Medical School,
         October 7, 2019; Lecturer, Data Science Course, Department of Statistics, Stanford University, November 1,
         2019.
     •   “The Legal and Political Battle over Gun Policy in America,” Hamilton College, June 7, 2019.
     •   “Impact of Right to Carry Laws on Violent Crime,” Public Policy colloquium, Stanford Economics Department,
         January 22, 2018; SPILS Methods Workshop, Stanford Law School, January 25, 2018; Quantlaw, University of
         Arizona Law School, March 2, 2018; Stanford/Berkeley Causal Inference Conference, Stanford Graduate
         School of Business, April 23, 2019; Baldy Center/Law School Distinguished Speaker Series, University at
         Buffalo School of Law, May 3, 2019; Conference on “Synthetic Controls and Related Methods,” Institute for
         Data, Systems, and Society, MIT, May 21, 2019.
     •   “Guns, Abortion, and the Death Penalty: Informing Policy Through Empirical Research,” Politics and Public Policy
         Lecture Series, Stanford University, April 1, 2019.

     •   “Dangers of Guns Carried Outside the Home for Protection,” GVPedia Conference, Denver, Colorado, April 6,
         2019.
     •   “Understanding California’s Red Flag Law: How to Remove Guns from People Who Are a Threat to Themselves
         or Others,” Stanford Law School, February 12, 2019.
     •   "Guns and Crime: Current Empirical and Legal Debates," Fellowship Forum, January 22, 2019.
     •   “Gun Policy in America at a Critical Juncture,” SAFE, Stanford Medical School, September 17, 2018.
     •   “Empirical Evaluation of Law and Policy: The Battle for Truth,” Woodside Rotary Club, September 12, 2018.



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     •   “Discussing America’s Second Amendment,” San Jose Museum of Quilts & Textiles, July 15, 2018.
     •   “The Legal Battle to End the Death Penalty in Connecticut,” Law School of the University of Reggio Calabria,
         Italy, June 15, 2018.
     •   Panelist, “Newtown and Gun Violence in the US, Humanity is Indivisible Series, Stanford University, May 31,
         2018.
     •   “Gun Policy In California and the US,” Human Rights Seminar; Stanford Medical School, May 29, 2018.
     •   "Gun Policy in the Wake of Parkland," Sigma Alpha Epsilon Leadership Speaker Series, Stanford Law School,
         March 13, 2018; Stanford in Government event, Haas Center, Stanford University, April 20, 2018.
     •   Panelist, Town Hall Meeting on Gun Violence with Congresswoman Jackie Speier, Burlingame High School,
         April 14, 2018.
     •   Moderator, In Studio Conversation with Berkeley Law School Dean Erwin Chemerinsky: “Defining the Limits of
         Free Speech,” Palo Alto League of Women’s Voters, March 27, 2018. https://youtu.be/cqHEIAVoTLY
     •   "More than Thoughts & Prayers," American Constitution Society and the Federalist Society, U.C. Hastings
         School of Law, March 14, 2018.
     •   Panelist, “Addressing Gun Violence,” American Constitution Society, Stanford Law School, March 8, 2018.
     •   Panelist, “Public Carry: Defending Against Efforts to Expand Carry Laws,” National Gun Violence Prevention
         Meeting, Washington, D.C., October 18, 2017.
     •   “Keynote Presentation: Right-to-Carry Laws and Violent Crime,” Second Amendment Litigation &
         Jurisprudence Conference, The Law Center to Prevent Gun Violence, October 16, 2017.
     •   “The Latest Evidence on Abortion Legalization and Crime,” Conference on Empirical Legal Studies, Cornell
         University, October 13, 2017.
     •   “Comey, Trump, and the Puzzling Pattern of Crime in 2015 and Beyond,” University of Texas School of Law
         and Economics Seminar, April 24, 2017, Faculty Workshop, UC Davis School of Law, April 10, 2017; Law and
         Social Science Seminar, Texas A&M University School of Law, March 6, 2017; Quantlaw, University of Arizona
         Law School, February 17, 2017.
     •   Debate with Kent Scheidegger on Capital Punishment, Philosophy of Punishment Seminar, JFK University
         School of Law, March 18, 2017.
     •   “The Evidence on Guns and Gun Laws,” Federal Bar Council Program on Guns and Gun Laws -- Rancho
         Mirage, California, February 23, 2017.
     •   “Guns, Crime and Race in America,” Stanford’s Center for Population Health Sciences, Stanford Medical
         School, October 17, 2016.
     •   “Evaluating the Death Penalty,” Forum on California Propositions 62 and 66, Stanford Law School, September
         14, 2016.
     •   “Empirical Analysis and the Fate of Capital Punishment,” Colloquium, Presley Center for Crime and Justice
         Studies; University of California, Riverside, October 24, 2016.
     •   “Gun Violence and Mental Illness,” Department of Psychiatry, Stanford University, August 25, 2016.
     •   “The Battle Over Gun Policy In America,” Physicians and Social Responsibility" seminar; Stanford Medical
         School, October 3, 2016; Bioethics Committee of the San Mateo County Medical Association, April 27, 2016;
         The League of Women Voters of Palo Alto, April 19, 2016; Human Rights and Health Seminar, Stanford


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         University, April 12, 2016; Bechtel International Center, Stanford University, February 23, 2016; Stanford in
         Government Seminar, Haas Center, Stanford University, February 2, 2016.
     •   American Economic Association Continuing Education Course “The Economics of Crime” (with Jens Ludwig),
         AEA Annual Meeting, San Francisco, January 5-7, 2016.
     •   “Race and Arbitrariness in the Connecticut Death Penalty,” University of Connecticut School of Law, Nov. 20,
         2015.
     •   “Connecticut v. Santiago and the Demise of the Connecticut Death Penalty,” Faculty Workshop, Stanford Law
         School, August 19, 2015.
     •   “Do Handguns Make Us Safer? A State-Level Synthetic Controls Analysis of Right-to-Carry Laws,” Second
         Amendment Conference, Covington and Burling, New York, May 14, 2015; NBER Summer Institute,
         Cambridge, MA, July 23, 2015; Faculty Workshop, Stanford Law School, November 11, 2015.
     •   “U.S. Criminal Justice Under Siege : Will Becker or Beccaria Prevail?” Faculty Seminar, Bocconi University
         School of Law, Milan, Italy, June 18, 2015.
     •   “Can You Believe Econometric Evaluations of Law, Policy, and Medicine?” Stanford Law School, Legal Theory
         Workshop, March 1, 2007; Faculty Workshop, Tel Aviv University School of Law, May 14, 2007; Faculty
         Workshop, University of Haifa Law School, May 16, 2007; Law and Economics Workshop, Georgetown Law
         School, September 19, 2007; Law and Economics Workshop, St. Gallen Law School, Switzerland, November 29,
         2007; and Yale Law School, February 25, 2008; Law and Economics Workshop, Swiss Institute of Technology,
         Zurich, Switzerland, May 21, 2008; Faculty Workshop, University of Virginia Law School, October 24, 2008;
         Plenary Session, Latin American and Caribbean Law and Economics Association, Universitat Pompeu Fabra
         (Barcelona), June 15, 2009; Google, Milan, Italy, June 8, 2015.
     •   Commentator: ““Throw Away the Jail or Throw Away The Key? The Effect of Punishment on Recidivism and
         Social Cost,”” by Miguel F. P. de Figueiredo, American Law and Economics Association Meetings, Columbia
         Law School, May 15, 2015.
     •   “Broken Windows, Stop and Frisk, and Ferguson,” 2015 Justice Collaboratory Conference: Policing Post-
         Ferguson, Yale Law School, April 17, 2015.
     •   “Assessing the Development and Future of Empirical Legal Studies,” Stanford Law School course on Modern
         American Legal Thought, February 25, 2015.
     •   Commentator: “Payday Lending Restrictions and Crimes in the Neighborhood,” by Yilan Xu, 9th Annual
         Conference on Empirical Legal Studies, Boalt Hall, Berkeley, CA, November 7, 2014.
     •   “An Empirical Evaluation of the Connecticut Death Penalty Since 1973: Are There Unconstitutional Race,
         Gender and Geographic Disparities?” Faculty Workshop, Economics Department, Rice University, Houston,
         TX, Feb. 18, 2014; Law and Economics Workshop, University of Virginia Law School, September 11, 2014;
         Faculty Colloquium, University of San Diego School of Law, October 3, 2014.
     •   “What's Happening to the Death Penalty? A Look at the Battle in Connecticut,” Hamilton College, Clinton,
         New York, June 6, 2014.
     •   Panel Member, Research Methods Workshop, Conference for Junior Researchers on Law and Society,
         Stanford Law School, May 15, 2014.
     •   "Logit v. OLS: A Matter of Life and Death," Annual Meeting of the American Law and Economics Association,
         University of Chicago, May 9, 2014.




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     •   “Guns: Law, Policy, Econometrics,” Second Amendment Litigation and Jurisprudence Conference, Jenner &
         Block, Chicago, May 8, 2014.
     •   “The Impact of Antidiscrimination Law: The View 50 Years after the Civil Rights Act of 1964,” Renaissance
         Weekend, Liguna Niguel, CA, Feb. 15, 2014.
     •   “Concealed Carry and Stand Your Ground Law,” Renaissance Weekend, Liguna Niguel, CA, Feb. 15, 2014.
     •   “Reducing Gun Violence,” Forum on Gun Violence Reduction, Mountainview City Hall, Mountainview, CA, Feb.
         8, 2014.
     •   "Gun Policy Debate," C-SPAN. National Cable Satellite Corporation, Jan. 16, 2014. <http://www.c-
         span.org/video/?317256-1/GunPoli>.
     •   “Trial and Decision in the Connecticut Death Penalty Litigation,” Faculty Workshop, Stanford Law School,
         November 20, 2013.
     •   “Rethinking America’s Illegal Drug Policy,” Law and Economics Workshop, Harvard Law School, April 20, 2010;
         NBER Conference, “Economical Crime Control,” Boalt Hall, Berkeley, CA, January 16, 2010; NBER Summer
         Institute Pre-Conference “Economical Crime Control,” July 23, 2009; Whitney Center Lecture Series, Hamden,
         CT, October 5, 2009; Law and Economics Workshop, University of Chicago Law School, October 13, 2009;
         Seminar for Spanish Law Professors, Harvard Law School, October 23, 2009; The Criminal Law Society,
         Stanford Law School, March 31, 2011, University of Denver Sturm College of Law, April 21, 2011; Law and
         Economics Workshop, Boalt Hall, Berkeley, CA, October 17, 2011; Shaking the Foundations Conference,
         Stanford Law School, November 2, 2013.
     •   “The Challenge to the Connecticut Death Penalty,” Yale Law School, Death Penalty Clinic, November 5, 2007;
         Graduate Student Seminar, November 11, 2009; Stanford Program in International Legal Studies Seminar,
         Stanford Law School, Nov. 11, 2010; Faculty Workshop, Stanford Law School, June 8, 2011; Faculty workshop,
         Duke Law School, April 13, 2012; Program on Public Policy, Stanford University, May 2, 2012; Annual Meeting
         of the American Law and Economics Association, Vanderbilt Law School, Nashville, TN, May 18, 2013; Faculty
         Workshop, University of Arizona Law School, October 17, 2013; 8th Annual Conference on Empirical Legal
         Studies, University of Pennsylvania Law School, October 26, 2013.
     •   Commentator: “How to Lie with Rape Statistics” by Corey Rayburn Yung, 8th Annual Conference on Empirical
         Legal Studies, University of Pennsylvania Law School, October 2013.
     •   “An Empirical Look at Gun Violence in the U.S.” University of Arizona Law School, October 17, 2013
     •   Discussant, “Sex Offender Registration and Plea Bargaining,” NBER Labor Summer Institute, Cambridge, MA,
         July 25, 2013.
     •   "What Works in the War Against Crime?” Renaissance Weekend, Jackson Hole, Wyoming, July 5, 2013.
     •   Seminar Presentation, "Statistics and the Streets – Curbing Crime, Realities of the Death Penalty, and
         Successes in Public Safety,” Renaissance Weekend, Jackson Hole, Wyoming, July 5, 2013.
     •   Flashes of Genius (Glimpses of Extra-ordinarily Novel Thinking) -- "Stemming Gun Violence," Renaissance
         Weekend, Jackson Hole, Wyoming, July 5, 2013.
     •   “Can Laws Reduce Crime?” Safe Oakland Speakers Series, Holy Names University, Oakland, CA, May 1, 2013,
         http://www.ustream.tv/channel/safe-oakland-speaker-series
     •   Presentation on “The Death Penalty in America” on a panel on "human rights and criminal justice systems in
         the world," Science for Peace conference at Bocconi University in Milan, Italy, November 15, 2012. http://



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         www.fondazioneveronesi.it/scienceforpeace2012/
     •   Seminar Presentation, "America's Criminal Justice System," Renaissance Weekend, Santa Monica, CA., Feb.
         19, 2012.
     •   "Statistical Inference, Regression Analysis and Common Mistakes in Empirical Research," SPILLS Fellow's
         Workshop, Stanford Law School, February 2, 2012.
     •   "New Evidence in the 'More Guns, Less Crime' Debate: A Synthetic Controls Approach," Conference on
         Empirical Legal Studies, Northwestern Law School, November 4, 2011.
     •   “Drug Legalization and its Alternatives,” Lessons from the Economics of Crime: What Works in Reducing
         Offending? CESifo Venice Summer Institute Workshop, July 22 , 2011.
     •   "Incapacitating Addictions: Drug Policy and American Criminal Justice," in Rethinking the War on Drugs
         through the US-Mexico Prism," Yale Center for the Study of Globalization, May 12, 2011.
     •   Plenary Session: Flashes of Genius (Glimpses of Extra-ordinarily Novel Thinking) -- "Has Legalized Abortion
         Reduced Crime?" Renaissance Weekend, Liguna Niguel, CA., Feb. 18, 2011.
     •   "An Evidence-Based Look at the More Guns, Less Crime Theory (after Tucson)" The American Constitution
         Society for Law and Policy (ACS), Stanford Law School, January 25, 2011; Renaissance Weekend, Liguna
         Niguel, CA., Feb. 19, 2011; "Faculty Forum" at the External Relations Office, Stanford Law School, April 5,
         2011.
     •   "Empirical Evaluation of Law: The Dream and the Nightmare," SPILS Fellows Lecture, Stanford Law School,
         January 15, 2015; Legal Studies Workshop, Stanford Law School, Feb. 7, 2011; Renaissance Weekend, Liguna
         Niguel, CA., Feb. 20, 2011; University of Denver Sturm College of Law, April 22, 2011; Presidential Address,
         Annual Meeting of the American Law and Economics Association, Columbia University, May 20, 2011.
     •   Death Sentencing in Connecticut," American Society of Criminology Annual Meeting, San Francisco, Nov. 17,
         2010.
     •   "The Impact of Right to Carry Laws and the NRC Report: Lessons for the Empirical Evaluation of Law and
         Policy," Conference on Empirical Legal Studies, Yale Law School, Nov. 6, 2010.
     •   Comment on Bushway and Gelbach, "Testing for Racial Discrimination in Bail Setting Using Nonparametric
         Estimation of a Parametric Model," Conference on Empirical Legal Studies, Yale Law School, Nov. 6, 2010.
     •   Commentator, “A Test of Racial Bias in Capital Sentencing,” NBER Political Economy Program Meeting, April
         23, 2010.
     •   “The (Lack of a) Deterrent Effect of Capital Punishment,” Faculty Workshop, University of Chicago Economics
         Department, October 21, 2009.
     •   Keynote Address, “The Evolution of Econometric Evaluation of Crime and Deterrence,”1st Paris& Bonn
         Workshop on Law and Economics: The Empirics of Crime and Deterrence, University of Paris Ouest Nanterre,
         September 24, 2009.
     •   Comment on Cook, Ludwig, and Samaha, “Gun Control after Heller: Litigating Against Regulation,” NBER
         Regulation and Litigation Conference, The Boulders, Carefree, Arizona, September 11, 2009.
     •   "Impact of the Death Penalty on Murder in the US," Faculty Workshop, Law School, Universitat Pompeu Fabra
         (Barcelona), June 18, 2009.
     •   Comment on Joanna Shepherd’s “The Politics of Judicial Opposition,” Journal of Institutional and Theoretical
         Economics Conference, Kloster Eberbach, Germany, June 12, 2009.


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     •   “The Great American Crime Drop of the ‘90s: Some Thoughts on Abortion Legalization, Guns, Prisons, and the
         Death Penalty,” Hamilton College, Clinton, NY, June 5, 2009.
     •   “The Impact of the ADA on the Employment and Earnings of the Disabled,” American Law and Economics
         Association Meetings, University of San Diego, May 15, 2009.
     •   “Crime and Punishment in the United States," Eastern State Penitentiary, Yale Alumni Event, Philadelphia, PA,
         April 26, 2009.
     •   “Measuring Culpability in Death Penalty Cases,” Conference on Applications of Economic Analysis in Law,
         Fuqua School of Business, Duke University, April 18, 2009.
     •   “Autopsy of a Financial Crisis,” Workshop on New International Rules and Bodies for Regulating Financial
         Markets, State University of Milan, March 23, 2009.
     •   “Yet Another Refutation of the More Guns, Less Crime Hypothesis – With Some Help From Moody and
         Marvell, Law and Economics Workshop, NYU Law School, March 10, 2009.
     •   Intelligence-Squared Debate: “Guns Reduce Crime,” Rockefeller University, New York, October 28, 2008.
     •   “The D.C. Handgun Controls: Did the Supreme Court’s Decision Make the City Safer?” Debate, The
         Contemporary Club of Albemarle, Charlottesville, VA, October 23, 2008.
     •   “Evaluating the Empirical Claims of the Woman-Protective Anti-Abortion Movement,” Panel on The Facts of
         the Matter: Science, Public Health, and Counseling, Yale Conference on the Future of Sexual and Reproductive
         Rights, Yale Law School, October 11, 2008.
     •   “Empirical Evaluation of Gun Policy,” Harvard Law School, October 9, 2008.
     •   “Assessing the Relative Benefits of Incarceration: The Overall Change Over the Previous Decades and the
         Benefits on the Margin,” Russell Sage Foundation, New York, May 3, 2007; Law and Economics Workshop, Tel
         Aviv University School of Law, May 28, 2008.
     •   Death Penalty Debate with Orin Kerr, Bloggingheads, April 11, 2008.
     •   “Evaluating Connecticut’s Death Penalty Regime,” Faculty Public Interest Conversation, Yale Law School, April
         9, 2008.
     •   “The Death Penalty in Connecticut and the United States,” The Whitney Center, Hamden, CT, November 5,
         2007; Seminar on Advanced Criminal Law: Criminal Sentencing and the Death Penalty, Fordham Law School,
         April 8, 2008; Law and Economics Workshop, Swiss Institute of Technology, Zurich, Switzerland, May 20,
         2008.
     •   Radio Interview, “The Death of Capital Punishment?” Morning Edition: Where We Live. WNPR. Connecticut,
         March 10, 2008.
     •   Comment on Thomas Dee’s “Born to Be Mild: Motorcycle Helmets and Traffic Safety,” American Economics
         Association Meetings, New Orleans, Louisiana, January 4, 2008.
     •   “The Empirical Revolution in Law and Policy: Jubilation and Tribulation,” Keynote Address, Conference on
         Empirical Legal Studies, NYU Law School, Novermber 9, 2007.
     •   “The Optimal Rate of Incarceration,” Harvard Law School, October 26, 2007.
     •   "Empirical Evaluation of Law: The Impact on U.S Crime Rates of Incarceration, the Death Penalty, Guns, and
         Abortion," Law and Economics Workshop, St. Gallen Law School, Switzerland, June 25, 2007.




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     •   Comment on Eric Baumer’s “A Comprehensive Assessment of the Contemporary Crime Trends Puzzle,”
         Committee on Law and Justice Workshop on Understanding Crime Trends, National Academy of Sciences,
         Washington, D.C., April 25, 2007.
     •   Comment on Bernard Harcourt, Third Annual Criminal Justice Roundtable Conferemce, Yale Law School,
         “Rethinking the Incarceration Revolution Part II: State Level Analysis,” April 14, 2006.
     •   “Corporate Governance in America: The Disney Case," Catholic University Law School, Milan, Italy, March 19,
         2007.
     •   “The U.S Tort System,” (Latin American) Linkages Program, Yale Law School, February 13, 2007.
     •   Panel Member, “Guns and Violence in the U.S.,” Yale University, International Center, January 24, 2007.
     •   “Economic Models of Crime and Punishment,” Punishment: The U.S. Record: A Social        Research Conference
         at The New School, New York City, Nov. 30, 2006
     •   Comment on Baldus et al, “Equal Justice and the Death Penalty: The Experience fo the United States Armed
         Forces, Conference on Empirical Legal Studies, University of Texas Law, School, Austin, Texas, October 27,
         2006.
     •   “Empirical Evaluation of Law: The Promise and the Peril,” Harvard Law School, October 26, 2006.
     •   “Estimating the Impact of the Death Penalty on Murder,” Law and Economics Workshop, Harvard Law School,
         September 12, 2006; Conference on Empirical Legal Studies, University of Texas Law School, October 28,
         2006; Joint Workshop, Maryland Population Research Center and School of Public Policy, University of
         Maryland, March 9, 2007.
     •   “Why Are Auto Fatalities Dropping so Sharply?” Faculty Workshop, Wharton, Philadelphia, PA, April 19, 2006.
     •   “The Law of Racial Profiling,” Law and Economic Perspectives on Profiling Workshop, Northwestern University
         Department of Economics, April 7, 2006.
     •   “Landmines and Goldmines: Why It’s Hard to Find Truth and Easy To Peddle Falsehood in Empirical Evaluation
         of Law and Policy,” Rosenthal Lectures, Northwestern University School of Law, April 4-6, 2006.
     •   “The Impact of Legalized Abortion on Crime,” American Enterprise Institute, March 28, 2006.
     •   “The Impact of Damage Caps on Malpractice Claims: Randomization Inference with Difference-in-
         Differences,”Conference on Medical Malpractice, The Rand Corporation, March 11, 2006.
     •   “Powerful Evidence the Death Penalty Deters?” Leighton Homer Surbeck Chair Lecture, Yale Law School,
         March 7, 2006.
     •   “Uses and Abuses of Empirical Evidence in the Death Penalty Debate,” Faculty Workshop, University of
         Connecticut Law School, October 18, 2005; Faculty Workshop, UCLA Law School, February 3, 2006; Law and
         Economics Workshop, Stanford Law School, February 16, 2006; ; Law Faculty, University of Cambridge,
         Cambridge, England, February 28, 2006; University of Illinois College of Law, Law and Economics Workshop,
         March 2, 2006; Faculty Workshop, Florida State University Law School, March 30, 2006; ALEA, Berkeley, CA
         May 6, 2006; University of Chicago Law School, Law and Economics Workshop, May 9, 2006.
     •   “Is Gun Control Illiberal?” Federalist Society Debate with Dan Kahan at Yale Law School, January 31, 2006.
     •   “Witness to Deception: An Insider’s Look at the Disney Trial,” 2005-2006 Distinguished Lecture, Boston
         University School of Law, November 10, 2005; Center for the Study of Corporate Law, Yale Law School,
         November 3, 2005; Law Offices of Herbert Smith, London, England, February 23, 2006; Law Faculty,
         University of Cambridge, Cambridge, England, February 27, 2006.


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     •   “Understanding the Surprising Fall in Crime in the 1990s,” Rotary Club, Orange, CT, August 5, 2005; Faculty
         Workshop, Yale School of Management, September 21, 2005.
     •   Panel Member, “The Board's Role in Corporate Strategy,” The Yale Global Governance Forum, Yale School of
         Management, September 8, 2005.
     •   “Crime and Abortion,” Museo de la Cuidad de Mexico, Mexico City, October 20, 2003.
     •   “Allocating Resources towards Social Problems and Away From Incarceration as a Means of Reducing Crime,”
         MacArthur Foundation Research Network on Adolescent Development and Juvenile Justice, San Francisco,
         CA, February 28, 2003.
     •   “Shooting Down the More Guns, Less Crime Hypothesis,” Stanford Law School, Law and Economics Seminar,
         January 28, 2003; Faculty Workshop, Center for the Study of Law and Society, Boalt Hall, University of
         California, Berkeley, Feb. 24, 2003; Development Workshop, Stanford Law School, April 25, 2003; Faculty
         Workshop, Stanford Law School, July 2, 2003; Law and Public Affairs Program Workshop, Princeton
         University, September 29, 2003; Stanford Alumni Weekend, Stanford University, October 17, 2003; Faculty
         Workshop, CIDE, Mexico City, October 20, 2003.
     •   “The Impact of Legalized Abortion on Teen Childbearing,” NBER Labor Summer Institute, Cambridge, MA, July
         30, 2002.
     •   “Do Concealed Handgun Laws Reduce Crime?” Faculty Workshop, Stanford Law School, October 4, 2000; First-
         Year Orientation, Stanford Law School, September 5, 2001; Faculty Workshop, Harvard Law School, April 26,
         2002; Faculty Workshop, Columbia Law School, April 29, 2002.
     •   “The Evolution of Employment Discrimination Law in the 1990s: An Empirical Investigation,” Fellows
         Workshop, American Bar Foundation, February 11, 2002.
     •   “The Role of Discounting in Evaluating Social Programs Impacting on Future Generations: Comment on Arrow
         and Revesz,” Colloquium on Distributive Justice, Stanford Law School, Oct. 18, 2001.
     •   “The Impact of Wrongful Discharge Laws,” NBER Labor Summer Institute, Cambridge, MA, July 30, 2001;
         Labor and Employment Seminar, NYU Law School, October 16, 2001; Faculty Workshop, Stanford Law School,
         September 18, 2002; Yale Law School, January, 2004.
     •   “Racial Profiling: Defining the Problem, Understanding the Cause, Finding the Solution,” American Society of
         Criminology Conference, San Francisco, CA, November 15, 2000.
     •   "Institutional Architecture for Building Private Markets,” Conference on “Latin America and The New
         Economy" at Diego Portales University in Santiago, Chile, October 26, 2000.
     •   “The History and Current Status of Employment Discrimination Law in the United States,” Unicapital School of
         Law, (Centro Universitario Capital), Sao Paulo, Brazil, March 10, 2000.
     •   “Corporate Governance in Developing Countries: Opportunities and Dangers,” Conference on Neoliberal
         Policies for Development: Analysis and Criticism,” University of Sao Paulo Law School, March 13, 2000
     •   “Legalized Abortion and Crime,” Law and Economics Workshop, University of Pennsylvania Law School,
         September 21, 1999; Faculty Workshop, Yale Law School, September 27, 1999; John Jay College of Criminal
         Justice, October 7, 1999; Faculty Workshop, Quinnipiac Law School, October 13, 1999; Faculty Workshop,
         University of Connecticut Law School, October 19, 1999; University of Virginia Law School, October 25, 1999;
         Faculty Workshop, Baruch College, November 9, 1999; MacArthur Foundation Social Interactions and
         Economic Inequality Network Meeting, Brookings Institution, December 4, 1999; Faculty Workshop, NYU Law
         School, January 21, 2000; Faculty Workshop, University of San Diego Law School, February 18, 2000; Public
         Economics Workshop, Department of Economics, Stanford University, April 28, 2000; Law and Economics

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         Workshop, University of California at Berkeley Law School, September 18, 2000; Faculty Workshop, Cornell
         Law School, September 26, 2000; OB-GYN Grand Rounds, Stanford Medical School, October 2, 2000; Center
         for Advanced Studies in the Behavioral Sciences, October 11, 2000; Faculty Workshop, Graduate School of
         Business, February 5, 2002.
     •   Panel member, Session on Executive Compensation, Director's College, Stanford Law School, March 23, 1999.
     •   “Exploring the Link Between Legalization of Abortion in the 1970s and Falling Crime in the 1990s,” Law and
         Economics Workshop, Harvard Law School, March 16, 1999; Law and Economics Workshop, University of
         Chicago Law School, April 27, 1999; Faculty Workshop, Stanford Law School, June 30, 1999.
     •   “Is the Increasing Reliance on Incarceration a Cost-Effective Strategy of Fighting Crime?” Faculty Workshop,
         University of Wisconsin School of Social Science, February 19, 1999.
     •   “What Do We Know About Options Compensation?” Institutional Investors Forum, Stanford Law School, May
         29, 1998.
     •   Commentator on Orlando Patterson’s presentation on “The Ordeal of Integration,” Stanford Economics
         Department, May 20, 1998.
     •   “Understanding The Time Path of Crime,” Presentation at Conference on Why is Crime Decreasing?
         Northwestern University School of Law, March 28, 1998; Faculty Workshop, Stanford Law School, September
         16, 1998; Faculty Workshop, University of Michigan Law School, February 18, 1999.
     •   Commentator, Conference on Public and Private Penalties, the University of Chicago Law School, Dec. 13-14,
         1997.
     •   “Some Thoughts on Affirmative Action,” Presentation at a conference on Rethinking Equality in the Global
         Society, Washington University School of Law, November 10, 1997.
     •   Commentator on Chris Jencks’ Presentation on Welfare Policy, Stanford Economics Department, October 8,
         1997.
     •   “The Impact of Race on Policing, Arrest Patterns, and Crime,” Faculty Workshop, Stanford Law School,
         September 10, 1997; Law and Economics Workshop, University of Southern California Law School, October
         23, 1997; Law and Economics Workshop, Columbia University Law School, November 24, 1997; Law and
         Economics Workshop, Haas School of Business, University of California at Berkeley, February 19, 1998;
         Annual Meeting of the American Law and Economics Association, University of California at Berkeley, May 8,
         1998; Conference on the Economics of Law Enforcement, Harvard Law School, October 17, 1998.
     •   “Crime in America: Understanding Trends, Evaluating Policy,” Stanford Sierra Camp, August 1997.
     •   ″Executive Compensation: What Do We Know?″ TIAA-CREF Committees on Corporate Governance and Social
         Responsibility, Center for Economic Policy Research, Stanford University, June 27, 1997; NASDAQ Director′s
         Day, Stanford University, June 30, 1997.
     •   Panel Chair, Criminal Law (Theory), Criminal Law (Empirical), and Labor/Discrimination/Family Law, American
         Law and Economics Association, University of Toronto Law School, May 9-10, 1997.
     •   Commentator, ″Diversity in Law School Hiring,″ Stanford Law School, February 25, 1997.
     •   Keynote Speaker, ″The Optimal Rate of Crime,″ 11th Annual Conference, The Oklahoma Academy for State
         Goals, Tulsa, Oklahoma, May 7, 1996.
     •   Panel member, Session on Executive Compensation, Director's College, Stanford Law School, March 28-29,
         1996.



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     •   ″The Power of Law: Can Law Make a Difference in Improving the Position of Women and Minorities in the
         Labor Market?″ The Fellows of the American Bar Foundation, Baltimore, Maryland, February 3, 1996.
     •   ″Public Action, Private Choice and Philanthropy: Understanding the Sources of Improvement in Black
         Schooling Quality in Georgia, 1911-1960,″ Stanford Faculty Workshop, January 24, 1996; Faculty Workshop,
         University of Virginia Law School, January 22, 1997; National Bureau of Economic Research, Cambridge,
         Massachusetts, Labor Studies Conference, April 3, 1998.
     •   Commentator, ″The Effect of Increased Incarceration on Crime,″ Meetings of the American Economics
         Association, San Francisco, January 6, 1996.
     •   Commentator, Symposium on Labor Law, University of Texas Law School, November 10-11, 1995.
     •   Panel Member, Symposium on Criminal Justice, Stanford Law School, October 6-7, 1995.
     •   Commentator, ″The Litigious Plaintiff Hypothesis,″ Industrial and Labor Relations Conference, Cornell
         University, May 19, 1995.
     •   Commentator on Keith Hylton's, ″Fee Shifting and Predictability of Law,″ Faculty Workshop, Northwestern
         University School of Law, February 27, 1995.
     •   ″The Selection of Employment Discrimination Disputes for Litigation: Using Business Cycle Effects to Test the
         Priest/Klein Hypothesis,″ Stanford University, Law and Economics Seminars, October 31, 1994.
     •   ″Is the United States at the Optimal Rate of Crime?″ Faculty Workshop, Indiana University School of Law,
         Indianapolis, November 18, 1993; Faculty Workshop, Northwestern University School of Law, April 18, 1994;
         Law and Economics Workshop, Stanford Law School, April 28, 1994; Meetings of the American Law and
         Economics Association, Stanford Law School, May 13, 1994; American Bar Foundation, September 7, 1994;
         Faculty Workshop, DePaul Law School, September 21, 1994; Law and Economics Workshop, University of
         Chicago Law School, October 11, 1994; Faculty Seminar, Stanford Law School, October 31, 1994; Law and
         Economics Luncheon, Stanford Law School, November 1, 1994; Faculty Seminar Workshop, University of
         Illinois College of Law, Champaign, November 22, 1994; Law and Economics Workshop, Harvard Law School,
         November 29, 1994; School Alumni Luncheon, Chicago Club, December 13, 1994; Northwestern Law School;
         Law and Economics Workshop, Yale Law School, February 1, 1996; Faculty Workshop, Cornell Law School,
         April 10, 1996; Faculty Workshop, Tokyo University Law School, June 4, 1996; Panel on ″The Economics of
         Crime,″ Western Economics Association Meeting, San Francisco, July 1, 1996.
     •   ″The Broad Path of Law and Economics,″ Chair Ceremony, Northwestern University School of Law, September
         30, 1994.
     •   Commentator on Paul Robinson's ″A Failure of Moral Conviction,″ Northwestern University School of Law,
         September 20, 1994.
     •   ″The Do's of Diversity, The Don'ts of Discrimination,″ Kellogg School of Business, Northwestern University,
         May 17, 1994.
     •   ″Does Law Matter in the Realm of Discrimination?″ Law and Society Summer Institute, Pala Mesa Lodge,
         Fallbrook, California, June 25, 1993.
     •   Commentator, ″The Double Minority: Race and Sex Interactions in the Job Market,″ Society for the
         Advancement of Socio-Economics, New School for Social Research, March 28, 1993.
     •   ″The Effects of Joint and Several Liability on Settlement Rates: Mathematical Symmetries and Meta-Issues in
         the Analysis of Rational Litigant Behavior,″ Economic Analysis of Civil Procedure, University of Virginia School
         of Law, March 26, 1993.


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     •   Debate with Richard Epstein on Employment Discrimination Law, Chicago Federalist Society, February 23,
         1993.
     •   Panel Chair, ″Optimal Sanctions and Legal Rules in Tort and Criminal Law,″ Meetings of Annual Association of
         Law and Economics, Yale Law School, May 15, 1992.
     •   Panel Member, ″The Law and Economics of Employment at Will,″ The Institute For Humane Studies, Fairfax,
         Virginia, March 27, 1992.
     •   ″The Efficacy of Title VII,″ Debate with Professor Richard Epstein, University of Chicago Law School, February
         26, 1992.
     •   Moderator, ″Using Testers to Demonstrate Racial Discrimination,″ University of Chicago Law School, February
         13, 1992.
     •   ″Law & Macroeconomics: The Effect of the Business Cycle on Employment Discrimination Litigation,″ Law and
         Society Workshop, Indiana University, November 6, 1991; Faculty Workshop, University of North Carolina
         Law School, Chapel Hill, November 8, 1991; Faculty Workshop, Northwestern University School of Law,
         December 11, 1991; Law and
     •   Economics Conference, Duquesne Law School, March 14, 1992; University of Chicago Law School, April 2,
         1992.
     •   Panel Chair and Commentator, ″New Perspectives on Law and Economics,″ Society for the Advancement of
         Socioeconomics, Stockholm, June 17, 1991; Law and Society Meetings, Amsterdam, June 29, 1991.
     •   Panel Chair, ″Regulation of International Capital Markets,″ Law and Society Meetings, Amsterdam, June 27,
         1991.
     •   Panel Chair, ″The Law and Economics of Discrimination,″ American Association of Law and Economics,
         University of Illinois Law School, May 24, 1991.
     •   ″The Economics of Employment Discrimination Law,″ Industrial Relations Research Association, Chicago,
         Illinois, March 4, 1991.
     •   ″Does Current Employment Discrimination Law Help or Hinder Minority Economic Empowerment?″ Debate
         with Professor Richard Epstein, The Federalist Society, Northwestern Law School, February 26, 1991.
     •   Panel Member, ″The Law and Economics of Employment Discrimination,″ AALS Annual Meeting, Washington,
         D.C., January 6, 1991.
     •   ″Re-Evaluating Federal Civil Rights Policy,″ Conference on the Law and Economics of Racial Discrimination in
         Employment, Georgetown University Law Center, November 30, 1990.
     •   ″Opting for the British Rule,″ Faculty Seminar, Northwestern Law School, September 11, 1990; Faculty
         Seminar, University of Virginia Law School, September 14, 1990; Law and Economics Seminar, University of
         Michigan Law School, October 18, 1990; Faculty Workshop, NYU Law School, November 14, 1990; Faculty
         Workshop, University of Florida Law School, March 18, 1991.
     •   ″The Effects of Fee Shifting on the Settlement Rate: Theoretical Observations on Costs, Conflicts, and
         Contingency Fees,″ at the Yale Law School Conference ″Modern Civil Procedure: Issues in Controversy,″ June
         16, 1990.
     •   ″Studying the Iceberg From Its Tip?: An Analysis of the Differences Between Published and Unpublished
         Employment Discrimination Cases,″ Law and Society Meetings, Berkeley, California, May 31, 1990.
     •   Panel Discussion on Tort Reform, University of Pennsylvania Law School, April 27, 1990.


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     •   Panel Discussion of ″The Role of Government in Closing the Socio-Economic Gap for Minorities,″ at the
         Federalist Society National Symposium on ″The Future of Civil Rights Law,″ Stanford Law School, March 16,
         1990.
     •   ″Continuous versus Episodic Change: The Impact of Affirmative Action and Civil Rights Policy on the Economic
         Status of Blacks,″ University of Virginia Economics Department, February 15, 1990; Princeton University
         Department of Economics, February 21, 1990 (with James Heckman); Law & Economics Workshop, University
         of Toronto Law School, October 8, 1991.
     •   ″Sex Discrimination in the Workplace: An Economic Perspective,″ Fellows Seminar, American Bar Foundation,
         October 16, 1989.
     •   ″The Changing Nature of Employment Discrimination Litigation,″ Law and Economics Workshop, Columbia
         Law School, March 23, 1989; Faculty Seminar, University of Virginia Law School, March 24, 1989; Law and
         Economics Workshop, University of Chicago, April 25, 1989; Law & Society Meeting; Madison, Wisconsin,
         June 8, 1989; Labor Economics Workshop, University of Illinois, Chicago, November 1, 1989; Law & Economics
         Workshop, University of Pennsylvania Law School, November 9, 1989; Law and Economics Seminar,
         University of California at Berkeley, October 4, 1990; Law and Social Science Workshop, Northwestern
         University, February 3, 1991; Law and Economics Seminar, Stanford Law School, March 21, 1991; Faculty
         Workshop, Cornell Law School, April 3, 1991; Visiting Committee, Northwestern Law School, April 5, 1991.
     •   ″Law & Economics: The Third Phase,″ The Association of General Counsel, Northwestern University School of
         Law, October 14, 1988.
     •   ″Employment Discrimination Litigation,″ Northwestern Law School Alumni Monthly Loop Luncheon. Chicago
         Bar Association, May 31, 1988.
     •   ″The Morality of the Death Penalty.″ A debate with Ernest Van Den Haag. Northwestern University School of
         Law, April 19, 1988.
     •   ″Models of Deregulation of International Capital Markets.″ A presentation with David Van Zandt, Faculty
         Seminar, Northwestern University School of Law, April 1, 1988; Visiting Committee, May 5, 1988.
     •   ″Is Title VII Efficient?″ A debate with Judge Richard Posner, Faculty Seminar, Northwestern University School
         of Law, November 20, 1987.
     •   ″The Senate's Role in Confirming Supreme Court Nominees: The Historical Record,″ Northwestern University
         School of Law, September 22, 1987.
     •   ″Diverting the Coasean River: Incentive Schemes to Reduce Unemployment Spells,″ Yale Law School Civil
         Liability Workshop, March 30, 1987; Faculty Seminar, Northwestern University School of Law, March 18,
         1987; University of Southern California Law Center, May 1, 1987; and Seminar in Law and Politics,
         Department of Political Science, Northwestern University, May 8, 1987; Labor Workshop, Department of
         Economics, Northwestern University, October 27, 1987; AALS Annual Meeting, New Orleans, January 7, 1989.
     •   ″Women in the Labor Market--Are Things Getting Better or Worse?″ Hamilton College, February 23, 1987.
     •   ″The Changing Relative Quit Rates of Young Male and Female Workers,″ Hamilton-Colgate Joint Faculty
         Economics Seminar, February 23, 1987.
     •   ″Living on Borrowed Money and Time--U.S. Fiscal Policy and the Prospect of Explosive Public Debt,″ Orange
         Rotary Club, February 22, 1985.
     •   ″Capital Punishment in the Eighties,″ Hamilton College, April 6, 1981.




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      •   ″Terms and Conditions of Sale Under the Uniform Commercial Code,″ Executive Sales Conference, National
          Machine Tool Builders' Association, May 12, 1980.

   AWARDS
      •   47th Tikkun Olam Award, The Haiti Jewish Refugee Legacy Project, February 2014, “Awarded for incredibly
          significant work that explores and inspires the search for justice and taking serious, correct and timely action.”
          Tikkun Olam is a Hebrew phrase that means ‘repairing the world.’
          https://haitiholocaustsurvivors.wordpress.com/guest-posts/47th-tikkun-olam-award-to-professor-john-j-
          donohue-iii/


   PROFESSIONAL ACTIVITIES

      •   Member, Stanford Law School academic reading group evaluating the criminal law opinions of U.S. Supreme
          Court nominee Judge Ketanji Brown Jackson for the ABA Standing Committee on the Federal Judiciary, March
          2022.
      •   Member, USF Institute for Nonviolence and Social Justice Leadership Council, University of San Francisco, June
          2021 – present.
      •   Member, Criminal Justice Expert Panel, @CJExpertPanel, providing information on the relevance
          of criminal justice research to current events, beginning April 2021.
      •   Statistical Consultant to the Fairness Committee of the 9th Circuit Court of Appeals investigating issues of
          sentencing disparities by race, ethnicity, and gender in federal criminal sentencing, March 2018 – March 2020.
      •   Legal Scholarship Network Advisory Board Member, SSRN.
      •   Member, Committee on Law and Justice, National Research Council, October 2011 – December 2018.
      •   Fellow of the Society for Empirical Legal Studies, 2015 - present.
      •   Member, International Advisory Council, Economic Order Study Center, Federal University of San Paolo, Brazil.
      •   Co-Editor (with Steven Shavell), American Law and Economics Review, May 2006 – August 2012.
      •   President, American Law and Economics Association, May 2011 – May 2012.
      •   Co-President, Society for Empirical Legal Studies, November 2011 - August 2012. Member, Board of Directors
          from November 2011 - November 2014.
      •   Testified before the Connecticut Legislature in Support of Senate Bill 1035 and House Bill 6425 (A Bill to
          Eliminate the Death Penalty), March 7, 2011; Testified again before the Connecticut Judiciary Committee on
          March 14, 2012.
      •   Member of the Special Committee on ALI Young Scholars Medal, October 2009 – February 2011.
      •   Vice-President/President Elect, American Law and Economics Association, June 2010 – May 2011.
      •   Secretary-Treasurer, American Law and Economics Association, June 2009 – May 2010.
      •   Board of Advisors, Yale Law School Center for the Study of Corporate Law, July 2004 – August 2010.
      •   Evaluated the Connecticut death penalty system: “Capital Punishment in Connecticut, 1973-2007: A
          Comprehensive Evaluation from 4600 murders to One Execution,”
          http://works.bepress.com/john_donohue/137/.


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      •   Member, Panel on Methods for Assessing Discrimination, National Academy of Sciences, September 2001 –
          June 2004. Resulting Publication: National Research Council, Measuring Racial Discrimination (2004),
          http://www.nap.edu/catalog/10887.html.
      •   Member, National Science Foundation Review Panel, Law and Social Sciences, September, 1999 – April 2001.
      •   Editorial Board, Journal of Empirical Legal Studies, July 2003 – present.
      •   Editorial Board, International Review of Law and Economics, October 1999 – present.
      •   Editorial Board, Law and Social Inquiry, February 2000 – present.
      •   Board of Editors, American Law and Economics Review, August 1998 – April 2013.
      •   Consultant, Planning Meeting on Measuring the Crime Control Effectiveness of Criminal Justice Sanctions,
          National Academy of Sciences, Washington, D.C., June 11, 1998.
      •   Member, Board of Directors, American Law and Economics Association, June 1994-May 1997. Member, ALEA
          Nominating Committee, July 1995-May 1996. Member, Program Committee, July 1996-May 1998 and July
          2000 – May 2002.
      •   Statistical Consultant, 7th Circuit Court of Appeals Settlement Conference Project (December, 1994).
      •   Testified before U.S. Senate Labor Committee on evaluating the Job Corps, October 4, 1994.
      •   Assisted the American Bar Association Standing Committee on the Federal Judiciary in evaluating the
          qualifications of Ruth Bader Ginsburg (June 1993) and David Souter (June, 1990).
      •   Chair, AALS Section on Law and Economics, January 1990-January 1991.
      •   Economic Consultant to Federal Courts Study Committee. Analyzing the role of the federal courts and
          projected caseload for Judge Richard Posner's subcommittee. February 1989-March 1990.
      •   Member, 1990 AALS Scholarly Papers Committee.
      •   Member, Advisory Board, Corporate Counsel Center, Northwestern University School of Law. Since December
          1987.
      •   Associate Editor, Law and Social Inquiry. Summer 1987-December 1989.
      •   Interviewed Administrative Law Judge candidates for U.S. Office of Personnel Management. Chicago, Illinois.
          May 23, 1988.
      •   Member, Congressman Bruce Morrison's Military Academy Selection Committee. Fall 1983.
      •   1982 Candidate for Democratic Nomination, Connecticut State Senate, 14th District (Milford, Orange, West
          Haven).
   PRO BONO LEGAL WORK
      •   Co-wrote amicus brief for the United States Supreme Court for “Social Scientists and Public Health
          Researchers in Support of Respondents” in New York State Rifle & Pistol Association v. Bruen, which discusses
          the evidence that right-to-carry laws increase violent crime in the brief, September 21, 2021.
      •   Co-wrote amicus brief for the United States Supreme Court for “Public Health Researchers and Social
          Scientists in Support of Respondents” in New York State Rifle & Pistol Association v. City of New York, which
          quotes my article Right-to-Carry Laws and Violent Crime in the brief, August 12, 2019.




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      •   Co-wrote amicus brief for the 9th Circuit Court of Appeals for “Empirical Scholars Concerning Deterrence and
          the Death Penalty In Support of Petitioner/Appellee,” Jones v. Davis, No. 09 Cv. 2158 CJC, which discusses the
          lack of deterrence of the death penalty, March 6, 2015.
      •   Death Penalty case: Heath v. Alabama. Fall 1986-Fall 1989.
      •   Wrote brief opposing death sentence in Navy spy case. Court ruled in favor of defendant John A. Walker on
          September 13, 1985.
      •   Staff Attorney, Neighborhood Legal Services, January-July 1981.
      •   Appealed sentence of death for Georgia defendant to the United States Supreme Court. Sentence vacated on
          May 27, 1980. Baker v. Georgia.
      •   Court-appointed representation of indigent criminal defendant in District of Columbia Superior Court,
          February-July 1980.

   RESEARCH GRANTS
      •   Stanford University Research Fund, January 1997 and January 1998.
      •   The National Science Foundation (project with James Heckman), December 1992; (project with Steve Levitt),
          July 1997.
      •   Fund for Labor Relations Studies, University of Michigan Law School, March 1988.

   BAR ADMISSIONS
      •   Connecticut - October 1977; District of Columbia - March 1978 (Currently Inactive Status); United States
          Supreme Court - November 3, 1980; U.S. District Court for the District of Connecticut – February 14, 1978.

   PROFESSIONAL and HONORARY ASSOCIATIONS
      •   American Academy of Arts and Sciences (since April 2009).
      •   Research Associate, National Bureau of Economic Research (since October 1996) – in Law and Economics and
          Labor Studies.
      •   Stanford Center for Racial Justice – August 2020 to present.
      •   American Law Institute (since September 29, 2010).
      •   Member, Fellows of the Society for Empirical Legal Studies (since October 2015).
      •   American Bar Association
      •   American Economic Association
      •   American Law and Economics Association

   PERSONAL
      •   Born: January 30, 1953.




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         EXHIBIT B




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Table 38                                         Case 3:19-cv-01226-L-AHG Document 111-6 Filed 03/16/23 PageID.9820 Page 104 of 506
Arrests
by Age, 2019
[10,831 agencies; 2019 estimated population 229,735,355]
                                                         Total         Ages        Ages        Ages 18       Under                                                                                                                                                                                                             65 and
Offense charged                                         all ages     under 15    under 18      and over       10       10-12      13-14       15           16        17        18        19        20        21        22        23        24       25-29     30-34     35-39   40-44    45-49   50-54     55-59     60-64      over

TOTAL                                                   6,917,552     156,886      485,964     6,431,588       2,550    36,691 117,645       94,426 108,807 125,845 170,444 192,362 192,045 198,861 201,462 206,878 213,855 1,164,519 1,046,118                         875,810 610,752 459,614 368,597 280,854 148,619 100,798
  Total percent distribution1                               100.0         2.3          7.0          93.0           *       0.5     1.7          1.4     1.6     1.8     2.5     2.8     2.8     2.9     2.9     3.0     3.1      16.8      15.1                            12.7     8.8     6.6     5.3     4.1     2.1     1.5
Murder and nonnegligent manslaughter                        7,711           74         601         7,110           0      11           63       107          165       255       400       413       389       370       317       299       295      1,408       950       747     501     340     223       197       127       134
Rape2                                                      16,966        1,264       2,887        14,079          31    357          876        499          516       608       748       579       591       523       469       409       421      2,077     2,016     1,765   1,252     982     821       629       395       402
Robbery                                                    56,854        2,665      12,266        44,588           8    333        2,324      2,692        3,312     3,597     3,797     3,172     2,520     2,245     2,034     1,831     1,849      8,733     6,548     4,511   2,777   1,739   1,372       904       385       171
Aggravated assault                                        277,561        6,867      19,499       258,062         138  1,864        4,865      3,723        4,185     4,724     5,825     6,592     7,093     7,931     8,070     8,623     8,932     48,857    42,678    35,119 24,082 18,096 14,342       11,016     6,134     4,672
Burglary                                                  120,242        4,806      14,504       105,738          88  1,024        3,694      3,089        3,286     3,323     3,953     3,872     3,310     3,281     3,232     3,548     3,746     20,129    18,695    15,020   9,419   6,665   5,130     3,456     1,498       784
Larceny-theft                                             604,287       18,480      62,200       542,087         231  3,754       14,495     12,482       14,536    16,702    20,361    19,232    17,194    16,399    15,966    15,967    16,364     94,072    88,432    73,764 50,915 38,842 31,941       23,360    11,785     7,493
Motor vehicle theft                                        57,738        2,626       9,742        47,996           4    260        2,362      2,442        2,450     2,224     2,010     1,793     1,653     1,630     1,600     1,653     1,782     10,017     8,986     6,845   4,092   2,648   1,758       994       361       174
Arson                                                       6,369          717       1,264         5,105          50    247          420        210          177       160       146       122       105       122       111       120       154        868       831       785     542     353     326       258       130       132
        Violent crime3                                    359,092       10,870      35,253       323,839         177  2,565        8,128      7,021        8,178     9,184    10,770    10,756    10,593    11,069    10,890    11,162    11,497     61,075    52,192    42,142 28,612 21,157 16,758       12,746     7,041     5,379
             Violent crime percent distribution1            100.0          3.0         9.8          90.2           *    0.7          2.3        2.0          2.3       2.6       3.0       3.0       2.9       3.1       3.0       3.1       3.2       17.0      14.5      11.7     8.0     5.9     4.7       3.5        2.0       1.5
        Property crime3                                   788,636       26,629      87,710       700,926         373  5,285       20,971     18,223       20,449    22,409    26,470    25,019    22,262    21,432    20,909    21,288    22,046    125,086   116,944    96,414 64,968 48,508 39,155       28,068    13,774     8,583
             Property crime percent distribution            100.0          3.4        11.1          88.9           *     0.7          2.7        2.3          2.6       2.8       3.4       3.2       2.8       2.7       2.7       2.7       2.8      15.9      14.8      12.2      8.2     6.2     5.0       3.6       1.7       1.1
Other assaults                                            717,793       38,619      88,269       629,524         736 11,229       26,654     16,913       16,818    15,919    14,660    16,145    16,496    19,478    19,774    20,581    21,296    115,533   102,880    86,441 60,842 45,807 36,425       27,271    14,538    11,357
Forgery and counterfeiting                                 32,495           98         611        31,884           2      23           73         93         149       271       747     1,177     1,269       906       902       887     1,037      5,856     5,570     4,805   3,174   2,161   1,533     1,079       509       272
Fraud                                                      79,954          645       2,620        77,334           2    108          535        464          661       850     1,502     2,009     2,266     2,129     2,195     2,311     2,454     14,302    13,515    11,393   7,918   5,656   4,224     2,967     1,442     1,051
Embezzlement                                               10,003           25         400         9,603           0       5           20         26         117       232       431       545       470       388       408       309       350      1,667     1,412     1,114     863     630     443       336       144         93
Stolen property; buying, receiving, possessing             64,027        1,368       6,487        57,540           2    118        1,248      1,358        1,732     2,029     2,314     2,231     2,053     1,905     1,952     1,985     1,955     11,730    10,218     8,245   5,145   3,292   2,295     1,374       585       261
Vandalism                                                 128,474        9,891      22,744       105,730         314  2,926        6,651      4,247        4,355     4,251     4,316     4,161     3,920     3,994     3,999     3,979     3,945     20,757    17,210    13,364   8,735   6,120   4,815     3,421     1,700     1,294
Weapons; carrying, possessing, etc.                       110,130        3,347      11,563        98,567          63    863        2,421      2,092        2,705     3,419     4,186     4,342     4,232     4,308     4,230     4,160     4,241     20,241    15,171    11,690   7,529   5,146   3,800     2,767     1,452     1,072
Prostitution and commercialized vice                       20,015           30         214        19,801           0       8           22         26           55      103       477       818       881       893       927       817       853      3,954     2,862     2,176   1,531   1,236   1,013       674       369       320
Sex offenses (except rape and prostitution)                28,973        2,310       4,739        24,234          40    619        1,651        859          775       795       828       700       624       601       556       611       599      3,095     3,290     3,100   2,306   1,962   1,756     1,642     1,165     1,399
Drug abuse violations                                   1,067,764       10,881      55,701     1,012,063          55  1,695        9,131      9,689       13,996    21,135    36,298    41,116    38,389    37,432    36,358    36,652    36,982    193,061   165,241   135,033 89,556 62,814 47,410       33,345    15,620     6,756
Gambling                                                    1,909           26         150         1,759           1       3           22         29           45        50        32        67        55        36        30        32        48       252       232       229     191     176     151       115         49        64
Offenses against the family and children                   58,720          772       2,098        56,622          27    188          557        434          458       434       635       741       825     1,039     1,101     1,250     1,401      9,965    11,267    10,330   7,181   4,662   2,948     1,916       869       492
Driving under the influence                               658,902           89       3,580       655,322           5      13           71       161          858     2,472     7,152    11,113    12,995    20,860    22,770    24,184    24,752    121,140    98,297    80,832 60,960 50,411 42,811       36,682    22,344    18,019
Liquor laws                                               112,467        2,681      17,072        95,395           6    379        2,296      2,738        4,508     7,145    14,821    15,621    13,296     2,745     2,084     1,642     1,608      7,072     6,453     6,013   5,005   4,884   5,042     4,692     2,733     1,684
Drunkenness                                               219,696          372       2,414       217,282           5      52         315        362          576     1,104     3,032     3,735     3,972     6,276     6,178     6,158     6,207     32,949    31,445    28,206 21,909 19,407 18,295       15,956     8,799     4,758
Disorderly conduct                                        211,960       16,045      36,877       175,083         224  4,335       11,486      7,733        7,029     6,070     5,379     5,212     5,439     6,489     6,030     5,767     5,753     29,318    26,167    22,237 15,820 12,967 10,870        8,730     5,056     3,849
Vagrancy                                                   16,104           77         255        15,849           3      15           59         62           60        56      245       216       306       218       245       286       280      2,051     2,114     2,206   1,710   1,670   1,696     1,335       815       456
All other offenses (except traffic)                     2,219,328       28,480      96,409     2,122,919         497  5,684       22,299     19,448       22,558    25,923    36,139    46,633    51,696    56,651    59,911    62,805    66,542    385,355   363,582   309,797 216,774 160,921 127,147    95,722    49,609    33,635
Suspicion                                                     329            7          17           312           0       0            7          1            4         5       10          5         6       12        13        12          9        60        56        43      23      27      10        16          6         4
Curfew and loitering law violations                        10,781        3,624      10,781             -          18    578        3,028      2,447        2,721     1,989          -         -         -         -         -         -         -         -         -         -        -       -       -         -         -         -
1
    Because of rounding, the percentages may not add to 100.0.
2
    The rape figures in this table are aggregate totals of the data submitted based on both the legacy and revised Uniform Crime Reporting definitions.
3
    Violent crimes are offenses of murder and nonnegligent manslaughter, rape, robbery, and aggravated assault. Property crimes are offenses of burglary, larceny-theft, motor vehicle theft, and arson.
* Less than one-tenth of 1 percent.




                                                                                                                                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                                                                                                                                               Page 32
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          EXHIBIT C




                                                                     Exhibit C
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                                      State handgun purchase age minimums in the US and ­
                                      adolescent suicide rates: regression discontinuity and




                                                                                                                                                             BMJ: first published as 10.1136/bmj.m2436 on 22 July 2020. Downloaded from http://www.bmj.com/ on 3 June 2021 by guest. Protected by copyright.
                                      difference-in-­differences analyses
                                      Julia Raifman,1 Elysia Larson,2 Colleen L Barry,3 Michael Siegel,4 Michael Ulrich,4
                                      Anita Knopov,5 Sandro Galea4

1
  Department of Health Law,           ABSTRACT                                                   in each state where they were in place between 2001
Policy, and Management,               OBJECTIVE                                                  and 2017. In the difference-in-differences analysis,
Boston University School of           To evaluate the association between US state               state policies that limited the sale of handguns to
Public Health, Boston, MA
02118, USA                            policies that establish age 18 or 21 years as the          those aged 21 or older were associated with 1.91
2
  Harvard TH Chan School of           minimum purchaser age for the sale of handguns and         fewer suicides per 100 000 adolescents aged 18 to
Public Health, Boston, MA, USA        adolescent suicide rate.                                   20 years (95% confidence interval −3.13 to −0.70,
3
  Johns Hopkins Bloomberg             DESIGN                                                     permutation adjusted P=0.025). In the difference-in-
School of Public Health,                                                                         differences analysis, there were 1.83 fewer firearm
Baltimore, MD, USA
                                      Regression discontinuity and difference-in-differences
4                                     analyses.                                                  related suicides per 100 000 adolescents (−2.66
  Boston University School of
                                                                                                 to −1.00, permutation adjusted P=0.002), with no
Public Health, Boston, MA, USA        SETTING
5                                                                                                association between age 21 handgun sales policies
  Brown University Department         46 US states without policy changes between 2001
of Emergency Medicine,                                                                           and non-firearm related suicides. Separate event
                                      and 2017; Missouri and South Carolina, which
Providence, RI, USA                                                                              study estimates indicated increases in suicide rates
                                      lowered the age for handgun sales in 2007 and 2008,
Correspondence to: J Raifman                                                                     in states that lowered the age of handgun sales, with
jraifman@bu.edu                       respectively; and West Virginia and Wyoming, which
                                                                                                 no association in states that increased the age of
(or @juliaraifman on Twitter          increased the age for handgun sales in 2010.
ORCID 0000-0001-6968-658X)                                                                       handgun sales.
                                      PARTICIPANTS
Additional material is published                                                                 CONCLUSIONS
online only. To view please visit     Adolescents aged 13 to 20 years(554 461 961
                                                                                                 A clear discontinuity was shown in the suicide rate
the journal online.                   from 2001 to 2017) in the regression discontinuity
                                                                                                 by age at age 18 in states that limited the sale of
Cite this as: BMJ 2020;370:m2436      analysis, and adolescents aged 18 to 20 years
http://dx.doi.org/10.1136/bmj.m2436                                                              handguns to individuals aged 18 or older. State
                                      (168 934 041 from 2002 to 2014) in the main
                                                                                                 policies to limit the sale of handguns to individuals
Accepted: 1 June 2020                 difference-in-differences analysis.
                                                                                                 aged 21 or older were associated with a reduction in
                                      MAIN OUTCOME MEASURE                                       suicide rates among adolescents. Increases in suicide
                                      Suicide rate per 100 000 adolescents.                      rates were observed after states lowered the age of
                                      RESULTS                                                    handgun sales, but no effect was found in states that
                                      In the regression discontinuity analysis, state policies   increased the age of handgun sales.
                                      that limited the sale of handguns to those aged 18
                                      or older (relative to 21 or older) were associated with    Introduction
                                      an increase in suicide rate among adolescents aged         More than 48 000 suicides occurred in the United States
                                      18 to 20 years equivalent to 344 additional suicides       in 2018; an increase in the suicide rates for the 10th
                                                                                                 consecutive year both overall and among adolescents.1
                                                                                                 Suicide is a particular concern in adolescents as it is
 WHAT’S ALREADY KNOWN ON THIS TOPIC                                                              the second most common cause of death in this age
 Firearms are a particularly lethal means of suicide attempts                                    group after unintentional injuries.2 Firearms account
 Access to firearms is associated with suicide for the general population and for                for more than half of the deaths from suicide in the US.3
 adolescents                                                                                        Firearms are common in US households, with 41% of
 A study based on suicide data from 1976 to 2001 found that policies restricting                 Americans reporting living in a household with a gun
 the sale of handguns to those aged 21 or older were associated with reductions                  in 2017.4 Firearms are a particularly lethal method of
                                                                                                 suicide attempts,5 and access to firearms is associated
 in firearm related suicides but not overall suicides among adolescents aged 18
                                                                                                 with increased deaths from suicide.6-8 Firearm
 to 20 years
                                                                                                 purchases have been specifically related to suicide—
 WHAT THIS STUDY ADDS                                                                            one study found the risk of suicide by firearms to be 57
 In a regression discontinuity analysis, restricting the sale of handguns to                     times greater among Californians who had purchased
 purchasers aged 18 years or older, relative to 21 years or older, was associated                a handgun in the past week compared with that in the
 with an increased suicide rate among adolescents aged 18 to 20 years                            general population of adults in the state.9 Though few
                                                                                                 changes have occurred in most state firearm policies in
 In a difference-in-differences analysis, lowering the age minimum for handgun
                                                                                                 recent years, changing the legal age at which handguns
 purchases from 21 to 18 years was associated with an increase in the suicide
                                                                                                 can be purchased has been politically feasible; since
 rate among adolescents aged 18 to 20 years in two states
                                                                                                 2018, three states increased the minimum age of
 Increasing the age of handgun purchases from 18 to 21 years was not associated
                                                                                                 handgun purchase.10-12 We investigated the relation
 with a change in the suicide rate in two states with high levels of household
                                                                                                 between the minimum age of handgun purchase in US
 firearm ownership                                                                                                                 Exhibit C
                                                                                                 states and suicide among adolescents.
                                                                                                                                    Page 34
the bmj | BMJ 2020;370:m2436 | doi: 10.1136/bmj.m2436                                                                                                   1
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 RESEARCH


                    A 1968 US federal law required that licensed                  For the difference-in-differences analyses, we
                 firearms dealers only sell handguns to those aged 21          determined that Missouri, South Carolina, West
                 or older, but it did not impose a minimum purchaser           Virginia, and Wyoming implemented policy changes




                                                                                                                                             BMJ: first published as 10.1136/bmj.m2436 on 22 July 2020. Downloaded from http://www.bmj.com/ on 3 June 2021 by guest. Protected by copyright.
                 age on unlicensed sales. The 1994 Brady Handgun               between 2004 and 2013, the period that allowed for
                 Violence Prevention Act13 limited all firearm sales           at least five years of data before and after each state
                 across the US to purchasers aged 18 years or older. By        policy change. The sample was the full US population
                 June 2020, 17 states had policies requiring the sale of       of adolescents aged 18 to 20 years from 2002 to 2014,
                 unlicensed handguns be limited to individuals aged            the period five years preceding and five years following
                 21 or older; the other 33 states continued to permit          policy changes in the four intervention states (policy
                 unlicensed sales to those aged 18 to 20 years.14 Federal      changes occurred between 2007 and 2010).
                 policy permits the sellers of firearms to be unlicensed
                 if they do not regularly sell firearms for profit, without    Data
                 defining regular sales.15                                     The main exposure of interest for the regression
                    Little evidence exists about whether policies for          discontinuity analysis was being aged 18 to 20 years
                 limiting handgun sales to those aged 21 or older are          old in a state with a policy that limited handgun sales
                 associated with deaths from suicide, particularly since       to purchasers aged 18 or older (versus aged 21 or
                 the introduction of the 1994 Brady act. One study             older). From the State Firearms Law Database14 and
                 evaluated the link between suicides and laws for              the Giffords Center law database17 we determined that
                 minimum purchase age passed in 29 states between              the minimum age for handgun purchasers throughout
                 1976 and 2001 and found that the policies for                 the study period was 18 years in 34 states and 21
                 limiting handgun sales to those aged 21 or older were         years in 12 states. The two databases had consistent
                 associated with statistically significant reductions in       information on state handgun purchaser age, with
                 firearm related suicides but not in overall suicides.16       the exception of Illinois, where adolescents aged 18
                 This study was based on a difference-in-differences           to 20 years can purchase a handgun with parental
                 design but did not examine pre-period trends in all           permission; we considered Illinois to have a minimum
                 cause suicide to assess the suitability of the comparison     purchaser age of 18 years. We weighted data based on
                 group. We conducted an analysis based on more recent          the size of the state population aged 13 to 20 years.
                 data most relevant to the current policy environment,            The main exposure of interest for the difference-
                 including a difference-in-differences analysis in which       in-differences analysis was a policy change in the
                 we evaluated parallel trends.                                 minimum purchaser age for handgun sales. In August
                    We estimated the impact of policies to restrict the sale   2007, Missouri implemented a policy to reduce the
                 of handguns to those aged 21 or older on suicide rates        minimum purchaser age from 21 to 18 years, when
                 in adolescents. We used two methods for analyzing             it repealed the Missouri Revised Statutes Section
                 observational data: a regression discontinuity                571.090. In the same year, Missouri rescinded its policy
                 approach to evaluate whether suicide rates among              requiring a permit and background check to purchase
                 adolescents aged 18 to 20 diverged from age trends in         handguns. In April 2008, South Carolina implemented
                 suicide rates among adolescents aged 13 to 17 when            the 2008 South Carolina Laws Act 192 (H.B. 4364),
                 states limited handgun purchases to those aged 18             reducing the minimum purchaser age from 21 to 18
                 or older relative to aged 21 or older; and a difference-      years. In contrast, in 2010, West Virginia amended
                 in-differences approach to compare temporal trends            Section 61-7-10 of the Code of West Virginia, restricting
                 in the suicide rate in states that changed policies           unlicensed firearm sales to the licensed firearm sales
                 relative to all other states. We conducted difference-in-     age, thereby limiting handgun sales to purchasers aged
                 differences analyses based on two states that rescinded       21 years or older. In March 2010, Wyoming increased
                 the age 21 minimum and two states that implemented            the minimum age of handgun purchase from 18 to 21
                 the age 21 minimum.                                           years with the Wyoming Firearms Freedom Act.18 We
                                                                               considered the policy change period to begin in the
                 Methods                                                       calendar year of policy implementation in each state.
                 Sample                                                           The main outcomes were suicide rate by age
                 We obtained data on suicide rates by state and age            (regression discontinuity analysis) or by year
                 from 1999 to 2018.3 For the regression discontinuity          (difference-in-differences analysis). From the National
                 analysis, we excluded states with policy changes. To          Vital Statistics System, we obtained cause specific and
                 include as many states as possible, we used data from         intent specific suicide data for the full US population
                 2001 to 2017 (two states changed policies in 2018             in the relevant age group, with deaths classified using
                 and two states changed policies between 1999 and              ICD-10 codes (international classification of diseases,
                 2001). We included the full population of adolescents         10th revision). We used US Census data on population
                 aged 13 to 20 years in all 46 US states that did not          size by age, state, and year drawn from the Web-
                 change their policies between 2001 and 2017. Four             based Injury Statistics Query And Reporting System
                 states—Missouri, South Carolina, West Virginia, and           (WISQARS).3 From this same system we also calculated
                 Wyoming—implemented policy changes between 2001               covariate data on population density and demographic
                 and 2017 and were therefore excluded.14 17                    characteristics.
                                                                                                                 Exhibit C
                                                                                                                  Page 35
2                                                                                   doi: 10.1136/bmj.m2436 | BMJ 2020;370:m2436 | the bmj
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                                                                          RESEARCH


                               Analysis                                                     in an intervention state. Separate parallel trends
                               In the regression discontinuity analysis, we described       tests were conducted on the states that decreased the
                               population characteristics in states with age 18 relative    age minimum age of handgun purchasers from 21




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                               to age 21 handgun sales policies and among those             to 18 years in 2007 and 2008 and for the states that
                               younger (ages 13 to 17) and older (ages 18 to 20) than       increased the age minimum from 18 to 21 years in
                               the age 18 threshold. We used a modified regression          2010. We also repeated the main analysis as separate
                               discontinuity approach19 20 based on the discontinuity       event study models23 24 for states that decreased or
                               in access to firearms when people reached the age of         increased the minimum age of handgun purchasers.
                               18 years in states with a minimum handgun purchaser          In the event study models, we replaced the binary
                               age of 18 years. The premise is that adolescents just        policy indicator with binary indicators for living in
                               above and just below age 18 years have similar               intervention states in a series of two year periods before
                               characteristics but differ in their access to firearms       and after policy changes. The reference group was
                               when the age of handgun purchase is 18 years; we             being in a comparison state or being in an intervention
                               evaluated whether the adolescent populations above           state in the two year period before the policy change.
                               and below the threshold had similar characteristics             For the main difference-in-differences analysis, we
                               by comparing the ethnicity/race of the adolescent            estimated a linear regression model, with the rate of
                               populations aged 13 to 17 and aged 18 to 20 in each          suicides per 100 000 adolescents as the outcome for
                               policy group. We extended the typical regression             total and for firearm and non-firearm related suicides
                               discontinuity analysis by using states with a minimum        to determine if changes in firearm related suicides
                               handgun purchaser age of 21 years as a comparison            drove changes in total suicides. We chose a linear
                               group. To account for overdispersion, we estimated           regression model based on evidence that maximum
                               negative binomial regression models, with total              likelihood models underestimate standard errors in
                               suicides as the outcome and log population as an offset      the presence of fixed effects.25 The main indicator of
                               (appendix equations 1 and 2). The main indicators of         interest was living in a policy change state during the
                               interest were a binary indicator for being aged 18 to 20     period when handgun sales were restricted to those
                               years in a state with a minimum handgun purchaser            aged 21 or older. We included state and year fixed
                               age of 18 years and a term interacting this binary           effects that controlled for each state and year and
                               indicator with continuous age. We also adjusted for age      that capture any time invariant state characteristics,
                               and a second order polynomial for age. We estimated          such as geography and the minimum age for handgun
                               the number of suicides that would be averted with a          purchases in neighboring states. We adjusted for state
                               minimum handgun purchaser age of 21 years, by                characteristics that changed over time, including
                               computing and summing the predicted probabilities of         the proportion of firearm related suicide deaths in
                               suicide at each age between 18 and 20 years in states        adults, population density, and the proportion of
                               with an age 18 relative to age 21 handgun purchaser          the population that was white or Native American.
                               minimum. Trends in suicide rates by age are depicted         We adjusted for changes in state background check
                               graphically by minimum age of handgun sales for all          policies26 27 and handgun permit to purchase policies28
                               states without policy changes from 2001 to 2017 and          as documented in the State Firearms Law Database14
                               for the intervention states during the five years prior to   and the Giffords Center law database.17 We did not
                               and following policy changes. In a sensitivity analysis,     adjust for policies requiring locked storage of firearms
                               we estimated a model that allowed for differing age          because no states changed this policy during the study
                               trends in states with different policies through terms       period. We know of no other policy changes that would
                               interacting continuous age and age squared with the          have differentially affected suicides in intervention
                               policy group.                                                relative to comparison states. We weighted the
                                  In the difference-in-differences approach21 22 we         analysis by the proportion of all adolescents aged 18
                               compared changes in suicide rates before and after           to 20 years who lived in each state in each year and
                               policy changes with changes in the suicide rates             clustered standard errors by state to account for serial
                               over time in comparison states. As a first step, we          autocorrelation.29
                               compared population characteristics in intervention             Difference-in-differences models with a small
                               and comparison states.                                       number of groups can lead to underestimation of
                                  An important assumption in difference-in-                 standard errors.30 To precisely estimate the P value of
                               differences analyses is that there would be parallel         the main analysis, we ran 1000 permutations of the
                               trends in the outcome in intervention states and             main analyses, randomly assigning states to “placebo”
                               comparison states in the absence of any intervention;        policy changes in the years when intervention states
                               parallel trends in the pre-period suggest there would        actually changed policies. Based on the distribution
                               have been parallel trends in the post-period in the          of t statistics from this analysis, we calculated the
                               absence of a policy change. We tested for parallel           likelihood of observing a t statistic with an absolute
                               trends by evaluating whether there were differences in       value greater than that estimated in the main analysis.
                               temporal trends in suicide rates in intervention relative    We calculated the per cent reduction in suicides
                               to comparison states before policy changes. The main         relative to the mean rate in all states before 2007,
                               regression analysis was repeated for the period before       when Missouri was the first study state with a policy
                               policy changes, interacting time in years with being         change. We estimated the number     Exhibit
                                                                                                                                 of deathsCthat would
                                                                                                                                Page 36
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                be averted with handgun sales limited to purchasers          (1.09, 1.03 to 1.16) at age 18 in states with age 18
                with a minimum age of 21 relative to 18 in the 33 states     handgun sales policies (fig 1 and table 2). Based on the
                with an age 18 minimum in March 2020 based on the            predicted probabilities of suicide at ages 18 to 20, an




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                most recent, 2018 data on the number of adolescents          average of 344 adolescent suicide deaths would have
                aged 18 to 20 years in each state.                           been averted in each state with a minimum handgun
                   To explore effect heterogeneity and further evaluate      purchaser age of 21 compared with age 18 from 2001
                the parallel trends assumption, we repeated the              to 2017. In the sensitivity analysis that allowed for
                main analysis with a term interacting the policy             differing age trends in states with a minimum handgun
                change with a binary indicator for increasing, relative      purchaser age of 18 or age 21, the main effect estimates
                to decreasing, the age of handgun sales. We also             were consistent for the increase in the suicide rate at
                evaluated heterogeneity based on the separate event          age 18 (1.19, 1.10 to 1.28) and the increase in the
                study models for states that decreased or increased          slope of the increase in the rate (1.23, 1.14 to 1.32);
                the age of handgun sales.23 24 Finally, we graphed           based on the predicted probabilities of suicide in this
                estimates of the total and cause specific suicide fatality   analysis, an estimated 406 deaths would have been
                rate during the five years preceding and following           averted with a minimum handgun purchaser age of 21
                policy changes in each intervention state and during         compared with age 18.
                the corresponding period in the 46 comparison states.           In the difference-in-differences analysis, the
                   We conducted several difference-in-differences            characteristics of adolescents in the intervention
                sensitivity analyses. To ensure the analysis was not         states differed from those in the comparison states
                sensitive to functional form, we repeated the analysis       (table 3). In particular, comparison states had greater
                as a negative binomial regression, with total suicide        population density and lower firearm ownership, and
                deaths as the outcome and log population as the              a greater share of the adolescent population was Asian
                offset. To evaluate whether those not exposed to policy      or Pacific Islander. Household firearm ownership was
                changes experienced changes in suicide rates, we             particularly high in Wyoming (66%) and West Virginia
                repeated the main analysis among those aged 13 to            (59%) relative to comparison states (38%), and
                17 years. To evaluate alternative comparison groups,         population density was particularly low in Wyoming
                we estimated the effects of the policy changes relative      relative to comparison states (5 v 170 people per
                to synthetic control states separately for the two           square mile (2 v 65 people per square kilometer)).
                states that changed the minimum age for handgun                 The event studies show that temporal trends in suicide
                purchases from 21 to 18 years and from 18 to 21              rates in intervention states (Missouri, South Carolina,
                years using the synth_runner package in Stata 15. The        West Virginia, and Wyoming) relative to comparison
                synthetic controls were generated from the subset of         states were characterized by fluctuations but were
                states with the same policies before intervention state      relatively parallel to trends in comparison states before
                policy changes. We estimated the deaths averted by           policy changes (fig 2). The tests for parallel trends also
                multiplying annual effect estimates by state population      indicated that temporal trends in suicide rates did not
                size.31 Finally, to ensure the analysis was not sensitive    differ in Missouri and South Carolina (which decreased
                to the period in which the study was conducted, we           the minimum age of handgun purchase) relative to
                repeated the main analysis separately over four years        comparison states for total (0.02 suicides per 100 000
                and over six years before and after policy changes.          adolescents per year, 95% confidence interval −0.57
                                                                             to 0.61, appendix table 2) or cause specific suicides
                Patient and public involvement                               (firearms: 0.03 suicides per 100 000 adolescents per
                Patients and the public were not involved in this study.     year, −0.42 to 0.47; non-firearms: fewer than −0.01
                                                                             suicides per 100 000 adolescents per year, −0.28 to
                Results                                                      0.27). Although there were no statistically significant
                In the regression discontinuity analysis, the race/          differences in the trends in the total suicide rate (−0.91
                ethnicity of the population of adolescents older and         suicides per 100 000 adolescents per year, −2.05 to
                younger than 18 years was similar (table 1), although        0.23) or cause specific suicide rate (firearms: −0.46
                the large population size meant that differences of          suicides per 100 000 adolescents per year, −1.96
                less than 0.1 percentage points were statistically           to 1.04; non-firearms: −0.45 suicides per 100 000
                significant. Adolescents in states that limited the sale     adolescents per year, −0.88 to 0.03) in West Virginia
                of handguns to those older than 21 years were more           and Wyoming (which increased the minimum age of
                likely to be Asian or Pacific Islanders than those in        handgun purchase) relative to comparison states, the
                states that limited the sale to age 18 and older. States     downward trend in suicide rates before the policy
                with age 21 limits had lower firearm ownership in            changes could suggest that any decline in suicide rates
                2004 (24% v 43%) and were more population dense              after these states increased the age for purchase of
                (400 v 89 people per square mile (154 v 34 per square        handguns was the result of a pre-existing downward
                kilometer)).                                                 trend in suicide rates.
                   In the regression discontinuity analysis, a                  In the difference-in-differences analysis, limiting
                discontinuity was found in the suicide rate (incident        the age of handgun purchase to those 21 years or older
                rate ratio 1.26, 95% confidence interval 1.10 to 1.45)       was associated with an average of 1.91 fewer suicides
                and the slope of increases in the suicide rate with age      per 100 000 adolescents aged 18Exhibit       C (−3.13 to
                                                                                                                 to 20 years
                                                                                                                 Page 37
4                                                                                 doi: 10.1136/bmj.m2436 | BMJ 2020;370:m2436 | the bmj
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 Table 1 | Characteristics of adolescents above and below the age threshold in states                                       −0.70, permutation adjusted P=0.025, table 4); this
 with a minimum age of 21 or 18 years for the purchase of handguns, 2001-17. Values                                         would be equivalent to an 18.1% reduction relative
 are numbers (percentages) unless stated otherwise                                                                          to a mean of 10.54 suicides per 100 000 adolescents




                                                                                                                                                                                       BMJ: first published as 10.1136/bmj.m2436 on 22 July 2020. Downloaded from http://www.bmj.com/ on 3 June 2021 by guest. Protected by copyright.
 Characteristics                         Age 13-17 years     Age 18-20 years                                      P value   between 2002 and 2006. With 1220 suicide fatalities
 Minimum age 18 for handgun sales (n=363 946 635 in 34 states)                                                              among adolescents aged 18 to 20 years in 2018 in the
 Race:                                                                                                                      33 states that did not have a minimum age of 21 years
   White                                 175 117 772 (77.5)  106 739 756 (77.4)                                 <0.001
                                                                                                                            for handgun purchases by March 2020, an 18.1%
   Black                                 38 968 541 (17.2)   23 552 489 (17.1)                                  <0.001
   Native American                       4 399 178 (1.9)     2 595 448 (1.9)                                    <0.001      reduction would be equivalent to 221 (range 81-362)
   Asian/Pacific Islander                7 531 743 (3.3)     5 041 708 (3.7)                                    <0.001      fewer suicides each year if all 33 states passed laws to
 Population density (people/square mile) 34 (89.4)           –                                                  –           limit the sale of handguns to those aged 21 or older.
 Household firearm ownership (50 states) 34 (43.0)           –                                                  –           Policies limiting handgun purchases to people aged
 Minimum age 21 for handgun sales (n=190 515 326 in 12 states)                                                              21 or older were associated with a 35.5% reduction in
 Race:
                                                                                                                            firearm related suicides (−1.83 suicides per 100 000
   White                                 88 745 290 (75.0)   54 220 002 (75.0)                                  <0.001
   Black                                 17 228 045 (14.6)   10 197 231 (14.1)                                  <0.001
                                                                                                                            adolescents, −2.66 to −1.00, permutation adjusted
   Native American                       1 627 432 (1.4)     1 009 453 (1.4)                                    <0.001      P=0.002). No association was found between limiting
   Asian/Pacific Islander                10 648 459 (9.0)    6 839 414 (9.5)                                    <0.001      the age of handgun sales to age 21 or older and non-
 Population density (people/square mile) 12 (400.4)          –                                                  –           firearm related suicides (−0.08 suicides per 100 000
 Household firearm ownership (50 states) 12 (24.1)           –                                                  –           adolescents, −0.70 to 0.54, permutation adjusted
Household firearm ownership is from the 2004 the Behavioral Risk Factor Surveillance System.
                                                                                                                            P=0.771).
                                                                                                                               In the heterogeneity analysis, there was not a
                                                                                                                            statistically significant interaction between policies
                                                                                                                            limiting handgun sales to those aged 21 or older and
                                                                                         Handgun sales period               the direction of the policy change (increasing relative
                                                                                             Age 18                         to decreasing) for total suicides (−0.05 suicides per
                                                                                             Age 21
                                                                                                                            100 000 adolescents, −4.57 to 4.47, appendix table 3)
                                                 States that changed the minimum purchaser age for handgun                  or firearm related suicides (0.71 suicides per 100 000
                                                 sales (n=4), ﬁve years before and aer policy changes
                                            16                                                                              adolescents, −2.37 to 3.79). However, the event study
         Suicides per 100 000 adolescents




                                                                                                                            estimates depicted in figure 2 and the state specific
                                                                                                                            estimates depicted in appendix figure 1 clearly show
                                            12
                                                                                                                            that the average difference-in-differences effect
                                                                                                                            estimate was driven by an increase in the suicide rate
                                             8                                                                              in states that lowered the age that handguns could
                                                                                                                            be purchased (Missouri and South Carolina) and no
                                             4                                                                              effect in the states that increased the age for handgun
                                                                                                                            purchases (West Virginia and Wyoming).
                                                                                                                               Each of the difference-in-differences sensitivity
                                            0
                                                                                                                            analyses were consistent with the main results. The
                                                 States that did not change the minimum purchaser age for                   negative binomial regression analysis indicated that
                                                 handgun sales, 2001-17 (n=46)                                              the total suicide rate decreased by 18% (incident
                                            16
                                                                                                                            rate ratio 0.82, 95% confidence interval 0.75 to 0.90,
         Suicides per 100 000 adolescents




                                                                                                                            appendix table 3). In the falsification test among
                                            12                                                                              adolescents aged 13 to 17, limiting the age for handgun
                                                                                                                            purchases to age 21 or older was not associated with
                                                                                                                            changes in the total suicide rate (0.55 suicides per
                                             8
                                                                                                                            100 000 adolescents, 95% confidence interval −0.20
                                                                                                                            to 1.29, appendix table 5) in this group who would not
                                             4                                                                              have been affected by policy changes. The synthetic
                                                                                                                            control analyses were consistent with the event study
                                            0                                                                               estimates, indicating that reducing the age of handgun
                                            13          14       15       16      17       18       19       20             purchases from 21 to 18 years was associated with an
                                                                                                            Age             estimated 42 more suicide deaths (average increase of
Fig 1 | Suicide rate by age and minimum age of handgun purchase policy in states that                                       1.50 suicides per 100 000 adolescents; standardized
changed policies and in states that did not change policies. Top panel: total suicide                                       P<0.001, appendix figure 2 parts (a) and (b) among
rate (with 95% confidence intervals) by age during the five years before and after policy                                   adolescents aged 18 to 20 years in Missouri and South
changes (2002-06 and 2007-11 in Missouri; 2003-07 and 2008-12 in South Carolina;                                            Carolina. Increasing the age from 18 to 21 years was
2005-09 and 2010-14 in West Virginia and Wyoming). Missouri and South Carolina                                              not associated with a significant change in the suicide
had a minimum handgun purchase age of 21 in the earlier periods and changed the
                                                                                                                            rate in West Virginia and Wyoming (standardized
minimum to age 18 in the later periods. West Virginia and Wyoming had a minimum
                                                                                                                            P=0.72, appendix figure 2 parts (c) and (d)). Limiting
handgun purchase age of 18 in earlier periods and changed the minimum to age 21 in
later periods. Bottom panel: total suicide rate (with 95% confidence intervals) by age                                      the age of handgun purchases to age 21 or older were
in states with age 21 and age 18 minimum handgun purchase age policies throughout                                           associated with suicides when including four years
2001-17                                                                                                                                                       Exhibit C −3.82 to
                                                                                                                            (−2.51 suicides per 100 000 adolescents,
                                                                                                                                                               Page 38
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 Table 2 | Regression discontinuity analysis estimates for limiting handgun sales to                                period of the study, and a synthetic comparison group.
 purchasers age 18, relative to age 21 or older and suicides                                                        In cause specific analyses, there was a 35.5% reduction
 Variables                                                                         Incident rate ratio (95% CI)     in the firearm suicide rate, while there was no change




                                                                                                                                                                                              BMJ: first published as 10.1136/bmj.m2436 on 22 July 2020. Downloaded from http://www.bmj.com/ on 3 June 2021 by guest. Protected by copyright.
 Treated (age 18-20 in states with age 18 limit on handgun sales, binary)          1.26 (1.10 to 1.45)              in the non-firearm suicide rate.
 Treated×continuous age                                                            1.09 (1.03 to 1.16)                 Our findings that policies restricting the age of
 Age (continuous)                                                                  1.09 (1.04 to 1.14)              handgun purchases to age 21 or older are associated
 Age2 (continuous)                                                                 0.96 (0.95 to 0.97)
                                                                                                                    with a reduction in suicides among adolescents
Estimates are based on negative binomial regression analyses with log population as an offset. Data are from all
states from 1999 to 2017 and are weighted based on state population size. Based on predicted probabilities,         contribute to research indicating that restriction of the
an average of 344 suicides would have been averted in each state between 2001 and 2017 among adolescents            means of access, particularly to firearms, is associated
aged 18 to 20 years with policies restricting the minimum age of handgun sales to age 21 years relative to age
18 years.                                                                                                           with a reduction in suicides.6-8 Past research indicates
                                                                                                                    that child access prevention laws requiring firearms to
                                                                                                                    be stored in a locked location are associated with an
                                       –1.20, appendix table 6) and six years (−1.24 suicides                       8% reduction in suicides among adolescents younger
                                       per 100 000 adolescents, −2.33 to −0.70, appendix                            than 17 years.16 Our estimate of an 18% reduction in
                                       table 7) of data before and after policy changes.                            suicide is consistent with previous estimates of means
                                                                                                                    restriction, which were associated with 10% to 34%
                                       Discussion                                                                   reductions in suicide.33-35 As a rare outcome, suicide
                                       Suicide rates have been increasing in the US, particularly                   is difficult to study in randomized trials and in policy
                                       among adolescents.32 In two complementary analyses,                          studies. Evidence on the efficacy of strategies to reduce
                                       we found that policies restricting the sale of handguns                      suicide among adolescents, including antidepressants
                                       to those aged 21 or older were associated with a                             for those with depression, is mixed.36 37 Recent
                                       reduction in suicide rates among adolescents. In our                         evidence suggests that policies raising the incomes of
                                       regression discontinuity analysis of deviations in age                       low wage workers are associated with a reduction in
                                       trends among adolescents aged 18 to 20 years, policies                       suicides, with a 10% increase in the earned income tax
                                       that limited the sale of handguns to those aged 18 or                        credit associated with a 5.5% decline in suicides and a
                                       older were associated with an absolute increase in                           10% increase in the minimum wage associated with a
                                       suicides at age 18 years and an increase in the slope of                     3.6% decline in suicides.38
                                       age trends in suicide. In this analysis, we estimated an
                                       excess of 344 suicides among adolescents aged 18 to                          Strengths and limitations of this study
                                       20 years in each state with a minimum age of 18 years,                       The strengths of this study include the use of data on
                                       relative to 21 years, for the purchase of handguns.                          the full population of adolescents in all US states and
                                          In our difference-in-differences analyses, policies                       the complementary, rigorous analytical approaches.
                                       restricting the sale of handguns to ages 21 or older                         At the same time, this observational study is subject to
                                       were associated with 1.91 fewer suicides per 100 000                         several limitations. Suicide is a rare and a stigmatized
                                       adolescents aged 18 to 20 years, equivalent to an                            outcome, and it is possible that deaths due to suicidal
                                       18.1% relative reduction in the total suicide rate. Event                    intent were underreported.39 Suicides might also be
                                       study estimates revealed that the result was driven by                       related to each other in ways that we could not detect in
                                       increases in suicide rates in states that lowered the age                    our analysis and which would not be fully captured by
                                       for handgun purchases, with no effect in the states that                     clustering standard errors by state. In the difference-in-
                                       increased the age. It is possible that the high levels                       differences study, spillover effects and the possibility
                                       of firearm ownership in Wyoming and West Virginia                            that adolescents aged 18 to 20 years might cross state
                                       (66% and 59% of households in 2004, relative to 38%                          lines to purchase firearms in neighboring states with
                                       in the 46 comparison states) meant that the change in                        lower ages for handgun purchases could have led us to
                                       age of handgun purchases had little effect on access to                      underestimate policy effects. We also could not control
                                       firearms by adolescents in these states.                                     for unmeasured state characteristics that changed
                                          The main result was robust to several sensitivity                         over time. Although state characteristics that do not
                                       analyses varying the form of the regression, the time                        change over time should not affect the difference-

                                        Table 3 | Characteristics of adolescents aged 18 to 20 years in intervention and comparison states, 2002-14. Values are
                                        numbers (percentages) unless stated otherwise
                                                                                                Person years in intervention states      Person years in 46 comparison states
                                        Characteristics                                         (n=7 197 257)                            (n=161 736 784)                      P value
                                        Race:
                                          White                                                 5 549 361 (77.1)                        123 976 436 (76.7)                           <0.001
                                          Black                                                 1 462 380 (20.3)                        26 044 785 (16.1)                            <0.001
                                          Native American                                       54 867 (0.8)                            2 775 827 (1.7)                              <0.001
                                          Asian/Pacific Islander                                130 649 (1.8)                           8 939 736 (5.5)                              <0.001
                                        Population density (people/square mile)                 76                                      170                                          <0.001
                                        Household firearm ownership (50 states)                 52.9                                    38.4                                         <0.001
                                        1 square mile=2.6 square kilometers.
                                        West Virginia and Wyoming were outliers for some demographic characteristics. The population density in Wyoming was 5 per square mile. Household
                                        firearm ownership was 66% in Wyoming and 59% in West Virginia, whereas household firearm ownership was 43% in South Carolina and 44% in
                                        Missouri.                                                                                                              Exhibit C
                                                                                                                                                                Page 39
6                                                                                                                          doi: 10.1136/bmj.m2436 | BMJ 2020;370:m2436 | the bmj
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                                      Decreasing age of handgun sales in Missouri and South Carolina                          handgun sales policy. The populations of each state
                                      relative to 46 comparison states                                                        differ substantially from those of the US population.
                                 8
         Estimated coefficient




                                                                                                                                                                                                          BMJ: first published as 10.1136/bmj.m2436 on 22 July 2020. Downloaded from http://www.bmj.com/ on 3 June 2021 by guest. Protected by copyright.
                                                                                                                              Conclusion
                                 4                                                                                            This study found that state policies setting the
                                                                                                                              minimum age of handgun sales to 21 years, such as
                                 0                                                                                            those passed in Florida and Vermont in 2018 and in
                                                                                                                              Washington in 2019, were associated with a reduction
                                                                                                                              in suicides among adolescents aged 18 to 20 years.
                                 -4
                                                                                                                              In a regression discontinuity analysis, minimum
                                                                                                                              age 18 handgun purchase policies were associated
                                 -8
                                  ≤-7       -6/-5    -4/-3    -2/-1    0/1      2/3        4/5           ≥6                   with an average 344 excess deaths from suicide
                                                                        Years relative to age 18 policy
                                                                                                                              among adolescents aged 18 to 20 years in each state
                                                                                                                              between 2001 and 2017, relative to a minimum age
                                      Increasing age of handgun sales in West Virginia and Wyoming                            of 21 handgun purchase policies. In a difference-in-
                                      relative to comparison states                                                           differences analysis, restricting the age of handgun
                                 8
         Estimated coefficient




                                                                                                                              purchases to age 21 or older were associated with an
                                                                                                                              18% reduction in the suicide rate among adolescents,
                                 4                                                                                            an effect estimate driven by increases in the suicide
                                                                                                                              rate in Missouri and South Carolina after those states
                                                                                                                              eliminated age 21 handgun sales policies. Changing
                                 0
                                                                                                                              the age of handgun sales policies from 18 to 21 years
                                                                                                                              across the country or in the 33 states without such
                                 -4                                                                                           policies might reduce deaths from suicide among
                                                                                                                              adolescents. Such a change is in keeping with public
                                 -8                                                                                           sentiment—in 2018, 67% of American adults reported
                                  ≤-7       -6/-5    -4/-3    -2/-1    0/1      2/3        4/5           ≥6
                                                                                                                              support for more policies regulating firearms.40
                                                                        Years relative to age 21 policy
                                                                                                                              Contributors: JR conceived the study and drafted the manuscript. JR,
Fig 2 | Event study estimates of suicide rates among adolescents aged 18 to 20 years                                          EL, MS, MU, AK, CLB, and SG contributed to the acquisition, analysis,
                                                                                                                              or interpretation of the data and to critical revision of the manuscript.
old. Coefficient estimates represent the estimated association between policy change
                                                                                                                              JR and EL conducted the statistical analysis. MS obtained funding for
and suicide rate in a given period relative to policy change. Estimated coefficients are                                      the analysis. JR accepts full responsibility for the work as guarantor
based on running the main regression with all covariates, and the main policy variable                                        with full access to the data. The corresponding author attests that all
replaced with binary indicators for years before or after policy changes in intervention                                      listed authors meet authorship criteria and that no others meeting the
states, with comparison states set to zero. Separate event studies were conducted for                                         criteria have been omitted.
states that (top panel) decreased and (bottom panel) increased the minimum age of                                             Funding: This study was supported by the Robert Wood Johnson
handgun purchase. Estimates were binned by two year periods because suicide is a rare                                         Foundation, Evidence for Action Program (grant #73337). The funder
event and individual year trends are volatile. The period immediately before the policy                                       played no role in the study.
change was used as the reference period. The thin lines are 95% confidence intervals                                          Competing interests: All authors have completed the ICMJE uniform
                                                                                                                              disclosure form at www.icmje.org/coi_disclosure.pdf and declare:
                                                                                                                              MS reports grants from the Robert Wood Johnson Foundation, during
                                                     in-differences analysis, differences existed between                     the conduct of the study; no support from any organization for the
                                                     intervention and comparison states that could suggest                    submitted work; no financial relationships with any organizations that
                                                                                                                              might have an interest in the submitted work in the previous three
                                                     different suicide mortality trajectories in these states.                years; no other relationships or activities that could appear to have
                                                     The generalizability of the difference-in-differences                    influenced the submitted work.
                                                     analyses is also limited. In such analyses we focused                    Ethical approval: Not required.
                                                     on just four states with policy changes. West Virginia
                                                                                                                              Data sharing: Data are publicly available from the National
                                                     and Wyoming passed the age 21 handgun sales policy                       Vital Statistics System. Data analysis files are available from the
                                                     and Missouri and South Carolina rescinded the age 21                     corresponding author at jraifman@bu.edu.


 Table 4 | Results of difference-in-differences analysis on policies restricting the sale of handguns to age 21 or older and suicides in adolescents
                                                                                 Suicide fatalities per 100 000 adolescents (95% CI)
 Variables                                                                       Total suicides                          Firearm suicides                         Non-firearm suicides
 Age 21 handgun sales                                                            −1.91* (−3.13 to −0.70)                 −1.83† (−2.66 to −1.00)                  −0.08 (−0.70 to 0.54)
 Per cent of firearm related suicides among ages ≥21 years                       −8.99 (−16.10 to −1.88)                 −3.88 (−8.65 to 0.89)                    −5.11 (−11.66 to 1.44)
 Population density                                                              0.02 (−0.02 to 0.06)                    0.01 (−0.02 to 0.04)                     0.01 (−0.02 to 0.04)
 Per cent of population of each race/ethnicity:
   Native American                                                               1.02 (−0.84 to 2.88)                    −1.65 (−3.22 to −0.09)                   2.68 (1.18 to 4.17)
   White                                                                         0.65 (−0.22 to 1.52)                    0.14 (−0.45 to 0.74)                     0.50 (0.09 to 0.92)
   Other                                                                         Reference
 Handgun permit policy                                                           −0.69 (−1.24 to −0.14)                  −0.48 (−1.04 to 0.08)                    −0.21 (−0.92 to 0.51)
 Universal background checks                                                     −0.23 (−1.23 to 0.77)                   0.03 (−0.42 to 0.49)                     −0.26 (−1.26 to 0.74)
Main effect estimates are in the top row. State and year fixed effects are also included adjusting for each state and year.
*Permutation adjusted P<0.05.
†Permutation adjusted P<0.01 for main effect estimates.                                                                                                                  Exhibit C
                                                                                                                                                                          Page 40
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                                     The manuscript’s guarantor (JR) affirms that the manuscript is                  19 Moscoe E, Bor J, Bärnighausen T. Regression discontinuity designs
                                     an honest, accurate, and transparent account of the study being                    are underutilized in medicine, epidemiology, and public health: a
                                     reported; that no important aspects of the study have been omitted;                review of current and best practice. J Clin Epidemiol 2015;68:122-
                                     and that any discrepancies from the study as planned have been                     33. doi:10.1016/j.jclinepi.2014.06.021




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                                     explained.                                                                      20 Bor J, Moscoe E, Mutevedzi P, Newell ML, Bärnighausen T. Regression
                                                                                                                        discontinuity designs in epidemiology: causal inference without
                                     Dissemination to participants and related patient and public                       randomized trials. Epidemiology 2014;25:729-37. doi:10.1097/
                                     communities: We will disseminate the research findings by creating                 EDE.0000000000000138
                                     a press release that summarizes the most important findings in the              21 Dimick JB, Ryan AM. Methods for evaluating changes in
                                     manuscript and links to the full manuscript. We will share the press               health care policy: the difference-in-differences approach.
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      Journal of Empirical Legal Studies
      Volume 16, Issue 2, 198–247, April 2019




      Right-to-Carry Laws and Violent Crime:
      A Comprehensive Assessment Using
      Panel Data and a State-Level Synthetic
      Control Analysis
      John J. Donohue, Abhay Aneja, and Kyle D. Weber*


           This article uses more complete state panel data (through 2014) and new statistical tech-
           niques to estimate the impact on violent crime when states adopt right-to-carry (RTC)
           concealed handgun laws. Our preferred panel data regression specification, unlike the sta-
           tistical model of Lott and Mustard that had previously been offered as evidence of crime-
           reducing RTC laws, both satisfies the parallel trends assumption and generates statistically
           significant estimates showing RTC laws increase overall violent crime. Our synthetic control
           approach also finds that RTC laws are associated with 13–15 percent higher aggregate vio-
           lent crime rates 10 years after adoption. Using a consensus estimate of the elasticity of
           crime with respect to incarceration of 0.15, the average RTC state would need to roughly
           double its prison population to offset the increase in violent crime caused by RTC
           adoption.


      I. Introduction
      For two decades, there has been a spirited academic debate over whether “shall-
      issue” concealed carry laws (also known as right-to-carry or RTC laws) have an impor-
      tant impact on crime. The “More Guns, Less Crime” hypothesis originally articulated
      by John Lott and David Mustard (1997) claimed that RTC laws decreased violent



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         We thank Phil Cook, Dan Ho, Stefano DellaVigna, Rob Tibshirani, Trevor Hastie, Stefan Wager, Jeff Strnad,
      and participants at the 2011 Conference of Empirical Legal Studies (CELS), 2012 American Law and Economics
      Association (ALEA) Annual Meeting, 2013 Canadian Law and Economics Association (CLEA) Annual Meeting,
      2015 NBER Summer Institute (Crime), and the Stanford Law School faculty workshop for their comments and
      helpful suggestions. Financial support was provided by Stanford Law School. We are indebted to Alberto Abadie,
      Alexis Diamond, and Jens Hainmueller for their work developing the synthetic control algorithm and program-
      ming the Stata module used in this paper and for their helpful comments. The authors would also like to thank
      Alex Albright, Andrew Baker, Jacob Dorn, Bhargav Gopal, Crystal Huang, Mira Korb, Haksoo Lee, Isaac Rabbani,
      Akshay Rao, Vikram Rao, Henrik Sachs and Sidharth Sah who provided excellent research assistance, as well as
      Addis O’Connor and Alex Chekholko at the Research Computing division of Stanford’s Information Technology
      Services for their technical support.


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      crime (possibly shifting criminals in the direction of committing more property
      crime to avoid armed citizens). This research may well have encouraged state legisla-
      tures to adopt RTC laws, arguably making the pair’s 1997 paper in the Journal of
      Legal Studies one of the most consequential criminological articles published in the
      last 25 years.
              The original Lott and Mustard paper as well as subsequent work by John Lott in his
      1998 book More Guns, Less Crime used a panel data analysis to support the theory that
      RTC laws reduce violent crime. A large number of papers examined the Lott thesis, with
      decidedly mixed results. An array of studies, primarily those using the limited data ini-
      tially employed by Lott and Mustard for the period 1977–1992 and those failing to adjust
      their standard errors by clustering, supported the Lott and Mustard thesis, while a host
      of other papers were skeptical of the Lott findings.1
              It was hoped that the 2005 National Research Council report Firearms and Violence:
      A Critical Review (hereafter the NRC Report) would resolve the controversy over the
      impact of RTC laws, but this was not to be. While one member of the committee—James
      Q. Wilson—did partially endorse the Lott thesis by saying there was evidence that mur-
      ders fell when RTC laws were adopted, the other 15 members of the panel pointedly criti-
      cized Wilson’s claim, saying that “the scientific evidence does not support his position.”
      The majority emphasized that the estimated effects of RTC laws were highly sensitive to
      the particular choice of explanatory variables and thus concluded that the panel data evi-
      dence through 2000 was too fragile to support any conclusion about the true effects of
      these laws.
              This article answers the call of the NRC Report for more and better data and
      new statistical techniques to be brought to bear on the issue of the impact of RTC laws
      on crime. First, we revisit the state panel data evidence to see if extending the data for
      an additional 14 years, thereby providing additional crime data for prior RTC states as
      well as on 11 newly adopting RTC states, offers any clearer picture of the causal impact
      of allowing citizens to carry concealed weapons. We distill from an array of different
      panel data regressions for various crime categories for two time periods using two
      major sets of explanatory variables—including our preferred specification (DAW) and
      that of Lott and Mustard (LM)—a subset of regressions that satisfy the critical parallel
      trends assumption. All the statistically significant results from these regressions show
      RTC laws are associated with higher rates of overall violent crime, property crime, or
      murder.
              Second, to address some of the weaknesses of panel data models, we undertake an
      extensive synthetic control analysis in order to present the most complete and robust



      1
       In support of Lott and Mustard (1997), see Lott’s 1998 book More Guns, Less Crime (and the 2000 and 2010 edi-
      tions). Ayres and Donohue (2003) and the 2005 National Research Council report Firearms and Violence: A Critical
      Review dismissed the Lott/Mustard hypothesis as lacking credible statistical support, as did Aneja et al. (2011) (and
      Aneja et al. (2014) further expanding the latter). Moody and Marvell (2008) and Moody et al. (2014) continued to
      argue in favor of a crime-reducing effect of RTC laws, although Zimmerman (2014) and McElroy and Wang
      (2017) find that RTC laws increase violent crime and Siegel et al. (2017) find RTC laws increase murders, as dis-
      cussed in Section III.B.


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      results to guide policy in this area.2 This synthetic control methodology—first introduced
      in Abadie and Gardeazabal (2003) and expanded in Abadie et al. (2010, 2014)—uses a
      matching methodology to create a credible “synthetic control” based on a weighted aver-
      age of other states that best matches the prepassage pattern of crime for each “treated”
      state, which can then be used to estimate the likely path of crime if RTC-adopting states
      had not adopted an RTC law. By comparing the actual crime pattern for RTC-adopting
      states with the estimated synthetic controls in the postpassage period, we derive year-by-
      year estimates for the impact of RTC laws in the 10 years following adoption.3
              To preview our major findings, the synthetic control estimate of the average impact
      of RTC laws across the 33 states that adopt between 1981 and 20074 indicates that violent
      crime is substantially higher after 10 years than would have been the case had the RTC
      law not been adopted. Essentially, for violent crime, the synthetic control approach pro-
      vides a similar portrayal of RTC laws as that provided by the DAW panel data model and
      undermines the results of the LM panel data model. According to the aggregate synthetic
      control models—regardless of whether one uses the DAW or LM covariates—RTC laws
      led to increases in violent crime of 13–15 percent after 10 years, with positive but not sta-
      tistically significant effects on property crime and murder. The median effect of RTC
      adoption after 10 years is 12.3 percent if one considers all 31 states with 10 years worth of
      data and 11.1 percent if one limits the analysis to the 26 states with the most compelling
      prepassage fit between the adopting states and their synthetic controls. Comparing our
      DAW specification findings with the results generated using placebo treatments, we are
      able to reject the null hypothesis that RTC laws have no impact on aggregate violent
      crime.
              The structure of the article proceeds as follows. Section II begins with a discussion
      of the ways in which increased carrying of guns could either dampen crime (by thwarting
      or deterring criminals) or increase crime by directly facilitating violence or aggression by
      permit holders (or others), greatly expanding the loss and theft of guns, and burdening
      the functioning of the police in ways that diminish their effectiveness in controlling
      crime. We then show that a simple comparison of the drop in violent crime from




      2
       Abadie et al. (2014) identify a number of possible problems with panel regression techniques, including the dan-
      ger of extrapolation when the observable characteristics of the treated area are outside the range of the
      corresponding characteristics for the other observations in the sample.

      3
       The accuracy of this matching can be qualitatively assessed by examining the root mean square prediction error
      (RMSPE) of the synthetic control in the pretreatment period (or a variation on this RMSPE implemented in this
      article), and the statistical significance of the estimated treatment effect can be approximated by running a series
      of placebo estimates and examining the size of the estimated treatment effect in comparison to the distribution of
      placebo treatment effects.

      4
       Note that we do not supply a synthetic control estimate for Indiana, even though it passed its RTC law in 1980,
      owing to the fact that we do not have enough pretreatment years to accurately match the state with an appropriate
      synthetic control. Including Indiana as a treatment state, though, would not meaningfully change our results. Simi-
      larly, we do not generate synthetic control estimates for Iowa and Wisconsin (whose RTC laws went into effect in
      2011) or for Illinois (2014 RTC law), because of the limited postpassage data.


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      1977–2014 in the states that have resisted the adoption of RTC laws is almost an order of
      magnitude greater than in RTC-adopting states (a 42.3 percent drop vs. a 4.3 percent
      drop), although a spartan panel data model with only state and year effects reduces the
      differential to 20.2 percent. Section III discusses the panel data results, showing that the
      DAW model indicates that RTC laws have increased violent and property crime, with wea-
      ker evidence that RTC laws increased homicide (but not non-gun homicide) over our
      entire data period, while both the DAW and the LM model provide statistically significant
      evidence that RTC laws have increased murder in the postcrack period.
             The remainder of the article shows that, using either the DAW or LM explanatory
      variables, the synthetic control approach uniformly supports the conclusion that RTC
      laws lead to substantial increases in violent crime. Section IV describes the details of our
      implementation of the synthetic control approach and shows that the mean and median
      estimates of the impact of RTC laws show greater than double-digit increases by the 10th
      year after adoption. Section V provides aggregate synthetic control estimates of the
      impact of RTC laws, and Section VI concludes.



      II. The Impact of RTC Laws: Theoretical
          Considerations and Simple Comparisons
      A. Gun Carrying and Crime

      1. Mechanisms of Crime Reduction

      Allowing citizens to carry concealed handguns can influence violent crime in a number
      of ways, some benign and some invidious. Violent crime can fall if criminals are deterred
      by the prospect of meeting armed resistance, and potential victims or armed bystanders
      may thwart or terminate attacks by either brandishing weapons or actually firing on the
      potential assailants. For example, in 2012, a Pennsylvania concealed carry permit holder
      became angry when he was asked to leave a bar because he was carrying a weapon and, in
      the ensuing argument, he shot two men, killing one, before another permit holder shot
      him (Kalinowski 2012). Two years later, a psychiatric patient in Pennsylvania killed his
      caseworker, and grazed his psychiatrist before the doctor shot back with his own gun,
      ending the assault by wounding the assailant (Associated Press 2014).
             The impact of the Pennsylvania RTC law is somewhat ambiguous in both these
      cases. In the bar shooting, it was a permit holder who started the killing and another who
      ended it, so the RTC law may actually have increased crime. The case of the doctor’s use
      of force is more clearly benign, although the RTC law may have made no difference: a
      doctor who routinely deals with violent and deranged patients would typically be able to
      secure a permit to carry a gun even under a may-issue regime. Only a statistical analysis
      can reveal whether in aggregate extending gun carrying beyond those with a demon-
      strated need and good character, as shall-issue laws do, imposes or reduces overall costs.
             Some defensive gun uses can be socially costly and contentious even if they do avoid a
      robbery or an assault. For example, in 1984, when four teens accosted Bernie Goetz on a
      New York City subway, he prevented an anticipated robbery by shooting all four,


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      permanently paralyzing one.5 In 2010, a Pennsylvania concealed carry holder argued that he
      used a gun to thwart a beating. After a night out drinking, Gerald Ung, a 28-year-old Temple
      University law student, shot a 23-year-old former star lacrosse player from Villanova, Eddie
      DiDonato, when DiDonato rushed Ung angrily and aggressively after an altercation that
      began when DiDonato was bumped while doing chin ups on scaffolding on the street in Phil-
      adelphia. When prosecuted, Ung testified that he always carried his loaded gun when he
      went out drinking. A video of the incident shows that Ung was belligerent and had to be
      restrained by his friends before the dispute became more physical, which raises the question
      of whether his gun carrying contributed to his belligerence, and hence was a factor that pre-
      cipitated the confrontation. Ung, who shot DiDonato six times, leaving DiDonato partially
      paralyzed with a bullet lodged in his spine, was acquitted of attempted murder, aggravated
      assault, and possessing an instrument of crime (Slobodzian 2011). While Ung avoided crimi-
      nal liability and a possible beating, he was still prosecuted and then hit with a major civil
      action, and the incident did impose significant social costs, as shootings frequently do.6
             In any event, the use of a gun by a concealed carry permit holder to thwart a crime
      is a statistically rare phenomenon. Even with the enormous stock of guns in the United
      States, the vast majority of the time that someone is threatened with violent crime no gun
      will be wielded defensively. A five-year study of such violent victimizations in the United
      States found that victims reported failing to defend or to threaten the criminal with a
      gun 99.2 percent of the time—this in a country with 300 million guns in civilian hands
      (Planty & Truman 2013). Adding 16 million permit holders who often dwell in low-crime
      areas may not yield many opportunities for effective defensive use for the roughly 1 per-
      cent of Americans who experience a violent crime in a given year, especially since crimi-
      nals can attack in ways that preempt defensive measures.7

      2. Mechanisms of Increasing Crime

      Since the statistical evidence presented in this article suggests that the benign effects of
      RTC laws are outweighed by the harmful effects, we consider five ways in which RTC laws
      could increase crime: (a) elevated crime by RTC permit holders or by others, which can
      be induced by the greater belligerence of permit holders that can attend gun carrying or
      even through counterproductive attempts by permit holders to intervene protectively;
      (b) increased crime by those who acquire the guns of permit holders via loss or theft;
      (c) a change in culture induced by the hyper-vigilance about one’s rights and the need


      5
       The injury to Darrell Cabey was so damaging that he remains confined to a wheelchair and functions with the
      intellect of an eight-year-old, for which he received a judgment of $43 million against Goetz, albeit without satisfac-
      tion (Biography.com 2016).

      6
       According to the civil lawsuit brought by DiDonato, his injuries included “severe neurological impairment, inabil-
      ity to control his bowels, depression and severe neurologic injuries” (Lat 2012).

      7
       Even big city police officers rarely need to fire a weapon despite their far greater exposure to criminals. According
      to a 2016 Pew Research Center survey of 7,917 sworn officers working in departments with 100 or more officers,
      “only about a quarter (27%) of all officers say they have ever fired their service weapon while on the job” (Morin &
      Mercer 2017).


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      to avenge wrongs that the gun culture can nurture; (d) elevated harm as criminals
      respond to the possibility of armed resistance by increasing their gun carrying and esca-
      lating their level of violence; and (e) all of the above factors will either take up police
      time or increase the risks the police face, thereby impairing the crime-fighting ability of
      police in ways that can increase crime.


      a. Crime committed or induced by permit holders: RTC laws can lead to an increase in violent
      crime by increasing the likelihood a generally law-abiding citizen will commit a crime or increas-
      ing the criminal behavior of others. Moreover, RTC laws may facilitate the criminal conduct of
      those who generally have a criminal intent. We consider these two avenues below.

      i. The pathway from the law-abiding citizen
      Evidence from a nationally representative sample of 4,947 individuals indicates that Ameri-
      cans tend to overestimate their gun-related abilities. For example, 82.6 percent believed
      they were less likely than the average person to use a gun in anger. When asked about their
      “ability to responsibly own a handgun,” 50 percent of the respondents deemed themselves
      to be in the top 10 percent and 23 percent placed their ability within the top 1 percent of
      the U.S. population. Such overconfidence has been found to increase risk taking and could
      well lead to an array of socially harmful consequences ranging from criminal misconduct
      and gun accidents to lost or stolen guns (Stark & Sachau 2016).
              In a number of well-publicized cases, concealed carry permit holders have increased
      the homicide toll by killing someone with whom they became angry over an insignificant
      issue, ranging from merging on a highway and talking on a phone in a theater to playing
      loud music at a gas station (Lozano 2017; Levenson 2017; Scherer 2016). In one particu-
      larly tragic example in January 2019 at a bar in State College, Pennsylvania, a lawful permit
      holder, Jordan Witmer, got into a fight with his girlfriend. When a father and son sitting at
      the bar tried to intervene, Witmer killed both of them, shot his girlfriend in the chest, and
      fled. When his car crashed, Witmer broke into a nearby house, killed the 82-year-old
      homeowner, who was with his wife on their 60th wedding anniversary, and then killed him-
      self (Sauro 2019). Another such example occurred in July 2018 when Michael Drejka
      started to hassle a woman sitting in a car in a disabled parking spot while her husband and
      five-year-old son ran into a store. When the husband emerged, he pushed Drejka to the
      ground, who then killed him with a shot to the chest. The killing is caught on video and
      Drejka is being prosecuted for manslaughter in Clearwater, Florida (Simon 2018).
              When Philadelphia permit holder Louis Mockewich shot and killed a popular
      youth football coach (another permit holder carrying his gun) over a dispute concerning
      snow shoveling in January 2000, Mockewich’s car had an NRA bumper sticker reading
      “Armed with Pride” (Gibbons & Moran 2000). An angry young man, with somewhat of a
      paranoid streak, who has not yet been convicted of a crime or adjudicated as a “mental
      defective,” may be encouraged to carry a gun if he resides in an RTC state.8 That such


      8
       The Gun Control Act of 1968 prohibits gun possession by felons and adjudicated “mental defectives”
      (18 U.S.C. 922(d)(4), 2016).


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      individuals will be more likely to be aggressive once armed and hence more likely to stim-
      ulate violence by others should not be surprising.
             Recent evidence suggests that as gun carrying is increasing with the proliferation of
      RTC laws, road rage incidents involving guns are rising (Biette-Timmons 2017; Plumlee
      2012). Incidents in which “someone in a car brandished a gun in a threatening manner
      or fired a gun at another driver or passenger have more than doubled in the last three
      years, from 247 in 2014 to 620 in 2016 …. The highest-profile recent road rage incidents
      involved two NFL players, Joe McKnight and Will Smith, killed … in separate road rage
      shootings in New Orleans” (Shen 2017).9 In the nightmare case for RTC, two Michigan
      permit-holding drivers pulled over to battle over a tailgating dispute in September 2013
      and each shot and killed the other (Stuart 2013). Without Michigan’s RTC law, this
      would likely have not been a double homicide. Indeed, two studies—one for Arizona and
      one for the nation as a whole—found that “the evidence indicates that those with guns in
      the vehicle are more likely to engage in ‘road rage’” (Hemenway et al. 2006; Miller et al.
      2002).10 These studies may suggest either that gun carrying emboldens more aggressive
      behavior or reflects a selection effect for more aggressive individuals.11 If this is correct,
      then it may not be a coincidence that there are so many cases in which a concealed carry
      holder acts belligerently and is shot by another permit holder.12


      9
       Joe McNight and Ronald Gasser were arguing through their open car windows as they drove for miles. When they
      were both stopped at a red light, McNight walked over to Gasser’s car, and the “two argued through the passenger-
      side window until Gasser pulled a gun from between his seat and the center console and shot McKnight three
      times.” Gasser was convicted of manslaughter and sentenced to a prison term of 30 years (Calder 2018).

      10
        A perfect illustration was provided by 25-year-old Minnesota concealed carry permit holder Alexander Weiss, who
      got into an argument after a fender bender caused by a 17-year-old driver. Since the police had been called, it is
      hard to imagine that this event could end tragically—unless someone had a gun. Unfortunately, Weiss, who had a
      bumper sticker on his car saying “Gun Control Means Hitting Your Target,” killed the 17-year-old with one shot to
      the chest and has been charged with second-degree murder (KIMT 2018).

      11
        While concealed carry permit holders should be free of any felony conviction, and thus show a lower overall rate
      of violence than a group that contains felons, a study in Texas found that when permit holders do commit a crime,
      it tends to be a severe one: “the concentration of convictions for weapons offenses, threatening someone with a
      firearm, and intentionally killing a person stem from the ready availability of a handgun for CHL holders”
      (Phillips et al. 2013). See, for example, a Texas permit holder who told police he shot a man in the head at an
      IHOP restaurant in Galveston because “he was annoyed by the noise the victim and others were making just a table
      away” (ABC News 2018).

      12
        We have just cited three of them: the 2012 Pennsylvania bar shooting, the 2000 Philadelphia snow-shoveling dis-
      pute, and the 2013 Michigan road-rage incident. Here are two more. Former NFL player Will Smith, a concealed
      carry permit holder with a loaded gun in his car, was engaged in a road rage incident with another permit holder,
      who killed him with seven shots in the back and one into his side and shot his wife, hitting both knees. The
      shooter was convicted of manslaughter and sentenced to 25 years in prison (Lane 2018). In yet another recent
      case, two permit holders glowered at each other in a Chicago gas station, and when one drew his weapon, the sec-
      ond man pulled out his own gun and killed the 43-year-old instigator, who died in front of his son, daughter, and
      pregnant daughter-in-law (Hernandez 2017). A video of the encounter can be found at https://www.youtube.
      com/watch?v=I2j9vvDHlBU. According to the police report obtained by the Chicago Tribune, a bullet from the gun
      exchange broke the picture window of a nearby garden apartment and another shattered the window of a car with
      four occupants that was driving past the gas station. No charges were brought against the surviving permit holder,
      who shot first but in response to the threat initiated by the other permit holder.


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             In general, the critique that the relatively low number of permit revocations proves
      that permit holders do not commit enough crime to substantially elevate violent criminal-
      ity is misguided for a variety of reasons. First, only a small fraction of 1 percent of Ameri-
      cans commits a gun crime each year, so we do not expect even a random group of
      Americans to commit much crime, let alone a group purged of convicted felons. None-
      theless, permit revocations clearly understate the criminal misconduct of permit holders,
      since not all violent criminals are caught and we have just seen five cases where six permit
      holders were killed, so no permit revocation or criminal prosecution would have
      occurred regardless of any criminality by the deceased.13 Second, and perhaps more
      importantly, RTC laws increase crime by individuals other than permit holders in a vari-
      ety of ways. The messages of the gun culture, perhaps reinforced by the adoption of RTC
      laws, can promote fear and anger, which are emotions that can invite more hostile con-
      frontations leading to violence. For example, if permit holder George Zimmerman has-
      sled Trayvon Martin only because Zimmerman was armed, then the presence of
      Zimmerman’s gun could be deemed to have encouraged a hostile confrontation, regard-
      less of who ultimately becomes violent.14
             Even well-intentioned interventions by permit holders intending to stop a
      crime have elevated the crime count when they ended with the permit
      holder either being killed by the criminal15 or shooting an innocent party by



      13
        In addition, NRA-advocated state laws that ban the release of information about whether those arrested for even
      the most atrocious crimes are RTC permit holders make it extremely difficult to monitor their criminal conduct.

      14
        Psychologists have found that the very act of carrying a gun tends to distort perceptions of reality in a way that
      exaggerates perceived threats. “We have shown here that … the act of wielding a firearm raises the likelihood that
      nonthreatening objects will be perceived as threats. This bias can clearly be horrific for victims of accidental shoot-
      ings” (Witt & Brockmole 2012). As one permit holder explained: “a gun causes its bearer to see the world differ-
      ently. A well-lit city sidewalk full of innocent pedestrians becomes a scene—a human grouping one of whose
      constituents you might need to shoot. Something good in yourself is, by this means, sacrificed. And more. In a sud-
      den, unwieldy hauling-out of your piece, or just by having your piece in your pocket, you can fumble around and
      shoot yourself, as often happens and isn’t at all funny. Or you might shoot some little girl on a porch across the
      street or two streets away, or five streets away. Lots and lots of untoward things can happen when you’re legally car-
      rying a concealed firearm. One or two of them might turn out to be beneficial—to you. But a majority are benefi-
      cial to neither man nor beast. Boats are said, by less nautical types, always to be seeking a place to sink. Guns—no
      matter who has them—are always seeking an opportunity to go off. Anybody who says different is a fool or a liar or
      both” (Ford 2016).

      15
        In 2016 in Arlington, Texas, a man in a domestic dispute shot at a woman and then tried to drive off (under Texas
      law it was lawful for him to be carrying his gun in his car, even though he did not have a concealed carry permit.)
      When he was confronted by a permit holder, the shooter slapped the permit holder’s gun out of his hand and then
      killed him with a shot to the head. Shortly thereafter, the shooter turned himself into the police (Mettler 2016). Sim-
      ilarly, when armed criminals entered a Las Vegas Walmart in 2014 and told everyone to get out because “[t]his is a
      revolution,” one permit holder told his friend he would stay to confront the threat. He was gunned down shortly
      before the police arrived, adding to the death toll rather than reducing it (NBC News 2014). Finally, in January
      2010, Stephen Sharp arrived at work at a St. Louis power plant just as co-worker Timothy Hendron began firing at
      fellow workers with an AK-47. Retrieving a pistol from his truck, Sharp opened fire at Hendron, and fecklessly dis-
      charged all six rounds from across the parking lot. Unharmed, Hendron returned fire, grievously wounding Sharp
      and continuing his rampage unabated. When the police arrived, there was “no clear distinction between attacker
      and victims.” In the end, Hendron killed three and wounded five before killing himself (Byers 2010).


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      mistake.16 Indeed, an FBI study of 160 active shooter incidents found that in almost half
      (21 of 45) the situations in which police engaged the shooter to end the threat, law
      enforcement suffered casualties, totaling nine killed and 28 wounded (Blair & Schweit
      2014). One would assume the danger to an untrained permit holder trying to confront
      an active shooter would be greater than that of a trained professional, which may in part
      explain why effective intervention in such cases by permit holders to thwart crime is so
      rare. Although the same FBI report found that in 21 of a total of 160 active shooter inci-
      dents between 2000 and 2013, “the situation ended after unarmed citizens safely and suc-
      cessfully restrained the shooter,” there was only one case—in a bar in Winnemucca,
      Nevada in 2008—in which a private armed citizen other than an armed security guard
      stopped a shooter, and that individual was an active-duty Marine (Holzel 2008).

      ii. The pathway from those harboring criminal intent
      Over the 10-year period from May 2007 through January 2017, the Violence Policy Center
      (2017) lists 31 instances in which concealed carry permit holders killed three or more indi-
      viduals in a single incident. Many of these episodes are disturbingly similar in that there was
      substantial evidence of violent tendencies and/or serious mental illness, but no effort was
      made to even revoke the carry permit, let alone take effective action to prevent access to
      guns. For example, on January 6, 2017, concealed handgun permit holder Esteban Santiago,
      26, killed five and wounded six others at the Fort Lauderdale-Hollywood Airport, before sit-
      ting on the floor and waiting to be arrested as soon as he ran out of ammunition. In the year
      prior to the shooting, police in Anchorage, Alaska, charged Santiago with domestic violence,
      and visited the home five times for various other complaints (KTUU 2017). In November
      2016, Santiago entered the Anchorage FBI office and spoke of “mind control” by the CIA
      and having “terroristic thoughts” (Hopkins 2017). Although the police took his handgun at
      the time, it was returned to him on December 7, 2016 after Santiago spent four days in a
      mental health facility because, according to federal officials, “there was no mechanism in fed-
      eral law for officers to permanently seize the weapon”17 (Boots 2017). Less than a month
      later, Santiago flew with his gun to Florida and opened fire in the baggage claim area.18
              In January 2018, the FBI charged Taylor Wilson, a 26-year-old Missouri concealed
      carry permit holder, with terrorism on an Amtrak train when, while carrying a loaded


      16
        In 2012, “a customer with a concealed handgun license … accidentally shot and killed a store clerk” during an
      attempted robbery in Houston (MacDonald 2012). Similarly, in 2015, also in Houston, a bystander who drew his
      weapon upon seeing a carjacking incident ended up shooting the victim in the head by accident (KHOU 2015).
      An episode in June 2017 underscored that interventions even by well-trained individuals can complicate and exac-
      erbate unfolding crime situations. An off-duty Saint Louis police officer with 11 years of service was inside his
      home when he heard the police exchanging gunfire with some car thieves. Taking his police-issued weapon, he
      went outside to help, but as he approached he was told by two officers to get on the ground and then shot in the
      arm by a third officer who “feared for his safety” (Hauser 2017).

      17
        Moreover, in 2012, Puerto Rican police confiscated Santiago’s handguns and held them for two years before
      returning them to him in May 2014, after which he moved to Alaska (Clary et al. 2017).

      18
        For a similar story of repeated gun violence and signs of mental illness by a concealed carry permit holder, see
      the case of Aaron Alexis, who murdered 12 at the Washington Navy Yard in September 2013 (Carter et al. 2013).


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      weapon, he tried to interfere with the brakes and controls of the moving train. According
      to the FBI, Wilson had (1) previously joined an “alt-right” neo-Nazi group and traveled to
      the Unite the Right rally in Charlottesville, Virginia in August 2017; (2) indicated his
      interest in “killing black people” and was the perpetrator of a road-rage incident in which
      he pointed a gun at a black woman for no apparent reason while driving on an interstate
      highway in April 2016; and (3) possessed devices and weapons “to engage in criminal
      offenses against the United States.” Research is needed to analyze whether having a per-
      mit to legally carry weapons facilitates such criminal designs (Pilger 2018).
             In June 2017, Milwaukee Police Chief Ed Flynn pointed out that criminal gangs have
      taken advantage of RTC laws by having gang members with clean criminal records obtain
      concealed carry permits and then hold the guns after they are used by the active criminals
      (Officer.com 2017). Flynn was referring to so-called human holsters who have RTC permits
      and hold guns for those barred from possession. For example, Wisconsin permit holder Darrail
      Smith was stopped three times while carrying guns away from crime scenes before police finally
      charged him with criminal conspiracy. In the second of these, Smith was “carrying three loaded
      guns, including one that had been reported stolen,” but that was an insufficient basis to charge
      him with a crime or revoke his RTC permit (DePrang 2015). Having a “designated permit
      holder” along to take possession of the guns when confronted by police may be an attractive
      benefit for criminal elements acting in concert (Fernandez et al. 2015; Luthern 2015).

      b. Increased gun thefts: The most frequent occurrence each year involving crime and a
      good guy with a gun is not self-defense but rather the theft of the good guy’s gun, which
      occurs hundreds of thousands of times each year.19 Data from a nationally representative
      web-based survey conducted in April 2015 of 3,949 subjects revealed that those who car-
      ried guns outside the home had their guns stolen at a rate over 1 percent per year
      (Hemenway et al. 2017). Given the current level of roughly 16 million permit holders, a
      plausible estimate is that RTC laws result in permit holders furnishing more than 100,000
      guns per year to criminals.20 As Phil Cook has noted, the relationship between gun theft
      and crime is a complicated one for which few definitive data are currently available (Cook


      19
        According to Larry Keane, senior vice president of the National Shooting Sports Foundation (a trade group that
      represents firearms manufacturers): “There are more guns stolen every year than there are violent crimes commit-
      ted with firearms.” More than 237,000 guns were reported stolen in the United States in 2016, according to the
      FBI’s National Crime Information Center. The actual number of thefts is obviously much higher since many gun
      thefts are never reported to police, and “many gun owners who report thefts do not know the serial numbers on
      their firearms, data required to input weapons into the NCIC.” The best survey estimated 380,000 guns were stolen
      annually in recent years, but given the upward trend in reports to police, that figure likely understates the current
      level of gun thefts (Freskos 2017b). According to National Crime Information Center data, the number of guns
      reported stolen nationally jumped 60 percent between 2007 and 2016 (Freskos 2018a).

      20
         While the Hemenway et al. study is not large enough and detailed enough to provide precise estimates, it estab-
      lishes that those who have carried guns in the last month are more likely to have them stolen. A recent Pew
      Research Survey found that 26 percent of American gun owners say they carry a gun outside of their home “all or
      most of the time” (Igielnik & Brown 2017, surveying 3,930 U.S. adults, including 1,269 gun owners). If 1 percent
      of 16 million permit holders have guns stolen each year, that would suggest 160,000 guns were stolen. Only guns
      stolen outside the home would be attributable to RTC laws, so a plausible estimate of guns stolen per year owing
      to gun carrying outside the home might be 100,000.


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      2018). But if there was any merit to the outrage over the loss of about 1,400 guns during the
      Fast and Furious program that began in 2009 and the contribution that these guns made to
      crime (primarily in Mexico), it highlights the severity of the vastly greater burdens of guns
      lost by and stolen from U.S. gun carriers.21 A 2013 report from the Bureau of Alcohol,
      Tobacco, Firearms, and Explosives concluded that “lost and stolen guns pose a substantial
      threat to public safety and to law enforcement. Those that steal firearms commit violent
      crimes with stolen guns, transfer stolen firearms to others who commit crimes, and create an
      unregulated secondary market for firearms, including a market for those who are prohibited
      by law from possessing a gun” (Office of the Director—Strategic Management 2013; Par-
      sons & Vargas 2017).
             For example, after Sean Penn obtained a permit to carry a gun, his car was stolen with
      two guns in the trunk. The car was soon recovered, but the guns were gone (Donohue 2003).
      In July 2015 in San Francisco, the theft of a gun from a car in San Francisco led to a killing of
      a tourist on a city pier that almost certainly would not have occurred if the lawful gun owner
      had not left it in the car (Ho 2015). Just a few months later, a gun stolen from an unlocked
      car was used in two separate killings in San Francisco and Marin in October 2015 (Ho & Wil-
      liams 2015). According to the National Crime Victimization Survey, in 2013 there were over
      660,000 auto thefts from households. More guns being carried in vehicles by permit holders
      means more criminals will be walking around with the guns stolen from permit holders.22
             As Michael Rallings, the top law enforcement official in Memphis, Tennessee, noted in
      commenting on the problem of guns being stolen from cars: “Laws have unintended conse-
      quences. We cannot ignore that as a legislature passes laws that make guns more accessible to
      criminals, that has a direct effect on our violent crime rate” (Freskos 2017a). An Atlanta police
      sergeant elaborated on this phenomenon: “Most of our criminals, they go out each and every
      night hunting for guns, and the easiest way to get them is out of people’s cars. We’re finding
      that a majority of stolen guns that are getting in the hands of criminals and being used to
      commit crimes were stolen out of vehicles” (Freskos 2017c). In 2015, 70 percent of guns
      reported stolen in Atlanta came from cars and trucks (Freskos 2016). Another Atlanta police
      officer stated that weapons stolen from cars “are used in crimes to shoot people, to rob peo-
      ple” because criminals find these guns to be easy to steal and hard to trace. “For them, it
      doesn’t cost them anything to break into a car and steal a gun” (Freskos 2016).23


      21
        “Of the 2,020 guns involved in the Bureau of Alcohol, Tobacco, Firearms, and Explosives probe dubbed ‘Opera-
      tion Fast and Furious,’ 363 have been recovered in the United States and 227 have been recovered in Mexico. That
      leaves 1,430 guns unaccounted for” (Schwarzschild & Griffin 2011). Wayne LaPierre of the NRA was quoted as say-
      ing: “These guns are now, as a result of what [ATF] did, in the hands of evil people, and evil people are commit-
      ting murders and crimes with these guns against innocent citizens” (Horwitz 2011).

      22
       In early December 2017, the sheriff in Jacksonville, Florida announced that his office knew of 521 guns that had
      been stolen so far in 2017—from unlocked cars alone! (Campbell 2017).

      23
        Examples abound: Tario Graham was shot and killed during a domestic dispute in February 2012 with a revolver
      stolen weeks earlier out of pickup truck six miles away in East Memphis (Perrusquia 2017). In Florida, a handgun
      stolen from an unlocked Honda Accord in mid-2014 helped kill a police officer a few days before Christmas that
      year (Sampson 2014). A gun stolen from a parked car during a Mardi Gras parade in 2017 was used a few days later
      to kill 15-year-old Nia Savage in Mobile, Alabama, on Valentine’s Day (Freskos 2017a).


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           Of course, the permit holders whose guns are stolen are not the killers, but they
      can be the but-for cause of the killings. Lost, forgotten, and misplaced guns are another
      dangerous byproduct of RTC laws.24

      c. Enhancing a culture of violence: The South has long had a higher rate of violent crime
      than the rest of the country. For example, in 2012, while the South had about one-
      quarter of the U.S. population, it had almost 41 percent of the violent crime reported to
      police (Fuchs 2013). Social psychologists have argued that part of the reason the South
      has a higher violent crime rate is that it has perpetuated a “subculture of violence” predi-
      cated on an aggrandized sense of one’s rights and honor that responds negatively to per-
      ceived insults. A famous experiment published in the Journal of Personality and Social
      Psychology found that southern males were more likely than northern males to respond
      aggressively to being bumped and insulted. This was confirmed by measurement of their
      stress hormones and their frequency of engaging in aggressive or dominant behavior
      after being insulted (Cohen et al. 1996). To the extent that RTC laws reflect and encour-
      age this cultural response, they can promote violent crime not only by permit holders,
      but by all those with or without guns who are influenced by this crime-inducing
      worldview.
             Even upstanding citizens, such as Donald Brown, a 56-year-old retired Hartford fire-
      fighter with a distinguished record of service, can fall prey to the notion that resort to a law-
      ful concealed weapon is a good response to a heated argument. Brown was sentenced to
      seven years in prison in January 2018 by a Connecticut judge who cited his “poor judgment
      on April 24, 2015, when he drew his licensed 9mm handgun and fired a round into the
      abdomen of Lascelles Reid, 33.” The shooting was prompted by a dispute “over renovations
      Reid was performing at a house Brown owns” (Owens 2018). Once again, we see that the
      RTC permit was the pathway to serious violent crime by a previously law-abiding citizen.

      d. Increasing violence by criminals: The argument for RTC laws is often predicated on the
      supposition that they will encourage good guys to have guns, leading only to benign
      effects on the behavior of bad guys. This is highly unlikely to be true.25 Indeed, the


      24
        The growing TSA seizures in carry-on luggage are explained by the increase in the number of gun carriers who sim-
      ply forget they have a gun in their luggage or briefcase (Williams & Waltrip 2004). A chemistry teacher at Marjory
      Stoneman Douglas High School in Parkland, Florida, who had said he would be willing to carry a weapon to protect
      students at the school, was criminally charged for leaving a loaded pistol in a public restroom. The teacher’s 9mm
      Glock was discharged by an intoxicated homeless man who found it in the restroom (Stanglin 2018).

      25
        Consider in this regard, David Friedman’s theoretical analysis of how right-to-carry laws will reduce violent crime: “Sup-
      pose one little old lady in ten carries a gun. Suppose that one in ten of those, if attacked by a mugger, will succeed in kill-
      ing the mugger instead of being killed by him—or shooting herself in the foot. On average, the mugger is much more
      likely to win the encounter than the little old lady. But—also on average—every hundred muggings produce one dead
      mugger. At those odds, mugging is a very unattractive profession—not many little old ladies carry enough money in their
      purses to justify one chance in a hundred of being killed getting it. The number of muggers—and muggings—declines
      drastically, not because all of the muggers have been killed but because they have, rationally, sought safer professions”
      (Friedman 1990). There is certainly no empirical support for the conjecture that muggings will “decline drastically” in
      the wake of RTC adoption. What Friedman’s analysis overlooks is that muggers can decide not to mug (which is what
      Friedman posits) or they can decide to initiate their muggings by cracking the old ladies over the head or by being


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      evidence that gun prevalence in a state is associated with higher rates of lethal force by
      police (even controlling for homicide rates) suggests that police may be more fearful and
      shoot quicker when they are more likely to interact with an armed individual (Nagin
      forthcoming).26 Presumably, criminals would respond in a similar fashion, leading them
      to arm themselves more frequently, attack more harshly, and shoot more quickly when
      citizens are more likely to be armed. In one study, two-thirds of prisoners incarcerated
      for gun offenses “reported that the chance of running into an armed victim was very or
      somewhat important in their own choice to use a gun” (Cook et al. 2009). Such responses
      by criminals will elevate the toll of the crimes that do occur.
             Indeed, a panel data estimate over the years 1980 to 2016 reveals that the percentage
      of robberies committed with a firearm rises by 18 percent in the wake of RTC adoption (t =
      2.60).27 Our synthetic controls assessment similarly shows that the percentage of robberies
      committed with a firearm increases by 35 percent over 10 years (t = 4.48).28 Moreover, there
      is no evidence that RTC laws are reducing the overall level of robberies: the panel data anal-
      ysis associates RTC laws with a 9 percent higher level of overall robberies (t = 1.85) and the
      synthetic controls analysis suggests a 7 percent growth over 10 years (t = 1.19).


      e. Impairing police effectiveness: According to an April 2016 report of the Council of Eco-
      nomic Advisers: “Expanding resources for police has consistently been shown to reduce
      crime; estimates from economic research suggests that a 10% increase in police size
      decreases crime by 3 to 10%” (CEA 2016:4). In summarizing the evidence on fighting
      crime in the Journal of Economic Literature, Aaron Chalfin and Justin McCrary note that
      adding police manpower is almost twice as effective in reducing violent crime as it is in
      reducing property crime (Chalfin & McCrary 2017). Therefore, anything that RTC laws do
      to occupy police time, from processing permit applications to checking for permit validity
      to dealing with gunshot victims, inadvertent gun discharges, and the staggering number of
      stolen guns is likely to have an opportunity cost expressed in higher violent crime.
            The presence of more guns on the street can complicate the job of police as they
      confront (or shy away from) armed citizens. Daniel Nagin finds a pronounced positive
      association between statewide prevalence of gun ownership and police use of lethal force
      (Nagin forthcoming). A Minnesota police officer who stopped Philando Castile for a bro-
      ken taillight shot him seven times only seconds after Castile indicated he had a permit to
      carry a weapon because the officer feared the permit holder might be reaching for the


      prepared to shoot them if they start reaching for a gun (or even wear body armor). Depending on the response of the
      criminals to increased gun carrying by potential victims, the increased risk to the criminals may be small compared to the
      increased risk to the victims. Only an empirical evaluation can answer this question.

      26
       See footnotes 29–31 and accompanying text for examples of this pattern of police use of lethal force.

      27
       The panel data model uses the DAW explanatory variables set forth in Table 2.

      28
        The weighted average proportion of robberies committed by firearm in the year prior to RTC adoption (for
      states that adopted RTC between 1981 and 2014) is 36 percent while the similar proportion in 2014 for the same
      RTC states is 43 percent (and for non-RTC states is 29 percent).


                                                                                                     Exhibit D
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      gun. Another RTC permit holder, stranded in his disabled car early one morning on a
      Florida highway exit ramp, grabbed the gun he had legally purchased three days earlier
      when a police officer in plainclothes pulled up in a van with tinted windows and no
      lights. “It was not immediately clear what happened after [the officer] got out of his van,
      but the permit holder at some point started running … and [the officer] fired six times,”
      killing the permit holder, whose body fell “about 80 to 100 feet from his vehicle,” with
      his undischarged handgun on the ground somewhere in between (Robles & Hauser
      2015). After a similar encounter between an officer and a permit holder, the officer
      asked the gun owner: “Do you realize you almost died tonight?” (Kaste 2019).29
             A policemen trying to give a traffic ticket has more to fear if the driver is armed. When
      a gun is found in a car in such a situation, a greater amount of time is needed to ascertain
      the driver’s status as a permit holder. A lawful permit holder who happens to have forgotten
      his permit may end up taking up more police time through arrest and/or other processing.
             Moreover, police may be less enthusiastic about investigating certain suspicious
      activities or engaging in effective crime-fighting actions given the greater risks that wide-
      spread gun carrying poses to them, whether from permit holders or the criminals who
      steal their guns.30 In a speech at the University of Chicago Law School in October 2015,
      then-FBI Director James Comey argued that criticism of overly aggressive policing led
      officers to back away from more involved policing, causing violent crime to rise
      (Donohue 2017a). If the more serious concern of being shot by an angry gun toter
      impairs effective policing, the prospect of increased crime following RTC adoption could
      be far more substantial than the issue that Comey highlighted.31


      29
        A permit to carry instructor has posted a YouTube video about “How to inform an officer you are carrying a
      handgun and live” that is designed to “keep yourself from getting shot unintentionally” by the police. The video,
      which has over 4.2 million views, has generated comments from non-Americans that it “makes the US look like a
      war zone” and leads to such unnatural and time-consuming behavior that “an English officer … would look at you
      like a complete freak” (Soderling 2016).

      30
        “Every law enforcement officer working today knows that any routine traffic stop, delivery of a warrant or court
      order, or response to a domestic disturbance anywhere in the country involving people of any race or age can put
      them face to face with a weapon. Guns are everywhere, not just in the inner city” (Wilson 2016). In offering an
      explanation for why the United States massively leads the developed world in police shootings, criminologist David
      Kennedy stated: “Police officers in the United States in reality need to be conscious of and are trained to be con-
      scious of the fact that literally every single person they come in contact with may be carrying a concealed firearm.”
      For example, police in England and Wales shot and killed 55 people over the 25-year period from 1990–2014,
      while in just the first 24 days of 2015, the United States (with six times the population) had a higher number of
      fatal shootings by police (Lopez 2018).

      31
        A vivid illustration of how even the erroneous perception that someone accosted by the police is armed can lead
      to deadly consequences is revealed in the chilling video of five Arizona police officers confronting an unarmed
      man they incorrectly believed had a gun. During the prolonged encounter, the officers shouted commands at an
      intoxicated 26-year-old father of two, who begged with his hands in the air not to be shot. The man was killed by
      five bullets when, following orders to crawl on the floor toward police, he paused to pull up his slipping pants. A
      warning against the open carry of guns issued by the San Mateo County, California, Sheriff’s Office makes the gen-
      eral point that law enforcement officers become hyper-vigilant when encountering an armed individual: “Should
      the gun carrying person fail to comply with a law enforcement instruction or move in a way that could be con-
      strued as threatening, the police are forced to respond in kind for their own protection. It’s well and good in hind-
      sight to say the gun carrier was simply ‘exercising their rights’ but the result could be deadly” (Lunny 2010).


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             The presence of multiple gun carriers can also complicate police responses to mass
      shootings and other crimes. When police arrived at an Alabama mall in November 2018,
      they saw a 21-year-old concealed carry permit holder with gun drawn, and mistakenly
      killed him, thinking he was the shooter. In fact, the dead man had been assisting and
      protecting shoppers, and the real shooter escaped (McLaughlin & Holcombe 2018).
      Another benign intervention that ended in tragedy for the good guy with a gun occurred
      in July 2018 when police officers arrived as a “good Samaritan” with a concealed carry
      permit was trying to break up a fight in Portland, Oregon. The police saw the gun held
      by the permit holder—a Navy veteran, postal worker, and father of three—and in the
      confusion shot and killed him (Gueverra 2018).
             Good guys with guns also can interfere with police anti-crime efforts. For example,
      police reported that when a number of Walmart customers (fecklessly) pulled out their
      weapons during a shooting on November 1, 2017, their “presence ‘absolutely’ slowed the
      process of determining who, and how many, suspects were involved in the shootings, said
      Thornton [Colorado] police spokesman Victor Avila” (Simpson 2017).
             Similarly, in 2014, a concealed carry permit holder in Illinois fired two shots at a fleeing
      armed robber at a phone store, thereby interfering with a pursuing police officer. According
      to the police: “Since the officer did not know where the shots were fired from, he was forced
      to terminate his foot pursuit and take cover for his own safety” (Glanton & Sadovi 2014).
             Indeed, preventive efforts to get guns off the street in high-crime neighborhoods
      are less feasible when carrying guns is presumptively legal. The passage of RTC laws nor-
      malizes the practice of carrying guns in a way that may enable criminals to carry guns
      more readily without prompting a challenge, while making it harder for the police to
      know who is and who is not allowed to possess guns in public.
             Furthermore, negligent discharges of guns, although common, rarely lead to char-
      ges of violent crime but they can take up valuable police time for investigation and in
      determining whether criminal prosecution or permit withdrawal is warranted. For exam-
      ple, on November 16, 2017, Tennessee churchgoers were reflecting on the recent Texas
      church massacre in Sutherland Springs when a permit holder mentioned he always
      carries his gun, bragging that he would be ready to stop any mass shooter. While proudly
      showing his Ruger handgun, the permit holder inadvertently shot himself in the palm,
      causing panic in the church as the bullet “ripped through [his wife’s] lower left abdo-
      men, out the right side of her abdomen, into her right forearm and out the backside of
      her forearm. The bullet then struck the wall and ricocheted, landing under the wife’s
      wheelchair.” The gun discharge prompted a 911 call, which in the confusion made the
      police think an active shooting incident was underway. The result was that the local hos-
      pital and a number of schools were placed on lockdown for 45 minutes until the police
      finally ascertained that the shooting was accidental (Eltagouri 2017).32


      32
        Negligent discharges by permit holders have occurred in public and private settings from parks, stadiums, movie
      theaters, restaurants, and government buildings to private households (WFTV 2015; Heath 2015). Thirty-nine-year-
      old Mike Lee Dickey, who was babysitting an eight-year-old boy, was in the bathroom removing his handgun from
      his waistband when it discharged. The bullet passed through two doors, before striking the child in his arm while
      he slept in a nearby bedroom (Associated Press 2015). In April 2018, a 21-year-old pregnant mother of two in


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            Everything that takes up added police time or complicates the job of law enforce-
      ment will serve as a tax on police, rendering them less effective on the margin, and
      thereby contributing to crime. Indeed, this may in part explain why RTC states tend to
      increase the size of their police forces (relative to nonadopting states) after RTC laws are
      passed, as shown in Table 1.33


      B. A Simple Difference-in-Differences Analysis

      We begin by showing how violent crime evolved over our 1977–2014 data period for RTC
      and non-RTC states.34 Figure 1 depicts percentage changes in the violent crime rate over
      our entire data period for three groups of states: those that never adopted RTC laws,
      those that adopted RTC laws sometime between 1977 and before 2014, and those that
      adopted RTC laws prior to 1977. It is noteworthy that the 42.3 percent drop in violent
      crime in the nine states that never adopted RTC laws is almost an order of magnitude
      greater than the 4.3 percent reduction experienced by states that adopted RTC laws dur-
      ing our period of analysis.35
             The NRC Report presented a “no-controls” estimate, which is just the coefficient
      estimate on the variable indicating the date of adoption of a RTC law in a crime rate
      panel data model with state and year fixed effects. According to the NRC Report: “Esti-
      mating the model using data to 2000 shows that states adopting right-to-carry laws saw
      12.9 percent increases in violent crime—and 21.2 percent increases in property crime—
      relative to national crime patterns.” Estimating this same model using 14 additional years
      of data (through 2014) and 11 additional adopting states (listed at the bottom of Appen-
      dix Table C1) reveals that the average postpassage increase in violent crime was


      Indiana was shot by her three-year-old daughter when the toddler’s father left the legal but loaded 9mm handgun
      between the console and the front passenger seat after he exited the vehicle to go inside a store. The child
      climbed over from the backseat and accidentally fired the gun, hitting her mother though the upper right part of
      her torso. (Palmer 2018) See also Savitsky (2019) (country western singer Justin Carter dies when the gun in his
      pocket discharges and hits him in the face); Schwarz (2014) (Idaho professor shoots himself in foot during class
      two months after state legalizes guns on campuses); Murdock (2018) (man shoots himself in the groin with gun in
      his waistband in the meat section of Walmart in Buckeye, Arizona); Barbash (2018) (California teacher demon-
      strating gun safety accidentally discharges weapon in a high school classroom in March 2018, injuring one stu-
      dent); Fortin (2018) (in February 2018, a Georgia teacher fired his gun while barricaded in his classroom); US
      News (2018) (in April 2018, an Ohio woman with a valid concealed carry permit accidentally killed her two-year-
      old daughter at an Ohio hotel while trying to turn on the gun’s safety); and Fox News (2016) (“the owner of an
      Ohio gun shop was shot and killed when a student in a concealed carry permit class accidentally discharged a
      weapon,” striking the owner in the neck in a different room after the bullet passed through a wall).

      33
        See Adda et al. (2014), describing how local depenalization of cannabis enabled the police to reallocate
      resources, thereby reducing violent crime.

      34
       The FBI violent crime category includes murder, rape, robbery, and aggravated assault.

      35
        Over the same 1977–2014 period, the states that avoided adopting RTC laws had substantially smaller increases
      in their rates of incarceration and police employment. The nine never-adopting states increased their incarcera-
      tion rate by 205 percent, while the incarceration rates in the adopting states rose by 262 and 259 percent, for those
      adopting RTC laws before and after 1977, respectively. Similarly, the rate of police employment rose by 16 percent
      in the never-adopting states and by 38 and 55 percent for those adopting before and after 1977, respectively.


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      Figure 1: The decline in violent crime rates has been far greater in states with no RTC
      laws, 1977−2014.




      DATA SOURCES: UCR for crime rates; Census for state populations.
      NOTE: Illinois excluded since its concealed carry law did not go into effect until 2014. From 1977–2013, the violent
      crime rate in Illinois fell by 36 percent, from 631 to 403 crimes per 100,000 people.

      20.2 percent, while the comparable increase in property crime was 19.2 percent (both
      having p values less than 5 percent).36
             Of course, it does not prove that RTC laws increase crime simply because RTC
      states experience a worse postpassage crime pattern. For example, it might be the case
      that some states decided to fight crime by allowing citizens to carry concealed handguns
      while others decided to hire more police and incarcerate a greater number of convicted
      criminals. If police and prisons were more effective in stopping crime, the “no-controls”
      model might show that the crime experience in RTC states was worse than in other states
      even if this were not a true causal result of the adoption of RTC laws. As it turns out,
      though, RTC states not only experienced higher rates of violent crime but they also had
      larger increases in incarceration and police than other states. Table 1 provides panel data
      evidence on how incarceration and two measures of police employment changed after
      RTC adoption (relative to nonadopting states). All three measures rose in RTC states,
      and the 7–8 percent greater increases in police in RTC states are statistically significant.
      In other words, Table 1 confirms that RTC states did not have relatively declining rates of




      36
        The dummy variable model reports the coefficient associated with a RTC variable that is given a value of 0 when
      a RTC law is not in effect in that year, a value of 1 when a RTC law is in effect that entire year, and a value equal to
      the portion of the year a RTC law is in effect otherwise. The date of adoption for each RTC state is shown in
      Appendix Table A1. Note the fact that violent crime was noticeably higher in 1977 in the nine states that did not
      adopt RTC laws indicates that it will be particularly important that the parallel trends requirement of a valid panel
      data analysis is established, which is an issue to which we carefully attend in Section III.A.3. All our appendices are
      posted online at https://works.bepress.com/john_donohue/.


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      Table 1: Panel Data Estimates Showing Greater Increases in Incarceration and Police
      Following RTC Adoption: State- and Year-Fixed Effects, and No Other Regressors,
      1977–2014
                                        Incarceration        Police Employment per 100k          Police Officers per 100k

                                            (1)                          (2)                               (3)

      Dummy variable model              6.78 (6.22)                8.39*** (3.15)                    7.08** (2.76)
      NOTE: OLS estimations include state- and year-fixed effects and are weighted by population. Robust standard errors
      (clustered at the state level) are provided next to point estimates in parentheses. The police employment and
      sworn police officer data are from the Uniform Crime Reports (UCR). The source of the incarceration rate is the
      Bureau of Justice Statistics (2014). *p < 0.1; **p < 0.05; ***p < 0.01. All figures reported in percentage terms.


      incarceration or total police employees after adopting their RTC laws that might explain
      their comparatively poor postpassage crime performance.



      III. A Panel Data Analysis of RTC Laws
      A. Estimating Two Models on the Full Data Period 1977–2014

      We have just seen that RTC law adoption is followed by higher rates of violent and prop-
      erty crime (relative to national trends) and that the elevated crime levels after RTC law
      adoption occur despite the fact that RTC states actually invested relatively more heavily in
      prisons and police than non-RTC states. While the theoretical predictions about the
      effect of RTC laws on crime are indeterminate, these two empirical facts based on the
      actual patterns of crime and crime-fighting measures in RTC and non-RTC states suggest
      that the most plausible working hypothesis is that RTC laws increase crime. The next step
      in a panel data analysis of RTC laws would be to test this hypothesis by introducing an
      appropriate set of explanatory variables that plausibly influence crime.
             The choice of these variables is important because any variable that both influences
      crime and is simultaneously correlated with RTC laws must be included if we are to gen-
      erate unbiased estimates of the impact of RTC laws. At the same time, including irrele-
      vant and/or highly collinear variables can also undermine efforts at valid estimation of
      the impact of RTC laws. At the very least, it seems advisable to control for the levels of
      police and incarceration because these have been the two most important criminal justice
      policy instruments in the battle against crime.


      1. The DAW Panel Data Model

      In addition to the state and year fixed effects of the no-controls model and the identifier
      for the presence of an RTC law, our preferred “DAW model” includes an array of other
      factors that might be expected to influence crime, such as the levels of police and incar-
      ceration, various income, poverty, and unemployment measures, and six demographic
      controls designed to capture the presence of males in three racial categories (black,
      white, other) in two high-crime age groupings (15–19 and 20–39). Table 2 lists the full


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      Table 2:     Table of Explanatory Variables for Four Panel Data Studies
      Explanatory Variables                                                        DAW                                LM

      Right-to-carry law                                                             x                                 x
      Lagged per capita incarceration rate                                           x
      Lagged police staffing per 100,000                                             x
      residents
      Poverty rate                                                                   x
      Unemployment rate                                                              x
      Per capita ethanol consumption from beer                                       x
      Percentage of state population living in                                       x
      metropolitan statistical areas (MSA)
      Real per capita personal income                                                x                                 x
      Real per capita income maintenance                                                                               x
      Real per capita retirement payments                                                                              x
      Real per capita unemployment insurance                                                                           x
      payments
      Population density                                                                                               x
      Lagged violent or property arrest rate                                                                           x
      State population                                                                                                 x

      6 Age-sex-race demographic variables                                           x
      —all 6 combinations of black, white, and
      other males in 2 age groups (15–19, 20–39)
      indicating the percentage of the
      population in each group

      36 Age-sex-race demographic variables                                                                            x
      —all possible combinations of black, white,
      and other males in 6 age groups (10–19,
      20–29, 30–39, 40–49, 50–64, and over 65)
      and repeating this all for females,
      indicating the percentage of the
      population in each group

      NOTE: The DAW model is advanced in this article and the LM model was previously published by Lott and
      Mustard.


      set of explanatory variables for both the DAW model and the comparable panel data
      model used by Lott and Mustard (LM).37
            Mathematically, the simple dummy model takes the following form:
                                     ln ðcrime rate it Þ = βX it + γRTC it + αt + δi + εit                            ð1Þ

      where γ is the coefficient on the RTC dummy, reflecting the average estimated impact of
      adopting a RTC law on crime. The matrix Xit contains either the DAW or LM covariates


      37
        While we attempt to include as many state-year observations in these regressions as possible, District of Columbia
      incarceration data are missing after the year 2001. In addition, a handful of observations are also dropped from
      the LM regressions owing to states that did not report any usable arrest data in various years. Our regressions are
      performed with Huber-White robust standard errors that are clustered at the state level, and we lag the arrest rates
      used in the LM regression models. The rationales underlying both choices are described in more detail in Aneja
      et al. (2014). All the regressions presented in this article are weighted by state population.


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      Table 3: Panel Data Estimates Suggesting that RTC Laws Increase Violent and Property
      Crime: State- and Year-Fixed Effects, DAW Regressors, 1979–2014
                               Murder           Firearm             Nonfirearm              Violent            Property
                                Rate           Murder Rate          Murder Rate           Crime Rate          Crime Rate

                                  (1)               (2)                  (3)                  (4)                 (5)

      Dummy variable         2.27 (5.05)     2.90 (6.74)         1.53 (3.32)            9.02*** (2.90)     6.49** (2.74)
      model
      NOTE: All models include year- and state-fixed effects, and OLS estimates are weighted by state population.
      Robust standard errors (clustered at the state level) are provided next to point estimates in parentheses. The
      violent and property crime data are from the Uniform Crime Reports (UCR) while the murder data are from
      the National Vital Statistics System (NVSS). Six demographic variables (based on different age-sex-race catego-
      ries) are included as controls in the regression above. Other controls include the lagged incarceration rate,
      the lagged police employee rate, real per capita personal income, the unemployment rate, poverty rate, beer,
      and percentage of the population living in MSAs. *p < 0.1; **p < 0.05; ***p < 0.01. All figures reported in per-
      centage terms.



      and demographic controls for state i in year t. The vectors α and δ are year and state fixed
      effects, respectively, while εit is the error term.
             The DAW panel data estimates of the impact of RTC laws on crime are shown in
      Table 3.38 The results are consistent with, although smaller in magnitude than, those
      observed in the no-controls model: RTC laws on average increased violent crime by 9.0
      percent and property crime by 6.5 percent in the years following adoption.39 The effect
      of RTC laws on murder is seen in Table 3 to be very imprecisely estimated and not statisti-
      cally significant.40
             We should also note one caveat to our results. Panel data analysis assumes that the
      treatment in any one state does not influence crime in nontreatment states. However, as we
      noted above,41 RTC laws tend to lead to substantial increases in gun thefts and those guns
      tend to migrate to states with more restrictive gun laws, where they elevate violent crime.
      This flow of guns from RTC to non-RTC states has been documented by gun trace data
      (Knight 2013), and Olson et al. (2019) find that “firearm trafficking from states with less
      restrictive firearm legislation to neighboring states with more restrictive firearm legislation



      38
       The complete set of estimates for all explanatory variables (except the demographic variables) for the DAW and
      LM dummy models are shown in Appendix Table B1.

      39
        Defensive uses of guns are more likely for violent crimes because the victim will clearly be present. For property
      crimes, the victim is typically absent, thus providing less opportunity to defend with a gun. It is unclear whether
      the many ways in which RTC laws could lead to more crime, which we discuss in Section II.A.2, would be more
      likely to facilitate violent or property crime, but our intuition is that violent crime would be more strongly
      influenced, which is in fact what Table 3 suggests.

      40
        We thank Phil Cook for informing us that UCR murder data are both less complete and less discerning than
      murder data collected by the National Vital Statistics. Note that we subtract all cases of justifiable homicides from
      the murder counts in our own Vital Statistics data.

      41
       See text at footnotes 20–22.


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      increases firearm homicide rates in those restrictive states.”42 As a result, our panel data esti-
      mates of the impact of RTC laws are downward biased by the amount that RTC laws induce
      crime spillovers into non-RTC states.43 One police investigation revealed that of the 224 guns
      a single gun trafficker in the DC area was known to have sold in just five months of 2015,
      94 were later found at crime scenes from Virginia to New York (Hermann & Weiner 2019).


      2. The LM Panel Data Model

      Table 2’s recitation of the explanatory variables contained in the Lott and Mustard
      (LM) panel data model reveals there are no controls for the levels of police and incarcer-
      ation in each state, even though a substantial literature has found that these factors have
      a large impact on crime. Indeed, as we saw in Table 1, both factors grew substantially and
      statistically significantly after RTC law adoption. A Bayesian analysis of the impact of RTC
      laws found that “the incarceration rate is a powerful predictor of future crime rates,” and
      specifically faulted this omission from the Lott and Mustard model (Strnad 2007:201,
      n.8). We have discussed an array of infirmities with the LM model in Aneja et al. (2014),
      including their reliance on flawed pseudo-arrest rates, and highly collinear demographic
      variables.
              As noted in Aneja et al. (2014):

           The Lott and Mustard arrest rates … are a ratio of arrests to crimes, which means that when
           one person kills many, for example, the arrest rate falls, but when many people kill one person,
           the arrest rate rises, since only one can be arrested in the first instance and many can in the sec-
           ond. The bottom line is that this “arrest rate” is not a probability and is frequently greater than
           one because of the multiple arrests per crime. For an extended discussion on the abundant
           problems with this pseudo arrest rate, see Donohue and Wolfers (2009).


      The LM arrest rates are also econometrically problematic since the denominator of the
      arrest rate is the numerator of the dependent variable crime rate, improperly leaving the
      dependent variable on both sides of the regression equation. We lag the arrest rates by
      one year to reduce this problem of ratio bias.
             Lott and Mustard’s use of 36 demographic variables is also a potential concern.
      With so many enormously collinear variables, the high likelihood of introducing noise
      into the estimation process is revealed by the wild fluctuations in the coefficient estimates
      on these variables. For example, consider the LM explanatory variables “neither black
      nor white male aged 30–39” and the identical corresponding female category. The LM
      dummy variable model for violent crime suggests that the male group will significantly


      42
        “Seventy-five percent of traceable guns recovered by authorities in New Jersey [a non-RTC state] are purchased
      in states with weaker gun laws, according to … firearms trace data … compiled by the federal Bureau of Alcohol,
      Tobacco, Firearms and Explosives … between 2012 and 2016” (Pugliese 2018). See also Freskos (2018b).

      43
        Some of the guns stolen from RTC permit holders may also end up in foreign countries, which will stimulate
      crime there but not bias our panel data estimates. For example, a recent analysis of guns seized by Brazilian police
      found that 15 percent came from the United States. Since many of these were assault rifles, they were probably not
      guns carried by American RTC permit holders (Paraguassu & Brito 2018).


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      Table 4: Panel Data Estimates of the Impact of RTC Laws: State-and Year-Fixed Effects,
      Using Actual and Modified LM Regressors, 1977–2014
                                    Panel A: LM Regressors Including 36 Demographic Variables

                                              Firearm              Nonfirearm              Violent           Property
                         Murder Rate         Murder Rate           Murder Rate           Crime Rate         Crime Rate
                              (1)                 (2)                  (3)                   (4)                (5)

      Dummy              –5.17 (3.33)      –3.91 (4.82)        –5.70** (2.45)          –1.38 (3.16)       –0.34 (1.71)
       variable
       model

                                    Panel B: LM Regressors with 6 DAW Demographic Variables

                           Murder            Firearm              Nonfirearm              Violent            Property
                            Rate            Murder Rate           Murder Rate           Crime Rate          Crime Rate
                             (1)                 (2)                   (3)                  (4)                 (5)

      Dummy              3.75 (5.92)      4.34 (7.85)         2.64 (4.02)             10.03** (4.81)     7.59** (3.72)
       variable
       model

           Panel C: LM Regressors with 6 DAW Demographic Variables and Adding Controls for Incarceration and Police

                           Murder            Firearm              Nonfirearm              Violent            Property
                            Rate            Murder Rate           Murder Rate           Crime Rate          Crime Rate
                             (1)                 (2)                   (3)                  (4)                 (5)

      Dummy              4.99 (5.50)      5.96 (7.20)         3.76 (4.29)             10.05** (4.54)     8.10** (3.63)
       variable
       model
      NOTE: All models include year- and state-fixed effects, and OLS estimates are weighted by state population. Robust
      standard errors (clustered at the state level) are provided next to point estimates in parentheses. In Panel A, 36
      demographic variables (based on different age-sex-race categories) are included as controls in the regressions
      above. In Panel B, only six demographic variables are included. In Panel C, only six demographic variables are
      included and controls are added for incarceration and police. For all three panels, other controls include the pre-
      vious year’s violent or property crime arrest rate (depending on the crime category of the dependent variable),
      state population, population density, real per capita income, real per capita unemployment insurance payments,
      real per capita income maintenance payments, and real retirement payments per person over 65. *p < 0.1; **p <
      0.05; ***p < 0.01. All figures reported in percentage terms.


      increase crime (the coefficient is 219), but their female counterparts have an even greater
      dampening effect on crime (with a coefficient of –258). Both conflicting estimates (not
      shown in Appendix Table B1) are statistically significant at the 0.01 level, and they are
      almost certainly picking up noise rather than revealing true relationships. Bizarre results
      are common in the LM estimates among these 36 demographic variables.44


      44
        Aneja et al. (2014) test for the severity of the multicollinearity problem using the 36 LM demographic variables,
      and the problem is indeed serious. The variance inflation factor (VIF) is shown to be in the range of 6 to 7 for the
      RTC variable in the LM dummy model when the 36 demographic controls are used. Using the six DAW variables
      reduces the multicollinearity for the RTC dummy to a tolerable level (with VIFs always below the desirable thresh-
      old of 5).


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             Table 4, Panel A shows the results of the LM panel data model estimated over the
      period 1977–2014. As seen above, the DAW model generated estimates that RTC laws
      raised violent and property crime (in the dummy model of Table 3), while the esti-
      mated impact on murders was too imprecise to be informative. The LM model gener-
      ates no statistically significant estimates, except for an apparent decline in non-firearm-
      related murders. We can almost perfectly restore the DAW Table 3 findings, however,
      by simply limiting the inclusion of 36 highly collinear demographic variables to the
      more typical array used in the DAW regressions, as seen in Panel B of Table 4. This
      modified LM dummy variable model suggests that RTC laws increase violent and prop-
      erty crime, mimicking the DAW dummy variable model estimates, and this same finding
      persists if we add in controls for police and incarceration, as seen in Panel C of
      Table 4.


      3. Testing the DAW and LM Models for the Parallel Trends Assumption

      Many researchers are content to present panel data results such as those shown in
      Tables 3 and 4 without establishing their econometric validity. This can be a serious
      mistake. We have already registered concerns about the choice of controls included
      in the LM model, but, as we will see, the LM model regressions in Panel A of
      Table 4—including the spurious finding that RTC laws reduce non-firearm
      homicides—uniformly violate the critical assumption of parallel trends. In sharp con-
      trast, the DAW model illustrates nearly perfect parallel trends in the decade prior to
      RTC adoption for violent crime and sufficiently satisfies this assumption in three of
      the other four regressions in Table 3 (murder, non-firearm murder, and property
      crime).
             To implement this test and to provide more nuanced estimates of the impact of
      RTC laws on crime than in the simple dummy models of Tables 3 and 4, we ran
      regressions showing the values on yearly dummy variables for 10 years prior to RTC
      adoption to 10 years after RTC adoption. If the key parallel trends assumption of
      panel data analysis is valid, we should see values of the pre-adoption dummies that
      show no trend and are close to zero. Figure 2 shows that the DAW violent crime
      model performs extremely well: the pre-adoption dummies are virtually all zero (and
      hence totally flat) for the eight years prior to adoption, and violent crime starts rising
      in the year of adoption, showing statistically significant increases after the law has
      been in effect for at least a full year. The upward trend in violent crime continues for
      the entire decade after adoption. Figure 2 also highlights that the single dummy
      models of Tables 3 and 4 (which implicitly assume an immediate and constant post-
      adoption impact on crime) are mis-specified. Importantly, we can now see the exact
      timing and pattern of the estimated impact on crime, which can, and in this case
      does, provide further support for a causal interpretation of the estimated increase in
      violent crime.
             In contrast to the ideal performance of the DAW violent crime model, all of the
      Table 4 regressions using the LM model perform extremely poorly. For example, con-
      sider the LM model for firearm murder depicted in Figure 3, which shows that there is


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      Figure 2:     The impact of RTC laws on violent crime, DAW model, 1979−2014.




      NOTE: We regress crime on dummies for pre− and post−passage years and DAW covariates. Reference year is
      year before adoption and adoption year is first year with RTC in place at any time, meaning that in states that adopt
      after January 1, this will capture only a partial effect of RTC laws. We display the 95 percent confidence interval for each
      estimate using cluster-robust standard errors and show the number of states that contribute to each estimate.


      an enormously steep downward trend in the values of the pre-adoption dummies.
      Indeed, we see that the downward trend reverses just at the time of adoption of the
      RTC law and after six years we observe statistically significant increases in firearm

      Figure 3:     The impact of RTC laws on firearm murder, LM model, 1977–2014




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      murder above the prior trend. Thus, while Table 4 ostensibly showed a statistically
      insignificant 3.9 percent drop in violent crime, the more discerning analysis of
      Figure 3 shows that that estimate is econometrically invalid, given such an influential
      violation of the parallel trends requirement. In fact, the LM model estimated for
      Figure 3 provides evidence that the adoption of RTC laws reversed a previous benign
      trend starting exactly at the time of RTC adoption and led to higher levels of fire-
      arm homicide.
             Appendix D depicts the same year-by -year estimates for the other crimes using
      both the DAW and LM models. It is worth noting that, for our entire data period, the
      four DAW and LM murder and firearm murder figures show an apparent malign break
      in trend at the time of RTC adoption, while the trend for non-firearm murder remains
      unchanged in the DAW and LM models. The unchanged downward trend in the LM
      non-firearm model illustrates the violation of the parallel trends assumption, invalidating
      the anomalous finding for that crime in Panel A of Table 4.45
             For the DAW and LM property crime panel data estimates, we see almost the same
      pattern. While the pre-adoption performance of the DAW property crime model (see
      Appendix Figure D2) is not quite as perfect as it was for violent crime, it still shows a
      roughly flat pattern for the eight years prior to adoption, followed by a persistent
      pattern of increasing property crime in the 10 years after RTC adoption. The increase in
      property crime turns statistically significant at the time of adoption. In Appendix
      Figure D3, however, we again see the same deficient pattern observed for the LM model
      in Appendix Figure D1: property crime falls in the 10 years prior to adoption, and the
      pattern reverses itself, leading to increasing property crime in the decade following RTC
      adoption.
             We also conducted a panel data assessment looking at the 11 states that adopted
      RTC laws in the period from 2000–2014 when the confounding effect of the crack epi-
      demic had subsided. The results provide further support that RTC laws increase crime,
      including estimates that overall murder and firearm murder rise substantially with RTC
      adoption. See further discussion and relevant figures and estimates in Appendix C.
      Figure 4 shows the year-by-year estimated effect of RTC laws on overall murder for the
      DAW model for this postcrack time period. The figure shows a flat pretrend (albeit with
      some variance around it) and then a sizeable jump in murder starting just at the year of
      RTC adoption. The LM model shows substantially the same statistically significant
      increase in murder.




      45
        Appendix Figure D1 also illustrates why the LM dummy model estimate on violent crime in Panel A of Table 4
      was not positive and statistically significant (as it was for the DAW model in Table 3 and the modified LM models
      in Panels B and C of Table 4): Appendix Figure D1 reveals that, for the LM model, violent crime was trending
      down throughout the pre-adoption period, dropping from 5 percentage points to zero over that decade, at which
      point it reverses and violent crime increases to roughly a 6 percent increase by 10 years after RTC adoption. The v-
      shape pattern over that two-decade period leads the LM dummy model to obscure the increase in violent crime
      that is clearly seen in Appendix Figure D1.


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      Figure 4:   The impact of RTC laws on murder, DAW model, 2000–2014




      B. Summary of Panel Data Analysis

      The uncertainty about the impact of RTC laws on crime expressed in the NRC Report
      was based on an analysis of data only through 2000. The preceding evaluation of an
      array of different specifications over the full data period from the late 1970s through
      2014 as well as in the postcrack period has given consistent evidence that something
      bad happened to murder and violent and property crime right at the time of RTC
      adoption. The most statistically significant crime increases for the full period were
      seen for DAW violent and property crime. For the postcrack period, the largest and
      most highly statistically significant increases were seen for murder and firearm
      murder.
            Other work has also provided evidence that RTC laws increase murder and/or
      overall violent crime—see Zimmerman (2014), examining postcrack-era data and the
      recent work by Donohue (2017b) and Siegel et al. (2017) concluding that RTC laws
      increase firearm and handgun homicide. Work by McElroy and Wang (2017) reinforces
      this conclusion, with results from a dynamic model that accounts for forward-looking
      behavior finding that violent crime would be one-third lower if RTC laws had not been
      passed. We discuss other recent published studies finding that RTC laws increase violent
      crime in Appendix C.
            Despite the substantial panel data evidence in the post-NRC literature that supports
      the finding of the pernicious influence of RTC laws on crime, the NRC suggestion that



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      new techniques should be employed to estimate the impact of these laws is fitting. The
      important paper by Strnad (2007) used a Bayesian approach to argue that none of the
      published models used in the RTC evaluation literature rated highly in his model selec-
      tion protocol when applied to data from 1977–1999.
             Durlauf et al. attempt to sort out the different specification choices in evaluating
      RTC laws by using their own Bayesian model averaging approach using county data
      from 1979–2000. Applying this technique, the authors find that in their preferred
      spline (trend) model, RTC laws elevate violent crime in the three years after RTC
      adoption: “As a result of the law being introduced, violent crime increases in the first
      year and continues to increase afterwards” (2016:50). By the third year, their preferred
      model suggests a 6.5 percent increase in violent crime. Since their paper only provides
      estimates for three postpassage years, we cannot draw conclusions beyond this but
      note that their finding that violent crime increases by over 2 percent per year owing
      to RTC laws is a substantial crime increase. Moreover, the authors note: “For our esti-
      mates, the effect on crime of introducing guns continues to grow over time”
      (2016:50).46
             Owing to the substantial challenges of estimating effects from observational data, it
      will be useful to see if yet another statistical approach that has different attributes from
      the panel data methodology can enhance our understanding of the impact of RTC laws.
      The rest of this article will use this synthetic control approach, which has been deemed
      “arguably the most important innovation in the policy evaluation literature in the last
      15 years” (Athey & Imbens 2017).



      IV. Estimating the Impact of RTC Laws Using Synthetic
          Controls
      The synthetic control methodology, which is becoming increasingly prominent in eco-
      nomics and other social sciences, is a promising new statistical approach for addressing
      the impact of RTC laws.47 While most synthetic control papers focus on a single



      46
        While our analysis focused on crime at the state level, there is obviously heterogeneity in crime rates within
      states, which is amalgamated into our population-weighted state average figures. A paper by Kovandzic et al.
      (KMV) buttresses the view that our state-focused estimates are not giving a misleading impression of the impact of
      RTC laws on violent crime. KMV limited their analysis to urban areas within each state, estimating the impact of
      RTC laws on crime using a panel data analysis from 1980–2000 on 189 cities with a population of 100,000 or more
      (Kovandzic et al. 2005). Although they did not estimate an overall violent crime effect, they did report that RTC
      laws were associated with a highly statistically significant increase in the rate of aggravated assault, the largest single
      component of violent crime. Their figures suggest that RTC laws led to a 20.1 percent increase in aggravated
      assault in the 10 years following adoption.

      47
        The synthetic control methodology has been deployed in a wide variety of fields, including health economics
      (Nonnemaker et al. 2011), immigration economics (Bohn et al. 2014), political economy (Keele 2009), urban eco-
      nomics (Ando 2015), the economics of natural resources (Mideksa 2013), and the dynamics of economic growth
      (Cavallo et al. 2013).


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      treatment in a single geographic region, we look at 33 RTC adoptions occurring over
      three decades throughout the country. For each adopting (“treated”) state we will find a
      weighted average of other states (“a synthetic control”) designed to serve as a good coun-
      terfactual for the impact of RTC laws because it had a pattern of crime similar to that of
      the adopting state prior to RTC adoption. By comparing what actually happened to crime
      after RTC adoption to the crime performance of the synthetic control over the same
      period, we generate estimates of the causal impact of RTC laws on crime.48


      A. The Basics of the Synthetic Control Methodology

      The synthetic control method attempts to generate representative counterfactual units by
      comparing a treatment unit (i.e., a state adopting an RTC law) to a set of control units
      across a set of explanatory variables over a preintervention period. The algorithm
      searches for similarities between the treatment state of interest and the control states dur-
      ing this period and then generates a synthetic counterfactual unit for the treatment state
      that is a weighted combination of the component control states.49 Two conditions are
      placed on these weights: they must be nonnegative and they must sum to 1. In general,
      the matching process underlying the synthetic control technique uses pretreatment
      values of both the outcome variable of interest (in our case, some measure of crime) and
      other predictors believed to influence this outcome variable.50 For the reasons set forth
      in Appendix K, we use every lag of the dependent variable as predictors in the DAW and
      LM specifications. Once the synthetic counterfactual is generated and the weights associ-
      ated with each control unit are assigned, the synth program then calculates values for the
      outcome variable associated with this counterfactual and the root mean squared predic-
      tion error (RMSPE) based on differences between the treatment and synthetic control
      units in the pretreatment period. The effect of the treatment can then be estimated by
      comparing the actual values of the dependent variable for the treatment unit to the
      corresponding values of the synthetic control.


      B. Generating Synthetic Controls for 33 States Adopting RTC Laws During Our Data Period

      To illustrate the procedure outlined above, consider the case of Texas, whose RTC law
      went into effect on January 1, 1996. The potential control group for each treatment state


      48
        For a more detailed technical description of this method, we direct the reader to Abadie and Gardeazabal
      (2003) and Abadie et al. (2010, 2014).

      49
        Our analysis is done in Stata using the synth software package developed by Alberto Abadie, Alexis Diamond, and
      Jens Hainmueller.

      50
        Roughly speaking, the algorithm that we use finds W (the weights of the components of the synthetic control)
                      pﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃ
      that minimizes ðX1  X0 W Þ0VðX1  X0 WÞ, where V is a diagonal matrix incorporating information about the rel-
      ative weights placed on different predictors, W is a vector of nonnegative weights that sum to 1, X1 is a vector con-
      taining pretreatment information about the predictors associated with the treatment unit, and X0 is a matrix
      containing pretreatment information about the predictors for all the control units.


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      consists of all nine states with no RTC legislation as of the year 2014, as well as states that
      pass RTC laws at least 10 years after the passage of the treatment state (e.g., in this case,
      the five states passing RTC laws after 2006, such as Nebraska and Kansas, whose RTC laws
      went into effect at the beginning of 2007). Since we estimate results for up to 10 years
      postpassage,51 this restriction helps us avoid including states with their own permissive
      concealed carry laws in the synthetically constructed unit (which would mar the control
      comparison).
             After entering the necessary specification information into the synth program
      (e.g., treatment unit, list of control states, explanatory variables, etc.), the algorithm pro-
      ceeds to construct the synthetic unit from the list of control states specific to Texas and
      generates values of the dependent variable for the counterfactual for both the pre-
      treatment and posttreatment periods. The rationale behind this methodology is that a
      close fit in the prepassage time series of crime between the treatment state and the syn-
      thetic control generates greater confidence in the accuracy of the constructed counter-
      factual. Computing the posttreatment difference between the dependent variables of the
      treatment state and the synthetic control unit provides the synthetic control estimate of
      the treatment effect attributable to RTC adoption in that state.



      1. Synthetic Control Estimates of Violent Crime in Two States

      Figure 5 shows the synthetic control graph for violent crime in Texas over the period
      from 1977 through 2006 (10 years after the adoption of Texas’s RTC law). The solid
      black line shows the actual pattern of violent crime for Texas, and the vertical line indi-
      cates when the RTC law went into effect. Implementing the synthetic control protocol
      identifies three states that generate a good fit for the pattern of crime experienced by
      Texas in the pre-1996 period. These states are California, which gets a weight of 57.7 per-
      cent owing to its similar attributes compared to Texas, Nebraska with a weight of 9.7 per-
      cent, and Wisconsin with a weight of 32.6 percent.
            One of the advantages of the synthetic control methodology is that one can assess
      how well the synthetic control (call it “synthetic Texas,” which is identified in Figure 5
      by the dashed line) matches the pre-RTC-passage pattern of violent crime to see
      whether the methodology is likely to generate a good fit in the 10 years of postpassage
      data. Here the fit looks rather good in mimicking the rises and falls in Texas violent
      crime from 1977–1995. This pattern increases our confidence that synthetic Texas will
      provide a good prediction of what would have happened in Texas had it not adopted
      an RTC law.
            Looking at Figure 5, we see that while both Texas and synthetic Texas (the
      weighted average violent crime performance of the three mentioned states) show
      declining crime rates in the postpassage decade after 1996, the crime drop is


      51
        Our choice of 10 years is informed by the tradeoffs associated with using a different timeframe. Tables 5 and 6
      indicate that the increase in violent crime due to RTC laws is statistically significant at the .01 level for all years
      after seven years post-adoption.


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      Figure 5:    Texas: Violent crime rate.




      Effect of 1996 RTC Law 10 Years After Adoption: 16.9%
      NOTE: Passage Year Difference From SC: 3.6% Composition of SC: CA (0.577); NE (0.097); WI (0.326) CVRMSPE:
      0.06 (8 of 33 states, where 1 denotes the state with the best pre-passage fit.).
      States Never Passing RTC Laws Included in Synthetic Control: CA;
      RTC Adopting States Included in Synthetic Control: NE (2007); WI (2012).


      substantially greater in synthetic Texas, which had no RTC law over that period, than in
      actual Texas, which did. As Figure 5 notes, 10 years after adopting its RTC law, violent
      crime in Texas was 16.9 percent higher than we would have expected had it not adopted
      an RTC law.52
            Figure 5 also illustrates perhaps the most important lesson of causal inference: one
      cannot simply look before and after an event to determine the consequence of the event.
      Rather, one needs to estimate the difference between what did unfold and the counter-
      factual of what would have unfolded without the event. The value of the synthetic control
      methodology is that it provides a highly transparent estimate of that counterfactual, using
      a tool designed to ensure the validity of the parallel trends assumption that we have
      already seen is so critical to achieving meaningful causal estimates. Thus, when Lott



      52
        Texas’s violent crime rate 10 years post-adoption exceeds that of “synthetic Texas” by 20.41 percent
       = 517:3 429:6
            429:6     × 100%. While some researchers would take that value as the estimated effect of RTC, we chose to sub-
      tract off the discrepancy in 1996 between the actual violent crime rate and the synthetic control value in that year.
      This discrepancy is 3.55 percent = 644:4  622:3
                                              622:3    × 100% (shown in the line just below the graph of Figure 5). See foot-
      note 58 for further discussion of this calculation. Figure 5 shows a (rounded) estimated violent crime increase in
      Texas of 16.9 percent. We arrive at this estimate by subtracting the 1996 discrepancy of 3.55 percent from the
      20.41 percent 10th-year discrepancy, which generates a TEP of 16.86 percent.


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      (2010) quotes a Texas District Attorney suggesting that he had reversed his earlier opposition
      to the state’s RTC law in light of the perceived favorable experience with the law, we see why
      it can be quite easy to draw the inaccurate causal inference that Texas’s crime decline was
      facilitated by its RTC law. The public may perceive the falling crime rate post-1996 (the
      solid black line), but our analysis suggests that Texas would have experienced a more
      sizable violent crime decline if it had not passed an RTC law (the dotted line). More
      specifically, Texas experienced a 19.7 percent decrease in its aggregate violent crime
      rate in the 10 years following its RTC law (between 1996 and 2006), while the state’s
      synthetic control experienced a larger 31.0 percent decline. This counterfactual would
      not be apparent to residents of the state or to law enforcement officials, but our
      results suggest that Texas’s RTC law imposed a large social cost on the state.
              The greater transparency of the synthetic control approach is one advantage of this
      methodology over the panel data models that we considered above. Figure 5 makes clear
      what Texas is being compared to, and we can reflect on whether this match is plausible
      and whether anything other than RTC laws changed in these three states during the post-
      passage decade that might compromise the validity of the synthetic control estimate of
      the impact of RTC laws.
              Figure 6 shows our synthetic control estimate for Pennsylvania, which adopted an
      RTC law in 1989 that did not extend to Philadelphia until a subsequent law went into

      Figure 6: Pennsylvania: Violent crime rate.




      Effect of 1989 RTC Law 10 Years After Adoption: 24.4%
      NOTE: Passage Year Difference From SC: -1.1%. Composition of SC: DE (0.078); HI (0.073); MD (0.038); NE
      (0.016); NJ (0.103); OH (0.27); WI (0.424) CVRMSPE: 0.017 (1 of 33 states, where 1 denotes the state with the best
      pre-passage fit.).
      States Never Passing RTC Laws Included in Synthetic Control: DE; HI; MD; NJ;
      RTC Adopting States Included in Synthetic Control: NE (2007); OH (2004); WI (2012).


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      Figure 7: The effect of RTC laws on violent crime after 10 years, synthetic control esti-
      mates for 31 states (1977–2014).




      effect on October 11, 1995. In this case, synthetic Pennsylvania is comprised of eight
      states and the prepassage fit is nearly perfect. Following adoption of the RTC laws, syn-
      thetic Pennsylvania shows substantially better crime performance than actual Pennsylva-
      nia after the RTC law is extended to Philadelphia in late 1995, as illustrated by the
      second vertical line at 1996. The synthetic control method estimates that RTC laws in
      Pennsylvania increased its violent crime rate by 24.4 percent after 10 years.53


      2. State-Specific Estimates Across All RTC States

      Because we are projecting the violent crime experience of the synthetic control over a
      10-year period, there will undoubtedly be a deviation from the “true” counterfactual and
      our estimated counterfactual. If we were only estimating the impact of a legal change for
      a single state, we would have an estimate marred by this purely stochastic aspect of chang-
      ing crime. Since we are estimating an average effect across a large number of states, the



      53
        In Appendix I, we include all 33 graphs showing the path of violent crime for the treatment states and the syn-
      thetic controls, along with information about the composition of these synthetic controls, the dates of RTC adop-
      tion (if any) for states included in these synthetic controls, and the estimated treatment effect (expressed in terms
      of the percent change in a particular crime rate) 10 years after adoption (or seven years after adoption for two
      states that adopted RTC laws in 2007, since our data end in 2014). The figures also document the discrepancy in
      violent crime in the year of adoption between the actual and synthetic control values.


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      stochastic variation will be diminished as the overestimates and underestimates will tend
      to wash out in our mean treatment estimates. Figure 7 shows the synthetic control esti-
      mates on violent crime for all 31 states for which we have 10 years of postpassage data.
      For 23 of the 31 states adopting RTC laws, the increase in violent crime is noteworthy.54
      Although three states were estimated to have crime reductions greater than the –1.6 per-
      cent estimate of South Dakota, if one averages across all 31 states, the (population-
      weighted) mean treatment effect after 10 years is a 14.3 percent increase in violent crime.
      If one instead uses an (unweighted) median measure of central tendency, RTC laws are
      seen to increase crime by 12.3 percent.


      3. Less Effective Prepassage Matches

      Section IV.B.1 provided two examples of synthetic controls that matched the crime of the
      treatment states well in the prepassage period, but this does not always happen. For
      example, we would have considerably less confidence in the quality of the synthetic con-
      trol estimates for Maine, whose poor estimate is depicted in Appendix Figure I11. Maine
      also happens to be the state showing the greatest reduction in violent crime following
      RTC adoption, as indicated in Figure 7.
             For Maine, one sees that the synthetic control and the state violent crime perfor-
      mance diverged long before RTC adoption in 1986, and that, by the date of adoption,
      Maine’s violent crime rate was already 37.9 percent below the synthetic control estimate.
      The violent crime rate of actual Maine was trending down, while the synthetic control
      estimate had been much higher and trending up in the immediate pre-adoption period.
      The difficulty in generating good prepassage matches for states like Maine stems from
      their unusually low violent crime in the prepassage period.
             Appendix Figure D11 reproduces Figure 7 while leaving out the five states for
      which the quality of prepassage fit is clearly lower than in the remaining 26 states.55
      This knocks out North Dakota, South Dakota, Maine, Montana, and West Virginia,
      thereby eliminating three of the five outlier estimates at both ends of the scale, and
      leaving the mean and median effects of RTC laws relatively unchanged from Figure 7.
      As Appendix Figure D11 shows, the (weighted) mean increase in crime across the
      listed 26 RTC-adopting states is 13.7 percent while the (unweighted) median increase
      is now 11.1 percent. Increases in violent crime of this magnitude are troubling.
      Consensus estimates of the elasticity of crime with respect to incarceration hover
      around 0.15 today, which suggests that to offset the increase in crime caused by RTC
      adoption, the average RTC state would need to approximately double its prison
      population.



      54
       The smallest of these, Kentucky, had an increase of 4.6 percent.

      55
        In particular, for these five states, the prepassage CVRMSPE—that is, the RMSPE transformed into a coefficient
      of variation by dividing by the average prepassage crime rate—was 19 percent or greater. See note 61 for further
      discussion of this statistic.


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      V. Aggregation Analysis Using Synthetic Controls
      A small but growing literature applies synthetic control techniques to the analysis of mul-
      tiple treatments.56 We estimate the percentage difference in violent crime between each
      treatment (RTC-adopting) state and the corresponding synthetic control in both the year
      of the treatment and in the 10 years following it. This estimate of the treatment effect
      percentage (TEP) obviously uses data from fewer posttreatment years for the two treat-
      ment states57 in which RTC laws took effect less than 10 years before the end of our
      sample.
             We could use each of these 10 percentage differences as our estimated effects of
      RTC laws on violent crime for the 10 postpassage years, but, as noted above, we make
      one adjustment to these figures by subtracting from each the percentage difference in
      violent crime in the adoption year between the treatment and synthetic control states. In
      other words, if 10 years after adopting an RTC law, the violent crime rate for the state
      was 440 and the violent crime rate for the synthetic control was 400, one estimate of the
                                                       400
                                                            
      effect of the RTC law could be 10 percent = 440400      . Rather than use this estimate, how-
      ever, we have subtracted from this figure the percentage difference between the synthetic
      and treatment states in the year of RTC adoption. If, say, the violent crime rate in the
      treatment state that year was 2 percent higher than the synthetic control value, we would
      subtract 2 from 10 to obtain an estimated 10th-year effect of RTC laws of 8 percent.58 We



      56
        The closest paper to the present study is Arindrajit Dube and Ben Zipperer (2013), who introduce their own
      methodology for aggregating multiple events into a single estimated treatment effect and calculating its signifi-
      cance. Their study centers on the effect of increases in the minimum wage on employment outcomes, and, as we
      do, the authors estimate the percentage difference between the treatment and the synthetic control in the post-
      treatment period. While some papers analyze multiple treatments by aggregating the areas affected by these treat-
      ments into a single unit, this approach is not well-equipped to deal with a case such as RTC law adoption where
      treatments affect the majority of panel units and more than two decades separate the dates of the first and last
      treatment under consideration, as highlighted in Figure 7.

      57
       These two states are Kansas and Nebraska, which adopted RTC laws in 2007. See note 4 discussing the states for
      which we cannot estimate the impact of RTC laws using synthetic controls.

      58
        It is unclear ex ante whether one should implement this subtraction. The intuitive rationale for our choice of
      outcome variable was that pretreatment differences between the treatment state and its synthetic control at the
      time of RTC adoption likely reflected imperfections in the process of generating a synthetic control and should
      not contribute to our estimated treatment effect if possible. In other words, if the treatment state had a crime
      rate that was 5 percent greater than that of the synthetic control in both the pretreatment and posttreatment
      period, it would arguably be misleading to ignore the pretreatment difference and declare that the treatment
      increased crime rates by 5 percent. On the other hand, subtracting off the initial discrepancy might be adding
      noise to the subsequent estimates.
         We resolve this issue with the following test of our synthetic control protocol: we pretend that each RTC-
      adopting state actually adopted its RTC law five years before it did. We then generate synthetic control estimates
      of this phantom law over the next five years of actual pretreatment data. If our synthetic control approach is
      working perfectly, it should simply replicate the violent crime pattern for the five pretreatment years. Conse-
      quently, the estimated “effect” of the phantom law should be close to zero. Indeed, when we follow our subtrac-
      tion protocol, the synthetic controls match the pretreatment years more closely than when we do not provide
      this normalization. Specifically, with subtraction the estimated “effect” in the final pretreatment year is a wholly
      insignificant 3.2 percent; without subtraction, it jumps to a statistically significant 5.3 percent. Consequently,


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      then look across all the state-specific estimates of the impact of RTC laws on violent crime
      for each of the 10 individual postpassage years and test whether they are significantly dif-
      ferent from zero.59



      A. RTC Laws Increase Violent Crime

      We begin our analysis of the aggregated synthetic control results using predictors
      derived from the DAW specification. Table 5 shows our results on the full sample
      examining violent crime.60 Our estimates of the normalized average treatment effect
      percentage (TEP) suggest that states that passed RTC laws experienced more deleteri-
      ous changes in violent criminal activity than their synthetic controls in the 10 years
      after adoption. On average, treatment states had aggregate violent crime rates that
      were almost 7 percent higher than their synthetic controls five years after passage and
      around 14 percent higher 10 years after passage. Table 5 suggests that the longer the
      RTC law is in effect (up to the 10th year that we analyze), the greater the cost in
      terms of increased violent crime.
            As we saw in Figures 6 (Pennsylvania) and I11(Maine), the validity of using the
      posttreatment difference between crime rates in the treatment state (the particular state
      adopting an RTC law that we are analyzing) and its corresponding synthetic control as a
      measure of the effect of the RTC law depends on the strength of the match between
      these two time series in the pretreatment period. To generate an estimate of pre-
      treatment fit that takes into account differences in pretreatment crime levels, we estimate
      the coefficient of variation for the root mean squared prediction error (RMSPE), which




      normalization is the preferred approach for violent crime. It should also be noted that our actual synthetic con-
      trol estimates will be expected to perform better than this phantom RTC estimate since we will be able to derive
      our synthetic controls from five additional years of data, thereby improving our pretreatment fit.
         As it turns out, the choice we made to subtract off the initial-year crime discrepancy is a conservative one, in
      that the estimated crime increases from RTC laws would be greater without subtraction. We provide synthetic con-
      trol estimates for the DAW model without subtraction of the adoption-year percentage difference for violent
      crime, murder, and property crime in Appendix F. Comparison of these Appendix F estimates with those in the
      text (Table 5) reveals that our preferred method of subtracting yields more conservative results (i.e., a smaller
      increase in violent crime due to RTC). In Table 5, we estimate the 10th-year TEP for violent crime as roughly
      13.5 to 14.3 percent, while the comparable estimates without subtraction are roughly 17–18 percent, as seen in
      Appendix Tables F1, F2, and F3. Indeed, without subtraction, every estimated impact would show RTC laws lead
      to a statistically significant increase in every crime category we consider except non-firearm homicide, as seen in
      Appendix F.

      59
        This test is performed by regressing these differences in a model using only a constant term and examining
      whether that constant is statistically significant. These regressions are weighted by the population of the treatment
      state in the posttreatment year under consideration. Robust standard errors corrected for heteroskedasticity are
      used in this analysis.

      60
       We discuss the synthetic control estimates for murder and property crime in Section V.F.


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            Table 5:    The Impact of RTC Laws on the Violent Crime Rate, DAW Covariates, Full Sample, 1977–2014
                                                      (1)        (2)        (3)         (4)         (5)         (6)         (7)           (8)           (9)          (10)

            Average normalized treatment           –0.117      2.629*     3.631*     4.682**     6.876***    7.358**     10.068***     12.474***    14.021***     14.344***
            effect percentage (TEP)                (1.076)     (1.310)    (1.848)    (2.068)     (2.499)     (3.135)     (2.823)       (3.831)      (3.605)       (2.921)
            N                                      33          33         33         33          33          33          33            31           31            31
            Pseudo p value                         0.936       0.274      0.220      0.192       0.094       0.106       0.060         0.038        0.032         0.032

            NOTE: Standard errors in parentheses. Column numbers indicate postpassage year under consideration; N = number of states in sample. The synthetic controls method
            is run using the nested option, and each year’s estimate and statistical significance is computed as explained in note 59. *p < 0.10; **p < 0.05; ***p < 0.01.




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      is the ratio of the synthetic control’s pretreatment RMSPE to the pretreatment average
      level of the outcome variable for the treatment state.61
             To evaluate the sensitivity of the aggregate synthetic control estimate of the crime
      impact of RTC laws in Table 5, we consider two subsamples of treatment states: states
      whose coefficients of variation are less than two times the average coefficient of varia-
      tion for all 33 treatments and states whose coefficients of variation are less than this
      average. We then rerun our synthetic control protocol using each of these two subsam-
      ples to examine whether restricting our estimation of the average treatment effect to
      states for which a relatively “better” synthetic control could be identified would mean-
      ingfully change our findings.
             All three samples yield roughly identical conclusions: RTC laws are consistently
      shown to increase violent crime, with the 10th-year increase ranging from a low of 13.5
      (when we remove the six states with above-average values of the CV RMSPE) to a high of
      14.3 percent (Table 5).


      B. The Placebo Analysis

      Our ability to make valid inferences from our synthetic control estimates depends on the
      accuracy of our standard error estimation. To test the robustness of the standard errors
      that we present under the first row of Table 5, we incorporate an analysis using placebo
      treatment effects similar to Ando (2015).62 For this analysis, we generate 500 sets of ran-
      domly generated RTC dates that are designed to resemble the distribution of actual RTC


      61
         While the RMSPE is often used to assess this fit, we believe that the use of this measure is not ideal for comparing
      fit across states, owing to the wide variation that exists in the average pretreatment crime rates among the 33 treat-
      ment states that we consider. For example, the pretreatment RMPSE associated with our synthetic control analysis
      using the DAW predictor variables and aggregate violent crime as the outcome variable is nearly identical for Texas
      (37.1) and Maine (36.4), but the pretreatment levels of Texas’s aggregate violent crime rate are far greater than
      Maine’s. To be more specific, Texas’s average violent crime rate prior to the implementation of its RTC law (from
      1977 through 1995) was 617 violent crimes per 100,000 residents, while the corresponding figure for Maine was
      186 violent crimes per 100,000 residents, less than one-third of Texas’s rate. The more discerning CV of the
      RMSPE is 0.06 for Texas (with a year of adoption discrepancy of only 3.6 percent), while for Maine, the CV is a dra-
      matically higher at 0.196 (with an initial year discrepancy of –37.9 percent). Accordingly, since the percentage
      imprecision in our synthetic pretreatment match for Maine is so much greater than for Texas, we have greater con-
      fidence in our estimates that in the 10th year, Texas’s RTC law had increased violent crime by 16.9 percent than
      we do in an estimate that Maine’s law had decreased violent crime by 16.5 percent.

      62
        Ando (2015) examines the impact of constructing nuclear plants on local real per capita taxable income in
      Japan by generating a synthetic control for every coastal municipality that installed a nuclear plant. Although the
      average treatment effect measured in our article differs from the one used by Ando, we follow Ando in repeatedly
      estimating average placebo effects by randomly selecting different areas to serve as placebo treatments. (The sheer
      number of treatments that we are considering in this analysis prevents us from limiting our placebo treatment
      analysis to states that never adopt RTC laws, but this simply means that our placebo estimates will likely be biased
      against finding a qualitatively significant effect of RTC laws on crime, since some of our placebo treatments will be
      capturing the effect of the passage of RTC laws on crime rates.) Our estimated average treatment effect can then
      be compared to the distribution of average placebo treatment effects. Heersink and Peterson (2016) and Cavallo
      et al. (2013) also perform a similar randomization procedure to estimate the significance of their estimated aver-
      age treatment effects, although the randomization procedure in the latter paper differs from ours by restricting
      the timing of placebo treatments to the exact dates when actual treatments took place.


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      passage dates that we use in our analysis.63 For each of the 500 sets of randomly gener-
      ated RTC dates, we then use the synthetic control methodology and the DAW predictors
      to estimate synthetic controls for each of the 33 states whose randomly generated adop-
      tion year is between 1981 and 2010. We use these data to estimate the percentage differ-
      ence between each placebo treatment and its corresponding synthetic control during
      both the year of the treatment and each of the 10 posttreatment years (for which we have
      data) that follow it. Using the methodology described in notes 52 and 58, we then test
      whether the estimated treatment effect for each of the 10 posttreatment years is statisti-
      cally significant.
             To further assess the statistical significance of our results, we compare each of
      the 10 coefficient estimates in Table 5 with the distribution of the 500 average pla-
      cebo treatment effects that use the same crime rate, posttreatment year, and sample
      as the given estimate. To assist in this comparison process, we report a pseudo p value
      that is equal to the proportion of our placebo treatment effects whose absolute value
      is greater than the absolute value of the given estimated treatment effect. This pseudo
      p value provides another intuitive measure of whether our estimated average treatment
      effects are qualitatively large compared to the distribution of placebo effects. Our con-
      fidence that the treatment effect that we are measuring for RTC laws is real increases
      if our estimated treatment effect is greater than the vast majority of our estimated
      average placebo treatment effects. Examining our pseudo p values in Table 5, we see
      that our violent crime results are always statistically significant in comparison to the
      distribution of placebo coefficients at the 0.05 level eight years or more past RTC
      adoption.



      C. Synthetic Control Estimates Using LM’s Explanatory Variables

      In our Section III panel data analysis, we saw that RTC laws were associated with signifi-
      cantly higher rates of violent crime in the DAW model (Table 3), but not in the LM
      model (Table 4, Panel A). Under the synthetic controls approach, however, we find that
      the results are the same whether one uses the DAW or LM explanatory variables. This is
      necessarily true when one uses yearly lags in implementing the synthetic controls – see
      Kaul et al. (2016) -- but it is also true when we use three lags of the dependent variable in
      our synthetic control protocol, as shown in Table 6. The detrimental effects of RTC laws
      on violent crime rates are statistically significant at the 0.05 level starting three years after
      the passage of an RTC law, and appear to increase over time. The treatment effects asso-
      ciated with violent crime in Table 6 range from 9.6 percent in the seventh posttreatment
      year to 12.8 percent in the 10th posttreatment year. Remarkably, the DAW and LM syn-
      thetic control estimates of the impact of RTC laws on violent crime are nearly identical


      63
        More specifically, we randomly choose eight states to never pass RTC laws, six states to pass RTC laws before
      1981, 33 states to pass RTC laws between 1981 and 2010, and three states to pass their RTC laws between 2011 and
      2014. (Washington, DC is not included in the placebo analysis since it is excluded from our main analysis.) These
      figures were chosen to mirror the number of states in each of these categories in our actual data set.


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            Table 6:    The Impact of RTC Laws on the Violent Crime Rate, LM covariates, Full Sample, 1977–2014
                                             (1)          (2)          (3)          (4)          (5)           (6)          (7)             (8)            (9)            (10)

            Average Normalized TEP         0.309        1.981        4.063*       5.211*       7.159**      6.981**      9.644***       11.160***      12.115***       12.794***
                                           (1.318)      (1.646)      (2.192)      (2.572)      (2.887)      (3.319)      (3.016)        (3.680)        (3.857)         (3.200)
            N                              33           33           33           33           33           33           33             31             31              31

            NOTE: Standard errors in parentheses. Column numbers indicate post-passage year under consideration; N = number of states in sample. The synthetic controls method
            is run using the non-nested option, and each year’s estimate and statistical significance is computed as explained in footnote 59. *p < 0.10; **p < 0.05; ***p < 0.01.




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      (compare Tables 6 and Appendix Table K1), and this is true even when we limit the sam-
      ple of states in the manner described above.64



      D. The Contributions of Donor States to the Synthetic Control Estimates: Evaluating Robustness

      One of the key elements of the synthetic control approach is its selection among plausi-
      ble control states. For each state adopting an RTC law in year X, the approach selects
      among states that do not have RTC laws through at least ten years after X, including
      never-adopting states. Appendix Figure D10 lists all the states that are eligible under this
      criterion to serve as synthetic controls for one or more of the 33 adopting states, and
      shows how often they are selected. The horizontal length of each bar tells us how much
      that state contributes to our synthetic control violent crime estimates.65 As the figure indi-
      cates, Hawaii appears most frequently—contributing to a synthetic control 18 of the
      33 times it is eligible and averaging a 15.2 percent contribution—but California, a sub-
      stantial contributor to multiple large states, edges it out for the largest average contribu-
      tion (18.1 percent).
             Hawaii’s relatively large contribution as a donor state in the synthetic control esti-
      mates has some advantages but also raises concern that this small state might be unre-
      presentative of the states for which it is used as a control. For example, note that the
      largest share of Virginia’s synthetic control comes from Hawaii (27.9 percent), with
      Rhode Island, Kansas, and Nebraska making up the lion’s share of the remaining syn-
      thetic control. We had already mentioned one problem with the panel data analysis cau-
      sed by the tendency of lax gun control states to serve as a source for guns that contribute
      to crime in the non-RTC states, and Virginia has always been a major source of that inter-
      state flow. Since Virginia’s guns are not likely to end up in Hawaii, the bias that the treat-
      ment infects the control is reduced for that particular match. Nonetheless, one may be
      concerned that Hawaii might be unduly skewing the estimates of the impact of RTC laws
      on violent crime.
             To address this, as well as the analogous concern for other potentially idiosyn-
      cratic control states, we generated 18 additional TEP estimates, with each one gener-
      ated by dropping a single one of the 18 states that appears as an element of our
      synthetic control analysis (as identified in Appendix Figure D10). The results of this
      exercise are presented in Appendix Figure D12, which shows that our estimated
      increase in violent crime resulting from the adoption of an RTC law is extremely
      robust: All 18 estimates remain statistically significant at the 0.01 percent level, and


      64
        The 10th-year effect in the synthetic control analysis using the LM variables is 12.4 percent when we eliminate
      the three states with more than twice the average CV of the RMSPE. Knocking out the seven states with above-
      average values of this CV generates a similar 12.5 percent effect.

      65
        In particular, it reflects the portion of each synthetic state it becomes part of, weighted by the treated state’s pop-
      ulation. For example, Texas’s population is 13.6 percent of the total treated states’ population. As a result, a state
      that made up 50 percent of synthetic Texas (but is not a donor for any other treatment state) would have a bar of
      size 6.8 percent.


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      the smallest TEP, which comes from dropping Illinois as a control state, is 12.0 per-
      cent. Note in particular that dropping Hawaii from the list of potential donor states
      slightly increases the estimate of the increase in violent crime caused by RTC laws. In
      fact, when we dropped Hawaii completely as a potential control and repeated the pre-
      vious protocol of dropping one state at a time, the estimated increase in violent crime
      from RTC never fell below 12 percent (which was the value when New York was
      dropped as well as Hawaii). Indeed, the synthetic control finding that RTC laws
      increase violent crime is so robust that even if we drop California, New York, and
      Hawaii from the pool of potential donor states, RTC laws still increase violent crime
      by 8.9 percent after 10 years (p = 0.018).


      E. Does Gun Prevalence Influence the Impact of RTC Laws?

      The wide variation in the state-specific synthetic control estimates that was seen in
      Figures 7 and D11 suggests that there is considerable noise in some of the outlier esti-
      mates of a few individual states. For example, it is highly improbable that RTC laws led to
      a 16.5 percent decrease in violent crime in Maine and an 80.2 percent increase in violent
      crime in Montana, the two most extreme estimates seen in Figure 7. Since averaging
      across a substantial number of states will tend to eliminate the noise in the estimates, one
      should repose much greater confidence in the aggregated estimates than in any individ-
      ual state estimate. Indeed, the fact that we can average across 33 separate RTC-adopting
      states is what generates such convincing and robust estimates of the impact of RTC laws
      on violent crime.
             Another way to distill the signal from the noise in the state-specific estimates is to
      consider whether there is a plausible factor that could explain underlying differences in
      how RTC adoption influences violent crime. For example, RTC laws might influence
      crime differently depending on the level of gun prevalence in the state.
             Figure 8 shows the scatter diagram for 33 RTC-adopting states, and relates the esti-
      mated impact on violent crime to a measure of gun prevalence in each RTC-adopting state.
      The last line of the note below the figure provides the regression equation, which shows
      that gun prevalence is positively related to the estimated increase in crime (t = 2.39).66


      F. The Murder and Property Crime Assessments with Synthetic Controls

      The synthetic control estimates of the impact of RTC laws on violent crime uniformly
      generate statistically significant estimates, and our phantom RTC law synthetic control
      estimates for the five pretreatment years (described in note 58) give us confidence that
      the synthetic control approach is working well for our violent crime estimates, as illus-
      trated in Appendix Table L1. Since the estimated increases in violent crime are


      66
        The gun prevalence data were collected by the data analytics firm YouGov in a 2013 online survey (Kalesan et al.
      2016); 4,486 people were initially surveyed, although only 4,000 results are used in the final data set. YouGov used
      a proximity matching method to select the survey results for inclusion, matching respondents by race, age, gender,
      and education to the demographic breakdown of the 2010 American Community Survey.


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      Figure 8: The impact of gun ownership on the increase in violent crime due to RTC laws
      (synthetic control estimates, 1977−2014).




      NOTE: Treatment effect displayed is for the 10th year after RTC adoption (but 7th post−passage year for Kansas
      and Nebraska). Treatment Effect = −9.15 + 0.69 * Gun Prevalence. t = 2.39; R^2 = 0.16. Regression weighted by
      population in the final TEP year.




      statistically significant and consistently observed in both our panel data and synthetic
      control analyses, these represent our most robust finding.
              Just as we saw in the panel data analysis, the synthetic controls provide evidence of
      increases in the murder and firearm murder categories, but it is weaker and less precise
      than our violent crime estimates. For example, both Appendix Tables E1 and E2 show
      estimated crime increases of 8.7 percent (murder) and 15.3 percent (firearm murder),
      but only the 8.7 figure is statistically significant at the 0.10 level. Interestingly, our phan-
      tom law test works well for murder and even suggests statistically significant increases in
      that crime beginning right at the time of RTC adoption (Appendix Table L3). The fire-
      arm murder estimates perform less well in this test, generating an estimated fall in crime
      of 6.8 percent in the year prior to RTC adoption (Appendix Table L5).
              The results from implementing this phantom law approach for property crime are
      perhaps our less encouraging estimates. While our estimated “effect” in the year prior to
      adoption would ideally be close to zero in this test, for property crime it is 6.9 percent,
      with the latter significant at the 0.10 level. (The full results of this test for all the crime
      categories are shown in Appendix L.) If we accept our normalized estimate for the
      impact of RTC laws on property crime it would give little reason to reject a null hypothe-
      sis of no effect (Appendix Table E8). Because our synthetic control estimates for violent
      crime are validated by our phantom adoption test and generate uniform and highly


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      robust results whether dropping selected donor states or states with poor fit, or using
      either the DAW or LM models, we have greater confidence in and therefore highlight
      our violent crime estimates. Accordingly, we consign our further discussion of the syn-
      thetic control estimates of murder and property crime to Appendix E.



      VI. Conclusion
      The extensive array of panel data and synthetic control estimates of the impact of RTC
      laws that we present uniformly undermine the “More Guns, Less Crime” hypothesis.
      There is not even the slightest hint in the data from any econometrically sound regres-
      sion that RTC laws reduce violent crime. Indeed, the weight of the evidence from the
      panel data estimates as well as the synthetic control analysis best supports the view that
      the adoption of RTC laws substantially raises overall violent crime in the 10 years after
      adoption.
             In our initial panel data analysis, our preferred DAW specification predicted that
      RTC laws have led to statistically significant and substantial increases in violent crime. We
      also presented both panel data and synthetic control estimates that RTC laws substantially
      increase the percentage of robberies committed with a firearm, while having no
      restraining effect on the overall number of robberies. Moreover, to the extent the massive
      theft of guns from carrying guns outside the home generates crime spillovers to non-RTC
      states, our estimated increases in violent crime are downward biased.
             We then supplemented our panel data results using our synthetic control method-
      ology, and the finding from our panel data analysis was strongly buttressed. Whether we
      used the DAW or LM specifications, states that passed RTC laws experienced 13–15 per-
      cent higher aggregate violent crime rates than their synthetic controls after 10 years
      (results that were significant at either the 0.05 or 0.01 level after five years).
             The synthetic control effects that we measure represent meaningful increases in
      violent crime rates following the adoption of RTC laws, and this conclusion remained
      unchanged after restricting the set of states considered based on model fit and after con-
      sidering a large number of robustness checks. The consistency across different specifica-
      tions and methodologies of the finding that RTC elevates violent crime enables far
      stronger conclusions than were possible over a decade ago when the NRC Report was lim-
      ited to analyzing data only through 2000 with the single tool of panel data evaluation.
             The best available evidence using different statistical approaches—panel data
      regression and synthetic control—with varying strengths and shortcomings and with dif-
      ferent model specifications all suggest that the net effect of state adoption of RTC laws is
      a substantial increase in violent crime.


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Easiness of Legal Access to Concealed Firearm
Permits and Homicide Rates in the United States
Michael Siegel, MD, MPH, Ziming Xuan, ScD, SM, MA, Craig S. Ross, PhD, MBA, Sandro Galea, MD, DrPH, MPH, Bindu Kalesan, PhD,
MPH, MSc, Eric Fleegler, MD, MPH, and Kristin A. Goss, PhD, MPP


   Objectives. To examine the relation of “shall-issue” laws, in which permits must be issued                      states, law enforcement ofﬁcials may use their
if requisite criteria are met; “may-issue” laws, which give law enforcement ofﬁcials wide
                                                                                                                   judgment in making decisions about whether
                                                                                                                   to approve or deny a permit application,
discretion over whether to issue concealed ﬁrearm carry permits or not; and homicide rates.
                                                                                                                   whereas in shall-issue states, no judgment is
   Methods. We compared homicide rates in shall-issue and may-issue states and total,
                                                                                                                   involved—the application must be approved
ﬁrearm, nonﬁrearm, handgun, and long-gun homicide rates in all 50 states during the                                unless the applicant is categorically prohibited
25-year period of 1991 to 2015. We included year and state ﬁxed effects and numerous                               from concealed handgun possession. In
state-level factors in the analysis.                                                                               may-issue states, the element of discretion
   Results. Shall-issue laws were signiﬁcantly associated with 6.5% higher total homicide                          allotted to law enforcement is typically
rates, 8.6% higher ﬁrearm homicide rates, and 10.6% higher handgun homicide rates,                                 a judgment regarding the “suitability” or
but were not signiﬁcantly associated with long-gun or nonﬁrearm homicide.                                          “need” of a person to carry a concealed
  Conclusions. Shall-issue laws are associated with signiﬁcantly higher rates of total,                            weapon (Table 2). Law enforcement ofﬁcials
                                                                                                                   have a wide degree of latitude in making
ﬁrearm-related, and handgun-related homicide. (Am J Public Health. 2017;107:1923–
                                                                                                                   these judgments. In shall-issue states, the
1929. doi:10.2105/AJPH.2017.304057)
                                                                                                                   categorical prohibitions consist of a list of
                                                                                                                   speciﬁc criminal convictions.
      See also Donohue, p. 1864, and also Galea and Vaughan, p. 1867.                                                  Unfortunately, the existing literature on
                                                                                                                   the impact of concealed carry laws is in-

F    irearm violence is a major public health
     problem. In 2015, there were approxi-
mately 36 000 ﬁrearm-related deaths in the
                                                  enforcement ofﬁcials had wide discretion
                                                  over whether to issue concealed-carry per-
                                                  mits; these are referred to as “may-issue”
                                                                                                                   consistent. At least 10 national studies have
                                                                                                                   examined the relationship between shall-issue
                                                                                                                   concealed-carry laws and ﬁrearm-related or
United States; 13 463 were homicides, 22 018      states. In 32 states, there was little or no                     total homicide rates at the state level (Table A,
were suicides, and 489 were unintentional         discretion; these are referred to as “shall-issue”               available as a supplement to the online version
injuries.1 During the same year, 72.9% of         states because permits must be issued if req-                    of this article at http://www.ajph.org).3,6–14
homicides were ﬁrearm homicides1 and, of          uisite criteria are met. In an additional 9 states,              In 2 studies, shall-issue laws were found to
these, approximately 90% were committed           there was no permit necessary to carry a                         decrease homicide rates.3,6 In 2 studies, these
with a handgun. A central question in the         concealed handgun; these are referred to                         laws were found to increase homicide rates.7,8
debate about public policies to reduce ﬁrearm     as “permitless-carry” states. The wide varia-                    Six studies reported no clear impact of
violence is whether easier access to concealed
                                                  tion in these policies between states and over                   shall-issue laws on homicide rates.9–14 The
handguns increases or decreases the rate of
                                                  time presents the opportunity to compare                         inconsistency of these results has under-
ﬁrearm-related homicides.2 Some have ar-
                                                  homicide rates between states with varying                       standably created some confusion about what
gued that the feared or actual presence of
                                                  concealed-carry permitting policies to ex-                       approach is most effective to address the
armed citizens may deter violent crime.3
Others have suggested that a higher preva-
                                                  amine the impact of concealed-carry laws                         ﬁrearm violence problem.
lence of people carrying guns will increase the   on homicide.                                                         Most of the published literature on this
likelihood that an altercation results in a fa-       The critical difference between may-issue                    topic includes data that are more than a decade
tality.4 Thus, having a clear understanding       and shall-issue laws is that in may-issue                        old: the most recent year of data analyzed was
of the impact of concealed-carry laws on
ﬁrearm-related homicide would help guide          ABOUT THE AUTHORS
policymakers who are aiming to reduce             Michael Siegel, Ziming Xuan, Craig S. Ross, and Sandro Galea are with the Boston University School of Public Health,
                                                  Boston, MA. Bindu Kalesan is with the Boston University School of Medicine. Eric Fleegler is with Children’s Hospital Boston.
ﬁrearm violence.                                  Kristin A. Goss is with the Sanford School of Public Policy, Duke University, Durham, NC.
    As of the end of 2015, all states allowed        Correspondence should be sent to Michael Siegel, MD, MPH, Department of Community Health Sciences, Boston University
certain persons to carry concealed handguns,      School of Public Health, 801 Massachusetts Ave, Boston, MA 02118 (e-mail: mbsiegel@bu.edu). Reprints can be ordered at http://
                                                  www.ajph.org by clicking the “Reprints” link.
but there were 3 major variations in per-            This article was accepted August 1, 2017.
mitting policy5 (Table 1). In 9 states, law          doi: 10.2105/AJPH.2017.304057

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 TABLE 1—Concealed-Carry Permitting Laws and Age-Adjusted Firearm Homicide Rates by US
                                                                                                2010, and only 3 of the 10 studies examined
 State, 2015, and Status of Laws During the Period of 1991 to 2015                              data past the year 1998 (Table A, available as
                                                                                                a supplement to the online version of this
                                 Age-Adjusted           Status of                               article at http://www.ajph.org). Since 1998,
                              Firearm Homicide       Concealed-Carry     Effective Date of      11 additional states have enacted shall-issue
                                  Rate,a 2015        Permitting Law,    Current (as of 2015)    laws.5 This provides more variation over time
State                            (per 100 000)            2015          Concealed-Carry Law
                                                                                                and a longer follow-up period to examine
Hawaiib                              0.75            May issue              Before 1991         this research question. Moreover, Ayres
New Hampshire                        0.96            Shall issue            Before 1991         and Donohue15 and Hepburn et al.11 have
Rhode Island                         0.99            May issue              Before 1991         suggested that the relationship between
Maine                                1.14            Shall issue            Before 1991         concealed-carry laws and homicide rates may
                                                                                                have been different during the period before
Massachusetts                        1.26            May issue              Before 1991
                                                                                                and after the early 1990s. In addition, studies
Utah                                 1.39            Shall issue            1995                that included homicide rates from before
Idaho                                1.29            Shall issue            Before 1991         1994 were examining a trend that was in-
Iowa                                 1.62            Shall issue            Before 1991         creasing, whereas studies examining homi-
North Dakota                         1.69            Shall issue            Before 1991         cide rates after 1994 were capturing declining
                                                                                                trends. For these reasons, a reexamination
Vermont                              1.76            Permitless carry       Before 1991
                                                                                                of this research question with more recent
Minnesota                            1.77            Shall issue            2003                data is needed.
South Dakota                         1.97            Shall issue            Before 1991             One limitation of the existing literature is
New York                             2.07            May issue              Before 1991         that no previously published research has
Wyoming                              2.16            Permitless carry       2011c               examined the speciﬁc impact of concealed-
                                                                                                carry laws on handgun versus long-gun ho-
Montana                              2.17            Shall issue            Before 1991
                                                                                                micide rates. This is important because if
Washington                           2.32            Shall issue            Before 1991         such laws increase homicide by making it
Oregon                               2.35            Shall issue            Before 1991         easier for people at high risk for violence to
Connecticut                          2.43            May issue              Before 1991         carry handguns, this effect should only be
Colorado                             2.46            Shall issue            2003
                                                                                                observed in relation to handgun-related ho-
                                                                                                micides, not homicides committed with long
Nebraska                             2.67            Shall issue            2007
                                                                                                guns. On the other hand, if permissive
West Virginia                        2.89            Shall issue            Before 1991         concealed-carry laws deter crime by gener-
Wisconsin                            3.18            Shall issue            2011                ating fear among potential perpetrators of
New Jersey                           3.22            May issue              Before 1991         encountering an armed individual, then all
Virginia                             3.29            Shall issue            1995
                                                                                                crime including handgun, long-gun, and
                                                                                                nonﬁrearm homicide should decrease.
Kansas                               3.35            Shall issue            2007
                                                                                                    Another limitation of previous studies is
California                           3.52            May issue              Before 1991         that nearly all of them used linear models.
Arizona                              3.56            Permitless carry       2010c               However, homicide rates represent count
Kentucky                             3.96            Shall issue            1996                data, and the distribution of homicide rates
Texas                                4.04            Shall issue            1995
                                                                                                across states is highly skewed16 (Figure A,
                                                                                                available as a supplement to the online version
Pennsylvania                         4.34            Shall issue            Before 1991
                                                                                                of this article at http://www.ajph.org).
Ohio                                 4.38            Shall issue            2004                Plassmann and Tideman argued that a count
Nevada                               4.49            Shall issue            1995                model (such as a Poisson or negative binomial
North Carolina                       4.54            Shall issue            1995                model) is the most reliable for analyzing
                                                                                                crimes, such as homicides, with low occur-
Indiana                              4.61            Shall issue            Before 1991
                                                                                                rence rates.16 Beyond the Plassmann and
Florida                              4.66            Shall issue            Before 1991
                                                                                                Tideman study, only 1 other study11 used
Michigan                             4.74            Shall issue            2001                a count model.
New Mexico                           4.79            Shall issue            2001                    We examined the relationship between
Alaska                               5.22            Permitless carry       2003c               shall-issue concealed-carry laws and total,
                                                                                                ﬁrearm-related, and non–ﬁrearm-related
                                                                                    Continued   homicide rates, as well as handgun versus
                                                                                                long-gun homicide rates across all 50 states

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  TABLE 1—Continued
                                                                                                                  Vital Statistics death registry maintained by
                                                                                                                  the National Center for Health Statistics,
                                Age-Adjusted                    Status of                                         which is based on standardized death certif-
                             Firearm Homicide                Concealed-Carry                Effective Date of     icates. The completeness of reporting is ap-
                                 Rate,a 2015                 Permitting Law,               Current (as of 2015)   proximately 99%.17 The CDC age-adjusted
State                           (per 100 000)                     2015                     Concealed-Carry Law
                                                                                                                  the rates to the 2000 standard population.
Arkansas                            5.34                     Shall issue                       1995                   The second outcome variable was the
Illinois                            5.45                     Shall issue                       2013               handgun or long-gun homicide rate,
Tennessee                           5.51                     Shall issue                       1994               obtained from the Federal Bureau of In-
Georgia                             5.73                     Shall issue                       Before 1991
                                                                                                                  vestigation’s Uniform Crime Reports, Sup-
                                                                                                                  plemental Homicide Reports (SHR).18
Oklahoma                            5.87                     Shall issue                       1995
                                                                                                                  Although WISQARS does provide mortality
Delaware                            6.12                     May issue                         Before 1991        data from International Classiﬁcation of Diseases,
South Carolina                      7.55                     Shall issue                       1996               Ninth Revision and Tenth Revision, codes
Maryland                            7.69                     May issue                         Before 1991        that can list handgun and long gun as the cause
Missouri                            7.92                     Shall issue                       2003
                                                                                                                  of death, unfortunately, most death certiﬁ-
                                                                                                                  cates involving a ﬁrearm homicide do not
Alabama                             8.43                     Shall issue                       2013
                                                                                                                  specify the type of weapon used. Therefore,
Mississippi                         9.11                     Shall issue                       1991               most ﬁrearm homicide deaths in WISQARS
Louisiana                           9.96                     Shall issue                       1996               are classiﬁed as “other and unspeciﬁed”
                                                                                                                  ﬁrearm, and it is not possible to use these data
Note. “May-issue” states are those in which law enforcement ofﬁcials had wide discretion over whether
to issue concealed-carry permits. “Shall-issue” states are those in which there was little or no discretion;      to disaggregate handgun and long-gun ho-
permits must be issued if requisite criteria are met. “Permitless-carry” states are those in which there was      micides.19 By contrast, the SHR is missing
no permit necessary to carry a concealed handgun.
a
                                                                                                                  data on the type of weapon used in ﬁrearm
  From Centers for Disease Control and Prevention (CDC).1
b
                                                                                                                  homicides in just 13.4% of cases. Thus, the
  Data for Hawaii are unavailable for the years 2010 to 2015 because the CDC’s Web-Based Injury
Statistics Query and Reporting Systems does not report homicide counts fewer than 10. The data here               SHR is the best, if not only, source for
are from 2009.                                                                                                    state-speciﬁc, ﬁrearm type–speciﬁc homicide
c
 Changed from “may issue” to “shall issue” in 1994.                                                               data.
                                                                                                                      The SHR disaggregates ﬁrearm homi-
                                                                                                                  cides into handgun, riﬂe, shotgun, and other
during the 25-year time period of 1991 to                modeled homicide rates in 2 ways: (1) using              (and unknown). We used the handgun
2015 with both count and linear regression               a negative binomial regression with homicide             deaths to generate handgun homicide rates
models. We examined the speciﬁcity of the                rates as the outcome variable and (2) using              and the sum of riﬂe, shotgun, and other gun
relationship between concealed-carry laws                linear regression with log-transformed ho-               deaths to generate long-gun homicide rates
and homicide rates by separately modeling                micide rates as the outcome variable. In both            for each state and year. Although SHR data
ﬁrearm versus nonﬁrearm homicide rates and               cases, we included year and state ﬁxed effects           may include listing of multiple weapons in
then within ﬁrearm-related homicides by                  and controlled for a range of time-varying,              an incident, only 1 weapon may be associ-
modeling handgun versus long-gun homicide                state-level factors.                                     ated with a homicide death.20 Because of
rates. We analyzed the relationship between                                                                       missing data on weapon type, we excluded
shall-issue concealed-carry laws and homicide                                                                     13.4% of ﬁrearm homicide cases in estima-
rates by using both a count and a linear re-             Variables and Data Sources                               ting handgun homicide rates. Nevertheless,
gression model, thus examining the robust-                  Outcome variables. The main outcome                   there was little discrepancy between the
ness of results to the type of model used.               variable was the age-adjusted ﬁrearm homi-               ﬁrearm homicide totals from WISQARS
                                                         cide rate in each year analyzed. For example,            and the SHR, which were correlated at
                                                         Missouri’s shall-issue law went into effect in           r = 0.98.
                                                         2003; thus, we analyzed homicide rates as-                   Because not all local law enforcement
                                                         sociated with Missouri’s shall-issue law for the         agencies complete the supplemental reports,
METHODS                                                  years 2004 to 2015. We obtained homicide                 the SHR data set excludes approximately
   We used a quasi-experimental panel de-                rates from the Centers for Disease Control               10% of all homicides.21 This problem was
sign, taking advantage of changes in state               and Prevention’s (CDC’s) Web-Based Injury                addressed by applying weights that adjusted
concealed-carry permitting laws over time, to            Statistics Query and Reporting Systems                   each state- and year-speciﬁc estimate up to
explore the relationship between these laws              (WISQARS) database.1 This is the ideal                   the overall number of homicides reported
and total, ﬁrearm-related, and non–ﬁrearm-               source for homicide data because there is                in the Uniform Crime Report for that state
related homicide rates in the 50 states                  complete annual reporting from all 50 states             and year. Fox kindly provided us with
over a 25-year period, 1991 to 2015. We                  and because the data are extracted from the              updated SHR ﬁles that added previously

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 TABLE 2—Elements of Discretion in Law Enforcement Decisions to Approve or Deny Concealed Handgun Carry Permits: “May-Issue” US States,
 2015

State                                                           Elements of Discretion                                                                 Citation
California              Applicant must be of “good moral character” and must have “good cause” for issuance of the license.             California Penal Code § 26150, § 26155
Connecticut             Applicant must intend only to make “legal use” of the handgun and must be a “suitable person to                 Connecticut General Statutes § 29-28
                         receive such permit.”
Delaware                Applicant must be “of good moral character,” must desire the handgun for “personal protection” or               Delaware Code § 1441
                         “protection of the person’s property,” and must submit signed, written statements of 5 “respectable
                         citizens” of the county who testify that the applicant is a person “of sobriety and good moral
                         character” and “bears a good reputation for peace and good order in the community” and that
                         a handgun is “necessary for the protection of the applicant or the applicant’s property.” The Superior
                         Court has discretion to approve or deny the application.
Hawaii                  Must be “an exceptional case,” the applicant must show “reason to fear injury to the applicant’s person         Hawaii Revised Statutes § 134-9
                         or property,” the applicant must be “a suitable person” to be licensed, and the chief of police must
                         determine that the person “is qualiﬁed to use the ﬁrearm in a safe manner.”
Maryland                Applicant must have a “good and substantial reason to wear, carry, or transport a handgun, such as              Maryland Public Safety Code § 5-306
                         a ﬁnding that the permit is necessary as a reasonable precaution against apprehended danger,” and
                         the applicant must not have “exhibited a propensity for violence or instability that may reasonably
                         render the person’s possession of a handgun a danger to the person or to another.”
Massachusetts           Applicant must be a “suitable” person and must not be judged to potentially create a risk to public             Massachusetts General Laws 140 § 131
                         safety.
New Jersey              Applicant must demonstrate a “justiﬁable need to carry a handgun” and must submit endorsements by               New Jersey Statutes § 2C:58–4
                         3 individuals who have known the applicant for at least 3 years that the applicant is “a person of good
                         moral character and behavior.”
New York                Applicant must be “of good moral character,” must be “of good character, competency, and integrity,”            New York Penal Law § 400.00
                         and there must be no “good cause” for denial of the license.
Rhode Island            Applicant must have “good reason to fear an injury to his or her person or property” or have “any other         General Laws of Rhode Island § 11-47-11
                         proper reason” for carrying a handgun and must be a “suitable person to be so licensed.”

Note. “May-issue” states are those in which law enforcement ofﬁcials had wide discretion over whether to issue concealed-carry permits.


missing data for Florida and included data                  estimated the impact of shall-issue laws on                    (aged 18 to 29 years), proportion of men
through 2015.21                                             homicide rates. Because only 4 states had                      among young adults, proportion of the
   Main predictor variable. Using Thomson                   permitless-carry laws in place during the                      population living in urban areas, total pop-
Reuters Westlaw to access historical state                  study period, there were not enough ob-                        ulation, population density, per capita alcohol
statutes and session laws, we developed                     servations to allow any meaningful analyses                    consumption, the nonhomicide violent
a database indicating the presence or absence               of these laws. Therefore, we deleted state–                    crime rate (aggravated assault, robbery, and
of 100 provisions of ﬁrearm laws in each state              year observations in which a permitless-carry                  forcible rape), the poverty rate, unem-
over the 25-year period.5 We coded laws                     law was in effect.                                             ployment rate, median household income,
by the year they went into effect, regardless                   Control variables. We controlled for 12
                                                                                                                           per capita disposable income, incarceration
of the month of the effective date. However,                state-level factors that (1) were found in the
                                                                                                                           rate, and per capita number of law enforce-
in the analytic models, we lagged the state                 previous literature3,6–14 to be signiﬁcantly
                                                                                                                           ment ofﬁcers. Variable deﬁnitions and data
laws by 1 year, which ensured that all laws                 related to homicide rates and (2) were sig-
                                                                                                                           sources are provided in Table B, available as
were in effect during the year in which their               niﬁcantly related to the presence of shall-issue
impact was being assessed. Following Lott                   laws in our data set (i.e., the regression co-                 a supplement to the online version of this
and Mustard,22 we assessed the impact of                    efﬁcient for the variable was signiﬁcant at                    article at http://www.ajph.org. We also
laws starting in the ﬁrst full year they were in            a level of P = .05 in a logistic regression with               controlled for the following state ﬁrearm laws
effect.                                                     shall-issue law as the dependent variable):                    that could serve as alternative explanations for
    We examined the potential impact                        household ﬁrearm ownership (using the                          changes in homicide during the study period:
of shall-issue laws, comparing them to                      standard proxy, which is the percentage of                     (1) universal background checks required for
may-issue laws. In other words, using the                   all suicides committed with a ﬁrearm), pro-                    all handgun purchases, (2) waiting periods
may-issue states as the reference group, we                 portion of Blacks, proportion of young adults                  required for all handgun purchases, and (3)

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permits required to purchase or possess                We evaluated the signiﬁcance of regres-           association between shall-issue laws and
ﬁrearms.                                               sion coefﬁcients by using a Wald test at          nonﬁrearm homicide rates (IRR = 1.014;
                                                       a = 0.05.                                         95% CI = 0.963, 1.068). Further disaggre-
                                                          We checked the robustness of our results       gation within ﬁrearm homicides showed that
Analysis                                               by conducting several sensitivity analyses,       the association between shall-issue laws
   Count models. Because homicide rates are            including                                         and ﬁrearm homicide rates was speciﬁc to
not normally distributed but skewed and                                                                  handgun homicide. Shall-issue states had
overdispersed, we modeled this outcome by              1. Restricting the analysis to the 23 states      handgun homicide rates that were 10.6%
using a negative binomial distribution. To                in which shall-issue laws were adopted         higher (IRR = 1.106; 95% CI = 1.039,
control for clustering in our data by year (25            during the study period,                       1.177), but there was no signiﬁcant associ-
levels) and by state (50 levels), we entered year      2. Using raw count data instead of homicide       ation with long-gun homicide rates (IRR =
and state as ﬁxed effects in the regression               rates,                                         0.999; 95% CI = 0.915, 1.090).
models. We used robust standard errors that            3. Restricting the analysis to states with            The results of the linear regression ana-
account for the clustering of observations,               population greater than 1 000 000,             lyses were similar. Here, shall-issue laws
serial autocorrelation, and heteroskedasticity.23      4. Restricting the analysis to the period 1991    were signiﬁcantly associated with 6.6%
    Our ﬁnal model was as follows:                        to 2002,                                       higher total homicide rates compared with
                                                       5. Restricting the analysis to the period 2003    may-issue states (95% CI = 3.0%, 10.4%; data
                                                       to 2015, and                                   not shown). The association was speciﬁc to
      ð1Þ Pr H st ¼ hst Þ ¼ C yst þ a1 Þ=
                                                     6. Using SHR instead of WISQARS ho-               ﬁrearm homicide rates, which were 11.7%
            C ðyst þ 1ÞCa1 ½1=                          micide data (thus avoiding the problem of      higher in “shall issue” states (95% CI = 6.4%,
                        h                yst
        ð1 þ a mst Þ1 a mst = a1 þ mit Þ ;              missing data for some smaller states after     17.2%); there was no signiﬁcant association
                                                          1998).                                         between these laws and nonﬁrearm homi-
                                                                                                         cide rates. Further disaggregation within
where Pr ðHst ¼ hst Þ is the probability that                                                            ﬁrearm homicides showed that the associa-
state s in year t has a homicide rate equal to hst ,                                                     tion between shall-issue laws and ﬁrearm
E ðHst Þ ¼ mst , and Var ðHst Þ ¼ mst þ m2 st .        RESULTS                                           homicide rates was speciﬁc to handgun
    The mean homicide rate was then mod-                   During the study period, 23 states adopted    homicide. Shall-issue states had handgun
eled as follows:                                       shall-issue laws (Table 1). By 2015, 37 states    homicide rates that were 19.8% higher (95%
                                                       had such laws. In the same year, the average      CI = 10.3%, 30.1%), but rates of long-gun
            lnðmst Þ ¼ a þ b1 CCst þ                   ﬁrearm homicide rate in the states with           homicide were not signiﬁcantly different in
      ð2Þ
                      b2 Cst þ S þ T þ e;              shall-issue laws was 4.11 per 100 000, com-       states with shall-issue compared with may-
                                                       pared with 3.41 per 100 000 in the may-           issue laws.
where CC st is a dummy variable for the                issue states. The number of states that had           The signiﬁcant association between shall-
presence of a shall-issue law, C is a vector           permitless-carry laws in effect at all during     issue laws and higher total, ﬁrearm, and
of control variables, S represents state               the study period was small (n = 4), as was the    handgun-related homicide rates remained
ﬁxed effects, and T represents year ﬁxed               number of observations (n = 46), limiting our     when we restricted the analysis to the 23 states
effects.                                               ability to analyze the impact of these laws.      in which these laws were adopted during the
    The negative binomial regression co-               Because CDC does not report homicide              study period (Table 3). This pattern of results
efﬁcients are reported as incidence rate               counts of fewer than 10 in years after 1998, we   was robust to a series of additional sensitivity
ratios (IRRs). The IRR indicates the per-              were missing outcome data for several years       checks, including using raw count data,
centage difference in homicide rate for                for 6 states (Hawaii, New Hampshire, North        restricting the analysis to states with a pop-
states with a shall-issue concealed-carry              Dakota, South Dakota, Vermont, and                ulation of more than 1 000 000, restricting the
law compared with states with a may-issue              Wyoming); a sensitivity analysis with SHR         analysis to the period 1991 to 2002, restricting
law.                                                   data revealed that these omissions do not         the analysis to the period 2003 to 2015, and
   Linear models. To check the robustness of           affect our ﬁndings.                               using SHR instead of WISQARS homicide
our ﬁndings, we repeated the analyses with                 In negative binomial regression models,       data.
a linear regression model, with the log-               shall-issue concealed-carry permitting laws
transformed homicide rate as the outcome               were signiﬁcantly associated with 6.5%
variable, again by using robust standard er-           higher total homicide rates compared with
rors.23 As with the negative binomial models,          may-issue states (IRR = 1.065; 95% conﬁ-          DISCUSSION
we included year and state ﬁxed effects, and           dence interval [CI] = 1.032, 1.099; Table 3).        To the best of our knowledge, this is the
we included the same state-level control               The association was speciﬁc to ﬁrearm ho-         ﬁrst study to examine the relationship be-
variables.                                             micide rates, which were 8.6% higher              tween concealed-carry permitting laws and
    We conducted analyses with Stata version           in shall-issue states (IRR = 1.086; 95%           handgun-speciﬁc homicide rates. We found
14.1 (StataCorp LP, College Station, TX).              CI = 1.047, 1.126). There was no signiﬁcant       that, when we used both count and linear

                                                                                                                                    Exhibit D
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models and after we controlled for a range of                (2003–2015) compared with the ﬁrst half          such as this one. In particular, these results
time-varying state factors and for unobserved                (1991–2002).                                     should be interpreted with caution because
time-invariant state factors by using a                         Our ﬁnding that the association between       of the possibility that they reﬂect a reverse
ﬁxed-effects model, shall-issue concealed-                   shall-issue laws and homicide rates is speciﬁc   association. That is, it is possible that the
carry permitting laws were signiﬁcantly as-                  to handgun homicides adds plausibility to the    adoption of shall-issue concealed carry laws is
sociated with 6.5% higher total homicide                     observed relationship. If the relationship       associated with higher baseline homicide rates
rates, 8.6% higher ﬁrearm-related homicide                   between shall-issue laws and homicide rates      so that we are picking up not a causal effect
rates, and 10.6% higher handgun-speciﬁc                      were spurious, one might expect to see the       of these laws on homicide but a systematic
homicide rates compared with may-issue                       relationship hold for long-gun as well as        difference in baseline homicide rates between
states.                                                      handgun homicide rates. Moreover, this           states that do or do not have these laws.
    A major reason for inconsistent results                  ﬁnding is inconsistent with the hypothesis       However, our ﬁndings hold even when the
in the existing literature on the effects of                 that permissive concealed-carry laws deter       analysis is restricted to states that started with
concealed-carry laws may be that the re-                     crime by increasing the presence of armed        may-issue laws at the beginning of the study
lationship between concealed-carry laws and                  individuals. Were that the case, one would       period and adopted shall-issue laws during
homicide rates was different during the period               expect to see lower handgun, nonhandgun,         the study period.
before and after the early 1990s.11,15 It is                 and nonﬁrearm homicide rates in shall-issue          An additional limitation of this study is that
possible that despite the enactment of early                 compared with may-issue states. The lack of      we could not consider the enforcement of
shall-issue laws in the 1970s and 1980s, the                 an association between shall-issue laws and      concealed-carry laws.26 Enforcement of these
demand for handgun permits in those states                   long-gun homicide rates is also inconsistent     laws may vary not only among states, but also
was modest. There has been a striking increase               with the hypothesis that the presence of more    among counties in the same state.11 In ad-
in the demand for pistols, especially those                  concealed weapons escalates the level of vi-     dition, we did not have information on the
designed for concealed carry, during the past                olence in encounters that may involve a long     number of concealed-carry permits issued
decade.24 Recently, Steidley found that the                  gun.                                             in each state or the number of homicides
adoption of shall-issue laws during the period                                                                committed by concealed-carry permittees.
1999 to 2013 was associated with a persistent,                                                                    It is also important to note that we ex-
long-term increase in handgun sales in all 7                 Strengths and Limitations                        amined only fatal ﬁrearm injuries. Further
states studied.25 Our analysis provides further                 This study has several novel strengths,       research should investigate potential effects of
support for the hypothesis that the relation-                including the use of both count and linear       concealed-carry laws on nonfatal ﬁrearm
ship between shall-issue laws and higher                     models, the use of recent data (through 2015),   injuries.
homicide rates increased over time, as the                   and the disaggregation of homicide rates.            Finally, we were unable to analyze the
regression coefﬁcients for these laws was                    Nevertheless, caution should be exercised in     impact of permitless-carry laws because of the
higher for the second half of the study period               assessing causality from an ecological study     small number of observations. Only 4 states

 TABLE 3—Sensitivity Analyses of Relationship Between “Shall-Issue” Concealed-Carry Permitting Laws and Homicide Rates: United States,
 1991–2015

                                                                                                          Homicide Rate, IRR (95% CI)
Type of Analysis                                                                      Total                         Firearm                            Handgun
Main analysis                                                                  1.065 (1.032, 1.099)           1.086 (1.047, 1.126)                1.106 (1.039, 1.177)
Analysis restricted to states that adopted shall-issue concealed-              1.063 (1.028, 1.099)           1.068 (1.030, 1.108)                1.074 (1.002, 1.150)
 carry laws during study period
Analysis using raw count of homicides with population as the                   1.051 (1.020, 1.083)           1.079 (1.039, 1.120)                1.139 (1.067, 1.217)
 exposure variable
Analysis restricted to states with population > 1 million                      1.055 (1.023, 1.087)           1.067 (1.030, 1.105)                1.095 (1.029, 1.166)
Analysis restricted to years before 2003 (1991–2002)                           1.058 (1.014, 1.104)           1.067 (1.019, 1.116)                1.107 (1.037, 1.180)
Analysis restricted to years after 2002 (2003–2015)                            1.064 (1.009, 1.122)           1.100 (1.028, 1.176)                1.274 (1.092, 1.488)
Analysis using Supplemental Homicide Report data instead of Vital              1.044 (1.006, 1.083)           1.094 (1.047, 1.143)                1.106 (1.039, 1.177)
 Statistics data

Note. “Shall-issue” states are those in which there was little or no discretion; permits must be issued if requisite criteria are met. CI = conﬁdence interval;
IRR = incidence rate ratio. All models include year and state ﬁxed effects and control for the following time-varying, state-level factors: household gun-
ownership levels, proportion of young men, proportion of young adults, proportion of Blacks, proportion living in an urban area, total population, population
density, median household income, poverty rate, unemployment rate, per capita disposable income, per capita alcohol consumption, violent crime rate,
incarceration rate, per capita law enforcement ofﬁcers, universal background check laws for all handguns, waiting periods for all handguns, and permits
required for all ﬁrearms.

                                                                                                                                          Exhibit D
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     Using the synthetic control method to determine the effects of
     concealed carry laws on state-level murder rates
     Mark Gius
     Department of Economics, Quinnipiac University, Hamden, CT 06518, United States




     a r t i c l e        i n f o                           a b s t r a c t

     Article history:                                      The purpose of the present study is to determine the relationship between concealed carry (CCW) laws
     Received 18 July 2018                                 and state-level murder rates. Speciﬁcally, this study will examine the impact of a change in CCW status
     Received in revised form 26 October 2018              from “prohibited” to “shall issue” on murder rates. Using a synthetic control method, results of the present
     Accepted 29 October 2018
                                                           study suggest that only in New Mexico did the move from “prohibited” CCW status to “shall issue” CCW
     Available online 2 November 2018
                                                           status result in an increase in murder rates and gun related murder rates. For the remaining states, the
                                                           change in CCW status had no effect on murder rates. As a robustness check on the results found using
     JEL classiﬁcation:
                                                           the synthetic control method, a ﬁxed effects model was also estimated. These results indicate that states
     K14
     K42
                                                           that changed from “prohibited” to “shall issue” experienced a 12.3% increase in gun-related murder rates
                                                           and a 4.9% increase in overall murder rates. It is important to note that none of the results in the present
     Keywords:                                             study indicate that a move from “prohibited” to “shall issue” CCW status may result in a decline in murder
     Concealed carry                                       rates.
     Synthetic control method                                                                                                 © 2018 Elsevier Inc. All rights reserved.
     Shall issue




     1. Introduction                                                                      in states with unrestricted access do not need a permit to carry
                                                                                          a concealed handgun. For years, the only state that had no CCW
        There is a common belief among gun rights proponents that                         restrictions was Vermont. The next type of CCW law is “shall issue”.
     ﬁrearms should be readily available to the general public in order to                In a “shall issue” state, a permit is required to carry a concealed
     promote deterrence. According to this argument, criminals would                      weapon, but state and local authorities must issue a permit to any
     be less likely to commit crimes if they believed that their victims                  qualiﬁed applicant who requests one. “Shall issue” and unrestricted
     or innocent bystanders may be armed. This deterrent effect has                       are considered to be permissive CCW laws.
     been discussed at great length in many prior studies (Kovandzic                          The third type of CCW law is “may issue.” In a “may issue” state,
     and Marvell, 2003; Kovandzic et al., 2005; Lott and Mustard, 1997).                  local and state authorities can deny requests for concealed carry
     Gun control proponents, however, believe that, by increasing the                     permits, even requests from qualiﬁed applicants. “May issue” laws
     supply and availability of ﬁrearms, the probability that a crime will                restrict the ability of citizens to carry concealed weapons. Finally,
     be committed also increases. Most gun control proponents fear that                   the last category is “prohibited”; in years past, some states prohib-
     minor altercations may become violent and deadly if more people                      ited the concealed carry of ﬁrearms. As of 2018, there are no states
     are armed.                                                                           that prohibit concealed carry.
        One of the more prevalent and important types of gun control                          Presently, the following nine states and the District of Columbia
     measures that may affect the overall availability of ﬁrearms is the                  require a permit to carry a concealed handgun and are “may issue”:
     concealed carry law. Concealed carry (CCW) refers to the carrying of                 California, Connecticut (per statute; in practice “shall issue”),
     ﬁrearms in a concealed fashion. Laws regulating the concealed carry                  Delaware, Hawaii, Maryland, Massachusetts, New Jersey, New York,
     of ﬁrearms differ substantially between states and have changed                      and Rhode Island (Barati, 2016; Donohue, 2003; Gius, 2014). The
     quite signiﬁcantly over the past thirty years. There are no federal                  following six states do not require a permit to carry a concealed
     laws regulating the concealed carry of ﬁrearms.                                      handgun: Alaska, Arizona, Kansas, Maine, Vermont, and Wyoming
        There are four broad types of state-level CCW laws (Barati, 2016;                 (Barati, 2016; Donohue, 2003; Gius, 2014). All other states require
     Donohue, 2003; Gius, 2014). The ﬁrst is “unrestricted”; individuals                  a permit and are “shall issue” (Barati, 2016; Donohue, 2003; Gius,
                                                                                          2014).
                                                                                              It is important to note that these four categories of CCW laws are
                                                                                          rather broad, and not all states within a given category are equally
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     https://doi.org/10.1016/j.irle.2018.10.005
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   Table 1                                                                                   and Mustard (1997) used the same type of model (log-linear) and
   Summary of Papers that Examined Effects of Concealed Carry Laws on Violent Crime
                                                                                             the same type of data (county-level). In addition, most of these stud-
   Rates.
                                                                                             ies used panel data estimation techniques, weighted observations,
                                     Permissive          Permissive     Insigniﬁcant         and clustered standard error corrections.
                                     CCW Laws            CCW Laws       or Mixed
                                                                                                 One of the most recent studies on the relationship between
                                     Reduce Crime        Increase Crime Results
                                                                                             CCW laws and crime is Barati (2016). In this study, the author
       Ayers and Donohue, 2003                                           X                   used a difference-in-differences model in order to determine the
       Barati, 2016                                                      X
                                                                                             effects of a change in state-level CCW status on various crime rates.
       Bartley and Cohen, 1998       X
       Benson and Mast, 2001         X (Model Speciﬁc)                                       Speciﬁcally, Barati (2016) attempted to determine if the effects of
       Black and Nagin, 1998                                             X                   a “shall issue” CCW law differed depending on what type of law
       Blau et al., 2016                                                 X                   was in effect prior to the passage of the “shall issue” law. Using
       Bronars and Lott, 1998        X
                                                                                             data for the period 1991–2008, the author found that switching
       Crifasi et al., 2016                                              X
       Dezhbakhsh and Rubin, 1998                                        X                   from a “may issue” law to a “shall issue” law had no statistically-
       Donohue, 2003                                                     X                   signiﬁcant effects on any of the crime rates examined. However,
       Duwe et al., 2002                                                 X                   when a state switched from prohibited to “shall issue”, then rob-
       Ginwalla et al., 2013                             X                                   bery, burglary, and larceny rates all fell. The change from prohibited
       Gius, 2014                    X
                                                                                             to “shall issue” had no statistically-signiﬁcant effects on motor
       Helland and Tabarrok, 2004    X
       Kleck and Patterson, 1993                                         X                   vehicle thefts, murders, or aggravated assaults. A similar approach
       Kovandzic and Marvell, 2003                                       X (Only Florida)    regarding the effects of a change in CCW status from “prohibited”
       Kovandzic et al., 2005                                            X                   to “shall issue” is employed in the present study.
       Lott, 1998                    X
                                                                                                 The purpose of the present study is to determine the relation-
       Lott and Mustard, 1997        X
       Ludwig, 1998                                      X
                                                                                             ship between concealed carry laws and state-level murder rates.
       Moody, 2001                   X                                                       Speciﬁcally, this study will examine the impact of the change in
       Moody et al., 2014            X                                                       CCW status from “prohibited” to “shall issue” on murder rates.
       Olson and Maltz, 2001         X                                                       The reason why this change is important is because, over the past
       Phillips et al., 2015                                             X
                                                                                             30 years, many states have loosened their CCW laws and have
       Plassman and Tideman, 2001    X
       Rubin and Dezhbakhsh, 2003                                        X                   changed from “prohibited” to “shall issue”. In addition, as noted
       Shi and Lee, 2017                                                 X                   earlier, both “may issue” and “shall issue” states require permits
       Smith and Petrocelli, 2018                                        X                   for concealed carry. Therefore, a change from “may issue” to “shall
                                                                                             issue” is not as signiﬁcant nor as noteworthy as a change from “pro-
                                                                                             hibited” to “shall issue”. Also, very few states, even today, allow
   restrictive. These broad categories are not deﬁnitive because the                         unrestricted concealed carry. Hence, examining the impact of a
   way in which a state not only interprets CCW statutes but also                            shift to “unrestricted” carry on crime would be somewhat prob-
   enforces them has an impact on the actual restrictiveness of the                          lematic. Therefore, the present study will attempt to determine the
   law. In addition, some cities and counties have more restrictive                          relationship between changes in CCW laws and state-level murder
   concealed carry laws than their home states. Finally, it is impor-                        rates.
   tant to note that permits to carry concealed ﬁrearms are required                             Another important distinction of the present study is that a
   in both “shall issue” and “may issue” states. The only difference                         synthetic control method will be used to examine the impact of
   between these two types of CCW statutes is that, in “shall issue”                         this change in CCW laws. In most prior studies on this topic, a
   states, the issuing authority must issue a CCW permit to any qual-                        ﬁxed effects model with panel data was used to estimate the
   iﬁed applicant. In a “may issue” state, the issuing authority may                         relationship between gun control laws and crime rates. Although
   deny a permit to anyone, even qualiﬁed applicants. Hence, the vast                        well-established in the area of policy analysis, ﬁxed effects may
   majority of states in the U.S. require a permit to carry a concealed                      not be the most appropriate statistical method to use in the anal-
   weapon.                                                                                   ysis of the effects of gun control measures on crime. The results
      Regarding CCW research, Table 1 summarizes the ﬁndings of                              are highly dependent upon the time period being examined, and
   most of the research in this area over the past 20 years. As can be                       misspeciﬁcation of the model may make it difﬁcult to establish
   seem from this table, most studies found that permissive concealed                        causal relationships between gun control laws and crime (Donohue
   carry laws (“shall issue” or unrestricted) either reduce violent crime                    et al., 2017). A superior and more appropriate statistical method
   or they have no signiﬁcant effects on crime. Only two studies                             for this type of analysis may be the synthetic control method. Only
   (Ginwalla et al., 2013; Ludwig, 1998) found that permissive con-                          one other study used the synthetic control method to examine the
   cealed carry laws increase homicide rates. Some studies, such as                          impact of a change in CCW laws on crime rates (Donohue et al.,
   Ayers and Donohue (2003), Donohue (2003), and Kovandzic and                               2017).
   Marvell (2003), found that states with more permissive concealed                              Results of the present study suggest that only in New Mexico
   carry laws had higher property crime rates. However, Devaraj and                          did the move from “prohibited” to “shall issue” result in an increase
   Patel (2018) found that property crime rates fell when Chicago went                       in murder rates and gun-related murder rates. For the remaining
   from “prohibited” CCW status to “shall issue”. Hence, most prior                          states, the change in CCW status had no effects on murder rates or
   research has found that permissive CCW laws either reduce violent                         the results were inconclusive. As a robustness check on the results
   crime, or that they have no statistically signiﬁcant effects on violent                   found using the synthetic control method, a ﬁxed effects model was
   crime.                                                                                    also estimated. These results suggest that states that shifted from
      In one of the earliest studies on CCW laws, Lott and Mustard                           “prohibited” to “shall issue” experienced a 12.3% increase in gun-
   (1997) found that states with “shall issue” concealed carry laws had                      related murder rates and a 4.9% increase in overall murder rates.
   lower crime rates than states with more restrictive carry laws. They                      It is important to note that neither the synthetic control method
   found that “shall issue” laws resulted in a 7.65% drop in murders and                     nor the traditional ﬁxed effects model found that a move to more
   a 5% drop in rapes. Their research suggests that individuals would                        permissive CCW laws resulted in fewer murders.
   be less likely to commit crimes if they knew that others may be car-
   rying concealed weapons. Much of the research that followed Lott
                                                                                                                                             Exhibit D
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     2. Empirical technique and data                                                  and they only examined the repeal of the prohibition of concealed
                                                                                      carry.
         In order to determine if CCW laws are related to murder rates,                  In order to test the robustness of the results obtained from the
     a synthetic control method (SCM) is used in the present study.                   SCM analysis, a ﬁxed effects model that controls for both state-level
     The synthetic control method (SCM) examines how a treatment                      and year ﬁxed effects was also estimated. All observations were
     (law) can affect a particular outcome (murder rates). In an SCM,                 weighted using state-level population (to correct for potential het-
     there is one individual or entity (state) that receives the treatment            eroscedasticity), standard errors were corrected using a clustering
     (treated group) and several entities that do not receive the treat-              method (standard errors were clustered at the state level), and a
     ment (control group). The SCM then synthesizes a control from a                  log-linear functional form was used. Given the above, the following
     weighted sum of potential control entities. The outcome variable                 equation was estimated in the present study:
     for the treated group is then compared to the outcome variable for
     the synthesized control group. If the outcome measure diverges in                lnY i,t = ˛0 +˛i + t +ˇ X + εi,t                                  (1)
     the treatment period, then the treatment is assumed to have caused
     the difference. If the outcome measures for the treated group and                In the above equation, Y denotes the murder rate or gun-related
     synthesized control group do not diverge, then it can be assumed                 murder rate, ␣i denotes the state-level effects, ␥t denotes the year
     that the treatment did not affect the outcome. Finally, the synthe-              effects, and X denotes the vector of explanatory variables which
     sized control group’s outcome measure should match the treated                   includes a concealed carry dummy variable that denotes a change
     unit’s outcome measure during the pretreatment period.                           from “prohibited” status to “shall issue” status. This model is very
         The advantages of using an SCM procedure over a ﬁxed effects                 similar to those used by other studies on this topic (Barati, 2016;
     procedure or a case study method are numerous. First, a weighted                 Bartley and Cohen, 1998; Gius, 2014; Lott and Mustard, 1997;
     combination of control states provides a much better comparison to               Moody and Marvell, 2009; Moody, 2001; Olson and Maltz, 2001).
     the treated state than a single control state (Abadie et al., 2010). Sec-            In order to determine if ﬁxed or random effects was more appro-
     ond, the relative contribution of each state in the synthetic control            priate in the present study, a Hausman Test was used. Results of the
     group can be ascertained (Abadie et al., 2010). Third, in an SCM pro-            test suggested that ﬁxed effects was the more appropriate model.
     cedure, it can be determined if there are differences with regards to            Clustering standard errors was necessary in order to account for
     the intervention variable and the other predictor variables between              potentially nonrandom variations within certain groups. Although
     the treated state and the control group (Abadie et al., 2010). Due to            there has been some criticism regarding the use of clustering to cor-
     these advantages, the SCM statistical procedure has been used in                 rect standard errors, most of this criticism was directed at studies
     several studies examining the effects of public policies, laws, and              that used too few clusters (Cameron et al., 2008). The present study
     exogenous shocks on various outcome measures (Kreif et al., 2016;                uses many state-level clusters, thus justifying the use of clustered
     Abadie et al., 2015, 2010; Abadie and Gardeazabal, 2003)                         standard errors.
         For purposes of the present study, the “treatment” is considered                 A log-linear function was used because it corrects for nonlineari-
     to be when a state changes its CCW laws from “prohibited” to “shall              ties in the data. In order to test the appropriateness of the log-linear
     issue”. Hence, only those states that changed their CCW laws from                functional form, both the extended projection test for non-nested
     “prohibited” to “shall issue” are in the treatment group. All other              hypotheses (Davidson and MacKinnon, 1981) and the Ramsey test
     states are in the potential control group. From this set of possible             (Ramsey, 1969) were used. Both tests indicated that the log-linear
     controls, a synthesized control group was created.                               model was more appropriate in the present study.
         The outcome variables are the gun related murder rate (gun-                      It is important to note that, given that the functional form used
     related murders per 100,000 persons) and the murder rate                         in the present study is log-linear, the coefﬁcients on the dummy
     (murders per 100,000 persons). The primary reason murder rates,                  variables must be transformed in order to be properly interpreted.
     instead of other crime rates, were used is because it is important               For example, if the coefﬁcient on a dummy variable is 0.2, then that
     to differentiate between total murders and gun-related murders.                  variable is associated with a 22% increase in the dependent variable
     Given that the enactment of a permissive CCW law may reduce gun-                 being examined (e0.2 = 1.22 or 22%).
     related murders, it is imperative that this type of outcome measure                  In order to determine the effect of a change in CCW status from
     is examined. In addition, state-level data on the incidence of other             “prohibited” to “shall issue”, a CCW dummy variable was created
     types of gun related crimes are either non-existent or are unreliable.           that takes the value of one if the state changed their gun con-
         The predictor variables used in this analysis were selected based            trol laws from “prohibited” to “shall issue”; otherwise, the CCW
     upon their use in prior research (Barati, 2016; Bartley and Cohen,               dummy variable takes the value of zero. A state that changes from
     1998; Gius, 2014; Lott and Mustard, 1997; Moody and Marvell,                     “prohibited” to “shall issue” will only have a value of one for the
     2009; Moody, 2001; Olson and Maltz, 2001). These variables                       CCW dummy variable when the state has a “shall issue” CCW law.
     include the percentage of the state population that is African-                  Although there has been some criticism in the past regarding the
     American, per capita real income, percentage of population that is               use of binary variables to denote the status of gun control in a par-
     college educated, unemployment rate, percentages of population                   ticular state, almost all prior studies use dummy variables in their
     aged 18 to 24 and 25 to 34, population density, per capita alcohol               regression analyses. Some of the studies that used this approach are
     consumption, the ratio of gun-related suicides to total suicides, and            Gius (2014), Rubin and Dezhbakhsh (2003), Dezhbakhsh and Rubin
     the percentage of the state’s population that lives in large cities. The         (1998), Lott and Mustard (1997), and Kleck and Patterson (1993).
     statistical software package R was used to conduct the SCM (Abadie                   Another issue with using a binary variable to denote the status
     et al., 2011). States that had missing observations were excluded                of gun control laws in a particular state is that a change in gun con-
     from the analyses. Eight states were in the treatment group, and 31              trol laws may be coincident with an exogenous change in the crime
     states were in the potential control group.                                      rate, thus possibly resulting in a spurious correlation between gun
         Only one other study used the synthetic control method to                    control and crime (Moody, 2001). One way to test for this possi-
     examine the impact of a change in CCW laws on crime rates                        bility is to include as explanatory variables in the crime regression
     (Donohue et al., 2017). The present study differs from this prior                both lags and leads of the CCW dummy variable. If these variables
     research in that the present study examines murder rates and                     are insigniﬁcant, then this potential source of error does not exist
     deﬁnes the treatment as a change in CCW laws from “prohibited”                   (Moody, 2001). In the present study, this error was tested for by
     to “shall issue”. Donohue et al. (2017) looked at violent crime rates,           including two lags and two leads of the CCW dummy variable.
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   Results of this test indicated that this type of spurious correlation           Table 2
                                                                                   Descriptive Statistics (Fixed Effects Data).
   did not exist. Results of this test are available upon request.
       In addition to concealed carry laws, it is also assumed that mur-             Variable                                         Mean      Standard Deviation
   der rates are dependent upon state demographics and various other                 Gun-related murder rate (per 100,000 persons)    3.15      2.21
   state-level socioeconomic factors. The same explanatory variables                 Murder rate (per 100,000 persons)                5.13      2.93
   that were used in the SCM analysis are used in the ﬁxed effects                   Percent of population that is African-American   0.099     0.095
   regressions. As noted earlier, these variables were selected based                Per capita real income                           $16,413   $2,999
                                                                                     Percent of population college educated           0.25      0.06
   upon their use in prior research (Barati, 2016; Bartley and Cohen,
                                                                                     Unemployment rate                                0.057     0.019
   1998; Gius, 2014; Lott and Mustard, 1997; Moody and Marvell,                      Gun-related suicide ratio                        0.56      0.13
   2009; Moody, 2001; Olson and Maltz, 2001).                                        Percent population 18-24                         0.099     0.009
       State-level data on murder and gun-related murder rates were                  Percent population 25-34                         0.14      0.016
                                                                                     Population density                               183.83    251.95
   obtained from the Supplementary Homicide Reports (1990–2014),
                                                                                     Per capita alcohol consumption                   2.32      0.49
   which were provided by the Bureau of Justice Statistics, U.S. Depart-             Percent population in large cities               0.137     0.137
   ment of Justice. Unfortunately, some of the values for murders
   committed were suspiciously low. In order to maintain the integrity
   of the data, any suspicious observations were deleted. The method               were not included due to missing observations and incomplete
   by which suspicious data were identiﬁed was through a linear trend              data.
   of the gun murder rates at the state level. If a data point was iden-               Although several states enacted “unrestricted” CCW laws (no
   tiﬁed as an outlier, then that observation was deleted. Using this              permit required for concealed carry) in the past several years, very
   methodology, only 18 observations were deleted from the data set.               few states adopted such laws prior to 2014. Hence, this lack of data
   Given that the ﬁnal data set used in the ﬁxed effects analysis had              precluded any analysis pertaining to the impact of “unrestricted”
   1203 observations, these deletions were not expected to have any                concealed carry on murder rates.
   appreciable effect on the results of the ﬁxed effects analysis. In                  An important aspect of the SCM analysis is that the actual
   addition, there were 29 missing observations (murder rates) in the              outcome measure for a treated state should be similar to the out-
   original SHR data set. Hence, there were a grand total of 47 missing            come measure for the synthetic version of the treated state in the
   observations in the data used in the ﬁxed effects regression.                   pre-treatment period. In order to test the similarity between the
       It is important to note that, in the ﬁxed effects regressions, the          outcome measures for the treated state and the synthetic state,
   existence of missing observations did not require that the entire               two statistical measures were used. The ﬁrst measure was the Mean
   state be eliminated from the data set. Only that year’s data in                 Squared Prediction Error (MSPE) in the pre-treatment period. The
   which there was a missing observation had to be deleted. Hence,                 larger the MSPE, the greater is the difference between the two
   for the ﬁxed effects models, an unbalanced panel data set was used              measures. Unfortunately, the MSPE is affected by the units of mea-
   to estimate the regressions. In the SCM analysis, however, states               surement and the scale of the outcome measure.
   had to have data for every year examined (1990–2014); no missing                    The other statistical test that was used is the hypothesis test for
   observations were allowed in the data. Hence, eleven states were                the difference between the means of the actual outcome measure
   eliminated from the original data in order to construct a data set              and the synthetic outcome measure. In the pre-treatment period,
   that could be used in the SCM analysis.                                         this test should be statistically insigniﬁcant, thus indicating that
       Information on CCW laws were obtained from Gottlieb (1991),                 there is no statistical difference between the actual outcome mea-
   Gottlieb (1981), Henderson (2005), Henderson, (2000), Ludwig and                sure and the synthetic outcome measure. Both the MSPE and the
   Cook (2003), and the National Riﬂe Association. If the above ref-               pre-treatment period t-tests are presented on Table 3. As can be
   erences contradicted one another, then the author examined the                  seen from these results, several states have t-tests that are statis-
   original state law in order to determine the status of the CCW law              tically signiﬁcant in the pre-treatment period, thus indicating that
   in a particular state. State-level data on total suicides and ﬁrearm-           the actual outcome measure differs from the synthetic outcome
   related suicides were obtained from the National Center for Injury              measure; these states were excluded from the SCM analysis. After
   Prevention and Control, the Centers for Disease Control (CDC). The              excluding states that had signiﬁcant t-tests in the pre-treatment
   WISQARS system is used to obtain the necessary data from the                    period, there were only four states that remained in the treated
   CDC website. Per capita alcohol consumption data were obtained                  state pool.
   from the National Institute on Alcohol Abuse and Alcoholism. All                    In order to determine if the change in CCW law signiﬁcantly
   other state-level data were obtained from relevant Census Bureau                affected the murder rates in the post-treatment period, the hypoth-
   reports. Data used in the present study is for the years 1990-2014.             esis test for the difference between the means of the actual outcome
   The sample size for the ﬁxed effects model is 1203. Data used for the           measure and the synthetic outcome measure was once again
   SCM analyses differ somewhat from the ﬁxed effects model data in                employed. In the post-treatment period, if the law had a signiﬁcant
   that there is only one treated state per SCM estimation. Hence, the             effect on the murder rates, then the t-test should be statistically
   sample sizes of the eight data sets used for the SCM analyses were              signiﬁcant. These results are also reported on Table 3.
   800. Descriptive statistics for the ﬁxed effects data set are presented             The results of the SCM analyses on the four treated states are
   on Table 2.                                                                     presented on Chart 1 . The vertical line on the chart denotes the year
                                                                                   when a “shall issue” law was adopted. As can be seen from these
                                                                                   charts and from the post-treatment t-tests provided on Table 3, the
   3. Results                                                                      only state that experienced a consistent divergence in the outcome
                                                                                   variable post-treatment was New Mexico (murder and gun-related
      For the SCM analysis, the eight states that were in the treat-               murder). The switch from “prohibited” CCW to “shall issue” CCW
   ment group (changed from “prohibited” CCW to “shall issue”) are                 resulted in an increase in both total murder rates and gun related
   as follows: Arkansas (1995), Missouri (2003), Nebraska (2006),                  murder rates in New Mexico.
   New Mexico (2003), North Carolina (1995), Ohio (2004), Oklahoma                     For all other treated states, the switch from “prohibited” to “shall
   (1995), and Texas (1995). Dates noted in parentheses are when                   issue” had no statistically signiﬁcant effects on either gun-related
   the states adopted “shall issue” CCW laws. Although several other               murder rates or total murder rates. Hence, according to the SCM
   states also switched from “prohibited” to “shall issue”, these states           results, the overall impact of a loosening of concealed carry laws on
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     Table 3
     Treatment States MSPE and t-tests for Pre- and Post-Treatment Periods.

      State                                                 MSPE                           Pre-Treatment t Test Statistic                       Post-Treatment t Test Statistic

      Arkansas (gun murder)a                                0.965                          1.603*                                               −1.413
      Arkansas (murder)a                                    3.115                          3.33***                                              0.0557
      Missouri (gun murder)a                                1.195                          2.128**                                              4.514***
      Missouri (murder)a                                    2.719                          2.6711***                                            5.369***
      Nebraska (gun murder)                                 0.400                          −0.694                                               1.33
      Nebraska (murder)                                     1.166                          −0.1514                                              −1.304
      New Mexico (gun murder)                               0.542                          0.295                                                2.816***
      New Mexico (murder)                                   2.184                          −0.0129                                              2.299**
      North Carolina (gun murder)1                          0.335                          2.091**                                              0.381
      North Carolina (murder)a                              1.386                          3.347***                                             −0.436
      Ohio (gun murder)a                                    1.445                          −3.548***                                            −3.028***
      Ohio (murder)                                         0.4045                         −0.0297                                              −0.767
      Oklahoma (gun murder)                                 0.1026                         0.0148                                               0.1916
      Oklahoma (murder)                                     0.469                          0.0110                                               1.33
      Texas (gun murder)a                                   2.595                          2.133**                                              −1.011
      Texas (murder)a                                       8.885                          3.3675***                                            −2.558***

     Notes.
     MSPE denotes the Mean Squared Prediction Error for the pre-treatment period.
     *10% signiﬁcance; **5% signiﬁcance; ***1% signiﬁcance.
       a
         The synthetic outcome was statistically signiﬁcantly different from the actual outcome in the pre-treatment period. States that possess this attribute were not included
     in the SCM analysis.




     Chart 1. Nebraska SCM Results CCW Law Had No Effect on Gun-Related Murder Rate (Vertical line denotes year CCW law was changed.).
     Weights Given to Control States.
     Connecticut = 2.2%.
     South Dakota = 84%.
     Virginia = 13.8%.
     All Others = 0%.


     murder rates was somewhat mixed and inconclusive. These results                         can be seen from these charts, the outcome trajectories for Arizona
     are not directly comparable to those found in Donohue et al. (2017)                     and Mississippi and their synthetic counterparts are very similar.
     primarily because their study examined the effects of CCW laws on                           Another method that was used to test the robustness of the SCM
     violent crime rates and not on murder rates. Nonetheless, Donohue                       results was a permutation test (Abadie et al., 2011). In this test, the
     et al. (2017) found that the repeal of the prohibition of concealed                     control states are subjected to the same synthetic control method
     carry resulted in an increase in violent crime rates.                                   as was the treated state. Then, the gaps between the synthetic out-
         In order to test the robustness of the synthetic control model                      comes and the actual outcomes for each of the control states and
     in this scenario, two placebo tests were conducted (Abadie et al.,                      the treated state (New Mexico) are then plotted on a chart in order
     2011). In this test, the SCM is applied to a control state that is similar              to determine if the true synthetic control unit is different from
     to the treated state but did not enact a change in its CCW law. It is                   the other control units. Ideally, there should be small gaps prior
     assumed that the change in the similar control state occurred in the                    to the treatment and large gaps afterwards. Results are presented
     same year as that in the treated state. The only treated state tested                   on Charts 10 and 11. Please note that in New Mexico (the treated
     in this manner was New Mexico. For gun related murders, the most                        state), the change in CCW laws occurred in 2003. As can be seen
     similar state was Arizona, and for murder rates, the most similar                       from these charts, the outcome measures track very similarly pre-
     state was Mississippi. Results are presented on Charts 8 and 9. As                      treatment, but after 2003, there is much more of a divergence. This
                                                                                             denotes that the change in murder and gun related murder rates
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   Chart 2. Nebraska SCM Results CCW Law Had No Effect on Murder Rate (Vertical line denotes year CCW law was changed.).
   Weights Given to Control States.
   Arizona = 12%.
   South Dakota = 88%.
   All Others = 0%.




   Chart 3. New Mexico SCM Results CCW Law Signiﬁcantly Increased Gun-Related Murder Rate (Vertical line denotes year CCW law was changed.).
   Weights Given to Control States.
   Arizona = 47.6%West Virginia = 15%.
   Nevada = 3.3%All Others = 0%.
   North Dakota = 5.8%.
   South Dakota = 28.3%.


   cannot be attributed to the change in CCW laws in the control states                hibited” to “shall issue” had gun-related murder rates that were
   (Abadie et al., 2011).                                                              12.3% higher than other states, and they had total murder rates
      In the ﬁnal test on the robustness of the results obtained from                  that were 4.9% higher than other states. These results differ from
   the SCM analysis, a ﬁxed effects model that controls for both state-                those found in Barati (2016) who found that a change from “pro-
   level and year ﬁxed effects was also estimated. Observations were                   hibited” CCW status to “shall issue” had no statistically signiﬁcant
   weighted using state-level population, standard errors were cor-                    effects on murder rates.
   rected using a clustering method, and a log-linear functional form
   was used. Results are presented on Tables 4 and 5.                                  4. Conclusion
      These results suggest that states that switched from “pro-
   hibited” CCW status to “shall issue” CCW status experienced an                          Even though murder rates are lower now than they have been
   increase in both the gun-related murder rate and the total murder                   in decades, many individuals still believe that guns are needed for
   rate. According to these results, states that switched from “pro-                   self-defense, even in public settings. These individuals believe that
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     Chart 4. New Mexico SCM Results CCW Law Signiﬁcantly Increased Murder Rate (Vertical line denotes year CCW law was changed.).
     Weights Given to Control States.
     Alaska = 14.5%All Others = 0%.
     Mississippi = 60.5%.
     Nevada = 5%.
     Wyoming = 20%.




     Chart 5. Ohio SCM Results CCW Law Had No Effect on Murder Rate (Vertical line denotes year CCW law was changed.).
     Weights Given to Control States.
     Indiana = 1.2% Maryland = 1.9% Pennsylvania = 16.2%.
     Hawaii = 1.1% Rhode Island = 1.2% West Virginia = 17.4%.
     New Jersey = 13.9%South Dakota = 23.3% Tennessee = 11.6%.
     All Others = 12.2%.


     allowing private citizens to carry guns would deter potential crim-                 that speciﬁcally examined this type of shift in the legal status of
     inals from committing criminal acts. Unfortunately, much of the                     concealed weapons was Barati (2016). Second, the present study is
     evidence to date suggests that permissive CCW laws have little to                   the only published study that uses the synthetic control method to
     no effect on crime. Nonetheless, many states over the past twenty                   determine the effects of a change in CCW laws on murder rates. As
     years have loosened regulations regarding the concealed carry of                    noted earlier, most prior studies that examined the effects of CCW
     ﬁrearms.                                                                            laws on crime either used a ﬁxed effects model or a difference-in-
         Although there have been numerous studies examining CCW                         differences model.
     laws since Lott and Mustard (1997), the present study takes a dif-                      Using SCM, it was found that only one of the four treated states
     ferent approach in examining the effects of CCW laws on crime.                      experienced an increase in murder rates when they switched from
     First, the present study looks at those states that changed their                   “prohibited” CCW status to “shall issue” status.
     CCW laws from “prohibited” to “shall issue”. The only other study
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   Chart 6. Oklahoma SCM Results CCW Law Had No Effect on Gun Related Murder Rate (Vertical line denotes year CCW law was changed.).
   Weights Given to Control States.
   Arizona = 10%.
   Oregon = 29.6%.
   Tennessee = 56.5%.
   Utah = 3.9%.
   All Others = 0%.




   Chart 7. Oklahoma SCM Results CCW Law Had No Effect on Murder Rate (Vertical line denotes year CCW law was changed.).
   Weights Given to Control States.
   Arizona = 21.4% All Others = 0%.
   Tennessee = 34.5%.
   Utah = 5.7%.
   West Virginia = 38.3%.


      As a check on the robustness of the SCM results, a two-way ﬁxed                      It is important to note that none of the results of the present
   effects model was also estimated, and it was found that states that                 study suggest that a move from “prohibited” CCW status to “shall
   switched from “prohibited” to “shall issue” experienced a 12.3%                     issue” CCW is associated with a decline in murder rates. Hence, the
   increase in gun-related murder rates and a 4.9% increase in overall                 deterrent effects of permissive CCW laws that have been discussed
   murder rates when compared to other states. These results hold                      at great lengths in many prior studies do not appear to be supported
   even after controlling for important demographic variables such as                  by the evidence found in this study (Kovandzic and Marvell, 2003;
   the percentage of state’s population that is African-American, gun                  Kovandzic et al., 2005; Lott and Mustard, 1997).
   ownership (ratio of ﬁrearm suicides to total suicides), and alcohol                     Although the ﬁxed effects results suggest that a switch from
   consumption.                                                                        “prohibited” CCW status to “shall issue” status increases murder
                                                                                       rates on average, the results obtained from the SCM methodology

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                                               Chart 8. Placebo Test: Trends in Gun Murder Rates: Arizona vs. synthetic Arizona.




                                              Chart 9. Placebo Test: Trends in Murder Rates: Mississippi vs. synthetic Mississippi.




     Chart 10. Permutation Test: Gun Murder Rates in New Mexico and Control States.        Chart 11. Permutation Test: Murder Rates in New Mexico and Control States.
     Control States: Arizona, West Virginia, Nevada, North Dakota, and South Dakota.       Control States: Alaska, Mississippi, Nevada, and Wyoming.




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   Table 4                                                                                   Finally, given the inconclusiveness of the SCM results, no pub-
   Fixed Effects – Gun-Related Murder Rate.
                                                                                         lic policy proposals should be gleaned from this study. Some prior
     Variable                                         Coefﬁcient     Test Statistic      studies have shown that crime rates are negatively affected by per-
     Constant                                         −0.81          −1.78*              missive CCW laws, while other studies have found that crime rates
     CCW dummy variable                               0.116          3.21***>            are either unaffected or are positively related to CCW laws. This
     Percent of population that is African-American   7.76           5.67***>            inconclusiveness is no doubt due to the variety of CCW laws at the
     Per capita real income                           −0.000016      −1.39               state level and the uncertainty regarding the frequency with which
     Percent of population college educated           −0.147         −0.49
                                                                                         citizens avail themselves of the opportunity to defend themselves
     Unemployment rate                                0.753          0.85
     Gun-related suicide ratio                        0.92           2.96***>            from criminal acts. Given that one of the goals of CCW laws is deter-
     Percent population 18-24                         −2.12          −2.30**             rence, it is difﬁcult to measure deterrence if it is unknown how
     Percent population 25-34                         −2.42          −1.66*              many persons are actually carrying concealed weapons on a reg-
     Population density                               0.0023         3.20***>
                                                                                         ular basis. Binary variables denoting the legal status of concealed
     Per capita alcohol consumption                   0.467          5.99***>
     Percent population in large cities               −0.93          −1.63               carry laws are poor substitutes for this type of data.

   R2 = 0.87.
   1% p-value ***>; 5% p-value **; 10% p-value *.
                                                                                         References

   Table 5                                                                               Abadie, A., Diamond, A., Hainmueller, J., 2015. Comparative politics and the
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                                                                                             Synthetic Controls Analysis,” NBER Working Paper.
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                                                           M. Gius / International Review of Law and Economics 57 (2019) 1–11                                                 11


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men. Available at: https://www.cdc.gov/   in a national cohort of gay and bisexual       of young black MSM. J Acquir Immune          susceptible populations needed to reduce
hiv/group/msm/index.html. Accessed        men in the United States. J Acquir Immune      Deﬁc Syndr. 2017;76(3):250–258.              local HIV epidemics. Sci Rep. 2016;6:
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Whitﬁeld TH, Starks TJ, Grov C. Uptake    et al. Challenges in translating PrEP in-      practical online tool to estimate anti-
of HIV pre-exposure prophylaxis (PrEP)    terest into uptake in an observational study   retroviral coverage for HIV infected and



Laws Facilitating Gun Carrying and                                                                                                    in Table 1, see the version of this
                                                                                                                                      comment on my bepress Web
                                                                                                                                      page, http://works.bepress.com/
Homicide                                                                                                                              john_donohue). The result is
                                                                                                                                      shown in the ﬁrst replication row
                                                                                         controlling for year and state               of Table 1, which is fairly close to
       See also Siegel, et al., p. 1923.                                                                                              the ﬁrst row values in that it again
                                                                                         ﬁxed effects and an array of
                                                                                         time-varying, state-level fac-               shows that RTC laws increase
    In “Easiness of Legal Access to       a high value on measurement and                                                             total, ﬁrearm, and handgun ho-
                                                                                         tors. The story emerging from
Concealed Firearm Permits and             science.1 A potential pitfall is that                                                       micides, while showing no sta-
                                                                                         the ﬁrst row is that RTC laws
Homicide Rates in the United              the Vital Statistics include justiﬁable                                                     tistically signiﬁcant effect on
                                                                                         increase murders, particularly
States,” Siegel et al. (p. 1923)          homicide by citizens in their in-                                                           nonﬁrearm homicides and
                                                                                         ﬁrearm and handgun murders,
estimate the impact of right-to-          tentional homicide counts (homi-                                                            long-gun homicides. The ﬁrst
                                                                                         but seem to have virtually no
carry (RTC) laws on murders               cides by police in the line of duty                                                         replication row attempt at repli-
                                                                                         effect on nongun murders or
over the period from 1991 to              are separately classiﬁed as “legal                                                          cation adjusts its standard errors
                                                                                         long-gun murders. This story
2015. They advance the current            intervention” cases). Although this                                                         via clustering by state, which
                                                                                         buttresses the fears of those who
literature in a number of ways and        could be problematic if RTC laws                                                            elevates the standard errors, as is
                                                                                         think that removing constraints
bring new data to bear on this            increased justiﬁable homicides in                                                           typically the case, and which I
                                                                                         on who can carry handguns will
important issue. Siegel et al.            a way that reduced other criminal                                                           have found to be necessary.3
                                                                                         increase intentional killings and
conclude that RTC laws lead to            victimizations, the evidence is now
                                                                                         criminal use of guns.
a substantial increase in murders,        quite strong that RTC laws have
almost all of which come through          led to an increase in overall violent
                                                                                                                                      CRACK COCAINE
increased ﬁrearms killings—spe-           crime.2 Thus, the value of having
ciﬁcally from handguns.                   the best count of intentional killings
                                                                                                                                      EPIDEMIC
                                          is worth the cost of having some
                                                                                         REPLICATING                                     One potential concern in
                                                                                            Although Siegel et al. show in            estimating the impact of RTC
                                          justiﬁable homicides in the mea-
                                                                                         their Table 4 that the basic results         laws on crime is that the period
                                          sure. After all, as Phil Cook noted in
                                                                                         shown in the ﬁrst row of my                  from about 1985 through 1992
VITAL STATISTICS                          an e-mail to me, “Any reasonable
                                                                                         Table 1 are relatively unaffected            was one of substantially in-
   Although earlier studies on            social objective function would say
                                                                                         by a number of permutations, I               creasing crime in certain (usually
this topic have typically relied on       we want to reduce the number of
                                                                                         was interested in further probing            non-RTC) states owing to the
crime data from the Uniform               intentional killings, whether crim-
                                                                                         some of the econometric choices              crack cocaine epidemic, which
Crime Reports, the authors used           inal or resulting from legal in-
                                                                                         underlying these estimates. Ac-              tended to improperly make
murder data from the National             tervention or self-defense.”
                                                                                         cordingly, I tried to replicate the          RTC laws seem beneﬁcial even
Vital Statistics and from the                                                            ﬁrst row using the data I had                though this simply reﬂected
Supplemental Homicide Re-                                                                available (I had one less year of            a serious problem of omitted
ports, which enabled them not                                                            data, so I used 1991–2014),                  variable bias. One might fear that
only to get a different set of es-        REPRODUCING                                    making a number of data choices              by using the data from 1991 to
timates on overall homicides but             The ﬁrst row of Table 1                     that I thought were used by the              2015, the authors might be causing
also to explore subcategories of          simply reproduces the ﬁrst line                authors in creating their own                the reverse problem: making
crime that can illuminate our             of Table 3 in the Siegel et al.                data set and analysis (for more              RTC states look worse than in fact
understanding of the impact of            article (while presenting stan-                complete details of all the models           they were as the crack problem
RTC laws. The Vital Statistics            dard errors in parentheses rather
data are particularly attractive          than conﬁdence intervals). The                 ABOUT THE AUTHOR
because they are collected under          ﬁrst row depicts their estimated               John J. Donohue is the C. Wendell and Edith M. Carlsmith Professor of Law at Stanford
                                                                                         University, Stanford, CA, and is with the National Bureau of Economic Research,
mandatory obligations (as op-             incident rate ratios for the im-               Cambridge, MA.
posed to police data, which are           pact of RTC laws on ﬁve                           Correspondence should be sent to John J. Donohue, Stanford University Law School
submitted on a voluntary basis)           homicide measures, using                       559 Nathan Abbott Way, Stanford, CA 94305 (e-mail: jjd@stanford.edu). Reprints can be
                                                                                         ordered at http://www.ajph.org by clicking the “Reprints” link.
and are gathered pursuant to              a negative binomial model for                     This editorial was accepted September 11, 2017.
public health norms that place            data from 1991 to 2015 and                        doi: 10.2105/AJPH.2017.304144

                                                                                                                                                   Exhibit D
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 TABLE 1—The Impact of Right-to-Carry Laws on Intentional Homicides Using Variations in Speciﬁcation
                                                                                                                           signiﬁcance for the shortened
 and Time Period: United States, 1991–2015                                                                                 2000–2014 period in the modiﬁed
                                                                                                                           and DAW models). This will be
                                                   CDC, IRR (SE)                                 SHR, IRR (SE)             important information for judges
                                       Total           Firearm       Nonﬁrearm           Handgun            Long Gun
                                                                                                                           and policymakers to consider in
                                                                                                                           evaluating RTC laws.
Original results, 1991–2015      1.065* (0.017)     1.086* (0.020)   1.014 (0.027)     1.106* (0.035)      0.999 (0.045)
                                                                                                                               The impact of RTC laws on
My replications                                                                                                            long-gun homicides is less certain
  Original model, 1991–2014      1.078* (0.036)     1.087* (0.043)   1.049 (0.035)     1.164* (0.083)      1.110 (0.102)   because the estimates are not sta-
  Original model, 2000–2014      1.077* (0.038)     1.085* (0.044)   1.068 (0.051)     1.169* (0.078)      1.100 (0.131)   tistically signiﬁcant in ﬁve of the
  Modiﬁed model, 1991–2014       1.092* (0.046)     1.133* (0.061)   1.041 (0.041)     1.177* (0.089)     1.204* (0.108)   seven rows and vary more widely
  Modiﬁed model, 2000–2014        1.051 (0.042)     1.089* (0.045)   1.020 (0.053)     1.171* (0.084)      1.103 (0.156)   than do those in the other four
  DAW model, 1991–2014           1.094* (0.047)     1.133* (0.062)   1.049 (0.040)      1.157 (0.091)     1.204* (0.108)   columns from a slight drop to
  DAW model, 2000–2014            1.060 (0.043)     1.095* (0.045)   1.037 (0.052)     1.158* (0.085)      1.095 (0.153)   a 20% increase (presumably be-
Note. CDC = Centers for Disease Control and Prevention; DAW = the basic model that I used in my own study of RTC           cause of the lower number of
laws2; IRR = incident rate ratio; SHR = Federal Bureau of Investigation’s Uniform Crime Reports, Supplemental              long-gun homicides and the
Homicide Reports. Standard errors clustered in the replication rows. I calculated standard errors for the ﬁrst row         weaknesses of the Federal Bureau
based on authors’ conﬁdence intervals, using the delta rule.
*P < .05.
                                                                                                                           of Investigation’s Uniform Crime
                                                                                                                           Reports, Supplemental Homicide
subsided and differentially lowered       (e.g., violent crime), which           2014 period (“Modiﬁed model,              Reports data). The somewhat
the rate of murder.                       might be endogenous. I included        1991–2014” row) and had little            anomalous statistically signiﬁcant
    To address this problem, I ran        the proportions of the population      impact on four of the ﬁve estimates       estimates of RTC laws on long-
the authors’ model on data from           that are male; either Black,           over the 2000 to 2014 period,             gun homicides (for the years
2000 to 2014 (a period past the           White, or other race; and either       while weakening the ﬁnding on             1991–2014 in the “Modiﬁed
inﬂuence of the crack epidemic).          aged 15 to 19 years or 20 to 39        overall homicides (“Modiﬁed               model, 1991–2014” and “DAW
The results are shown in the              years (rather than the proportions     model, 2000–2014” row).                   model, 1991–2014” rows) may
“Original model, 2000–2014”               aged 18-29 years and the male             For completeness, I also re-           provide evidence that the states
row of Table 1 and again show             proportion of that age group that      peated the approach of the                with large crack problems (who
the almost identical pattern that         Siegel et al. used). Alabama data      modiﬁed model rows (now                   often resisted passing RTC laws)
RTC laws increase murders—                was excluded because of possible       shown in the DAW model rows),             saw larger drops in long-gun ho-
speciﬁcally by ﬁrearms and                missing data, and I re-coded the       while using the basic model that I        micides in the postcrack era.
handguns with no statistically sig-       RTC laws so that the year in           used in Donohue et al.2 (as op-
niﬁcant impact on nonﬁrearm and           which they take effect is counted      posed to the original model rows                   John J. Donohue, JD, PhD
long-gun homicides. The “Orig-            as the proportion of the year for      or my modiﬁed version of the
inal model, 2000–2014” row re-            which the law was in effect.           modiﬁed model rows). The
sults importantly show that the           Rather than using both dispos-         DAW model rows are quite
                                                                                                                           ACKNOWLEDGMENTS
authors’ results remain robust even       able and median household in-          similar to the results of the             I am grateful to Phil Cook for his insights
when the inﬂuence of crack co-            come as controls, only disposable      modiﬁed model rows.                       into the particular value of the National
caine is controlled for and a dif-        income was included to reduce                                                    Vital Statistics data and to Jacob Dorn,
                                                                                                                           Sidharth Sah, and Henrik Sachs for ex-
ferent set of 10 states that adopted      overﬁtting. The Siegel et al.                                                    cellent research assistance.
RTC laws after 2000 is analyzed           model used controls for pop-           OVERWHELMING
                                                                                 SUPPORT                                   REFERENCES
(as opposed to the full set of 26         ulation density, total population,
                                                                                                                           1. US Department of Justice. Program
states that adopted after 1991).          and urbanization, while my                The evidence in Table 1                report: the nation’s two measures of ho-
    Siegel et al. made a number of        modiﬁed model only includes            overwhelmingly supports the               micide. 2014. Available at: https://www.
                                                                                                                           bjs.gov/content/pub/pdf/ntmh.pdf.
modeling choices that one could           population and percentage of           view that RTC laws increase
                                                                                                                           Accessed October 11, 2017.
handle differently, so I made             population in a metropolitan           ﬁrearm homicides by at least
                                                                                                                           2. Donohue JJ, Aneja A, Weber KD.
a few plausible modiﬁcations to           statistical area (as a measure of      8.5% and handgun homicides by             Right-to-Carry Laws and Violent Crime: A
see if the results would be               urbanization). I further dropped       perhaps as much as 16% while              Comprehensive Assessment Using Panel Data
inﬂuenced be these changes.               the gun prevalence measure be-         having no statistically signiﬁcant        and a State-Level Synthetic Controls Analysis.
                                                                                                                           Cambridge, MA: National Bureau of
Speciﬁcally, I dropped other gun          cause of possible confounding          impact on nonﬁrearm homi-                 Economic Research; 2017. NBER working
control policies (background              with the treatment effect. When        cides. In all of the rows in the          paper 23510.
check, permit for sale, waiting           I made these changes in a              table, RTC laws are consistently          3. Aneja A, Donohue JJ, Zhang A. The
periods), which might be highly           “modiﬁed model,” they turned           associated with increases in total        impact of right-to-carry laws and the
                                                                                                                           NRC report: lessons for the empirical
correlated with RTC laws, and             out to somewhat strengthen the         homicides of from 5% to 9.5%              evaluation of law and policy. Am Law Econ
dropped all other crime rates             overall results over the 1991 to       (but these estimates lost statistical     Rev. 2011;13(2):565–631.

                                                                                                                                         Exhibit D
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The Impact of State Firearm Laws on Homicide
and Suicide Deaths in the USA, 1991–2016: a Panel Study
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1
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Children’s Hospital, Boston, MA, USA; 3Harvard T.H. Chan School of Public Health, Boston, MA, USA.


BACKGROUND: Firearm injuries are a major cause of                                                INTRODUCTION
mortality in the USA. Few recent studies have simulta-
neously examined the impact of multiple state gun laws to                From 1991 to 2016, the average annual firearm death rate in
determine their independent association with homicide                    the USA was 11.4 per 100,000 individuals.1 This amounts to
and suicide rates.                                                       859,871 lives lost due to a single cause of preventable death
OBJECTIVE: To examine the relationship between state                     over a 26-year period.1 Although numerous studies have eval-
firearm laws and overall homicide and suicide rates at the               uated the impact of state firearm laws on homicide or suicide
state level across all 50 states over a 26-year period.                  rates (Online Supplemental Tables S1, S2), a major limitation
DESIGN: Using a panel design, we analyzed the relation-
                                                                         is that most examined the impact of only one type of policy.
ship between 10 state firearm laws and total, age-
adjusted homicide and suicide rates from 1991 to 2016                    Because states that enact one type of law are also more likely
in a difference-in-differences, fixed effects, multivariable             to enact others,2 it is difficult to isolate the effect of one law
regression model. There were 1222 observations for ho-                   without considering the simultaneous impact of other policies.
micide analyses and 1300 observations for suicide                           To improve our ability to draw causal inferences, a stronger
analyses.                                                                study design would examine the relationship between the
PARTICIPANTS: Populations of all US states.                              enactment of multiple types of state firearm laws over time
MAIN MEASURES: The outcome measures were the an-
                                                                         and differences in fatality rates between states. However, we
nual age-adjusted rates of homicide and suicide in each
state during the period 1991–2016. We controlled for a
                                                                         are aware of only one multi-year panel study of homicide rates
wide range of state-level factors.                                       that examined multiple laws and included data from the past
KEY RESULTS: Universal background checks were asso-                      decade; this study was conducted at the level of urban
ciated with a 14.9% (95% CI, 5.2–23.6%) reduction in                     counties, and only 34 states were included.3 We are not aware
overall homicide rates, violent misdemeanor laws were                    of any panel study at the state level that used data within the
associated with a 18.1% (95% CI, 8.1–27.1%) reduction                    past decade to assess simultaneously the effect of multiple
in homicide, and Bshall issue^ laws were associated with a               state firearm laws on homicide or suicide death rates.
9.0% (95% CI, 1.1–17.4%) increase in homicide. These
                                                                            One reason why many previous studies have focused on a
laws were significantly associated only with firearm-
related homicide rates, not non-firearm-related homicide                 single type of law is the absence of a comprehensive national
rates. None of the other laws examined were consistently                 database of state firearm laws. For most previous studies,
related to overall homicide or suicide rates.                            researchers had to track down the status of state firearm laws
CONCLUSIONS: We found a relationship between the en-                     by conducting their own legal research, a painstaking process
actment of two types of state firearm laws and reductions                that precluded a single study of a large range of gun-related
in homicide over time. However, further research is nec-                 policies. We recently created a novel database in which we
essary to determine whether these associations are causal
                                                                         recorded, quantified, and classified the largest-to-date compi-
ones.
                                                                         lation of firearm provisions by state over a 26-year period.2 In
KEY WORDS: community health; firearms; health policy; injury;            this study, we examine the simultaneous impact of 10 different
prevention; public health.                                               types of state firearm laws on overall homicide and suicide
J Gen Intern Med 34(10):2021–8
                                                                         rates over a 26-year period using the same model specification.
DOI: 10.1007/s11606-019-04922-x
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                                                                                                     METHODS
Electronic supplementary material The online version of this article
(https://doi.org/10.1007/s11606-019-04922-x) contains supplementary      Data Sources
material, which is available to authorized users.
Received January 30, 2018
                                                                         We ascertained the annual presence or absence of 10 state
Revised August 21, 2018                                                  firearm laws in all 50 states from 1991 to 2016 using the State
Accepted January 10, 2019                                                Firearm Law Database, which provides a panel of firearm-
Published online March 28, 2019                                          related laws in each state, for each year.2 The database was
                                                                                                                                        2021
                                                                                                                        Exhibit D
                                                                                                                        Page 113
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compiled using the Thompson Reuters Westlaw database of                  of policy outcomes,5, 6 an approach that is widely used in the
state statutes and session laws and a database assembled by              econometric and criminology literature on the effect of state
Everytown for Gun Safety.4                                               firearm laws and was first introduced by Lott and Mustard in
   We obtained homicide and suicide mortality data from the              their classic 1997 paper.7 Using multivariable linear regres-
Centers for Disease Control and Prevention Web-Based Injury              sion, we evaluated the association between the firearm law
Statistics Query and Reporting System (WISQARS), which                   provisions in each state (which were time-varying) and the
are derived from the vital statistics death registry of the Na-          homicide and suicide rates over the study period, while con-
tional Center for Health Statistics.1 WISQARS reports annual             trolling for several other time-varying state-level factors. We
state-specific, age-adjusted fatality rates for homicide and             included year and state fixed effects and estimated cluster-
suicide.                                                                 robust standard errors, which account for the clustering of
                                                                         observations, serial autocorrelation, and heteroskedasticity.8
Study Population                                                         By including state fixed effects, our analysis focuses on the
                                                                         time series of observations within each state, comparing
We assembled annual, state-specific age-adjusted total homi-
                                                                         changes in homicide or suicide rates within a state from before
cide and suicide rates in each state from 1991 to 2016. We
                                                                         to after the implementation of a particular firearm law, using
excluded homicides due to legal intervention (1% of firearm
                                                                         states without that law as controls. Because the outcome
deaths), unintentional firearm fatalities (2.5% of firearm
                                                                         variables are not normally distributed but skewed, we log-
deaths), and fatalities of undetermined intent (1% of firearm
                                                                         transformed the homicide and suicide rates.
deaths) from our analysis.
                                                                            Our final model was as follows:
Outcome Measures                                                         ln ðμst Þ ¼ α þ ðB LAW st Þ þ ðC  CONTROLst Þ þ S þ T þ e;

The main outcome measures were the annual, age-adjusted                  where μst is the homicide or suicide rate in state s in year t,
homicide rate and age-adjusted suicide rate in each state over           LAWst is a dummy variable for the presence or absence of a
the study period. Because there were 50 states and 26 years,             particular state firearm law in state s in year t, CONTROLst is a
the total number of possible observations was 1300. However,             vector of control variables, S represents state fixed effects, and
the CDC does not report death rates when the absolute number             T represents year fixed effects.
of deaths in a state during a given year is less than 10. For this          We controlled for the following time-varying state-level
reason, we did not have a complete panel of homicide data for            factors, chosen because of their association with homicide or
three states: North Dakota, Vermont, and Wyoming. We there-              suicide rates in the published literature and their association
fore excluded these states from the homicide analyses, yield-            with both death rates and the adoption of firearm laws in our
ing a total of 1222 observations. There were no missing data             data set: (1) the percent of the population that is black; (2) the
for suicide death rates, so there were 1300 observations for             percent of population ages 15–29 that is male; (3) per capita
analyses involving this outcome.                                         law enforcement officers; (4) the violent crime rate (excluding
                                                                         homicide); (5) the divorce rate; (6) the unemployment rate; (7)
Main Predictor Variables                                                 the poverty rate; (8) per capita alcohol consumption; (9) the
                                                                         incarceration rate; (10) population density; (11) log of popu-
From the state law database, we selected 10 laws to analyze
                                                                         lation; and (12) household gun ownership percentage.
based on several considerations: (1) laws that are currently being
                                                                            Because annual survey data of household gun ownership at
considered by state legislatures; (2) laws that have been exam-
                                                                         the state level are not available, most previous studies have
ined in prior research; and (3) laws that were enacted by at least
                                                                         used the ratio of firearm suicides to all suicides (FS/S) as a
two states during the study period. We analyzed the following 10
                                                                         proxy for household firearm ownership.9 This proxy is highly
laws (defined in detail in Table 1): (1) universal background
                                                                         correlated (r = 0.80) with state-specific measures of firearm
checks, either through point-of-purchase checks or a permit to
                                                                         ownership on a cross-sectional basis.10 Recently, we devel-
purchase requirement; (2) ban on handgun possession for people
                                                                         oped a new proxy measure that improves the correlation with
convicted of a violent misdemeanor; (3) age 21 limit for handgun
                                                                         survey-measured gun ownership from 0.80 to 0.95.10 This
possession; (4) Bshall issue^ laws; (5) permitless carry laws; (6)
                                                                         new proxy measure incorporates a state’s hunting license rate
prohibition against gun trafficking; (7) ban on Bjunk guns^; (8)
                                                                         in addition to FS/S.10 In this study, we used this new proxy.
Bstand your ground^ laws; (9) assault weapons ban; and (10) ban
                                                                            Per capita law enforcement officers and violent crime rates
on large-capacity ammunition magazines. Laws were lagged by
                                                                         were obtained from the FBI Uniform Crime Reports;11 incar-
1 year in the analysis; that is, we considered the potential effect of
                                                                         ceration rates were obtained from the Bureau of Justice Sta-
a law only in the full first year after its enactment.
                                                                         tistics;12 and per capita alcohol consumption was obtained
                                                                         from the National Institute on Alcohol Abuse and Alcoholism
Data Analysis
                                                                         (NIAAA) for 1991–201513 and from Statistica14 for 2016.
Unlike many earlier analyses in the public health literature, we         Hunting licensing data were obtained from the U.S. Fish and
employed a difference-in-differences approach to the analysis            Wildlife Service.15 The remaining variables were obtained
                                                                                                                             Exhibit D
                                                                                                                             Page 114
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                                             Table 1 Description of State Firearm Laws Examined

Law                  Brief description                Detailed description                States with   Additional states with      Law
                                                                                          law in 1991   law in 2016                 changes
                                                                                                                                    from 1991
                                                                                                                                    to 2016

Universal            Background checks                Individuals must undergo a          CA, IL, MA,   CO, CT, DE, HI, NY, OR,     7
background checks    conducted through permit         background check to purchase        NJ, RI        WA
                     requirement for all firearm      any type of firearm, either at
                     sales or through required        the point of purchase or
                     background checks for all        through a license/permit appli-
                     sales)                           cation. This may or may not
                                                      include exemptions for buyers
                                                      who have already undergone a
                                                      background check for a con-
                                                      cealed carry permit or other
                                                      licensing requirements.
Violent              Handgun possession is            Must cover possession of            CA, HI, NY    CT, MD                      2
misdemeanor is       prohibited for people who        handguns, not just purchase.
prohibiting for      have committed a violent         Must cover assault, not just
handgun              misdemeanor punishable by        aggravated assault. Must
possession           less than 1 year of              extend beyond domestic
                     imprisonment                     violence-related misdemeanors,
                                                      restraining orders, and stalking.
                                                      Must not require that misde-
                                                      meanor be punishable by im-
                                                      prisonment of more than
                                                      1 year. Must not require that
                                                      misdemeanor involve use of a
                                                      firearm or result in injury.
Age 21 limit for     No possession of handguns        You must be 21 to possess a         IA, RI, SC    CT, HI, MD, MA, NJ, NY      7
handgun              until age 21                     handgun. No exemption for                         (SC repealed)
possession                                            parental consent. Exclusions
                                                      for adult-supervised hunting,
                                                      sporting, or training activities
                                                      are OK. Exception for posses-
                                                      sion on private premises NOT
                                                      OK unless minor required to be
                                                      under adult supervision.
Shall issue law      Law provides no discretion       A permit must be issued unless      FL, GA, ID,   AL, AR, CO, IL, KY, LA,     23
                     to law enforcement               the applicant meets pre-            IN, IA, ME,   MI, MN, MO, NE, NV,
                     authorities in deciding          established disqualifying crite-    MS, MT, NH,   NM, NC, OH, OK, SC,
                     whether to grant a concealed     ria.                                ND, OR, PA,   TN, TX, UT, VA, WA, WI
                     carry permit.                                                        SD, WA, WV    (WV moved to permitless
                                                                                                        carry)
Permitless carry     No permit is required to         Age restrictions may apply, and     VT            AK, AZ, ID, KS, ME,         8
                     carry a concealed handgun.       a voluntary permitting system                     MS, WV, WY
                                                      may still be in place.
Trafficking          No person may purchase a         The law prohibits the purchase      FL, MA, ND,   CA, CO, CT, DE, IL, MN,     9
prohibited           firearm with the intent to re-   of a firearm with the intent to     OH, VA        NY, UT, VA
                     sell to a person who is          re-sell to a prohibited person.
                     prohibited from buying or        We make no distinction be-
                     possessing a firearm             tween whether the trafficker
                                                      (original purchaser) must actu-
                                                      ally know or have reason to
                                                      believe that the buyer is pro-
                                                      hibited. An exemption for sale
                                                      to relatives is acceptable.
Junk gun ban         Ban on junk guns                 The law prohibits the sale of       HI, IL, MD,   CA, MA (SC repealed)        3
                     (sometimes called BSaturday      handguns that fail to meet one      MN, SC
                     night specials^)                 or more of the following
                                                      requirements: (1) Passes drop
                                                      testing and firing testing; (2)
                                                      Passes a melting point test; (3)
                                                      Possesses specific handgun
                                                      safety features; (4) Appears on
                                                      a list of approved handguns.
                                                      This may or may not apply to
                                                      private sellers.
Stand your ground    A Bstand your ground^ law        Use of deadly force is allowed      None          AL, AK, AZ, FL, GA, IN,     24
law                  is in place                      to be a first resort if you are                   KS, KY, LA, MI, MS,
                                                      threatened in a public place in                   MO, MT, NV, NH, NC,
                                                      which you have the right to be                    OK, PA, SC, SD, TN, TX,
                                                      present. There is no duty to                      UT, WV
                                                      retreat. Does not count as stand
                                                      your ground law if it only
                                                                                                                         (continued on next page)

                                                                                                                           Exhibit D
                                                                                                                           Page 115
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                                                             Table 1. (continued)

Law                  Brief description             Detailed description                States with    Additional states with    Law
                                                                                       law in 1991    law in 2016               changes
                                                                                                                                from 1991
                                                                                                                                to 2016
                                                   applies when person is in a
                                                   vehicle.
Assault weapons      Ban on sale of assault        Law bans the sale of both           CA, NJ         CT, MD, MA, NY            4
ban                  weapons beyond just assault   assault pistols and other assault
                     pistols                       weapons.
Large capacity       Ban on sale large capacity    Law bans the sale of both           NJ             CA, CO, CT, MD, MA,       6
ammunition           magazines beyond just         assault pistol ammunition and                      NY
magazine ban         ammunition for pistols        other large-capacity magazines.




from the U.S. Census. We conducted the analysis using Stata                falsification test, each of these three laws was found to be
version 15 (StataCorp LP, College Station, TX).                            significantly associated only with the firearm-related homicide
   Because the outcome variables are log-transformed, the                  rate, not the non-firearm-related homicide rate (Online
regression coefficients can be interpreted as the percentage               Supplemental Table S3).
change in the firearm homicide or suicide rate associated with                In the fully adjusted model, household gun ownership was
the presence of a particular law by exponentiating the coeffi-             not associated with overall rates of homicide (Table 3). Factors
cient, subtracting 1, and then multiplying by 100 (i.e., a                 that were significant positive predictors of overall homicide
coefficient of 0.10 for a given law would indicate a 10.5%                 rates were the percentage of males, the violent crime rate, and
increase in the mortality rate associated with that law).                  population density. Overall population was negatively associ-
   To test the plausibility of any observed associations be-               ated with homicide rates.
tween firearm laws and overall homicide or suicide rates, we                  When examined individually, four of the 10 firearm laws
conducted a falsification test: we analyzed the relationship               were significantly associated with overall suicide rates
between these laws and firearm compared to non-firearm                     (Table 4). However, after simultaneously controlling for all
mortality rates. These laws would be expected to primarily                 10 firearm laws, only two laws were significantly related to
affect only the firearm-related rates.                                     suicide rates: bans on junk guns were associated with 6.4%
   In a final sensitivity analysis, we modeled the secular time            lower suicide rates (95% CI, 3.5–9.2%) and permitless carry
trend in firearm homicide or suicide rates by including year as            laws were associated with 5.1% higher suicide rates (95% CI,
a continuous variable in the model rather than as a fixed effect.          0.2–10.4%). Both laws failed the falsification test, as both
                                                                           were significantly related to non-firearm as well as firearm
                                                                           homicide rates (Online Supplemental Table S4). None of the
                                                                           other laws were significantly associated with overall suicide
                           RESULTS
                                                                           rates.
Over the 26-year study period, there was a substantial varia-                 In the fully adjusted model, household gun ownership was
tion in the violent death rates across states. In 2016, overall            not associated with overall rates of suicide (Table 4). Factors
homicide rates ranged from a low of 1.3 per 100,000 in Maine               that were significant positive predictors of suicide rates were
and New Hampshire to a high of 14.2 per 100,000 in Louisi-                 the violent crime rate, unemployment rate, poverty rate, and
ana (Table 2). In 2016, overall suicide rates ranged from a low            per capita alcohol consumption. Overall population was neg-
of 7.2 per 100,000 in New Jersey to a high of 26.0 per 100,000             atively related to suicide rates.
in Montana. Across the study period, there were a total of 93                 Entering year as a continuous variable instead of as a fixed
law changes among the 10 laws studied (Table 1).                           effect had no appreciable impact on the results (Online
   When examined individually, universal background checks                 Supplemental Table S5).
and violent misdemeanor laws were significantly associated
with lower overall homicide rates and Bshall issue^ laws were
significantly associated with higher homicide rates (Table 3).
After simultaneously controlling for all 10 firearm laws, uni-                                       DISCUSSION
versal background checks were associated with 14.9% lower                  To the best of our knowledge, this is the first study using data
overall homicide rates (95% confidence interval [CI], 5.2%–                from within the past decade to simultaneously model the effect
23.6%); violent misdemeanor laws were associated with                      of multiple state firearm laws on homicide and suicide rates at
18.1% lower homicide rates (95% CI, 8.1–27.1%); and Bshall                 the state level using a multi-year panel design. Using a
issue^ laws were associated with 9.0% higher homicide rates                difference-in-differences analysis, we found that laws requir-
(95% CI, 1.1%–17.4%). None of the other seven laws were                    ing universal background checks and those prohibiting firearm
significantly associated with overall homicide rates. In a                 possession by people with a conviction       Exhibit
                                                                                                                             for a Dviolent
                                                                                                                          Page 116
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                                      Table 2 Status of State Firearm Laws and Violent Death Rates, 2016

State            UBC      VM     21     SI   PC     TP    JG    SYG      AW      LCM      Age-adjusted overall          Age-adjusted overall
                                                                                          homicide rate (per            suicide rate (per
                                                                                          100,000)                      100,000)

Louisiana                               √                       √                         14.2                          14.1
Mississippi                                  √                  √                         12.0                          12.7
Alabama                                 √                       √                         11.8                          15.6
Maryland                  √      √                        √              √       √        10.0                          9.3
Missouri                                √                                                 9.9                           18.3
New Mexico                              √                                                 9.5                           22.5
Illinois         √                      √           √     √                               9.2                           10.7
South Carolina                          √                       √                         9.0                           15.7
Tennessee                               √                       √                         8.7                           16.3
Arkansas                                √                                                 8.7                           18.2
Oklahoma                                √                       √                         8.6                           20.9
Georgia                                 √                       √                         7.9                           13.3
Alaska                                       √                  √                         7.5                           25.4
Indiana                                 √                       √                         7.5                           15.4
North Carolina                          √                       √                         7.4                           13.0
Nevada                                  √                       √                         7.4                           21.4
Kentucky                                √                       √                         7.1                           16.8
Delaware         √                                  √                                     7.0                           11.5
Florida                                 √           √           √                         6.8                           13.9
Michigan                                √                       √                         6.6                           13.3
Ohio                                    √           √                                     6.5                           14.1
West Virginia                                √                  √                         6.3                           19.5
Arizona                                      √                  √                         6.3                           17.6
Pennsylvania                            √                       √                         6.0                           14.7
Texas                                   √                       √                         6.0                           12.6
Virginia                                √           √                                     5.5                           13.2
Kansas                                       √                  √                         5.3                           17.9
California       √        √                         √     √              √       √        5.2                           10.5
Wisconsin                               √                                                 4.8                           14.6
South Dakota                            √                       √                         4.7                           20.5
New Jersey       √               √                                       √       √        4.6                           7.2
Montana                                 √                       √                         4.3                           26.0
Colorado         √                      √           √                            √        4.2                           20.5
New York         √        √      √                  √                    √       √        3.5                           8.1
Nebraska                                √                                                 3.3                           13.0
Oregon           √                      √                                                 3.2                           17.8
Wyoming                                      √                                            3.0                           25.2
Washington       √                      √                                                 2.9                           14.8
Iowa                             √      √                                                 2.8                           14.5
Hawaii           √        √      √                        √                               2.8                           12.0
Connecticut      √        √      √                  √                    √       √        2.6                           10.0
Utah                                    √           √           √                         2.5                           21.8
Minnesota                               √           √     √                               2.4                           13.2
Rhode Island     √               √                                                        2.3                           11.1
North Dakota                            √           √                                     2.2                           19.0
Massachusetts    √               √                  √     √              √       √        2.0                           8.7
Idaho                                        √                                            2.0                           21.3
Vermont                                      √                                            1.9                           17.3
New                                     √                       √                         1.3                           17.3
Hampshire
Maine                                        √                                            1.3                           15.7
Includes the following 10 laws: UBC, universal background checks; VM, violent misdemeanor prohibitor; 21, age 21 limit for handgun purchase; SI,
shall issue; PC, permitless carry; TP, trafficking prohibited; JG, junk gun ban; SYG, stand your ground law; AW, assault weapons ban; LCM, large
capacity magazine ban


misdemeanor were associated with significant reductions in                      Second, using a difference-in-differences approach helps to
the overall homicide rate, while Bshall issue^ laws were asso-               address the major threat to validity in this type of research:
ciated with a significant increase in the homicide rate. There               states with lower homicide rates to begin with may be more
was no significant association between homicide and the other                likely to enact stronger gun laws. By including state and year
laws studied, and we did not find consistent relationships                   fixed effects, we are using a Bwithin-estimator^ that assesses
between any of the laws and overall suicide rates.                           differences within states over time.5, 6 Studies that do not
   This study has several strengths. First, it is one of the first           include state fixed effects are also assessing differences across
studies to clearly define each law with attention to the detailed            states at a given time (Bbetween effects^), which may reflect
provisions of the law, including its scope, exceptions, and                  different propensities of states with lower or higher homicide
exemptions. One reason for some of the conflicting results of                rates to enact laws, rather than law effects. Thus, the
previous studies (Online Supplemental Tables S1, S2) may be                  difference-in-differences approach is less subject to the possi-
the inconsistent definition of state statutes.                               bility of Breverse causation^ (i.e., it is the level of the homicide
                                                                                                                            Exhibit D
                                                                                                                            Page 117
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                           Table 3 Linear Regression Model Results: Factors Affecting Homicide Rates, 1991–2016

                                                               Regression coefficient for state firearm      Regression coefficient, fully adjusted
                                                               laws entered one at a time (95% CI)           model [all laws entered together]
                                                                                                             (95% CI)

Percent black                                                                                                0.043 (− 0.004, 0.089)
Percent male among population ages 15–29                                                                     0.100* (0.021, 0.179)
Per capita law enforcement officers                                                                          − 0.023 (− 0.079, 0.033)
Violent crime rate                                                                                           0.054* (0.026, 0.081)
Divorce rate                                                                                                 − 0.030 (− 0.066, 0.005)
Unemployment rate                                                                                            0.002 (− 0.015, 0.019)
Poverty rate                                                                                                 0.002 (− 0.005, 0.010)
Per capita alcohol consumption                                                                               0.138 (− 0.021, 0.298)
Incarceration rate (per 1000 population)                                                                     − 0.025 (− 0.058, 0.008)
Population density (per 0.1 mile2)                                                                           0.032* (0.010, 0.054)
Log of population                                                                                            − 0.629* (− 1.081, − 0.177)
Proxy for household gun ownership percentage                                                                 0.001 (− 0.004, 0.007)
Firearm laws
Universal background checks                                    − 0.173* (− 0.299, − 0.048)                   − 0.161* (− 0.269, − 0.053)
Violent misdemeanor is prohibiting for handgun possession      − 0.155* (− 0.276, − 0.033)                   − 0.200* (− 0.316, − 0.084)
Age 21 limit for handgun possession                            − 0.117 (− 0.245, 0.010)                      − 0.068 (− 0.200, 0.064)
Shall issue law                                                0.082* (0.018, 0.146)                         0.086* (0.011, 0.160)
Permitless carry law                                           − 0.063 (− 0.152, 0.027)                      0.015 (− 0.101, 0.131)
Trafficking prohibited                                         − 0.045 (− 0.133, 0.044)                      0.005 (− 0.050, 0.061)
Junk gun ban                                                   − 0.028 (− 0.177, 0.121)                      − 0.010 (− 0.136, 0.116)
Stand Your Ground law                                          0.020 (− 0.042, 0.083)                        0.009 (− 0.050, 0.067)
Ban on assault weapons                                         − 0.143 (− 0.300, 0.013)                      − 0.092 (− 0.222, 0.039)
Ban on large capacity ammunition magazines                     − 0.089 (− 0.205, 0.027)                      0.038 (− 0.036, 0.112)
R2                                                                                                                            0.94
Outcome variable is the log of the age-adjusted total homicide rate. All models include year and state fixed effects. Standard errors are robust and
adjusted for state-level clustering
CI, confidence interval
*Coefficient is statistically significant from zero (p < 0.05). Also shown in italic



rates that are affecting the law enactment, not the other way                When we restrict our analysis to that decade, we obtain similar
around). The inclusion of state fixed effects has the added                  results.
advantage of controlling for any differences between states in                  A second important finding of this study is that changes in
time-invariant factors.                                                      household gun ownership were not found to be significantly
   Third, including a large panel of time-varying state factors              associated with homicide or suicide rates, a result that differs
as independent variables helps address the problem of omitted                from several previous studies.34, 35 The discrepancy in these
variable bias. Nevertheless, it is still possible that states which          results could possibly be due to our inclusion of state fixed
were experiencing large declines in homicide were more likely                effects. It is possible that although there is a strong cross-
to enact a particular law; even the within-estimator may not be              sectional relationship between the prevalence of firearm own-
sufficient to rule out the possibility of reverse causation.                 ership and homicide and suicide rates, small changes in fire-
   Our finding of a negative association between universal                   arm ownership that are observed over time are not sufficient
background checks (including permit requirements) and ho-                    enough to result in measurable differences in overall popula-
micide rates is consistent with several other studies.3, 16–20 Our           tion homicide or suicide rates. Even if we had survey-based
finding of a negative association between violent misdemean-                 measures of household gun ownership, the margin of error is
or laws and homicide rates is consistent with one other recent               probably greater than the actual change in gun ownership
study, which reported a 24% reduction in intimate partner                    levels from year to year. There is too much noise in our
homicide in states with these laws.21 However, caution should                measure of gun ownership and too little variability in true
be exercised when interpreting this finding because only two                 levels of household gun ownership to determine if changes
states implemented violent misdemeanor laws during the                       in gun ownership are related to differences in homicide or
study period. While historically the literature on the impact                suicide rates. Few of the previous studies included state fixed
of concealed carry–permitting laws has been inconsistent and                 effects. Because of the conflict with the existing literature,
several studies have found an association between Bshall                     further study is required before any definitive conclusion is
issue^ laws and reduced murder rates,7, 22–29 the three most                 drawn.
recent studies to examine these laws found a positive associ-                   It is important to note that the absence of an observed
ation with homicide rates.3, 30, 31                                          association of a law and overall homicide or suicide rates does
   Our finding that there was no association between stand                   not necessarily mean that these laws are ineffective. It may
your ground laws and homicide rates conflicts with the find-                 also be that the laws are not broad enough to affect overall
ings of two previous studies on these laws.32, 33 However, both              population death rates or that the laws are not being adequately
of these studies examined only the decade of 2000–2010.                      enforced.
                                                                                                                               Exhibit D
                                                                                                                               Page 118
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                            Table 4 Linear Regression Model Results: Factors Affecting Suicide Rates, 1991–2016

                                                                  Regression Coefficient for State             Regression Coefficient, Fully Adjusted
                                                                  Firearm Laws Entered One at                  Model [All Laws Entered Together]
                                                                  a Time (95% CI)                              (95% CI)

Percent black                                                                                                  − 0.015 (− 0.033, 0.003)
Percent male among population ages 15–29                                                                       0.018 (− 0.014, 0.049)
Per capita law enforcement officers                                                                            0.006 (− 0.015, 0.027)
Violent crime rate                                                                                             0.018* (0.007, 0.029)
Divorce rate                                                                                                   − 0.008 (− 0.028, 0.012)
Unemployment rate                                                                                              0.008* (0.001, 0.016)
Poverty rate                                                                                                   0.004* (0.000, 0.007)
Per capita alcohol consumption                                                                                 0.075* (0.012, 0.138)
Incarceration rate (per 1000 population)                                                                       0.007 (− 0.011, 0.025)
Population density (per 0.1 mile2)                                                                             − 0.001 (− 0.010, 0.007)
Log of population                                                                                              − 0.349* (− 0.601, − 0.097)
Proxy for household gun ownership percentage                                                                   0.001 (− 0.001, 0.003)
Firearm laws
Universal background checks                                       0.008 (− 0.034, 0.050)                       − 0.010 (− 0.033, 0.053)
Violent misdemeanor is prohibiting for handgun possession         − 0.024 (− 0.064, 0.016)                     − 0.043 (− 0.090, 0.004)
Age 21 limit for handgun possession                               − 0.040* (− 0.078, − 0.001)                  − 0.030 (− 0.070, 0.010)
Shall issue law                                                   0.000 (− 0.025, 0.024)                       0.004 (− 0.022, 0.029)
Permitless carry law                                              0.063* (0.006, 0.120)                        0.050* (0.002, 0.099)
Trafficking prohibited                                            − 0.013 (− 0.047, 0.021)                     − 0.002 (− 0.043, 0.038)
Junk gun ban                                                      − 0.074* (− 0.101, − 0.047)                  − 0.066* (− 0.097, − 0.036)
Stand Your Ground law                                             − 0.014 (− 0.033, 0.006)                     − 0.018 (− 0.037, 0.001)
Ban on assault weapons                                            − 0.037 (− 0.081, 0.006)                     0.001 (− 0.063, 0.066)
Ban on large-capacity ammunition magazines                        − 0.052* (− 0.099, − 0.005)                  − 0.004 (− 0.053, 0.046)
R2                                                                                                                               0.94
Outcome variable is the log of the age-adjusted total suicide rate. All models include year and state fixed effects. Standard errors are robust and
adjusted for state-level clustering
CI confidence interval
*Coefficient is statistically significant from zero (p < 0.05). Also shown in italic



   Several other limitations deserve mention. First, the firearm            discretion to law enforcement officials in approving concealed
ownership proxy has been validated with cross-sectional data,               carry permits are associated with higher homicide rates. Fur-
but not with longitudinal data.36 It is not clear whether this              ther research on the impact of state firearm laws is necessary to
proxy is able to accurately measure changes in household gun                assess causality and should rely upon detailed definitions of
ownership over time.                                                        each law.
   Second, while we controlled for a range of state-level
factors associated with homicide death rates, there may be                  Corresponding Author: Michael Siegel, Department of Community
                                                                            Health Sciences, Boston University School of Public Health, 801
unidentified omitted variables. For example, in the early
                                                                            Massachusetts Avenue, 4th Floor, Boston, MA 02118, USA
1990s, firearm homicide rates were very high in many cities,                (e-mail: mbsiegel@bu.edu).
seemingly related to the crack cocaine epidemic.37, 38 Never-
theless, when we restrict the analysis to the period 2000–2016,             Funding Information Support for this research was provided by the
our results remain essentially unchanged, although the preci-               Robert Wood Johnson Foundation, Evidence for Action Program (grant
sion of the estimates decreases.                                            73337).

   Third, we accounted only for the presence or absence of
firearm law provisions, not for the implementation and en-                  Compliance with Ethical Standards:
forcement of these laws. Fourth, trying to incorporate the most
                                                                            Conflict of Interest: The authors declare that they do not have a
important explanatory variables in a large regression almost                conflict of interest.
invariably leads to some multicollinearity. For example, when
we use all the other independent variables to explain variations            Disclaimer: The views expressed here do not necessarily reflect the
                                                                            views of the Robert Wood Johnson Foundation.
in the gun ownership proxy, the adjusted R2 is 0.69.
   Finally, we do not disaggregate homicide rates by the age or
other characteristics of either the offender or victim, which could
mask the effect of laws intended to affect a particular subpopu-
lation. For example, age restrictions on gun possession would                                              REFERENCES
only be expected to affect youth suicide rates, not adult rates.              1.   Centers for Disease Control and Prevention. Web-based Inquiry Statistics
   In conclusion, this study provides evidence that universal                      Query and Reporting System (WISQARS). Atlanta, GA: National Center
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with lower overall homicide rates, while laws that provide no
                                                                                                                                    Exhibit D
                                                                                                                                    Page 119
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                                                                                                                                             Exhibit D
                                                                                                                                             Page 120
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    J Urban Health (2018) 95:383–390
    https://doi.org/10.1007/s11524-018-0273-3




    Association between Firearm Laws and Homicide in Urban
    Counties
    Cassandra K. Crifasi & Molly Merrill-Francis &
    Alex McCourt & Jon S. Vernick & Garen J. Wintemute &
    Daniel W. Webster



    Published online: 21 May 2018
    # The New York Academy of Medicine 2018


    Abstract Laws related to the sale, use, and carrying of        (IRR = 0.86, 95% CI 0.82–0.90). CBC-only, SYG, RTC,
    firearms have been associated with differences in firearm      and VM laws were all associated with increases in fire-
    homicide rates at the state level. Right-to-carry (RTC) and    arm homicide. None of the laws were associated with
    stand your ground (SYG) laws are associated with in-           differences in non-firearm homicide rates. These findings
    creases in firearm homicide; permit-to-purchase (PTP)          are consistent with prior research at the state level show-
    laws and those prohibiting individuals convicted of vio-       ing PTP laws are associated with decreased firearm ho-
    lent misdemeanors (VM) have been associated with de-           micide. Testing the effects of PTP laws specifically in
    creases in firearm homicide. Evidence for the effect of        large, urban counties strengthens available evidence by
    comprehensive background checks (CBC) not tied to              isolating the effects in the geographic locations in which
    PTP is inconclusive. Because firearm homicide tends to         firearm homicides concentrate.
    concentrate in urban areas, this study was designed to test
    the effects of firearm laws on homicide in large, urban        Keywords Gun policy . Firearm . Homicide
    U.S. counties. We conducted a longitudinal study using
    an interrupted time series design to evaluate the effect of
    firearm laws on homicide in large, urban U.S. counties
                                                                   Introduction
    from 1984 to 2015 (N = 136). We used mixed effects
    Poisson regression models with random intercepts for
                                                                   In 2016, there were 14,415 firearm homicides in the
    counties and year fixed effects to account for national
                                                                   United States (U.S.), which accounted for nearly 75%
    trends. Models also included county and state character-
                                                                   of all homicides [1]. Firearm homicides are not distribut-
    istics associated with violence. Homicide was stratified
                                                                   ed equally across the U.S.; 63% occurred in large, urban
    by firearm versus all other methods to test for specificity
                                                                   counties (classified as Large Central Metro and Large
    of the laws’ effects. PTP laws were associated with a 14%
                                                                   Fringe Metro by the U.S. Census Bureau) which contain
    reduction in firearm homicide in large, urban counties
                                                                   56% of the U.S. population [2]. States have enacted
                                                                   policies in response to firearm homicide, but the effect
    C. K. Crifasi (*) : M. Merrill-Francis : A. McCourt :          of these policies specifically in urban areas is unknown.
    J. S. Vernick : G. J. Wintemute : D. W. Webster
                                                                   In this study, we aim to evaluate the effect of five firearm-
    Center for Gun Policy and Research, Johns Hopkins University
    Bloomberg School of Public Health, Baltimore, MD, USA          related policies on homicide in large, urban counties:
    e-mail: crifasi@jhu.edu                                        comprehensive background checks, permit-to-purchase,
                                                                   right-to-carry, stand your ground, and violent misde-
    G. J. Wintemute
                                                                   meanor prohibitions.
    Violence Prevention Research Program, Department of
    Emergency Medicine, University of California Davis,                Weaknesses in federal law allow prohibited individ-
    Sacramento, CA, USA                                            uals to obtain firearms through unregulated private


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    sales. Currently, only nineteen1 states and the District of           Criminal Background Check System (NICS) that is also
    Columbia have laws requiring point of sale background                 used by licensed dealers; however, issues with the NICS
    checks be conducted when the seller is a private party.               have been identified related to the which records are
    These laws are often referred to as comprehensive back-               reported to the system and the quality and timeliness of
    ground check (CBC) laws. CBC laws require all sellers,                records that are reported [9]. PTP laws provide a longer
    both licensed retailers and private parties, to make fire-            period for law enforcement to conduct its background
    arm transfers contingent on the purchaser passing a                   check at the local level, and these checks may have
    background check. Private sales include those made at                 access to more records increasing the likelihood that
    gun shows, sales arranged between strangers online, and               law enforcement can identify and screen out those with
    transfers between friends and acquaintances. The most                 a prohibiting condition.
    recent estimate by Miller and colleagues suggests that                   Right-to-carry (RTC) laws require law enforcement
    approximately 20% of guns are obtained without a                      to issue concealed carry permits to any individual that
    background check [3]. In the 13 states with the least                 meets objective criteria or allow for permitless carry
    restrictive firearm laws, state prison inmates who were               (permitless carry allows for individuals who are not
    incarcerated for a gun crime were more likely to report               otherwise prohibited from gun ownership to carry with-
    obtaining that gun through an unregulated private sale                out obtaining a permit). RTC laws make it easier for
    than from a licensed dealer [4]. Data on recovered crime              individuals to carry loaded, concealed firearms in public
    guns suggest more than 80% of criminals using firearms                spaces, and may require little or no safety training or
    to commit crime were not the purchaser of record [5].                 demonstrations of competence and proficiency. Previ-
    There is inconclusive evidence on the effect of back-                 ous research suggests that RTC laws are associated with
    ground checks for private sales on firearm homicide at                increased rates of violence at the state level [10, 11].
    the state level.                                                         Stand your ground (SYG) laws are those that give
       Realizing that requiring background checks for pri-                individuals expanded protections for use of deadly force
    vate sales may, by itself, not be sufficient, ten states and          in a response to a perceived threat with no duty to
    the District of Columbia have an additional handgun                   retreat. These laws may make otherwise non-lethal en-
    purchaser licensing requirement; often referred to as                 counters deadly if individuals are carrying loaded,
    permit-to-purchase (PTP) laws. PTP laws typically re-                 concealed firearms, and feel emboldened to use their
    quire that prospective handgun purchasers apply directly              firearms in self-defense rather than leaving or de-
    to a state or local law enforcement agency, many require              escalating a volatile situation. Research on SYG laws
    applicants to submit fingerprints, for a purchase permit              shows they are associated with increases in rates of
    prior to approaching a seller. PTP laws may include a                 state-level firearm homicide [12, 13].
    more thorough background check which law enforce-                        Violent misdemeanor (VM) prohibitions extend crim-
    ment can take 30 days or more to complete. Sellers, both              inal prohibiting conditions for the purchase of a firearm to
    licensed and private, can only sell to someone with a                 those who have been convicted of a misdemeanor crime
    valid purchase permit which is valid for varying lengths.             of violence. States with these laws recognize that
    States with longer duration permits may also require a                prohibiting a broader pool of potentially risky firearm
    point of sale background check to ensure that the pur-                owners may screen out individuals at risk of committing
    chaser has not become prohibited since the issuance of                violence but who have not yet been convicted of a felony
    the permit. Prior research has found that PTP laws are                or domestic violence misdemeanor. Previous research
    associated with reductions in the diversion of guns to                showed decreased risk of future gun crime among those
    criminals [6] and gun homicide [7, 8].                                prohibited for a VM crime [14]. A recent study by Zeoli
       It is important to note the differences between CBC                et al. found lower rates of intimate partner homicide in
    and PTP laws because they are often conflated in re-                  states with VM prohibitions [15].
    search when in fact they are implemented differently, in                 Studies evaluating the effect of CBC, PTP, RTC,
    ways that may influence their effectiveness. CBC laws                 SYG, and VM laws on firearm homicide have been
    generally depend upon the use of the National Instant                 conducted at the state level. However, firearm homicide
                                                                          occurs more frequently in urban areas, so evaluations at
    1
      While Nevada passed a CBC law, there are implementation issues      the state level may underestimate the effectiveness of
    related to how the law was written and whether it will be enforced.   these laws in the places where homicides predominate.


                                                                                                                 Exhibit D
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    Association between Firearm Laws and Homicide in Urban Counties                                                               385

    This study sought to explore the effects of these firearm                between census years [17]. Average annual measures
    laws on homicide in large, urban counties where firearm                  of county-level unemployment were obtained from
    homicide is more likely to occur. We also sought to                      the Bureau of Labor Statistics Local Area Unemploy-
    separate out the effects of states with CBC-only laws                    ment Statistics [18]. State-level variables were used
    and those with PTP. Based on prior research, we hy-                      for two covariates that were not readily available at
    pothesized that PTP and VM laws would be associated                      the county level: incarceration rates [19] and state law
    with protective effects on homicide rates, CBC-only                      enforcement expenditures [20].
    laws would have no effect, and RTC and SYG would                             We conducted legal research to identify the effective
    be associated with harmful effects.                                      dates for each state’s policies including month, day, and
                                                                             year. Indicators for policy variables were generated
                                                                             based on these effective dates. Policy indicators were
                                                                             coded as 1 when a law was in effect and 0 otherwise. To
    Methods
                                                                             reduce measurement error, the policy indicators were
                                                                             coded as a proportion for the number of days the policy
    Design
                                                                             was in effect in the year in which a policy was first
                                                                             implemented (see Table 1).
    We conducted a quasi-experimental longitudinal study
                                                                                 Exploratory data analysis revealed outliers for non-
    using an interrupted time series to evaluate the effect of
                                                                             firearm homicide counts for counties near New York
    firearm laws on homicide in large, urban U.S. counties
                                                                             City in 2001 due to the attack at the World Trade Center;
    from 1984 to 2015. Because these laws are related to
                                                                             nearly 3000 additional lives were lost due to non-
    firearms, county-year counts of homicide were stratified
                                                                             firearm homicide. For counties within approximately
    by firearm versus all other methods to test for specificity
                                                                             50 miles of New York City, we excluded the counts of
    of the laws’ effects.
                                                                             non-firearm homicide for 2001 only.

    Data and Measures
                                                                             Analytic Methods
    Based on previous research, we hypothesized that, due
    to the specificity of the laws regarding firearms, changes               We conducted an interrupted time series analysis to
    to these laws would affect only firearm homicides. The                   estimate the effects of firearm laws on county-level
    primary outcome for the study was annual, county-level                   firearm homicide. We used non-firearm homicide as a
    counts of firearm homicide obtained from the Centers                     negative control to test for the specificity of the laws’
    for Disease Control and Prevention’s Wide-ranging ON-                    effects. We used mixed effects Poisson regression
    line Data for Epidemiologic Research (WONDER) sys-                       models to account for repeated measures by county
    tem [16]. Because firearm homicide tends to concentrate                  and allow counties to have unique intercepts; the likeli-
    in urban areas, we restricted our analysis to counties                   hood ratio test for mixed effects versus a Poisson model
    with U.S. Census urbanization codes of BLarge Central                    indicated the need for random intercepts (p < 0.001).
    Metro^ and BLarge Fringe Metro^ and populations                              County-level percent poverty, unemployment, and
    greater than 200,000 across the study period resulting                   African American males age 15–24, state-level incar-
    in a sample that contained 136 counties over 32 years for                ceration rates, and law enforcement expenditures were
    a total of 4352 county-year observations.2                               included in the final model. Year fixed effects were used
        We accessed additional county-level variables                        to account for national trends in homicide and county-
    from WONDER including the percent of the popula-                         level population was included as an offset to generate
    tion who were African American males age 15–24                           incident rate ratios (IRRs). Additionally, models were
    and county population. County-level percent poverty                      run with and without a county-level proxy for firearm
    was obtained from the U.S. Census and interpolated                       ownership (the ratio of firearm suicide to all suicide).
                                                                             Analyses were conducted using Stata IC v 14.2 [21].
    2
      States with no counties that met the inclusion criteria: Alaska, Ar-   This study was deemed to be Bnot human subjects
    kansas, Hawaii, Idaho, Iowa, Maine, Mississippi, Montana, Nebraska,
    New Mexico, North Dakota, South Carolina, South Dakota, Vermont,         research^ by the Johns Hopkins Bloomberg School of
    West Virginia, and Wyoming                                               Public Health Institutional Review Board.


                                                                                                                  Exhibit D
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    Table 1 Firearm laws and effective dates by state

    State (# of counties)                       Permit to          Comprehensive              Right to   Stand your   Violent
                                                purchase           background check only      carry      ground       misdemeanor
                                                                                                                      restriction

    Alabama (1)                                                                               Pre-1984 6/1/06
    Arizona (1)                                                                               4/13/94    4/24/06
    California (12)                                                1/1/91                                             1/1/91
    Colorado (4)                                                   7/1/13                     5/17/03
    Connecticut (1)                             10/1/95
    Delaware (1)                                                   7/1/13
    Florida (9)                                                                               10/1/87    10/1/05
    Georgia (4)                                                                               8/25/89    7/1/06
    Illinois (7)                                Pre-1984                                      1/5/14                  1/1/95
    Indiana (2)                                                    Pre-1984–11/30/98          Pre-1984 7/1/06
    Kansas (1)                                                                                1/1/07     5/26/06
    Kentucky (1)                                                                              10/1/96    7/12/06
    Louisiana (2)                                                                             4/19/96    8/1/06
    Maryland (5)                                10/1/13            10/1/96–10/1/13                                    10/1/03
    Massachusetts (6)                           Pre-1984
    Michigan (4)                                Pre-1984                                      7/1/01     10/1/06
    Minnesota (4)                                                                             5/28/03                 10/1/03
    Missouri (3)                                Pre-1984–8/28/07                              2/26/04    8/28/07
    Nevada (1)                                                                                10/1/95    10/1/11
    New Hampshire (1)                                                                         Pre-1984 11/13/11
    New Jersey (13)                             Pre-1984
    New York (14)                               Pre-1984                                                              Pre-1984
    North Carolina (2)                          Pre-1984                                      12/1/95    12/1/11
    Ohio (6)                                                                                  4/8/04
    Oklahoma (1)                                                                              1/1/96     11/1/06
    Oregon (3)                                                     8/9/2015                   1/1/90
    Pennsylvania (8)                                               10/11/95                   6/17/89    8/29/11
    Rhode Island (1)                                               Pre-1984                   Pre-1984
    Tennessee (2)                                                  5/10/94–11/1/98            10/1/96    5/22/07
    Texas (6)                                                                                 1/1/96     9/1/07
    Utah (1)                                                                                  5/1/95     3/1/94
    Virginia (3)                                                                              5/5/95
    Washington (4)                                                 12/4/14                    Pre-1984
    Wisconsin (2)                                                                             11/1/11
    Total states with law during study period   9 (3)              10 (9)                     27 (22)    18 (18)      5 (4)
      (total # of changes)




    Results                                                                     Table 2 presents the effects of the firearm policies we
                                                                             examined on firearm homicide in large, urban counties
    Table 1 presents the laws included in the study and the                  after controlling for identified covariates. PTP laws were
    associated effective dates by state for those states with                associated with a 14% reduction in firearm homicide
    counties that met our inclusion criteria.                                (IRR = 0.86, 95% CI 0.82–0.90). CBC-only laws were


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    Table 2 Effects of firearm laws on firearm homicide in large,     negligible differences in the point estimates; however,
    urban U.S. counties, 1984–2015
                                                                      the firearm ownership proxy itself was associated with
                                                 IRRa 95% CIb         an 18% reduction in non-firearm homicide (IRR = 0.82,
                                                                      95% CI 0.73–0.92).
    Permit to purchase                           0.86 0.82–0.90
    Comprehensive background check only          1.16 1.13–1.18
    Right to carry                               1.04 1.02–1.06       Discussion
    Stand your ground                            1.07 1.05–1.10
    Violent misdemeanor prohibitions             1.14 1.12–1.17       This study is the first study to our knowledge that
    County-level % population African American   1.53 1.49–1.57       examines the impact of PTP laws in large, urban
      male youth                                                      counties where firearm homicide is more likely to occur.
    County-level poverty rate                    1.00 1.00–1.00
                                                                      Our study also is the first to separate the impacts of CBC
    County-level unemployment rate               1.00 1.00–1.01
                                                                      laws from PTP to understand how CBC laws affect
    State-level incarceration rate               1.00 1.00–1.00
                                                                      firearm homicide independent from a permitting mech-
    State-level law enforcement expenditures     0.99 0.99–0.99
                                                                      anism. Our study also examined the effects of other
    The model also included year fixed effects                        firearm-related policies on firearm homicide.
    a
        Incidence rate ratio                                              Our results are consistent with previous research find-
    b
        95% confidence interval                                       ing that PTP reduces firearm homicides without increas-
                                                                      ing homicides by other means. However, we saw no
                                                                      benefit of a CBC system without a PTP law. It is possible
    associated with a 16% increase in firearm homicide                that the application process required to obtain a permit,
    (IRR = 1.16, 95% CI 1.13–1.18). RTC laws were asso-               which puts the purchaser directly in contact with law
    ciated with a 4% increase in firearm homicide (IRR =              enforcement, acts to hold potential purchasers more ac-
    1.04, 95% CI 1.02–1.06). SYG laws were associated                 countable and reduces the likelihood of straw purchases
    with a 7% increase in firearm homicide (IRR = 1.07,               made on behalf of prohibited persons. The added time to
    95% CI 1.05–1.10). VM laws were associated with a                 conduct the background check at the local level may also
    14% increase in firearm homicide (IRR = 1.16, 95% CI              make it easier to identify and screen out prohibited indi-
    1.12–1.17). When we included the proxy for county-                viduals who may be at increased risk of using that firearm
    level firearm ownership, there were negligible differ-            to commit a homicide. Additionally, the built-in waiting
    ences in the point estimates; however, the firearm own-           period as part of the permitting process may prevent
    ership proxy itself was associated with a 37% increase in         impulsive firearms purchases.
    firearm homicide (IRR = 1.37, 95% CI 1.26–1.49).                      Our study suggests an increased risk of firearm homi-
        Because of the IRR estimates for CBC-only and VM              cide in large, urban counties associated with enactment of
    laws were in the direction opposite to our hypotheses, we         RTC laws which is consistent with previous research
    also tested the effects of 1-, 2-, and 3-year leads and lags      conducted at the state level. Counties in states with RTC
    of the laws. These estimates reveal firearm homicide rates        laws experienced a 4% increase in firearm homicide rela-
    trending upward in the years immediately prior to CBC-            tive to counties in states with more restrictions on the
    only (Fig. 1) and VM laws (Fig. 2) going into effect with         issuance of concealed carry weapons permits. Future re-
    statistically significant increased firearm homicide rates        search should explore whether specific elements of RTC
    1 year prior to the laws’ introduction. The IRRs were             laws, or lack thereof, have differential impacts on firearm
    above 1.0 each year following the introduction of CBC-            homicide. For example, some RTC states allow law en-
    only and VM laws, but leveled off for CBC-only and                forcement to deny issuing a concealed carry permit based
    were essentially the same as the 1-year lead for VM laws.         on Bdangerousness,^ or require a demonstration of profi-
        Table 3 presents the effects of the same set of firearm       ciency. These differences can inform policy discussions
    policies on non-firearm homicide rates. None of the               around which elements, if any, may mitigate the harmful
    firearm policy variables of interest were associated with         effects of expanded carrying of loaded, concealed firearms
    changes in non-firearm homicide, supporting the speci-            by civilians.
    ficity of the laws’ effects. When we included the proxy               Our findings related to the effects of SYG laws are
    for county-level firearm ownership, there were                    also consistent with previous research on the effects of


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    Fig. 1 Effects of CBC-only laws                                        1.2
    on firearm homicide 1-, 2-, and 3-
    year pre- and post-enactment                                          1.15

                                                                           1.1




                                                    Incident Rate Ratio
                                                                          1.05

                                                                            1

                                                                          0.95

                                                                           0.9

                                                                          0.85

                                                                           0.8
                                                                                 3 years prior   2 years prior   1 year prior   1 year post   2 years post   3 years post



    these laws on state-level firearm homicide [12, 13].                                    that CBC-only laws are harmful; however, we have not
    Counties in states with SYG laws experienced a 7%                                       identified a plausible theory to explain how requiring a
    increase in firearm homicide. SYG laws are common                                       prospective firearm purchaser to undergo a background
    in states with RTC laws and a high prevalence of gun                                    check would result in increased homicide rates. It is
    ownership. Removing a duty to retreat in the context of                                 possible that states experiencing historically high rates
    populations with many armed individuals appears to                                      of firearm homicide during the late 1980s and early
    increase firearm homicide.                                                              1990s were more likely to implement CBC-only laws
       In contrast to recent research finding protective ef-                                to reduce violence. If these states then experienced
    fects of prohibitions for violent misdemeanants on inti-                                slower declines in firearm homicide compared to states
    mate partner homicide [15], our study found increased                                   that did not pass these laws, the CBC-only laws would
    risk of firearm homicide in counties of states with VM                                  appear harmful in our analysis. The upward trend in the
    laws. However, the increased IRR for firearm homicide                                   IRRs for CBC-only laws in the 3 years prior to imple-
    associated with VM laws in the year prior to the effec-                                 mentation, and the statistically significant increased rate
    tive date suggests that the conditions influencing the                                  for CBC-only laws in the year prior, suggests there may
    passage of VM laws may increase firearm homicides.                                      be an endogenous relationship between CBC-only laws
    Identifying and controlling for such factors is necessary                               and firearm homicide such that states may have passed
    to generate unbiased estimates of the VM law effects.                                   these laws in response to increasing rates of firearm
    Future research should explore the effects of VM laws                                   homicide. The lack of any beneficial effect of CBC-
    on firearm homicide in suburban and rural counties.                                     only laws could also reflect issues related to enforce-
       The increase in firearm homicide associated with                                     ment of CBC-only laws. The enforceability challenges
    CBC-only laws should be explored further. It is possible                                associated with CBC-only laws are beginning to be

    Fig. 2 Effects of VM laws on                                           1.2
    firearm homicide 1-, 2-, and 3-
    year pre- and post-enactment                                          1.15

                                                                           1.1
                                                    Incident Rate Ratio




                                                                          1.05

                                                                            1

                                                                          0.95

                                                                           0.9

                                                                          0.85

                                                                           0.8
                                                                                 3 years prior   2 years prior   1 year prior   1 year post   2 years post   3 years post




                                                                                                                                                 Exhibit D
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    Table 3 Effects of firearm laws on non-firearm homicide in large,   during the study period but did not maintain that popu-
    urban U.S. counties, 1984–2015
                                                                        lation level across the entire study period. However,
                                                    IRRa 95% CIb        limiting our sample to large, urban counties where fire-
                                                                        arm homicide is more likely to occur would give us
    Permit to purchase                              1.04 0.97–1.13      more reliable estimates of policy effects. Our study
    Comprehensive background check only             0.97 0.94–1.01      relied on two covariates that were not readily available
    Right to carry law                              1.03 1.00–1.06      at the county level. For example, law enforcement ex-
    Stand your ground                               1.01 0.97–1.04      penditures were only available at the state level.
    Violent misdemeanor prohibitions                0.99 0.96–1.02          This study adds to the growing body of evidence that
    County-level % population African American      1.52 1.47–1.58      PTP laws are associated with reductions in firearm
      male youth                                                        homicide. States that are considering a range of policies
    County-level poverty rate                       1.01 1.00–1.02
                                                                        related to the transfer of firearms should consider a
    County-level unemployment rate                  0.99 0.99–1.00
                                                                        handgun purchaser licensing system through a PTP
    State-level incarceration rate                  1.00 1.00–1.00
                                                                        law as a mechanism to reduce firearm homicide.
    State-level law enforcement expenditures        1.00 1.00–1.00

    The model also included year fixed effects                          Acknowledgements This research was supported by a grant
    a                                                                   from The Joyce Foundation to the Johns Hopkins Center for
        Incidence rate ratio
                                                                        Gun Policy and Research http://www.joycefdn.org/grants).
    b
        95% confidence interval



    documented.[22, 23] PTP laws may be easier to comply                References
    with and enforce than CBC-only laws since sellers can
    only transfer a firearm to someone who has a valid                   1. CDC WISQARS - Fatal Injury Reports, National and
    permit. Future research should expand the inclusion                     Regional, 2016: National Center for Injury Prevention and
    criteria for county population size and/or urbanization.                Control, Centers for Disease Control and Prevention; 2017
    This may also allow for more states to be represented in                [ Av a i l a b l e f r o m : h t t p s : / / w e b a p p a . c d c .
                                                                            gov/sasweb/ncipc/mortrate.html.
    the data and produce more robust results. Within PTP                 2. CDC WONDER: Compressed Mortality, 2016 [Available
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AJPH OPEN-THEMED RESEARCH




State-Level Changes in Firearm Laws and
Workplace Homicide Rates: United States,
2011 to 2017
Erika L. Sabbath, ScD, Summer Sherburne Hawkins, PhD, and Christopher F. Baum, PhD


    Objectives. To test whether year-over-year strengthening of state-level ﬁrearm laws                        documented the relationship between
is associated with decreases in workplace homicide rates.                                                      state-level ﬁrearm policy changes and
    Methods. In this time-series ecological study of working people in all 50 US states, we                    ﬁrearm-associated homicide rates.6 These
used federal data on workplace homicides by state and year from 2011 to 2017, linked to                        studies generally show that, at a population
an index of state–year ﬁrearm laws, to characterize the regulatory environment (overall                        level, background checks7 and regulations
                                                                                                               for gun buyers (speciﬁcally permit to pur-
and within legislative categories). We used generalized linear regression to model as-
                                                                                                               chase)8 are associated with reductions in—
sociations between changes in ﬁrearm laws and changes in workplace homicide rates
                                                                                                               although not elimination of—state-level
the following year.
                                                                                                               ﬁrearm homicide rates, even after state-level
    Results. From 2011 to 2017, more than 3000 people died as a result of workplace
                                                                                                               social and demographic characteristics have
homicides; over that period, 23 states strengthened ﬁrearm regulations and 23 weak-                            been taken into account. There is less evi-
ened them. We modeled the impact of states strengthening laws within the in-                                   dence of the relationship between ﬁrearm-
terquartile range (IQR; equivalent to adding 20.5 ﬁrearm laws). This change was                                related homicides and other types of gun
associated with a 3.7% reduction in the workplace homicide rate (95% conﬁdence                                 control measures, such as limits on ﬁrearm
interval [CI] = –3.86, –3.51). Positive IQR changes in speciﬁc categories of ﬁrearm                            trafﬁcking or bans on assault weapons or
laws—concealed carry permitting (–5.79%; 95% CI = –6.09, –3.51), domestic violence–                            high-capacity magazines.6 In addition, when
related restrictions (–5.31%; 95% CI = –5.57, –5.05), and background checks (–5.07%;                           states strengthen ﬁrearm policies intended
95% CI = –5.32, –4.82)—were also associated with signiﬁcant reductions.                                        to protect speciﬁc vulnerable populations
    Conclusions. Strengthening state-level ﬁrearm laws may reduce the population-level                         (e.g., children, domestic violence victims),
mortality and morbidity burden posed by workplace homicides. (Am J Public Health.                              homicide rates in those groups tend to
2020;110:230–236. doi:10.2105/AJPH.2019.305405)                                                                decline.9,10
                                                                                                                  Each year, approximately 400 homicides
                                                                                                               by ﬁrearm occur when people are at work,
                                                                                                               accounting for about 9% of the approxi-

G     un violence is a public health crisis in
      the United States.1 In 2017, 13 205
working-aged adults died from homicide by
                                                  particularly policies related to limitations
                                                  on gun ownership among domestic vio-
                                                                                                               mately 4800 workplace fatalities occurring
                                                                                                               in the United States annually.11 In addition
                                                  lence offenders and other high-risk in-                      to mortality among victims, workplace
ﬁrearm, the ninth-leading cause of death in       dividuals, although many have become                         homicide can lead to broader morbidity in
this age group.2 Overall, mortality due to        more permissive in areas such as “stand your                 the form of long-term trauma among co-
gun-related causes among individuals 18 to
                                                  ground” laws and concealed carrying of                       workers, who are often witnesses and
64 years of age exceeds that of motor vehicle
                                                  ﬁrearms.4                                                    survivors. This trauma is exacerbated by
crashes.
                                                     From a public health perspective, the                     witnesses’ need to return to the scene of
   Despite the mortality and morbidity
                                                  same structural barriers that have inhibited                 the homicide each day to earn a living
burden attributable to ﬁrearms, the United
                                                  federal legislation on gun violence also                     themselves.12
States has passed little federal legislation to
                                                  restrict research into its determinants.5                       In most research on workplace homicides,
regulate their purchase, distribution, stor-
                                                  However, a growing evidence base has                         national surveillance data have been used to
age, or use. Most ﬁrearm-related legislative
activity has occurred at the state level. Since
the early 1990s, every state has passed           ABOUT THE AUTHORS
                                                  Erika L. Sabbath and Summer Sherburne Hawkins are with the School of Social Work, Boston College, Chestnut Hill,
policies either strengthening or weakening        MA. Christopher F. Baum is with the Department of Economics, Boston College.
restrictions on the sale, possession, and use        Correspondence should be sent to Erika L. Sabbath, ScD, Boston College School of Social Work, 140 Commonwealth Ave,
of ﬁrearms.3 On average, states have be-          Chestnut Hill, MA 02467 (e-mail: erika.sabbath@bc.edu). Reprints can be ordered at http://www.ajph.org by clicking the
                                                  “Reprints” link.
come slightly more restrictive in their              This article was accepted September 18, 2019.
ﬁrearm policies in the past 30 years,                doi: 10.2105/AJPH.2019.305405

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identify trends in rates and subgroups of            Occupational Injury and Illness Classiﬁcation      (laws related to domestic violence). Within
workers at particular risk.13,14 A few small         System to document the nature, source,             each subcategory, the number of law in-
studies of employer-level determinants of            secondary source, and event or exposure that       dicators is summed and coded so that higher
workplace homicide have shown that ho-               led to the fatality.17 Only fatalities experi-     scores are equivalent to stronger ﬁrearm
micides are more likely to occur at workplaces       enced by workers are included in CFOI              regulations.
that permit weapons on site15 and under              counts, even if a single event led to casualties
working conditions such as solo work at night        among both workers and patrons or clients.
                                                                                                        Covariates
or poor exterior lighting.16 However,                   Fatalities categorized as “intentional injury
                                                                                                           Using publicly available data from a variety
higher-level determinants of workplace ho-           by person” are classiﬁed by the Occupational
                                                                                                        of sources, we adjusted for covariates associ-
micide are unknown. Speciﬁcally, to our              Injury and Illness Classiﬁcation System as
                                                                                                        ated with state-level variation in homicide,
knowledge, there has been no research on             homicides. The subcategories included in this
                                                                                                        suicide, and accidental ﬁrearm mortality
how the state-level policy environment is            deﬁnition are as follows: intentional shooting
                                                                                                        rates.20 All covariates were measured
associated with the likelihood of being killed       by another person; stabbing, cutting, slashing,
                                                                                                        according to state and year. We initially ad-
by another individual at work.                       or piercing; hitting, kicking, beating, or
                                                                                                        justed for unemployment rate,21 percentage
    In this study, we assessed whether               shoving; strangulation by another person;
                                                                                                        of residents below the federal poverty line,22
strengthening of state-level ﬁrearm laws from        bombing or arson; and multiple violent acts
                                                                                                        racial/ethnic composition (percentage Black,
2011 through 2017 was associated with de-            by another person.17
                                                                                                        percentage Hispanic),18 percentage of resi-
creases in state-level workplace homicide               We generated state and year workplace
                                                                                                        dents with a college education,18 percentage
rates. Also, we tested for associations between      homicide rates by dividing the number of
                                                                                                        of male residents,18 violent crime rate (ex-
changes in subcategories of ﬁrearm laws and          workplace homicides (publicly available from
                                                                                                        clusive of homicide),23 population density,24
workplace homicide rates.                            CFOI) by the number of people (in 100 000s)
                                                                                                        and percentage of the population that is of
                                                     employed in the state during the year in
                                                                                                        working age (18–64 years).6 Percentage of
                                                     question. The latter data are publicly available
                                                                                                        Hispanic residents, population density, and
                                                     through the Current Population Survey,
                                                                                                        proportion of the population 18 to 64 years of
METHODS                                              administered by the US Census Bureau.18
                                                                                                        age were not signiﬁcantly associated with
    This study was a time-series ecological                                                             workplace homicide rates in any models and
investigation. Participants were any people                                                             thus were not retained in our analyses.
who worked for pay in each of the 50 US              Firearm-Related Legislation
states between 2011 and 2017.                           We obtained information on ﬁrearm laws
                                                     from the State Firearm Laws Database, a            Statistical Analysis
                                                     publicly available, nonpartisan, comprehen-            We examined associations between
Workplace Homicide Rates                             sive database on the presence of ﬁrearm laws       state-level ﬁrearm laws and state-level
    Our outcome variable was workplace               in each state from 1990 to the present; we         workplace homicide risk factors. We used a
homicide rates. We identiﬁed all workplace           used data from 2011 to 2017.3,4 The database       generalized linear model approach to take
homicides occurring in the United States             has been employed in a number of empirical         into account that the dependent variable, the
between 2011 and 2017 by state and year              studies of ﬁrearm policies and population          state–year workplace homicide rate, is strictly
using the Census of Fatal Occupational In-           health.7,19                                        positive. We ﬁt the model with a log link and
juries (CFOI).17 CFOI, the national surveil-            The database contains dichotomous in-           g-distributed errors using robust standard
lance system for tracking all occupational           dicators on the presence or absence of each of     errors clustered by state. We speciﬁed a log-g
fatalities occurring within the country, is a        132 ﬁrearm-related legislative provisions for      model because the log-g technique (unlike
federal–state cooperative program adminis-           each state–year combination during the study       the Gaussian regression commonly used in
tered through the US Department of Labor’s           period. Each of the 132 laws is coded so that 1    log-linear models) requires no external
Bureau of Labor Statistics. CFOI is considered       refers to more restrictive gun access and 0        transformation, it is more straightforward to
the deﬁnitive record of occupational fatalities      refers to more liberal access. The law indi-       interpret, and its residuals allow evaluations
in the United States.                                cators are then summed to create a measure of      of model ﬁt.25
    After a death occurs at work, information        the overall ﬁrearm policy environment in               In the estimated model, the key variable
about the fatality is compiled via data in-          a given state, with higher scores equivalent       explaining a state’s workplace homicide rate
cluding death certiﬁcates and records from           to stronger ﬁrearm regulations.                    was the preceding year’s ﬁrearm law index in
workers’ compensation, media, the Occu-                 The 132 ﬁrearm laws each ﬁt into one            that state. We included this lag in the ﬁrearm
pational Safety and Health Administration,           of 13 policy subcategories according to type       law index to reduce potential error caused by
and the company at which the event took              of law (e.g., laws related to restrictions on      laws being in effect for parts but not all of a
place. Two independent sources must con-             domestic violence offenders, laws related          given year, as our workplace homicide data
ﬁrm the work relatedness of a fatality if it is to   to concealed carry permitting). These              were available only annually. Models were
be entered into CFOI. CFOI classiﬁes each            subcategories contain between one law              adjusted for state-level time-varying charac-
veriﬁed work-related fatality according to the       (“stand your ground” provisions) and 21 laws       teristics (unemployment rate, percentage of

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residents below the federal poverty line,                 all policy areas is interpreted as the number of      coworkers (Table 1). Retail sales workers,
percentage of Black residents, percentage of              ﬁrearm laws that a state would need to add or         cashiers, and police ofﬁcers were most likely
residents with a college education, percentage            strengthen to move from being in the weakest          to be killed by another person while at
of male residents, and nonhomicide violent                ﬁrearm law quartile to the strongest quartile.        work.11
crime rate) as well as year ﬁxed effects to               Across all policy areas, this would mean                 The 2011 through 2017 period was an
control for time trends.                                  strengthening 20.5 ﬁrearm laws on average.            active one for the enactment and imple-
    The generalized linear model was spec-                We also modeled the effect of an IQR change           mentation of ﬁrearm regulations (Table 2).
iﬁed as log(homratei,t) = b0 + b1lawtotali,t–1            within speciﬁc policy areas (e.g., for con-           Across all years of the study period, the av-
+ b2 povertyrate i,t + b3 pctmale i,t +                   cealed carry permitting, this is equivalent to        erage state had 26 laws restricting ﬁrearms
b4 pctcollege i,t + b5 violentcrimerate i,t +             a state strengthening or adding 2 concealed           (range = 3–104), with an IQR of 20.5; states
b6 pctblack i,t + b7 unemployrate i,t + FY t +            carry laws). We used Stata version 15.1               in the 25th percentile of ﬁrearm policies had
hi,t for i = 1, 50 and t = 2012, 2017. Y t                (StataCorp LLC, College Station, TX) in               10 ﬁrearm-restricting laws, and states in the
values are indicator variables for the years 2013         conducting all of our analyses.                       75th percentile had 30.5 such laws.
to 2017, with coefﬁcients in the F vector. The                                                                     Overall, 23 states strengthened ﬁrearm
covariate of interest was the preceding year’s                                                                  regulations, 23 weakened regulations, and 9
ﬁrearm index value for state i, lawtotali,t–1.                                                                  did not change ﬁrearm laws during the study
    Subsequently, we examined 13 sub-                     RESULTS                                               period. Five states appeared on both the
categories of ﬁrearm laws4 involving at                       There were 3131 workplace homicides               “strengthened” and “weakened” lists because
least one state policy change in the given                during the study period, ranging from a low of        they either strengthened regulations in one
subcategory over the study period. One                    404 in 2013 to a high of 500 in 2016, which           subcategory of laws but weakened them in
policy subcategory (immunity from pros-                   translated to an average of 0.31 homicides per        another (South Carolina, Virginia, and West
ecution for gun manufacturers) included in                100 000 workers. On average, workplace                Virginia) or weakened and then strengthened
the State Firearms Law Database did not                   homicides accounted for 9% of all workplace           laws within the same subcategory (Idaho and
meet this criterion and was therefore not                 fatalities (Table 1).                                 Oklahoma). The legislative subcategories
analyzed in regression models. We mod-                        Over the study period, the Occupational           with the most activity were domestic vio-
eled each subcategory of ﬁrearm laws and                  Injury and Illness Classiﬁcation System clas-         lence–related laws (17 states strengthened and
workplace homicide rates separately to                    siﬁed 2474 (79%) homicides as “intentional            3 states weakened regulations), possession
avoid multicollinearity.                                  shooting of another person.” Of these ho-             regulations (4 states strengthened and 10 states
    We present parameter estimates (b values)             micides, 61% involved a handgun and 12%               weakened regulations), and concealed carry
as well as average marginal effects to describe           involved a riﬂe; other weapons were not               permitting (6 states strengthened and 8 states
the predicted change in workplace mortality               reported. Seven percent of assailants were            weakened regulations).
rates in response to an interquartile range               family members or intimate partners of the               Using generalized linear models (Table 3),
(IQR) positive increase in the state-level                victim; 11% were customers, clients, or pa-           we ﬁrst tested overall associations between
policy environment. An IQR change across                  tients; and 15% were current or former                changes in state-level ﬁrearm laws and


 TABLE 1—Characteristics of Workplace Homicides in the United States From 2011 to 2017

                                                                    2011        2012        2013        2014          2015        2016             2017          All
Overall characteristics
  Total number of workplace homicides                              468         475         404        409            417         500              458          3131
  Workplace homicide rate per 100 000 workers                        0.337       0.337       0.283      0.282          0.282          0.332         0.300         0.307
  Workplace fatalities classiﬁed as homicides, %                    10          10           9          8              9          10                9             9
  Workplace homicides classiﬁed as “intentional shooting of         78          80          80         75             85          79               77            79
      another person,” %
Type of weapon used, %a
  Handgun                                                           56          56          58         63             63          66               66            61
  Riﬂe                                                              14          10          14         10             12          13               10            12
Relationship of assailant to victim, %
  Family member or intimate partner                                  8           7           7          7              8              9             6             7
  Coworker or former coworker                                       10          13          18         15             16          13               17            15
  Client, customer, or patient                                      11          12          9          12             11              9            12            11

Source. Data for this table were drawn from multiple sources.11,17,18
a
 Weapon was not reported for all shootings.

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 TABLE 2—Summary of Changes in State-Level Firearm Laws: United States, 2011–2017

                                                                                            Laws in       Laws in
                                                                   Total       Laws per       25th          75th       States That Strengthened States That Weakened Gun
                                                                  Possible   State, Mean   Percentile,   Percentile,      Gun Control During          Control During
Policy Subcategory              Explanation of Policy Area       Laws, No.       No.          No.           No.                2011–2017                2011–2017
Concealed carry           Restrictions to concealed carrying          7          4.01           3            5         ID, LA, MI, MO, NC, OH        ID, IL, KS, ME, MO, NH, ND,
 permitting                of ﬁrearms                                                                                                                 WV
Domestic violence–        Laws aimed at preventing those            21           4.16           0            6.5       AL, CA, CO, CT, DE, HI, IL, AL, AR, VA
 related laws              with a history of domestic                                                                   IN, LA, ME, MD, MN, NV,
                           violence from purchasing or                                                                  NJ, NY, OR, UT
                           owning ﬁrearms
Background checks         Background checks for all sales           11           2.33           0            4.5       CO, DE, NV, NY, OR, WA        ...
Dealer regulations        Regulations around dealer                 17           2.68           0            5         CO, DE, NY, WA                AL, GA, SC
                           recordkeeping, licensing, and
                           reporting
Child safety provisions   Regulations around locking and            11           1.63           0            3         CA                            ...
                           storage of ﬁrearms around minors
Gun trafﬁcking            Protections against purchasing              7          0.76           0            2         CA, IN, MN                    ...
                           with intent to resell or purchase
                           without background checks or
                           resell to persons prohibited from
                           gun ownership
Buyer regulations         Age, permitting, and training             17           2.35           0            3         CA, CT, DE, MD, WA            MI, VA, WI
                           requirements for gun purchase
Ammunition regulations Restrictions on purchasing age,                7          0.69           0            1         CT                            ...
                           recordkeeping, and licensing for
                           sale of ammunition
High-risk gun owner       Prohibitions on gun possession by         10           3.06           1            5         AL, CT, DE, NV, OR, SC        AL, RI
 prohibitions              people with a history of certain
                           mental health problems,
                           substance use, or criminal activity
Possession regulations    Restrictions on possession of guns        12           2.62           1            3         CA, CT, OK, WA                AR, GA, IL, MS, MO, OK, SD,
                           among young people and                                                                                                     TN, TX, WV
                           restrictions on carrying ﬁrearms
                           in some areas
Assault weapons and       Ban on purchase, transfer, and              8          0.67           0            0         CA, CO, CT, MD, NY            ...
 large-capacity            possession of assault weapons and
 magazines                 large-capacity magazines
No preemption             No laws that prohibit local                 3          0.41           0            0         ...                           IL
                           governments from passing
                           ﬁrearm regulations that are more
                           stringent than those at the state
                           level
No “stand your ground” No “stand your ground” legislation             1          0.54           0            1         ...                           MO
 laws                   in place
Total                     ...                                      132          26.24          10           30.5       CA, CO, CT, DE, HI, ID, IN, AL, AK, AR, GA, ID, IL, IA,
                                                                                                                        LA, ME, MD, MN, NV, NJ,       KS, MI, MS, MO, NH, ND,
                                                                                                                        NY, NC, OH, OK, OR, SC,       OK, RI, SC, SD, TN, TX, UT,
                                                                                                                        VT, VA, WA, WV                VA, WV, WI
                                       3                     4
Source. State Firearm Laws Project and Siegel et al.



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 TABLE 3—Adjusted Associations Between Changes in State-Level Firearm Laws and
                                                                                                                   strengthening of ﬁrearm laws was associated
 Workplace Homicide Rates: United States, 2011–2017                                                                with lower rates of workplace homicides. We
                                                                                                                   found that as states strengthened regulations
                                                                                           Effect of IQR Change    related to ﬁrearms, workplace homicide rates
                                                                       Policies in IQR,a    on Homicide Rate,      decreased. Although other studies have
                                                b (95% CI)                    No.               % (95% CI)         shown that stronger ﬁrearm laws reduce
Overall effect of ﬁrearm policies       –0.0055 (–0.0087, –0.0023)           20.5           –3.68 (–3.86, –3.51)   overall homicide rates, this study provides
Legislative subcategories                                                                                          some of the ﬁrst evidence that workplace
  Concealed carry permitting            –0.0913 (–0.144, –0.0385)             2             –5.79 (–6.09, –5.50)   homicide rates are also sensitive to changes in
  Domestic violence related             –0.0256 (–0.0391, –0.0121)            6.5           –5.31 (–5.57, –5.05)   state ﬁrearm laws. More broadly, it provides
  Background checks                     –0.0351 (–0.0584, –0.0119)            4.5           –5.07 (–5.32, –4.82)   further evidence that strengthening certain
  Dealer regulations                    –0.0304 (–0.0508, –0.0100)            5             –4.88 (–5.11, –4.65)   ﬁrearm restrictions may be an effective tool
  Child safety provisions               –0.0407 (–0.0699, –0.0116)            3             –3.99 (–4.18, –3.80)   for reducing homicide rates in a variety of
  Gun trafﬁcking                        –0.0584 (–0.113, –0.0034)             2             –3.82 (–4.00, –3.64)   settings, including workplaces.
  Buyer regulations                     –0.0276 (–0.0498, –0.0054)            3             –2.75 (–2.88, –2.62)       Several of the legislative subcategories
  Ammunition regulations                 –0.068 (–0.122, –0.0138)             1             –2.28 (–2.38, –2.17)   associated with reductions in workplace ho-
  High-risk gun owner prohibitions       –0.028 (–0.0580, 0.0020)             4             –3.67 (–3.85, –3.50)   micide rates are meaningful in a workplace
  Possession regulations                –0.0195 (–0.0507, –0.0118)            2             –1.32 (–1.39, –1.26)   context. One is strengthening restrictions
  Assault weapon bans                   –0.0115 (–0.0554, 0.0325)             0              0.00 (0.00, 0.00)     on gun possession among domestic violence
  No preemption                         –0.0623 (–0.142, 0.0174)              0              0.00 (0.00, 0.00)     offenders. We found that strengthening 6.5
  No “stand your ground” law             0.0225 (–0.123, 0.168)               1              0.79 (0.75, 0.83)     laws, the IQR for policies related to ﬁrearm
                                                                                                                   possession among these offenders, would be
Note. CI = conﬁdence interval; IQR = interquartile range. Units for parameter estimates are interpreted
as the change in workplace homicides per 100 000 working people associated with a 1-unit increase                  associated with a 5.31% reduction in work-
in the ﬁrearm laws index the preceding year. Values were adjusted for the following variables by state             place homicides. About 7% of workplace
and year: unemployment rate, percentage of residents below the federal poverty line, percentage of                 homicides are committed by a relative or
Black residents, percentage of residents with a college education, percentage of male residents, and
nonhomicide violent crime rate. Data include year ﬁxed effects.                                                    intimate partner of the victim (Table 1).
a
 Interquartile range refers to the effect of adding or strengthening laws at the state level. The IQR is               Prior studies have shown that laws re-
interpreted as the number of laws in a given area that a state would need to add to become one of the              quiring domestic violence offenders to re-
strongest, rather than one of the weakest, states with respect to ﬁrearm-restricting laws in that area.            linquish their ﬁrearms are associated with
                                                                                                                   decreases in ﬁrearm-related intimate part-
changes in workplace homicide rates. In ad-                  laws); child safety provisions, with a 3.99%          ner homicide.10 Such policies may reduce
justed models, we found a negative association               reduction (strengthening 3 laws); gun traf-           workplace homicides in 2 ways. First, they
between strengthening of ﬁrearm laws and                     ﬁcking restrictions, with a 3.82% reduction           may directly reduce domestic abusers’ ability
homicide rates; that is, as laws became more                 (strengthening 2 laws); buyer regulations,            to kill their intimate partner (and the partner’s
restrictive, homicide rates decreased (b =                   with a 2.75% reduction (strengthening 3               coworkers) while the partner is at work.
–0.005; 95% conﬁdence interval [CI] =                        laws); and ammunition regulations, with a             Second, perpetrators of domestic violence are
–0.0087, –0.0023; P = .001). An IQR positive                 2.28% reduction (strengthening 1 law).                more likely than the general population to
increase in state ﬁrearm laws (adding 20.5 laws)                 There were no statistically signiﬁcant as-        exhibit behaviors (especially stalking) that
was associated with, on average, a 3.68%                     sociations between workplace homicide rates           may be precursors to homicides involving
decrease in the workplace homicide rate.                     and high-risk gun owner prohibitions, pos-            people other than the intimate partner.26
    We then modeled the associations be-                     session regulations, assault weapons bans,            Removing guns from abusers may therefore
tween 13 subcategories of ﬁrearm poli-                       preemption, or “stand your ground” laws.              protect their other potential victims.
cies and workplace homicide rates. We                            In sensitivity analyses, we found that the            An IQR increase in concealed carry pol-
found that, in 8 of the 13 subcategories,                    association between state ﬁrearm policy               icies (strengthening 2 laws) was associated
strengthening laws was associated with sta-                  changes and workplace homicides did not               with a 5.7% decrease in workplace homicides.
tistically signiﬁcant reductions (P < .05) in                vary meaningfully by the number of state              Some, but not all, prior research has revealed
workplace homicide rates. Strengthening                      ﬁrearm policies at baseline (Table A, available       that when states or cities liberalize concealed
concealed carry permitting legislation was                   as a supplement to the online version of this         carry permitting from “may issue” (in which
associated with a 5.79% reduction (equiv-                    article at http://www.ajph.org).                      local law enforcement can deny a permit even
alent to strengthening 2 laws); domestic                                                                           if a person has passed a background check) to
violence–related restrictions, with a 5.31%                                                                        “shall issue” (in which law enforcement does
reduction (strengthening 6.5 laws); back-                                                                          not have this discretion), ﬁrearm homicide
ground checks, with a 5.07% reduction                        DISCUSSION                                            rates increase.27 In addition to permitting,
(strengthening 4.5 laws); dealer regulations,                  Using state-level data on workplace ho-             concealed carry regulations also dictate places
with a 4.88% reduction (strengthening 5                      micides, we tested whether year-over-year             in which people are allowed to carry a

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concealed weapon, including schools, col-            changed assault weapon or preemption laws           enforcement of ﬁrearm policies may be re-
leges, houses of worship, bars, hospitals or         to allow us to test effects of policy changes on    lated to unobserved confounders at the state
medical facilities, prisons, and public sporting     workplace homicide rates (the IQR for both          level.
events.4 Each of these locations represents          policy areas was 0). Both possession and stand-         Strengths of our study were 7 years of both
someone’s workplace, as well as a public             your-ground regulations are tangential to           policy and homicide data, the substantial
space. Therefore, changing policies to allow         workplace homicide risk factors. Possession         amount of policy change activity over the
unrestricted concealed carrying of ﬁrearms           regulations consist mostly of restrictions on       study period, the lack of missing data, the use
in these settings may increase the risk of           gun ownership to individuals 18 years (or 21        of a comprehensive policy assessment tool,
homicide for people who work there.                  years) and older and restrictions on guns at        the robust outcome measure, and the lack of
    We also found associations between               schools or colleges,4 but most working adults       conﬂict of interest that could come from
workplace homicides and strengthening of             are older than 21 years and are not employed        funding by either gun-rights or gun-control
laws surrounding background checks, buyer            in educational settings. Stand-your-ground          entities. All of these factors have been iden-
regulations, dealer regulations, and limits on       defenses are typically invoked in conﬂicts          tiﬁed as weaknesses of prior research on
ﬁrearm trafﬁcking, with effect sizes ranging         occurring at someone’s home, making them            ﬁrearm policies and homicide.29
from a 2.75% reduction (buyer regulations) to        less relevant in a workplace context.
a 5% reduction (background checks). These
policy changes may have been associated with                                                             Conclusions
decreases in workplace homicide by reducing          Limitations and Strengths                              Our ﬁndings add to a growing body of
gun ownership or the number of ﬁrearms in                To protect the conﬁdentiality of victims,       evidence indicating that although ﬁrearm
circulation; research has shown a positive           CFOI provides data only by year and one             legislation cannot prevent every gun-related
relationship between state-level gun owner-          other characteristic. Because our study design      death, strengthening such policies is associated
ship rates and state-level homicide rates.28         necessitated collecting data by state and year,     with reductions in homicide rates at a pop-
    We did not adjust for gun ownership, as it is    we were unable to further stratify by other         ulation level.6,9,10 Our effect sizes were
likely a mediator of the relationship between        characteristics that could have been infor-         modest, but the pattern we observed is
the latter categories of ﬁrearm laws (back-          mative. These characteristics include events        consistent with the population approach to
ground checks, buyer regulations, dealer             involving ﬁrearms versus other kinds of             improving public health: small shifts in disease
regulations, and limits on ﬁrearm trafﬁcking)        weapons and whether events involved one or          rates as a consequence of policy or practice
and workplace homicide rates. Including this         multiple victims. With regard to the latter,        changes can have a meaningful impact on
mediating factor in our models could have led        79% of workplace homicides during the study         population health over time.32 With the
to overadjustment and erroneous conclusions          period were classiﬁed as shootings; non-            addition of this study, we have evidence that
that the laws are ineffective.29 Furthermore,        shooting homicides likely contributed to            workplace homicides are another category of
consistency between ﬁndings in these 4 policy        random error and biased results toward the          outcomes sensitive to changes in ﬁrearm
domains as well as areas in which the observed       null. With respect to mass shootings, aggre-        policies.
associations are not plausibly driven by gun         gate CFOI data reveal that only 5% to 8% of            Originally, smoking bans in restaurants and
ownership (concealed carry permitting, child         workplace homicides involve more than one           bars were implemented as an occupational
safety laws) suggests that the overall patterns      victim, making mass shootings an unlikely           health precaution for bartenders and servers.33
revealed in our analysis are not solely attrib-      driver of our results.30                            Over time, these policies were shown to
utable to ownership.                                     Although the Centers for Disease Control        beneﬁt respiratory health not only among
    Strengthening of child safety policies was       and Prevention tracks nonfatal workplace            workers but also patrons.34 Following a
signiﬁcantly, and unexpectedly, associated           injuries (including homicides) in a separate        similar model, unions, industry groups, and
with decreases in workplace homicide rates.          database, there is insufﬁcient detail in publicly   other worker advocates could lobby for more
We hypothesize that an unintended effect             available surveillance data by state and year to    restrictive ﬁrearm policies at the state level to
of making ﬁrearms less accessible to children        capture physical and psychological morbidity        protect the health of their workforces and the
is that the same ﬁrearms are less accessible         related to nonfatal ﬁrearm injuries. This           lives of those they serve. Our ﬁndings suggest
to theft or misuse by adults other than the          limitation is compounded by known under-            that strengthening the state-level ﬁrearm
original owner. Further research involving           reporting of nonfatal workplace injuries.31         policy environment within our interquartile
other data sets (e.g., individual-level data) will       Other limitations relate to our study de-       range (adding 20.5 ﬁrearm laws) would save,
help elucidate potential mechanisms for such         sign. We used state-level policy changes            on average, the lives of 16 workers each
associations.                                        and homicide rates; the ecological fallacy          year who would have died from workplace
    Strengthening of 4 subcategories of ﬁrearm       is therefore a threat to the validity of our        homicides, with further beneﬁts extend-
laws—possession regulations, assault weapon          ﬁndings. However, the majority of studies of        ing to their families, coworkers, and
bans, preemption, and stand-your-ground              ﬁrearm policies and homicide are ecological.6       employers.
laws—was not signiﬁcantly (or nearly sig-            We also cannot account for implementation;
                                                                                                         CONTRIBUTORS
niﬁcantly) associated with reductions in             policies in some states may be more strictly        E. L. Sabbath drafted the article and assembled the
workplace homicide rates. Not enough states          enforced than policies in other states. Level of    data. E. L. Sabbath and C. F. Baum designed the study.

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C. F. Baum analyzed the data. All of the authors con-          15. Loomis D, Marshall SW, Ta ML. Employer policies            33. Eisner MD, Smith AK, Blanc PD. Bartenders’ re-
tributed to interpreting the results and editing the article   toward guns and the risk of homicide in the workplace.         spiratory health after establishment of smoke-free bars
for intellectual content.                                      Am J Public Health. 2005;95(5):830–832.                        and taverns. JAMA. 1998;280(22):1909–1914.
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                                                                                                                                                          Exhibit D
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           Statistics and Public Policy




           ISSN: (Print) (Online) Journal homepage: https://www.tandfonline.com/loi/uspp20




     Marginal Structural Models to Estimate Causal
     Effects of Right-to-Carry Laws on Crime

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     To cite this article: Willem M. Van Der Wal (2022) Marginal Structural Models to Estimate
     Causal Effects of Right-to-Carry Laws on Crime, Statistics and Public Policy, 9:1, 163-174, DOI:
     10.1080/2330443X.2022.2120136
     To link to this article: https://doi.org/10.1080/2330443X.2022.2120136




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 2022, VOL. 9, NO. 1, 163–174
 https://doi.org/10.1080/2330443X.2022.2120136




 Marginal Structural Models to Estimate Causal Effects of Right-to-Carry Laws on Crime
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     ABSTRACT                                                                                                                                                     ARTICLE HISTORY
     Right-to-carry (RTC) laws allow the legal carrying of concealed firearms for defense, in certain states in the                                               Received January 2020
     United States. I used modern causal inference methodology from epidemiology to examine the effect of RTC                                                     Accepted August 2022
     laws on crime over a period from 1959 up to 2016. I fitted marginal structural models (MSMs), using inverse
     probability weighting (IPW) to correct for criminological, economic, political and demographic confounders.                                                  KEYWORDS
     Results indicate that RTC laws significantly increase violent crime by 7.5% and property crime by 6.1%. RTC                                                  Causal modeling; Concealed
                                                                                                                                                                  carry; Firearms; Gun laws;
     laws significantly increase murder and manslaughter, robbery, aggravated assault, burglary, larceny theft                                                    Inverse probability
     and motor vehicle theft rates. Applying this method to this topic for the first time addresses methodological                                                weighting; Longitudinal
     shortcomings in previous studies such as conditioning away the effect, overfit and the inappropriate use of                                                  data; Marginal structural
     county level measurements. Data and analysis code for this article are available online.                                                                     model; Multiple imputation;
                                                                                                                                                                  Random effects


 1. Introduction                                                                                    introduce the theory of MSMs and illustrate their advantages
                                                                                                    over standard models below.
 Lott and Mustard (1997) concluded that the introduction of
                                                                                                        MSMs are based on the concept of counterfactuals, also called
 right-to-carry (RTC) laws in states in the United States decreases
                                                                                                    potential outcomes (Robins 1999; Höfler 2005). Counterfactuals
 violent crime. These laws allow the legal carrying of concealed
                                                                                                    are the outcomes that could have been observed, had a certain
 firearms for self-defense. Since then, many studies (see Sec-
                                                                                                    exposure been applied to an observational unit. For instance,
 tion 5) have been conducted on this issue, with conflicting
                                                                                                    the outcome after exposure to a medical treatment of patients,
 results. For example, Donohue, Aneja, and Weber (2019) con-
                                                                                                    or the outcome after the introduction of RTC laws in states in
 cluded that RTC laws substantially increase violent crime. As
                                                                                                    the United States. Causal effects can then be defined as contrasts
 described in Lott and Mustard (1997), Lott (2010), and Dono-
                                                                                                    between these potential outcomes (Hernán 2004; Hernán and
 hue, Aneja, and Weber (2019) RTC laws could simultaneously
                                                                                                    Robins 2006a).
 both have a positive effect (e.g., by deterrence) and a negative
                                                                                                        For example, consider patients receiving either a medical
 effect (e.g., by escalation or displacement) on crime.
                                                                                                    treatment or a placebo in a clinical trial. The outcome Y could be
     The National Research Council (U.S.) (2004) concluded that
                                                                                                    survival (yes or no). With dichotomous exposure A, the poten-
 to reach a robust scientifically supported conclusion, new ana-
                                                                                                    tial outcome for individual i when receiving treatment level
 lytical approaches are needed. For example, as described in
                                                                                                    0, the placebo is Yi,a=0 . The potential outcome for individual
 Section 5, many methods typically used in previous studies can
                                                                                                    i when receiving treatment level 1, the medical treatment is
 suffer from adjusting away the effect, overfitting and inappro-
                                                                                                    Yi,a=1 . The causal effect of the medical treatment on survival,
 priate use of county level measurements, among others. In this
                                                                                                    as compared to the placebo, for individual i could then be
 article, I attempt to address these deficiencies using marginal
                                                                                                    expressed as the difference between Yi,a=0 and Yi,a=1 .
 structural models (MSMs), a causal inference technique popular
                                                                                                        At the population level, the causal effect of a dichotomous
 in epidemiology (Hernán, Brumback, and Robins 2000; Robins,                                        exposure A on an outcome Y can be defined as a contrast
 Hernán, and Brumback 2000; Hernán and Robins 2006a).                                               between distributions of potential outcomes. The distribution
                                                                                                    of outcomes when every observational unit would have received
 2. Background: Marginal Structural Models (MSMs)                                                   exposure level 0 is f (ya=0 ). The distribution of outcomes when
                                                                                                    every unit would have received exposure level 1 is f (ya=1 ).
 MSMs are used in epidemiology to estimate the causal effect of a                                   The causal effect comparing these two distributions could be
 treatment on a chosen outcome in medical patients, from obser-                                     expressed for instance as a difference or ratio of the survival
 vational data (Robins, Hernán, and Brumback 2000; Hernán,                                          rates. Such a contrast is referred to as a marginal causal effect.
 Brumback, and Robins 2000; Hernán and Robins 2006a). I                                             This is precisely the effect that is desired when estimating the




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   Supplementary materials for this article are available. Please go to www.tandfonline.com/uspp.
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                                                                                                                                                                   Exhibit D
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causal effect of a specific action, treatment or policy, such as    confounders as covariates in regression models (Fitzmaurice
when estimating the effect of RTC laws on crime (Hernán 2004).      2004; Ranstam 2008).
                                                                        A drawback of conditioning is that effects can be adjusted
                                                                    away, especially in a longitudinal setting. I will illustrate this
2.1. Marginal Structural Models (MSMs)                              in the context of estimating the effect of RTC laws on crime. I
Using the counterfactual framework, the marginal causal             indicate time in years since a chosen baseline using j. Consider
effect of an exposure on a chosen outcome can be described          the time-varying exposure Aj , the implementation of a RTC
quantitatively using a MSM (Hernán, Brumback, and Robins            law at the state level (0 = no, 1 = yes). Also, consider violent
2000; Robins, Hernán, and Brumback 2000; Hernán and Robins          crime rate Yj at the state level, and the composition of the state
2006a). For example, the MSM                                        legislature Lj . The effect of Aj on Yj could be confounded by
                                                                    time-varying covariate Lj . I illustrate this temporal structure
                        E(Ya ) = β0 + β1 a                   (1)    at time points j and j − 1 in Figure 1 using a directed acyclic
                                                                    graph (DAG) (Hernán, Hernández-Díaz, and Robins 2004;
could describe the causal effect of a dichotomous exposure
                                                                    Hernán and Robins 2006b). DAGs illustrate the assumed
A on a continuous outcome Y. The response variable Ya is
                                                                    causal structure between variables, with nodes representing
the potential outcome that would have been observed, when
                                                                    variables, and causal effects depicted by unidirectional edges
every unit of observation would have received the same specific
                                                                    (arrows).
treatment level a. Parameter β1 then quantifies the causal effect
                                                                        Suppose that state legislature composition Lj is a confounder
of A on Y. This parameter is equal to the difference in the
                                                                    for the effect of Aj on Yj , assuming it has a causal effect on both
mean of Y between the distributions of the potential outcomes
                                                                    Aj and Yj , as indicated by . Assuming that the implementation
corresponding to the two treatment levels of A, f (ya=0 ) and
                                                                    of a RTC law at a given time point also has an effect on the
f (ya=1 ). The parameters of such a MSM could be estimated by
                                                                    composition of the state legislature at a subsequent time point
fitting the standard regression model
                                                                    (the effect of Aj−1 on Lj ), Aj−1 has an indirect effect on Yj
                        E(Y) = β0 + β1 A                     (2)    through Lj , as indicated by . When “adjusting” for the state
                                                                    legislature composition in the previous year by including it as a
on observations{Yi , Ai } from a randomized experiment with no      covariate in a regression model, the indirect effect of RTC laws
selection bias. However, in observational studies bias due to       on crime is adjusted away (Robins 1997; Robins, Greenland, and
confounding is often present, as described in the next paragraph.   Hu 1999).
                                                                        The problem of adjusting away the effect will occur when
2.2. Confounding                                                    conditioning on any variable that is also intermediate for the
                                                                    effect of the exposure. This can occur when estimating the effect
Confounding occurs when one or more covariates have a causal        of RTC laws on crime, when including possible longitudinal
effect both on the exposure allocation and on the outcome           confounders in the regression model, as was done in previous
(Pearl 2009). Such covariates are referred to as “confounders.”     studies on this topic. The association will still be a biased esti-
An example of a confounder in a medical setting is disease          mate of the true causal effect.
progression in HIV positive individuals, when estimating the            Other drawbacks of conditional regression models include
effect of treatment on mortality. Disease progression could         non-collapsibility and collider stratification, which can both
both affect the start of treatment as well as mortality (Hernán,    introduce more bias. Non-collapsibility entails that effect
Brumback, and Robins 2000). Or, in the present study, for           estimates from conditional models are only true estimates of
example the composition of the state legislature could possibly     marginal effects with a model that uses a linear or log-linear
affect both the introduction of RTC laws as well as crime rates,    link function (Greenland, Robins, and Pearl 1999). Collider
either directly or indirectly. Unadjusted effect estimators such    stratification is the introduction of bias by conditioning on a
as Equation (2) are biased estimators of the causal effect when     common effect of two variables. This can also occur in the
confounding is present (Greenland and Morgenstern 2001).            longitudinal situation illustrated in Figure 1. For a more detailed
Adjusting for confounding is possible using various methods.        explanation I refer to the literature (Greenland 2003; Whitcomb
I will describe both traditional “conditional” regression models    et al. 2009).
in which confounders are included as covariates, and inverse            In this article, I use inverse probability weighting (IPW) to
probability weighting (IPW) to correct for confounding while        address some of the limitations of conditional modeling, as
fitting a MSM.                                                      explained below.

2.3. Conditional Models and their Drawbacks                         2.4. Introduction to Inverse Probability Weighting (IPW)
The most commonly used statistical method to adjust for             The parameters of MSMs can be estimated using IPW to cor-
confounding is conditioning, as was indeed done in previous         rect for confounding (Robins 1998). Fitting a MSM using IPW
studies on the effect of RTC laws on crime (Section 5).             amounts to weighting each observation by the inverse of the
Conditioning amounts to the pooling of associations, estimated      probability of the observed exposure level, given the observed
within strata defined by confounders. In this manner, an overall    value of the confounders. Subsequently, a MSM regressing the
adjusted effect estimate is obtained. Such a pooled estimate can    outcome on the exposure is fitted on the weighted dataset. I
be obtained by using stratification methods, or by including                                                       Exhibit
                                                                    illustrate this in a point treatment study (i.e., at one D
                                                                                                                             specific
                                                                                                                      Page 139
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 Figure 1. Illustration of the temporal structure between a (possible) confounder such as state legislature composition L, RTC law implementation A and the crime rate Y
 at two subsequent time points j − 1 and j. Confounding is indicated by . By conditioning on L, the indirect effect of A on Y through L, as indicated by , is adjusted away.


 time point) below, and generalize to a longitudinal setting in                           Hernán 2008; Petersen et al. 2012). This assumption is also
 Section 3.4.                                                                             known as the assumption of experimental treatment assignment
    Consider a point treatment setting with a dichotomous expo-                           (ETA). The assumption of conditional exchangeability means
 sure A, outcome Y and a vector of possible confounders K                                 that within strata defined by the measured confounders,
 measured at a single time point. Using IPW, we can adjust for                            potential outcomes are independent of the observed exposure
 confounders K by weighting each observation i by the inverse                             level (Hernán and Robins 2006a). In practice, this holds when
 probability weight                                                                       there are no unmeasured confounders.
                                         1
                         wi =                          .                         (3)
                                 P(Ai = ai |K i = ki )                                    3. Methods
 I indicate the observed exposure and confounder status with                              I have estimated the causal effect of the adoption of RTC laws in
 a and k, respectively. The denominator of Equation (3) con-                              states in the United States on crime rates with a MSM for each
 tains the probability of the observed exposure level given the                           crime type, correcting for confounding using IPW. I combined
 observed values of confounders K. The denominator can be                                 this method with multiple imputation to deal with missing
 estimated from a model regressing P(A = 1) on K, either using                            values. Below I describe the details of this method. I have imple-
 the predicted probability or one minus the predicted probability,                        mented the described method in the R software (R Core Team
 for ai = 1 and ai = 0, respectively. Weighting by wi creates                             2021), version 4.0.5. I have made the data and statistical code
 a pseudo-population in which K no longer predicts A, but in                              available with this article, for full transparency and falsifiability,
 which the causal effect of A on Y is still present (Robins 1998).                        and to allow researcher to improve upon this analysis as they see
 Weighting observations i by wi one can then fit a model such as                          fit (see supplementary materials).
 Equation (2) to estimate the parameters of MSM Equation (1).
    To increase statistical efficiency and attain better coverage
 of confidence intervals, it is recommended to use stabilized                             3.1. Data
 weights (Hernán, Brumback, and Robins 2000; Cole and Hernán                              Observational units i are all 50 states in the United States, with
 2008), for example,                                                                      measurements taken in calendar years Tj = 1959, 1960, . . . ,
                                     P(Ai = ai )                                          2016, with j = 0, 1, . . . , 57 corresponding to those 58 calendar
                         swi =                          .                        (4)      years, respectively. I have chosen to start the follow up at 1959
                                  P(Ai = ai |K i = ki )
                                                                                          since that is when the first RTC law was implemented, in New
 The numerator of Equation (4) contains the probability of the                            Hampshire (Donohue, Aneja, and Weber 2019). I included the
 observed exposure level, which can be estimated using the                                following variables in the dataset:
 observed proportions. To further stabilize the weights, one can                               Total reported numbers of crimes Yijc in each state i, at the end
 condition both in the numerator and in the denominator of                                of each year j, with c = 1, 2, . . . , 9 representing violent crime
 Equation (4) on a set of covariates V that are not confounders.                          total, murder/manslaughter, forcible rape, robbery, aggravated
                                                                                          assault, property crime total, burglary, larceny theft and motor
                                                                                          vehicle theft, respectively. These variables as well as total state
 2.5. Assumptions                                                                         population Pij were obtained from Federal Bureau of Investiga-
 The following assumptions are made when fitting a MSM using                              tion (2019c) for 1960 up to 2014 for most states and for 1965 up
 IPW (Cole and Hernán 2008). The assumption of consistency                                to 2014 for the state of New York. Yijc and Pij data for all states
 states that the counterfactual outcome corresponding to the                              in 2015 and 2016 were obtained from Federal Bureau of Inves-
 observed exposure level is precisely the observed outcome                                tigation (2019a) and Federal Bureau of Investigation (2019b),
 (Robins, Greenland, and Hu 1999; Cole and Hernán 2008).                                  respectively. Corresponding crime rates can be computed from
 This means that the exposure, the causal effect of which is to                           Yijc and Pij . Measurements for these variables were missing for
 be estimated, needs to be clearly defined. It is also necessary to                       the state of New York in 1959 up to 1964 and in 1959 for the
 assume positivity, which means that every level of the exposure                          other states.
 of interest has a positive probability of being allocated in                                  I have also used RTC law implementation Aij with 0 =
 every stratum defined by the measured confounders (Cole and                              restrictive (no-issue or may-issue) and 1Exhibit        D (shall-
                                                                                                                                         = permissive
                                                                                                                                                  Page 140
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issue or unrestricted) according to Donohue, Aneja, and Weber          beginning of the year and a lag of two years for confounders
(2019). Aij = 1 for the years in which a RTC law was in effect         measured at the end of the year.
for the majority of that year, and Aij = 0 otherwise.                     I have used natural splines (De Boor 2001) with three degrees
    I have collected possible longitudinal confounders for the         of freedom fitted on calendar time and follow-up time in the
effect of RTC laws on crime in vector Lij including the following.     imputation model (Section 3.2), the main MSM models (Sec-
I used the state violent crime rate and property crime rate per        tion 3.3) and the models for the implementation of a RTC law
100.000 people, as computed above, at the end of year j−2. Since       (Section 3.4). A natural spline with three degrees of freedom has
this variable is measured at the end of year, I have used a lag        two boundary knots and one interior knot, so that within two
of two years to satisfy proper temporal ordering, as illustrated       distinct periods different cubic trends can be fitted. I consider
in Figure 1. This necessitated state level measurements of this        this choice sufficiently flexible to model calendar year in the
variable from 1957 up to 2014. Measurements for these variables        context of crime rates and RTC law implementation, based on
were missing for the state of New York in 1957 up to 1964 and          the observed trend of an increase of crime rates from 1960
in 1957, 1958, and 1959 for the other states.                          up to the “crack era” of the 1980s and 1990s, followed by a
    I also included the state share of the total U.S. Gross Domestic   decrease. I illustrate this trend in the longitudinal plots in the
Product (GDP), at the end of year j−2 to satisfy proper temporal       supplementary materials. I assumed that the relatively limited
ordering. This necessitated state level measurements for this          amount of data does not allow for a more complex model,
variable from 1957 up to 2014. I obtained measurements from            although I explore varying degrees of freedom in the sensitivity
1963 up to 2014 for every state from Bureau of Economic Anal-          analysis (Section 3.5).
ysis (2019), therefore, the variable had missing values for 1957          I assessed the positivity assumption (see Section 2.5) graph-
up to 1962. To improve normality, I used a natural logarithm           ically, using scatterplots of the implementation of a RTC law
transformation.                                                        (yes/no) against each possible confounder, for each of the multi-
    As possible confounders I also used various demographic            ple imputation datasets that were generated as described below
variables including the proportions of the population that is          (see supplementary materials).
female, white non-hispanic, and of age between 0–18, 19–39,
and 40–64 (with 65 and above redundant), respectively. Since           3.2. Multiple Imputation
these variable are measured at the end of year, I employed a
lag of two years necessitating measurements from 1957 up to            To deal with the missing values in the data as described above I
2014. I computed these proportions from population counts              performed multiple imputation for multivariate, multilevel data
by sex, race and age obtained from different tables including          using Markov chain Monte Carlo (MCMC) according to Schafer
US Census Bureau (2017a, 2017b, 2019a, 2019b, 2019c, 2019).            and Yucel (2002). I used a multivariate linear mixed-effects
These population counts also included measurements for 1950            model to impute the missing values. As dependent variables I
which I used to add further support to the multiple imputation         used the natural logarithm of the crime numbers, natural loga-
model described in Section 3.2. Values for 1957, 1958, 1959, and       rithm of state population numbers, natural logarithm of the state
1961 up to 1969 were missing.                                          share of the total U.S. Gross Domestic Product (GDP), the pro-
                                                                       portions of the population that is female, white non-hispanic,
    I used Population density computed from the population
                                                                       and of age between 0–18, 19–39, and 40–64, respectively. As
counts Pij and the state land areas in square miles obtained
                                                                       independent predictors in this model I used the intercept, the
from US Census Bureau (2016). These were transformed using a
                                                                       indicator for RTC law implementation, a natural spline (De Boor
natural logarithm to improve normality, and lagged by two years
                                                                       2001) with three degrees of freedom fitted on calendar year, and
for similar reasons as the demographic variables.
                                                                       a random intercept for each state.
    As possible confounders I also included an indicator variable          Using 200 MCMC iterations after 5.000 burn-in iterations, I
indicating that the state legislation has a Republican majority,       generated 25 imputed datasets from this model. The number of
measured at the beginning of the previous year, to satisfy tem-        iterations and datasets was chosen based on technical feasibility
poral ordering according to Figure 1. I used data from Klarner         in the sensitivity analysis as described below. On each of these 25
(2013) and National Conference of State Legislatures (NCSL)            imputed datasets MSMs for the effect of RTC laws on crime rates
(2019), before and from 1978 onwards, respectively. And I also         were fitted using IPW as described below. Estimates and stan-
used an indicator variable indicating that the state governor          dard errors were combined according to Rubin’s rules (Rubin
is a Republican, measured at the beginning of the previous             1987). After this, I performed a sensitivity analysis as described
year, to satisfy temporal ordering according to Figure 1. I used       in Section 3.5.
data from Klarner (2013) and National Conference of State
Legislatures (NCSL) (2019), before and from 2009 onwards,
                                                                       3.3. Marginal Structural Models
respectively. The interaction between the indicator variables
for the state legislation and state governor party was also            To model the causal effect of the implementation of RTC
included.                                                              laws on crime, for each of the crime types c I have estimated
    I assumed that the above included criminological, economic,        the parameters of a separate generalized linear mixed model
political and demographic possible confounders all are likely to       (GLMM) (Wolfinger and O’connell 1993), with a quasi-Poisson
affect both the implementation of a RTC law and crime rates,           link function:
just like variable L in Figure 1 with j representing follow-up time                      c )
                                                                                              
                                                                                      E(Yaij
in years. The temporal ordering in Figure 1 is always satisfied                 log             = θ0c + θ1c aij + θ c2 f 1 (Tj ) + ξic . (5)
since I used a lag of one year for confounders measured at the                          Pij                                 Exhibit D
                                                                                                                         Page 141
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 These models convert the numbers of crimes for each type per                    I have estimated the factors in Equation (6) as follows. The
 state and year Yijc to crime rates using the offset Pij . The models        introduction of a RTC law was never reversed in any state. I
 include the effect θ1c of the dummy variable for the RTC laws per           assumed that after the first instance of having a RTC law within
 state, per year, aij . The function f 1 (Tj ) indicates a natural spline    follow up in a specific state, the elements P(Aik = aik | . . .) are
 (De Boor 2001) with three degrees of freedom, as a flexible                 equal to one. In other words, after the first instance of having a
 modeling of calendar time. ξic indicates a normally distributed             RTC law within follow up, the probability of having a RTC law in
 random intercept at the state level. This approach is somewhat              that state is always one. Using only the data up to and including
 similar to the generalized estimating equation (GEE) model                  the first year in which a RTC law was implemented within follow
 described by eq (1b) in Hernán, Brumback, and Robins (2002),                up, I have estimated the other elements in the denominator of
 with the addition of the random intercept.                                  Equation (6) using the regression model
     Compared to a standard Poisson link function, the quasi-
                                                                                 log(− log(1 − P(Aij = 1))) = β0 + β 1 f 2 (j) + β 2 Lij .    (7)
 Poisson link function uses an additional scale parameter
 allowing for under- or overdispersion of the error distribution             Model Equation (7) is similar to a Cox proportional hazards
 (Zeileis, Kleiber, and Jackman 2008). I have also incorporated              model, but with the outcome observed in discrete time, using the
 an autoregressive correlation structure of order one (AR1)                  complementary log-log link function (Prentice and Gloeckler
 (Littell, Pendergast, and Natarajan 2000) between the repeated              1978). I have included main effects of the longitudinal con-
 outcomes of each state. I consider this structure an appropriate            founders L, including the interaction between state legislature
 choice for repeated measures over time, since the correlation               composition and governor party. The function f 2 (j) indicates a
 between measurements declines when those measurements                       natural spline with three degrees of freedom fitted on follow up
 are spaced further apart in time (Littell, Pendergast, and                  time, as a flexible baseline hazard function. The elements in the
 Natarajan 2000). While using IPW to correct for confounding as              numerator of Equation (6) were estimated using a similar model
 described below, I performed two-sided significance testing at a            including only f 2 (j) and the intercept.
 significance level of 5%, compared to 0 under the null hypothesis               As a robustness check, I computed Pearson correlation coef-
 for the main effects θ1c .                                                  ficients between the measured predictors that were included in
     The causal effects estimated by θ1c can be interpreted in the           the models fitted to estimate the weights. I regarded excessively
 following manner. The MSMs Equation (5) model for each                      high correlations (i.e., > 0.8) as an indication of possibly prob-
 crime rate the contrast between two distributions of potential              lematic multicollinearity in these models. When computing
 outcomes: (a) the repeated measurements of the crime rates in               these correlations, I used only the data up to and including the
 each state, when all states would never have implemented a RTC              first year in which a RTC law was implemented within follow
 law during follow-up, and (b) the repeated measurements of the              up, to which these models were fitted, before imputation.
 crime rates in each state, when all states would have always had                Note that exposure allocation model Equation (7) uses 16
 a RTC law implemented, during the complete follow-up. This                  parameters including the intercept. Given the 42 observed
 effect is quantified by the parameters θ1c , from which the risk            “events” corresponding to the first instance of having a RTC law
           c
 ratios eθ1 can be computed. When such a risk ratio would for                implemented within follow up (see Section 4), I consider this
 example, be equal to 1.1, that should be interpreted as the imple-          the maximum acceptable complexity of the model, based on the
 mentation of a RTC law increasing the corresponding crime rate              simulation studies performed by Vittinghoff and McCulloch
 by 10%, while a risk ratio of 0.9 would equal a decrease by 10%.            (2007).

 3.4. Inverse Probability Weighting                                          3.5. Sensitivity Analysis
 I have fitted model Equation (5) on the observed data, for each of          I have performed a sensitivity analysis to examine the robustness
 the crime types, correcting for confounding by the longitudinal             of the results. I have fitted the following variations of the main
 variables in Lij , using IPW. I have weighted each observation ij           MSMs.
 by the stabilized weights swij , similarly to Hernán, Brumback,                Variants 1–11 each subtract a specific component of the
 and Robins (2002):                                                          model Equation (7): in variant (1) violent crime is dropped
                  j                                                          from the model, in (2) property crime is dropped, in (3) GDP
                            P(Aik = aik |Aik−1 = aik−1 )
         swij =                                                    .   (6)   share, (4) proportion female, (5) proportion white non-hispanic,
                  k=0
                        P(Aik = aik |Aik−1 = aik−1 , Lik = lik )             (6) the age variables, (7) population density, (8) the interaction
                                                                             between the indicator that the state legislature has a Republican
 This weight is for each measurement j for each state i the                  majority and the indicator that the state governor is Republican,
 product over all previous time points of a ratio of probabili-              (9) state legislature, (10) state governor and in (11) both the state
 ties. The factors in the numerator contain the probability of               legislature and governor indicators are dropped.
 the observed exposure status at each time point, aij , given the               In variant (12) I have added to the exposure allocation model
 observed exposure history up to the previous time point aij−1 =             specified by Equation (7) both the two-way interactions and the
 ai0 , ai1 , . . . , aij−1 . The factors in the denominator contain the      three way interactions between the spline fitted on follow-up
 probability of the observed exposure status at each time point,             time, the indicator that the state legislature has a Republican
 aij , given the observed exposure history up to the previous time           majority and the indicator that the state governor is Republican.
 and the observed history of the longitudinal confounders lij =              In this manner, possible paradigm shifts within the Democratic
 li0 , li1 , . . . , lij .                                                   and Republican party are captured. These Exhibit
                                                                                                                          paradigmD  shifts could
                                                                                                                          Page 142
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modify the effect of these political variables on the probability      the synthetic control approach of Donohue, Aneja, and Weber
that a RTC law is implemented.                                         (2019). As described by Donohue, Aneja, and Weber (2019), the
    As explained in Cole and Hernán (2008), the statistical effi-      synthetic control approach estimated the effect of implemen-
ciency of an IPW estimator can be increased by truncating              tation of a RTC law for the 33 states that implemented a RTC
the weights, at the cost of introducing a small amount of bias.        law during 1981–2007, while using follow-up data from 1977 to
When truncating, weights below or above a chosen percentile            2014. Synthetic controls where constructed for each of the 33
are set to that percentile, at the lower and upper end of the          “treatment” states using states with either (a) no RTC legislation
distribution of the weights, respectively. That is, a one-sided        as of the year 2014, or (b) states that passed RTC laws at least
truncation proportion of 0.01 would indicate truncating at the         10 years after the implementation in the specific treatment state
1st and 99th percentile. In the sensitivity analysis I have included   (Donohue, Aneja, and Weber 2019). To emulate this selection
the following variants: (13) weights truncated at the 1st and 99th     I included any state where no RTC was implemented, or where
percentile, (14) weights truncated at the 2nd and 98th percentile      a RTC law was implemented in 1981 or later. This resulted in
and (15) weights truncated at the 5th and 95th percentile.             using 44 states in total. I also used follow-up data from 1977 to
    Both in the exposure allocation model Equation (7) and the         2014. Note that this selection precludes any left-truncation in
MSMs Equation (5) natural splines with three degrees of free-          the exposure allocation model Equation (7), since no switches
dom are used on follow-up time and calendar time, respectively.        can occur before the start of follow-up by definition.
I examined the sensitivity of the main effect estimates to the
number of degrees of freedom. I fitted the following variants:
variant (16) with a spline with two degrees of freedom in the          4. Results
exposure allocation model, variant (17) including a spline with        4.1. Descriptive Statistics
four degrees of freedom in the exposure allocation model, vari-
ant 18) using a spline with two degrees of freedom in the MSMs         The dataset contains 2900 years of total follow up. There were 42
and variant (19) using a spline with four degrees of freedom in        states that had a RTC law implemented. This led to 1889 years of
the MSMs.                                                              follow up without and 1011 years with a RTC law implemented,
    According to Donohue, Aneja, and Weber (2019), while a             respectively. Table 1 presents basic descriptive statistics for the
RTC law was implemented in 1989 in Pennsylvania, this only             state crime rates, including the % of missing measurements that
came into effect in the capital Philadelphia in 1996. Therefore,       were imputed. Note that based on the minimum, there are no
I examined the effect of changing the implementation year for          zero crime rates for any of these crime types at the state level.
Pennsylvania from 1989 to 1996 in the sensitivity analysis in          This precludes the occurrence of zero-inflation. The occurrence
variant 20).                                                           of zero-inflation would be problematic when using Poisson
    In variant (21) I fitted GEE models for the causal effect of       regression (He et al. 2014). Table 2 presents basic descriptive
RTC law implementation on crime, as an alternative to the              statistics for the possible confounders for the effect of RTC laws
GLMM Equation (5). And similarly to Equation (5) these                 on crime, that were corrected for, using IPW as described in
models also used a Poisson link function with an additional            Section 3.4. This table also includes the % of missing measure-
scale parameter and an AR1 correlation structure between the           ments that were imputed, which is at maximum 20.7%. Absolute
repeated outcomes. In addition, these models used fixed effects        Pearson correlations between predictors averaged 0.24, with an
for each state and each year, resulting in relatively complex          interquartile range of 0.11 up to 0.32 and a maximum of 0.69.
models.                                                                This does not indicate any relevant amount of multi-collinearity.
    In the next three variants I examined changes to the impu-
tation model, while using the main MSMs. In variants (22) I
                                                                       4.2. Main Results
dropped the indicator for RTC law implementation from the
imputation model. In variants (23) I decreased the number of           Main results are presented in Table 3. At the chosen 5% signifi-
degrees of freedom for the natural spline fitted on calendar time      cance level, RTC laws have a statistically significant effect on all
to two. In variants (24) I increased this number of degrees of         crime rates except forcible rape. This includes 7.5% more violent
freedom to four.                                                       crime total, 5.7% more murder/manslaughter, 10.9% more rob-
    In addition to the above described variants of the main
MSMs, I have fitted two additional models, to compare the
                                                                       Table 1. Descriptive statistics of state crime rates (recorded crimes per 100,000
results with. In variant (25) I fitted standard regression models      population) measured in each state and year (1959–2016).
similar to Equation (5), but unweighted, and including the same
                                                                       Crime rate
covariates as Equation (7) to adjust for confounding by condi-            (/100,000 population)   Mean       SD     Minimum Maximum % Missing
tioning. In this manner, any effect of the implementation of a
                                                                       Violent crime total     372.8 226.0              9.5       1244.3        1.9%
RTC law on crime that is indirect through any of the included             Murder/manslaughter    6.0    3.6             0.2         20.3        1.9%
covariates will be adjusted away, as described in Section 2.3.            Forcible rape         28.2   15.1             0.8        102.2        1.9%
In variant (26) I fitted standard regression models similar to            Robbery              110.8   90.9             1.9        684.0        1.9%
                                                                          Aggravated assault   227.0 144.6              3.6        785.7        1.9%
Equation (5), but unweighted, and without any other way of             Property crime total   3556.3 1365.0           573.1       7996.0        1.9%
correcting for confounding. Therefore, these models are unad-             Burglary             890.3 430.7            182.6       2906.7        1.9%
justed.                                                                   Larceny theft       2330.4 877.6            293.3       5106.1        1.9%
                                                                          Motor vehicle theft  335.6 200.3             28.4       1571.1        1.9%
    Variants (27) were designed as MSMs similar to the main
MSMs, but using a selection of states and years that is similar to                                                               Exhibit
                                                                       NOTE: Missing values were imputed as described in Section 3.2.    D
                                                                                                                                  Page 143
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 Table 2. Descriptive statistics of covariates: possible confounders for the effect of   Table 4. Estimated effects of numeric and binary predictors on the implementation
 RTC laws on crime.                                                                      of a right-to-carry (RTC) law, summarized across the 25 multiple imputation (MI)
                                                                                         datasets.
 Variable                 Mean        SD       Minimum       Maximum        % Missing
                                                                                         Variable                                             Summary over
 Violent crime rate       372.9      228.5        9.5          1244.3          5.3%      and type                                              MI datasets
 Property crime rate     3596.1     1368.8      573.1          7996.0          5.3%
 State share of total                                                                                                                           Relative risk:
    GDP (nat. log)         −4.5         1.0      −6.2           −2.0          10.3%                                                             effect of 1 SD
 Proportion female          0.51        0.01      0.43           0.53         20.7%      Numeric variable                           Min.            Mean           Max.
 Proportion white                                                                        Violent crime rate                         1.24            1.31           1.41
    non-hispanic             0.80       0.15       0.23              1.00     20.7%      Property crime rate                        0.64            0.69           0.75
 Proportion 0–18             0.29       0.04       0.21              0.45     20.7%      State share of total GDP (nat. log)        0.88            0.94           1.02
 Proportion 19–39            0.31       0.03       0.23              0.44     20.7%      Proportion female                          0.87            1.24           1.62
 Proportion 40–64            0.28       0.04       0.19              0.38     20.7%      Proportion white non-hispanic              0.98            1.14           1.24
 Population density                                                                      Proportion 0–18                            0.39            0.73           1.16
    (nat. log)               4.25       1.46     −0.93               7.10      5.3%      Proportion 19–39                           0.70            0.99           1.45
 State legislation                                                                       Proportion 40–64                           0.53            1.07           2.25
    Republican1              0.29       0.45       0.00              1.00      0.0%      Population density (nat. log)              0.34            0.44           0.56
 State governor party
    Republican1              0.45       0.50       0.00              1.00      0.0%                                                             Relative risk:
                                                                                                                                               effect of 1 unit
 NOTE: Missing values were imputed as described in Section 3.2.                          Binary variable                            Min.           Mean            Max.
  1 Dichotomous variable, therefore, the mean indicates a proportion.                    State legislation Republican               1.11            1.21           1.34
                                                                                         State governor party Republican            0.67            0.68           0.71
                                                                                         State legislation Republican ×
 Table 3. Main results: estimated effects of right-to-carry (RTC) laws on state crime
                                                                                         state governor Republican                  2.57            2.85           3.12
 rates in the USA 1959–2016, change in crime rate (%) with 95% confidence interval
 and p-value.
 Outcome                             Effect               (95% CI)              Sig.
 Violent crime total                  7.5%            (3.8%, 11.4%)            0.000     without the implementation of a RTC law. This lends support
    Murder/manslaughter               5.7%            (0.5%, 11.1%)            0.032     to the validity of the positivity assumption. In some ranges,
    Forcible rape                     0.8%          (−2.0%, 3.7%)              0.572
    Robbery                          10.9%            (5.5%, 16.5%)            0.000     often with sparser data, either no measurements with or no
    Aggravated assault                6.5%            (2.5%, 10.7%)            0.001     measurements without the implementation of a RTC law are
 Property crime total                 6.1%            (3.5%, 8.8%)             0.000     observed. However, these ranges are relatively small, and close
    Burglary                          7.5%            (3.7%, 11.5%)            0.000
    Larceny theft                     5.7%            (3.1%, 8.2%)             0.000     to the ranges with both outcomes observed. Since these are
    Motor vehicle theft               6.2%            (2.8%, 9.7%)             0.000     continuous variables, a small amount of extrapolation will be
                                                                                         performed when computing the weights. The positivity assump-
                                                                                         tion seems to be appropriate, especially in light of the results
 bery, 6.5% more aggravated assault, 6.1% more property crime                            from the sensitivity analysis (Section 4.4) in which variables are
 total, 7.5% more burglary, 5.7% more larceny theft and 6.2%                             dropped from the analysis.
 more motor vehicle theft.                                                                  Descriptive statistics and boxplots for the IPW weights are
                                                                                         also presented in the supplementary materials. From these I
                                                                                         conclude that the mean is always close to one, and that the
 4.3. Exposure Allocation Model, IPW Weights and                                         variability of the weights is comparable to that of Hernán, Brum-
      Positivity                                                                         back, and Robins (2002).
 Table 4 contains effect estimates from exposure allocation model
 Equation (7), for numeric predictors (relative to a shift of one
                                                                                         4.4. Sensitivity Analysis Results
 standard deviation) and binary predictors (relative to a one unit
 shift), respectively. These effects are summarized across the 25                        Table 5 contains the results of the sensitivity analysis. The vari-
 multiple imputation datasets using the minimum, mean and                                ants 1 through 24 all produce results that are very similar to
 maximum. The effect estimates presented in Table 4 are not to                           the main results. These models all support the conclusion that
 be interpreted as causal effects estimates, since they are obtained                     the implementation of a RTC law at the state level increases
 from a conditional model which was fitted with prediction as                            both violent crime and property crime rates. The effect estimates
 a goal. However, what can be concluded is that most of the                              for total violent crime and total property crime were always
 included variables seem to have an effect on the implementation                         statistically significant, at least at the 0.05 level or lower. The
 of a RTC law of a relevant magnitude. In addition, some of                              effect estimates for total violent crime and total property crime
 the estimated effects seem (post hoc) to have a direction that                          were always in the order of magnitude of an increase of 5%–
 is quite logical. For example, when both the state legislature                          10% and 3%–7%, respectively. The effect estimates for the other
 majority and governor are Republican, it seems almost three                             crime rates were also always similar to the main results, for
 times more likely that a RTC law will be implemented. But it                            variants 1 through 24.
 must be stressed that when one is interested in the causal effects                          The sensitivity analysis indicates that the results are not
 of these variables, corresponding MSMs should be fitted.                                sensitive to dropping any variable or interaction term from
     I have included positivity plots for each multiple imputation                       the model. By adding the two-way and three-way interactions
 dataset in the supplementary materials. Across the observed                             with time and the political variables, results similar to the main
 range of most predictors, there are both measurements with and                          MSMs are obtained. By progressively truncatingExhibit the
                                                                                                                                                D weights,
                                                                                                                                              Page 144
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Table 5. Sensitivity analysis: estimated effects1 of right-to-carry (RTC) laws on state crime rates in the USA 1959–2016, change in crime rate (%) for different model
variations.
Model (see Section 3.5)




                                                 Violent crime




                                                                     Murder/manslaughter




                                                                                             Forcible rape




                                                                                                                   Robbery




                                                                                                                              Aggravated assault




                                                                                                                                                    Property crime




                                                                                                                                                                      Burglary




                                                                                                                                                                                  Larceny theft




                                                                                                                                                                                                   Motor vehicle theft
Main MSM results                                7.5%              5.7%                      0.8%                 10.9%       6.5%                  6.1%              7.5%        5.7%             6.2%
1) Drop violent crime                           9.9%              7.5%                      1.6%                 13.0%       9.2%                  7.0%              9.0%        6.4%             7.1%
2) Drop property crime                          5.5%              4.8%                     −0.7%                  8.7%       4.5%                  3.8%              4.8%        3.4%             4.1%
3) Drop GDP share                               7.5%              5.5%                      0.7%                 10.8%       6.6%                  6.1%              7.5%        5.6%             6.2%
4) Drop female                                  7.0%              6.1%                      0.9%                  9.9%       6.2%                  5.8%              7.1%        5.4%             5.7%
5) Drop white non-hispanic                      7.7%              5.1%                      1.0%                 11.1%       6.7%                  6.4%              7.9%        5.9%             6.4%
6) Drop age                                     8.4%              5.5%                      1.0%                 12.0%       7.4%                  6.8%              8.7%        6.1%             6.7%
7) Drop population density                      8.3%              6.9%                      2.6%                 10.1%       8.1%                  6.8%              8.6%        6.4%             5.5%
8) Drop int. legislature×governor               5.4%              5.6%                      0.4%                  8.8%       4.1%                  5.1%              6.2%        4.7%             5.8%
9) Drop state legislature                       5.8%              6.6%                      1.8%                  8.2%       4.8%                  5.6%              6.5%        5.1%             6.7%
10) Drop state governor                         5.4%              5.6%                      0.3%                  8.7%       4.0%                  5.1%              6.1%        4.6%             5.8%
11) Drop legislature and governor               5.8%              6.6%                      1.8%                  8.1%       4.7%                  5.5%              6.5%        5.0%             6.7%
12) +interactions with time                     9.0%              6.7%                      0.6%                 12.5%       8.2%                  7.0%              8.7%        6.5%             7.3%
13) Weights truncated, 1st/99th%                6.9%              4.9%                      2.2%                  8.6%       6.5%                  6.5%              8.0%        6.2%             5.5%
14) Weights truncated, 2nd/98th%                6.7%              4.8%                      2.4%                  8.2%       6.3%                  6.5%              7.9%        6.2%             5.2%
15) Weights truncated, 5th/95th%                5.7%              4.3%                      2.6%                  7.0%       5.4%                  5.9%              7.1%        5.8%             4.0%
16) df=2 spline in weights model                5.7%              4.2%                     −1.1%                  9.3%       4.6%                  4.9%              6.0%        4.4%             5.5%
17) df=4 spline in weights model                6.9%              4.7%                      0.5%                  9.8%       6.0%                  6.0%              7.2%        5.6%             6.2%
18) df=2 spline in MSM                          6.9%              4.7%                      0.5%                  9.5%       6.1%                  5.5%              6.0%        5.2%             6.3%
19) df=4 spline in MSM                          7.2%              5.3%                      0.6%                 10.6%       6.2%                  6.1%              7.4%        5.6%             6.4%
20) RTC implemented 1996 in PA                  8.1%              4.5%                      0.7%                 10.9%       7.5%                  6.4%              8.2%        5.8%             5.9%
21) GEE fixed effects state and year            6.0%             −1.9%                      2.9%                 11.1%       3.8%                  5.0%              5.9%        4.5%             7.6%
22) Drop RTC from imputation model              7.8%              6.2%                      0.9%                 10.9%       7.0%                  6.3%              7.8%        5.9%             5.9%
23) df=2 spline in imputation model             7.8%              6.0%                      0.9%                 10.9%       6.9%                  6.1%              7.6%        5.7%             5.9%
24) df=4 spline in imputation model             7.9%              6.1%                      1.0%                 11.3%       7.0%                  6.4%              7.9%        5.9%             6.2%
25) Conditional model                           1.5%              0.1%                      1.4%                  2.5%       1.0%                  3.6%              3.5%        3.8%             3.0%
26) Unadjusted model                            1.2%             −0.2%                      1.3%                  2.1%       0.7%                  3.3%              3.3%        3.4%             2.6%
27) MSM, 1977–2014, 44 states2                  2.8%              5.6%                     −1.3%                  7.8%       0.9%                  2.7%              2.5%        2.8%             2.1%
1 Underlined estimates are significant at the 0.05 level or lower.
  2 Similarly to Donohue, Aneja, and Weber (2019).



the results are more and more skewed in the negative direction,                                              theft. I make a further comparison with the results of Donohue,
indicating less adjustment for confounding. Changing the num-                                                Aneja, and Weber (2019) in Section 5.4.
ber of degrees of freedom in the models, or adjusting the RTC                                                   None of the model variants in the sensitivity analysis support
implementation year for Pennsylvania from 1989 to 1996 does                                                  the conclusion that RTC laws significantly decrease any of the
not change the results in a relevant amount. The alternative GEE                                             crime rates.
models (variants 21) and variants 22 through 24 that examine
changes to the imputation model also produce results quite
similar to the main MSM results.                                                                             5. Discussion and Conclusion
    The conditional models (variants 25) always produce esti-                                                5.1. Discussion
mates that are much smaller than the main results, and are far
less often statistically significant. This confirms the expectation                                          The results from this study are very robust to variations in model
that using the conditional models, while adjusting for con-                                                  specification, as investigated in Section 4.4. The assumptions
founding, the effect of RTC laws on crime are at least partially                                             made by fitting a MSM using IPW (see Section 2.5) are valid.
adjusted away by conditioning on one or more variables that                                                      I have demonstrated the validity of the positivity assump-
are intermediate for the effect of RTC laws. Estimates from the                                              tion in Section 4.3. Regarding the assumption of conditional
unadjusted models (variants 26) are even smaller, indicating that                                            exchangeability, I have minimized unmeasured confounding
it is likely that confounding skews the estimates in the negative                                            by including a wide range of measured covariates, including
direction.                                                                                                   crime rates, an economic indicator, demographic and political
    The estimated effects from the MSMs that were fitted                                                     variables. The addition of new covariates could be tested in
on the period 1977–2014, similarly to Donohue, Aneja, and                                                    follow-up studies, for example, by other researchers that will
Weber (2019) (variants 27), were in the same direction as the                                                have access to the data from this study as made available through
main results except forcible rape (−1.3%). The effects were                                                  the supplementary material.
somewhat smaller in magnitude. The effects from variants                                                         Regarding the assumption of consistency, the specified expo-
(27) attained statistical significance for total violent crime,                                              sure of the implementation of a RTC law at the state level is well-
murder/manslaughter, robbery, total property crime and larceny                                               defined. However, it is of interest to estimate Exhibit
                                                                                                                                                              the effect D
                                                                                                                                                                         of RTC
                                                                                                                                                                                 Page 145
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 laws conditional on possible longitudinal effect modifiers such       crime rates than Poisson models (Plassmann and Tideman
 as changes in incarceration rates or law enforcements budgets.        2001). Still, when using a Poisson link function, other stud-
 To do so is not possible using a MSM, since it would lead             ies do not take into account the possibility of under- or
 to adjusting away the effect. When sufficient data is available,      overdispersion.
 such an analysis could be done as a follow-up study using a               A common problem in these studies is that the assumption
 so called history-adjusted marginal structural model (Petersen        of independence of measurements is made, when there is in
 et al. 2007).                                                         reality a clustering of measurements taken within the same
     When drawing causal conclusions from a standard condi-            geographical unit (e.g., state or county). When dependence of
 tional model, the above described assumptions are also implic-        measurements within clusters is assumed, a common failure is
 itly made. In addition, in the specific longitudinal situation        to not assume an appropriate correlation structure between the
 described in this study, it would be necessary to assume that         longitudinal measurements.
 there are no longitudinal covariates included that are also inter-        Many studies have corrected for covariates measured at the
 mediate to the effect of the exposure, as described in Section 2.3.   county level. Since RTC laws are implemented at the state level,
                                                                       not the county level, confounding occurs only at the state level,
                                                                       and it is sufficient to adjust only for state level variables. The use
 5.2. Comparison to Lott and Mustard (1997) and Lott
                                                                       of county level measurements introduces unnecessary complex-
      (2010)
                                                                       ity and instability, in addition to having to deal with possible
 While being groundbreaking in performing the first in-depth           zero-inflation.
 statistical analysis on the effect of RTC laws on crime, both             Many of these studies also suffer from overfit. Given the
 the study by Lott and Mustard (1997) and the update Lott              amount of available data, overly complex models were fit, yield-
 (2010) have some methodological drawbacks. A concern is that          ing unstable results. Since there are only 50 states, and mea-
 they use 36 highly collinear demographic variables, resulting         surements within states are highly correlated, with crime rates
 in unstable effect estimates, as noted by Donohue, Aneja, and         which are very low proportions, I regard the available dataset as
 Weber (2019).                                                         relatively small. Therefore, I was conservative in the amount of
    When examining Lott and Mustard (1997) and Lott (2010)             nuisance parameters that I used.
 using the causal modeling framework of MSMs, I conclude that              I could not find a previous study in which none of the above-
 by using standard regression models, effects can be adjusted          mentioned problems was present. In most of the cited studies
 away, inducing biased estimates. Also, unlike the present study,      several of these problems persist. As mentioned in the introduc-
 crime rates at a previous time point were not used as predictors      tion, the National Research Council (U.S.) (2004) indeed con-
 for the implementation of RTC laws. Other methodological              cluded that to reach a robust scientifically supported conclusion,
 issues include that Lott and Mustard (1997) and Lott (2010) did       new analytical approaches should be developed. The present
 not properly adjust for zero inflation which certainly occurs at      study is a response to that call for action, as was also done earlier
 the county level, which is apparent when studying county-level        by Donohue, Aneja, and Weber (2019), as described in the next
 crime data (see e.g., United States Department of Justice/Federal     paragraph.
 Bureau of Investigation 2014). The period examined was limited
 in both studies. They did not correct for clustering at the state
                                                                       5.4. Comparison to Donohue, Aneja, and Weber (2019)
 level, whereas the present study uses random effects of state to
 do so.                                                                The method of constructing state level synthetic controls in
                                                                       Donohue, Aneja, and Weber (2019) is somewhat similar to the
                                                                       G-computation algorithm described in Van der Wal et al. (2009)
 5.3. Comparison to Other Studies
                                                                       to fit a MSM, estimating a causal effect with panel data. The
 Other previous studies have investigated the effect of RTC            present study and Donohue, Aneja, and Weber (2019) both esti-
 laws on crime including Aneja, Donohue, and Zhang (2011),             mate a causal effect while adequately correcting for longitudinal
 Ayres and Donohue (2002), Bartley and Cohen (1998), Benson            confounders, but using different methods
 and Mast (2001), Black and Nagin (1998), Donohue (2003),                  The specific causal effects that were estimated are different in
 Donohue and Ayres (1999), Donohue and Levitt (2001),                  both studies. The present study estimated a risk ratio between
 Duwe, Kovandzic, and Moody (2002), Helland and Tabarrok               crime rates when all 50 states would never have implemented a
 (2004), Hepburn et al. (2004), Kovandzic and Marvell (2003),          RTC law versus when all states would have always implemented
 Kovandzic, Marvell, and Vieraitis (2005), Ludwig (1998),              a RTC law, during the complete follow-up. Donohue, Aneja, and
 Moody and Marvell (2008), Olson and Maltz (2001), Plassmann           Weber (2019) compared crime rates between having a RTC law
 and Tideman (2001), Plassmann and Whitley (2003), Rosengart           versus not having a RTC law, after the moment that a RTC law
 (2005), and Rubin and Dezhbakhsh (2003).                              was actually implemented, in the 33 states that did implement a
    These studies typically use standard conditional models, so        RTC law.
 that effects can be adjusted away. Previous studies also have             The choice of possible confounders that are adjusted for
 never allowed for the possibility that crime rates at a previous      is also not the same for Donohue, Aneja, and Weber (2019)
 time point could be a confounder for the effect of RTC laws on        and the present study. Both studies use a broad selection of
 crime at a subsequent time point.                                     possible criminological, economic, political and demographic
    Many previous studies use a linear regression model with           confounders which would suggest that confounding adjustment
 a normal error distribution, which is less appropriate for                                                         Exhibit
                                                                       is adequate in both studies. Given the limited        D of data, it
                                                                                                                        amount
                                                                                                                     Page 146
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is necessary to use parsimonious models. Both approaches are              The results from the present study support the conclusion
comparable in complexity.                                              of Donohue, Aneja, and Weber (2019) that RTC laws increase
    Donohue, Aneja, and Weber (2019) used follow-up from               violent crime. However, while Donohue, Aneja, and Weber
1977 to 2014, while the present study has a much longer follow-        (2019) estimated the effect of implementing a RTC law only in 33
up, which is likely to yield more statistical power. Another           states that did implement such a law using their novel synthetic
difference is that Donohue, Aneja, and Weber (2019) did not            control approach, the present study estimates the difference in
incorporate an AR1 autoregressive correlation structure, while         having and not having a RTC law implemented in all 50 U.S.
the present study does.                                                states.
    Using the synthetic control approach, Donohue, Aneja, and             The results indicate that RTC laws cause a substantial
Weber (2019) mainly found a significant effect of RTC law              increase in both violent crime (7.5%) and property crime rates
implementation on violent crime rates. This effect was estimated       (6.1%). In the 42 states with a RTC law in effect in 2016, the
conditional on year after implementation of the RTC law, and           increase corresponds to approximately 66.000 additional violent
ranged from −0.117% after 1 year up to 14.344% after 10 years,         crimes and 352.000 additional property crimes per year.
averaging 8.45%. The pseudo p-values of Donohue, Aneja, and
Weber (2019), taking full account of the uncertainty in the            Supplementary Materials
estimate, indicate that the effect is significant at the 0.05 level
only after 8 years. When fitting a MSM on a similar (but not           rtcdat.rda: Dataset used in this study. (R datafile)
                                                                       rtcdat_metadata.txt: Metadata for rtcdat. (text file)
equal) selection of data in the sensitivity analysis (variant 27 in    rtc_analysis.R: R code to replicate the main results. (R script)
Section 4.4), I have found a statistically significant effect of RTC   rtc_supplementary_material.pdf: Supplementary material
laws on violent crime of 2.8. And while Donohue, Aneja, and              including longitudinal plots of crime rates and predictors as described in
Weber (2019) found no convincing effect of RTC laws on mur-              Section 3.1, positivity plots as described in Sections 3.1 and 4.3, boxplots
der and property crimes, in variant 27 I have found significant          and descriptive statistics for the weights as described in Section 4.3.
                                                                         (PDF file)
increases of 5.6% for murder/manslaughter, 7.8% for robbery,
2.7% for total property crime and 2.8% for larceny theft. These
differences can be explained from the many methodological              ORCID
differences described above. Furthermore, from the main MSM
encompassing all 50 states, I have found even larger effects of        Willem M. Van Der Wal        http://orcid.org/0000-0001-9827-690X
RTC laws on crime, that where always statistically significant
except for forcible rape. My main MSM takes into account more          References
fully the development of crime rates over time in the states that      Aneja, A., Donohue, J. J., and Zhang, A. (2011), “The Impact of Right-to-
have not implemented a RTC law.                                           Carry Laws and the NRC Report: Lessons for the Empirical Evaluation
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hue, Aneja, and Weber (2019) also fitted standard conditional             [171]
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regression models (referred to as “panel data estimates”), on
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all states. They found significant effects of 9.02% more violent          Research. [171]
crime and 6.49% more property crime. Judging from my own               Bartley, W. A., and Cohen, M. A. (1998), “The Effect of Concealed Weapons
sensitivity analysis, these conditional estimates are likely to           Laws: An Extreme Bound Analysis,” Economic Inquiry, 36, 258–265.
underestimate the true effect, although the estimates of Dono-            [171]
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from variant 25 in Section 4.4. Donohue, Aneja, and Weber              Black, D. A., and Nagin, D. S. (1998), “Do Right-to-Carry Laws Deter
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in a longitudinal setting, comparing separate entities such as            Law: A Case Study of Statistics, Standards of Proof, and Public Policy,” Ph.
states, cities or countries. This method allows for correction for        D. Thesis, Yale Law School. [171]
confounding variables, while avoiding the drawbacks of more            Donohue, J. J., and Levitt, S. D. (2001), “The Impact of Legalized Abortion
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standard conditional models such as adjusting away the effect.         Duwe, G., Kovandzic, T., and Moody, C. E. (2002), “The Impact of Right-
I have applied this method to this topic for the first time, while        to-Carry Concealed Firearm Laws on Mass Public Shootings,” Homicide
addressing methodological shortcomings in previous studies.               Studies, 6, 271–296. [171]                            Exhibit D
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                                                                                                                                       Advance Access publication:
                                                                                                                                               September 20, 2022



Original Contribution

Impact of Changes to Concealed-Carry Weapons Laws on Fatal and Nonfatal
Violent Crime, 1980–2019




                                                                                                                                                                       Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
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Initially submitted November 19, 2021; accepted for publication September 9, 2022.



           The United States faces rapidly rising rates of violent crime committed with firearms. In this study, we sought
        to estimate the impact of changes to laws that regulate the concealed carrying of weapons (concealed-carry
        weapons (CCW) laws) on violent crimes committed with a firearm. We used augmented synthetic control models
        and random-effects meta-analyses to estimate state-specific effects and the average effect of adopting shall-issue
        CCW permitting laws on rates of 6 violent crimes: homicide with a gun, homicide by other means, aggravated
        assault with a gun, aggravated assault with a knife, robbery with a gun, and robbery with a knife. The average
        effects were stratified according to the presence or absence of several shall-issue permit provisions. Adoption of
        a shall-issue CCW law was associated with a 9.5% increase in rates of assault with a firearm during the first 10
        years after law adoption and was associated with an 8.8% increase in rates of homicide by other means. When
        shall-issue laws allowed violent misdemeanants to acquire CCW permits, the laws were associated with higher
        rates of gun assaults. It is likely that adoption of shall-issue CCW laws has increased rates of nonfatal violent
        crime committed with firearms. Harmful effects of shall-issue laws are most clear when provisions intended to
        reduce risks associated with civilian gun-carrying are absent.

        concealed-carry laws; firearms; firearm violence; guns; gun violence; health policy evaluation; synthetic control
        method; weapons


Abbreviations: ASCM, augmented synthetic control modeling; ASCM+FE, augmented synthetic control modeling with fixed
effects; ATT, average treatment effect in the treated; CCW, concealed-carry weapons; CDC, Centers for Disease Control and
Prevention; CI, confidence interval; REMA, random-effects meta-analysis; RMSE, root mean square error; SCM, synthetic control
modeling; SCM+FE, synthetic control modeling with fixed effects; UCR, Uniform Crime Reporting.




  Editor’s note: An invited commentary on this article and                          what is known as “shall-issue” CCW permitting laws, which
the authors’ response will appear in an upcoming issue.                             place relatively modest requirements on legal gun owners
                                                                                    for carrying their firearms concealed outside of the home.
                                                                                    The remaining 8 states and the District of Columbia had
   Though some states allow the open carrying of firearms,                          “may-issue” CCW laws, which provide law enforcement
laws that regulate the carrying of concealed firearms have                          agencies with considerable discretion over who they issue
been intensely debated for the last few decades. During the                         a license to carry weapons to and often require applicants
past 40 years, many states have removed restrictions on                             to prove that they have a “good cause” or special cause for
concealed gun-carrying. In 1980, 21 states did not permit                           needing to carry a concealed gun. Although these 8 states
civilians to carry a concealed firearm under any circum-                            have maintained may-issue policies, many of these laws are
stances. In 2021, 21 states did not require any special vetting                     under scrutiny as part of ongoing litigation (1).
or licensing of individuals who wished to carry concealed                              The changing landscape of state laws governing con-
firearms in public, referred to as “permitless” concealed-                          cealed gun-carrying over the past 40 years has provided
carry weapons (CCW) laws, and an additional 21 states had                           researchers an opportunity to estimate the relationship

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between these laws and public safety. Indeed, no other type          the impact of shall-issue law adoption varies based on the
of gun law has been studied as frequently with a wide array          presence or absence of provisions intended to limit risks
of methods and findings (2). Early research on CCW laws              associated with civilian gun-carrying. We hypothesized that
by Lott and Mustard (3) suggested that movement from no-             moving to a shall-issue CCW law from a may-issue/no-issue
issue or may-issue laws to shall-issue laws led to reductions        CCW law increased rates of fatal and nonfatal violent crime
in violent crime. The “more guns, less crime” hypothesis that        at the individual state level and in the aggregate. Further,
was foundational to this work posited that if more civilians         we hypothesized that CCW permit provisions designed to
were legally carrying firearms in public, criminals would be         restrict CCW permits from being issued to risky gun pos-




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deterred from engaging in crime, as they would not know              sessors would attenuate violence-producing effects of shall-
whether a potential target was armed. The study, however,            issue laws.
contained serious flaws previously noted in the literature
(4, 5). Despite these flaws, this hypothesis and perceived
deterrent benefits have been used to argue for lowering              METHODS
restrictions on concealed gun-carrying.
   Recent research (2, 5–14) estimated the impacts of shall-            We used a quasi-experimental design to estimate the
issue laws on violent crime outcomes, with additional years          association between shall-issue law adoption and annual
of data and statistical techniques that addressed problems           state-level counts of fatal and nonfatal violent crimes. We
present in Lott and Mustard’s research. Many studies that            estimated the average treatment effect in the treated (ATT)
sought to estimate the association between CCW laws and              for fatal and nonfatal violent crimes related to the changes
violent crime have been described and critiqued elsewhere            in CCW laws using a comparative time-series analysis.
(2). Findings have been somewhat mixed; however, many of             We identified the average effect of laws weighting state-
the most recent studies have found evidence that adopting            specific effects based on the inverse of the standard error
a right-to-carry law is associated with increases in violent         using random-effects meta-analysis (REMA).
crime, including homicides (5–14). The majority of these
studies used panel regression to estimate the impact of right-       Variables and data sources
to-carry laws on violent outcomes as Lott and Mustard
did (3), and most addressed weaknesses in the above Lott                This study examined 6 separate outcomes: rates of
and Mustard study. Moreover, when studies examined the               1) aggravated assault committed with a gun, 2) robbery com-
relationship between CCW laws and violent crime, they                mitted with a gun, 3) homicide committed with a gun,
used total nonfatal violent crime as the outcome measure             4) aggravated assault committed with a knife, 5) robbery
rather than disaggregated violent crimes committed with              committed with a knife, and 6) homicide committed by other
firearms.                                                            means, excluding firearms (nongun homicides). Counts of
   Some shall-issue laws have certain restrictions or require-       aggravated assaults and robberies committed with a gun or a
ments for obtaining a license to carry a concealed firearm,          knife were ascertained from the Federal Bureau of Investiga-
and these provisions have not been examined in prior stud-           tion’s Uniform Crime Reporting (UCR) Program (“Offenses
ies. These provisions are likely to influence the number             Known and Clearances by Arrest” files) (16). Counts of gun
of licenses issued, how well individuals with histories of           and nongun homicides were obtained from the Centers for
violence are screened out, and the ability of the person             Disease Control and Prevention’s (CDC) National Center
applying for a license to carry to safely handle a firearm.          for Health Statistics. We defined firearm homicide using
In this study, we estimated the association between violent          International Classification of Diseases, Tenth Revision,
crime and moving from a may- or no-issue CCW law to                  codes X93, X94, X95, and ∗ U01.4. Nonfirearm homicides
a shall-issue CCW law within strata defined by whether:              (or homicides by all other means not involving a firearm)
1) violent misdemeanants are ineligible to receive a license         were defined using International Classification of Diseases,
to carry; 2) officials can deny applicants based on a history        Tenth Revision, codes X85–X92, Y87.1, ∗ U01(.0–.3, .5–.9),
of dangerous behavior; 3) the law has a “suitability” clause         and ∗ U02. We accessed the yearly compressed mortality
that allows officials to deny a license to someone deemed to         files via data request to the CDC. We aggregated outcomes
be of questionable character; and 4) the law requires firearm        to the state level and indexed them by year. We obtained
safety training that includes applicants’ engaging in some           population counts by state from the CDC’s Web-based
form of live-fire training. The first 3 restrictive provisions       Injury Statistics Query and Reporting System (WISQARS)
could reduce the number of individuals at elevated risk for          to generate violent crime rates per 100,000 population.
committing acts of violence who can legally carry concealed             The following covariates were included in each of the
firearms, and the fourth could potentially prevent individu-         statistical models: percentage of the population living in
als who are insufficient at handling a firearm safely from           a Metropolitan Statistical Area, percentage of black males
carrying a gun and reduce the overall number of people               aged 15–19 years, percentage of White males aged 15–19
licensed to carry, because the safety tests require time and         years, percentage of the population living in poverty, and
money (15).                                                          percent unemployed, as well as personal income, rate of
   The current study examined relationships between the              ethanol consumption, rate of incarceration, and law enforce-
adoption of shall-issue laws and rates of disaggregated non-         ment employment per capita (number of law enforcement
fatal and fatal violent crime committed with a firearm and           employees per 100,000 population indexed at the state-year
other means. Further, we sought to understand whether                level). Rates of incarceration and police employment were

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extrapolated for 2019. Covariate data were acquired from              The ASCM method is like the SCM method in that it
the US Census Bureau, the Bureau of Labor Statistics, the          creates a weighted synthetic state. The synthetic control
Bureau of Justice Statistics, the UCR Program, and the             state is then augmented using a linear regression model,
National Institute on Alcohol Abuse and Alcoholism. These          regressing the synthetic state on the treated state. The linear
covariates were chosen on the basis of their demonstrated          regression model’s coefficients are estimated using a ridge
relationship with violent crime, as described in the literature,   estimator, rather than ordinary least squares, introducing
and theory: Sociodemographic variables capture factors,            the L2-norm penalty term. The use of the ridge estimator
including racism and concentrated disadvantage, that affect        can produce more precise standard errors around the true




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the distribution of violence; other variables reflect the dis-     effect value when data suffer from multicollinearity. The L2-
tribution of policing and incarceration, which affects crime       norm is fine-tuned using the constant λ, which is selected
and crime reporting; and alcohol consumption was included          using leave-one-out cross-validation. This technique works
to account for the close relationship between alcohol use and      to minimize overfitting of the counterfactual in the pretreat-
violence (7, 17–22).                                               ment period. The ridge estimator introduces potentiality for
   State laws were identified through searches of each state’s     negatively weighted donor states and improves the origi-
legal code. We determined effective dates (dates the law           nally estimated synthetic control pretreatment fit. ASCM
went into effect) through review of each statute’s legislative     has recently been used to examine opioid use (29), firearm
history. We compared our findings with public databases of         violence (30), and air pollution (31). The ASCM method
state gun laws and prior research on concealed-carry laws          is notably useful when the pool of potential donor states is
(5, 23, 24). During our study period, 36 states adopted a          small.
shall-issue CCW law as a change from a may-issue/no-                  As part of our model evaluation, we considered the root
issue CCW law. Our analysis focused on evaluating tran-            mean square error (RMSE) during the pretreatment period
sitions from no-issue or may-issue laws to shall-issue laws        as well as the RMSE in the 3 years prior to implementation.
and changes in key provisions relevant to reducing risk            These measures, and their relative distance from each other,
associated with civilian gun-carrying. The following per-          provide an estimation of overall synthetic control model
mit provisions were identified: a live-fire training require-      performance, as well as an estimation of how much the
ment, discretion to deny whenever an applicant was deemed          synthetic control model diverges from the treatment trend
“unsuitable” (e.g., immoral, unstable), discretion to deny         immediately prior to treatment. Synthetic controls with high
if an applicant had a history of dangerousness, and pro-           RMSE divergence in the years prior to implementation may
hibition based on prior violent misdemeanor convictions.           provide biased estimates of the ATT. The ATT is calculated
Table 1 provides effective dates for the adoption or repeal        as the average difference between the treated state and the
of each type of law and permit provision. Within our anal-         augmented synthetic control state during the postimplemen-
ysis, we analyzed the presence and absence of each shall-          tation period. We specified jackknife standard errors for
issue law provision separately and analyzed the impact of          inference (32, 33). We used the R package “augsynth” (34).
having no permit provisions and at least 1, 2, or 3 permit         For all models, the donor pool consisted of the 8 may-issue
provisions.                                                        states with unchanged CCW laws during the study period
                                                                   (California, Connecticut, Delaware, Hawaii, Massachusetts,
Analysis                                                           Maryland, New Jersey, and New York) (Table 1). We did not
                                                                   include late-adopting shall-issue states in our donor pool.
   We used a data-driven approach to examine the ATT of               Prior research suggests that the impact of CCW law
adopting a shall-issue CCW law. We compared the perfor-            changes peaks at around 10 years (35). Forecasting coun-
mance of 4 model specifications related to the synthetic con-      terfactuals for long periods increases risks of confounding
trol method, including synthetic control modeling (SCM),           factors’ biasing estimates of policy impacts. Therefore, each
SCM with fixed effects (SCM+FE), augmented synthetic               model is restricted to 10 years post–law change. To ensure
control modeling (ASCM), and ASCM with fixed effects               that the most relevant and recent trends were used to con-
(ASCM+FE). The ASCM method is an extension of the syn-             struct the policy counterfactuals, pretreatment training years
thetic control method developed by Abadie and Gardeazabal          were restricted to the 10 years prior to law change. Alaska
(25). The SCM creates a “synthetic state” for the outcome of       removed its permit provision for carrying a concealed
interest in the state, with the policy change based on a set of    weapon less than 10 years after adopting a shall-issue CCW
weights among a donor pool of comparison states that were          permitting system. We ended its posttreatment period in the
“at risk” of the policy change. Weights are calculated using       year before the permitless CCW system was enacted. We
lagged outcomes and covariate values from the donor states         include model specification data (SCM, SCM+FE, ASCM,
and seek to minimize the error in predicting the observed          and ASCM+FE) for all models, including donor pool
values of the outcome variable in the treated state during         weights, covariate balance, and, for ASCM and ASCM+FE,
the period prior to the policy change (25–27). The SCM             lambda cross-validation.
approach then uses those weights to forecast into the post–           A priori, we excluded Kansas and Missouri, as well as
policy-change period for the synthetic treatment state, allow-     Florida’s nonfatal outcomes, from our analysis due to issues
ing a counterfactual comparison (25–28). Specifying fixed          with data reporting and possible confounding. Examina-
effects demeans the lagged outcomes in the pretreatment            tion of Florida’s participation in the UCR reporting system
period prior to the creation of the weighted synthetic control     showed that approximately 95% of law enforcement agen-
model.                                                             cies in the state reported data in the year prior to shall-issue

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 Table 1.     Legal Landscape Regarding Concealed-Carry Weapons Laws in the United States, 1980–2019a


                                Overall CCW Permitting Law                          Speciﬁc Permitting Requirements


          State                                                                                                            Any Violent
                          May-Issue     Shall-Issue    Permitless                                                         Misdemeanor
                           Permit        Permitb         Carry          Live Fire   Dangerousness        Suitability
                                                                                                                          Prohibition for
                                                                                                                           CCW Permit




                                                                                                                                            Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
   Alabama                                 2013c                                         2013           Pre-1980–2013        Pre-1980
   Alaska                                  1994           2003         1994–2003                                            1994–2003
   Arizona                                 1994           2010
   Arkansas                                1994c                                      1995–2021
   California              Pre-1980                                                                       Pre-1980             1991
   Colorado                                2003c                                         2003
   Connecticut             Pre-1980                                                                       Pre-1980             1994
   Delaware                Pre-1980                                       1998                            Pre-1980
   Florida                                 1987                           2016                          Pre-1980–1987          1987
   Georgia                                 1989c                                                          Pre-1980             1983
   Hawaii                  Pre-1980                                      1995d                            Pre-1980             1981
   Idaho                                   1990           2016e                                                             1990–2016
   Illinois                                2014c                          2014           2014                                  1996
   Indiana                               Pre-1980c                                                        Pre-1980
   Iowa                                    2011c                                         2011                                Pre-1980
   Kansas                                  2007           2015e        2007–2015      2007–2015
   Kentucky                                1996           2019e        1996–2019         1997
   Louisiana                               1996                                          1996                                  1996
   Maine                                   1981           2015e                                          1981–2015
   Maryland                Pre-1980                                       2013                                                 1996
   Massachusetts           Pre-1980                                                    Pre-1980           Pre-1980
   Michigan                                2001                           2001                          Pre-1980–2001          2001
   Minnesota                               2003c                          2003           2003                                  2003
   Mississippi                             1991           2016e
   Missouri                                2004c          2017e        2004–2017      2004–2007                             2004–2017
   Montana                                 1991c                                         1991             Pre-1980             1991
   Nebraska                                2007                           2007                                                 2007
   Nevada                                  1995                                                                                1995
   New Hampshire                         Pre-1980c        2017f                                         Pre-1980–2017
   New Jersey              Pre-1980                                                                       Pre-1980
   New Mexico                              2004                           2004                            Pre-1980             2004
   New York                Pre-1980                                                                                          Pre-1980
   North Carolina                          1995                           1995                                                 1995
   North Dakota                            1985           2017d        1985–2017      2013–2017                                1985
   Ohio                                    2004                           2004                                                 2004
   Oklahoma                                1995           2019e        1995–2019                                            1995–2019
   Oregon                                  1990c                                         1990           Pre-1980–1990          1991
   Pennsylvania                            1989c                                         1989             Pre-1980             1995
   Rhode Island                          Pre-1980c                      Pre-1980                          Pre-1980
   South Carolina                          1996                         Pre-1980
   South Dakota                            1985           2019e                       1985–2019           Pre-1980

                                                                                                                         Table continues



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 Table 1.     Continued

                               Overall CCW Permitting Law                             Speciﬁc Permitting Requirements


          State                                                                                                            Any Violent
                          May-Issue    Shall-Issue     Permitless                                                         Misdemeanor
                           Permit       Permitb          Carry          Live Fire    Dangerousness        Suitability
                                                                                                                          Prohibition for
                                                                                                                           CCW Permit




                                                                                                                                            Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
   Tennessee                              1996                            1989
   Texas                                  1996                            1996                                                 1996
   Utah                                   1995c                                         1995–2010       Pre-1980–2010          1986
   Vermont                                              Pre-1980
   Virginia                               1995c                                            1995         Pre-1980–1995          1995
   Washington                            Pre-1980
   West Virginia                        1989–May          2016e                                         Pre-1980–1989       2013–2016
                                         24, 2016
   Wisconsin                              2011
   Wyoming                                1994c           2011                          1994–2011         1983–1994

   Abbreviation: CCW, concealed-carry weapons.
   a A dash between years indicates that the law or provision was repealed.
   b Alaska, Arizona, Arkansas, Illinois, Kansas, Kentucky, Louisiana, Mississippi, Missouri, Nebraska, New Mexico, North Carolina, North

 Dakota, Ohio, Oklahoma, Tennessee, Texas, Wisconsin, and Wyoming were all considered no-issue CCW states prior to adopting a shall-issue
 CCW permitting system.
   c Some limited discretion was afforded to the issuing agency.
   d Hawaii requires live-fire training for a license to possess a gun, which is a prerequisite for carrying a concealed weapon.
   e Adoption of the law occurred in the second half of the year during the study period.
   f Adoption of the law occurred in the first half of the year during the study period.




adoption, 0% of law enforcement agencies reported data                  average impact of law changes related to firearm violence (6,
in 1988 (the first full year of shall-issue implementation),            42). We used the R package “meta” for this analysis (43).
and 63% of law enforcement agencies reported data in the
subsequent 5 years (36). Because the reductions in reporting
agency would probably manifest as reductions in reported
crime, we elected to remove Florida from our analysis.                  RESULTS
Kansas passed a stand-your-ground law 1 year prior to
adopting a shall-issue CCW law, and Missouri repealed its                  Figure 1 displays trendlines of fatal and nonfatal out-
permit-to-purchase law within 3 years of adopting a shall-              comes from 1980 to 2019. We provide trend lines for may-
issue CCW law, both of which are associated with increases              issue laws, shall-issue laws, and the national average. For
in firearm homicides and thus may present biased estimates              Figure 1, CCW laws are categorized on the basis of whether
of effect related to shall-issue law adoption (37–41). Web              states are never adopters or adopters. This implies that a late-
Table 1 provides law adoption dates for stand-your-ground               adopting shall-issue CCW law state is included in the “shall-
and permit-to-purchase laws.                                            issue” trendline throughout the duration.
   To examine the average effect related to adopting a shall-              Examination of RMSE performance across model specifi-
issue CCW law across states, and to understand whether                  cations indicated that ASCM+FE provided both the best and
different shall-issue permit provisions affect the relationship         most consistent RMSE in the pretreatment period (Figure 2).
between shall-issue laws and violent crime, we calculated an            Figure 2 shows the overall RMSE and the prior-3-years
inverse standard error weighted average using a REMA. We                RMSE for all shall-issue–adopting states across all 6 out-
specified a random-effects model to account for difference in           comes. Note that, on average, the ASCM+FE models pro-
implementation and context relevant to gun violence across              vide the lowest RMSE across model selections and that the
states and time. Random-effects models assume that there is             gap between the overall RMSE and prior-3-years RMSE
a distribution of true effect sizes, and the weighted average           is smallest. In addition to RMSE performance, ASCM+FE
represents the mean of the population of true effects. For              provided the best covariate balance, on average, comparing
each outcome, we conducted stratified REMA according to                 treatment and synthetic control models (Web Figures 1–9).
the presence of a given CCW permitting provision. We cal-               Donor pool weights are also provided in Web Figures 10–
culated measures of I 2 and T 2 to understand heterogeneity of          43. Web Figures 44–77 provide lambda cross-validation for
effects. REMAs have been used previously to understand the              ASCM and ASCM+FE.

                                                                                                                        Exhibit D
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                           A)
                                                                               6




                                                Rate per 100,000 Population
                                                                                                                            Violent Crime
                                                                               4                                         Homicide with a gun
                                                                                                                         Homicide by other means




                                                                                                                                                                             Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
                                                                                                                               CCW Laws
                                                                                                                         Average
                                                                                                                         May-issue
                                                                               2                                         Shall-issue




                                                                               0

                                                                                   1980   1990   2000   2010     2020
                                                                                                 Year

                           B)
                                                                       120
                             Rate per 100,000 Population




                                                                              90
                                                                                                                          Violent Crime
                                                                                                                         Assault with a gun
                                                                                                                         Robbery with a gun
                                                                                                                         Assault with a knife
                                                                              60                                         Robbery with a knife

                                                                                                                            CCW Laws
                                                                                                                         Average
                                                                                                                         May-issue
                                                                              30                                         Shall-issue




                                                                               0

                                                                                   1980   1990   2000   2010     2020
                                                                                                 Year

Figure 1. Trends in fatal (A) and nonfatal (B) violent crime rates per 100,000 population according to type of concealed-carry weapons (CCW)
law, United States, 1980–2019.




   Figure 3 shows a gap plot for the state of Alabama. In                                                   the ASCM+FE and SCM+FE models for gun homicides in
the figure, columns represent the 4 model specifications                                                    Alabama (Web Figures 79–83 show the ATTs and standard
and rows represent the 6 violent crime outcomes. In this                                                    errors according to model specifications for the other violent
image, we see a visual representation of the RMSE for the                                                   crime outcomes). Gap plots for every treatment state are
full prelaw period and the RMSE for the 3 years prior to                                                    provided in Web Figures 84–116.
shall-issue law adoption, as well as the ATT and the standard                                                  Violent crime, in general, trended upwards during the 10
error. Examining the model specifications for gun homicide                                                  years after shall-issue law implementation. Table 2 shows
rates (row 1), we see that the difference between observed                                                  the ATTs and standard errors for our violent crime outcomes
rates and the synthetic control models prior to the shall-issue                                             with an ASCM+FE model specification. Rates of gun and
law was closest to 0 for the 2 models with fixed effects in                                                 nongun homicide were largely greater in the postimplemen-
the pretreatment period. This can also be seen in Figure 2;                                                 tation period. Rates of gun assaults were largely increasing,
examining gun homicide in Alabama, we note that the values                                                  while rates of knife assaults decreased. Rates of gun robbery
for ASCM+FE and SCM+FE are clustered together, with                                                         and knife robbery did not show discernable trends.
the other RMSE values further away from 0. We also see that                                                    Results of the REMA indicated that adopting a shall-
there is large uncertainty in the non–fixed-effects models                                                  issue law was associated with an additional 5.31 gun assaults
(Figure 3). Web Figure 78 shows that the standard errors                                                    per 100,000 population (95% confidence interval (CI): 1.19,
are much larger for the ASCM and SCM models than for                                                        9.43) (Figure 4). This translates to a 9.5% increase in rates

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 A)                                                                           B)                                                                      C)
                                           Assault With a Gun                                                          Robbery With a Gun                                                       Homicide With a Gun
                            AK                                                                           AK                                                                      AK
                            AL                                                                           AL                                                                      AL
                            AR                                                                           AR                                                                      AR
                            AZ                                                                           AZ                                                                      AZ
                            CO                                                                           CO                                                                      CO
                             FL                                                                           FL                                                                      FL
                            GA                                                                           GA                                                                      GA
                             IA                                                                           IA                                                                      IA
                                                                                                          ID




                                                                                                                                                                                                                               Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
                             ID                                                                                                                                                   ID
                              IL                                                                           IL                                                                      IL
                            KY                                                                           KY                                                                      KY
                            LA                                                                           LA                                                                      LA
                             MI                                                                           MI                                                                      MI




                                                                                   Law-Adopting States
      Law-Adopting States




                                                                                                                                                           Law-Adopting States
                            MN                                                                           MN                                                                      MN
                            MS                                                                           MS                                                                      MS
                            MT                                                                           MT                                                                      MT
                            NC                                                                           NC                                                                      NC
                            ND                                                                           ND                                                                      ND
                            NE                                                                           NE                                                                      NE
                            NM                                                                           NM                                                                      NM
                            NV                                                                           NV                                                                      NV
                            OH                        CCW Laws                                           OH                                                                      OH
                            OK                                                                           OK                                                                      OK
                            OR                     Overall RMSE                                          OR                                                                      OR
                            PA                     Prior-3-years RMSE                                    PA                                                                      PA
                            SC                                                                           SC                                                                      SC
                            SD                   Model Specification                                     SD                                                                      SD
                            TN                                                                           TN                                                                      TN
                            TX                      ASCM                                                 TX                                                                      TX
                            UT                      ASCM+FE                                              UT                                                                      UT
                            VA                      SCM                                                  VA                                                                      VA
                            WI                                                                           WI                                                                      WI
                            WV                      SCM+FE                                               WV                                                                      WV
                            WY                                                                           WY                                                                      WY
                                   0.0    2.5     5.0      7.5         10.0                                     0.0    2.5     5.0      7.5    10.0                                     0.0    2.5     5.0      7.5     10.0
                                         Root Mean Square Error                                                       Root Mean Square Error                                                  Root Mean Square Error


 D)                                                                           E)                                                                      F)
                                          Assault With a Knife                                                         Robbery With a Knife                                                   Homicide by Other Means
                            AK                                                                           AK                                                                      AK
                            AL                                                                           AL                                                                      AL
                            AR                                                                           AR                                                                      AR
                            AZ                                                                           AZ                                                                      AZ
                            CO                                                                           CO                                                                      CO
                             FL                                                                           FL                                                                      FL
                            GA                                                                           GA                                                                      GA
                             IA                                                                           IA                                                                      IA
                             ID                                                                           ID                                                                      ID
                              IL                                                                           IL                                                                      IL
                            KY                                                                           KY                                                                      KY
                            LA                                                                           LA                                                                      LA
                             MI                                                                           MI                                                                      MI
      Law-Adopting States




                                                                                   Law-Adopting States




                                                                                                                                                           Law-Adopting States




                            MN                                                                           MN                                                                      MN
                            MS                                                                           MS                                                                      MS
                            MT                                                                           MT                                                                      MT
                            NC                                                                           NC                                                                      NC
                            ND                                                                           ND                                                                      ND
                            NE                                                                           NE                                                                      NE
                            NM                                                                           NM                                                                      NM
                            NV                                                                           NV                                                                      NV
                            OH                                                                           OH                                                                      OH
                            OK                                                                           OK                                                                      OK
                            OR                                                                           OR                                                                      OR
                            PA                                                                           PA                                                                      PA
                            SC                                                                           SC                                                                      SC
                            SD                                                                           SD                                                                      SD
                            TN                                                                           TN                                                                      TN
                            TX                                                                           TX                                                                      TX
                            UT                                                                           UT                                                                      UT
                            VA                                                                           VA                                                                      VA
                            WI                                                                           WI                                                                      WI
                            WV                                                                           WV                                                                      WV
                            WY                                                                           WY                                                                      WY
                                   0.0    2.5     5.0      7.5         10.0                                     0.0    2.5     5.0      7.5    10.0                                     0.0    2.5     5.0      7.5     10.0
                                         Root Mean Square Error                                                       Root Mean Square Error                                                  Root Mean Square Error


Figure 2. Root mean square errors (RMSEs) from 4 models of the relationship between concealed-carry weapons (CCW) laws and crime rates
per 100,000 population for 6 violent crime outcomes, United States, 1980–2019. A) Homicide with a gun; B) homicide by other means; C) assault
with a gun; D) robbery with a gun; E) assault with a knife; F) robbery with a knife. Circular points represent the overall RMSE, whereas triangular
points represent the RMSE for the 3 years prior to law adoption. Red represents values from augmented synthetic control modeling (ASCM),
green represents values from augmented synthetic control modeling with fixed effects (ASCM+FE), teal represents values from synthetic control
modeling (SCM), and purple represents values from synthetic control modeling with fixed effects (SCM+FE). AK, Alaska; AL, Alabama; AR,
Arkansas; AZ, Arizona; CO, Colorado; FL, Florida; GA, Georgia; IA, Iowa; ID, Idaho; IL, Illinois; KY, Kentucky; LA, Louisiana; MI, Michigan; MN,
Minnesota; MS, Mississippi; MT, Montana; NC, North Carolina; ND, North Dakota; NE, Nebraska; NM, New Mexico; NV, Nevada; OH, Ohio;
OK, Oklahoma; OR, Oregon; PA, Pennsylvania; SC, South Carolina; SD, South Dakota; TN, Tennessee; TX, Texas; UT, Utah; VA, Virginia; WI,
Wisconsin; WV, West Virginia; WY, Wyoming.




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                                                                                                                                   ASCM                             ASCM+FE                                SCM                                SCM+FE
                                                                        A)                                                                         B)                                  C)                                 D)
                                                                                                                       9                                  9                                   9                                   9
                                                                                           Homicide With a Gun



                                                                                                                       6                                  6                                   6                                   6


                                                                                                                       3                                  3                                   3                                   3




                                                                                                                                                                                                                                                                 Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
                                                                                                                       0                                  0                                   0                                   0


                                                                                                                     −3                                 −3                                  −3                                  −3
                                                                                                                           −10           0     6              −10           0      6              −10           0     6               −10            0      6
                                                                                                                                 Time, years                        Time, years                         Time, years                          Time, years
                                                                        E)                                                                         F)                                  G)                                 H)
 Difference in Violent Crime Rate Between Treated and Synthetic State




                                                                                                                       3                                  3                                   3                                   3
                                                                                           Homicide by Other Means




                                                                                                                       2                                  2                                   2                                   2

                                                                                                                       1                                  1                                   1                                   1

                                                                                                                       0                                  0                                   0                                   0

                                                                                                                     −1                                 −1                                  −1                                  −1

                                                                                                                     −2                                 −2                                  −2                                  −2
                                                                                                                           −10           0     6              −10           0      6              −10           0     6               −10            0      6
                                                                                                                                 Time, years                        Time, years                         Time, years                          Time, years
                                                                        I)                                                                         J)                                  K)                                 L)
                                                                                                                     100                                100                                 100                                 100
                                                                             Assault With a Gun




                                                                                                                      50                                 50                                  50                                  50

                                                                                                                       0                                  0                                   0                                   0

                                                                                                                 −50                                    −50                                 −50                                −50

                                                                                                    −100                                            −100                                −100                                   −100
                                                                                                                           −10           0     6              −10           0      6              −10           0     6               −10            0      6
                                                                                                                                 Time, years                        Time, years                         Time, years                          Time, years
                                                                        M)                                                                         N)                                  O)                                 P)
                                                                                                                     100                                100                                 100                                 100
                                                                             Assault With a Knife




                                                                                                                      50                                 50                                  50                                  50

                                                                                                                       0                                  0                                   0                                   0

                                                                                                                 −50                                    −50                                 −50                                −50

                                                                                                    −100                                            −100                                −100                                   −100
                                                                                                                           −10           0     6              −10           0      6              −10           0     6               −10           0      6
                                                                                                                                 Time, years                        Time, years                         Time, years                          Time, years



Figure 3 Continues



of gun assaults above forecasted counterfactuals. Shall-issue                                                                                                                             Differential associations related to the presence or
law adoption was associated with an additional 0.19 nongun                                                                                                                             absence of shall-issue CCW-law permitting provisions
homicides per 100,000 population (95% CI: 0.07, 0.31), an                                                                                                                              existed by and large for gun assaults and nongun homicides
8.8% increase. The adoption of shall-issue laws was asso-                                                                                                                              (Web Figures 118–123). For gun assaults, states with violent
ciated with non–statistically significant increases in rates of                                                                                                                        misdemeanor prohibition provisions saw a nonsignificant
all other violent crimes. Heterogeneity of effect across states                                                                                                                        increase of 2.81 crimes per 100,000 population (95% CI:
was moderate to high for all outcomes except assaults and                                                                                                                              −1.51, 7.13). When states allowed violent misdemeanants
robberies with a knife (Web Figure 117).                                                                                                                                               to obtain CCW permits, shall-issue laws were associated

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                                                                                                                   ASCM                             ASCM+FE                               SCM                                 SCM+FE
                                                                        Q)                                                         R)                                 S)                                  T)
 Difference in Violent Crime Rate Between Treated and Synthetic State




                                                                                                     100                                100                                100                                  100
                                                                             Robbery With a Gun




                                                                                                      50                                 50                                 50                                   50

                                                                                                       0                                  0                                  0                                    0




                                                                                                                                                                                                                                               Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
                                                                                                    −50                                 −50                                −50                                 −50

                                                                                                    −100                            −100                                −100                                   −100
                                                                                                           −10           0     6              −10           0     6              −10           0      6               −10           0      6
                                                                                                                 Time, years                        Time, years                        Time, years                           Time, years
                                                                        U)                                                         V)                                 W)                                  X)
                                                                                                     100                                100                                100                                  100
                                                                             Robbery With a Knife




                                                                                                      50                                 50                                 50                                   50

                                                                                                       0                                  0                                  0                                    0

                                                                                                    −50                                 −50                                −50                                 −50

                                                                                                    −100                            −100                                −100                                   −100
                                                                                                           −10           0     6              −10          0      6              −10          0      6                −10           0      6
                                                                                                                 Time, years                        Time, years                        Time, years                           Time, years

Figure 3. Gap plots comparing treated and synthetic control model outcomes for the relationship between concealed-carry weapons laws and
rates of 6 violent crimes, Alabama, 1980–2019. The 4 columns of data represent crime rates per 100,000 population for augmented synthetic
control modeling (ASCM) (red), augmented synthetic control modeling with fixed effects (ASCM+FE) (green), synthetic control modeling (SCM)
(teal), and synthetic control modeling with fixed effects (SCM+FE) (purple), respectively. Plots A–D, homicide with a gun; plots E–H, homicide
by other means; plots I–L, assault with a gun; plots M–P, assault with a knife; plots Q–T, robbery with a gun; plots U–X, robbery with a knife.




with a significant increase of 12.7 gun assaults per 100,000                                                                                                          2021, resulting in large-scale deregulation. Consistent with
population (95% CI: 0.97, 24.42). Shall-issue states with                                                                                                             many recent studies (5–8, 14), we found that states that
live-fire training requirements and suitability provisions                                                                                                            moved from a may-issue CCW law to a less restrictive shall-
displayed nonsignificant relationships with gun assaults,                                                                                                             issue CCW law experienced increased rates of violent crime.
while states without such provisions displayed significantly                                                                                                          Specifically, shall-issue law adoption was associated with a
greater rates. The same differential relationships existed for                                                                                                        9.5% increase in rates of aggravated gun assault. Shall-issue
nongun homicides.                                                                                                                                                     laws were also associated with an 8.8% increase in nongun
   Web Figures 118–123 also present differences in esti-                                                                                                              homicides.
mates of shall-issue law effects based on the number of                                                                                                                  Evidence of violence-generating effects of moving from
provisions intended to reduce risks. States that adopted shall-                                                                                                       may-issue laws to shall-issue laws was most evident when
issue CCW laws without any provisions saw 10.26 (95% CI:                                                                                                              states allowed individuals with prior convictions for a violent
2.87, 17.65) additional gun assaults and 1.44 (95% CI: 0.44,                                                                                                          misdemeanor crime to obtain CCW permits. Under these
2.45) additional gun homicides per 100,000 population—                                                                                                                conditions, shall-issue laws were associated with significant
21.6% and 29.8% increases in rates above those expected,                                                                                                              increases in gun assault rates. Shall-issue laws that prohib-
respectively. Differential associations also existed for shall-                                                                                                       ited violent misdemeanants from obtaining CCW permits
issue CCW law states with at least 2 and at least 3 permitting                                                                                                        were not associated with changes in gun-related violent
provisions for rates of gun assault and nongun homicide. For                                                                                                          crime. Violent misdemeanants who are allowed to purchase
both outcomes, shall-issue states with at least 2 or at least 3                                                                                                       handguns legally subsequently commit violent and firearm-
provisions displayed nonsignificant relationships, whereas                                                                                                            related crimes at 7 times the rate at which handgun pur-
states without at least 2 or without at least 3 provisions                                                                                                            chasers without such convictions commit these crimes after
displayed significant increases in association.                                                                                                                       purchasing a handgun (43). Laws that prohibit violent mis-
                                                                                                                                                                      demeanants from acquiring firearms are associated with
                                                                                                                                                                      lower rates of violent and firearm-related crime (44). State-
DISCUSSION                                                                                                                                                            level studies have also found firearm prohibitions for
                                                                                                                                                                      violent misdemeanants to be associated with reduced rates
   There have been dramatic changes in state laws governing                                                                                                           of intimate partner homicides (45), total homicides (12), and
civilian carrying of concealed firearms from the 1980s to                                                                                                             firearm injuries treated in hospitals (46).

                                                                                                                                                                                                                            Exhibit D
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 Table 2. Average Treatment Effect in the Treateda (and Standard Errorb ) for the Association Between Adoption of a Shall-Issue Concealed-
 Carry Weapons Law and Violent Crime Outcomes, United States, 1980–2019

                            Homicide            Homicide            Assault             Assault             Robbery             Robbery
          State            Committed          Committed by         Committed          Committed            Committed           Committed
                           With a Gun          Other Means         With a Gun         With a Knife         With a Gun          With a Knife

   Alabama                   1.62 (0.43)c      −0.21 (0.18)         16.56 (7.87)c     −19.26 (27.70)       13.10 (12.49)       −2.19 (3.20)




                                                                                                                                                 Downloaded from https://academic.oup.com/aje/article/192/3/342/6698676 by University of California, Los Angeles user on 15 March 2023
   Alaska                  −0.20 (0.50)          1.22 (0.64)         8.12 (21.48)       0.96 (17.30)      −8.95 (25.38)        −0.06 (6.09)
   Arkansas                  0.34 (1.11)        0.82 (0.74)         23.90 (23.17)      −3.00 (19.03)       17.06 (38.14)        8.73 (12.99)
   Arizona                   2.44 (0.60)c       0.83 (0.22)c        −1.60 (17.75)     −8.91 (7.06)           1.69 (22.59)       6.73 (6.46)
   Colorado                −0.98 (0.61)         0.04 (0.14)         15.32 (9.30)       −0.10 (6.03)       −2.64 (9.04)         −2.78 (3.37)
   Florida                 −3.10 (0.39)c       −0.41 (0.27)
   Georgia                 −0.96 (0.82)        −0.43 (0.19)c         4.52 (8.42)       −6.32 (12.12)         7.54 (13.17)      −2.25 (1.97)
   Iowa                      0.42   (0.19)c      0.19 (0.11)         8.34 (0.49)c       0.57 (14.68)        7.21 (9.14)          1.19 (1.39)
   Idaho                     0.33 (0.41)        0.50 (0.26)         −1.78 (17.02)      −0.61 (23.38)     −19.36 (25.68)         3.06 (3.79)
   Illinois                  1.50 (0.20)c      −0.06 (0.06)        −3.28 (5.68)         0.87 (8.89)         5.59 (8.66)        −0.76 (2.37)
   Kentucky                −0.06 (0.89)          1.05   (0.39)c      4.25 (16.34)    −16.15 (24.01)         7.96 (23.12)        2.72 (6.26)
   Louisiana                0.61 (2.43)         0.52 (0.32)          6.30 (15.04)      25.17 (35.77)       12.40 (31.22)        4.26 (13.92)
   Michigan                −0.70 (0.86)        −0.31 (0.12)c         2.80 (9.70)       −2.53 (8.63)          1.76 (9.19)       −2.02 (3.68)
   Minnesota               −0.42 (0.74)        −0.11 (0.21)        −0.38 (11.05)      −11.56 (14.29)       −0.13 (10.55)       −2.79 (3.48)
   Mississippi               1.39 (0.67)c        1.22 (0.38)c        4.16 (18.99)     −13.64 (20.14)       13.02 (25.71)       13.02 (7.09)
   Montana                 −0.10 (0.30)         0.85 (0.46)       −17.70 (14.99)      −15.49 (18.74)     −18.32 (21.53)         2.33 (4.03)
   North Carolina          −0.15 (1.06)         0.06 (0.37)         22.15 (23.64)     −17.61 (18.80)       23.88 (28.56)        0.43 (10.52)
   North Dakota            −0.01 (0.40)         0.03 (0.14)        −2.33 (7.20)        −8.96 (12.43)        9.48 (13.27)        0.62 (7.14)
   Nebraska                 0.12 (0.43)          0.11 (0.08)         4.28 (9.34)       −1.33 (9.73)        −2.42 (1.59)        −0.75 (0.35)c
   New Mexico              −0.42 (1.21)        −0.22 (0.18)       −10.38 (4.16)c       −9.08 (11.47)     −10.29 (3.68)         −1.53 (1.64)
   Nevada                    1.56 (1.07)        0.18 (0.24)          8.90 (36.74)c     16.29 (9.21)       −3.43 (29.01)        −6.71 (8.84)
   Ohio                     0.41 (0.76)         0.41 (0.21)          8.66 (2.72)c       0.31 (5.56)         11.60 (4.02)c       0.38 (1.64)
   Oklahoma                −0.33 (0.48)         0.40 (0.29)         11.71 (19.50)        7.44 (10.96)    −14.47 (31.71)         4.43 (7.28)
   Oregon                  −0.01 (0.35)         0.19 (0.29)        −6.34 (6.24)        −5.84 (13.68)     −31.58 (21.38)        −5.35 (5.67)
   Pennsylvania              1.65 (0.96)        0.33 (0.13)c       20.68 (17.02)         8.89 (6.27)       36.67 (10.82)        5.76 (2.73)
   South Carolina            0.78 (0.70)        0.30 (0.27)         8.51 (24.75)      −27.58 (38.45)        9.61 (44.87)       −3.14 (11.67)
   South Dakota            −0.46 (0.50)       −0.63 (1.02)           9.31 (9.85)         1.89 (8.92)         7.68 (15.75)      −1.38 (8.55)
   Tennessee                 0.58 (0.70)        0.33 (0.37)        73.39 (14.34)       43.02 (11.91)       13.39 (20.98)        5.47 (4.11)
   Texas                   −0.40 (2.98)         0.19 (0.10)         10.17 (16.21)      −0.99 (12.94)       −3.00 (48.64)        11.46 (8.45)
   Utah                      0.24 (0.60)        0.54 (0.26)          7.97 (16.37)      10.21 (11.87)        6.83 (14.21)        6.83 (4.33)
   Virginia                −0.55 (1.23)         0.46 (0.17)c       −2.32 (27.95)      −11.18 (14.35)      −5.66 (39.48)        −0.70 (7.23)
   Wisconsin                 0.83 (0.23)c     −0.01 (0.08)         13.63 (4.31)c        17.40 (13.58)        7.97 (9.85)        1.65 (1.19)
   West Virginia           −0.48 (1.21)         0.96    (0.40)c    −1.88 (9.76)          2.12 (14.57)     −4.78 (24.88)         8.12 (3.73)
   Wyoming                   0.02 (0.47)        1.22 (0.29)c      −22.50 (21.93)      −16.65 (17.07)     −28.23 (36.88)        −1.40 (12.16)

    a The augmented synthetic control method with fixed effects was used for model specifications. Each model also included jackknife standard

 errors for inference.
    b All standard errors were calculated using the jackknife method. Web material shows the pretreatment covariate balance (Web Figures 1–9),

 donor pool contribution (Web Figures 10–43), and gap plots (Web Figures 84–116) for each of these synthetic control models.
    c The 95% confidence interval did not include 0.



   Assaults are the most common type of violent crime.                    linking the presence of a firearm with increased aggressive
Increasing gun-carrying could increase the frequency with                 thoughts, perceptions of situations as hostile or dangerous,
which individuals use firearms inappropriately in response                and aggressive behavior. Most legal gun owners may be law-
to interpersonal conflicts, provocations, or situations that              abiding and not prone to violence; however, a small percent-
they want to control by threat of deadly force. Berkowitz                 age may be at heightened risk of committing violent acts. For
and Lepage (47) found evidence of a “weapon effect” (48)                  example, between 2001 and 2003, the National Comorbidity

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                            Type of Crime                                                        ATT (95% CI)

                        Assault with a gun                                                      5.31 (1.19, 9.43)
                        Assault with a knife                                                    1.04 (–2.78, 4.86)
                        Robbery with a gun                                                      2.66 (–1.83, 7.15)
                        Robbery with a knife                                                   –0.35 (–0.92, 0.22)
                        Homicide with a gun                                                     0.20 (–0.19, 0.59)




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                        Homicide by other means                                                 0.19 (0.07, 0.31)

                                                   –5           0            5           10
                                                   Average Treatment Effect in the Treated

Figure 4. Impact of adoption of shall-issue concealed-carry weapons laws on violent crime outcomes in a random-effects meta-analysis,
United States, 1980–2019. Bars show 95% confidence intervals (CIs). The average treatment effect in the treated (ATT) represents the change
in the number of crimes per 100,000 population.




Survey Replication collected extensive data on a nationally             null findings and point estimates near 0 in the aggregate
representative sample of adults. Swanson et al. (49) found              models for assaults and robberies committed with knives.
that nearly 1 in 20 men surveyed reported carrying a gun                The strongest and most consistent association for shall-issue
outside the home and impulsive, angry behavior patterns.                laws was an increase in aggravated gun assaults.
   As cultural norms regarding civilian gun-carrying shift                 Stratifying our REMA analysis by the absence or presence
after shall-issue law adoption toward more individuals’ being           of shall-issue permitting provisions produced differential
armed with a concealed firearm, more hostile altercations               results. For aggravated gun assaults and nongun homicides,
are likely to involve firearms, such as an argument over a              states with shall-issue laws that required the permittee to
parking space (50, 51). There is also evidence that drivers             undergo live-fire training, allowed law enforcement offi-
drive more aggressively when there is a gun in the vehicle              cers limited discretion regarding a permittee’s suitability to
(52, 53), and one news report noted an uptick in road rage              carry a concealed weapon, and/or prohibited violent mis-
incidents involving fatal shootings in recent years (54). In            demeanants from obtaining a permit did not experience
a systematic review, Braga et al. (55) synthesized existing             increased rates of violent crime in comparison with states
literature on the instrumentality of firearms. They found               without such provisions. The cumulative impact of these
that the presence of firearms likely made otherwise nonfatal            provisions was notable; states with shall-issue laws that had
altercations result in a fatality (55). Further, recent evidence        at least 1, 2, or 3 of the provisions we examined had no
from Donohue et al. (56) found that adopting a right-to-                statistically significant relationship with rates of gun assault
carry law was associated with a 35% increase in firearm                 or nongun homicide.
theft—meaning that adoption of these laws may introduce                    This study was not without limitations. Like other meth-
thousands of guns into illegal gun markets and/or the hands             ods for estimating the impact of public policies, the ASCM
of criminals. Given this lethality, increased exposure to               and SCM methods rest on several assumptions. The meth-
firearms outside the home in response to legal and cultural             ods’ ability to provide an accurate counterfactual on which
changes supporting more gun-carrying appears to increase                to make causal inference is based on the pretreatment fit
the likelihood of violence involving firearms.                          between treated states and their ASCMs. A strong pretreat-
   Opponents of firearm regulations often argue that legal              ment fit is necessary to fulfill the parallel trend assump-
gun owners prevent violent crime, especially if they are                tion needed for causal inference. We assessed and reported
allowed to carry concealed guns in public. However, many                not only overall model fit but model fit for the 3-year
states have relatively low standards for legal gun possession.          period leading up to shall-issue-law adoption to identify
In those states, the greatest numbers of persons incarcerated           potential biases. The literature is currently uncertain as to
for firearm-related violent crimes were persons who legally             what indicates “good” pretreatment fit. We defined strongly
possessed a gun before using that gun to commit the crime               performing models as having a pretreatment RMSE within
leading to their incarceration (57).                                    2 standard deviations of the mean RMSE and calculated our
   Shall-issue laws were associated with increases in nongun            inverse-standard-error–weighted averages excluding states
homicides, but we did not find a significant link between               with poor treatment fit.
these laws and rates of knife assaults and knife robberies.                ASCM assumes no anticipation in effect and no spillover
Many nongun homicides are due to domestic violence                      from the donor pool. To examine no anticipation in effect,
involving family members or intimate partners and usually               we calculated the prior-3-years RMSE and compared it with
occur in the home. The association between shall-issue                  the overall RMSE as part of our model selection. Because of
laws and these crimes is most likely due to confounding                 our very small donor pool (n = 8), we had limited ability to
with conditions more specific to domestic homicide than                 test the assumption of no spillover. It is likely that a citizen
to factors influencing violence outside the home, given the             in a shall-issue state with a CCW license could have carried

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their weapon unlawfully into a may-issue state—although,             (Mitchell L. Doucette, Alexander D. McCourt, Cassandra
to affect our model estimates, they would have needed to             K. Crifasi, Daniel W. Webster).
commit a violent firearm-related crime. The likelihood that            This work was funded by the Joyce Foundation and the
this scenario happened frequently enough to impact state-            New Venture Fund.
level rates of violent crime per 100,000 population is small.          Mortality-related data are not providable because of
   The synthetic control method is also limited by its inabil-       data-use agreements. Data from the Uniform Crime
ity to control for other state laws. As such, we excluded            Reporting Program are publicly accessible.
Missouri and Kansas as treatment states a priori. We also              We thank Drs. Elizabeth Stuart and Eli Ben-Michael for




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could not assess implementation and enforcement of law               their assistance and advice.
provisions. Training practices or limited law enforcement              The views expressed in this article are those of the
discretion, for example, may not be implemented in a way             authors and do not reflect those of the funders or the
that reflects statutory text. Future work should examine spe-        authors’ institution.
cific permitting standards using quantitative and qualitative          Conflict of interest: none declared.
methods. However, our use of the REMA method did allow
us to understand whether the presence of certain CCW-law
permitting provisions confounded the relationship between
law adoption and violent crime rates.                                REFERENCES
   Use of the Federal Bureau of Investigation’s “Offenses
Known and Clearances by Arrest” data had limitations. The             1. Howe A. In major Second Amendment case, court will
primary limitation is that this data set only includes crimes            review limits on carrying a concealed gun in public. https://
reported to police, and many crimes go unreported. A 2008                www.scotusblog.com/2021/10/in-major-second-amendment-
National Crime Victimization Survey found that the per-                  case-court-will-review-limits-on-carrying-a-concealed-gun-
centages of personal crimes reported to police were highest              in-public/. Published October 27, 2021. Accessed March 16,
                                                                         2022.
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    https://doi.org/10.1007/s11524-022-00627-5




    Officer‑Involved Shootings and Concealed Carry Weapons
    Permitting Laws: Analysis of Gun Violence Archive Data,
    2014–2020
    Mitchell L. Doucette · Julie A. Ward · Alex
    D. McCourt · Daniel Webster · Cassandra
    K. Crifasi



    Accepted: 9 March 2022 / Published online: 10 May 2022
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    Abstract About 1,000 civilians are killed every               adoption not occurred. Lax laws regulating civilian
    year by a law enforcement officer in the USA, more            carrying of concealed firearms were associated with
    than 90% by firearms. Most civilians who are shot             higher incidence of OIS. The increase in concealed
    are armed with a firearms. Higher rates of officer-           gun carrying frequency associated with these laws
    involved shootings (OIS) are positively associated            may influence the perceived threat of danger faced
    with state-level firearm ownership. Laws relaxing             by law enforcement. This could contribute to higher
    restrictions on civilians carrying concealed firearms         rates of OIS.
    (CCW) have been associated with increased violent
    crime. This study examines associations between
    CCW laws and OIS. We accessed counts of fatal and             Introduction
    nonfatal OIS from the Gun Violence Archive (GVA)
    from 2014–2020 and calculated rates using popula-             In the mid-2010’s, several media and nonprofit organ-
    tion estimates. We conducted legal research to iden-          izations began collecting data on officer involved
    tify passage years of CCW laws. We used an aug-               shooting (OIS) incidents using open-source data
    mented synthetic control models with fixed effects to         collection methods to better understand incident
    estimate the effect of Permitless CCW law adoption            frequency. These sources, including The Counted,
    on OIS over fourteen biannual semesters. We cal-              developed by The Guardian [1]; Fatal Force, devel-
    culated an inverse variance weighted average of the           oped by the Washington Post [2]; the Gun Violence
    overall effect. On average, Permitless CCW adopt-             Archive [3]; and others [4, 5] identify incidents more
    ing states saw a 12.9% increase in the OIS victimi-           comprehensively than the Centers for Disease Control
    zation rate or an additional 4 OIS victimizations per         and Prevention (CDC), which often undercount or
    year, compared to what would have happened had law            misclassify police involvement in homicides and pro-
                                                                  vide no estimates of nonfatal shootings [6, 7]. These
                                                                  sources estimate around 1,000 fatal OIS per year
    Supplementary Information The online version                  [8] and have been recently validated against newer,
    contains supplementary material available at https://​doi.​
    org/​10.​1007/​s11524-​022-​00627-5.
                                                                  national-level repositories (e.g., the National Violent
                                                                  Death Reporting System) with better, though incom-
    M. Doucette (*) · J. Ward · A. McCourt · D. Webster ·         plete, data [9].
    C. Crifasi                                                       Several studies have examined the relationship
    Center for Gun Violence Solutions, Johns Hopkins
                                                                  between firearm prevalence and state-level laws
    Bloomberg School of Public Health, Baltimore, MD, USA
    e-mail: Mdoucet3@jhu.edu                                      and fatal OIS in the USA [8, 10]. Hemenway and

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     colleagues (2018) used data from the Washington           somewhat mixed, a majority of recent studies have
     Post’s Fatal Force database to examine fatal OIS          found evidence that RTC laws increase violent crime
     across the USA; finding rates of fatal OIS per 1 mil-     including homicides [13, 14, 19, 21–26]. As firearm
     lion (M) population were significantly associated         availability is associated with increased fatal OIS,
     with firearm availability at the state level [8]. The     Shall Issue and Permitless CCW laws could influence
     authors hypothesized that the relationship between        fatal and nonfatal rates of OIS; however, the impact
     fatal OIS and gun ownership may be due to increases       of RTC laws on OIS is currently unknown.
     in both the likelihood of an officer encountering an         Given the relationship between state-level firearm
     armed person and officers’ perceived risk of personal     availability and OIS, and the impact of RTC laws
     injury in an encounter where gun ownership is preva-      on public gun carrying, we sought to understand the
     lent [8]. Nagin (2020) also found that fatal OIS rates    impact of changes in CCW permitting laws on OIS.
     were associated with firearm availability at the state    We hypothesized that removing the need for a permit
     level [10]. Kivisto and colleagues (2017) examined        to carry a concealed weapon in public would be asso-
     whether state-level firearm legislation impacted rates    ciated with increased incidence of OIS rates.
     of fatal OIS. They identified that states with stronger
     legislative strength scores had lower rates of fatal
     police shootings per 1 M population [11].                 Methods
        A prior analysis of fatal OIS has found that most
     incidents occurred outside the home, and the major-       We conducted a comparative time-series analysis to
     ity of victims were armed with a firearm [12]. Over       evaluate the impact of Permitless CCW laws on rates
     the past four decades, most states have implemented       of total (fatal + non-fatal) OIS violence using the Gun
     Shall Issue concealed carry weapons (CCW) laws            Violence Archive (GVA). The GVA is the only source
     or Permitless CCW laws which make public carry            that provides an accounting of both fatal and nonfatal
     of a concealed weapon easier [13–16]. These laws,         firearm injuries to civilians as part of an OIS incident.
     often referred to as right-to-carry (RTC) laws, can
     remove law enforcement discretion in issuing CCW          Data and Measures
     permits (Shall Issue) or drop the need for a permit all
     together (Permitless) compared to states without RTC      We accessed counts of total OIS violence from the
     laws, which allow law enforcement broad discretion        GVA from 2014 to 2020. Counts of total, fatal, and
     to deny permits (May Issue). A recent survey of gun       nonfatal OIS violence are provided in Supplemental
     owners found states with RTC laws have higher rates       Table 1. The GVA, a nonprofit organization, uses law
     of self-reported public concealed gun carrying than       enforcement, media, government, and commercial
     that of states without [16]. As of 2021, there are 21     sources to provide a daily account of firearm violence
     states with Permitless carry, 21 states with some form    throughout the USA. We selected the GVA because it
     of Shall Issue laws, and 8 states with May Issue laws.    is the only source that attempts to capture both fatal
        The fluctuations in these state laws have pro-         and nonfatal data. The data is fully accessible and
     vided researchers the opportunity to examine their        available for free to download. We used 2014 as our
     impact on firearm violence. Early research on CCW         starting year as this was the first full year data were
     laws from Lott and Mustard (LM) found an associa-         available [27]. Earlier studies have used the GVA to
     tion between adopting a Shall Issue CCW law from a        examine firearm violence [28]. Other studies have
     May or a No Issue CCW law and reductions in crime         used the GVA to validate other national databases
     [17]. However, this research contained flaws includ-      as sources of data for police involved shootings [9].
     ing measurement error in law adoption time, the use       GVA provides links to the news media reports it uses
     of an endogenous explanatory variable, inclusion of       to provide gun violence frequency. GVA categorizes
     over 35 colinear covariates, and omission of variables    violence by several types of incidents (e.g., officer
     shown to affect crime (police presence and incarcera-     involved shooting, child involved incident, drive by
     tion rates) [18, 19]. More recent research examining      etc.). Incident output has the following variables: inci-
     the impact of these laws have addressed these meth-       dent state, day, address, number of persons killed, and
     odological issues [20]. While the findings have been      number of persons injured. We downloaded all OIS

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    Officer-Involved Shootings and Concealed Carry Weapons Permitting Laws                                                   375


    incidents from 2014 to 2020. We manually reviewed               the Uniform Crime Reports [32], and the National
    all OIS incidents from 2014 to 2020 to exclude law              Institute on Alcohol Abuse and Alcoholism [33].
    enforcement officers shot as part of an OIS incident               To look at the average treatment effect on the
    or when an officer fired their weapon, but no one was           treated (ATT) of adopting a Permitless CCW system
    wounded or killed. The GVA does not provide race/               on OIS, we considered four potential model specifica-
    ethnicity of victims. GVA was selected over other               tions related to the synthetic control method including
    data sources as it is the only national source of fatal         synthetic control models (SCM) [34–36], SCM with
    and nonfatal OIS.                                               fixed effects (SCM + Fixed effects) [37–39], aug-
       Our analysis focused on the impact of adopt-                 mented synthetic control models (ASCM) [37], and
    ing a Permitless CCW law from a Shall Issue CCW                 ASCM with fixed effects (ASCM + Fixed effects)
    law or the impact of removing the permit require-               [37–39]. The ASCM builds off the SCM devel-
    ment to carry a concealed weapon. We conducted                  oped by Abadie and Gardeazabal (2003) [34–36].
    legal research to identify implementation dates and             The SCM, which creates a weighted synthetic state
    Shall Issue CCW permit provisions for all 50 States.            based on covariate values, referred to as the control
    We collected these provisions from the Westlaw and              state, reduces bias when estimating the effects of a
    HeinOnline legal research databases. To identify the            new state policy. The method uses a pool of “non-
    relevant policies, we used a standard search strategy           treated” states or states without the policy of interest,
    for each state for the years 1980–2020. We classified           to identify a weighted combination of states that mir-
    states by whether they issued CCW permits on a May              rors the treated state prior to the law change or pre-
    Issue basis, Shall Issue basis, or allowed for Permit-          law adoption period. This creates a control state with
    less carry. All laws were operationalized dichoto-              limited selection bias likely to satisfy the parallel line
    mously, with “0” representing the absence of a law              assumption necessary for causal inference and act as a
    and “1” representing the presence of a law. No states           counterfactual to compare what would have happened
    moved from a May Issue CCW law to a Permitless                  in the treated state had the law not been changed.
    CCW law. Table 1 provides the status of each state’s            Specifying a fixed effect, referred to as demeaning,
    CCW law regime and the year of law adoption.                    subtracts the pre-treatment mean within the treatment
                                                                    and donor states from each outcome observation prior
                                                                    to identifying the weighted synthetic state [38, 39].
    Analysis                                                           The ASCM method, developed by Ben-Michael,
                                                                    Feller, and Rothstein (2019), builds on the original
    To examine the relationship between CCW laws and                SCM [37]. In the original SCM, the ability of the syn-
    OIS, we collapsed data to the semester-level or two             thetic control state to act as the treatment state’s coun-
    time periods per year, giving us 14 time periods from           terfactual is measured by the pre-treatment root mean
    2014 to 2020 over 50 states or 700 state-time indexes.          square error (RMSE) or the how different the treated
    Our outcome of interest was the total number of vic-            state and control state are prior to the law change. For
    tims fatally and nonfatally shot by police indexed by           certain interventions, where the potential donor pool
    state-year. We employed a comparative time-series               is small, or the pre-treatment RMSE fit is infeasible,
    analysis approach to explore the relationship between           the SCM may not act as an accurate counterfactual as
    CCW permitting laws and rates of total OIS violence.            the pre-adoption trend lines may diverge. The ASCM
       The following covariates were included in the                uses ridge regression as an outcome model and
    study’s analyses: percent population living in MSA,             extends the SCM to policy settings where pre-treat-
    black males 15–19, white males 15–19, unemployed,               ment RMSE fit is poor. The ridge regression outcome
    per capital alcohol consumption, rate of incarceration,         model estimates the bias arising from inadequate pre-
    and law enforcement officers per capita. The rates of           treatment RMSE fit and de-biases the synthetic con-
    incarceration and police employment were interpo-               trol estimate [37]. In a traditional SCM, donor state
    lated for 2019 and 2020. All other variables were lin-          weights are always nonnegative. ASCM with ridge
    early extrapolated for 2020. Covariates were acquired           regression produces donor state weights that can
    from the US Census Bureau [29], the Bureau of Labor             be negative as it seeks to minimize variance, which
    Statistics [30], the Bureau of Justice Statistics [31],         allows for improved pre-treatment RMSE fit. As part

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     Table 1  Legal landscape    State            Overall concealed carry permitting law
     of concealed carry weapon
     laws                                         No Issue           May Issue permits Shall Issue permits Permitless Carry

                                 Alabama                             Pre-1980–8/1/13       8/1/13a
                                 Alaska           Pre-1980–10/1/94                         10/1/94–9/9/03      9/9/03
                                 Arizona          Pre-1980–7/16/94                         7/16/94–7/28/10     7/28/10
                                 Arkansas         Pre-1980–7/27/94                         7/27/94a
                                 California                          Pre-1980
                                 Colorado         Pre-1980–6/8/81    6/8/81–5/17/03        5/17/03a
                                 Connecticut                         Pre-1980
                                 Delaware                            Pre-1980
                                 Florida                             Pre-1980–10/1/87      10/1/87
                                 Georgia                             Pre-1980–8/25/89      8/25/89a
                                 Hawaii                              Pre-1980
                                 Idaho                               Pre-1980–7/1/90       7/1/90–7/1/16       7/1/16
                                 Illinois         Pre-1980–1/5/14                          1/5/14a
                                 Indiana                                                   Pre-1980a
                                 Iowa                                Pre-1980–1/1/11       1/1/11a
                                 Kansas           Pre-1980–1/1/07                          1/1/07–7/1/15       7/1/15
                                 Kentucky         Pre-1980–10/1/96                         10/1/96–6/27/19     6/27/19
                                 Louisiana        Pre-1980–4/19/96                         4/19/96
                                 Maine            Pre-1980–9/18/81                         9/18/81–10/15/15    10/15/15
                                 Maryland                            Pre-1980
                                 Massachusetts                       Pre-1980
                                 Michigan                            Pre-1980–7/1/01       7/1/01
                                 Minnesota                           Pre-1980–5/28/03      5/28/03a
                                 Mississippi      Pre-1980–7/1/91                          7/1/91–4/15/16      4/15/16
                                 Missouri         Pre-1980–2/26/04                         2/26/04–1/1/17a     1/1/17
                                 Montana                             Pre-1980–10/1/91      10/1/91a
                                 Nebraska         Pre-1980–1/1/07                          1/1/07
                                 Nevada                              Pre-1980–10/1/95      10/1/95
                                 New Hampshire                                             Pre-1980–2/22/17a   2/22/17
                                 New Jersey                          Pre-1980
                                 New Mexico       Pre-1980–1/1/04                          1/1/04
                                 New York                            Pre-1980
                                 North Carolina   Pre-1980–12/1/95                         12/1/95
                                 North Dakota     Pre-1980–8/1/85                          8/1/85–8/1/17       8/1/17
                                 Ohio             Pre-1980–4/8/04                          4/8/04
                                 Oklahoma         Pre-1980–9/1/95                          9/1/95–11/1/19      11/1/19
                                 Oregon                              Pre-1980–1/1/90       1/1/90a
                                 Pennsylvania                        Pre-1980–6/17/89      6/17/89a
                                 Rhode Island                                              Pre-1980a
                                 South Carolina                    Pre-1980–8/23/96        8/23/96
                                 South Dakota                      Pre-1980–7/1/85         7/1/1985–7/1/19     7/1/19
                                 Tennessee        Pre-1980–11/1/89 11/1/89–10/1/96         10/1/96
                                 Texas            Pre-1980–1/1/96                          1/1/96
                                 Utah                              Pre-1980–5/1/95         5/1/95a
                                 Vermont                                                                       Pre-1980


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    Table 1  (continued)            State              Overall concealed carry permitting law
                                                       No Issue           May Issue permits Shall Issue permits Permitless Carry

                                    Virginia                              Pre-1980–7/1/95       7/1/95a
                                    Washington                                                  Pre-1980
                                    West Virginia                        Pre-1980–7/7/89        7/7/89–5/24/16      5/24/16
                                    Wisconsin           Pre-1980–11/1/11                        11/1/11
                                    Wyoming             Pre-1980–7/1/83 7/1/83–10/1/94          10/1/94–7/1/11a     7/1/11
                                    a
                                     denotes some limited
                                    discretion afforded the
                                    issuing agency



    of the pre-treatment trend creation, the augmentation             (n = 26). The ATT for each Permitless CCW adopter
    uses a leave-one-out cross-validation process to iden-            was calculated as the average difference in mean OIS
    tify the value of λ. This provides the optimal λ value,           rate between the treated state and the augmented syn-
    2 standard deviations above the minimum λ value, to               thetic control state in the post-implementation period.
    protect against overfitting.                                      We specified jackknife standard errors [42]. For each
       We used a data-driven approach in our model                    state, we divided the average population size by 1 M
    selection process. We evaluated the following diag-               and multiplied by the ATT to understand how many
    nostics and present each below and in the supple-                 OIS were associated with law adoption.
    mental material. First, we plotted the overall pre-                  To understand the overall ATT across law adop-
    treatment RMSE and the divergent pre-treatment                    ters, we calculated an inverse variance weighted
    RMSE or the RMSE in the last two semesters of pre-                average ATT in R using the package “meta,” [43]
    treatment period. Model specifications with similar               specifying random effects assuming a heterogenous
    overall and divergent pre-treatment RMSE indicate                 treatment effect. These analyses excluded states with
    a well performing and consistent counterfactual.                  poor performing RMSE, defined as pre-treatment
    Models with disparate RMSE values would suggest                   RMSE greater than 2 standard deviations above the
    fluctuations close to treatment adoption and thus a               mean. As a sensitivity analysis, we separately examined
    potentially biased ATT. Second, we inspected gap                  the rate of fatal and nonfatal OIS violence presenting
    plots related to the four potential model selections              the inverse variance weighted average ATT.
    to examine pre-treatment RMSE trends. This evalu-
    ation provided a visual representation of the overall
    and divergent pre-treatment RMSE and thus how                     Results
    well the synthetic counterfactual could best mirror
    the treatment state had the policy not been adopted.              Figure 1 provides the median counts for total, fatal,
    All analyses were conducted using R 31ss with the                 and nonfatal OIS violence from 2014–2020. The
    package “augsynth” [41]. We provide pre-treatment                 median count for total OIS violence slightly fluctu-
    donor weights for treated state across model speci-               ated during the 7-year study period starting slightly
    fications as well as pre-treatment mean covariate                 below 20 in the first semester of 2014 and ending
    values for treated and synthetic states across each               slightly above 20 in the second semester of 2020.
    model specification.                                              Notably, the disaggregated median counts of fatal
       We examined the impact of adopting a Permitless                and nonfatal OIS violence were similar across time.
    CCW system from a Shall Issue CCW system using a                  Figures 2, 3, and 4 are diagnostic plots specific to
    three-semester moving average of OIS rates per 1 mil-             Missouri. Diagnostic plots and tables for all other
    lion (M) population for 11 treatment states (Table 1).            states are in the Supplemental Material. Figure 2
    We compared each Permitless CCW adopting state to                 and Supplemental Figs. 1–10 provide the donor state
    a donor pool of Shall Issue states that did not change            weights that make up each of the synthetic controls.
    their permitting system between 2014 and 2020                     Supplemental Figs. 11–17 provide the mean value of

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     Fig. 1  Median counts of total, fatal, and nonfatal shootings in the USA, 2014–2020 Gun Violence Archive Data


     Fig. 2  Comparison of
     donor weights across model
     specifications for Missouri,
     2014–2020 Gun Violence
     Archive data




     covariates for the treated and synthetic control states               Figure 3 provides the overall and divergent RMSE
     during the pre-treatment period across our four model              in the pre-treatment period. Examining the overall
     specifications.                                                    RMSE, it appears the ASCM + Fixed effect model

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    Fig. 3  Comparison of RMSE and pre-treatment RMSE divergence across model specifications


    has the smallest RMSE in the pre-treatment period.              performance is the strongest for the ASCM + Fixed
    The ASCM + Fixed effects, excluding Oklahoma,                   effect model.
    are all generally close to 0, indicating strong pre-               Overall, adopting a Permitless CCW law from
    treatment fit. The ASCM model provides strong pre-              a Shall Issue law resulted in an additional 0.78 OIS
    treatment fit for majority of states, excluding North           victims per 1 M population per semester or an addi-
    Dakota, Oklahoma, and South Dakota. The SCM and                 tional 2 OIS victims per semester than what we would
    SCM + Fixed effect models indicate comparatively                have normally expected across all states that adopted
    large RMSE considering the ASCM models. Exam-                   Permitless carry (Fig. 5). This represents a 12.9%
    ining the relationship between overall RMSE and                 increase in OIS victimization rate. We excluded Okla-
    divergent RMSE indicates that both the ASCM and                 homa from this analysis as its overall RMSE was
    ASCM + Fixed effects produced consistent RMSE,                  greater than 2 standard deviations above the aver-
    with limited divergence in the time periods imme-               age, indicating a poor counterfactual from which to
    diately preceding the treatment year. The SCM and               draw inference. Idaho (ATT = 2.01; SE = 0.931),
    SCM + Fixed effects displayed large RMSE diver-                 Mississippi (ATT = 0.88; SE = 0.304), Missouri
    gence within states. Overall and divergent RMSE                 (ATT = 2.08; SE = 0.529), and West Virginia
    performance can be visually seen in the gap plots               (ATT = 1.59; SE = 0.514) had significantly greater
    presented in Fig. 4 and Supplemental Figs. 18–27,               average rates of OIS in the post-law adoption period
    which display the difference between treatment and              compared to the pre-law adoption period compared to
    synthetic control across model specifications. Fig-             their synthetic control states. In the post-law period,
    ure 4 reveals that Missouri’s pre-treatment RMSE                the results suggest that Idaho averaged an additional

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     Fig. 4  Gap plot comparison of model specifications related to the impact of permitless concealed carry weapons law adoption on
     officer involved shooting rates per 1 million in Missouri, 2014–2020 Gun Violence Archive data


     Fig. 5  Impact of permitless
     concealed carry weapons
     law adoption on officer
     involved shooting rates per
     1 million, 2014–2020 Gun
     Violence Archive data




     3.53 OIS victims per semester, Mississippi averaged               semester, and West Virginia averaged an additional
     an additional 2.63 OIS victims per semester, Mis-                 2.8 OIS victims per semester above what we would
     souri averaged an additional 12.76 OIS victims per                have normally expected had the law not changed (data

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    not shown). Comparing the findings above from the               (e.g., time filling out paperwork, time spent at the
    ASCM + Fixed effect model to the other model speci-             police station, time on other requirements like live
    fications shows general agreement around the esti-              fire training, etc.). Those who found the economic
    mated ATT and level of significance for Idaho, Mis-             cost and/or opportunity cost of obtaining a Shall
    sissippi, Missouri, and West Virginia (Supplemental             Issue permit to high may choose to carry a con-
    Table 28).                                                      cealed weapon in the absence of such requirement.
       Supplemental Figs. 29 and 30 provide the overall             Law enforcement might internalize this potential
    ATT related to rates of nonfatal and fatal OIS vio-             behavior change and increase the perceived risk
    lence separately. Notably, nonfatal and fatal violence          of meeting an armed suspect or increase the num-
    displayed positive but nonsignificant relationships             ber of calls for service for weapons complaints.
    with Permitless CCW adoption. In addition, λ cross-             Given that between 75 and 95% of homicides of law
    validation figures for ASCM and ASCM + Fixed                    enforcement officers are committed with a firearm
    effects models are provided in Supplemental material            [44], it is plausible that less restrictive CCW laws
    (Supplemental Figs. 31–41).                                     can increase an officer’s perceived risk of personal
                                                                    injury in an encounter which may in turn increase
                                                                    the likelihood that deadly force is used [45]. Prior
    Discussion                                                      research has found a relationship between state-
                                                                    level gun prevalence and OIS victimization [8].
    This article is the first to examine the relationship           Our findings are consistent with the theory that
    between CCW laws and fatal and nonfatal OIS vio-                expanded access to firearms through lower restric-
    lence. Our research introduces several important                tions for concealed carry increases both fatal and
    findings. Using Shall Issue states to construct policy          nonfatal OIS incidents.
    counterfactuals indicated that adopting a Permitless               This study is not without limitations. First, we
    CCW law resulted in additional OIS victimization.               acknowledge the limitations associated with the use
    Using our data-drive approach, the ASCM + Fixed                 of GVA data. While GVA data has been confirmed
    effect models provided the best pre-treatment coun-             against other media-based data repositories of fatal
    terfactuals to calculate the causal impact of Permit-           OIS [9], and the use of media-based data collection
    less CCW law adoption. These models displayed                   for fatal OIS violence itself has been validated [46],
    strong overall pre-treatment RMSE fit for 10 of the             the use of media reports to identify nonfatal shootings
    11 treatment states, and we calculated an average of            has not, and reporting of violence remains inherently
    the ATT inverse weighted by the size of each model’s            biased. There is selection bias within the use of media
    jackknife standard error. We estimate that removing             reports in determining how much of a given outcome
    the need for a permit to carry a concealed weapon               occurs due to publication bias. This is especially true
    increased OIS victimization rates by 12.9%.                     for nonfatal shootings. A visual examination of Fig. 1
       There has been much study of the impact of Shall             suggests that the number of victims fatal and non-
    Issue laws and RTC laws on firearm-related crime                fatal shot is similar from year to year. However, for
    [26]. However, this study is among the first to exam-           violent crimes, particularly police involved violence,
    ine the impact of moving from a Shall Issue CCW                 we hypothesize that the implicit “newsworthiness” of
    law to a Permitless CCW law. There is a growing                 events is high; thus, we have reason to believe a rea-
    need to examine the impact of moving from a Shall               sonable valid capture of OIS violence through GVA
    Issue CCW law to a Permitless CCW law on firearm-               and other media-based data repositories. Our decision
    related crime. Evidence found here suggests there is            to use fatal and nonfatal data is important as fatal vio-
    likely an increase in rates of total OIS violence after         lence data does not tell a complete story [47]. While
    Permitless CCW law adoption.                                    not significant, it is notable that the direction of effect
       Less restrictive CCW laws may prompt increases               is similar when considering the disaggregated out-
    public civilian gun carrying. Removal of the need               comes of fatal and nonfatal OIS violence rates com-
    for a permit eliminates economic costs associated               pared to the total OIS violence rate direction. It may
    with the permitting process and removes oppor-                  be that the use of fatal data alone is inadequate for
    tunity cost associated with obtaining the permit                examinations of potential policy determinants of OIS.

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         Another limitation of the GVA is that race/ethnic-       Conclusion
     ity is not readily available. While the inability to dis-
     aggregate our outcome by race/ethnicity does not bias        From 2014 to 2020, moving from a Shall Issue CCW
     our study’s external validity to the population at large,    law to a Permitless CCW law was associated with a
     it does pose additional questions about potential dif-       12.9% increase in the rate of OIS. Policy makers in
     ferential effects. Research has shown African Ameri-         Shall Issue CCW law states considering Permitless
     cans are disproportionately likely to be victims of a        CCW law adoption and policy makers currently in
     law enforcement officer involved shooting [48–51].           Permitless CCW law states should consider the nega-
     Due to our lack of data, we are unable to estimate           tive health consequences Permitless CCW laws.
     whether the impact of CCW laws differs by the race/
     ethnicity of victims.                                        Acknowledgements This research was supported by a grant
                                                                  from The Joyce Foundation to the Johns to Johns Hopkins
         The use of ASCM + Fixed effects supplied the best        Center for Gun Violence Solutions (https://​www.​joyce​fdn.​org/​
     available estimate of effect related to removing the         grants) and by a grant from the New Venture fund to the Johns
     permit requirement for who can legally carry a con-          Hopkins Center for Gun Violence Solutions (https://​newve​
     cealed weapon. However, the model’s ability to suc-          nture​fund.​org/​for-​grant​seeke​rs). Julie Ward acknowledges sup-
                                                                  port from the National Institute of Child Health and Human
     cessfully provide an accurate counterfactual is based        Development (T32-HD 094687).
     on the likeness of donor pool states and pre-treatment
     fit between treated and control states. In the context
     of this study, we included 26 donor states that contin-
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     ment covariate averages were similar for the states           2. Fatal Force: Police shootings database. Washington Post.
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Right-to-Carry Laws and Firearm Workplace
Homicides: A Longitudinal Analysis (1992–2017)
Mitchell L. Doucette, PhD, MS, Cassandra K. Crifasi, PhD, MPH, and Shannon Frattaroli, PhD, MPH


   Objectives. To examine the impact of right-to-carry (RTC) ﬁrearm laws on ﬁrearm                                   carry (RTC) laws, by the majority of US states
workplace homicides (WPHs) in the United States from 1992 to 2017.                                                   has, by design, likely increased ﬁrearm ex-
   Methods. We employed 2 longitudinal methods to examine the average effect                                         posure in the general population. States with
(pooled, cross-sectional, time-series analysis) and the state-speciﬁc effect (random ef-                             RTC laws either issue permits to carry a
fects meta-analysis) of RTC laws on WPHs committed by ﬁrearms from 1992 to 2017 in a                                 concealed ﬁrearm on a “shall”-issue basis,
50-state panel. Both methods utilized a generalized linear mixed model with a negative
                                                                                                                     giving no discretion to authorities over who
                                                                                                                     can carry a concealed ﬁrearm, or do not re-
binomial distribution.
                                                                                                                     quire a permit to carry a concealed ﬁre-
   Results. From 1992 to 2017, the average effect of having an RTC law was signiﬁcantly
                                                                                                                     arm.11,12 These laws effectively lower the
associated with 29% higher rates of ﬁrearm WPHs (95% conﬁdence interval [CI] = 1.14,
                                                                                                                     barrier to entry for who can legally carry a
1.45). No other state-level policies were associated with ﬁrearm WPHs. Sensitivity an-
                                                                                                                     concealed ﬁrearm in public.
alyses suggest robust ﬁndings. State-speciﬁc estimates suggest that passing an RTC law                                  Disagreement in the literature regarding
during our study period was signiﬁcantly associated with 24% increase in ﬁrearm WPH                                  the impact of RTC laws on violent crimes
rates (95% CI = 1.09, 1.40).                                                                                         has existed for many years. Previous work
   Conclusions. This is the ﬁrst study to our knowledge to examine the link between RTC                              from Lott and Mustard touting the protective
ﬁrearm laws and ﬁrearm WPHs. Findings indicate that RTC laws likely pose a threat to                                 effects of RTC laws on violent crimes
worker safety and contribute to the recent body of literature that ﬁnds RTC laws are                                 progressed the “more guns, less crime”
associated with increased incidence of violence. (Am J Public Health. 2019;109:1747–                                 hypothesis.13 Although the statistical methods
1753. doi:10.2105/AJPH.2019.305307)                                                                                  used to derive Lott and Mustard’s hypothesis
                                                                                                                     were largely dismissed by the 2005 National
                                                                                                                     Research Council’s Report on Firearms and

I  n 2017, there were 458 workplace homi-         robbery.7,8 New evidence from 2011 to 2015                         Violence,14 their research was used as evi-
   cides (WPHs), deﬁned as a homicide in          found that robberies accounted for only 47%                        dence to support the passing of new RTC
which an employee or owner is killed while        of WPHs, with the majority of ﬁrearm WPHs                          laws in 25 states11 from 1992 to 2017. Much
working, in the United States.1 The majority      now being committed in the course of non-                          of the evidence from the mid-2000s showed
(76.6%) of these homicides were committed         robbery events, chieﬂy as part of arguments and                    null ﬁndings regarding the relationship be-
by ﬁrearm (n = 351).1 While greater than 80%      other forms of interpersonal violence.9 The                        tween RTC laws and various violent crime
of WPH decedents are male,2,3 WPHs have           authors hypothesized that changes in ﬁrearm                        outcomes.15,16 However, recent examina-
been either the ﬁrst or second leading cause of   exposure in workplaces may be contributing                         tions of the impact of RTC laws on violent
death among female workers for many years.4       to the change in ﬁrearm WPH etiology.9                             crime suggest that these laws are associated
In 2015, 43% of female WPH victims were           Importantly, research has found that work-                         with increased levels of violent crimes. These
killed by intimate partners or relatives,         place violence prevention measures aimed at                        analyses have included various causal meth-
compared with 2% of male WPH victims.5 A          preventing robbery-motivated WPHs do not                           odologies and additional years of data
study of workplaces in North Carolina from        easily translate into preventing non–robbery-                      compared with analyses from the mid-
1994 to 1998 found that workplaces that           motivated WPHs.10                                                  2000s.11,12,17 Their ﬁndings all suggest a
allowed employee access to ﬁrearms had               Over the past 26 years, the adoption of                         likely relationship between RTC laws and
nearly 5-times-greater odds of having a WPH       shall-issue concealed carry laws, or right-to-                     violent crimes and homicides in particular.
compared with workplaces that prohibited
weapons.6                                         ABOUT THE AUTHORS
    A recent national epidemiological in-         Mitchell L. Doucette is with the Department of Health Science, Eastern Connecticut State University, Willimantic, and the
                                                  Injury Prevention Center at Connecticut Children’s Medical Center, Hartford. Cassandra K. Crifasi and Shannon Frattaroli are
vestigation of ﬁrearm WPHs identiﬁed that         with the Center for Gun Policy and Research, Johns Hopkins Bloomberg School of Public Health, Baltimore, MD.
the circumstances around these crimes have            Correspondence should be sent to Mitchell L. Doucette, Department of Health Sciences, Eastern Connecticut State University, 83
changed. Investigations of WPH etiology in        Windham St, Willimantic, CT 06226 (e-mail: doucettemi@easternct.edu). Reprints can be ordered at http://www.ajph.org by
                                                  clicking the “Reprints” link.
the 1990s found that approximately 80% of             This article was accepted July 21, 2019.
these crimes were committed in the course of          doi: 10.2105/AJPH.2019.305307

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   Donohue et al. identiﬁed that RTC laws           Labor Statistics (BLS). CFOI is the most           area (MSA),21 percentage of employees
were associated with 13% to 15% greater rates       comprehensive database of workplace deaths         working in the retail industry,2,30 and number of
of violent crimes 10 years after adoption by        within the United States. For inclusion in         employed persons. We obtained law enforce-
using synthetic control models.12 Crifasi et al.    CFOI, the decedent must be an employee or          ment expenditure, which was available from
found that RTC laws were associated with an         employer killed in the act of working and          1992 to 2015, via the US Census Bureau.31 As
increase (4%) in ﬁrearm homicides in large          each death must be veriﬁed with at least 2         such, law enforcement expenditure was linearly
urban US counties by using a generalized            independent source documents (e.g., medical        interpolated for 2016 and 2017 by state. We
linear mixed model, with random effects at          examiner’s report, police report, workplace        obtained number of persons employed and the
the county level.17 Siegel et al. found that        injury report, media).20 Of note, non-             percentage of employees working in the retail
RTC laws were associated with 8.6% higher           employees killed in workplaces are not             industry from the Current Employment Survey
ﬁrearm homicide rates by using a ﬁxed-effects       considered WPHs.                                   through the BLS.32 We used the percentage
panel analysis, modeling ﬁrearm homicides as            In addition to the presence or absence of      employed persons working in retail to account
counts and rates.11                                 RTC laws, we included the following state-         for the difference in size of states’ retail em-
   RTC laws, and consequent increased               level statutes as predictors in our analysis:      ployment, as the retail industry is known to have
ﬁrearm carrying in the general population,          permit-to-purchase laws,21 parking-lot laws,22     higher rates of robbery-motivated WPH
could potentially have an impact on ﬁrearm          stand-your-ground laws,17 ﬁrearm prohibition       compared with other industries.2,30
WPH incidence. As studies suggest that gun          laws for those convicted of a violent mis-             Household gun availability is the ratio of
carrying potentially emboldens aggressive           demeanor,23,24 ﬁrearm prohibition laws that        ﬁrearm suicides to overall suicides and was
behaviors,18,19 arguments between co-               allow dating partners to petition for a domestic   calculated with data from the Centers for
workers or ex–co-workers, customers–                violence restraining order,24 and ﬁrearm pro-      Disease Control and Prevention’s Web-based
employees, and domestic partners may turn           hibition laws that allow ex-parte domestic vi-     Injury Statistics Query and Reporting System
deadly as a result of access to lethal means.       olence restraining orders.24 These laws were       (WISQARS).33 This proxy measure is widely
Furthermore, those carrying a concealed             included in the analysis as they have either       used in longitudinal ﬁrearm policy analy-
weapon may intervene in a well-intentioned          previously displayed signiﬁcant relationships      sis for both homicide and suicide
way—to thwart crime, for example—only to            with ﬁrearm homicides in the general pop-          outcomes17,21,27–29,34–41 and was validated
unintentionally induce fatal violence.12            ulation or, in the case of parking lot laws, may   using Behavioral Risk Factor Surveillance
   Given the potential ways RTC laws may            directly affect ﬁrearm exposure in the work-       System survey data from 2001, 2002, and 2004,
have an impact on ﬁrearm WPH, we ana-               place. Sixteen states passed laws speciﬁcally      years during which respondents were asked
lyzed the relationship between these laws           aimed at securing employee ﬁrearm access           about ﬁrearm ownership. We obtained state
and ﬁrearm WPHs from 1992 to 2017 by                while at work via their motor vehicles, referred   ﬁrearm homicide rates from WISQARS.33
using 2 longitudinal methodologies. We              to as parking lot laws, from 2003 to 2013.22 As        Other included state-level demographics
hypothesized that states removing barriers          these laws have not been evaluated, their im-      were the percentage of the state population
to civilian gun carrying would experience           pact is unclear. However, these laws prohibit      who reported being Black,3 married, male,3
higher rates of WPH by ﬁrearm.                      businesses from restricting employees from         living in poverty,11,17 part of a union,42 and
                                                    keeping guns in cars parked in company lots.25     high-school graduates, and the household
                                                        To analyze the effect of these laws over       median income.11 We obtained state-level
                                                    time, we coded each law as “0” in the years        demographics, including MSA, from the
METHODS                                             before the law took effect, as a fraction of       Current Population Survey microdata avail-
    We conducted a pooled, cross-sectional,         months the law was in effect in its ﬁrst year,     able through the Integrated Public Use
time-series analysis across a 50-state panel to     and as “1” for all subsequent years. We            Microdata Series.43 We obtained census re-
examine the average effect of RTC ﬁrearm            ascertained effective dates for all laws through   gions,3 stratiﬁed into Northeast, Midwest,
laws on ﬁrearm WPHs from 1992 to 2017               legal research and checked them against            West, and South, from the US Census Bu-
in the United States. We also conducted a           existing literature for accuracy22,24,26 (see      reau.31 We tested but ultimately excluded
random-effect meta-analysis to produce              Table A, available as a supplement to the          percentage of the state reporting being
state-speciﬁc effect sizes. We used a gener-        online version of this article at http://          White3 and percentage of the state reporting
alized linear mixed model with a negative           www.ajph.org, for effective dates).                being aged 65 years or older3 because of lack
binomial distribution for both estimations.             We included several state-level covariates     of signiﬁcant relationship with the outcome.
                                                    potentially associated with the relationship       (See Table B, available as a supplement to
                                                    between workplace homicides and RTC                the online version of this article at http://
Variables and Data Sources                          laws. A priori variables selected for inclusion    www.ajph.org, for correlation matrix with
   Our dependent variable was counts of             were a proxy measure for household gun             state-level demographic covariates.)
ﬁrearm WPHs by state and year. We                   availability,27,28 state ﬁrearm homicide
obtained these data via public data request         rate,11,12,17 state expenditure on law en-         Analysis
from the Census of Fatal Occupational In-           forcement,17,21,29 the percentage of the              To evaluate the average effect of having
juries (CFOI), maintained by the Bureau of          population living in a metropolitan statistical    an RTC law and the state-speciﬁc effect of

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passing an RTC law on ﬁrearm WPHs, we               impact (Lott and Mustard model). We                                      during the study period.16 The IRRs pro-
used a generalized linear mixed model               modeled the impact of RTC laws in this                                   duced by the interaction terms represented
specifying a negative binomial distribution,        fashion to mirror Lott and Mustard’s effect                              the ratio of incidence rates comparing after
clustered robust sandwich estimators of the         modeling from 1997.13                                                    implementation to before implementation
variance within each state, and state and year   2. We restricted the average effect model to                                for a given state. We conducted all statistical
ﬁxed effects. We used the natural log of            the years 1998 to 2017.11,44                                             analyses with Stata version 15.0 (StataCorp
number of employed persons as our pop-           3. We modiﬁed the average effect model to                                   LP, College Station, TX).
ulation offset, interpreting results as             exclude all variables related to violent                                     State and year indexed public data requests
incidence rate ratios (IRRs). We included           crime that could potentially confound the                                from CFOI contain a potential limitation. In
all variables and ﬁrearm laws in both the           outcome (Lean model).44                                                  accordance with federal–state cooperative
average effect and the state-speciﬁc effect      4. We restricted the Lean model to the years                                agreements with all 50 states, BLS releases
model. We speciﬁed an independent                   1998 to 2017. We chose to restrict the                                   aggregate data by state–year index when
correlation structure to model the intrastate       models from 1998 to 2017 to address con-                                 counts are 1 or greater unless the state–year
correlation over time. French and Heagerty          founding related to the crack cocaine epi-                               index contains a single death and that death
found a heterogeneous policy effect of              demic. This period also coincides with the                               is not a matter of public record (i.e., CFOI
RTC laws on population-level homicide               total number of WPHs leveling off after                                  conﬁrmed the death through private docu-
rates.16 Thus, we included a random                 steep declines starting in 1994 (Figure 1).
                                                                                                                             ments only).45 For this study, 13 502 of the
intercept term to account for variation in
                                                                                                                             13 866 (97.4%) ﬁrearm WPHs from 1992 to
ﬁrearm WPHs within states and a random           As an additional sensitivity analysis, we in-
                                                                                                                             2017 were included in our data request. Those
slope term for RTC laws to address the law’s     cluded a placebo test of workplace deaths
heterogeneous effect across states.16            related to falls, which includes falls to the same                          13 502 deaths were presented across 900 of the
    We conducted several additional sensi-       level and falls to a lower level.                                           possible 1300 state–year indices (26 years*50
tivity analyses on the average effect model,        We evaluated the state-speciﬁc effect of                                 states). To check whether the missing 2.6% of
which included the following:                    passing an RTC law on ﬁrearm WPHs by                                        data affected our analysis, we ran the average
                                                 ﬁtting the generalized linear mixed model                                   effect analysis in 2 ways: (1) a complete case
1. We assessed the impact of RTC laws in         with (1) 50 state indicator variables and (2)                               analysis, using only the positive integer counts
   the ﬁrst full year they were in effect,       interaction terms between RTC laws and                                      provided in the data request, and (2) as a total
   modeling a delayed effect for the laws’       each of the 25 states that passed an RTC law                                population analysis, assuming all censored state

      a                                                                           b
                   1000                                                                                          10
                                                          Northeast                                                                                      Northeast
                                                          Midwest                                                                                        Midwest
                                                          South                                                                                          South

                    800                                   West                                                                                           West
                                                                                                                  8
                                                                                  Rate per 1 Million Employees




                                                          National total                                                                                 National average
    Total Number




                    600
                                                                                                                  6


                    400

                                                                                                                  4


                    200

                                                                                                                  2

                     0

                          1992   2000    2005      2010                    2017                                       1992     2000        2005        2010             2017

                                        Year                                                                                             Year



 FIGURE 1—Firearm Workplace Homicide (a) Total Counts and (b) Average Rates: United States, 1992–2017


                                                                                                                                                       Exhibit D
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and year data points to be “0,” ignoring the            greater rates compared with non-RTC states.              with 26.6% higher ﬁrearm WPH rates com-
censored 2.6% of data.                                  The 95% conﬁdence intervals (CIs) for the                pared with non-RTC states (95% CI = 1.12,
                                                        average effect for the CCA (1.14, 1.45)                  1.42). Restricting the average-effect model
                                                        and the TPA (1.16, 1.54) were similar,                   to 1998 to 2017 maintained a signiﬁcant
RESULTS                                                 suggesting comparable spreads around each                relationship between RTC laws and ﬁrearm
                                                        model’s effect size. No other ﬁrearm policies            WPHs (IRR = 1.21; 95% CI = 1.02, 1.43).
   Figure 1 displays the national and regional
                                                        displayed signiﬁcant associations with ﬁre-              When the model excluded variables that
trends of ﬁrearm WPH counts and rates per
                                                        arm WPH rates across both types of analyses.             could potentially confound the relationship
1 million employees. The total number of
ﬁrearm WPHs dropped precipitously from
                                                            The coefﬁcients for region displayed                 between ﬁrearm WPH and RTC laws
                                                        large differences across analysis methods. For           (Lean model), we found RTC states had a
1992 to 1998, and has been gradually
                                                        example, Southern states showed no signiﬁ-               33.4% greater rate of ﬁrearm WPHs (95%
declining over the past 20 years (Figure 1).
                                                        cant differences in ﬁrearm WPH rates com-                CI = 1.11, 1.59). Restricting the Lean
Firearm WPH rates also sharply declined in
                                                        pared with Northeastern states in the CCA, yet           model from 1998 to 2017 displayed
the beginning years of this study, with a more
                                                        were associated with 10.378 times greater rates          signiﬁcant relationships between RTC
gradual decline starting at the turn of the
                                                        of ﬁrearm WPH rates in the TPA. We elected               states and increased ﬁrearm WPH rates
21st century. Southern states accounted for
                                                        to use the CCA to conduct our sensitivity
the largest portion of ﬁrearm WPH counts                                                                         (IRR = 1.26; 95% CI = 1.06, 1.49).
                                                        analyses and to produce state-speciﬁc effects
in almost every year and were above the                                                                          Fall-related workplace deaths, used as a
                                                        as it had a more conservative estimate of the
national average rate in every year. Table C                                                                     negative control, were not associated with
                                                        relationship between RTC laws and ﬁrearm
(available as a supplement to the online version                                                                 any of the included state ﬁrearm laws
                                                        WPHs with a slightly smaller 95% CI
of this article at http://www.ajph.org) pro-                                                                     (IRR = 1.02; 95% CI = 0.94, 1.10).
                                                        compared with the TPA.
vides the counts and rates of ﬁrearm WPHs
by state and year.
   Table 1 presents the average effect size of          Sensitivity Analyses                                     State-Speciﬁc Effects
RTC laws and 6 other laws on ﬁrearm WPHs.                  The sensitivity analyses for the average                  Our examination of state-speciﬁc effects of
In the complete case analysis (CCA), states             effect model displayed similar, signiﬁcant as-           passing an RTC law suggested similar ﬁndings
with RTC laws had 1.29 times greater rates of           sociations between RTC laws and ﬁrearm                   to the average effect of having an RTC over
ﬁrearm WPH when we controlled for all                   WPH incidence (Table 2). When the effect                 the study period. Figure 2 displays the IRRs
other confounders. In the total population              of state laws was modeled with the Lott and              associated with passing an RTC law for the 25
analysis (TPA), RTC states had 1.34 times               Mustard method, RTC laws were associated                 states that did so between 1992 and 2017 (see

 TABLE 1—Effect of State Firearm Policies on Firearm-Related Workplace Homicides, All 50 States: United States, 1992–2017

                                                            Complete Case Analysis (State–Year Indices = 900),     Total Population Analysis (State–Year Indices = 1300),a
                                                                            IRR (95% CI)                                               IRR (95% CI)
State ﬁrearm laws
  Right-to-carry                                                             1.29 (1.14, 1.45)                                        1.34 (1.16, 1.54)
  Permit-to-purchase                                                         0.97 (0.77, 1.21)                                        0.98 (0.81, 1.18)
  Parking lot laws                                                           1.04 (0.87, 1.23)                                        0.96 (0.80, 1.15)
  Stand your ground                                                          0.94 (0.81, 1.08)                                        0.91 (0.76, 1.07)
  Domestic violence restraining order—dating partners                        1.00 (0.89, 1.12)                                        0.99 (0.87, 1.13)
  Domestic violence restraining order—ex parte orders                        0.91 (0.78, 1.05)                                        0.91 (0.78, 1.04)
  Violent misdemeanor                                                        1.10 (0.96, 1.24)                                        1.12 (0.96, 1.30)
Region (Ref: Northeast)
  Midwest                                                                   1.18 (0.46, 2.90)                                        10.38 (4.34, 24.82)
  West                                                                      0.68 (1.03, 8.72)                                         5.80 (3.79, 8.87)
  South                                                                     1.11 (0.83, 3.56)                                         0.39 (0.33, 0.44)

Note. CI = conﬁdence interval; IRR = incidence rate ratio. The model also included state and year ﬁxed effects; homicide rate; law enforcement expenditure
linearly interpolated for 2016 and 2017; household ﬁrearm availability as a ratio of ﬁrearm suicides to total suicides; percentage population Black, married, living
in a metropolitan statistical area, living in poverty, part of a union, and graduated high school; household median income; and percentage of workers in the retail
sector. The model used the natural log of employment as its population offset, random intercepts for between-state workplace homicides, and random policy
effect of right-to-carry laws. Within-state correlation was structured as independent, and robust standard errors were clustered by state. We generated
estimates via a public data request from the Bureau of Labor Statistics’ Census of Fatal Occupational Injury data. The views expressed here do not necessarily
reﬂect the views of the Bureau of Labor Statistics. Included in the initial analysis, but ultimately not used because of lack of correlation was percentage of
the population White and percentage of the population aged 65 years or older (see Table B, available as a supplement to the online version of this article
at http://www.ajph.org, for correlation matrix).
a
  50 states by 26 years.

                                                                                                                                             Exhibit D
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 TABLE 2—Sensitivity Analyses of Relationship Between Right-to-Carry Laws and Firearm-Related Workplace Homicides in the United States,
 Using Complete Case Analysis: 1992–2017

                                                                                                 Sensitivity Models
                                Lott and Mustard Model,a     Average-Effect Model, 1998–2017,b       Lean Model,c       Lean Model, 1998–2017,      Occupational Deaths by Falls,d
State Firearm Laws                     IRR (95% CI)                    IRR (95% CI)                  IRR (95% CI)            IRR (95% CI)                   IRR (95% CI)
Right-to-carry                      1.27 (1.12, 1.42)                1.21 (1.02, 1.43)              1.33 (1.11, 1.59)      1.26 (1.06, 1.49)               1.02 (0.94, 1.10)
Permit-to-purchase                  0.92 (0.72, 1.18)                1.03 (0.87, 1.21)                    ...                    ...                       0.94 (0.68, 1.03)
Parking lot laws                    1.07 (0.91, 1.26)                1.01 (0.84, 1.22)                    ...                    ...                       0.94 (0.89, 1.26)
Stand your ground                   0.93 (0.80, 1.06)                0.94 (0.80, 1.09)                    ...                    ...                       0.98 (0.79, 1.07)
Domestic violence restraining       1.01 (0.91, 1.12)                0.95 (0.81, 1.10)                    ...                    ...                       1.01 (0.91, 1.16)
 order—dating partners
Domestic violence restraining       0.91 (0.78, 1.04)                1.01 (0.90, 1.15)                    ...                    ...                       1.00 (0.77, 1.04)
 order—ex parte orders
Violent misdemeanor                 1.09 (0.96, 1.23)                1.07 (0.93, 1.24)                    ...                    ...                       1.07 (0.92, 1.24)

Note. CI = conﬁdence interval; IRR = incidence rate ratio. Where else noted, the models also include state and year ﬁxed effects; homicide rate; law enforcement
expenditure linearly interpolated for 2016 and 2017; household ﬁrearm availability as a ratio of ﬁrearm suicides to total suicides; percentage population Black,
married, living in a metropolitan statistical area, living in poverty, part of a union, and graduated high school; household median income; and percentage of
workers in the retail sector. The model used the natural log of employment as its population offset, random intercepts for between-state workplace homicides,
and random policy effect of right-to-carry laws. Within-state correlation was structured as independent, and robust standard errors were clustered by state.
Estimates were generated by authors via a data request from the Bureau of Labor Statistics’ Census of Fatal Occupational Injury data. The views expressed here
do not necessarily reﬂect the views of the Bureau of Labor Statistics.
a
  All laws coded 1 in the ﬁrst full year of implementation.13 For law-effective date, see Table A, available as a supplement to the online version of this article at
http://www.ajph.org.
b
  1998 represents the ﬁrst year that declines in ﬁrearm workplace homicides leveled off (Figure 1). It also represents a cut point to reduce bias from the violent
crack cocaine epidemic.
c
 Other gun policy variables, household gun availability, homicide rate, and law enforcement expenditure withheld because of potential confounding.
d
  Census of Fatal Occupational Injuries deaths related to falls include fall to same level and fall to lower level.


Table A, available as a supplement to the online           policy effects, states with RTC laws experi-                  their study conducted with North Carolina
version of this article at http://www.ajph.org,            enced higher ﬁrearm WPH incidence rates                       occupational death data from 1994 to 1998,
for states and law passage dates). The overall             than did non-RTC states. States that had an                   Loomis et al. found that workplaces that
IRR associated with passing an RTC law was                 RTC law between 1992 and 2017 experi-                         allowed employee access to ﬁrearms had
1.24 (95% CI = 1.09, 1.40). Thirteen of the 25             enced 29% greater rates of ﬁrearm WPHs. The                   5-fold greater WPH incidence.6 As 25 states
states that passed an RTC law had signiﬁcantly             25 states that passed an RTC law from 1992 to                 have passed RTC laws over the past 26 years
higher incidence of ﬁrearm WPH after                       2017, on average, experienced 24% greater                     and as ﬁrearm WPHs have become primarily
implementation (Arkansas, Illinois, Kansas,                rates in ﬁrearm WPH incidence after law                       interpersonal crimes,9 the strength of re-
Kentucky, Louisiana, Minnesota, Missouri, New              implementation (Figure 2) despite the overall                 lationship we found is plausible; it is more
Mexico, Oklahoma, South Carolina, Tennessee,               rate of ﬁrearm WPHs decreasing over the study                 likely that conﬂicts in workplaces, whether
Virginia, and Wisconsin) while 4 states had sig-           period (Figure 1). That our ﬁndings of the                    between co-workers or ex–co-workers and
niﬁcantly lower rates of ﬁrearm WPH (Alaska,               association between RTC laws and greater                      customers–employees or those known to the
Arizona, Iowa, and Nebraska) and 7 states did not          incidence of ﬁrearm WPH remained over                         employee, end fatally as access to lethal means
have signiﬁcant changes (Colorado, Michigan,               several sensitivity analyses adds greater plausi-             has increased.
Nevada, North Carolina, Ohio, Texas, and                   bility to the observed relationship.                              As we consider the impact of RTC laws
Utah). Wyoming did not have sufﬁcient pre–                     Our results are consistent with more recent               and the consequences of increased ﬁrearm
post data to produce a state-speciﬁc estimate.             and robust examinations of the impact of                      exposure in general, we must consider the
                                                           RTC laws, which suggest that these laws are                   impact on worker safety. Lawmakers con-
                                                           associated with higher rates of violent                       sidering the issue of state reciprocity for RTC
DISCUSSION                                                 crime.11,12,17 However, the strength of the                   laws should consider information provided
   This study represents the ﬁrst study, to our            relationship between RTC laws and our vi-                     here. We demonstrated that RTC laws are
knowledge, to examine the relationship be-                 olent crime outcome is notably higher than                    associated with increased ﬁrearm WPH
tween RTC laws and ﬁrearm WPH incidence.                   that in previous studies. We hypothesize that                 rates. Thus, mandating state reciprocity for
Our results indicate that, regardless of longi-            the strong relationship is attributable in part to            RTC laws could have a negative impact on
tudinal methodology, and when we controlled                exposure of ﬁrearms in the workplace and the                  worker safety. Mandating that states with
for a range of covariates and heterogenous                 nature of WPH as a subset of homicides. In                    stringent concealed carry permitting laws

                                                                                                                                                      Exhibit D
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                                                                            IRR (95% CI)      % Weight    workplace can be prone to misclassiﬁcation,
                                                                                                          underestimating the true count. As with
                            AK (1994)                                     0.54 (0.43, 0.69)     4.41
                            AZ (1994)                                     0.81 (0.69, 0.95)     4.41      most studies of the effect of state laws, there is
                            AR (1995)                                     2.11 (1.84, 2.42)     3.93      potential for selection bias and omitted
                            CO (2003)                                     0.97 (0.86, 1.09)     4.45
                              IL (2013)                                   1.21 (1.02, 1.44)     4.20
                                                                                                          variable bias. Controlling for state-level
                             IA (2011)                                    0.72 (0.61, 0.85)     4.44      factors across time that may have prompted
                            KS (2007)                                     1.31 (1.10, 1.56)     4.14      the enactment of state laws reduces the
                            KY (1996)                                     1.28 (1.13, 1.46)     4.32
                            LA (1996)                                     1.37 (1.11, 1.69)     3.94      potential inﬂuence of selection bias. To
                            MI (2001)                                     1.08 (0.91, 1.29)     4.26      address omitted variable bias, we used state
                           MN (2003)                                      1.66 (1.32, 2.08)     3.59      and year ﬁxed effects to account for un-
                           MO (2004)                                      1.73 (1.43, 2.09)     3.76
                            NE (2007)                                     0.58 (0.50, 0.66)     4.50      accounted time-invariant factors and state-
                            NV (1995)                                     0.86 (0.74, 1.00)     4.41      invariant factors.
                           NM (2004)                                      1.36 (1.22, 1.52)     4.36          It is also important to note that CFOI only
                            NC (1995)                                     1.21 (0.99, 1.49)     4.07
                           OH (2004)                                      1.10 (0.98, 1.23)     4.43      presents data on workers, meaning non-
                            OK (1996)                                     1.39 (1.26, 1.55)     4.38      employees could have been killed during a
                            SC (1996)                                     1.28 (1.13, 1.44)     4.35      WPH event and are not accounted for in
                            TN (1996)                                     1.65 (1.48, 1.84)     4.28
                            TX (1996)                                     0.95 (0.79, 1.15)     4.28      these data. As such, our results likely un-
                            UT (1995)                                     1.15 (0.93, 1.43)     4.07      derestimate the true effect of these policies as
                            VA (1995)                                     2.02 (1.64, 2.49)     3.41
                                                                                                          it does not fully account for the total number
                            WI (2011)                                     2.12 (1.78, 2.53)     3.59
         Overall (I2 = 95.2%; P < .001                                    1.24 (1.09, 1.40)   100.00      of deaths related to violent crime in the
                                                                                                          workplace.
                                                           1.24                                               Historical bias is always a potential threat to
                                                0.0      1.0      2.0
                                                                                                          internal validity within panel data analysis.
                                          Incidence Rate Ratio                                            However, several of our sensitivity analyses
Note. CI = conﬁdence interval; IRR = incidence rate ratio. Weights are from random effects analyses.
                                                                                                          excluded data before 1998, avoiding potential
Wyoming was not included because of no pre–post law implementation data.14                                confounding with the crack cocaine
                                                                                                          epidemic, with the relationship between
 FIGURE 2—Impact of a Passing a Right-to-Carry Law on Firearm Workplace Homicides:
                                                                                                          RTC laws and ﬁrearm WPH holding
 United States, 1992–2017
                                                                                                          signiﬁcant.
                                                                                                              We were unable to include an important
                                                                                                          sensitivity analysis that used nonﬁrearm
                                                                                                          workplace homicides as an outcome.
allow individuals from states with less                  the available data, and as a TPA, setting the
                                                                                                          This is because of data availability. As ﬁrearms
stringent or nonexistent concealed carry                 censored data equal to “0.” Thus, the TPA
                                                                                                          are the mechanism of death in around
permitting laws to carry a concealed                     likely underestimates the true incidence of
                                                                                                          80% of WPH, there were not enough
weapon likely places employees at increased              ﬁrearm WPHs. However, the coefﬁcient
                                                                                                          accessible data under CFOI data publish-
risk of death.                                           estimates for the relationship between RTC
                                                                                                          ability rules to conduct this type of sensitivity
    Future research should further the                   laws and ﬁrearm deaths were similar across
                                                                                                          analysis.
understanding of ﬁrearm exposure in the                  both analysis types, with the TPA displaying a
workplace. In general, RTC laws allow                    larger coefﬁcient compared with the CCA.
private employers to prohibit customer                   Therefore, we are conﬁdent that the esti-
and employee ﬁrearms from their premises.25
                                                                                                          Conclusions
                                                         mates produced by the CCA model are                 This study ﬁlls an important knowledge
The penetration of these prohibitions and                unaffected by the 2.6% of censored data and      gap by producing the ﬁrst estimates, to our
whether businesses that prohibit gun                     are likely conservative estimates of the re-     knowledge, of the effect of state ﬁrearm
carrying succeed in enforcing this option is             lationship between RTC laws and ﬁrearm           laws on ﬁrearm WPH incidence. We
not known. Answers to these questions will
                                                         WPHs.                                            found, overall, that RTC laws were
further the knowledge base around the im-
                                                             While CFOI provides the most com-            associated with approximately a 29% increase
pact of ﬁrearm exposure on violent workplace
                                                         prehensive accounting of fatal occupational      in the risk of ﬁrearm WPH. The ongoing
deaths.
                                                         injuries, it contains reporting limitations.     conversation over RTC laws’ impact on
                                                         CFOI does not contain information on             safety does not consider workers. As our study
Limitations                                              potential confounding factors such as life-      shows, states with RTC laws have greater
   This study is not without limitations. The            style or work conditions.46 Although CFOI        expected ﬁrearm WPHs. There is reason
nature of CFOI data request created the need             uses at least 2 documents to verify death        to introduce worker safety into the
to perform the analysis as a CCA, using only             characteristics, homicides that occur in the     conversation.

                                                                                                                                   Exhibit D
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           ISSN: (Print) (Online) Journal homepage: https://www.tandfonline.com/loi/rjqy20




     Comparing the Impact of Household Gun
     Ownership and Concealed Carry Legislation on
     the Frequency of Mass Shootings and Firearms
     Homicide

     Emma E. Fridel

     To cite this article: Emma E. Fridel (2021) Comparing the Impact of Household Gun Ownership
     and Concealed Carry Legislation on the Frequency of Mass Shootings and Firearms Homicide,
     Justice Quarterly, 38:5, 892-915, DOI: 10.1080/07418825.2020.1789693

     To link to this article: https://doi.org/10.1080/07418825.2020.1789693




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         https://doi.org/10.1080/07418825.2020.1789693




         Comparing the Impact of Household Gun Ownership and
         Concealed Carry Legislation on the Frequency of Mass
         Shootings and Firearms Homicide
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             ABSTRACT                                                                     ARTICLE HISTORY
             Although mass shootings have fueled calls for large-scale changes            Received 5 May 2020
             in gun ownership and concealed carry legislation over the past               Accepted 25 June 2020
             thirty years, few studies have evaluated whether permissive gun
             policies actually deter mass shootings, and none have determined             KEYWORDS
             if their effects are the same on firearms homicide in general. This          Mass shootings; firearms
                                                                                          homicide; gun ownership;
             study examines the impact of household gun ownership and con-                concealed carry
             cealed carry legislation on annual counts of mass shootings and
             firearms homicides in the United States from 1991 to 2016.
             Negative binomial regressions with fixed effects and generalized
             estimating equations (GEE) indicate that mass shootings dispro-
             portionately occur in states with higher levels of gun ownership,
             while firearms homicide rates are higher in permissive concealed
             carry states. As the two crimes do not respond to changes in gun
             ownership and concealed carry legislation in the same way, law-
             makers must contextualize mass shootings as a small, unique part
             of overall gun violence when considering policy interventions.




         Introduction
         Gun violence is a major public health crisis in the United States: nearly 40,000 resi-
         dents die from suicide, homicide, and accidents involving firearms annually, making a
         single year of gun-related deaths equivalent to casualties from the Korean War (Cook,
         Moore, & Braga, 2011). In particular, firearms homicide accounted for 14,542 deaths in
         2017 (Centers for Disease Control & Prevention, 2019), representing over 75% of all
         homicides, and the United States’ firearms homicide rate is 25.2 times greater than
         that of similar high-income nations (Grinshteyn & Hemenway, 2016).
            Mass shootings represent the epitome of the firearms violence epidemic. Defined
         as the killing of four or more individuals (excluding the offender) with a firearm within
         24 hours, mass shootings occur 23 times a year on average and account for less than
         1% of all homicides in the United States (Fridel, 2017; Krouse & Richardson, 2015).
         Despite their rarity, mass shootings have fueled moral panics, inspired social move-
         ments like March for Our Lives, and sparked calls for policy change on both sides of

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         the political aisle. Nearly 80% of American adults experience stress related to mass
         shootings, and approximately one third avoid certain places and events due to their
         fear of victimization (American Psychological Association, 2019).
             Despite the ubiquity of gun violence in the United States, widespread fear of mass
         shootings in particular has disproportionately influenced the public discourse on fire-
         arms ownership and legislation. Although household gun ownership has been declin-
         ing since the early 1990s (Smith & Son, 2015), gun purchases and permit applications
         spike dramatically in the wake of infamous mass shootings (Liu & Wiebe, 2019;
         Wallace, 2015), especially among individuals with no history of firearms ownership
         (Studdert, Zhang, Rodden, Hyndman, & Wintemute, 2017). In 2019 alone, 13% of
         Americans surveyed purchased a weapon to protect themselves against mass shoot-
         ings, with an additional 16% seriously considering the option (Brenan, 2019).
             Aside from influencing individual gun-purchasing behavior, mass shootings are often
         used to garner support for more restrictive or permissive firearms laws. For example,
         one study found each incident increased the number of firearm bills introduced in any
         given state’s legislature by 15% (Luca, Malhotra, & Poliquin, 2019). One of the most
         widely discussed—and most widely implemented—policies to prevent mass shootings
         is permissive concealed carry legislation. Suzanna Gratia Hupp famously called for fewer
         restrictions on concealed carry, arguing that she could have stopped the 1991 massacre
         at Luby’s cafeteria in Killeen, Texas if she were not legally obligated to leave her firearm
         locked in her car (Hupp, 2009). Over twenty years later, Wayne LaPierre of the National
         Rifle Association (NRA) pithily reiterated Hupp’s argument following the 2012 Sandy
         Hook Elementary School shooting, stating “The only thing that stops a bad guy with a
         gun is a good guy with a gun” (National Public Radio, 2012). Indeed, 56% of Americans
         believe that increased gun-carrying in public makes the nation safer (Newport, 2015).
         State laws have changed along with public opinion: while only 15 states maintained
         permissive concealed carry policies in the early 1990s, that number increased to 41
         states as of 2018 (Siegel, Pahn et al. 2017).
             Despite these large-scale changes in gun purchasing and carrying behavior, it
         remains unclear if these measures are an effective deterrent, as few studies have
         empirically examined the impact of gun ownership and/or concealed carry legislation
         on the frequency of mass shootings (Duwe, Kovandzic, & Moody, 2002; Lin, Fei,
         Barzman, & Hossain, 2018; Lott & Landes, 2000; Reeping et al., 2019; Webster,
         McCourt, Crifasi, Booty, & Stuart, 2020). Even further, research has yet to determine
         whether the effects of gun ownership and concealed carry legislation vary for mass
         shootings and firearms homicide. Doing so is critical, given that these extreme inci-
         dents disproportionately shape the gun control policies that influence the thousands
         of firearms homicides committed in the United States each year. Ultimately, broaden-
         ing our understanding of the relationship between guns and homicide is crucial for
         combating moral panics, developing effective crime control policies, and dispelling
         public fear and old stereotypes. To address this gap in the literature, the present study
         utilizes cross-sectional panel models and generalized estimating equations (GEE) to
         compare the impact of household gun ownership and concealed carry legislation on
         the incidence rate of mass shootings and firearms homicide in the 50 U.S. states from
         1991 to 2016. The study begins with a discussion of previous empirical work on gun

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         ownership, firearms homicide, and mass shootings before turning to the literature on
         concealed carry legislation.


         Literature review
         Household gun ownership
         Scholars have long debated the link between the homicide rate and prevalence of
         gun ownership (Hepburn & Hemenway, 2004; Kleck, 1997; Kleck & Hogan, 1999). Some
         argue that guns have a positive relationship with homicide as they are more lethal in
         comparison to other weapons, increasing the likelihood of an assault becoming a mur-
         der (Zimring, 1968, 1991, 1972). Due to their psychological association with power,
         firearms may also subconsciously prime the individuals who wield them to act more
         aggressively (Anderson, Benjamin, & Bartholow, 1998; Berkowitz & Lepage, 1967;
         Bartholow, Sestir, & Davis, 2005; Killias & Haas, 2002; Bettencourt & Kernahan, 1997).
         Guns can also serve as the great equalizer, emboldening smaller, weaker aggressors to
         attack stronger victims whom they may not have been able to overpower otherwise
         (Kleck & Hogan, 1999). Assailants may be more likely to use lethal force with a firearm
         as they can be used at a distance, allowing offenders to be physically and psycho-
         logically removed from their actions (Wolfgang, 1958).
             In contrast, the relative lethality of firearms may serve as an effective deterrent to
         homicide in certain situations. Perpetrators with a specific goal such as robbery may
         employ guns to threaten their victims into compliance, thus decreasing the likelihood
         of conflict. The threat of lethal force may also give pugnacious opponents a socially
         acceptable means of retreat, deescalating the conflict. Merely wielding a gun may also
         satisfy assailants who seek to establish dominance or control over their victims, pre-
         cluding the need to use the weapon; armed attackers are automatically in a superior
         position to their opponents, a goal that might be impossible in the absence of a gun
         (Kleck & Hogan, 1999). Similarly, some studies have shown that the dire consequences
         of gun usage serve to reduce aggression for both parties involved in a dispute
         (Hindelang, 1976; Kleck, 1997). In this way, the presence of a gun reduces the situation
         into an all-or-nothing scenario, with two extreme choices: kill or do not attack at all.
         As most individuals involved in potentially lethal conflicts do not necessarily intend to
         commit murder, firearms in the majority of such incidents would decrease the likeli-
         hood of an attack (Kleck & Hogan, 1999). Particularly relevant to mass murder, poten-
         tial offenders may also be less likely to attempt a crime when there is a possibility
         their victim is armed with a firearm (Lott, 2000).
             Despite these competing theoretical rationales, prior research has consistently
         shown that gun ownership rates are positively associated with the firearms homicide
         rate. Time series analysis of firearm availability at the city (Fisher, 1976; McDowall,
         1991; Newton & Zimring, 1969), county (Duggan, 2001), state (Siegel, Ross, & King,
         2013; Sorenson & Berk, 2001), and regional/national (Kleck, 1979; Miller, Azrael, &
         Hemenway, 2002; Phillips, Votey, & Howell, 1976) levels in the United States show a
         significant, positive relationship between gun ownership and homicide rates, a finding
         replicated in most cross-sectional ecological studies across levels (Lester, 1988; Miller,
         Hemenway, & Azrael, 2007; Seitz, 1972). Similarly, international comparisons utilizing

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         multiple measures of firearms availability have repeatedly found significant positive
         correlations between household gun ownership and both the gun and overall homi-
         cide rate (Hemenway & Miller, 2000; Hemenway, Shinoda-Tagawa, & Miller, 2002;
         Killias, 1993a, 1993b). Even at the individual level, studies have linked household gun
         ownership to an increased risk of homicide victimization (Bailey et al., 1997;
         Cummings, Koepsell, Grossman, Savarino, & Thompson, 1997) and offending (Kleck &
         Hogan, 1999).
             Although the majority of studies find support for this relationship (Hepburn &
         Hemenway, 2004), some scholars question their methods, specifically related to the
         measurement of firearms availability and the potential for reciprocal causation. As
         detailed survey data are frequently unavailable for the desired time period and/or lev-
         els of analysis, many researchers employ gun ownership proxies, including the propor-
         tion of suicides committed with a firearm, subscriptions to gun magazines, guns per
         capita, number of permits or licenses, accident rate, and registration rate (Kleck &
         Hogan, 1999). Even more problematic is the inability of many studies to establish
         causal direction, leading Kleck (1979, pp. 908) to argue “crime is a cause of gun own-
         ership just as gun ownership is a cause of crime.” In most studies, it remains unclear if
         there are more homicides in areas with more guns, or people obtain guns for self-pro-
         tection because they live in dangerous areas. As a result, several studies have either
         found no significant relationship between gun ownership and homicide (Magaddino &
         Medoff, 1984), a positive relationship where homicide rates impact gun ownership but
         not the reverse (Kleck, 1984; Kleck & Patterson, 1993), or even a negative association
         where more guns decrease crime rates (Bordua, 1986; Lott, 2000). In response to these
         criticisms, more recent studies have employed various measures of firearm availability
         and examined the effect of gun ownership on non-firearm homicides, with the find-
         ings remaining robust to these changes (Miller et al., 2007; Siegel et al., 2013). In sum,
         most violence scholars agree with Cook’s (2013, pp. 49) summary of the literature:
         “More guns, more homicides.”
             While guns are often assumed to have a causal impact on the rate of mass shoot-
         ings in the United States, thus far only a few studies have directly tested this assump-
         tion, with mixed results. Using a time series analysis on 344 mass shootings from 1998
         to 2015, Reeping and colleagues (2019) found that a 10% increase in household gun
         ownership was associated with a 35% increase in the incidence rate of mass shootings
         at the state level. The study has been criticized, however, for relying on the FBI’s
         Supplementary Homicide Reports (SHR) to measure annual state mass shooting
         counts. Prior research has consistently shown that the SHR: suffers from a high degree
         of missing data (e.g., the state of Florida); utilizes multiple records for incidents with
         more than 11 victims and/or offenders (thus artificially inflating counts); and creates
         false positives via reporting errors (e.g., four single-victim homicides reported as one
         quadruple homicide) (Loftin, McDowall, Curtis, & Fetzer, 2015; Rokaw, Mercy, & Smith,
         1990; Wiersema, Loftin, & McDowall, 2000). To address some of these concerns,
         Webster et al. (2020) removed duplicate records and supplemented the SHR data with
         cases from the Gun Violence Archive and the Stanford Geospatial Center and Stanford
         Libraries, finding that gun ownership did not significantly influence the mass shooting
         incidence rate. Another analysis using data on mass shootings from Mother Jones

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         similarly failed to find a relationship between gun ownership and mass shooting rates
         (Lin et al., 2018).


         Concealed carry legislation
         The research regarding concealed carry legislation, firearms homicide, and mass shoot-
         ings is even murkier than the literature on household gun ownership. The United
         States has three types of concealed carry laws. The most permissive type of legislation
         is permitless carry, where firearms owners do not need to apply for an additional per-
         mit to carry a concealed weapon. In contrast, “shall-issue” states require individuals to
         apply for a concealed carry permit, but law enforcement has minimal discretion in
         whether to deny an applicant, as long as they meet certain requirements. The more
         restrictive “may-issue” policy also requires an additional permit, but grants law
         enforcement broad discretion in approving or denying an application, even if all pre-
         requisites are fulfilled; individuals may be required to provide a heightened showing
         or establish good cause as to why they need the permit, and may be denied without
         being given a reason why. Although historically, most states maintained restrictive no-
         issue or may-issue policies, the United States has experienced a dramatic shift towards
         more permissive concealed carry legislation over the past thirty years. In the early
         1990s, for example, 35 states were may-issue, 14 were shall-issue, and only Vermont
         allowed permitless carry; in 2016, by contrast, only 9 states were may-issue, 29 were
         shall-issue, and 12 were permitless carry. On average, 7% of the population has a con-
         cealed carry permit, although this figure varies substantially by state (Lott, 2018).
            Proponents of less restrictive right-to-carry laws argue that increased gun-carrying
         by the public serves as general deterrent to violent crime (Lott, 2000). Potential
         offenders may decide, for example, that the costs of crime outweigh the benefits if
         they fear being mortally wounded. Wright and Rossi (1991) found that 39% of con-
         victed felons refrained from committing a crime because they knew or believed that
         their victim was armed. Even when an offender is not deterred from committing the
         crime entirely, armed bystanders may be able to disrupt the attack and mitigate its
         damage. The benefits of more permissive concealed carry legislation are hypothesized
         to be even greater for mass public shootings in comparison to other homicides, as the
         probability that at least one victim has a weapon increases dramatically with crowd
         size (Lott & Landes, 2000).
            In contrast, some scholars posit that more permissive concealed carry legislation is
         an unlikely deterrent, and may actually increase homicide rates. Instead of refraining
         from crime entirely, offenders may simply choose a more vulnerable victim, thus
         resulting in a displacement rather than deterrent effect (Green, 1987; McDowall,
         Lizotte, & Wiersema, 1991). In the same vein, perpetrators often have very limited
         information about whether or not a potential victim is armed, and thus may not
         include this factor in his or her decision-making process. Similarly, criminals may dis-
         miss armed resistance as a minimal risk, given the element of surprise and relatively
         low rate of gun-carrying among the general public (Duwe et al., 2002). Aside from fail-
         ing to decrease the homicide rate, right-to-carry laws may inadvertently encourage
         lethal violence. For example, more permissive concealed carry laws may inadvertently

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         lead to an arms race between the public and criminals, as potential offenders increas-
         ingly carry weapons to protect themselves. Most incarcerated felons cite protection as
         the main reason they carried firearms, and 63% state that they fired their weapon dur-
         ing the commission of the crime in self-defense (Cook, Ludwig, & Samaha, 2009;
         McDowall, 1995; Wright & Rossi, 1991). Increased gun-carrying in public may also indir-
         ectly contribute to violent crime by facilitating gun trafficking and straining police
         resources. Carrying a concealed weapon outside the home increases the likelihood of
         loss or theft, firearms which may subsequently be funneled to criminals via the illegal
         gun market. Donohue and colleagues (2019) suggest that as many as 100,000 firearms
         in the United States are accidently furnished to criminals by legal concealed carry permit
         holders each year. In the same vein, permissive concealed carry laws may hamper crime
         control efforts by the police, who waste valuable time differentiating legal and illegal
         carriers and responding to gun-related accidents (Donohue, Aneja, & Weber, 2019).
            Like the its theoretical underpinnings, the empirical literature examining the relation-
         ship between more permissive concealed carry legislation and crime has been decidedly
         mixed. In their widely-debated study, Lott and Mustard (1997) compared crime rates for
         U.S. counties from 1977 to 1992 using a fixed effects model and found a deterrent
         effect of shall-issue policies, arguing that up to 1,500 homicides could be prevented
         annually by adopting the less stringent law in may-issue states. This study sparked a
         flurry of replication studies, with some finding a decrease in homicides associated with
         more permissive concealed carry (Bronars & Lott, 1998; Gius, 2014; Lott, 2000; Lott &
         Whitley, 2001), an increase in homicides (Ludwig, 1998; McDowall, Loftin, & Wiersema,
         1995; Rosengart et al., 2005), or no effect at all (Aneja, Donohue, & Zhang, 2011;
         Hepburn, Miller, Azrael, & Hemenway, 2004; Kovandzic & Marvell, 2003; Zimmerman,
         2014). In response, the National Research Council reviewed the literature and deter-
         mined that “estimated effects are highly sensitive to seemingly minor changes in the
         model specification and control variables … Thus, the committee concludes that with
         the current evidence it is not possible to determine that there is a causal link between
         the passage of right-to-carry laws and crime rates” (Wellford, Pepper, & Petrie, 2005, p.
         150). More recent research utilizing a longer time period, more control variables, and
         more advanced statistical methods, however, suggests that permissive concealed carry
         laws significantly increase the homicide rate (Crifasi et al., 2018; Donohue et al., 2017;
         Doucette, Crifasi, & Frattaroli, 2019; Siegel et al., 2017).
            Despite the widespread belief that arming the public prevents mass shootings or
         helps to save lives, only three studies have considered the impact of permissive con-
         cealed carry legislation on these rare crimes. Lott and Landes (2000) used data from
         23 states from 1977 to 1997 to evaluate the impact of right-to-carry laws on public
         shootings in which two or more victims were killed or wounded. Employing a series of
         Poisson regressions, the authors found that right-to-carry legislation significantly
         decreased the combined number of killed/wounded victims by 78% and the overall
         number of shooting incidents by 67%. Defining mass murder as the killing of four or
         more victims, Duwe et al. (2002) and Webster et al. (2020) replicated these analyses
         using different methodologies, yet found no evidence of a deterrent effect of right-to-
         carry legislation on either the number of incidents or victims. While all three studies
         represent important contributions to the literature, they suffer from several

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         methodological limitations. Although pioneering at the time, the work of Lott and
         Landes (2000) and Duwe et al. (2002) is over two decades old, uses small samples,
         and only considers public mass shootings (which represent approximately 20% of all
         incidents) (Fridel, 2017). Webster et al. (2020)’s work is similarly laudable for addressing
         these concerns, yet remains limited by its utilization of a notoriously unreliable dataset
         (the SHR) to measure the dependent variable.1


         Current study
         Despite the public’s widespread interest in gun ownership and concealed carry legisla-
         tion in the wake of each massacre, little research has focused on the relationship
         between these factors and the frequency of mass shootings in the United States. The
         few pioneering studies that do directly examine this issue, however, reach opposite
         conclusions and are limited by the lack of reliable data on these rare crimes. Most
         importantly, prior work has failed to ask a crucial question: Do levels of household
         gun ownership and concealed carry legislation impact mass shootings in the same
         way as they do firearms homicide more generally? Implementing policy to address
         rare events is myopic: arguably, the effects of gun policies on two dozen mass shoot-
         ings are only relevant for lawmakers if they are representative of the other 12,000 fire-
         arms homicides committed in the United States each year.
            Addressing these gaps in the literature, the present study builds upon previous
         work by: (1) addressing data quality concerns with a robust mass shooting dataset
         validated by both official and media records; and (2) contextualizing the gun control
         debate by comparing the impact of policies on both mass shootings and firearms
         homicide. Using data from the Centers for Disease Control and Prevention (CDC) Web-
         based Injury Statistics Query and Reporting System (WISQARS) and the expanded USA
         TODAY mass murder database, the current study employs two cross-sectional negative
         binomial regression models to examine the impact of household gun ownership and
         concealed carry legislation on the incidence of mass shootings and firearms homicide
         in the United States from 1991 to 2016.


         Methods
         Data and sample
         This study utilized two separate cross-sectional panel models to predict counts of fire-
         arm homicides and mass shootings in the 50 U.S. states from 1991 to 2016 (N ¼ 1250
         state-years). Data on firearm homicides were derived from the Centers for Disease
         Control and Prevention (CDC) Web-based Injury Statistics Query and Reporting System
         (WISQARS). WISQARS represents an ideal homicide data source as it extracts

         1
          Notably, Webster and colleagues did try to address the gaps in the SHR by appending cases in the Gun Violence
         Archive (GVA) and the Stanford Geospatial Center and Stanford Libraries. However, these data are equally
         problematic, as both sources use different definitions than the one employed in the study (four or more shot yet
         not necessarily killed for GVA, and three or more shot yet not necessarily killed for Stanford). Even further, GVA data
         was only available for a fraction of the time period (2014-2017), and the Stanford data only included public
         mass shootings.

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         information from standardized death certificates directly and has a 99% reporting rate
         across the U.S. (Centers for Disease Control & Prevention, 2019).
            In comparison to homicide, there are no official data sources designed to count mass
         shootings. WISQARS, for example, does not link multiple victims killed in the same inci-
         dent, while the FBI’s SHR suffers from a high degree of missing data, multiple records
         for incidents with large victim counts, and reporting errors. Crowd-sourced databases
         are equally problematic as they often focus exclusively on public mass shootings, lack a
         consistent definition, and are of questionable validity (Fridel, 2017). In order to address
         these challenges, a unique dataset of all mass murders in the United States from 1991
         to 2016 was created. First, a master list compiled all cases included by the SHR, the
         Congressional Research Service (Krouse & Richardson, 2015), USA TODAY (Overberg
         et al., 2016), Gun Violence Archive (GVA), Stanford Geospatial Center and Stanford
         Libraries, Mother Jones, Everytown for Gun Safety, and the New York City Police
         Department report on active shooters (Kelly, 2010). Media accounts, court documents,
         academic journal articles, and available law enforcement records (provided by USA
         TODAY’s Freedom of Information Act requests) were then utilized to validate each inci-
         dent. Additional media searches were also conducted using Newspapers.com and
         LexisNexis to identify missing cases not included in any of the other datasets. To date,
         this represents the most comprehensive and accurate database available on mass shoot-
         ing incidents in the United States, with a total sample size of 592 mass shootings during
         the study period. The SHR, for example, missed 157 validated incidents (after excluding
         the state of Florida and removing duplicate records) and included an additional 135
         erroneous cases that could not be corroborated by other sources.
            Annual state-level data on key independent and control variables were appended
         from multiple sources (detailed in Table 1), including the: U.S. Census Bureau Current
         Population Survey; U.S. Bureau of Labor Statistics; National Vital Statistics System; CDC’s
         WISQARS and Wide-ranging Online Data for Epidemiological Research (WONDER);
         National Institute of Alcoholism and Alcohol Abuse; U.S. Fish and Wildlife Service; FBI’s
         Uniform Crime Reports (UCR); U.S. Bureau of Justice Statistics, National Prisoner Statistics
         Data; and Henry J. Kaiser Family Foundation State Mental Health Agency (SMHA).
         Information on firearms legislation over time was provided by the State Firearms Laws
         Database, which used Thomson Reuters Westlaw to track the presence or absence of
         more than 100 firearms provisions by state since 1991 (Siegel et al., 2017).


         Measures
         Study variables are described briefly in this section, while a more description of all
         measures is provided in Table 1, including the definition, data source, and extent of
         missing information for each variable. Table 2 shows descriptive statistics for all varia-
         bles for may-issue states, shall-issue/permitless carry states, and the sample in totality.


         Outcome and key independent variables
         The current study examined two dependent variables, including annual state counts
         of firearms homicide victims and mass shooting incidents. The CDC defines firearms
         homicide as injuries inflicted by another person with intent to injure or kill with a

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         Table 1. Data source for all study variables.
         Variable                         Definition                    Data Source                       Notes
         Firearm homicides     Count of victims                  CDC WISQARS                  Complete panel series
         Mass shootings        Count of incidents with four      Expanded USA TODAY           Complete panel series
                                  or more persons shot to          Mass Murder Database
                                  death within 24 hours, not
                                  including the perpetrator(s)
                                  and unborn children
         Gun ownership         Proportion of suicides            CDC WISQARS and              Complete panel series; data
                                  committed with a gun (ICD        CDC WONDER                   from 1991-1998 is derived
                                  codes X72, X73, and X74)                                      from WISQARS while data
                                                                                                from 1999-2016 is derived
                                                                                                from WONDER
         Concealed carry       1 ¼ Shall issue or permitless     State Firearms               Complete panel series
           legislation           carry; 0 ¼ May issue               Laws Database
                                 (lagged by one year)
         Mental health         Expenditures per capita           The Henry J. Kaiser Family   Data imputed for 1991-1992,
           expenditures          reported in actual dollars        Foundation State             1994-1996, 1998-2000, and
                                                                   Mental Health                2016 for all states;
                                                                   Agency (SMHA)                Arkansas (2011); Florida
                                                                                                (2013); Hawaii (2007); and
                                                                                                New Mexico (2013)
         Divorce rate          Number of divorces and            CDC/NCHS, National Vital     Data imputed for California,
                                 annulments by state of            Statistics System            Colorado (1995-1998);
                                 occurrence per                                                 Connecticut (1991); Georgia
                                 1,000 population                                               (2004-2016); Hawaii (2003-
                                                                                                2016); Illinois (1991);
                                                                                                Indiana; Louisiana (1991-
                                                                                                2001, 2004-2012); Maine
                                                                                                (1996); Minnesota (2005-
                                                                                                2016); Nevada (1991-1993);
                                                                                                New Jersey (1991); New
                                                                                                Mexico (2016); Oklahoma
                                                                                                (1999-2003); and Texas
                                                                                                (1996-1997)
         Unemployment          Percentage of persons aged        U.S. Bureau of Labor         Complete panel series
                                  16 and older in the civilian      Statistics, Local Area
                                  labor force who do not            Unemployment
                                  have a job, are currently         Statistics and Current
                                  available for work, and           Population Survey
                                  have actively looked for
                                  work in the prior four
                                  weeks, or if they are
                                  waiting to be recalled to a
                                  job from which they have
                                  been laid off
         Advantage index       Weighted principal                U.S. Census Bureau,          Education data interpolated
                                  components factor                 Current Population          for 1992
                                  regression score of median        Survey, Annual Social
                                  household income,                 and Economic
                                  education, and poverty.           Supplements (Median
                                  Factor loadings were all          household income); U.S.
                                  above ± 0.70 with a first         Census Bureau,
                                  eigenvalue score of 2.144.        Educational attainment
                                                                    reports and tables from
                                                                    previous years
                                                                    (Education); and U.S
                                                                    Census Bureau,
                                                                    Historical Poverty
                                                                    Tables (Poverty)
         Percent male          Percentage of the population      CDC WONDER Bridged           Complete panel series
                                  that is male                      Race
                                                                    Population Estimates

                                                                                                                  (continued)

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         Table 1. (Continued)
         Variable                         Definition                     Data Source                     Notes
         Percent aged 18-24     Percentage of the population     CDC WONDER Bridged          Complete panel series
                                   aged 18 to 24                   Race
                                                                   Population Estimates
         Alcohol consumption    Per capita alcohol               National Institute of       Data imputed for
                                   consumption among               Alcoholism and              Georgia (2000)
                                   persons aged 14 years           Alcohol Abuse
                                   and older
         Hunting                Number of paid hunting           US Fish and Wildlife        Complete panel series
                                   licenses per 100 persons         Service. Historical
                                   aged 15 or older                 hunting license data.
         Property crime rate    Number of burglaries,            FBI, Uniform Crime          Complete panel series
                                   larcenies, and motor             Reports (UCR)
                                   vehicle thefts per
                                   100,000 population
         Violent crime rate     Number of rapes, assaults,       FBI, Uniform Crime          Complete panel series
                                   and robberies per                Reports (UCR)
                                   100,000 population
         Incarceration rate     Number of sentenced              BJS, National Prisoner      Complete panel series
                                   prisoners with a sentence        Statistics data series
                                   of at least one year per
                                   10,000 population
         Non-firearm homicide   Number of homicide victims       CDC WISQARS                 Complete panel series
           rate                    killed with a weapon other
                                   than a firearm per
                                   100,000 population
         Ethnic heterogeneity   Blau’s (1977) index by           CDC WONDER Bridged          Complete panel series
                                   summing the squared             Race
                                   proportion of the               Population Estimates
                                   population in each racial/
                                   ethnic group and then
                                   subtracting this summation
                                   from 1. The equation for
                                   this measure is as follows:
                                   1 – Rpi2, where pi is the
                                   proportion of the
                                   population in each racial/
                                   ethnic group (White, Black,
                                   Hispanic, Asian, and
                                   American Indian).
         Region                 South, West, Northeast, or       U.S. Census Bureau          Complete panel series
                                   Midwest, as defined by the
                                   U.S. Census


         firearm, excluding injuries due to legal intervention, operations of war, and justifiable
         homicides. As WISQARS does not provide linkage information, firearms homicide was
         measured as a count of victims rather than incidents. However, given that nearly 90% of
         homicides are single-victim incidents (Federal Bureau of Investigation, 2017), this limitation
         is not too serious. Consistent with prior work (Fridel, 2017; Ressler, Burgess, & Douglas,
         1988), mass shootings are defined as the intentional killing of four or more persons
         (excluding the offender and unborn children) with a firearm within a 24-hour period. Less
         than 10% (N ¼ 62) of incidents involved other weapons in addition to a firearm.
             Household gun ownership and concealed carry legislation represented the two pri-
         mary independent variables of interest in this study. Household gun ownership was
         measured using a common proxy, the proportion of suicides committed with a fire-
         arm. This measure has been extensively validated in the prior literature, correlates
         highly with state-specific survey measures, and has been demonstrated as the best

                                                                                                        Exhibit D
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            Table 2. Descriptive statistics for may-issue states, shall-issue/permitless carry states, and all U.S. States, 1992-2016.
                                                                                                                                                                                       902




                                                        May-Issue States                        Shall-Issue/Permitless Carry States                       All States
                                                       N ¼ 445 State-Years                             N ¼ 805 State-Years                           N ¼ 1250 State-Years
            Predictors                     Mean          SD                [Range]          Mean           SD              [Range]         Mean          SD             [Range]
            Firearm homicides             334.50       470.22         [3.00–3183.00]       209.21        233.45         [0.00–1222.00]     257.45      353.24        [0.00–3183.00]
            Mass shootings                  0.49         0.94            [0.00–6.00]         0.40          0.74            [0.00–6.00]       0.44        0.84           [0.00–6.00]
            Gun ownership                  47.36        16.22          [14.29–78.52]        59.08          8.07          [35.81–81.04]      55.15       12.99         [14.29–84.00]
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            Advantage                       0.19         1.07           [-2.64–2.90]       0.05           0.93           [-2.82–3.12]       0.00        1.00          [-2.82–3.12]
            Unemployment                    5.60         1.80           [2.40–12.20]         5.61          1.90           [2.30–13.70]       5.64        1.86          [2.30–13.70]
            Ethnic heterogeneity            0.41         0.14            [0.13–0.67]         0.34          0.16            [0.04–0.64]       0.36        0.16           [0.04–0.67]
            Divorce rate                    3.71         1.30            [1.21–9.17]         4.16          1.08           [1.21–10.40]       4.04        1.20          [1.21–10.40]
            Property crime rate          3693.61      1064.95       [1544.60–7221.40]     3315.28       1003.29       [1406.60–7500.10]   3498.26     1069.05      [1406.60–7500.10]
            Violent crime rate            496.75       211.54        [207.03–1108.86]      384.30        190.81        [65.33–1198.24]     429.19      210.69       [64.25–1198.24]
            Incarceration rate             33.85        11.80           [8.50–67.39]        39.11         15.83           [6.71–88.56]      36.80       14.76          [6.71–88.56]
            Non-firearm homicide rate       2.09         1.07           [0.64–11.71]         1.84          0.81            [0.00–5.95]       1.97        0.96          [0.00–11.71]
            Mental health expenditures     90.72        57.51         [12.76–269.60]        92.55         68.50         [12.76–410.35]      90.79       64.62        [12.76–410.35]
            Alcohol consumption             2.31         0.39            [1.21–4.25]         2.35          0.54            [1.20–4.76]       2.34        0.49           [1.20–4.76]
            Hunting licenses                6.27         5.90           [0.63–46.09]        12.79          9.04           [1.04–43.25]      10.54        8.68          [0.63–46.09]
            Percent male                   48.93         0.74          [47.98–52.64]        49.41          0.77          [47.91–52.37]      49.23        0.80         [47.88–52.64]
            Percent aged 18-24              9.76         0.72           [7.92–12.81]         9.98          0.86           [8.08–14.39]       9.92        0.82         [7.92–14.289]
            Region
               South                        24.72%                                          36.02%                                          32.00%
               Northeast                    28.09%                                          12.42%                                          18.00%
               West                         20.00%                                          29.32%                                          26.00%
               Midwest                      27.19%                                          22.24%                                          24.00%




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         available proxy (Azrael, Cook, & Miller, 2004; Cook & Ludwig, 2006; Kleck, 2004; Siegel
         et al., 2013). Consistent with prior research, concealed carry legislation was operation-
         alized as a binary measure, with shall-issue and permitless carry states coded as 1 and
         may-issue states coded as 0 (Siegel et al., 2017). Laws were lagged by one year to
         ensure that they were in effect when the homicide incidents occurred (Lott & Mustard,
         1997; Siegel et al., 2017).

         Control variables
         The analysis also controlled for a variety of predictors that previous work has shown
         to be significantly related to homicide rates, including: socioeconomic advantage,
         racial/ethnic heterogeneity, unemployment rate, divorce rate, property crime rate, vio-
         lent crime rate (excluding homicide), incarceration rate, non-firearm homicide rate,
         mental health expenditures per capita, alcohol consumption per capita, number of
         hunting licenses per capita, percent male, percent aged 18 to 29, and census region.
         Missing data on mental health expenditures per capita, alcohol consumption per cap-
         ita, and the divorce rate were imputed in STATA 15 with chained equations (N ¼ 10
         imputations).


         Analytical strategy
         This analysis used a cross-sectional panel design to examine the impact of changing
         firearms legislation and ownership over time on both firearms homicide and mass
         shootings. Due to the rarity of mass shooting incidents, both outcomes were meas-
         ured as counts, as often recommended for studying crimes with low base rates
         (Hepburn et al., 2004; Plassmann & Tideman, 2001; Siegel et al., 2017). Overdispersed
         data required the use of negative binomial regression models for both firearms homi-
         cide and mass shootings. The total population of the state was included as an expos-
         ure variable for both models.
             The model also accounted for clustering by year and by state. Year fixed effects (in
         the form of a dummy variable for each cross section from 1991 to 2016 minus one)
         were included to purge the model of cross-sectional bias. Following prior work (Miller
         et al., 2002; Siegel et al., 2017), generalized estimating equations (GEE) was utilized to
         control for clustering within states over time. GEE is a semiparametric, population-
         averaged or marginal approach that treats dependence as a nuisance feature of the
         data (Liang & Zeger, 1986). As GEE requires no assumptions about the distribution, it
         is robust to misspecification of the working correlation matrix, reducing the potential
         for omitted variable bias. Considering that sensitivity to model misspecification was
         one of the National Research Council’s major criticisms of the concealed carry litera-
         ture, GEE is well-suited for this study. An exchangeable (compound symmetry) working
         correlation matrix and robust (Huber-White sandwich estimators) standard errors were
         used to produce consistent point estimates and standard errors even if the working
         correlation matrix is misspecified (Liang & Zeger, 1986).
             Given the large number of related predictor variables, several tests for potential
         multicollinearity were conducted. First, all variance inflation factors (VIF) were under 4,
         well below the traditional threshold of 10, as well as the more rigorous cutoff of 5

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         (Menard, 1995; O’Brien, 2007). Second, a series of regression models for both homicide
         and mass murder counts were estimated without potentially collinear predictors. The
         results remained largely unchanged when: (1) the unemployment and divorce rates
         were included in the advantage index; (2) the hunting licenses per capita variable was
         eliminated from the model; (3) the property crime rate and the non-gun homicide rate
         were excluded; (4) the violent crime rate and the non-gun homicide rate were
         excluded; and (5) the unemployment and divorce rate variables were incorporated in
         the advantage index, and the hunting licenses per capita, property crime rate, and
         non-gun crime rate were excluded from the model. Taken together, the consistency in
         results across models as well as the relatively low VIF values suggest that multicolli-
         nearity is not too serious a concern.


         Results
         Table 3 presents the results of the population-averaged negative binomial regressions
         of gun ownership and concealed carry legislation on firearms homicide and mass
         shootings. Standardized regression coefficients in the form of incidence rate ratios
         (IRR) and 95% confidence intervals are presented to facilitate interpretation. IRRs indi-
         cate the percentage increase or decrease in the outcome incidence rate for every one
         standard deviation increase in the predictor [(IRR  1)  100%].
            Consistent with prior research, firearms homicide was more likely to occur in areas
         with more permissive concealed carry laws, higher levels of racial/ethnic heterogen-
         eity, higher property crime rates, and in Southern states (relative to states in the
         Northeast and West). Specifically, the firearms homicide incidence rate increased by


         Table 3. Population-averaged negative binomial regression of concealed carry legislation on fire-
         arms homicide and mass shootings: United States, 1991-2016.
                                                           Firearms Homicide                     Mass Shootings
         (Standardized) Predictor                    IRR                 95% CI            IRR               95% CI
         Gun ownership                           1.046                [0.978,   1.119]   1.525         [1.199,   1.940]
         Shall-issue or permitless carry         1.108              [1.026,   1.196]   0.881            [0.696,   1.115]
         Advantage                               0.988                [0.925,   1.055]   0.933            [0.769,   1.133]
         Unemployment                            1.010                [0.974,   1.048]   0.987            [0.820,   1.187]
         Ethnic heterogeneity                    1.290             [1.133,   1.469]   1.021            [0.780,   1.336]
         Divorce rate                            0.976                [0.923,   1.032]   0.948            [0.854,   1.053]
         Property crime rate                     1.174             [1.104,   1.248]   1.148            [0.937,   1.408]
         Other violent crime rate                1.037                [0.954,   1.128]   0.987            [0.847,   1.150]
         Incarceration rate                      0.976                [0.895,   1.065]   1.053            [0.901,   1.230]
         Non-firearm homicide rate               1.014                [0.993,   1.035]   1.017            [0.881,   1.173]
         Mental health expenditures              1.003                [0.958,   1.051]   0.949            [0.811,   1.112]
         Alcohol consumption                     1.052                [0.928,   1.192]   0.977            [0.849,   1.123]
         Hunting licenses                        0.987                [0.906,   1.075]   0.842            [0.673,   1.054]
         Percent male                            1.043                [0.915,   1.189]   1.131            [0.858,   1.491]
         Percent aged 18-24                      1.012                [0.981,   1.044]   0.946            [0.797,   1.124]
         Region (reference ¼ South)
            Northeast                            0.553               [0.332, 0.922]     1.417            [0.808, 2.484]
            West                                 0.448             [0.315, 0.637]     1.183            [0.737, 1.898]
            Midwest                              0.731                [0.491, 1.088]     1.441            [0.922, 2.250]
         ABBREVIATIONS: IRR ¼ incidence rate ratio; CI ¼ confidence interval. .
         The results for year fixed effects (not shown) are available upon request.
          p < 0.05  p < 0.01 p < 0.001.


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                                              230


                   Annual Firearm Homicides
                                              220

                                              210

                                              200

                                              190

                                              180

                                              170

                                              160

                                              150

                                              140
                                                    0%   10%   20%    30%   40%   50%   60%   70%   80%    90% 100%
                                                                        Percent Gun Owners

                                                          May-Issue         Shall-Issue/Permitless Carry
         Figure 1. Predicted Annual Firearms Homicide Counts in May-Issue and Shall-Issue/Permitless Carry
         States by Household Gun Ownership: 50 U.S. States, 1991–2016.


         10.8% (CI ¼ 1.026–1.196) in shall-issue or permitless carry states in comparison to their
         may-issue counterparts; this point estimate is within the 95% confidence interval pre-
         sented by Siegel et al. (2017), and thus confirmed their findings. In addition, for every
         one standard deviation increase in racial/ethnic heterogeneity and the property crime
         rate, the firearms homicide incidence rate respectively increased by 29.0% and 17.4%.
         Consistent with the Southern culture of violence hypothesis (Cohen & Nisbett, 1994;
         Nisbett & Cohen, 1996), firearms homicide rates were 44.7% lower in the Northeast
         and 55.2% lower in the West in comparison to the South.
             Figure 1 contextualizes the impact of more permissive concealed carry legislation
         by presenting predicted annual firearm homicide counts for shall-issue/permitless carry
         and may-issue states across levels of household gun ownership. An average state in
         an average year experienced an additional 16 to 22 firearms homicides annually in
         states with more permissive concealed carry laws, an effect that is relatively consistent
         across all levels of gun ownership (tests for an interaction between gun ownership
         and concealed carry legislation were not significant; results available upon request). It
         is interesting to note that although gun ownership was not a significant predictor of
         firearms homicide in the full model (IRR ¼ 1.046, CI ¼ 0.978–1.119), it was positively
         associated with firearms homicide in models (not shown) excluding concealed carry
         legislation (IRR ¼ 1.063, CI ¼ 1.002–1.128). This suggests that the concealed carry legis-
         lation variable may suppress the effects of gun ownership frequently found in previ-
         ous work (results available upon request) (Siegel et al., 2013).
             In comparison to firearms homicide, only one state-level correlate significantly pre-
         dicted mass shootings: gun ownership. Specifically, every one standard deviation
         increase in gun ownership increased the incidence rate of mass shootings by 53.5%
         (CI ¼ 1.199–1.940). Contrary to the common “good guy with a gun” argument, mass

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                                                    5.00    4.67
                                                    4.50


                     Number of Years Between Mass
                                                    4.00

                                                    3.50               3.36

                                                    3.00
                              Shootings

                                                                                  2.41
                                                    2.50

                                                    2.00                                     1.74
                                                    1.50                                                1.25
                                                    1.00

                                                    0.50

                                                    0.00
                                                           Lowest      Low      Average      High      Highest
                                                                    Level of Household Gun Ownership
         Figure 2. Predicted Number of Years Between Mass Shootings By Levels of Household Gun
         Ownership, 50 U.S. States, 1991–2016.
         Note: An average level of household gun ownership is zero standard deviations from the mean;
         lowest and highest levels are 2 standard deviations below and above the mean, respectively; and
         low and high levels are 1 standard deviation below and above the mean, respectively.

         shootings were no more or less likely to occur in areas with more permissive con-
         cealed carry laws (IRR ¼ 0.881, CI ¼ 0.696–1.115).
            To illustrate this finding, Figure 2 presents the predicted number of years between
         mass shootings for states with different levels of household gun ownership (calculated
         as one divided by the predicted annual number of incidents). States with average lev-
         els of gun ownership experienced a mass shooting every 2.41 years; states with the
         highest levels of gun ownership experienced a mass shooting nearly twice as fre-
         quently—every 1.25 years; and states with the lowest levels of gun ownership experi-
         enced a mass shooting almost two times less often—every 4.66 years.2


         Sensitivity analyses
         Various sensitivity analyses were conducted to ensure the validity of the results.
         Findings remained substantively unchanged when: (1) fixed effects for state were
         employed instead of GEE; (2) outcome variables were modeled as rates per 100,000
         population; (3) mass murders were measured as number of victims instead of inci-
         dents; (4) all independent variables were lagged by one year; (5) additional control
         variables were added, including the lagged firearm homicide rate, a binary measure of
         the assault weapons ban (1994-2004), and other “common sense” gun laws often pro-
         posed in the wake of mass shootings (i.e., universal background checks, universal per-
         miting, mandatory waiting periods, prohibitions for violent misdemeanors and
         domestic violence restraining orders, high capacity magazine bans, and the total

         2
          The predicted annual counts of mass shootings were 0.21, 0.30, 0.41, 0.58, and 0.80 for states with the lowest, low,
         average, high, and highest levels of gun ownership, respectively.

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         number of firearms laws). Models using non-firearm homicides and mass murders as
         the outcome found no significant findings in terms of firearm variables, lending cre-
         dence to the results.


         Discussion
         Using a novel dataset, this study represents the first to compare the impact of house-
         hold gun ownership and concealed carry legislation on both firearm homicides and
         mass shootings. More permissive concealed carry legislation was associated with a
         10.8% increase in the firearms homicide incidence rate, yet had no significant effect
         on mass shootings. Similarly, household gun ownership was associated with a 53.5%
         increase in the mass shooting incidence rate, yet has a minimal impact on firearm
         homicides when accounting for concealed carry legislation.
             These findings are not without certain empirical limitations. The low base rate of
         mass shootings: (1) required a count model approach instead of the typical modeling
         of homicide rates; (2) reduced variation in the outcome, as over 70% of state-years
         experienced no incidents; and (3) prevented the examination of specific types of inci-
         dents (e.g., public mass shootings) most likely to be impacted by concealed carry
         legislation. Additionally, using the semi-parametric approach of GEE lowers the model
         power which, in combination with the reduced variation in the number of mass shoot-
         ings, indicates that these results are relatively conservative. Due to the small number
         of permitless carry states, particularly in earlier years, it was not possible to examine
         differences between shall-issue and permitless carry policies (Siegel et al., 2017).
             Finally, although the percentage of suicides committed with a firearm has been vig-
         orously validated as a proxy, this measure does not distinguish between legal and
         illegal gun ownership, which may have disparate effects on violent crime (Stolzenberg
         & D’Alessio, 2000; Dierenfeldt, Brown, & Roles, 2017). The empirical literature remains
         divided as to the relationship between homicide and gun ownership, with scholars
         finding a positive effect of both legal (Semenza, Stansfield, & Link, 2020; Steidley,
         Ramey, & Shrider, 2017) and illegal gun availability (Stolzenberg & D’Alessio, 2000;
         Dierenfeldt et al., 2017) on violent crime rates. As Kleck (1997, p. 215) summarizes, “it
         is possible that gun possession among prospective aggressors [illegal ownership]
         increases lethal violence, while gun possession among prospective victims [legal own-
         ership] reduces it, with no net effect of overall gun ownership levels on violence
         rates.” In this way, the inability to separate legal and illegal gun ownership may par-
         tially explain why gun ownership was not a significant predictor of firearms homicide,
         despite widespread support for this relationship in the literature. Future research
         should attempt to disentangle the effects of legal and illegal gun ownership on fire-
         arms homicide and mass shootings, though the lack of sufficient data on illegal gun
         ownership represents a challenge in this regard (Azrael, Hepburn, Hemenway, &
         Miller, 2017).
             Despite these limitations, this study has important implications for both research
         and policy. First, consistent with some prior work (Reeping et al., 2019), household
         gun ownership is strongly associated with mass shootings at the state level. Equally
         important to note is that other factors often cited in the wake of mass shootings, such

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         as access to mental healthcare, do not significantly influence the rate of these crimes.
         The fact that gun ownership was the only significant macro-level predictor of mass
         shootings provides evidence that guns represent a fruitful target for intervention cur-
         rently validated by research. There are several explanations for the strong relationship
         between levels of gun ownership and mass shooting rates. Guns are incontrovertibly
         quicker and more lethal than most other personal weapons, and therefore increase
         the likelihood of multiple deaths during an assault (Zimring, 1968, 1972, 1991).
         Firearms are also psychologically associated with power and aggression, and thus their
         presence in an argument can trigger aggressive behavior due to this learned associ-
         ation (Anderson et al., 1998; Bartholow et al., 2005; Berkowitz & Lepage, 1967;
         Bettencourt & Kernahan, 1997; Killias & Haas, 2002). Considering that two-thirds of
         mass shootings occur in private residences (Fridel, 2016), easy access to firearms dur-
         ing domestic disputes may facilitate impulsive or unplanned family massacres. Indeed,
         prior research has shown that the risk of dying from homicide or suicide in the home
         is dramatically increased in households with firearms, regardless of gun storage and
         safety practices (Cummings et al., 1997; Dahlberg, Ikeda, & Kresnow, 2004). High levels
         of community gun ownership may also facilitate mass shootings outside the home.
         Approximately three-quarters of school shootings, for example, involve guns stolen
         from the home or from another relative (National Threat Assessment Center, 2019).
         Easy access to weapons stored in cars may similarly provide opportunities for impul-
         sive workplace massacres, like the 2003 shooting at the Lockheed Martin plant in
         Meridian, Mississippi. The greater prevalence of firearms may also indirectly facilitate
         felony-related mass shootings linked to robberies, gang warfare, and drug trafficking,
         which often involve illegally obtained weapons. Criminals otherwise prohibited from
         purchasing firearms are more easily able to steal or obtain guns in communities with
         many gun owners (Duggan, 2001). Areas in which guns are prevalent also tend to
         have a robust secondhand market and host gun shows, both of which are much less
         regulated than federally licensed dealers.
            Second, there is no evidence that permissive concealed carry laws prevent mass
         shootings or mitigate their damage. The lack of a deterrent effect is hardly surprising,
         considering that the vast majority of armed victims fail to defend themselves or
         threaten their attacker during other, more common crimes (Planty & Truman, 2013).
         One study examining homicides in Sweden over a twenty-year period found that only
         0.2% were committed by legal gun owners in self-defense (Killias & Markwalder, 2012).
         In addition, over 60% of mass murders are family killings, and so the majority of vic-
         tims in these cases trust and are not threatened by their attacker (Fridel, 2017). Even
         so, mass shooters who act in public spaces often extensively plan their attacks, pre-
         cluding the impulsive use of a concealed weapon during an argument. Furthermore,
         over one-third commit suicide or suicide-by-cop during the assault, indicating that the
         “good guy with a gun” is unlikely an effective deterrent, and may even be appealing
         for those who want to engage in a firefight (Fridel, 2017). Anecdotal evidence similarly
         suggests that armed citizens rarely stop or prevent mass shootings, as only one active
         shooter incident in the United States from 2000 to 2013 was resolved by an armed
         private citizen (excluding security guards and off-duty law enforcement officers), who
         was notably an active-duty marine; in contrast, 21 incidents were stopped by unarmed

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         citizens without such training during the same time period (Blair & Schweit, 2014).
         Given that nearly half of incidents in which law enforcement officers confronted active
         shooters resulted in police casualties, the “good guy with a gun” is more likely to be
         wounded himself or accidentally kill an innocent bystander than successfully stop a
         mass shooting (Donohue et al., 2017).
             Although permissive concealed carry laws do not impact mass shootings, they sig-
         nificantly increase the firearms homicide rate. Even assuming permit holders are gen-
         erally law-abiding citizens (Lott, 2018), increased gun-carrying in public may indirectly
         contribute to violence through several distinct pathways. Some scholars have sug-
         gested that offenders may use guns more often in states with permissive concealed
         carry laws in order to protect themselves against potentially armed victims. For
         example, Cook and colleagues (2009) found that two-thirds of prisoners incarcerated
         for gun offenses considered the armed status of potential victims as very or somewhat
         important in their choice to use a gun themselves. Increased gun-carrying in public
         also elevates the likelihood of loss or theft, in turn contributing to trafficking and the
         illegal gun market. Approximately 1% of individuals who carry firearms outside the
         home have their weapons stolen (Hemenway et al., 2017), leading to an estimated
         100,000 guns being funneled from concealed carry permit holders to criminals each
         year in the United States (Donohue et al., 2017). Finally, permissive concealed carry
         laws may increase crime by wasting valuable police time and resources as they differ-
         entiate illegal and legal carriers and respond to gun-related accidents; the size of
         police forces in permissive states has increased significantly in comparison to their
         more restrictive counterparts, potentially due to the increased demands on law
         enforcement (Donohue et al., 2017).
             Regardless of the precise mechanism underlying its association with increased fire-
         arm homicide rates, the national trend towards more permissive concealed carry is
         deeply troubling. Since 2007, the number of concealed handgun permits has skyrock-
         eted by 273%, a figure that does not even count those with concealed firearms in per-
         mitless carry states (Lott, 2018). The public health implications are clear: permissive
         concealed carry legislation is a significant contributor to the gun violence epidemic in
         the United States.
             Perhaps the most important finding of this study, however, is that gun ownership
         and legislation do not impact mass shootings and firearms homicides in the same
         way. As a result, policymakers likely need to enact distinct prevention initiatives in
         order to address different types of gun violence. The results of the current study, for
         example, indicate that reducing gun ownership (potentially through universal back-
         ground checks and permit requirements) benefits mass shooting prevention efforts,
         while reinstating more restrictive concealed carry legislation decreases the overall fire-
         arms homicide rate. The fact that neither intervention appears to have a deleterious
         effect on the other crime (e.g., higher levels of gun ownership do not reduce the fire-
         arms homicide rate, and more permissive concealed carry legislation is not associated
         with a reduction in mass shootings) suggests that a two-pronged approach would be
         most beneficial in combating both mass shootings and firearms homicide. Considering
         that other policies not considered here may prevent one type of gun violence while
         promoting another, it is imperative that legislators recognize the distinct correlates of

                                                                                    Exhibit D
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         mass shootings and firearms homicide and consider potential collateral consequences
         before enacting an intervention.


         Conclusion
         In viewing mass shootings as the epitome of gun violence in the United States, policy-
         makers on both sides of the gun control debate fundamentally assume that mass
         shootings are representative of firearms homicide more generally, and therefore that
         strategies to prevent mass shootings will also reduce gun violence overall. The present
         study examines two such interventions—levels of household gun ownership and per-
         missive concealed carry legislation—and finds evidence that mass shootings are poor
         proxies of gun violence more generally. It is imperative that policymakers enact legis-
         lation that will help reduce the thousands of firearms homicides occurring in the
         United States each year, rather than focusing on the rare mass shooting, however tra-
         gic such incidents may be. It is essential that lawmakers and researchers alike properly
         contextualize mass shootings as a small part of the gun violence epidemic, or else risk
         missing the forest for the trees.


         Acknowledgements
         The author would like to thank James Alan Fox, Gregory M. Zimmerman, and Anthony A. Braga
         for their comments on earlier drafts of this manuscript.




         Disclosure statement

         No potential conflict of interest was reported by the author.


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           Justice Quarterly




           ISSN: (Print) (Online) Journal homepage: https://www.tandfonline.com/loi/rjqy20




     The Futility of Shooting Down Strawmen: A
     Response to Kleck (2020)

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     To cite this article: Emma E. Fridel (2021) The Futility of Shooting Down Strawmen: A Response
     to Kleck (2020), Justice Quarterly, 38:5, 925-941, DOI: 10.1080/07418825.2020.1856401

     To link to this article: https://doi.org/10.1080/07418825.2020.1856401




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         2021, VOL. 38, NO. 5, 925–941
         https://doi.org/10.1080/07418825.2020.1856401




         The Futility of Shooting Down Strawmen: A Response
         to Kleck (2020)
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             ABSTRACT                                                                    ARTICLE HISTORY
             In response to my recent article on guns, firearms homicide, and            Received 21 October 2020
             mass shootings, Kleck questions the reliability of my findings and          Accepted 20 November 2020
             cited concerns related to spuriousness, invalid measurement, and
             causal ordering. Most of the points raised by Kleck were addressed          KEYWORDS
             as sensitivity analyses in the original manuscript; the remaining           Firearms; homicide;
                                                                                         mass shootings
             issues reflect challenges that face the field of firearms research as a
             whole, including Kleck’s own work. Rebutting his critiques and
             defending the literature more broadly, this response elaborates on
             the modeling strategy utilized in the original article, provides add-
             itional sensitivity analyses validating these decisions, and discusses
             the futility of shooting down strawman arguments that fail to
             advance scholarship.




         Background
         In a recent article titled “Comparing the impact of household gun ownership
         and concealed carry legislation on the frequency of mass shootings and firearms
         homicide,” Fridel (2020) found that firearms homicide rates are elevated in states
         with permissive concealed carry legislation, while mass shootings disproportionately
         occur in states with higher levels of gun ownership. Kleck (2020) discusses five
         methodological concerns regarding this study, including: analyzing firearms homicide
         instead of total homicide rates; failing to control for other gun laws; failing to control
         for other confounders; using a proxy for household gun ownership in longitudinal
         analysis; and failing to address reverse causation. In addition, Kleck (2020) questions
         the article’s characterization of previous literature, contending that only the weakest
         studies were included.
            Curiously, Kleck’s critique is not specific to the study in question, and blatantly
         overlooks sensitivity analyses in the original article (see pages 15–16) that Kleck (2020)
         directly addressed at least three of his five main points. As Kleck’s critique recycles
         concerns that he has expressed over the past forty years (see Kleck, 1979, 2004, 2015;
         Kleck, Kovandzic, & Bellows, 2016; Kovandzic, Schaffer, & Kleck, 2013), Kleck’s critique
         is more of a condemnation of the field of firearms research as a whole, rather than
         of my study in particular. Nevertheless, Kleck and I agree on several important

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         methodological challenges facing both my study and gun violence research more
         broadly. As such, the purpose of this response is twofold: first, to refute Kleck’s mis-
         characterization of my recent work and its methodological rigor; and second, to high-
         light the concerns that we share in this line of inquiry. In doing so, this academic
         discourse contributes to the literature by clarifying common misconceptions, discus-
         sing challenges confronting firearms researchers, and highlighting directions for future
         work seeking to disentangle the controversial relationship between guns and violence.


         Response to methodological concerns
         Spuriousness and confounding variables
         Kleck highlights several potential sources of spuriousness in the study results,
         including: analyzing firearms homicide instead of total homicide rates; failing to
         control for alternate gun laws and other potential confounders; and failing to control
         for time-invariant differences across states via fixed effects. I agree that these concerns
         are valid, so much so that the original article included a stand-alone sensitivity analysis
         section testing and refuting each potential issue (see pages 15–16 of the original
         manuscript). Although this discussion should have been sufficient to satisfy Kleck had
         he carefully reviewed it, I begin by reiterating the rationale for each of these modeling
         decisions in depth before presenting additional analyses to validate them.

         Firearms homicide and total homicide
         First, Kleck contends that the study should have used the total number of homicides
         and mass murders as dependent variables, rather than focusing on firearms-related
         deaths. This argument is related to a potential displacement effect, as offenders who
         would have killed with a gun may simply choose an alternate weapon, resulting in no
         net effect on the number of murders. From a theoretical standpoint, it seems
         implausible that the vast majority of offenders—many of whom act impulsively during a
         quarrel—would both: (1) choose to continue with a less deadly and convenient weapon
         and (2) still succeed in killing the victim(s). Nevertheless, the original article noted that gun
         ownership and concealed carry legislation have no significant effects on the number of
         non-gun homicides (IRR ¼ 1.036, p ¼ 0.383 for gun ownership and IRR ¼ 0.980, p ¼ 0.593
         for shall-issue/permitless carry laws) and mass murders (IRR ¼ 0.958, p ¼ 0.831; IRR ¼ 0.825,
         p ¼ 0.499 for shall-issue/permitless carry laws). Even if both of these models committed
         a rather unlikely Type II error as indicated by Kleck, the coefficients are in the opposite
         direction of a displacement effect, consistent with some previous work (Miller, Azrael, &
         Hemenway, 2002). When accompanied by this type of sensitivity analysis, modeling
         firearms homicides is essentially equivalent to analyzing all homicides, with the additional
         benefit of focusing on the types of incidents most likely to be impacted by gun ownership
         and legislation (Siegel, Ross, & King, 2013).

         Confounding variables
         Second, Kleck questions whether the original results represent spurious relationships
         due to potential omitted variable bias. Specifically, he recommends including add-
         itional gun laws and structural characteristics known to be correlated with homicide

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         and/or mass murder. While omitted variable bias is a limitation of all research, Kleck is
         particularly concerned due to the small number of statistically significant control varia-
         bles in both models. Once again, Kleck overlooks or intentionally disregards sensitivity
         analyses in the original article that address these very issues.
             For example, the sensitivity analyses reported in the original manuscript
         included measures of the total number of gun laws, universal background checks,
         universal permitting, high-capacity magazine bans, prohibitions for violent misde-
         meanors, prohibitions for domestic violence (DVRO), mandatory waiting periods,
         and the Brady assault weapons ban simultaneously along with the other predic-
         tors; these results were substantively similar to the models presented in the
         manuscript. Moving beyond additional gun control measures, the original analysis
         also controlled for structural factors that have repeatedly been shown to impact
         homicide rates, including socioeconomic (dis)advantage, population age structure,
         and familial disruption (Land, McCall, & Cohen, 1990; Morenoff, Sampson, &
         Raudenbush, 2001; Sampson, 1987; Tcherni, 2011). Therefore, while many of the
         control variables were not statistically significant in this particular analysis, they
         remain key theoretical correlates of homicide that cannot be ignored (Alba &
         Messner, 1995a). Indeed, several of these variables were statistically significant in
         various sensitivity analyses not shown in the original manuscript due to space
         constraints (but see Tables 1 and 2 below). As the goal of the study was to be
         as conservative and parsimonious as possible, maximizing the total number
         of significant control variables was not prioritized when choosing the final models
         to be presented for publication.
             Regardless, Kleck recommends controlling for other potential confounders, including
         poverty, percent black, percent elderly, income inequality, population density, percent
         single-parent households, total homicide rates, and “pro-violent culture.” This comment is
         perplexing, as: (1) most of these variables were already included in the main analysis; and
         (2) several of the recommended covariates represent outdated measures that are
         theoretically and operationally inconsistent with more recent research. In order to control
         for the age structure of the population, for example, the models included the proportion of
         residents most likely to commit homicide (percent aged 18–24), rather than the proportion
         least likely to commit homicide (percent elderly). Similarly, measures like poverty and
         percent black—while traditionally used in decades past—have more recently been meas-
         ured as part of a (dis)advantage index (Land et al., 1990) and Blau’s (1977) index for racial/
         ethnic heterogeneity (Sampson & Groves, 1989), both of which were included in the study.
         As suggested, the total homicide rate (lagged by one year) was also included as part of the
         sensitivity analyses (see page 15 in the original manuscript). The remaining confounders
         recommended by Kleck were either too nebulous to operationalize (e.g., “pro-violent
         culture”1) or were not available annually at the state level for the study period (including
         percent single-parent households, income inequality, and population density). While this
         is certainly a limitation, omitted variable bias is an omnipresent issue that pervades
         all empirical research.

         1
          “Pro-violent culture” has often been included in the form of regional controls for the Southern culture of violence
         hypothesis (Gastil, 1971; Loftin & Hill, 1974). Regional dummies were included in the original models, so it remains
         unclear what other measures of “pro-violent culture” should have been included.

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         Table 1. Negative binomial regression of concealed carry legislation on firearms homicide and
         total homicide in the United States.
                                                  Firearms Homicide            Total Homicide             Total Homicide
                                                   GEE, 1991-2016              FE, 1991-2016              FE, 2006-2016
         (Standardized) Predictor                 IRR         95% CI         IRR         95% CI         IRR         95% CI
                        a
         Gun ownership                          1.046      [0.978-1.119]   1.029      [0.990-1.070]   1.049      [0.997-1.103]
         Shall-issue or permitless carry        1.108    [1.026-1.196]   1.048    [1.016-1.081]   1.095    [1.035-1.159]
         Advantage                              0.988      [0.925-1.055]      —            —             —            —
         Unemployment                           1.010      [0.974-1.048]   0.990      [0.970-1.010]   0.993      [0.970-1.015]
         Ethnic heterogeneity                   1.290   [1.133-1.469]      —            —             —            —
         Divorce rate                           0.976      [0.923-1.032]   1.000      [0.973-1.028]   0.942     [0.897-0.989]
         Property crime rate                    1.174   [1.104-1.248]   1.070   [1.037-1.105]   1.106   [1.032-1.185]
         Other violent crime rate               1.037      [0.954-1.128]   1.002      [0.972-1.033]   1.082     [1.012-1.157]
         Incarceration rate                     0.976      [0.895-1.065]   0.977      [0.948-1.008]   1.028      [0.971-1.089]
         Non-firearm homicide rate              1.014      [0.993-1.035]      —            —             —            —
         Mental health expenditures             1.003      [0.958-1.051]   0.990      [0.968-1.013]   1.016      [0.981-1.053]
         Alcohol consumption                    1.052      [0.928-1.192]   1.010      [0.965-1.057]   1.023      [0.948-1.105]
         Hunting licenses                       0.987      [0.906-1.075]   1.037      [0.975-1.102]   0.997      [0.911-1.090]
         Percent male                           1.043      [0.915-1.189]   1.099    [1.029-1.173]   1.007      [0.855-1.186]
         Percent aged 18-24                     1.012      [0.981-1.044]   1.003      [0.983-1.023]   0.997      [0.949-1.046]
         Region (reference ¼ South)
             Northeast                          0.553     [0.332-0.922]     —             —            —             —
             West                               0.448   [0.315-0.637]     —             —            —             —
             Midwest                            0.731      [0.491-1.088]     —             —            —             —
         Additional Gun Control Laws
         Universal background checks              —             —          0.908    [0.847-0.974]   0.886    [0.809-0.971]
         Universal permitting                     —             —          0.875      [0.749-1.021]   0.870    [0.781-0.968]
         Mandatory waiting periods                —             —          1.586     [1.051-2.392]   0.684      [0.087-5.398]
         High-capacity magazine ban               —             —          0.999      [0.926-1.076]   1.119      [0.984-1.272]
         Prohibitions for violence                —             —          0.967      [0.867-1.078]   0.959      [0.852-1.079]
         Domestic violence restraining orders     —             —          1.017      [0.981-1.054]   1.028      [0.967-1.093]
         Total number of gun laws                 —             —          0.999      [0.996-1.001]   0.998      [0.992-1.004]
         Assault weapons ban                      —             —          0.835   [0.752-0.927]      —            —
         Alternative Control Variables
         Poverty                                  —             —          0.987      [0.968-1.007]   0.981      [0.958-1.003]
         Education                                —             —          0.989      [0.953-1.026]   1.085      [0.984-1.197]
         Median income                            —             —          0.982      [0.942-1.023]   0.998      [0.962-1.036]
         Percent black                            —             —          1.527   [1.302-1.791]   1.155      [0.688-1.940]
         Percent elderly                          —             —          1.042      [0.989-1.096]   0.983      [0.902-1.071]
         Total homicide rate (lagged)             —             —          1.158   [1.130-1.187]   1.127   [1.072-1.184]
         Gini coefficient                         —             —             —            —          1.023      [0.977-1.072]
         Single female-headed households          —             —             —            —          0.938     [0.889-0.989]
         Population density                       —             —             —            —          1.049      [0.656-1.678]
         Abbreviations: GEE ¼ generalized estimating equations; FE ¼ fixed effects; IRR ¼ incidence rate ratio;
         CI ¼ confidence interval.
         The
         
               results for year and state fixed effects (not shown) are available upon request.
         
           p < 0.05.
         
            p < 0.01.
             p < 0.001.
         a
           Gun ownership is lagged by one year in both the fixed effects models, but not in the original GEE model
           shown above.

         Clustering by state
         Finally, Kleck takes umbrage with the treatment of time-invariant differences among
         states. This concern reflects Kleck’s failure to carefully review my original article as well
         as his apparent lack of understanding of the statistical method utilized in the analysis:
         generalized estimating equations (GEE). As discussed in the original manuscript (see
         page 15), fixed effects for both year and state were already included as sensitivity
         analyses, with no substantive changes in the magnitude, direction, or significance of

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         Table 2. Negative binomial regression of household gun ownership on mass shootings and mass
         murders in the United States.
                                                 Mass Shootings           All Mass Murders           All Mass Murders
                                                 GEE, 1991-2016            GEE, 1991-2016             GEE, 2006-2016
         (Standardized) Predictor               IRR       95% CI           IRR       95% CI          IRR        95% CI
         Gun ownership  a
                                             1.525   [1.199-1.940]   1.420   [1.106-1.823]   1.599     [1.001-2.565]
         Shall-issue or permitless carry     0.881      [0.696-1.115]   0.889     [0.695-1.136]   0.330   [0.204-0.534]
         Advantage                           0.933      [0.769-1.133]      —           —             —             —
         Unemployment                        0.987      [0.820-1.187]   1.032     [0.847-1.258]   1.015      [0.780-1.321]
         Ethnic heterogeneity                1.021      [0.780-1.336]      —           —             —             —
         Divorce rate                        0.948      [0.854-1.053]   0.978     [0.843-1.135]   0.956      [0.721-1.269]
         Property crime rate                 1.148      [0.937-1.408]   1.015     [0.857-1.202]   1.081      [0.725-1.612]
         Other violent crime rate            0.987      [0.847-1.150]   0.974     [0.847-1.121]   1.422     [1.002-2.018]
         Incarceration rate                  1.053      [0.901-1.230]   1.109     [0.958-1.283]   1.008      [0.772-1.316]
         Non-firearm homicide rate           1.017      [0.881-1.173]      —           —             —             —
         Mental health expenditures          0.949      [0.811-1.112]   0.932     [0.793-1.095]   0.947      [0.764-1.173]
         Alcohol consumption                 0.977      [0.849-1.123]   0.821    [0.697-0.967]   0.643   [0.499-0.828]
         Hunting licenses                    0.842      [0.673-1.054]   0.855     [0.709-1.032]   0.952      [0.724-1.253]
         Percent male                        1.131      [0.858-1.491]   1.351    [1.000-1.825]   1.843    [1.248-2.721]
         Percent aged 18-24                  0.946      [0.797-1.124]   0.939     [0.785-1.122]   0.988      [0.743-1.313]
         Region (reference ¼ South)
             Northeast                        1.417     [0.808-2.484]   1.846 [1.046-3.258]      2.124      [0.840-5.368]
             West                             1.183     [0.737-1.898]   1.228   [0.807-1.869]     1.444      [0.567-3.678]
             Midwest                          1.441     [0.922-2.250]   1.505 [1.111-2.040]     2.100     [1.026-4.299]
         Additional Gun Control Laws
         Universal background checks                                    0.639    [0.411-0.994]   0.518      [0.226-1.19]
         Universal permitting                                           0.927     [0.510-1.683]   0.744      [0.283-1.955]
         Mandatory waiting periods                                      1.800    [1.077-3.008]   3.402     [1.102-10.501]
         High-capacity magazine ban                                     1.162     [0.751-1.799]   2.800     [1.025-7.652]
         Prohibitions for violence                                      0.719     [0.394-1.314]   0.192     [0.049-0.750]
         Domestic violence restraining orders                           1.004     [0.782-1.290]   1.325      [0.864-2.031]
         Total number of gun laws                                       1.000     [0.988-1.012]   0.983     [0.967-0.999]
         Assault weapons ban                                            0.724     [0.276-1.901]      —             —
         Alternative Control Variables
         Poverty                                                        0.971     [0.777-1.214]   1.331      [0.905-1.958]
         Education                                                      1.338   [1.112-1.608]   1.271      [0.801-2.018]
         Median income                                                  0.842     [0.580-1.221]   1.299      [0.879-1.922]
         Percent black                                                  1.005     [0.788-1.282]   1.402      [0.984-1.997]
         Percent elderly                                                1.196    [1.006-1.422]   1.336      [0.988-1.806]
         Total homicide rate (lagged)                                   1.286    [1.027-1.610]   0.867      [0.539-1.392]
         Gini coefficient                                                  —           —          1.390      [0.920-2.101]
         Single female-headed households                                   —           —          0.677      [0.408-1.122]
         Population density                                                —           —          0.935      [0.658-1.327]
         ABBREVIATIONS: GEE ¼ generalized estimating equations; IRR ¼ incidence rate ratio; CI ¼ confidence interval.
         The
         
               results for year fixed effects (not shown) are available upon request.
         
           p <  0.05.
         
            p < 0.01.
             p < 0.001.
         a
           Gun ownership is lagged by one year in both mass murder models, but not in the original GEE mass shootings
           model shown above.



         the two key independent variables (gun ownership and concealed carry legislation).
         Nevertheless, I reiterate and expand upon the discussion of clustering by state here.
            Although fixed-effects models have long been considered the gold standard for
         longitudinal panel models, GEE is also frequently used to control for clustering within
         states (Miller et al., 2002; Siegel et al., 2017). A population-averaged, semiparametric
         approach that treats dependence as a nuisance feature of the data, GEE is quite flex-
         ible: it requires no assumptions about the distribution and is robust to misspecification

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         of the working correlation matrix (see Liang & Zeger, 1986 for an overview).
         Essentially, GEE has the benefits of a random effects model (assuming constant within-
         unit marginal covariance), without the often problematic assumption that any unit
         heterogeneity is orthogonal to the explanatory variables (Wawro, 2009).2 In other
         words, GEE captures both between- and within-state variation and thus examines the
         average response over the population as a whole; in contrast, fixed-effects models
         focus exclusively on within-unit change, and thus are optimal for estimating state-spe-
         cific means. As a result, GEE is better suited to address the original study’s goal: exam-
         ining the impact of household gun ownership and concealed carry legislation on
         homicide and mass murder in the United States as a whole. As Bell, Fairbrother, and
         Jones (2019, pages 1054–1055) summarize, “Social science is concerned with under-
         standing the world as it exists, not just dynamic changes within it. Thus with a panel
         dataset, for example, it will often be worth modelling associations at the higher level
         in order to understand the ways in which individuals differ—not just the ways in
         which they change over time.” Considering that gun ownership varies widely between
         (but not as much within) states and concealed carry legislation varies both between
         and within states,3 capturing both sources of variation is crucial for understanding the
         full picture of gun violence in America.
             GEE also has several other advantages relative to the traditional fixed-effects
         approach. Because it is robust to the misspecification of the working correlation
         matrix, GEE reduces the potential for omitted variable bias, one of Kleck’s main con-
         cerns. In addition, GEE tends to be quite conservative in comparison to fixed-effects
         models due to its semiparametric approach, which may explain why so few control
         variables were significant when using this type of analysis. Finally, GEE is essentially
         the only option for modeling rare event panel data, such as mass murder. States that
         did not experience an incident during the time period, for example, have no overlap
         between the fixed effects and the outcome (e.g., separation). As a result of the lack of
         variation in the dependent variable, these states are excluded from the model, and
         the parameter estimates are only calculated using states that experienced at least one
         incident (see Cook et al., 2020 for an overview of this issue). This produces an inaccur-
         ate estimate of the baseline event risk by introducing sample selection bias, leading
         some researchers to argue that fixed effects should rarely—if ever—be used with rare
         event cross-sectional panel data (Beck & Katz, 2001; Nel & Righarts, 2008; Wright,
         2009).4 GEE was thus necessary to facilitate comparison across the homicide and mass
         murder models, the primary goal of the original study.

         Additional sensitivity analyses
         Explanations for these modeling decisions notwithstanding, I conducted a series of
         additional sensitivity analyses to further assuage Kleck’s concerns. Table 1 presents the

         2
           This is the case when an exchangeable correlation matrix is specified, as was done in the original study.
         3
           During the original study period, for example, 26 states changed from may-issue to shall-issue or permitless carry
         laws (within-unit variation). In 1991, 15 states were shall-issue or permitless carry, yet by 2016 41 states had
         adopted these policies (between-unit variation).
         4
           It is important to note that these researchers were specifically analyzing binary dependent variables. Although mass
         murders are operationalized here as a count variable (to facilitate comparison with homicide), they are so rare as to
         be essentially a binary. Indeed, only 13% of the state-years in the sample experienced more than one mass murder.

                                                                                                            Exhibit D
                                                                                                            Page 214
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         results of three separate negative binomial regression models on homicide. The first
         column displays the original study results (using GEE to examine firearms homicide during
         the full study period, 1991–2016), showing that the incidence rate of firearms homicide is
         10.8% higher in shall-issue or permitless carry states than in their may-issue counterparts
         (IRR ¼ 1.108; 95% CI ¼ 1.026, 1.196). Following Kleck’s advice, the second model: uses all
         homicide counts as the dependent variable; includes various additional confounders; and
         employs fixed effects for year and state instead of GEE. As some of the recommended pre-
         dictors were not available for the entire study period, the third model appends data on
         the Gini coefficient of income inequality, the percentage of single female-headed house-
         holds with children, and population density from the American Community Survey (ACS),
         at the cost of restricting the analysis to 2006–2016. Consistent with the study results, shall-
         issue and permitless carry states have significantly higher homicide incidence rates than
         may-issue states in both the full (IRR ¼ 1.048; 95% CI ¼ 1.016, 1.081) and truncated time
         periods (IRR ¼ 1.095; 95% CI ¼ 1.035, 1.159). As expected given the greater power of the
         fixed effects approach, several additional control variables are statistically significant in the
         two new models, exceeding the arbitrary threshold of five or more confounders estab-
         lished by Kleck (2015).
             Table 2 replicates these three models with mass murder, employing GEE with fixed
         effects for year instead of a full fixed effects design for reasons explained above (Beck
         & Katz, 2001). As shown in the first column, the original model finds that the incidence
         rate of mass shootings is increased by 52.5% for every one standard deviation increase
         in household gun ownership (IRR ¼ 1.525; 95% CI ¼ 1.199, 1.940). This result is substan-
         tively unchanged when analyzing all mass murders and controlling for additional con-
         founders, both in the full (IRR ¼ 1.420; 95% CI ¼ 1.106, 1.823) and truncated time
         periods (IRR ¼ 1.599; 95% CI ¼ 1.001, 2.565).5 As with homicide in general, several add-
         itional predictors are significant, again meeting Kleck’s (2015) spuriousness threshold.
         Taken together, these analyses suggest that Kleck’s concerns are largely unfounded, as
         the key findings remain remarkably robust to changes in: the measurement of the
         dependent variable; the inclusion of control variables, and the analytical strategy.


         Measurement validity
         Kleck also questions the validity of the proxy used to measure household gun owner-
         ship, the percentage of suicides committed with a firearm (FS/S). Specifically, while he
         agrees that the measure is the best available proxy for cross-sectional data, he con-
         tends that FS/S is not valid longitudinally (Kleck, 2004; Kovandzic et al., 2013) despite
         its frequent usage in time series or panel studies (Azrael, Cook, & Miller, 2004; Cook &
         Ludwig, 2006; Miller et al., 2002; Siegel et al., 2013, 2017). In fact, Kleck (2004, p. 3)
         goes so far as to argue that all longitudinal research involving household gun

         5
          It is important to note that the third model presented in Table 2 is relatively unstable due to the truncated time
         frame and more importantly, the reduced variation in the dependent variable. For example, Delaware, Hawaii,
         Mississippi, Rhode Island, and New Hampshire have not experienced a single mass murder since 2006.
         Compounding these issues are the larger number of covariates and high levels of multicollinearity (VIF > 10)
         introduced by including theoretical similar variables (e.g., poverty, median income, and percent single female-
         headed households). As a result, this model should be interpreted with caution, and is presented for exploratory
         purposes only.

                                                                                                         Exhibit D
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         ownership is “impossible” because there are no known measures that are valid indica-
         tors of firearms prevalence over time.
             What Kleck fails to mention, however, is that validating a proxy longitudinally requires
         comparison with an established criterion (typically survey data) measured over a rela-
         tively long period of time. This is the unfortunate Catch-22 of gun research: It is impos-
         sible to adequately evaluate FS/S as a longitudinal proxy of gun ownership because there
         are no valid annual, state-level survey data on gun ownership. If such data existed, it
         would be unnecessary to use FS/S longitudinally in the first place! As a result, attempts
         to resolve this paradox have been inherently flawed. Kovandzic et al. (2013, pages 486),
         for example, asserted that FS/S is an “abysmal” proxy over time by comparing it to
         changes in the percentage of households with a gun from the General Social Survey
         (GSS) between 1980 and 1998 (with gaps6) at the state level. The researchers themselves
         acknowledge, however, that this test has major shortcomings because the GSS was not
         designed to be representative at the state level, and only samples an average of 30 indi-
         viduals per state per year. Therefore, it is hardly surprising that the GSS firearms preva-
         lence estimates were uncorrelated with FS/S, considering the underlying noise in the
         data. When similar analyses are conducted with census divisions instead of states (a level
         of analysis for which the GSS is representative and has an adequate sample size), FS/S
         and household gun ownership have a significant, positive intertemporal correlation (see
         Azrael et al., 2004). Kovandzic et al. (2013) justify their conclusions, however, by compar-
         ing changes in FS/S over time with data on firearms ownership from the CDC’s
         Behavioral Risk Factor Surveillance System (BRFSS), a telephone survey with a substan-
         tially larger sample size per state. However, the BRFSS only contains data for three, non-
         consecutive years (2001, 2002, and 2004) nearly two decades ago, hardly a long enough
         period to effectively examine changes in FS/S over time. Further complicating the matter
         is the fact that surveys are not infallible measures—as Kleck (2004, p. 4) notes, “Surveys
         themselves are subject to errors and probably underestimate gun ownership, perhaps by
         5 percent to 13 percent (Kleck, 1997, pages 65–69).”
             Therefore, while Kleck is correct in asserting that FS/S has not been validated longi-
         tudinally, his claim that “the research record is clear” that the proxy is actually invalid
         is certainly not. In addition, Kleck provides minimal theoretical justification, either here
         or elsewhere (Kleck, 2004; Kovandzic et al., 2013), as to why FS/S would be correlated
         with gun ownership across areas, but not over time. The one potential explanation he
         proffers is that gun ownership does not vary as much within states over time as it
         does between states. For example, Kleck (1997, 2015) notes that national household
         gun ownership rates remained relatively steady from 1959 to 1993. This argument is
         relatively weak, however, for two reasons: (1) the fact that there is relatively less tem-
         poral variation does not necessarily suggest that there is none at all; and (2) much has
         changed over the past thirty years, with rates of household gun ownership experienc-
         ing a dramatic decline nationwide. Figure 1 shows the national percentage of house-
         holds with guns from the GSS from 1973 to 2018. While nearly half of all Americans
         lived in residences with guns in the 1970s, less than a third do so today. Over the
         period of the original study (1991–2016), national household gun ownership rates

         6
          Data are not available for 1983, 1986, 1992, 1995, and 1997, as the GSS was not fielded or did not include the
         relevant questions during these years.

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                                      55%


                                      50%
           Percent Have Gun in Home


                                      45%


                                      40%


                                      35%


                                      30%


                                      25%


                                                          Year
         Figure 1. Household gun ownership in the United States, 1973–2018 (General Social Survey).

         experienced a 22% decline. With smaller units of analysis like the state, there is likely
         to be even more variation. Alternatively, some researchers have suggested that FS/S
         may be a valid longitudinal proxy that is artificially undermined by widespread
         sampling error and systematic underreporting in survey estimates (Azrael et al., 2004).
            In sum, there is no compelling empirical or theoretical evidence to conclusively
         validate or invalidate FS/S as a longitudinal proxy of household gun ownership. Until
         annual state-level estimates are available, researchers can either use the best cross-
         sectional proxy for gun ownership as I and many others have done (Cook & Ludwig,
         2006; Duggan, 2001; Miller et al., 2002; Moody & Marvell, 2005; Siegel et al., 2013,
         2017) or follow Kleck and eschew longitudinal research altogether. In the absence
         of better data, it is impossible to determine which is the better approach.


         Reverse causation
         Kleck’s final methodological critique touches on one of the most disputed questions in
         firearms research: do more guns cause more crime, or does more crime cause people
         to buy more guns? Specifically, he suggests that the original results could also indicate
         that mass shootings and higher firearms homicide rates motivate individuals to buy
         guns for protection, which in turn promotes the enactment of more permissive
         concealed carry legislation. I agree that disentangling the guns-crime nexus is an
         important yet difficult task, and therefore included a sensitivity analysis lagging all
         predictors by one year in the original article to address the issue as much as possible
         within the same modeling framework. Nevertheless, I concede that this does not fully
         resolve the causal ordering issue, a problem that pervades the vast majority
         of firearms research. However, Kleck’s claim that all longitudinal research on guns and
         violence is invalid is deeply misleading and ignores equally problematic limitations
         with cross-sectional techniques. Therefore, it is important to briefly clarify the
         strengths and weaknesses of both approaches, rather than prematurely dismissing
         an entire set of valuable methods.

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             The longitudinal strategy to establish causality takes advantage of temporal order-
         ing by including both x and y as lagged predictors in a panel model (Finkel, 2011);
         this was the strategy employed by the original study. Aside from decisively establish-
         ing that x comes before y, this approach offers several advantages over its cross-
         sectional counterpart. The quasi-experimental design is second only to the true
         experiment in methodological rigor, and the inclusion of multiple waves of data allows
         for the examination of changes over time (naturally crucial when exploring the effects
         of gun control legislation). Even further, such models are flexible as to the length
         of the lag, depending on the theoretical mechanisms at play. Aside from potential
         measurement issues using the FS/S proxy over time (see above), the panel approach
         has two major limitations. First, the appropriate length of the lag is often unknown,
         and the contemporaneous measure of x cannot be included due to multicollinearity.
         As a result, the model implicitly assumes that x has no immediate effect on y, which
         may or may not be the case. Second, if gun ownership is endogenous to violence,
         it (and to a lesser extent, its lag) will be correlated with the error term.
             As a partial test for reverse causation, I conducted additional sensitivity analyses
         using homicide and mass murder to predict household gun ownership in the United
         States from 1991 to 2016. Table 3 displays the results of these OLS regression models,
         which all utilize fixed effects for year and state and include the various control
         variables previously mentioned, consistent with Kleck’s recommendations as discussed
         above. In the first model, no predictors are lagged; thereafter, each model lags all
         predictors by one to five years. Neither homicide nor mass murder is a statistically
         significant predictor of gun ownership at the state level, either contemporaneously
         or over a five-year period. With regards to mass murder, these results are hardly
         surprising—the vast majority of incidents receive little media coverage, and thus are
         unlikely to significantly impact gun-purchasing behavior (Duwe, 2000). Although
         this sensitivity analysis cannot completely resolve the causal order problem, the results
         once again cast doubt on the reverse causation hypothesis.
             The alternative to panel data is to use a cross-sectional instrumental variable approach,
         which utilizes variables that are strongly correlated with the endogenous explanatory
         variable, yet are not correlated with the error term (i.e., are exogenous); this is the tactic
         often employed by Kleck (see Kleck et al., 2016; Kleck & Patterson, 1993; Kovandzic et al.,
         2013). While this strategy effectively controls for reciprocal or simultaneous causation, it is
         inherently incapable of measuring change over time. Even further, the instrumental
         variable approach depends entirely on the validity of the exogenous instruments.
         Unfortunately, finding instruments that are both highly correlated with x and unrelated to
         y is a difficult task, and in some cases, “the best we can do is rely on a priori reasoning”
         rather than empirical evidence (Kovandzic et al., 2013, p. 498).
             While several instruments have been validated using data from 30 years ago,
         large-scale cultural and demographic shifts in the United States make the use of these
         variables questionable at best. Prior work, for example, has utilized subscriptions
         to outdoor and/or firearms magazines, the state hunting license rate, percent military
         veterans, and percent voting Republican in the most recent presidential election as
         instruments for gun ownership (Kleck et al., 2016; Kleck & Patterson, 1993; Kovandzic
         et al., 2013), despite criticisms regarding their shaky theoretical grounding, lack

                                                                                        Exhibit D
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            Table 3. Ordinary least squares (OLS) regression of violence on levels of household gun ownership in the United States, 1991–2016.
                                                               No Lag              One Year Lag           Two Year Lag          Three Year Lag        Four Year Lag         Five Year Lag
            (Standardized) Predictor                       B             SE         B             SE       B             SE       B          SE        B          SE         B              SE
            Gun ownership                                —               —       0.800        0.379   0.202       0.387     0.042       0.391   0.406        0.401   0.060        0.410
            Total homicide rate                        0.151            0.326    0.104         0.322   0.326       0.331      0.371       0.333    0.115        0.342    0.393        0.351
            Other violent crime rate                  0.409            0.366   0.156         0.356    0.192       0.368     0.110       0.375    0.389        0.395    0.656        0.411
            Mass murder count                          0.065            0.112   0.055         0.111    0.069       0.113      0.041       0.113    0.075        0.116   0.049        0.119
            Poverty                                    0.348            0.242    0.239         0.241    0.089       0.246      0.244       0.248   0.024        0.268    0.022        0.273
            Education                                 0.322            0.432   0.952        0.425   0.027       0.441     0.192       0.443    0.487        0.453    0.764        0.459
            Median income                              0.363            0.47     0.527         0.474   0.211       0.492     0.789       0.505   0.729        0.564   0.575        0.594
            Unemployment                              0.790         0.24    0.543        0.238   0.541      0.243     0.430       0.244   0.241        0.253   0.120        0.259
            Divorce rate                               0.491            0.324    0.088         0.302    0.038       0.310      0.154       0.319    0.119        0.328   0.275        0.344
            Property crime rate                       0.457            0.378   0.225         0.369   0.742      0.378     0.869      0.382   0.612        0.395   0.190        0.407
            Incarceration rate                        0.156            0.398   0.293         0.389   0.927      0.401     0.685       0.410   0.165        0.427   0.062        0.443
            Mental health expenditures                 0.018            0.28    0.043         0.255   0.129       0.274     0.206       0.294   0.288        0.371   0.398        0.301
            Alcohol consumption                        1.120           0.473    1.626      0.477    1.579     0.500      1.719    0.518    1.572      0.555    1.070        0.596
            Hunting licenses                           0.195            0.604    0.244         0.570    0.574       0.587      0.594       0.596    0.658        0.621    1.043        0.636
            Percent male                               1.920          0.774    1.055         0.766    1.985     0.801      2.555     0.821    1.233        0.856    0.942        0.880
            Percent black                              5.451          2.041    4.641        2.011    5.804     2.098      3.199       2.176    2.634        2.311    1.636        2.445
            Percent aged 18-24                         0.055            0.217    0.043         0.210    0.105       0.215      0.376       0.218    0.554       0.230    0.757     0.230
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            Percent elderly                            1.096            0.604    0.964         0.623    1.792     0.673      2.198     0.714    2.174      0.778    2.261      0.823
            Total population                           0.000            0.000    0.000         0.000    0.000       0.000      0.000       0.000    0.000        0.000    0.000        0.000
            Gun Control Laws
            Shall-issue or permitless carry            0.667            0.394     0.650        0.392     0.500      0.402       0.277      0.409     0.199       0.427     0.019       0.439
            Universal background checks                0.406            0.836     0.254        0.837    0.107      0.926       0.158      1.020    0.569       1.194     0.434       1.230
            Universal permitting                      3.637            2.092    3.366        2.088    1.107      3.532     39.170   4.013   40.701    4.250   40.848    4.468
            Mandatory waiting periods                27.317         5.375   27.652     5.414   34.066   6.351       1.140      2.989     1.013       3.205    0.483       3.362
            High-capacity magazine ban                0.620            1.066    0.602        1.073    1.469      1.103      1.886      1.117    1.428       1.214    0.754       1.240
            Prohibitions for violence                 0.604            1.497    0.478        1.505    1.885      1.655      1.337      1.747    2.187       2.405    3.168       3.266
            Domestic violence restraining orders       0.1630           0.467     0.067        0.469     0.409      0.491       0.431      0.503     0.309       0.523     0.607       0.538
            Total number of gun laws                  0.024            0.031    0.013        0.031    0.012      0.032      0.005      0.033    0.007       0.034    0.011       0.035
            Assault weapons ban                      10.000         1.157    8.343     1.155    9.501   1.191      9.481   1.203   10.061    1.265    8.202    1.303
            ABBREVIATIONS: SE ¼ standard error.
            The
            
                  results for year and state fixed effects (not shown) are available upon request.
              p    0.05.
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            
                <
            
               p < 0.01.
                p < 0.001.




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         of statistical significance, and small effect sizes (Alba & Messner, 1995a, 1995b). While
         this may have been reasonable in 1990, magazine readership levels have plummeted
         in the internet era, with only 7% regularly reading news magazines, and 3% reading
         specialty magazines (Pew Research Center, 2012). Guns & Ammo, one of the premiere
         firearms magazines in the United States, only had a circulation of 364,272 in 2020
         (Guns & Ammo, 2020). In the same vein, fewer Americans report hunting than ever
         before—while over 30% of Americans reported that they or their spouse hunted in
         1977, only 17% did so in 2014 (Smith & Son, 2019). Participation in the military has
         also dramatically declined over the past forty years with the end of the draft, from
         18% in 1980 to 7% in 2016; VA projections suggest that by 2045, the number of veter-
         ans will decline another 40%, making this instrumental variable less and less feasible
         (Bialik, 2017). The fact some researchers specifically utilize the percentage of Vietnam
         veterans only exacerbates the issue as this population continues to age. As magazine
         subscriptions, hunting, and military participation become more and more uncommon,
         adequately sampling these rare populations becomes increasingly challenging, leading
         to a greater risk of sampling bias (especially at lower levels of analysis, such as the
         city or county). The only proposed instrumental variable that has remained relatively
         prevalent over time and is based on a large portion of the population is the percent
         voting Republican. This variable, however, is at least partially endogenous due to the
         association between political conservatism and socioeconomic status, which in turn
         directly impacts crime (Ayres & Donohue, 2003).
             How then should the endogeneity issue between guns and crime be resolved?
         Researchers are forced to choose between the Scylla of panel analysis and the
         Charybdis of instrumental variables, and it remains unclear which—if either—is the
         optimal approach. Currently, the only way to avoid these pitfalls is to simply refrain
         from conducting research in this area entirely.


         Evaluating past research
         Perhaps Kleck’s most concerning critique is not related to the original article at all, but
         rather the literature upon which the study is based. He states the vast majority of
         cited studies were “of the lowest methodological quality” (pages 9) with all but one
         scoring a zero or one out of three in his recent systematic review. Kleck (2015) eval-
         uated 40 studies7 on gun ownership and homicide from 1932 to 2014, scoring each
         based on the validity of the gun ownership measure, inclusion of various confounders,
         and controls for reciprocal causation. In order to obtain the highest possible score
         (three), a study must: (1) utilize the FS/S proxy cross-sectionally; (2) meet a threshold
         of five or more significant control variables; and (3) utilize the instrumental variable
         approach with the specific instruments described above. Studies that deviate even
         slightly from Kleck’s recommendations are equally condemned—Cook and Ludwig
         (2003), for example, utilized the suggested instrumental variable approach, but
         received no credit due to their use of an unapproved instrument (percent rural). Aside

         7
           Although Kleck (2015) considers Kovandzic, Schaffer, and Kleck (2012) and Kovandzic et al. (2013) to be separate
         publications, I regard the latter as an updated version of the former. Both publications have the same authors, and
         use the same data/sample and a similar method to examine the same research question.

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         from their somewhat arbitrary nature, these requirements ignore fundamental limita-
         tions of firearms data in the United States and preclude investigation of the most
         pressing research questions. Even further, all other methodological concerns are
         ignored in this rating system, including sample size, sampling bias, unit of analysis,
         treatment of missing data, recency, and multicollinearity. For example, only 13 of the
         40 studies examined by Kleck (2015) were published since 2000, and only 3 were pub-
         lished since 2010, suggesting that the most recent (and thus most relevant) research
         has largely been ignored. In other words, there is no “gold standard” among research
         methods, and trying to rank studies in this sort of hierarchy without considering the
         exact data and research question involved is a pointless endeavor (see
         Sampson, 2010).
             Given Kleck’s extremely restrictive and oddly specific view of methodological
         quality, it is hardly surprising that almost no prior work meets the mark—except his
         own. In fact, Kleck (2015) suggests that only two studies over the past 80 years have
         used rigorous methods (scoring two or three): Both are co-authored by Kleck himself,
         and both use data that is at least thirty years old (Kleck & Patterson, 1993; Kovandzic
         et al., 2013). It seems implausible that nearly a century of firearms research has
         produced low-quality and unreliable results in all but two studies. Therefore,
         while Kleck is correct that the vast majority of previous work discussed in the original
         article received a low score in his review, he fails to clarify the reason why: with the
         exception of a single, omitted article (Kovandzic et al., 2013), there is simply nothing
         else left to cite.


         Discussion
         Summary
         In response to my recently published study on firearms homicide and mass shootings
         (Fridel, 2020), Kleck (2020) identifies five methodological “errors,” including concerns
         related to spuriousness, measurement validity, and proper causal ordering. All of these
         critiques were either already addressed in the original manuscript or represent funda-
         mental limitations that plague nearly all firearms research. Specifically, the first three
         claims regarding spurious effects are simply unfounded, as demonstrated by sensitivity
         analyses presented in the original manuscript and discussed at length here. In
         particular, the findings remain robust when: the dependent variable is operationalized
         as the total number of homicides or mass murders; alternate control variables
         (including eight distinct gun control laws) are included; and fixed effects are utilized
         instead of GEE as a modeling strategy.
             Kleck’s (2020) remaining two critiques on longitudinal analysis highlight key
         challenges confronting the field of firearms research as a whole, including measuring
         gun ownership over time and accounting for potential reverse causation. We disagree
         not on the importance of these issues, but rather on the best way to address them.
         While I contend that there is no perfect way to disentangle the relationship between
         guns and crime, Kleck (2020) sets up and shoots down a series of strawman
         arguments against the use of any longitudinal methods in firearms research. Although
         he nonchalantly claims that “normal science would be enough” to address both

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         measurement and causal ordering issues, the fact that only a handful of studies con-
         ducted in the past century have (partially) done so according to Kleck (2015) himself
         strongly suggests otherwise. If longitudinal research is limited—which it undoubtedly
         is—what real alternatives do gun researchers have? Cross-sectional approaches face
         distinct yet equally problematic issues, as they are unable to address change over
         time and rely on instruments of questionable validity. Kleck provides no viable solu-
         tion to this problem, instead suggesting that researchers either: (1) assume that his
         findings from decades past are equally relevant today; (2) replicate his cross-sectional
         approach exactly (despite its limitations); or (3) simply refrain from conducting new
         research in this area at all. Reducing complex methodological issues to strawmen
         arguments without providing realistic alternatives is a futile endeavor that does not
         advance scholarship.


         Future directions for firearms research
         Reading Kleck’s critique and this response thus begs the question: where do we go
         from here? While at first blush it may seem that Kleck and I are diametrically opposed,
         in reality we are equally concerned about several challenges that face the field as a
         whole. Methodological preferences aside, we can both agree on two main areas cru-
         cial to the future of firearms research, including the adequate measurement of gun
         prevalence and an emphasis on policy-oriented research.
             First, as discussed at length here and in much of Kleck’s work (Kleck, 2004, 2015;
         Kleck et al., 2016; Kovandzic et al., 2013), gun research has essentially been crippled
         by a lack of high-quality, annual survey data that is representative at the state level.
         No matter how one chooses to address the issue, the fact remains that almost all fire-
         arms research relies upon proxies for estimates of gun ownership. While the percent-
         age of suicides committed with a firearm (FS/S) is the best known substitute for legal
         gun ownership, it has many limitations—it cannot be validated longitudinally, does
         not necessarily account for illegal gun ownership and/or trafficking, and is of limited
         utility at smaller units of analysis.8 Adequate measurement of gun ownership remains
         the sword of Damocles hanging over firearms research, and it will take years of data
         collection, advocacy work, and ultimately federal funding to cut the thread.
             Second, when nearly 40,000 Americans die from gun violence each year, firearms
         researchers cannot ignore the policy implications of their work (Centers for Disease
         Control & Prevention, 2019). Many studies are theoretically interesting and methodo-
         logically advanced, yet remain largely irrelevant outside the ivory tower due to their
         reliance on data from decades past. In other words, finding out what worked thirty
         years ago does not necessarily help policymakers combating gun violence today, the
         primary goal of research in this area. Ignoring the massive demographic and social
         shifts in the United States over the past few decades is at best unrealistic, and at
         worst promotes policies that may exacerbate the issue. Prior work on concealed carry
         legislation, for example, has shown how dramatically policy recommendations can
         change depending on the time period considered. While Lott and Mustard (1997)

         8
             Small cities and counties with few suicides overall, for example, will yield unstable FS/S estimates.

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         found that more permissive concealed carry laws significantly decreased various types
         of violent crime from 1977 to 1992, an exact replication extending the analysis to
         2000 resulted in a near complete reversal, with shall-issue laws significantly increasing
         most forms of violent crime except homicide (Wellford, Pepper, & Petrie, 2005). Even
         more recent work, however, suggests that permissive concealed carry laws significantly
         increase the homicide rate as well (Crifasi et al., 2018; Donohue, Aneja, & Weber, 2019;
         Doucette, Crifasi, & Frattaroli, 2019; Siegel et al., 2017). Unfortunately, an additional 12
         states have adopted shall-issue or permitless carry laws since Lott and Mustard’s
         (1997) highly-publicized study (Siegel, 2020). As this example demonstrates, it is
         imperative that firearms research prioritizes the use of contemporary data and meth-
         ods to shape policies for contemporary problems.
            Navigating the methodological minefield of firearms research is undoubtedly chal-
         lenging because of these and many other issues, but ultimately the goal is to shoot
         for the best using the data and tools currently available. While we wait for better data
         and analytical techniques, the one thing upon which we all can agree is that firearms
         research continues to be vital, flaws and all.


         Disclosure statement

         No potential conflict of interest was reported by the author.


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         has recently been published in Criminology, Social Forces, the Journal of Quantitative
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     The Impact of State Firearm Laws on Homicide
      Rates among Black and White Populations in
             the United States, 1991–2016
               Anita Knopov, Michael Siegel, Ziming Xuan, Emily F. Rothman, Shea W. Cronin, and




                                                                                                                                     Downloaded from https://academic.oup.com/hsw/article-abstract/44/4/232/5610107 by 81695661, OUP on 30 November 2019
                                                David Hemenway


                  This study aimed to investigate the potential differential effects of state-level firearm laws
                  on black and white populations. Using a panel design, authors examined the relationship
                  between state firearm laws and homicide victimization rates among white people and black
                  people in 39 states during the period between 1991 and 2016. Authors modeled homicide
                  rates using linear regression with year and state fixed effects and controlled for a range of
                  time-varying, state-level factors. Results showed that universal background check laws and
                  permit requirement laws were associated with lower homicide rates among both white and
                  black populations, and “shall issue” laws were associated with higher homicide rates among
                  both white and black populations. Laws that prohibit firearm possession among people
                  convicted of a violent misdemeanor or require relinquishment of firearms by people with
                  a domestic violence restraining order were associated with lower black homicide rates, but
                  not with white homicide rates. Author identification of heterogeneity in the associations
                  between state firearm laws and homicide rates among different racial groups has implications
                  for reducing racial health disparities.
                                    KEY WORDS: firearms; homicide; racial      groups; violence prevention




    A         lthough firearm violence affects people
              in all countries, 82 percent of all firearm
              homicides in high-income countries oc-
    cur in the United States (Grinshteyn & Hemenway,
    2016). In 2016, there were 14,415 firearm-related
                                                                               Engaging in the promotion of evidence-based
                                                                            policies, in particular those that address racial dis-
                                                                            parities in firearm violence, is a critical focus of
                                                                            social work practice (National Association of So-
                                                                            cial Workers [NASW], 2018; Social Work Policy
    homicide deaths in the United States (Centers                           Institute, 2017; Van Soest & Bryant, 1995). NASW
    for Disease Control and Prevention [CDC], 2018).                        has issued a call for firearm violence to be declared
    The risk of firearm-related homicide victimization                      a public health epidemic (Arp, Gonzalez, Herstand,
    is elevated for black individuals as compared with                      & Wilson, 2017). In addition, NASW (2018) has
    white individuals (CDC, 2018; Light & Ulmer,                            implored public health social workers to promote
    2016; Phillips, 1997; Ulmer, Harris, & Steffensmeier,                   effective firearm policies:
    2012). Black men ages 15 through 34 are six times
    more likely to die from homicide than white men                            The National Association of Social Workers
    of the same age, and 91 percent of homicides of                            stands by our previous statements that call for
    black men are the result of gun violence (Hen-                             declaring all forms of gun violence—including
    nekens, Drowos, & Levine, 2013). In 2016, the rate                         mass shootings—to be declared a public health
    of firearm homicide victimization among black                              epidemic.
    individuals in the United States (18.6 per 100,000)                            Accordingly, we continue to urge public
    was more than eight times higher than among                                health officials to mobilize federal and state re-
    non-Hispanic white individuals (2.2 per 100,000)                           sources to prevent gun violence. NASW also
    (CDC, 2018). Despite constituting only 14 per-                             continues to implore politicians to enact rea-
    cent of the U. S population, black people comprise                         sonable and effective gun laws, which would
    59 percent of firearm homicide victims (CDC,                               greatly reduce gun-related fatalities and inju-
    2018).                                                                     ries. (paras. 4–5)

                                                                                                                 Exhibit D
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           Many states have addressed the problem of fire-                 report having a firearm in their household (Pew
        arm-related homicide by enacting firearm laws.                     Research Center, 2016). Fourth, there is prelimi-
        Although numerous studies have examined the                        nary evidence of a differential impact of firearm
        impact of state firearm laws on overall homicide                   legislation on white homicide rates compared with
        rates, we are aware of only one study (McClellan                   black homicide rates (McClellan & Tekin, 2012).
        & Tekin, 2012) that explored whether there may                     McClellan & Tekin (2012) reported that “stand
        be a differential impact of individual firearm laws                your ground” laws—that is, laws allowing people




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        on black people compared with white people, and                    who perceive a threat of bodily harm to use deadly
        this study examined only a single type of firearm                  force without a duty to retreat—were associated
        law (“stand your ground” laws). It is important to                 with a significant increase in homicides among
        understand whether particular laws have a differ-                  white individuals, but no change in homicides
        ential impact on the white versus black popula-                    among black individuals.
        tion to ensure that our laws not only reduce over-                    Our article aims to evaluate the potential differ-
        all homicide, but also address the racial disparity in             ential effects of individual state-level firearm laws
        firearm homicides. Reducing the racial disparity                   on the black and white populations. Identifying
        in health outcomes is a stated objective of Healthy                heterogeneity in the effects of these laws on two
        People 2020, which declares the following goal:                    racial groups may have implications for reducing
        “to achieve health equity, eliminate disparities, and              existing racial disparities. We explore the relation-
        improve the health of all groups” (Healthy People                  ship between multiple state firearm laws and black
        2020, n.d., para. 3).                                              and white homicide rates across 39 states during
           Two previous articles examined the relation-                    the period between 1991 and 2016.
        ship between the total number of laws and the                         Previous studies tended to explore the impact of
        black versus the white firearm homicide rates by                   only a single law at a time because of the lack of
        state (Phillips, 2002; Resnick & Randi, 2017). One                 a consistent data source that tracked state firearm
        found that the total number of laws was signifi-                   laws over time. This is problematic because firearm
        cantly related only to the white firearm homicide                  laws tend to be enacted together and one cannot
        rate, whereas the total number of laws had no ef-                  be certain that the observed relationship between
        fect on the black firearm homicide rate (Resnick &                 one law and an outcome is not due to the simulta-
        Randi, 2017). The other study failed to find a sig-                neous presence of another law. We took advantage
        nificant relationship between the firearm law index                of a new state firearm law database (http://www
        and either white or black homicide rates (Phillips,                .statefirearmlaws.org) that allowed us to assess the
        2002). Although they advance the field, these stud-                independent effect of a law while controlling for
        ies do not help us identify which specific laws may                the presence of other laws.
        be affecting homicide rates, so their implications
        for public policy are limited.
                                                                           METHOD
           There are a number of reasons to believe that
                                                                           Design Overview
        firearm laws may have a differential effect on black
        and white people. First, the patterns of homi-                     Using a panel design, we analyzed serial cross-
        cide victimization between white people and black                  sectional data for the 26-year period between
        people are strikingly different, suggesting different              1991 and 2016. This design allowed us to take
        precursors (Cooper & Smith, 2011). If the under-                   advantage of changes in state laws over time to
        lying causes of firearm homicide differ by race,                   explore the relationship between specific types of
        then so may the impact of firearm policies. Sec-                   laws (see Table 1) and homicide victimization rates
        ond,there is evidence that the use of illegal firearms             among white people and black people. We mod-
        in homicides with black victims may be substan-                    eled homicide rates using linear regression with
        tially higher than in homicides with white victims,                log-transformed homicide rates as the outcome
        especially in street crimes in urban areas (Kamm,                  variable. We included year and state fixed effects.
        2014; Kennedy, Piehl, & Braga, 1996; Leovy, 2015).                 We also controlled for a range of time-varying,
        Third, existing literature reports a racial disparity              state-level factors and for race-specific measures of
        in estimated household firearm ownership, with                     absolute deprivation in education, economic sta-
        black people only half as likely as white people to                tus, employment, and housing.
                                                                                                               Exhibit D
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         Table 1: Laws Analyzed, Detailed Descriptions, and Law Changes during Study Period
                                                                                                Number of States
                                                                                                with Law in Effect                        State (Year) When Law
      Law                                               Description                             1991        2016                                Took Effect
      Universal background                 Universal background checks are                           2                  8          CO (2013), CT (1999), DE (2013),
        checks                               required for all firearm sales                                                        NY (2013), OR (2015), WA (2014)
      Permit-to-purchase                   Permits are required to obtain all                        5                  7          CA (2015), CT (2014)




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        requirement                          firearms
      Prohibitions for                     Law prohibits handgun possession                          2                 15          CO (2013), CT (1994), IL (1995),
        violent offenders                    by people convicted of a violent                                                      IA (2010), MD (2009), MA (1994),
                                             misdemeanor crime or people                                                           MN (2014), NH (2000), NY (1996),
                                             who are subject to a domestic                                                         NC (2003), TN (2009), WA (1994),
                                             violence restraining order (and                                                       WI (1996)
                                             requires surrender of firearms)
      “Shall issue”                        Law provides authorities with no                        14                  32          AL (2013), AK (1994), AZ (1994),
                                             discretion in deciding whether                                                        AR (1995), CO (2003), IL (2013),
                                             to grant a concealed carry                                                            IA (2011), KS (2007), KY (1996),
                                             permit                                                                                LA (1996), MI (2001), MN (2003),
                                                                                                                                   MO (2003), NE (2007), NV (1995),
                                                                                                                                   NM (2001), NC (1995), OH (2004),
                                                                                                                                   OK (1995), SC (1996), TN (1994),
                                                                                                                                   TX (1995), UT (1995), VA (1995),
                                                                                                                                   WV (2016), WI (2011), WY (1994)
      “Permitless carry”                   No permit is required to carry a                          1                  9          AK (2003), AZ (2010), ID (2016),
                                            concealed handgun                                                                      KS (2015), ME (2015), MS (2015),
                                                                                                                                   WV (2016), WY (2011)
      “Stand your ground”                  State has a law that allows use of                        0                 24          AL (2006), AK (2013), AZ (2010),
        law in place                         deadly force without a duty to                                                        FL (2005), GA (2006), IN (2006),
                                             retreat when threatened                                                               KS (2006), KY (2006), LA (2006),
                                                                                                                                   MI (2006), MS (2006), MO (2016),
                                                                                                                                   MT (2009), NV (2011), NH (2011),
                                                                                                                                   NC (2011), OK (2006), PA (2011),
                                                                                                                                   SC (2006), SD (2006), TN (2007),
                                                                                                                                   TX (2007), UT (1994), WV (2008)
      Trafficking prohibited               No person may purchase a firearm                          5                 13          CA (1994), CO (2000), CT (1993),
                                            with the intent to resell to a                                                         DE (1994), IL (2000), MN (2015),
                                            person who is prohibited from                                                          NY (2000), UT (1994)
                                            buying or possessing a firearm
     Notes: Laws analyzed in this research study. A description of each law is provided as well as the total number of states that had the respective law in 1991 and the total number
     of states that had the respective law in 2016. Also shown are the states that implemented the law during the study period and the year the law change took effect.




    Variable and Data Sources                                                                    Island, South Dakota, Utah, Vermont, and Wyo-
    Outcome Variables. The main outcome variable                                                 ming). Therefore, our analyses are based on data
    was the age-adjusted homicide rate in each year,                                             from 39 states.
    stratified by race (white or black),without regard to                                            Main Predictor Variable. We created a database
    ethnicity. Homicide rates were obtained from the                                             representing the presence or absence of 133 pro-
    CDC’s (2018) Web-based Injury Statistics Query                                               visions of firearm laws covering 14 categories in
    and Reporting Systems database. Rates were age-                                              each state during the period between 1991 and
    standardized to the 2000 national population. Be-                                            2016 using historical state statutes and session laws
    cause the CDC does not report rates when there                                               through Thomson Reuters Westlaw (the code-
    are fewer than 10 homicides in a given year and                                              book is available online at http://www.statefirearm
    because of the small black population in cer-                                                laws.org). The impact of laws was assessed starting
    tain states, there were insufficient data on black                                           in the first full year they were in effect, following
    homicide rates in 11 states (Alaska, Idaho, Maine,                                           the approach of Lott and Mustard (1997). In other
    Montana, New Hampshire, North Dakota, Rhode                                                  words, we lagged the state laws by one year. This

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              Table 2: Loadings from Principal Components Analysis Used to Derive Uncorrelated
                          Composite Measures of Race-Specific Deprivation Variables
         Variable                               Component 1 Loadings                           Component 2 Loadings                              Component 3 Loadings
         Incarceration rate                                         .50                                            –.13                                             –.03
         Single-parent households                                   .47                                             .01                                              .09
         Unemployment rate                                          .46                                            –.03                                              .13
         Rental housing                                             .45                                             .06                                             –.37




                                                                                                                                                                                 Downloaded from https://academic.oup.com/hsw/article-abstract/44/4/232/5610107 by 81695661, OUP on 30 November 2019
         Poverty rate                                               .35                                             .16                                              .17
         Median income                                              .02                                            –.72                                              .04
         No college degree                                          .01                                             .66                                              .04
         Labor nonparticipation                                     .02                                             .00                                              .89
         Eigenvalue                                                3.92                                            1.97                                             1.19
        Notes: Total variance explained: 88.4 percent. Boldface values indicate variables whose loadings are most clearly associated with each of the components.




        ensured that any impact of the law was assessed                                            of the appropriate homicide rate). These variables
        after its implementation.                                                                  were obtained from the U.S. Census Bureau (pop-
           Although we coded 133 provisions, most of                                               ulation and demographics), National Institute on
        these were detailed operative provisions within a                                          Alcohol Abuse and Alcoholism (alcohol consump-
        single type of law, such as an assault weapon ban or                                       tion), Uniform Crime Reports (crime rates and
        background check law. We selected laws for anal-                                           law enforcement officers), and the CDC (firearm
        ysis by considering laws that might be expected to                                         ownership proxy).
        affect overall homicide rates or that have been stud-                                         In addition, we controlled for eight race-specific
        ied in previous research and choosing only laws                                            socioeconomic factors: incarceration rates, lack of
        for which there is enough variation over time to                                           a college degree, poverty rates, labor force non-
        make analysis meaningful. Based on these crite-                                            participation rates, proportion of children living
        ria, we selected seven laws for analysis: (1) univer-                                      in single-parent households, percentage of the
        sal background checks for all firearms, (2) permits                                        population in rental housing, median household
        required to purchase all firearms, (3) prohibition of                                      income, and unemployment rates. Because of mul-
        firearm possession by people with a history of a                                           ticollinearity among these variables, we could not
        violent misdemeanor crime or relinquishment of                                             include all eight of them in the regressions. There-
        firearms by people who are subject to a domestic                                           fore, we used principal components analysis to
        violence restraining order, (4) “shall issue” laws; (5)                                    create composite measures consisting of a smaller
        “permitless carry” laws, (6) “stand your ground”                                           number of uncorrelated components that captured
        laws, and (7) laws that prohibit firearm trafficking                                       the maximum amount of the variance in the eight
        (see Table 1).                                                                             variables. Using the criterion of achieving eigen-
            Control Variables. We controlled for nine state-                                       values above 1.0, we retained the first three com-
        level factors: percentage population that was black,                                       ponents, obtained after orthogonal rotation. The
        percentage population that was Hispanic, percent-                                          variables that loaded most heavily on each com-
        age of young adult men (ages 18 through 29), total                                         ponent were component 1 (poverty, incarceration,
        population, population density, per capita alcohol                                         unemployment, rental housing, and single-parent
        consumption, the nonhomicide violent crime rate                                            households), component 2 (income and educa-
        (aggravated assault, robbery, and forcible rape), per                                      tion), and component 3 (labor nonparticipation)
        capita number of law enforcement officers, and                                             (see Table 2). These three component scores were
        household firearm ownership, estimated using a                                             entered into the model to control for race levels of
        well-established proxy—the proportion of suicides                                          specific deprivation.
        committed with a firearm—that has been validated
        for use at the state level (Azrael, Cook, & Miller,                                        Analysis
        2004). Note that although this proxy has been                                              As homicide victimization rates are not normally
        validated for cross-sectional analysis, no validated                                       distributed, but skewed and overdispersed, we
        measure exists for time series analysis. We also                                           modeled the log-transformed homicide rates fol-
        included the lagged independent variable (the lag                                          lowing the approach taken in previous work
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                    Table 3: Final Model: Association of State Firearm Laws with Race-Specific Total
                                                    Homicide Rates
                                                                         Percentage Change in Homicide Rate and 95% CI
         Variable                                                      White                Black               Overall
         Lagged firearm homicide rate                               5.5∗ [3.1, 8.0]              1.3∗ [0.8 1.9]
         Population (per 1 million)                                –1.2 [–3.3, 0.9]             –4.2∗ [–6.9, –1.4]
         Population density (per 10 square miles)                   1.2 [–0.3, 2.6]              3.8∗ [1.0, 6.6]




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         Percent black                                                                                                 –1.0 [–4.4, 2.4]
         Percent Hispanic                                          –0.3 [–1.0, 0.4]             –0.6 [–1.7, 0.5]
         Percent young male                                         1.6 [–0.4, 3.7]             –3.1∗ [–6.0, –0.0]
         Per capita alcohol consumption                                                                                10.9 [–3.0, 27.4]
         Violent crime rate                                         4.2∗ [2.0, 6.4]              1.4 [–1.0, 3.9]
         Per capita law enforcement                                                                                    –5.2∗ [–9.8, –0.3]
         Household firearm ownership                                                                                    0.0 [–0.3, 0.3]
         Socioeconomic deprivation component 1                      1.5 [–1.0, 4.2]             –3.2 [–6.9, 0.7]
         Socioeconomic deprivation component 2                                                                          2.1 [–1.9, 6.2]
         Socioeconomic deprivation component 3                     –4.9 [–10.0, 0.7]             3.5 [–0.5, 7.6]
         Universal background checks (all firearms)                                                                   –11.2∗ [–19.0, –2.8]
         Permit-to-purchase requirement                                                                               –11.3∗ [–20.0, –1.5]
         Prohibitions for violent offenders                        –3.2 [–8.4, 2.3]            –12.8∗ [–19.4, –5.6]
         “Shall issue” laws                                                                                             5.7∗ [0.4, 11.3]
         “Permitless carry” laws                                                                                       –6.3 [–14.3, 2.4]
         “Stand your ground” laws                                                                                       2.9 [–3.2, 9.3]
         Trafficking prohibited                                    –5.4∗ [–10.4, –0.1]           3.4 [–5.9, 13.7]
         R2                                                         0.98
     Note: All models controlled for the variables listed above.
     ∗
         p < .05.




    (Siegel et al., 2017). Because we had multiple ob-                            nificance of differences in these coefficients. The
    servations for each state, there was a correlation be-                        coefficients of primary interest were the interac-
    tween these observations over time. To control for                            tion term for the law variables. For example, the
    this clustering we entered year and state as fixed                            interaction term for universal background checks
    effects in the regression models. We used cluster                             (UBCs) was δ × UBC where UBC = 1 if a
    robust standard errors that account for the cluster-                          UBC law was present and UBC = 0 if such a law
    ing of observations within states, serial autocorre-                          was not in effect. The statistical significance of the
    lation, and heteroscedasticity (White, 1980).                                 coefficient for this interaction term was used to
       Because our primary aim was to assess possi-                               assess whether or not the regression coefficients for
    ble differences in the relationship between firearm                           UBC for white versus black homicide rates were
    laws and homicide victimization rates by white                                statistically different. We developed a final model
    versus black race, we used dummy variables to cre-                            in which we included only those interaction terms
    ate interaction terms that allowed the regression                             that were statistically significant at the .10 level. We
    coefficients for white and black homicide rates                               simultaneously included all of the law variables in
    to be compared within a single model (Gujarti,                                this final model to estimate the independent asso-
    1970; Weaver & Wuensch, 2013). We created an                                  ciation of each law with the homicide rate.
    indicator variable, δ, that was 0 for white homi-                                Because we defined the interaction term as
    cide rates and 1 for black homicide rates. We used                            being 1 for black homicide rates and 0 for white
    this indicator variable to create a series of inter-                          homicide rates,the race-specific association of each
    action terms whereby each of the predictor vari-                              variable and the white homicide rate was sim-
    ables was multiplied by δ. These interaction terms                            ply the regression coefficient for the variable itself
    allowed us to estimate separate regression coeffi-                            (without the interaction term). The association of
    cients for each predictor variable for white and                              each variable and the black homicide rate was the
    black homicide rates and to test the statistical sig-                         sum of the regression coefficient for the variable

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         Figure 1: Percentage Change in Homicide Rate Associated with State Firearm Laws, by
                                    Race (Fully Adjusted Results)




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        itself and the regression coefficient for the interac-             RESULTS
        tion term.                                                         An important first finding was that within states,
           Because the outcome variable was log-trans-                     the presence or absence of particular firearm laws
        formed, to generate estimates of the percentage                    varied over time (see Table 1). For example, in
        change in the homicide rate associated with a law,                 1991 no states had a “stand your ground” law. In
        we first exponentiated the regression coefficient                  2016, 24 states had adopted this law.
        for that law, then subtracted 1, and finally, mul-                    In the regression analysis, two laws were sig-
        tiplied by 100. Thus, the regression coefficients                  nificantly associated with lower homicide rates
        are reported as the percentage difference in homi-                 among both white and black populations: universal
        cide rate for states with a particular law compared                background checks (rate difference percent [RD]:
        with states without that law. We conducted analy-                  –11.2; 95% confidence interval [CI]: –19.0, –2.8)
        ses using STATA version 15.                                        and permit-to-purchase requirements (RD: –11.3;
                                                                           95% CI: –20.0, –1.5) (see Table 3) (fully adjusted
                                                                           results displayed in Figure 1). “Shall issue” laws
        Validity Check                                                     were significantly associated with higher homi-
        If the association between a law and lower overall                 cide rates among both white and black populations
        homicide resulted from a true effect of the law,then               (RD: 5.7; 95% CI: 0.4, 11.3).
        one would expect that relationship to be driven                       Two laws had significantly different associations
        by a lowering of the firearm homicide rate, not                    with white compared with black homicide rates.
        the nonfirearm homicide rate. For laws that we                     Prohibitions for violent offenders were negatively
        found to be associated with overall homicide rates,                related to black homicide rates (RD: –12.8; 95%
        we examined their relationship with firearm and                    CI: –19.4, –5.6), but not to white homicide rates.
        nonfirearm homicide rates as a validity check, as                  Laws prohibiting firearm trafficking were nega-
        we would not expect these laws to decrease non-                    tively related to white homicide rates (RD: –5.4;
        firearm homicide rates. The finding of such a rela-                95% CI: –10.4, 0.1), but not black homicide rates.
        tionship would lead us to question the validity of an              “Permitless carry” laws and “stand your ground”
        observed relationship between a law and the over-                  laws were not associated with homicide rates
        all homicide rate.                                                 among either the white or the black population.

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        Table 4: Association of State Firearm Laws with Race-Specific Firearm and Nonfirearm
                                            Homicide Rates
                                                                                             Percentage Change in Homicide Rate
                                                                                            Firearm                     Nonfirearm
      Variable                                                           White               Black    Overall   White     Black    Overall
      Universal background checks (all firearms)                                                              –14.2∗                                                   –5.0
      Permit-to-purchase requirement                                                                          –18.4∗                                                    6.4




                                                                                                                                                                                      Downloaded from https://academic.oup.com/hsw/article-abstract/44/4/232/5610107 by 81695661, OUP on 30 November 2019
      Prohibitions for violent offenders                                   –5.2              –12.2∗                               –3.8             –3.7
      “Shall issue” laws                                                                                         6.8∗                                                   1.1
      “Permitless carry” laws                                                                                   –4.3                                                   –1.9
      “Stand your ground” laws                                                                                   3.7                                                    1.0
      Trafficking prohibited                                               –5.3                –0.6                                0.2             –5.7
     Note: All models controlled for the lagged firearm homicide rate, population, population density, percent black, percent Hispanic, percent young male, per capita alcohol con-
     sumption, violent crime rate, per capita law enforcement, household firearm ownership, and the three socioeconomic deprivation component scores.
     ∗
       p < .05.




       In the validity check, universal background                                                One legal provision has a differential association
    checks, permit requirements, and prohibitions on                                           with homicide rates when disaggregated by race.
    firearm possession by violent offenders were all sig-                                      Specifically, laws containing provisions requiring
    nificantly associated only with the firearm homi-                                          relinquishment of weapons by people subject to
    cide rate, not the nonfirearm homicide rate (see                                           domestic violence restraining orders or prohibit-
    Table 4). However, firearm trafficking prohibition                                         ing firearm possession among all people convicted
    laws were not significantly associated with firearm                                        of a violent misdemeanor had a greater magnitude
    homicide rates.                                                                            of association with the black firearm homicide rate
                                                                                               than the white firearm homicide rate. These find-
    DISCUSSION                                                                                 ings add to previous research reporting that laws
    This article is one of the first to examine the                                            prohibiting firearm possession by people convicted
    extent to which specific firearm provisions affect                                         of a violent misdemeanor were associated with
    race-specific homicide rates in an effort to inform                                        decreased overall homicide rates (Frattaroli & Teret,
    policy development and the understanding of dis-                                           2016; Wintemute, Frattaroli, Claire, Vittes, & Web-
    parities in violence. Our research introduces sev-                                         ster, 2014; Zeoli et al., 2018) by suggesting that
    eral important findings.                                                                   these laws may have a stronger relationship with the
       First, most specific firearms laws examined here                                        black homicide rate than the white homicide rate.
    show no differential association with black and                                            As a result, it appears that policy innovation that is
    white homicide rates, suggesting that they pro-                                            grounded on the principle of keeping firearms out
    vide uniform violence reduction benefits or harms.                                         of the hands of people who have been convicted
    Provisions for universal background check laws,                                            of violent crimes may be especially protective for
    permit-to-purchase laws, and “shall issue” laws                                            the black population, although the reason for this
    demonstrated consistent associations with homi-                                            is not clear.
    cide rates. The negative association between uni-                                             One possible explanation for the differential re-
    versal background check laws and homicide rates                                            lationships observed here with regard to laws that
    observed here confirms prior research demon-                                               require relinquishment of weapons by people sub-
    strating reductions in homicide outcomes (Rud-                                             ject to restraining orders or convicted of violent
    dell & Mays, 2005; Sumner, Layde, & Guse, 2008)                                            misdemeanors may have more to do with racial
    and adds that these associations are present across                                        inequities in the criminal justice system than with
    racial groups. The finding that states with “shall                                         the legal provision itself. There is reason to suspect
    issue” provisions, compared with the more restric-                                         that when a person of color is accused of a violent
    tive “may issue” provisions, had significantly higher                                      misdemeanor, there is a greater likelihood of both
    black and white homicide rates is consistent with                                          arrest and conviction than when a person is white.
    prior research (Kennedy et al., 1996), adding that                                         Stevenson and Mayson (2018) reported a pro-
    this association is not race-specific.                                                     found racial disparity in arrests for misdemeanor
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        crimes, exactly the ones that are prohibiting for                  extent that these characteristics differ by race, they
        firearm possession in the laws we found to be asso-                may confound the findings observed here and
        ciated with lower black homicide rates. Harris,                    would be important to consider in their own right.
        Steffensmeier, Ulmer, and Painter-Davis (2009)                     Finally, the proxy used for household firearm own-
        found that white defendants are significantly less                 ership has not been validated for use in time series
        likely to be convicted after an arrest for aggra-                  analysis, which may help explain why gun owner-
        vated assault than defendants who are black. Thus,                 ship was not found to be related to homicide rates




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        it is possible that laws that keep firearms out of                 in our analysis.
        the hands of people convicted of a violent misde-
        meanor are more effective in reducing black homi-                  Public Health Social Work Implications
        cide rates because black perpetrators of violent                   In evaluating public policy, it is important to de-
        misdemeanors are more likely than white perpe-                     termine not only what works but what works
        trators to be convicted and therefore subject to the               for whom. Our article demonstrates that for one
        firearm prohibition.                                               law there are differential relationships with firearm
           Although we found a relationship between fire-                  homicide rates based on race. Although not sig-
        arm trafficking laws and lower overall homicide                    nificantly associated with white firearm homicide
        rates, this finding failed the validity check, as these            rates, violent misdemeanor laws are associated with
        laws were not significantly associated with firearm                reduced black firearm homicide rates. Univer-
        homicide rates. This is not surprising, as a state’s               sal background checks, permit requirements, and
        trafficking laws would be more likely to reduce the                “shall issue” laws are associated with both white
        trafficking of guns out of that state.                             and black homicide rates.
           Finally, our findings failed to confirm those of                   Reducing racial disparities in health is a rec-
        McClellan and Tekin (2012), who reported that                      ognized priority for public health social work-
        “stand your ground” laws significantly increase                    ers (Keefe, 2010). Social workers should promote
        homicides among white, but not black people.                       firearm laws that are associated with reduced risk
        Here, we find no association between “stand your                   of death for the entire population, but should be
        ground” laws and firearm homicide rates among                      particularly mindful that one strategy for reduc-
        either the white or the black population. One pos-                 ing disproportionate black homicide victimization
        sible reason for this difference in findings is that the           may be advocating for provisions that prevent those
        previous study examined only the decade of 2000–                   subject to domestic violence restraining orders,
        2010, during which the early “stand your ground”                   or who have been convicted of violent misde-
        laws were enacted. When we restrict our analy-                     meanors, from having access to firearms. Public
        sis to the period prior to 2007, we obtain similar                 health social workers can play a critical role in pro-
        results. It may be that the early “stand your ground”              moting evidence-based firearm policies to reduce
        laws had a greater impact than more recent ones                    overall rates of firearm violence and to lessen the
        because they received widespread publicity, unlike                 enormous racial gap in these rates. HSW
        more recent laws that were enacted under the radar
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        does not consider the differential effect of legal                 Azrael, D., Cook, P. J., & Miller, M. (2004). State and local
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             DO CONCEALED GUN PERMITS DETER CRIME?

             DYNAMIC INSIGHTS FROM STATE PANEL DATA⇤

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                                                 January 7, 2018



                                                     Abstract

             Does the liberal permitting of concealed handguns deter violent crime? We propose a dy-
          namic estimator that addresses the time-varying e↵ects estimated by di↵erences-in-di↵erences
          estimators and reconcile contradictory results in the literature. Our estimator accounts for het-
          erogeneous responses to concealed carry law passages across three subpopulations created by
          these policy changes. We estimate all three responses to be significant and the net e↵ect at the
          state level evolves over time as a subpopulation-weighted average of the three. Our estimates
          suggest that a counterfactual policy passing concealed carry laws in all states in 2010 would
          increase overall violent crimes by over 4,000, or up to 5% in certain states.


             JEL Classification: K14, C51



    ⇤
        We thank David Card, Phil Cook, Jin Soo Han, Daniel Ho, Yue Hou, Emily Owens, Frank Sloan,

  and seminar participants at Wharton, Duke, CELS Meeting at Cornell, SOLE Meeting, University

  of Wisconsin-Madison Institute for Research on Poverty Summer Workshop, SEA Meeting, and

  PAA Meeting for helpful comments. All remaining errors are our own.

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  1    Introduction

  Compared with other developed countries, the U.S. has remarkably high rates of gun ownership as

  well as violent crimes. Is there a causal relationship? We concentrate on one piece of this question,

  the relationship between violent crime and the liberal permitting of the right-to-carry concealed

  hand guns. Between 1980 and 2011, 36 states liberalized their permitting with the so-called shall-

  issue laws (SILs), providing for the liberal issue of concealed gun permits analogous to getting a

  driver’s license. Setting o↵ a long controversy, Lott and Mustard (1997) (henceforth LM) reasoned

  that SILs increase the probability that a given would-be perpetrator’s crime will fail because he

  can no longer tell which prospective victim may carry a gun and respond with threats or gun shots.

  In this controversy the weapon of choice has been the di↵erences-in-di↵erences (DiD) estimator

  applied to state and county panel data spanning various intervals of time. Researchers have come

  to divergent conclusions spanning “more guns, less crime” to “more guns, more crime.”

      Elementary dynamic analysis highlights the possibility of three di↵erent e↵ects of the intro-

  duction of SILs—one e↵ect on those already vested in a life of violent crime, another e↵ect on

  those teetering between entering such a life and the alternatives and, thereafter, a selection e↵ect

  on the exit of those who chose to enter in the presence of SILs. With panel data on individual

  potential and actual violent criminals, an empirical specification to measure these e↵ects would

  be straightforward. Unfortunately state (not individual) panels of crime rates for various types of

  violent crimes constitute the best available data.

      To date the research on the impact of SILs has ignored any forward-looking behaviors and

  insights from analysis of the dynamics—insights such as the contemporaneous responses of exist-

  ing violent criminals may di↵er between those who were hit with SILs after they became violent

  criminals and those who selected into a life of violent crime despite the presence of SILs. Rather,

  variations on a static DiD approach have been employed, typically estimating one e↵ect of SILs for

  each type of violent crime. We argue that DiD estimators can be viewed as weighted sums of three

  e↵ects where the weights depend on the shares of three corresponding sub-populations (potential

  entrants, those who were hit with SILs after they became violent criminals, and those who selected

  into a life of violent crime despite the presence of SILs). As the sub-populations change system-

  atically as more time elapses since the passages of SILs, so will the DiD estimates. Thus suppose


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  because the time series lengthens as the years roll by, an early investigator applies DiD to a sample

  period including the immediate aftermath of SILs but not a longer run and a later investigator

  includes many time periods long after SILs passed. Then the DiD estimate of the first will tend to

  estimate a surprise e↵ect and the DiD estimate of the second investigator will weigh the selection

  e↵ect more heavily. And since these e↵ects bear di↵erent magnitudes, the DiD estimate produced

  by the second investigator will tend to be di↵erent from the first investigator. This sensitivity of

  the DiD estimate to the time span of the sample period provides a setup for a long controversy.

     This situation likely arose because there seemed to be no way to incorporate the basic dynamic

  insights into panel data on crime aggregated to state (county, city) averages. In contrast, the

  SIDD estimator proposed here and in more details in McElroy and Wang (2017), while using data

  aggregated to the state level can, nonetheless, tease out the three separate e↵ects dictated by

  almost any dynamic model. We attack the problem indirectly—first by building a model of entry

  and exits from careers in violent crime and wrapping up all three e↵ects in a net entry equation.

  Under appropriate assumptions we link this to the observed changes in the number of crimes at

  the state level, a well-measured dependent variable. In addition, we develop appropriate proxies

  for the relevant sub-populations of violent criminals.

     Assuming that violent crime is a career, we provide a straightforward dynamic interpretation of

  what we term LM’s deterrence hypothesis. Namely, SILs reduce the prospective value of a criminal

  career and also the continuation value for existing criminals. This is sufficient to sign the entry,

  selection and surprise e↵ects, and we strongly reject this hypothesis. We show how the SIDD nests

  the standard DiD model thereby revealing exactly how the DiD scuttles the basic implications from

  dynamics. Tests resoundingly reject the restrictions that reduce the SIDD to a DiD model.

     SIDD thus extends a static DiD model by incorporating the underlying dynamics of forward-

  looking agents flowing in and out of stocks (e.g., careers, marriages), and thereby avoiding the

  seemingly inextricable di↵erences in evaluating a policy change’s (e.g., SILs, divorce laws) impact on

  the stock of agents through di↵erent lengths of samples (especially when di↵erent in post-treatment

  lengths). SIDD does so by providing the proper level of aggregation by cohorts, recognizing that,

  given heterogeneity in agents’ proclivity, potential entrants going into the stock and existing stock

  considering exiting are di↵erentially impacted by the policy change, and that the existing stock

  who entered before and after the policy change are di↵erentially impacted by the policy change.

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  Therefore, one added advantage of SIDD is that, by aggregating properly to the cohorts level,

  we eliminate the need for micro-data or structural models in order to incorporate dynamics, and

  instead estimate on the often readily available state panel data. Note that SIDD, however, di↵ers

  from the usual heterogeneous treatment e↵ect models in that the SIDD cohorts are created by the

  ex-ante unexpected policy change due to selection rather than based on exogenous characteristics

  of the agents.

     On the empirical side, we remain a priori agnostic to di↵erent hypotheses of the e↵ects of

  SILs on violent crime but argue that SILs might have an significant impact on violent crime in

  some direction. Many have argued that it is almost impossible for SILs to have any significant

  e↵ect if SILs do not significantly change the number of gun owners, gun permit holders, or existing

  gun owners’ concealed carry behavior (e.g., Duggan, 2001). For the deterrence e↵ect (if any), we

  argue that it is the perception of criminals that the potential victim might have a gun that leads

  to deterrence rather than the actual probability of such an event. For the alternative hypothesis,

  removing restrictions on gun use (e.g., SILs) would increase citizens’ perceived value of guns and

  potentially increase gun purchases regardless of whether they actually hold a concealed carry permit

  (option value of obtaining a permit later or trading)—the increased gun availability to amateurs

  and exposure to theft would both allow for easier gun access to criminals.

     We estimate that SIL passage di↵erentially impacts the cohorts of potential entrants, existing

  criminals that began their careers before the advent of SIL, and those who started after, thus

  rejecting DiD as a plausible model specification. Specifically, our preferred SIDD specification

  estimates that SIL increases young males’ entry probability into violent crimes by 0.04 percentage

  points on top of a base rate of 0.1% (entry e↵ect). Consistent within the dynamic framework, those

  who entered violent crimes when the entry barrier is lowered by SIL have a higher exit rate by

  13 percentage points in a given year than the base rate before the SIL passage (selection e↵ect).

  Finally, those who became violent criminals before SIL passages now have a 11 percentage points

  increase in exit rate in the year that SIL goes into e↵ect and a smaller increase of about 5 percentage

  points 5 years later (surprise e↵ect). These estimates largely are significant (with robbery being

  most salient among other sub-categories of violent crimes) and remain unchanged when estimated

  on samples with varying lengths.

     The overall impact of the three SIDD e↵ects (entry, selection and surprise e↵ects) turns out

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  to be dominated by the positive entry e↵ect and results in higher churning in and out for violent

  criminals as well as higher overall crime levels, as illustrated in our counterfactual example. We find

  that, if we had adopted SILs in all 11 states and Washington, D.C. that still had stricter gun laws

  in 2010, we could have seen over 4,000 more violent crimes in that year, with plausibly many more

  as time passes by. This e↵ect di↵ers across states, with California seeing the largest increase in

  violent crimes and Washington, D.C. a small decrease in the first year. Percentage-wise, the impact

  is most significant in Rhode Island and Wisconsin at a 5% increase of violent crimes. Decomposing

  the overall e↵ect into entry and surprise e↵ects in the first year shows increased churning rate in

  and out of violent crimes as well. We argue that one can interpret these results as an upper bound

  for the impact of the recently proposed Concealed Carry Reciprocity Act of 2017.

     We now discuss our empirical findings in the context of the literature on concealed carry laws.

  Since the initial LM study (Lott and Mustard, 1997), concealed carry laws have not only been

  focus of a public debate but also a heated academic one. In twenty years, many papers have

  employed similar data (state/county panel) of varying lengths and similar approaches (variations

  of DiD) but could not reach consensus. Some have thus concluded that “it is not an easy task to

  tease out the net e↵ects of [right-to-carry] laws on crime via panel data analyses” (Donohue, 2009),

  and that “data available on these questions are too weak to support unambiguous conclusions or

  strong policy statements” (National Research Council, 2005). In particular, there is a common

  thread in this literature that points out the time-varying dynamic e↵ects of concealed carry laws

  on crimes.1 Our SIDD approach aims to uncover robust estimates of policy impacts by explaining


     1
         Examples include Ayres and Donohue (2009): “Adding data has consistently made RTC look

  worse”; Donohue (2003): “With the expanded data set, there is much evidence that could be

  amassed to support the view that shall-issue laws tend to increase crime, at least in most states.

  But the third set of factors that undermines the more-guns, less-crime hypothesis probably weakens

  that conclusion too: the results tend to be sensitive to whether one uses county or state data, which

  time period one looks at, and what statistical method one employs”; and Kovandzic and Marvell

  (2003): “Although it is often difficult to state, a priori, when the e↵ect of a legal intervention should

  become evident, we question the assumption underlying the use of binary dummy variables that

  RTC laws have a once-and-for-all impact on violent crime...even if researchers using the dummy

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  the underlying dynamics given di↵erent states of the world when evaluating di↵erent lengths of

  samples, and thus yields both significant and time-consistent estimates.

     We attempt to thoroughly survey studies that evaluate e↵ects of concealed carry weapon laws

  on crime using variations of DiD with state and/or county panel data (almost 30 papers). Several

  earlier studies have found supporting evidence for LM’s deterrence hypothesis (Lott and Mustard,

  1997; Lott, 1998, 2010; Bartley and Cohen, 1998; Bronars and Lott, 1998; Lott and Landes, 1999;

  Benson and Mast, 2001; Moody, 2001; Mustard, 2001; Plassmann and Whitley, 2003), while many

  later papers find no, mixed, or opposite evidence against the deterrence hypothesis (Black and

  Nagin, 1998; Ludwig, 1998; Dezhbakhsh and Rubin, 1998; Duggan, 2001; Plassmann and Tideman,

  2001; Duwe, Kovandzic and Moody, 2002; Ayres and Donohue, 2003b,a; Rubin and Dezhbakhsh,

  2003; Kovandzic and Marvell, 2003; Helland and Tabarrok, 2004; Kovandzic, Marvell and Vieraitis,

  2005; Grambsch, 2008; Ayres and Donohue, 2009; Donohue, 2009; Moody and Marvell, 2008, 2009;

  Donohue, Aneja and Weber, 2017; Manski and Pepper, 2017). It is worth noting that, in Section

  3.3, when we re-visit the most popular specifications of Lott and Mustard (1997) and Ayres and

  Donohue (2003b) with more robust controls and clustered standard errors (Bertrand, Duflo and

  Mullainathan, 2004), much of the claimed e↵ects from both papers disappear. The SIDD model

  bears a more general form than the static DiD models used in these papers and provides testable

  restrictions that reduce SIDD to DiD, which were strongly rejected by the data. Our SIDD estimates

  also suggest strongly against the deterrence hypothesis as we find overwhelmingly higher new entry

  into violent crimes after SIL passages. Moreover, similar to implications of SIDD, many of these

  papers discuss SIL’s time-varying e↵ects on crimes (Lott, 1998, 2010; Bartley and Cohen, 1998;

  Moody, 2001; Black and Nagin, 1998; Dezhbakhsh and Rubin, 1998; Plassmann and Tideman,

  2001; Ayres and Donohue, 2003b,a; Rubin and Dezhbakhsh, 2003; Kovandzic and Marvell, 2003;

  Kovandzic, Marvell and Vieraitis, 2005; Grambsch, 2008; Moody and Marvell, 2008, 2009; Donohue,

  Aneja and Weber, 2017; Manski and Pepper, 2017). In particular, while Manski and Pepper (2017)’s

  bounded-variation approach takes an agnostic view towards the data generating process, our SIDD



  variable approach are correct that announcement e↵ects surrounding the passage of RTC laws are

  enough to cause prospective criminals to desist from committing crime, it is unlikely that these

  e↵ects would remain fixed over time.”

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  model aims to explain more variations in the data by exploiting fundamental dynamics of forward-

  looking agents and thus yield useful counterfactual policy recommendations.

      The rest of the paper is organized as follows: Section 2 presents the SIDD model, its relation to

  the standard DiD, and its dynamic implications; Section 3 discusses the empirical setting of violent

  crimes and concealed carry laws as they relate to specifications of SIDD and various data aspects;

  Section 4 describes the results; and Section 5 concludes.



  2     Model

  This section presents a spare model that captures the essential consequences of forward-looking

  behaviors on the part of potential and actual violent criminals in order to identify the di↵ering

  e↵ects of SILs across three sub-populations as well as the total e↵ect. Treating violent crime as

  an occupation lets us capture the e↵ects of SILs on entry into and exit from a career in violent

  crime in a familiar way. Potential entrants are all those who are capable but not yet criminals;

  potential exitors are all those who are currently violent criminals. To simplify the language, in this

  paper, we refer to careers in violent crimes as “careers” and use violent criminals and criminals

  interchangeably. We also refer to the potential entrants and exitors as the “entry cohort” and the

  “exit cohort” even though it is not, strictly speaking, a cohort but a stage of life.


  2.1   Micro-foundation

  Assume the choice governing entry is captured by a value function and those governing exit by a

  continuation function. The passage and presence of SILs a↵ect both. Begin with the entry cohort.

  Let (s, t) denote state s in period t and let N En be the number of potential entrants in (s, t).Then a

  familiar, straightforward reduced-form representation of decisions to enter careers in violent crime

  would be


                                                      SIL
                                  Entryst = (↵0 + ↵1 Ist  + ✏En   En
                                                             st )Nst                                 (1)

             SIL = 1 if SILs are in e↵ect, and ✏En is a well-behaved random error. Parameters to be
      where Ist                                 st

  estimated are the base entry rate, ↵0 , and the impact of SILs on entry, ↵1 . Note that the dependent

  variable Entryst is unobserved.

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       With forward-looking behaviors, the contemporaneous e↵ects of SILs on exits from careers in

  violent crime depend on whether this career was chosen before or after the passage of SILs. For

  those whose entry was prior, the passage of a SIL induces a surprise change in the continuation

  value of this career and consequently exit rates change by the surprise e↵ect, denoted by                                    2.   In the

  case that the advent of SILs causes continuation values to fall, the exit rates increase and                                      2   > 0,
                       Surprised
  and vice versa. Use Nst        to denote the size of the surprised cohort.

       In contrast to the surprised cohort, those who chose their careers in violent crime after the

  passage of SILs presumably capitalized the e↵ect of SILs on the value of a career in violent crime
                                                         Selected to denote the size of this selected
  when they selected into careers of violent crime. Use Nst

  cohort. For if the pool of potential entrants is heterogeneous in their “quality” (proclivity for

  violent crime) the change in the value of the violent career path induced by SILs will a↵ect not

  just the quantity of entrants as in Equation 1 but also their quality and, in turn, change their exit

  rate down the road. This is captured by the selection e↵ect                                1.       In the case that the advent of

  SILs decreases continuation values, the marginal and average violent criminal will have a higher

  quality, be more bu↵ered from negative career shocks, and thus have a lower probability of exiting

  or    1   < 0, and vice versa. These e↵ects are captured in the reduced form exit equations,


                                        ExitSelected
                                            st       =(           0   +      SIL
                                                                          1 Ist    + ✏Ex   Selected
                                                                                      st )Nst       ,                                    (2)


  and

                                      ExitSurprised
                                          st        =(            0   +      SIL
                                                                          2 Ist    + ✏Ex   Surprised
                                                                                      st )Nst        ,                                   (3)

  where       0   is the base exit rate. Thus, as shown below, in contrast to di↵-in-di↵ specifications, this

  enables the SIDD to explain turning points in criminal activity and not just either upswings or

  downturns. Finally, subtracting exits from entrances gives the net increase in criminals,


                              SIL
       N etEntryst =(↵0 + ↵1 Ist  + ✏En   En
                                     st )Nst

                                        SIL
                         (   0   +   1 Ist    + ✏Ex   Selected
                                                 st )Nst

                                        SIL           Surprised
                         (   0   +   2 Ist    + ✏Ex
                                                 st )Nst

                                  SIL   En                               SIL  Selected                       SIL  Surprised
                       =(↵0 + ↵1 Ist  )Nst            (   0   +       1 Ist )Nst            (     0   +   2 Ist )Nst          + ✏st      (4)



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                                                                 Surprised
     where the error ✏st = ✏En  En
                            st Nst      ✏Ex  Selected
                                         st Nst             ✏Ex
                                                             st Nst        . Equation 4 is the basic model for

  the SIDD. Later in the empirical work, we investigate the e↵ect of floodgate and aging e↵ects to

  this model. Our approach highlights the importance of three separate e↵ects of SILs: ↵1 a direct

  e↵ect on entry of youths into violent criminal careers and            1   the subsequent selection e↵ect on

  their exits; and   2   the surprise e↵ect on cohorts of older criminals who began their careers prior

  to SILs. These three parameters capture the two fundamental implications of dynamic analysis.

  These are (i) the impact of SILs on behaviors are not symmetric between potential entrants and

  exitors (youths in their entry windows and violent criminals)—roughly, the ↵’s are not equal to the

  corresponding ’s; and (ii) the impact of SILs on exits from violent criminal careers di↵ers between

  those who began their careers before the advent of SILs and those who began after, i.e.,           1   6=   2.

     Given ideal panel data on individuals, we could observe entries and exits of potential and

  actual criminals and form sub-samples of criminals according to whether their entry preceded or

  post-dated the advent of SILs. Then the strategy would be to estimate each of these three separate

  e↵ects–using variations of DiD–on the corresponding three sub-samples. In reality such data are

  not on the visible horizon. Unlike other occupations, the pool of criminals as well as their entries

  and exits go unobserved. The panel data we do have are aggregated to the state (or county or city)

  level and, of course, do not parse out the criminal population, much less record entry dates. Thus

  a three-separate-regression estimation strategy for state panel data that parallels that for micro

  panel data is precluded. In particular, this strategy is precluded because the crime rates (dependent

  variables) available are for the entire state population, not for the three key sub-populations. The

  point of using the SIDD model is that, despite observing only the impact of SILs on violent crimes

  aggregated to the state level, nonetheless the SIDD provides a way to identify the three fundamental

  dynamic e↵ects of SILs.

     It is worth pausing to create a sketch of the model as contained in Table I. The first two rows

  in Table I show the contribution of each cohort (entry, selected and surprised) to the aggregate net

  entry rate with the two columns giving these contributions before and after SILs, respectively. In

  the third row, weighting each previous row by cohort sizes and then subtracting exits from entries
                                                   Ex is the number of all potential exitors. Finally
  gives the net entry rate before and after SILs. Nst

  weighting the share-weighted columns by (1         SIL ) and I SIL gives the desired net entry rate for
                                                    Ist         st

  each (s, t) in the last row. Note that the expression in the last row is the same with Equation 4.

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       LM’s deterrence hypothesis has a natural interpretation in terms of the SIDD. Recall the channel

  they envisioned was that in the presence of concealed guns born by law-abiding citizens, violent

  criminals faced lower payo↵s in the form of increased risk from their intended victim because they

  can no longer tell which victims are unarmed and which not. This translated into our SIDD

  model as lowering the value of entering a career in violent crime and also lowering the continuation

  value for those who are already criminals. Consequently, we interpret the deterrence hypothesis as

  implying that SILs reduce entry via lowering the career value, i.e., ↵1 < 0. Also, thereafter, those

  who select into crime are fewer in number but more hardcore than otherwise, i.e.,                           1   < 0. Finally,

  and this likely gets closest to what LM had in mind: the advent of SILs is a negative surprise

  for the continuation value for current criminals and they exit at higher rates than otherwise, i.e.,

   2   > 0.


  2.2     Relation to DiD

  To show that the SIDD nests the basic DiD we return to the two basic insights from a dynamic

  model of entry and exit into crime. These are (i) di↵erential impacts of SILs between potential

  entrants and exitors—roughly, the ↵’s are not equal to the corresponding ’s; and (ii) the impact

  of SILs on criminals’ exits by those who began their careers before and after the advent of SIL are

  not equal, i.e.,   1   6=   2.   It is exactly the denial of these insights that reduces the SIDD to the DiD

  estimator.

       Let us impose these in turn on the specification of the SIDD in Equation 4. First deny insight

  (ii) by imposing the restriction that those who became criminals before and after the advent of SIL

  exhibit the same contemporaneous responses to the presence of SILs, or                     1   =    2   =       ⇤,   a common

  value. In that case Equation 4 becomes


                                                 SIL   En                         SIL  Ex
                          N etEntryst =(↵0 + ↵1 Ist  )Nst         (   0   +    ⇤ Ist )Nst   + ✏st .                          (5)


       Then further deny insight (i) by imposing that the contemporaneous impact of SILs is the same

  for potential entrants as for existing criminals, or ↵0 =               0   and ↵1 =      ⇤.   Equation 5 is reduced




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  to


                                                           SIL
                                 N etEntryst =↵0 Nst + ↵1 Ist  Nst + ✏st ,                           (6)


                    En + N Ex is the total relevant population at risk to contribute to the net change
       where Nst = Nst    st

  in the number of criminals. Equation 6 is then the familiar DiD form and is, as everyone knows,

  completely static.


  2.3    Treatment Dynamics

  Under the SIDD, how would passages of SILs a↵ect crime rates? As Equation 4 and Table I show,

  the obvious e↵ects are captured by ↵1 ,    1 and   2    that a↵ect entry and exit of the corresponding

  sub-populations. We turn to how the size and share of each sub-population evolve over time.

       First set aside the entry cohort and presume it is exogenous (i.e., fertility is independent of
                               Selected ) and surprised (N Surprised ) cohorts by the total exit cohort
  SILs). Divide the selected (Nst                         st
    Ex ) so they sum to one, s⇤Selected + s⇤Surprised = 1. Prior to SILs, crime evolves according
  (Nst                        st           st

  the pre-SIL entry and exit rates as they hit the associated entry and exit cohorts. Further, note

  that as of the period when SILs become e↵ective (t⇤ ), essentially all criminals would have entered

  before this. Thus in t⇤ none of the stock of criminals were selected into crime under SILs so that

  s⇤Selected
   st⇤       = 0 and thus s⇤Surprised
                           st⇤        = 1. This contrasts with the long run here defined as beginning

  when the last survivor in the surprised cohort retires or exits (t⇤⇤ ) . By then the cohort shares have

  reversed: s⇤Selected
             st⇤       = 1 and s⇤Surprised
                                st⇤        = 0 and they remain there going forward. Most importantly,

  for t in between t⇤ and t⇤⇤ , the shares evolve systematically with s⇤Selected
                                                                       st⇤       growing (approaching

  1) at the expense of s⇤Surprised
                        st⇤        (approaching 0). These shares are the weights on the selection and

  surprise e↵ects. Hence, the impact of these e↵ects on crime rates go from the surprise e↵ect (       2)

  dominating in the immediate aftermath of the passage of SILs, then fading as these older criminals

  exit and the fraction selected into crime grows until, in the long run, only the selection e↵ect of

  SILs remains. These trends are summarized in Table II.




                                                     11                                       Exhibit D
                                                                                              Page 246
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  3       Empirical Setting

  To remain comparable to the previous literature, we begin by describing the standard sources of

  data used in the concealed carry law literature as well as this analysis. We then turn to addressing

  the usual data limitations given the nature of crimes and how we overcome these challenges to

  construct an otherwise standard state panel dataset for the estimation of SIDD. Finally, we provide

  descriptive evidence in comparing DiD and SIDD.


  3.1       Main Data Sources

  The main and standard sources of data provide information on crime (and arrest) rates and de-

  mographics on the state-year level. We rely on the Uniform Crime Reporting (UCR) Program by

  the Federal Bureau of Investigation for violent crime and arrest rates, and the Regional Economic

  Information System (REIS) of the Bureau of Economic Analysis for demographic control variables.

  We construct a state panel dataset from 1980-20112 . Table B.2 summarizes the UCR and REIS

  data.

      UCR contains type-specific violent crime and arrest rates in the following five categories: (1)

  murder and non-negligent manslaughter, (2) forcible rape, (3) robbery, (4) aggravated assault, and

  (5) total violent crimes (henceforth murder, rape, robbery, aggravated assault, and violent crimes).

  Crime rates refer to the incidences of reported crimes (interpreted as the actual number of crimes)

  and are our outcome of interest. Arrest rates refer to the number of arrests made in each crime

  category in a state-year and are thus typically used as proxy for law enforcement intensity.

      REIS contains several demographic variables that characterize the welfare level in a state-year.

  These include real per capita personal income, income maintenance, unemployment insurance, and

  retirement payment for people older than 65. These variables are typically included in a DiD

  regression to control for the correlation of law passages with state-year level variations that are not

  controlled for by state and year fixed e↵ects or state-specific trends. While not perfect, we also



      2
          Majority of the literature surveyed in Section 1 rely on UCR and REIS with varying lengths

  of sample. We restrict our sample to 1980-2011 given availability of other age-specific data sources

  at the time of writing, detailed in Section 3.4.

                                                     12                                       Exhibit D
                                                                                              Page 247
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  include these variables for comparability.

     The third piece of data concerns the passage years of SILs in each state. Given the disagreement

  in the literature, we conduct independent research into the years SIL went into e↵ect in each state

  up to 2011. Figure B.1 plots the flow and stock of states with SILs over time (state-specific passage

  years in Table B.1 in Appendix B.1). During the 32 years in our sample, 36 states passed SILs

  (from 5 to 41 SIL states) due to what many believe to be a combination of lobbying e↵ort and

  academic influence, while the academic literature reaches no conclusion on the e↵ect of SIL on

  violent crimes. It is also interesting to note that, most studies in the literature use data samples up

  to the late 1990’s when the majority of SIL states had just passed the law. If we believe that the

  e↵ect of SIL on violent crimes could be in any way dynamic, it is not hard to imagine that results

  might be di↵erent in a sample with longer post-treatment years.

     Finally, since we do not observe the beginning of each criminal’s career as it relates to his state’s

  passage of SIL, we infer the selected and surprised cohorts from Equations 2 and 3 by assuming an

  entry window for violent criminals between the age of 13 to 21. Further rationale and robustness

  of the entry window assumption are discussed in Section 3.4 and Appendix A.1. We thus compile

  age specific male population3 from the Census and national arrest rates by age groups from the

  Bureau of Justice Statistics (BJS)4 .


  3.2      Violent Crimes and Concealed Carry Laws

  It is well known that U.S. crime rates peaked in the early 1990’s and have since fallen over time.

  While a SIDD model with parameters           2   < 0 and   1   > 0 can explain an upswing followed by

  a downturn in the crime rate, this does not make the SIDD a good candidate for explaining the

  national time trend. This can be seen in Figure B.2. There states are partitioned into five groups

     3
         Violent crimes reported to be committed by females are far less than those by males and are

  likely to be di↵erent in nature. We restrict attention to males only.

     4
         The BJS arrests data di↵ers from the UCR arrests data in that it reports arrest rates on the

  age-group/year level for each crime category. It covers the period 1980-2011 and reports in 17 age

  groups: 9 or younger, 10-12, 13-14, 15, 16, 17, 18-20, 21-24, 25-29, 30-34, 35-39, 40-44, 45-49, 50-54,

  55-59, 60-64, and 65 or older.

                                                      13                                       Exhibit D
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  with the states within a group all adopting SILs about the same time5 . The first group of states

  adopted SILs prior to 1985 or have always had equivalent or more liberal laws as SIL; the last group

  includes states that adopted SILs in 2011 or had never adopted SIL by 2011. If the swings were all

  explained by SIDD and the passage of SILs, the peak crime rates for each group would all occur

  some years after that group adopted SILs and Figure B.2 would have a series of humps whose max

  moves to the right as adoption years become more recent. Instead, we see that for all groups, crime

  rates peak in the early 1990’s and thus we could best hope SIDD and SILs to explain deviations

  from the overwhelming (non-linear) national time trend.

     Additionally, Figure B.2 also lends some support to the usual assumption in the literature that

  SIL passages are plausibly unrelated to local crime rates. For instance, the group of states with the

  second lowest crime rates was the last group to pass SILs while the group with the lowest crime

  rates was the earliest.

     Figure B.3 then assists in visualizing the relationship between violent crime rates and SIL

  passages by stacking all the “treated” states against “untreated” states at di↵erent point in time.

  Specifically, we follow Gormley and Matsa (2011)6 . Figure B.3 presents the result for both the

  level of crime rates and changes in crime rates. It is evident that it would be hard for one to draw

  any conclusion from this “DiD-type comparison.” In particular, the overall declining crime rates

  cannot be used as evidence for the deterrence hypothesis in comparison to the control group. As

  for the changes in crime rates, while a small overall positive e↵ect of SILs on violent crime rates

  can be detected, it is clear much of the dynamics are left to be explained.




     5
         See Figure 1 of Ayres and Donohue (2003b) for comparison. We follow them for this catego-

  rization but extend it to a longer panel and finer groupings.

     6
         The procedure is as follows: First define a 20-year window around each of the 16 treatment

  years for the 36 states that adopted SILs within our sample and normalize the treatment year to

  zero. Then for each window, use all states who never adopted SILs within the window as the control

  group and states that exactly adopted SIL in that corresponding year as the treated group. Call

  these two groups together a cohort and average across cohorts separately for the treated and the

  control groups.

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                                                                                            Page 249
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  3.3      Re-visit DiD

  Given the noisy relationship between violent crime rates and SIL passages presented in Figure

  B.3, we review estimates in LM and AD, which both employ a DiD-type specification. LM adopts

  a simple “dummy variable model,” where they control for state and year fixed e↵ects (but not

  trends). Column (1) in Table B.3 shows our replication result7 . Specifically, the dependent variable

  is the log of violent crime rates and the demographic controls include arrest rates, state population,

  population density, real per capita personal income, income maintenance, unemployment insurance,

  and retirement payment for people older than 65. In particular, LM also control for a large set of

  race and age group variables (18 groups divided into three races - black, white, and others - and six

  age groups - 10-19, 20-29, 30-39, 40-49, 50-59, and 65+). Similar to LM, we find a roughly 8.8%

  (vs. 5-10% in LM) reduction in violent crimes following SIL passages.

     In columns (2) and (3), we keep the same specification but expand the sample to 1999 and

  2011, respectively. Despite having more data, we find gradually smaller and less precisely estimated

  e↵ects. With this specification and the full sample in (3), we find essentially no e↵ect of SILs on

  violent crimes. We then compare column (4) with (1) by dropping the controversial race and age

  controls. We also find a small and insignificant e↵ect. The last two columns are our preferred

  specifications, where we exclude the race and age controls but instead control for state-specific

  linear and quadratic time trends and account for serially correlated errors by clustering on the

  state level. We find no e↵ects of SILs on either the log or the level of violent crimes. Overall, we

  find that the original LM specification is sensitive to controls, sample lengths, and assumptions on

  error structures.

     We now turn to AD, who employ a longer sample up to 1999 and a “hybrid model” by including

  a time trend interacted with the SIL dummy to capture possible long run e↵ects. While this posits a

  similar idea to SIDD, we argue that SIDD bears a more flexible and interpretable model, especially

  in evaluating long-run policy implications. Columns (1) and (2) in Table B.4 again shows our

  replication result first. We find, similar to AD, by including a trend interacted with treatment, a

  negative short-run e↵ect but a positive long-run e↵ect on violent crimes. Confirming this finding

  are columns (3) and (4), where we again find time-inconsistent estimates for the standard treatment


     7
         Note that we di↵er slightly by starting our sample in 1980.

                                                    15                                       Exhibit D
                                                                                             Page 250
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  e↵ect as we vary the sample lengths. However, in our preferred specifications (5) and (6), these

  results are also sensitive to the set of controls and clustered standard errors.


  3.4    Data Challenges

  Before turning to specifying the model, we briefly discuss two sets of challenges unique to the crime

  setting in applying the SIDD framework.

     First, as is standard in the crime literature, only crime rates–rather than the criminal popu-

  lation–are available to researchers. To illustrate the SIDD framework, we first take the simplest
                                                                     crimes
  assumption that there is a constant relationship  =              criminals   across all criminals. In that case,

  multiplying through Equation 4 by  converts the dependent variable to the observed change in the

  crime rate and changes the interpretation of the coefficients. Thus, the parameters to be estimated

  become ↵i0 = ↵i in place of ↵i . Note, however, that the percent increase in entry rate due to
                                           ↵1 ↵ 0       ↵01 ↵00
  SILs is nonetheless identified because     ↵0     =      ↵00
                                                                .    We also make an attempt to estimate 

  to better interpret the ↵’s. Specifically, we include in our estimation two variables representing

  population admitted to and released from prisons each year and interpret the estimated coefficients

  as . Constructions of these variables are based on Neal and Rick (2014) and detailed in Appendix

  B.4.

     It is worth discussing the implications if the crime intensity  varies across cohorts and in

  response to SILs. The SIDD dependent variable is the time-di↵erenced crime rate. In turn the
                                                                                 crimes
  number of crimes is the number of criminals times the average                 criminals .   Data limitations preclude

  parsing out changes in this intensity between changes in the components. If data permitted, we

  could pursue a more complex model that distinguished, for example, the e↵ects of SILs on the

  numbers of entrants and their average intensity . But, it is not hard to see that such a dynamic

  model would predict that either both e↵ects are positive or both e↵ects are negative and our entry

  parameter ↵1 measures the combination of these two. Hence, although we refer to “entries and exits

  of criminals,” a more accurate descriptor would be “increases and decreases in the crime level.”

  We prefer, however, “entries and exits” because it constantly reminds us of the dynamic decision

  making underpinning our model.

     Second, as mentioned earlier, we, by default, do not observe the entry timings of violent criminals

  as they relate to SIL passages. In order to infer the composition of violent criminals who entered

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                                                                                                             Page 251
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  before a SIL passage (surprised) and those who entered after a SIL passage (selected), we make the

  following assumptions. First, we infer the age distribution of violent criminals in a state-year with

  the age distribution of national arrests in that year. Specifically, this assumes that the probability

  of arrest in a state-year does not vary across ages, and that arrests for each age group as a fraction

  of total arrests in a state-year does not vary across states. Appendix B.2 details this procedure.

  Second, we assume that all violent criminals entered during an entry window between ages 13 to

  21 and can exit between ages 22 to 648 . Given this parsimonious design, we can then assign each

  age cohort to either the surprised cohort or selected cohort. For example, Florida’s SIL went into

  e↵ect in 1988. In 1998, a 40-year-old violent criminal in Florida would be assigned to the surprised

  cohort because he was 30 years old in 1988 and thus is assumed to have entered already. On the

  other hand, a 22-year-old violent criminal would be assigned to the selected cohort because he was

  12 years old in 1988 and could not have entered before the law passage. Finally, in 1998 Florida, a
                                                                                           5
  28-year-old violent criminal was 18 years old in 1988 and thus would be assigned with    9   probability
                                 4
  to the surprised cohort and    9   probability to the selected cohort.


  3.5      Intuition and Extensions

  We further illustrate the intuition for our cohort definitions and estimation of SIDD using the

  Florida example in Figure B.4. The entry cohort is defined using Census male population between

  age 13 and 219 . The total exit cohort (dash-dotted line) measures the stock of violent criminals (up

  to the intensity multiplier ). By definition, before SIL passage, the exit cohort is fully composed

     8
         There are several reasons behind this choice of entry and exit windows. First, the BJS national

  arrests data (Figure B.7) suggests that the age distribution of violent criminals peaks around 20

  regardless of types of crime and time, which is consistent with classic sociology theory (Hirschi

  and Gottfredson, 1983). Second, the age range 13 to 64 covers, on average, 98% of violent crimes

  committed across state-years. Third, the cuto↵ age 21 is picked by the SIDD model that maximizes

  the log-likelihood of the estimated baseline. Robustness around the choice of entry and exit windows

  is shown in Section A.1.

     9
         We do not attempt to further exclude the violent criminal population since the average violent

  crimes per population is only 0.48%.

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                                                                                                Page 252
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  of the surprised cohort (dotted line) - those who became a violent criminal prior to SIL. As time

  goes by since the adoption of SIL, the selected cohort (dashed line) keeps increasing and eventually

  replaces all the surprised cohort, as the violent criminal stock is replaced with entrants from the

  post-SIL era. A new equilibrium establishes as the selected cohort coincides with the total exit

  cohort. In Figure B.4 we also show the lengths of samples used in LM and AD. In states where

  SILs were adopted before 1992, LM’s sample weighs more on the surprise e↵ect in a DiD model

  while AD’s sample weighs more on the selection e↵ect. We show in Section 4.3 that in the full

  national sample, given gradual passages of SILs among di↵erent states, DiD would be biased by

  the changing weights (shares of cohorts) of surprise and selection e↵ects while SIDD teases them

  apart consistently.

     As alluded to earlier, there are two extensions to the baseline SIDD model to allow for more

  flexibility given the specific empirical setting. First, we incorporate aging e↵ects into the base exit

  rates of violent criminals. In theory, there are many reasons why the base exit rates for violent

  criminals are di↵erent at di↵erent ages - people at di↵erent stages of their life cycles have di↵erent

  physical conditions for the profession of crime, have accumulated various levels of human capital

  specific to the crime career, have di↵erent lengths of career left until retirement and thus di↵erent

  continuation values, and etc. Indeed, these are supported by the data (Appendix B.3). This would

  bias the SIDD estimates as our cohorts are defined based on age, as illustrated in Figure B.5. While

  the overall entry and exit cohorts stay relatively constant in their average age, the surprised cohort

  ages quickly over time as they are not replenished with young counterparts and will eventually all

  reach retirement age. On the other hand, the selected cohort also ages due to the aging of its initial

  young constituents but will be balanced out by new entrants and eventually converge to an average

  age around 34 when the surprised cohort completely disappears. It is thus important to account

  for the di↵erential aging e↵ect in exit across these two cohorts as not to attribute the di↵erence to

  the estimated selection or surprise e↵ects.

     The second extension is to incorporate floodgate e↵ects into the surprise e↵ect. In a dynamic

  model, the surprise e↵ect only measures the average change in exit rates among the surprised

  cohort. However, with heterogeneity in continuation values (as a result of either heterogeneous

  proclivity for violent crime or length of remaining career until retirement), the marginal criminals

  are to be surprised first, with fewer and “higher-quality” incumbent criminals to be surprised as

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  time passes after the initial SIL passage. We therefore expect the surprise e↵ect to be most salient

  in the immediate years following passages of SILs and to gradually taper o↵ over time. We non-

  parametrically estimate these “floodgate e↵ects” by decomposing the average surprise e↵ect over

  the years succeeding the SIL passages.

      We now turn to specifying the empirical model to be estimated as well as the two extensions of

  aging and floodgate e↵ects.



  4     Estimation and Results

  In this section we present the specifications and estimates of SIDD, as well as hypothesis and model

  specification tests comparing SIDD to DiD, and then turn to a counterfactual policy experiment

  that decomposes the three e↵ects of SIDD.


  4.1   Specifications

  As outlined in Sections 3.4 and 3.5, we now present the SIDD specifications applied to violent

  criminals. We begin by specifying the estimating Equation 7 for the baseline model in Equation 4:



                                         21
                                         X                       21
                                                                 X
              C
              st (N etEntry)   =   ↵00           En
                                                Nast   +   ↵10           En SIL
                                                                        Nast Ist
                                         a=13                    a=13
                                         X64                            64
                                                                        X                         64
                                                                                                  X
                                                 Ex            SIL            Selected      SIL           Surprised
                                    0           Nast        1 Ist            Nast        2 Ist           Nast
                                         a=22                         a=22                        a=22

                               + Xst + ✏st .                                                                                (7)


      By multiplying through Equation 4 by the crime intensity , we transform the dependent

  variable to changes in violent crimes, i.e., di↵erence between the number of crimes in state s in
                                                                               En are population
  year t + 1 and year t, and then weighted by the state population in year t. Nast

  of males at age a in state s and year t as the entry cohort. Note that ↵i0 = ↵i , where ↵0 is the

  base entry probability for young males into violent crimes and ↵1 the change in entry probability
                       SIL are indicator functions of whether state s has SIL in e↵ect in year t. N Ex
  after SIL adoption. Ist                                                                          ast

  are imputed violent crimes committed by age cohort a in state s and year t, i.e., the imputed C̃ast


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                                Ex are then divided into N Selected and N Surprised based on age
  as detailed in Appendix B.2. Nast                       ast            ast
                                                                                           Ex are
  relative to SIL passage year and the procedure outlined in Section 3.4. Note that since Nast

  on the crime- rather than criminal-level, we directly interpret                           0,    1   and     2   as the base exit rate,

  selection e↵ect and surprise e↵ect. Finally, the set of controls Xst includes prison admissions and

  releases, state population, population density, real per capita personal income, income maintenance,

  unemployment insurance, and retirement payment for people older than 65, state and year fixed

  e↵ects, and state-specific linear and quadratic time trends.

       We now add in aging e↵ects. Given the evidence for non-linear exit rates over age (Appendix

  B.3), we parametrize the base exit rate as a quadratic function (robustness in Appendix A.2) in

                                                                         =        +                    2,
  age to capture life cycle e↵ects on exit rates, i.e.               0        0        1a   +     2a        and estimate     i ’s   in place

  of   0   as follows:



                                                  21
                                                  X                       21
                                                                          X
                         C
                         st (N etEntry)   = ↵00           En
                                                         Nast + ↵10                En SIL
                                                                                  Nast Ist
                                                  a=13                   a=13
                                                  64
                                                  X                      64
                                                                         X                            64
                                                                                                      X
                                                         Ex                       Ex
                                             0          Nast         1          aNast            2          a2 Nast
                                                                                                                Ex

                                                 a=22                    a=22                     a=22
                                                         64
                                                         X                                       64
                                                                                                 X
                                                SIL              Selected                SIL             Surprised
                                             1 Ist              Nast                  2 Ist             Nast
                                                         a=22                                    a=22

                                          + Xst + ✏st .                                                                                 (8)


     At last, we incorporate floodgate e↵ects. We non-parametrically estimate the tapering-o↵ of the
                                                                P         j           j
  surprised e↵ect in years following SIL passage by letting 2 = 9+ j=0 j Ist , where Ist are dummies

  indicating the j th year after SIL passage (robustness in Appendix A.3).                                     j ’s   then represent the

  evolution of the surprise e↵ects after the initial passages of SILs. Put together, we arrive at the

  preferred SIDD specification in the crime setting:




                                                                20                                                            Exhibit D
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                                               21
                                               X                        21
                                                                        X
                     C
                     st (N etEntry)   = ↵00            En
                                                      Nast + ↵10               En SIL
                                                                              Nast Ist
                                               a=13                    a=13
                                               X64                     64
                                                                       X                      64
                                                                                              X
                                                     Ex                         Ex
                                         0          Nast           1          aNast       2          a2 Nast
                                                                                                         Ex

                                             a=22                      a=22                   a=22
                                                      64
                                                      X                        9+
                                                                               X              X64
                                            SIL               Selected                   j            Surprised
                                         1 Ist               Nast                     j Ist          Nast
                                                      a=22                     j=0            a=22

                                      + Xst + ✏st .                                                                               (9)


     Because the exit cohorts are imputed from lagged crime rates (relative to the dependent vari-

  able), we follow the dynamic panel data literature (Anderson and Hsiao, 1982) and use lagged
             Ex
  variables Nas,t+1    Selected and N Surprised as instruments for all exit cohorts in the model by as-
                    , Nas,t+1        as,t+1

  suming that crime rates Cst follow an AR(1) process. We then estimate Equation 9 with two stage

  least squares (OLS estimates also reported in Appendix A.4).

     Table III presents estimates of di↵erent specifications of SIDD, with and without aging and

  floodgate e↵ects, on the total violent crimes. The first column shows results for the baseline model

  in Equation 7, which includes the three SIDD e↵ects - direct entry e↵ect, surprise e↵ect, and

  selection e↵ect - as well as the base entry and exit rates. We report a selected few parameters

  of interest and sign the relevant parameters of SIDD with respect to the deterrence hypothesis.

  Notably, the signs of the estimated direct entry e↵ect (↵10 ) and selection e↵ect (                          1)   contradict those

  predicted under the deterrence hypothesis. The two signs are nonetheless internally consistent

  within the dynamic framework - more entry into violent crimes after SIL passages leads to higher

  churning rate out of the criminal force years later when it comes to the exit of these marginal

  criminals, resulting in a labor force shakeout. The surprise e↵ect, is estimated to increase exit rates

  in the post-SIL era for cohorts who became criminals before SIL passages. The older incumbent

  cohorts were shocked negatively by SIL passages despite positive reactions of the potential entrants.

  We thus only find evidence on partial deterrence of SILs on the incumbent criminals.

     We now discuss the magnitudes of the estimated coefficients in the baseline model in light of the

  unobservable crime intensity . Recall that from Section 3.4 once we multiply Equation 4 through
                                                                                              ↵1 ↵ 0       ↵01 ↵00
  by , we now identify parameters      i ’s   but only ↵i0 = ↵i as well as                    ↵0     =      ↵00
                                                                                                                   .   Therefore, the


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  baseline SIDD estimates a roughly 18% increase in entry probability from males between 13-21 into

  violent criminals due to the adoption of SIL. This is equivalent to a 0.04 percentage points increase

  on top of a base 0.2% entry probability if we interpret the estimated coefficient of the imprisoned

  rate as  ⇡ 9.410 . However, with the lower entry barrier into violent criminals after SIL passages,

  we also estimate that those who became violent criminals after SIL passages are almost 50% more

  likely to exit in a given year than the base rate before SIL passages (selection e↵ect). Finally, those

  who became violent criminals before SIL passages are 20% more likely to exit in a given year due

  to SIL passages (surprise e↵ect).

     Column 2 relaxes the fixed base exit rate assumption by introducing aging e↵ects. We find strong

  evidence supporting life cycle e↵ects on exit rates for violent criminals. The resulting parabola of

  exit rates constructed from these estimates suggests the lowest exit rate around age 34, consistent

  with a theory of countervailing physical condition life-cycle and human capital accumulation. All

  estimated SIDD coefficients stay statistically unchanged from the baseline model except for the

  selection e↵ect. This is not surprising as the previously estimated selection e↵ect is an artifact of

  the much younger selected cohort, which is now accounted for by the aging e↵ects.

     On the other hand, Column 3 relaxes the surprise e↵ect to be flexible over time with floodgate

  e↵ects. The estimated SIDD coefficients (except that of surprise e↵ect) again stay statistically

  unchanged from the baseline model. Consistent with an underlying dynamic model, the floodgate

  e↵ect is estimated to be largest in the immediate years following passages of SILs and taper o↵ as

  time goes by. Note that we non-parametrically estimate the surprise e↵ect by each year succeeding

  SIL passages and thus obtain less precise estimates for later years. We however refuse the temptation

  of re-running the regressions with ex-post cuto↵s for grouping post-SIL years but only report such

  results in Table A.3 (Appendix A.3) for robustness.

     Finally, we combine aging and floodgate e↵ects and arrive at our preferred SIDD specification,

  as in Equation 9, presented in Column 4 of Table III. The estimated coefficient ↵i ’s suggest that

  SIL increases entry probability of young males between 13 and 21 into violent criminals by 43% or

  0.04 percentage points on top of a base 0.1% entry rate. The estimated coefficient     i ’s   suggest that


    10
         The inclusion of imprisoned and released population does not a↵ect the rest of the coefficient

  estimates.

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  1) SIL passages surprise existing criminals who would have an increase of 11 percentage points in

  exit rate in the year SIL goes into e↵ect and an increase of about 5 percentage points 5 years later;

  and 2) new criminals selected by SIL passages on average have a higher exit rate by 13 percentage

  points in a given year than the base rate before SIL passages.

     With the SIDD estimates in hand, we now turn to a series of formal hypothesis and specification

  tests. Table IV presents the results, where we compare across the four SIDD specifications from

  Table III. First, when applicable, the estimated parabola of exit rates bottoms out at age 34 and

  is precisely estimated. Second, while individual floodgate e↵ects (especially in later years) can be

  noisily estimated, we show that the aging e↵ects and floodgate e↵ects are both jointly statistically

  significant. Third, we turn to testing the deterrence hypothesis put force by LM. As is evident from

  the individual estimates of the SIDD parameters, the one-sided tests in Table IV formally rejects the

  deterrence hypothesis that ↵1 < 0,                1   < 0, and       2   > 0. Finally, we test the model restrictions that

  reduce SIDD to a standard DiD, as discussed in Section 2.2. Specifically, we test two conditions:

  1) there is a homogenous e↵ect on exit rate from SIL passages for violent criminals who entered

  before and after, i.e.     1   =   2   =    ⇤;   and 2) there is a homogenous impact of SILs between potential

  entrants and exitors, i.e. ↵0 =                  0    and ↵1 =           ⇤.   Note that in SIDD specifications where we

  specify floodgate e↵ects in place of the surprise e↵ect, we also change the conditions                           1   =   2   =   ⇤

  and ↵1 =      ⇤   to   1   =   j , 8j   and          ↵1 =   1   =    j , 8j,   respectively; with aging e↵ects, we change

  replace the condition ↵0 =              0   with ↵0 =            0   and       1   =   2   = 0. The resulting tests are shown

  at the bottom of Table III, which overall strongly reject the DiD specification. In particular, the

  di↵erential impacts of SILs on criminals’ exits by those who began their careers before and after

  the advent of SIL are most evident in our preferred specification, while the di↵erential impacts of

  SILs between potential entrants and exitors are strong across all specifications.


  4.2    Preferred SIDD Specification by Crime Types

  We have so far estimated SIDD on the total violent crimes. To further evaluate e↵ects of SIL on

  specific types of violent crimes, we now compare SIDD estimates across sub-categories of violent

  crime. Table V shows the results of our preferred SIDD specification estimated on murder, rape,

  robbery, and aggravated assault, with total violent crimes presented again for comparison. We first

  note that the SIDD estimates are consistent in signs (except imprecisely estimated parameters)

                                                                      23                                               Exhibit D
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  across the four sub-categories and the total violent crime, suggesting similar impact of SIL on

  di↵erent types of violent crimes. Specifically, we find SILs to reduce the barrier of entry for

  potential entrants of robbery. Consistent with easier entry, we find the post-SIL selected violent

  criminals to have higher exit rates, though less precisely estimated for the sub-categories than for

  the total violent crime. The impacts of SIL on those who began their careers before the advent of

  SIL are also consistent across crime types, although only statistically significant for robbery. The

  dynamic floodgate e↵ects are, however, present in all sub-categories of violent crime, as depicted in

  Figure B.6. Figure B.6 plots the floodgate e↵ects over time against the estimated selection e↵ect

  (leftmost) for each crime type. Positive (especially if larger than the surprise e↵ects) selection e↵ects

  are evidence against the deterrence hypothesis, while the di↵erences between surprise and selection

  e↵ects would also imply misspecification of a DiD. We defer the formal tests of these arguments

  to later. Finally, the significant estimates of robbery compared the other three sub-categories of

  violent crime confirms our prior that robbery is most likely to be rationally planned ahead and

  thus a↵ected by the advent of SIL.

     We again formally test the deterrence hypothesis and SIDD and DiD specifications for each crime

  type, shown in Table VI. First, ages for lowest exit rates are similar across crime types, with murder

  being highest and rape and aggravated assault lowest. Second, both aging and floodgate e↵ects

  are jointly significant across all crime types but murder. Third, while we find strongest evidence

  for robbery, there is suggestive evidence that SIL lowers the barrier of entry into murder and

  aggravated assault to reject the deterrence hypothesis as well. Finally, across the sub-categories of

  violent crimes, we find strong evidence in both di↵erential impacts of SILs on selected and surprised

  cohorts as well as di↵erential impacts of SILs between potential entrants and exitors for every crime

  type (with one exception in murder) to reject a standard DiD specification.


  4.3   DiD vs SIDD

  Our estimates have so far shown that the data rejects model restrictions that reduce SIDD down

  to a standard DiD. In this section, we further explore features in the data that drive the time-

  inconsistent estimates of DiD we see in the literature (Section 3.3) as they relate to the theory

  of SIDD. Results in Table VI show that there are di↵erential impacts of SILs between potential

  entrants and exitors as well as between those who began their careers before and after the advent

                                                     24                                         Exhibit D
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  of SIL. We now explore these di↵erential e↵ects might systematically evolve over time and manifest

  themselves potentially in the time-inconsistent DiD estimates we see.

     Expanding on our previous Florida example, Figure I plots the evolutions of average cohort sizes

  of potential entrants, exitors, selected criminals, and surprised criminals across states over time.

  As discussed in Section 2.3, these cohort dynamics would dictate the overall impact of SILs on

  crimes, especially in the transitional years before a new equilibrium establishes. Specifically, while

  the potential entrant cohort (solid line) measures male population between 13-21 and is thus flat

  over time, the entry e↵ect - potential entrant cohort interacted with SIL passages (double solid line)

  - grows over time as more states adopt SILs. The exitor cohort exhibits a more nuanced story. The

  surprised cohort (dotted line) first increases as more states adopt SILs and then starts decreasing

  in late 1990’s as the older criminal cohort exit without being replenished. On the other hand, the

  selected cohort (dashed line) keeps gradually increasing as more states adopt SILs and more new

  criminals having entered under SILs. Finally, note that the total exit cohort (dash-dotted line) is

  not the sum of the selected and surprised cohorts nationally as states adopt SILs at di↵erent times

  and some states never do so.

     We also indicate by the two vertical lines the end of the samples used in LM and AD, respectively.

  Thus, by Figure I, we postulate the shorter LM sample ends right after a wave of SIL adoptions in

  early 1990’s and the overall DiD estimate of SIL impact on crimes is dominated by a large surprise

  (floodgate) e↵ect and small entry and selection e↵ect. On the other hand, the longer AD sample

  ends much later when the floodgate e↵ects taper o↵ and the surprised cohort starts shrinking while

  entry and selection e↵ect start kicking in. These changing dynamics would convolute the standard

  DiD - a weighted average with assumed constant weights - estimated on such di↵erent samples,

  while SIDD could achieve time-consistent estimates by properly accounting for these dynamics.

     To provide more direct evidence, we re-run our analysis using LM’s and AD’s samples and

  compare SIDD estimates to DiD estimates run in parallel. Table VII first summarizes average

  cohort sizes depicted in Figure I as fractions of total population at risk (for violent crimes), per

  notation in Section 2.3. DiD specifications are estimated on both levels and changes in violent

  crimes as follows:
                                                SIL
                                     Cst = ↵ + Ist  + Xst + ✏st ,



                                                   25                                        Exhibit D
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  and
                                       C
                                       st   = ↵0 +   0 SIL
                                                      Ist    +   0
                                                                     Xst + ✏0st ,

  where the dependent variable is the level of and change in total violent crimes, respectively, and

  Xst includes the same set of controls as in our preferred SIDD specification in Equation 9. Note

  that, other than the more robust modifications made to LM and AD in Section 3.3, we also include

  in the controls prison admissions and releases to be comparable to the SIDD estimates11 . Results

  are shown in the middle panel of Table VII. Much as debated in the literature and claimed in

  National Research Council (2005), we find imprecisely estimated coefficients of the DiD model with

  no consistency in signs over di↵erent lengths of samples. On the other hand, the bottom panel

  of Table VII shows that, teasing apart the three e↵ects convoluting the DiD estimates - entry,

  selection and surprise e↵ects - the SIDD estimates are much more precisely estimated with the

  same data as the DiD but also consistent over di↵erent lengths of samples12 . In the shortest sample

  (1980-1992), SIDD also struggles to precisely pin down the entry, selection and surprise e↵ects and

  attribute variations in crime rates mostly to the base entry and exit rates. Nonetheless, SIDD

  consistently estimates the entry, selection, and surprise e↵ects across all samples, which yield the

  most important policy implications, as we now turn to in the next section.


  4.4      Counterfactual Policy

  Concealed carry policies in the U.S. have drawn considerable public attention in the past decades.

  By 2010, 39 states have SILs in e↵ect. In this section, we consider a policy that would mandate the

  remaining 11 states13 and Washington, D.C. to adopt SILs in 2010. While such blanket policy might

  be too strong to be realistic, a weaker but closely stated policy–the Concealed Carry Reciprocity Act


    11
         The estimates of the DiD-in-levels specification for the 1980-1992 sample and the 1980-1999

  sample are hence slightly di↵erent from those in Column 6 of Table B.3 and Table B.4, respectively.

    12
         Di↵erent from our preferred SIDD specification, here we estimate the baseline SIDD model and

  with OLS to be comparable to the DiD estimates.

    13
         California, Delaware, Hawaii, Iowa, Illinois, Massachusetts, Maryland, New Jersey, New York,

  Rhode Island, and Wisconsin.

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  of 2017–was recently proposed and passed the House in December 2017.14 The CCRA mandates

  each state to recognize concealed carry gun permits of all other states.15 In what follows, we

  evaluate, using our SIDD estimates, impacts of SIL adoptions on violent crimes in the 11 states

  and Washington, D.C.

     Specifically, Equation 10 describes our counterfactual predictions for changes in violent crimes

  in the first year of SIL adoption. Aside from the base entry and exit rates, which remain unchanged,

  new SIL passage turns on the entry e↵ect as well as the surprise e↵ect (both bolded in Equation 10)

  with the first floodgate year   0.   Note that there is no selection e↵ect in the first year as all existing

  criminals have entered before the counterfactual SIL passage. By the same logic, the surprised




    14
         See   “H.R.38   -   Concealed     Carry    Reciprocity    Act     of   2017,”     CONGRESS.GOV,

  https://www.congress.gov/bill/115th-congress/house-bill/38             and    “House     Votes   to    Sharply

  Expand       Concealed-Carry    Gun       Rights,”     The    New      York     Times,     December        6th,

  2017,            https://www.nytimes.com/2017/12/06/us/politics/house-concealed-carry-guns-nra-

  reciprocity.html, accessed December 25th, 2017.

    15
         This means that states with much stricter gun laws like New York and California would need to

  accommodate concealed carry by holders of permits approved by states with much looser gun laws.

  While the CCRA is not intended to enforce SIL adoptions across states, it could however e↵ectively

  change people’s perception of whether other people are carrying guns and their evaluations of costs

  and benefits of being violent criminals—what LM originally claimed as the mechanism for the

  deterrence hypothesis. Nonetheless care should be taken and our results could be interpreted as an

  upper bound of CCRA’s impact on violent crimes.

                                                       27                                               Exhibit D
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                                                       Surprised    Ex .
  cohort is composed of all existing criminals, i.e., Nast       = Nast

                                        21
                                        X                       21
                                                                X
                           ˆC    ˆ 00
                            st = ↵
                                                En
                                               Nast   +   ˆ10
                                                          ↵            NEn   SIL
                                                                        ast Ist
                                        a=13                    a=13
                                        64
                                        X                   64
                                                            X                      64
                                                                                   X
                                               Ex                      Ex
                                  ˆ0          Nast    ˆ1             aNast    ˆ2          a2 Nast
                                                                                              Ex

                                       a=22                 a=22                   a=22
                                           64
                                           X
                                 ˆ0 I0st          NSurprised
                                                   ast
                                           a=22

                               + ˆ Xst                                                                                (10)


     Overall, even in the very short-term (one year), we find there to be over 4,000 more violent crimes

  across the 11 states and Washington, D.C., which amounts to a roughly 1% increase in violent crimes

  in 2010. However, Figure II shows large heterogeneity across states—in the short run, SIL passages

  would increase violent crimes for 9 states (California, Hawaii, Iowa, Illinois, Massachusetts, New

  Jersey, New York, Rhode Island, and Wisconsin) and decrease for 3 (Washington, D.C., Delaware,

  and Maryland). In particular, California could see an increase of 1,500 violent crimes in one year

  (top panel, Figure II), while Rhode Island and Wisconsin’s violent crimes increase by 5% (bottom

  panel, Figure II).

     We further decompose the overall predicted changes in crimes into our SIDD e↵ects in Figure

  III. Note that since we are focusing on short-run (one year) impacts of SILs in this exercise, the

  overall e↵ect is composed of entry and surprise e↵ects only as there are no new criminals who

  have begun their careers after SIL yet. Moreover, in context of the floodgate e↵ects, all of the

  existing criminals experience the surprise e↵ect in the first year with                    0.   Figure III shows that the

  overall e↵ect of SIL is a net e↵ect of the o↵setting entry and surprise e↵ects in the first year of SIL

  passage. These e↵ects vary across states and could result in an initial dip in total crime levels. As

  time passes by, the surprise e↵ect tapers o↵ while the entry e↵ect generally dominates the selection

  e↵ect, we could see those states with an initial dip having higher levels of crimes than what they

  started with.




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  5    Conclusions

  In this paper, we propose a new model that generalizes the intrinsically static di↵erences-in-

  di↵erences (DiD) approach in evaluating impacts of policy or regime changes. Our model is moti-

  vated by the observation that many DiD studies with di↵erent lengths of samples exhibit seemingly

  inextricable dynamic di↵erences (SIDD) and that underlying decision makers are heterogeneous

  and forward-looking. According to basic dynamic insights, such scenarios arise when the regime

  shift of interest impacts continuation values of a heterogeneous flow in and out of a stock, while the

  policymakers are typically interested in the overall e↵ect of the policy on the stock. This overall

  e↵ect exhibits the time-varying pattern as it is initially dominated by a direct entry e↵ect and

  surprise exit e↵ect from existing stocks that entered under the old regime, and a third selection

  e↵ect kicks in later on as new stocks that entered under the new regime would have a di↵erent exit

  rate. Such dynamics would settle down into a steady state when all the old stocks are depleted and

  a new equilibrium thus establishes. While levels of stock in the new equilibrium may seem to be of

  primary interest to policymakers, we think the transitional era is also important to understand as

  it could very often take decades before the new equilibrium establishes.

      The SIDD model accounts for these dynamic insights by providing proper levels of aggregation

  and is thus suitable for the often available state/county panel data. Specifically, we make distinc-

  tions between three cohorts among the whole population as risk (as it relates to the stock): 1)

  a cohort of potential entrants (entry e↵ect); 2) a cohort of existing stock that entered under the

  new regime (selection e↵ect); and 3) a cohort of existing stock that entered under the old regime

  (surprise e↵ect). Signing the three distinct e↵ects can be used to test a variety of di↵erent efficacy

  metrics of the policy. Restricting the three e↵ects to be the same would reduce the SIDD model to

  a standard DiD and thus produces the corresponding DiD specification test. Finally, putting the

  three e↵ects together can provide counterfactual analysis of policy experiments to uncover unbiased

  overall e↵ect for any duration of post-treatment time.

      We apply the SIDD model to the setting of concealed carry laws and violent crimes. Specifi-

  cally, we are interested in the e↵ect of shall-issue laws (SILs) on violent crimes. This question is

  of considerable policy importance and urgency, and the academic literature, when applying DiD

  on state/county panel data, reaches no consensus. Our estimates suggest that, although existing


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  violent criminals who began their careers before the advent of SILs were surprised and exhibited

  higher exit rates (surprise e↵ect), SILs lowered the barrier of entry for new criminals (entry e↵ect)

  and dominates the overall e↵ect even though these new criminals also have higher exit rates (selec-

  tion e↵ect). These estimates are significant, time-consistent, and strongly rejects Lott and Mustard

  (1997)’s famous deterrence hypothesis. The three e↵ects are also significantly di↵erent from each

  other to reject the DiD being a plausible model.

     To further analyze the overall impact of adopting SILs, with our SIDD model and estimates we

  conduct a counterfactual policy experiment that passes SILs across all states in 2010. This policy is

  in spirit similar to the recently proposed Concealed Carry Reciprocity Act (CCRA) of 2017, which

  requires on a federal level states to recognize concealed carry permits from all other states. This

  proposal has just passed the House by December 2017 and spurred a fair amount of public debate.

  We estimate that, by passing SILs in all 11 remaining states and Washington, D.C. in 2010, this

  policy would increase total violent crimes by over 4,000 in 2010 alone and plausibly many more

  over time. We also find significant heterogeneity across states and a by-product of higher churning

  rate in and out of violent crimes.

     Finally, we think the SIDD model has much broader use beyond the crime setting, suitable for

  any analysis of regime changes concerning flows in and out of stocks. For example, marriage and

  divorce is another suitable setting for applying SIDD16 as divorce law changes a↵ect divorce costs

  and thus continuation values of marriages. As Wolfers (2006) points out, the dynamic responses

  of divorce rates after changes in divorce laws are salient but still puzzling. The SIDD model

  o↵ers a micro-founded explanation for these dynamic patterns and yields straightforward policy

  implications.




    16
         See Iyvarakul, McElroy and Staub (2011) for another similar SIDD application in the marriage

  setting.

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                                                                                            Page 265
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                               Table I: E↵ects of SILs on Criminal Careers

                       Cohorts                      Before SIL                    After SIL
                                                      SIL = 0
                                                     Ist                           SIL = 1
                                                                                  Ist
                      Entry
                         En
                       Nst                               ↵0                         ↵0 + ↵1
                       Exit
                    NstSelected                                                       +
                                                          0                          0     1
                      Surprised
                   Nst                                    0                          0+    2
                   Net Entry
           Ex
          Nst      Selected + N Surprised
                = Nst                               En
                                                ↵0 Nst           Ex                    En        Ex
                                st                            0 Nst       (↵0 + ↵1 )Nst       0 Nst
                                                                              Selected       Surprised
                                                                           1 Nst          2 Nst

                    En       SIL En               Ex         SIL Selected          SIL Surprised
                ↵0 Nst + ↵1 Ist Nst            0 Nst      1 Ist Nst             2 Ist Nst


    Notes: Breakdown of the SIDD into entry and exit, before and after SIL. Multiplying cohort sizes in
    column 1 with average e↵ects in columns 2 & 3 yields the respective contributions of each cohort to the
    total e↵ect of SILs on criminal careers. Summing across rows then gives the total e↵ect, or equivalently,
    our SIDD.




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                                   Table II: Evolutions of Criminal Cohorts

      Impacts on          Before Passage       At Passage                      After Passage
   Criminal Cohorts       Old Equilibrium                         Transition Years       New Equilibrium
                               t < t⇤             t = t⇤            t⇤ < t < t⇤⇤             t t⇤⇤
     s⇤Surprised
      st⇤         2              0                    2        0 < s⇤Surprised
                                                                    st           2 < 2         0
      s⇤Selected
       st ⇤      1               0                   0          0 < s⇤Selected
                                                                     st         1 <  1          1
    Notes: Exit cohort sizes and contributions to the total e↵ect over time. Cohorts are normalized by the
                            Ex
    total exit cohort size Nst .




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                                         Table III: SIDD Specification Comparisons

                                                  (1)                   (2)              (3)                 (4)
                                               Baseline             w/ Aging        w/ Floodgate          w/ Both
             Entry ↵00                         0.0226**               0.0092         0.0246***             0.0127
                                               (0.0126)              (0.3531)         (0.0059)            (0.1973)
             SIL Entry ↵10 (-)                0.0040***             0.0063***         0.0035**           0.0055***
                                               (0.0080)              (0.0013)         (0.0112)            (0.0098)
             Exit    0                        0.5860***                              0.5815***
                                               (0.0000)                               (0.0000)
             Exit    0                                             59.6538***                           60.1104***
                                                                     (0.0050)                             (0.0044)
             Exit    1                                             -3.6894***                           -3.7184***
                                                                     (0.0039)                             (0.0034)
             Exit    2                                              0.0540***                            0.0544***
                                                                     (0.0027)                             (0.0024)
             Selection        1   (-)          0.2421*                -0.0908          0.3505**           0.1283*
                                               (0.0692)              (0.4327)          (0.0275)           (0.0928)
             Surprise     2       (+)         0.1047***             0.1226**
                                               (0.0014)              (0.0109)
             Floodgate            0   (+)                                              0.1004***          0.1063**
                                                                                        (0.0009)          (0.0267)
             Floodgate            1   (+)                                               0.0832**          0.0935**
                                                                                        (0.0316)          (0.0494)
             Floodgate            2   (+)                                              0.0984***           0.0979
                                                                                        (0.0046)          (0.1295)
             Floodgate            3   (+)                                              0.0909***           0.0844
                                                                                        (0.0050)          (0.1912)
             Floodgate            4   (+)                                               0.0826**           0.0761
                                                                                        (0.0160)          (0.2783)
             Floodgate            5   (+)                                                0.0569            0.0485
                                                                                        (0.1346)          (0.5588)
             Floodgate            6   (+)                                                0.0561            0.0508
                                                                                        (0.2063)          (0.6086)
             Imprisoned 0                    -9.4222***           -12.5397***        -9.3944***        -12.5419***
                                               (0.0000)              (0.0000)           (0.0000)          (0.0000)
             Released 1                      13.8232***            11.2368***        13.7189***         11.0485***
                                               (0.0000)              (0.0003)           (0.0000)          (0.0002)
             Log-likelihood                      -7669                 -7675              -7664             -7661
             F-statistic                         152.2                 134.4              119.4             131.0
             Nb. Obs                              1549                  1549               1549              1549
    Notes: All regressions are run on the total violent crimes. Arrest rates of violent crimes, demographic and
    welfare controls, state and year fixed e↵ects and state-specific linear and quadratic time trends are
    controlled for but not reported.           0,   1,   2   are coefficients of the constant, linear and quadratic terms of the
    exit function (of age).       j ’s   measure the surprise e↵ect in the j th year after SIL passage (years 7, 8, and 9+
    are not reported). Key coefficients relevant for testing the deterrence hypothesis are signed in parentheses.
    Standard errors are clustered at the state level. Two-sided p values are in parentheses. *, **, and ***
    indicate statistical significance at the 10, 5, and 1 percent level.


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            Table IV: Hypothesis and Specification Tests: SIDD Specifications (Table III)

                                                   (1)              (2)              (3)                        (4)
                                                 Baseline        w/ Aging        w/ Floodgate                w/ Both
                        Turning point                             34.2***                                    34.2***
                                                                 (0.0000)                                    (0.0000)
               Joint significance tests
                    Aging ( ’s)                                      17.99***                                17.57***
                                                                     (0.0001)                                (0.0002)
                    Floodgates ( ’s)                                                30.39***                 35.18***
                                                                                    (0.0007)                 (0.0001)
               Deterrence hypothesis tests
                       ↵1 < 0           0.0040***                0.0063***         0.0035***                 0.0055***
                    (one-sided)          (0.0040)                 (0.0007)          (0.0056)                  (0.0049)
                        1 < 0            0.2421**                  -0.0908         0.3505**                  0.1283**
                    (one-sided)          (0.0346)                 (0.7837)          (0.0138)                  (0.0464)
                        2 > 0             0.1047                 0.1226**            0.0418                    0.0425
                    (one-sided)          (0.9993)                 (0.9946)          (0.9987)                  (0.9507)
               Di↵-in-di↵ nested specification tests
                  (1) 1 = j , 8j           1.05                     3.08*            16.67*                  24.66***
                                         (0.3046)                 (0.0794)          (0.0819)                  (0.0060)
                   (2) ↵0 =     0        50.94***                315.90***         51.08***                  311.97***
                                         (0.0000)                 (0.0000)          (0.0000)                  (0.0000)
               (3) ↵1 = 1 = j , 8j 12.41***                        7.61**          30.46***                   44.31***
                                         (0.0020)                 (0.0223)          (0.0013)                  (0.0000)
                     (2) & (3)           71.30***                339.54***         124.23***                 560.05***
                                         (0.0000)                  (0.000)          (0.0000)                  (0.0000)
    Notes: Age of the turning point, F-statistics for the joint significance tests, point estimates of the SIDD
    parameters, and F-statistics for the DiD tests are shown. For specifications with floodgate e↵ects, we
    replace    2   with the weighted cumulative surprise e↵ect of the first five floodgate e↵ects, i.e.
    P4           P ij
                    i Ist
      j=0      j P      ij   > 0. One-sided p values are in parentheses for the deterrence hypothesis tests.
                   i,j Ist
    Two-sided p values are in parentheses for the rest. *, **, and *** indicate one-sided (deterrence hypothesis
    tests) and two-sided (rest) statistical significance at 10, 5, and 1 percent level. Condition (1) is replaced
    with   1   =    2   in Columns 1 and 2. Condition (2) is replaced with ↵0 =       0    and   1   =   2   = 0 in Columns 2
    and 4. Condition (3) is replaced with         ↵1 =   1   =   2   in Columns 1 and 2.




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           Table V: SIDD with Aging and Non-Parametric Floodgate E↵ects: Crime Types

                                            (1)         (2)             (3)               (4)                (5)
                                         Violent     Murder            Rape           Robbery          Agg. Ast.
         Entry ↵00                       0.0127    0.0004**          0.0009           0.0107**            0.0088
                                        (0.1973)    (0.0274)        (0.2623)          (0.0413)           (0.1511)
         SIL Entry ↵10 (-)            0.0055***      0.0001          -0.0001         0.0014**             0.0015
                                        (0.0098)    (0.1365)        (0.5425)          (0.0309)           (0.1645)
         Exit    0                    60.1104***   17.2929**        15.7054*       136.2461***         15.3286***
                                        (0.0044)    (0.0217)        (0.0508)          (0.0001)           (0.0016)
         Exit    1                    -3.7184***    -0.8931*       -1.0993**        -8.4225***         -1.0516***
                                        (0.0034)    (0.0886)        (0.0204)          (0.0001)           (0.0002)
         Exit    2                     0.0544***     0.0106        0.0183***         0.1239***          0.0172***
                                        (0.0024)    (0.2111)        (0.0069)          (0.0000)           (0.0000)
         Selection     1   (-)          0.1283*      0.0879          0.2263            0.5960             0.0114
                                        (0.0928)    (0.8692)        (0.3380)          (0.1038)           (0.8680)
         Floodgate         0   (+)      0.1063**     0.1280          -0.0317           0.1960*            0.0331
                                        (0.0267)    (0.2484)        (0.5190)          (0.0562)           (0.3795)
         Floodgate         1   (+)      0.0935**     0.1508          -0.0219          0.1939**            0.0211
                                        (0.0494)    (0.2163)        (0.7074)          (0.0135)           (0.5573)
         Floodgate         2   (+)       0.0979      0.0886           0.0076           0.1641              0.0378
                                        (0.1295)    (0.3869)        (0.9029)          (0.1439)           (0.3748)
         Floodgate         3   (+)       0.0844      0.1682          -0.0667           0.2050             0.0147
                                        (0.1912)    (0.2040)        (0.4325)          (0.1564)           (0.7065)
         Floodgate         4   (+)       0.0761      0.1259          -0.0685           0.1994             0.0079
                                        (0.2783)    (0.1297)        (0.3344)          (0.2052)           (0.8527)
         Floodgate         5   (+)       0.0485      0.1020          -0.0559           0.1473             -0.0059
                                        (0.5588)    (0.4261)        (0.4712)          (0.4535)           (0.9087)
         Floodgate         6   (+)       0.0508      0.0890          -0.0559           0.1570             -0.0184
                                        (0.6086)    (0.3893)        (0.4939)          (0.5219)           (0.7669)
         Imprisoned 0               -12.5419***     1.6440           0.8868        -7.6805***          -9.1950**
                                        (0.0000)    (0.2974)        (0.6568)          (0.0000)           (0.0104)
         Released 1                  11.0485***     0.2360          -1.3856         7.1060***           9.1661**
                                        (0.0002)    (0.3818)        (0.5032)          (0.0002)           (0.0207)
         Log-likelihood                   -7661       -2271           -4012             -6816              -7082
         F-statistic                      131.0       720.2            73.5             217.1              120.8
         Nb. Obs                           1549        1548            1547              1546               1549
    Notes: Arrest rates (of corresponding crime categories), demographic and welfare controls, state and year
    fixed e↵ects and state-specific linear and quadratic time trends are controlled for but not reported.          0,    1,

     2   are coefficients of the constant, linear and quadratic terms of the exit function (of age).    j ’s   measure
    the surprise e↵ect in the j th year after SIL passage (years 7, 8, and 9+ are not reported). The F-statistics
    test for the joint significance of all estimated coefficients and reject the null (all coefficients are equal to
    zero) in all specifications. Key coefficients relevant for testing the deterrence hypothesis are signed in
    parentheses. Standard errors are clustered at the state level. Two-sided p values are in parentheses. *, **,
    and *** indicate statistical significance at 10, 5, and 1 percent level.




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                Table VI: Hypothesis and Specification Tests: Crime Types (Table V)

                                               (1)               (2)            (3)               (4)          (5)
                                             Violent          Murder           Rape            Robbery      Agg. Ast.
              Turning point                 34.2***           42.1***        30.1***           34.0***       30.6***
                                            (0.0000)          (0.0000)       (0.0000)          (0.0000)     (0.0000)
      Joint significance tests
              Aging ( ’s)                   17.57***          68.82***      9.43***            62.13***     24.91***
                                            (0.0002)          (0.0000)      (0.0090)           (0.0000)     (0.0000)
            Floodgates ( ’s)                35.18***            7.56        32.79***           37.17***      17.38*
                                            (0.0001)          (0.6717)      (0.0003)           (0.0005)     (0.0663)
      Deterrence hypothesis tests
                ↵1 < 0              0.0055***                 0.0001*         -0.0001          0.0014**      0.0015*
              (one-sided)            (0.0049)                 (0.0683)       (0.7288)          (0.0155)      (0.0823)
                  1 <0               0.1283**                  0.0879         0.2263           0.5960*        0.0114
              (one-sided)            (0.0464)                 (0.4346)       (0.1690)          (0.0519)      (0.4340)
                  2 >0                0.0425                   0.0911         0.0107            0.1847        0.0032
              (one-sided)            (0.9507)                 (0.9053)       (0.8072)          (0.9525)      (0.7811)
      Di↵-in-di↵ nested specification tests
            (1) 1 = j , 8j          24.66***                     11.92      33.30***           22.39**        16.90*
                                     (0.0060)                  (0.2902)     (0.0002)           (0.0132)      (0.0767)
      (2) ↵0 =     0, 1 = 2 = 0     311.97***                 122.86***     33.40***          322.73***     75.35***
                                     (0.0000)                  (0.0000)     (0.0000)           (0.0000)      (0.0000)
        (3) ↵1 = 1 = j , 8j          44.31***                    15.69      33.41***           33.33***       17.88*
                                     (0.0000)                  (0.1529)     (0.0005)           (0.0005)      (0.0845)
               (2) & (3)            560.05***                 213.88***     88.38***          614.15***     156.09***
                                     (0.0000)                  (0.0000)     (0.0000)           (0.0000)      (0.0000)
    Notes: Age of the turning point, F-statistics for the joint significance tests, point estimates of the SIDD
    parameters, and F-statistics for the DiD tests are shown. We replace             2   with the weighted cumulative
                                                              P4        P ij
                                                                           i Ist
    surprise e↵ect of the first five floodgate e↵ects, i.e.     j=0   j P      ij   > 0. One-sided p values are in
                                                                          i,j Ist
    parentheses for the deterrence hypothesis tests. Two-sided p values are in parentheses for the rest. *, **,
    and *** indicate one-sided (deterrence hypothesis tests) and two-sided (rest) statistical significance at the
    10, 5, and 1 percent level.




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              Table VII: Comparison of DiD with SIDD for Di↵erent Sample Lengths

                                                        (1)             (2)             (3)
                                                     1980-1992       1980-1999       1980-2011
                       Average Cohort Sizes
                               sEn                      0.9585         0.9559          0.9574
                             s I SIL
                              En                        0.1707         0.2762          0.4230
                          s = 1 sEn
                           Ex                           0.0415         0.0441          0.0426
                             s⇤Selected                 0.4727         0.3235          0.3585
                            s⇤Surprised                 0.5273         0.6765          0.6415
                       Di↵-in-Di↵ in Levels
                           SIL Dummy                    0.5935       -39.1931**        -2.2416
                                                       (0.9715)       (0.0316)        (0.8864)
                      Di↵-in-Di↵ in Changes
                           SIL Dummy                    -3.8001        -0.9630         2.9158
                                                       (0.7577)       (0.9162)        (0.5943)
                           Baseline SIDD
                               Entry                   0.1298**        0.0099         0.0206**
                                                       (0.0482)       (0.7214)        (0.0294)
                              SIL Entry                 0.0017       0.0031**        0.0041***
                                                       (0.3423)       (0.0270)        (0.0024)
                                 Exit                 1.0421***      0.4589***       0.3683***
                                                       (0.0000)       (0.0000)        (0.0000)
                              Selection                 0.2454        0.3129**         0.1868
                                                       (0.5834)       (0.0357)        (0.1429)
                               Surprise                 0.0404       0.1107***       0.1025***
                                                       (0.5444)       (0.0000)        (0.0003)
    Notes: All regressions are run on the total violent crimes. All regressions are run using OLS. Arrest rates
    of violent crimes, demographic and welfare controls, state and year fixed e↵ects and state-specific linear
    and quadratic time trends are controlled for but not reported. Standard errors are clustered at the state
    level. Two-sided p values are in parentheses. *, **, and *** indicate statistical significance at the 10, 5,
    and 1 percent level.




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                         Figure I: Evolutions of National Average Cohort Sizes



                                                                                   National Average Cohort Sizes
                                                                  9000                                                             450
                         Entry Cohorts (per 100,000 population)




                                                                                                                                         Exit Cohorts (per 100,000 population)
                                                                  8000                                                             400

                                                                  7000                                                             350

                                                                  6000                                                             300

                                                                  5000                                                             250

                                                                  4000                                                             200

                                                                  3000                                                             150
                                                                                           LM
                                                                                                          AD
                                                                  2000                                                             100

                                                                  1000                                                             50

                                                                     0                                                             0


                                                                         Entry Cohort           Entry Cohort * SIL   Exit Cohort
                                                                         Selected Cohort        Surprised Cohort




    Notes: Entry cohorts (solid line and double solid line) are measured per 100,000 population on the left axis.
    Exit cohorts (dashed/dotted lines) are measured per 100,000 population on the right axis. Cohorts are
    averaged across all states. The vertical dashed lines indicate where LM and AD’s samples end, respectively.




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                              Figure II: Mean Predicted Impact of CCRA




    Notes: Bars represent mean predicted change in violent crimes in levels (top) and percentages (bottom) for
    the 11 states and Washington, D.C., had they all counterfactually passed SILs in 2010. Estimates are
    based on the OLS regression on total violent crimes.




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            Figure III: Decomposing Impact of CCRA into Entry and Surprise E↵ects




    Notes: Bars represent mean predicted change in violent crimes, decomposed into entry (dark) and surprise
    (light) e↵ects, for the 11 states and Washington, D.C., had they all counterfactually passed SILs in 2010.
    Estimates are based on the OLS regression on total violent crimes.




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  A       Appendix: Robustness

  A.1      Entry and Exit Windows

  To apply SIDD to the crime setting, we stipulate an entry window for males between 13-21 and

  an exit window for males between 22-64 for reasons detailed in Footnote 8 in Section 3.4. In this

  section, we arbitrarily vary the range of these windows and show that our results are not sensitive

  to the choices of the cuto↵ ages17 . Specifically, in Table A.1, each column presents estimates of our

  preferred SIDD specification with the beginning of the entry window, cuto↵ between entry and exit

  windows, and the end of the exit window indicated by the column header, e.g., Column 1 specifies

  an entry window of males between 11-21 and exit window 22-64.


  A.2      Aging E↵ects

  Next, we explore di↵erent functional forms of the aging e↵ects in exit rates. Given countervailing

  forces of age on exit rate in theory and evidence in Appendix B.3, we employ a quadratic functional

  form for exit rates as a function of age. Table A.2, on the other hand, presents estimates of our

  preferred SIDD specification with di↵erent functional forms of aging e↵ects. Columns 1 estimates

  SIDD with no aging e↵ects while Columns 2-4 parametrizes aging e↵ects with polynomials up to

  the third order. Given the shape of exit rate in Figure B.8, we argue that, although the cubic term

  is statistically significant, the quadratic functional form is parsimonious and sufficiently flexible. In

  Column 5, we specify the exit rate as a translog function of age, i.e. replacing age with log (age) in

  a quadratic function. Finally, Column 6 simply replaces age with a proxy for criminal experience

  (age      21) in the quadratic specification. Across all specifications, our SIDD parameters (entry,

  selection and surprise e↵ects) remain largely invariant.


  A.3      Floodgate E↵ects

  In our preferred SIDD specification (Equation 9 and Table V), we estimate the floodgate e↵ect

  for each year after SIL passages. While remaining non-parametric, we are bound to get noisy

  estimates, especially for later years, given the sparsity of data. In this section, we explore alternative


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         The reported standard errors however do not take into account the uncertainty of the cuto↵s.

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  specifications of floodgate e↵ects that increase our power and allow more insights into the shape of

  floodgate e↵ects over time. Table A.3 presents results where we group individual years succeeding

  SIL passages. We obtain similar results as Table V with slightly more precise estimates for the

  floodgate e↵ects. Similarly, results of a restrictive linear specification are presented in Table A.4,

  which also verifies the tapering-o↵ of floodgate e↵ects shown in Figure B.6.


  A.4    OLS Estimates

  Table A.5 presents OLS estimates of our preferred SIDD specification.


  A.5    SIDD on Levels

  DiD models are often applied to levels (rather than changes) of the outcome of interest, as is the

  case in the literature reviewed in Section 3.3, while SIDD models entry and exit decisions and is

  by default estimated on changes of the outcome of interest. One can make the argument that

  variations of the outcome can be much more easily explained on levels as suggested by Figure B.3.

  In this section, we entertain a variant of SIDD that can be estimated on levels of crimes. Recall

  that the SIDD model can be written as follows:


                                   C
                                   st (N etEntry)   = ⇤Zast + Xst + ✏st ,


  or

                                  Cs,t+1 = ✓Cst + ⇤Zast + Xst + ✏st ,                              (11)

  where Zast includes the SIDD variables and Cst is the level of crime rate in state s and time t.

  Note that the SIDD model restricts ✓ = 1. We now treat Equation 11 as our SIDD on levels and

  test if we could reject the null hypothesis that ✓ = 1. Table A.6 shows the results in comparison

  to estimates of SIDD on changes. First, the estimate of ✓ is 1.05 with a standard error of 0.44 and

  therefore the data cannot reject our SIDD (on changes) specification (✓ = 1). Second, coefficient

  estimates of the SIDD variables of interest (entry, selection and surprise e↵ects) remain largely

  unchanged across the two specifications.




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  B     Appendix: Data

  B.1    SIL Passage Years by State

  Table B.1 details our coding of SIL passage years of the 50 states and Washington, D.C.


  B.2    Arrest and Crime Rates by Age

  We make use of the BJS national arrests data by the 17 age groups and first impute the number of

  arrest for each age cohort using shape-preserving piecewise cubic Hermite interpolating polynomials.

  Figure B.7 shows the resulting national arrest age distribution for 1980 and 2010 in the four violent

  crime categories.

      Then, to impute crime rates by age, first let pst be the probability of arrest for criminals in

  state s and year t, assuming it does not vary by age. We also assume that the crime intensity

  ast =  does not vary across state-years or by age. Then let C be the number of crimes and
                                                  Cast
  A the number of arrests. By construction,             · pst = Aast , where the subscript a indicates age.
                                                   
                                                                        Cast
                                                                             pst      Aast
  Summing over age and dividing the two resulting Equations, P Cast              =P         , or equivalently,
                                                                        a  pst       a Aast
            Aast
  Cast = P          Cst . Additionally assume that arrests for each age group as a fraction of total arrests
             a Aast
                                                         Aat         Aast
  in a state-year does not vary across states, i.e., P          = P           . Then we arrive at crime rates
                                                          a Aat       a Aast
                                            Aat
  by age at the state-year level, Cast = P        Cst , where Aat are the national arrests by age imputed
                                            a Aat
  from BJS and Cst are the state-year level crime rates data from UCR.


  B.3    Evidence for Aging E↵ects

  From the imputed age-specific crime rates from Appendix B.2, we can shed some light on the

  cuto↵ age between entry and exit windows as well as the shape of exit rate as a function of age.

  Specifically, we compute the fraction changes from crime age cohort a in year t to crime age cohort

  a + 1 in year t + 1 averaged over all state-years and plot them against age. On the left of Figure

  B.8, we see that entry roughly happens before around age 20 as indicated by positive year-to-year




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  percent changes18 . On the right, we zoom in on the age range 22-64 and observe that exit rate

  roughly decreases in the 20’s and bottoms out in the early 30’s19 .


  B.4       Prison Admissions and Releases

  We include in our estimation state-level prison admissions and releases each year to account for

  incapacitated criminals and estimate the crime intensity parameter . We construct these two

  variables as follows:


         State admissions (releases) by crime type =



                                                        Federal admissions (releases) by crime type
                           State incarcerated total ⇥                                               ,
                                                                   Ferderal total stock

  where we combine state-level incarcerated population and federal prison stocks, admissions, and re-

  leases from Neal and Rick (2014) (pg. 78-80, Tables 9a, 9b, 9c) to impute the state-level admissions

  and releases of criminals by crime type20 .




    18
         The fraction change however does not reflect entry probability since the denominator is existing

  criminals but not potential entrants.

    19
         This is also only approximately reflecting exit rate to the extent that we assume entry stops at

  age 21.

    20
         Our incarceration data runs up to 2006 and we extrapolate to 2010 using 2006 values. Federal

  prison data ranges between 1989-2010 and we also extrapolate by keeping values of the end years.

  We linearly interpolate for 1991 where data from Neal and Rick (2014) is missing.

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    Table A.1: Entry Window and Retirement Cuto↵s: Entry Start - Entry End - Retirement

                                  (1)                  (2)                (3)            (4)             (5)              (6)
                               11-21-64            15-21-64           13-19-64       13-23-64         13-21-54        13-21-74
   Entry ↵00                     0.015               0.009              0.013          0.009            0.016           0.010
                                (0.137)             (0.376)            (0.275)        (0.296)          (0.102)         (0.275)
   SIL Entry ↵10 (-)          0.005***             0.007**           0.006***         0.005**         0.004**         0.006***
                                (0.006)             (0.016)            (0.007)        (0.014)          (0.011)         (0.006)
   Exit   0                   60.514***           59.708***          43.577***       78.877**        57.549***       62.038***
                                (0.004)             (0.005)            (0.000)        (0.014)          (0.001)         (0.003)
   Exit   1                   -3.743***           -3.697***          -2.775***       -4.760**        -3.542***       -3.828***
                                (0.003)             (0.004)            (0.000)        (0.011)          (0.001)         (0.002)
   Exit   2                    0.055***            0.054***           0.041***       0.069***         0.052***        0.056***
                                (0.002)             (0.003)            (0.000)        (0.009)          (0.001)         (0.001)
   Selection   1   (-)          0.128*               0.126             0.144*          0.116          0.232**           0.116
                                (0.094)             (0.107)            (0.056)        (0.223)          (0.032)         (0.113)
   Floodgate       0   (+)     0.110**              0.102**            0.083**        0.120**         0.089**          0.117**
                                (0.022)             (0.035)            (0.019)        (0.037)          (0.027)         (0.015)
   Floodgate       1   (+)     0.096**               0.090*            0.070**        0.106*           0.073*          0.106**
                                (0.042)             (0.063)            (0.049)        (0.062)          (0.065)         (0.029)
   Floodgate       2   (+)       0.100               0.094              0.072          0.114            0.078           0.112*
                                (0.118)             (0.153)            (0.143)        (0.138)          (0.153)         (0.085)
   Floodgate       3   (+)       0.087               0.080              0.059          0.101            0.062           0.096
                                (0.172)             (0.227)            (0.216)        (0.196)          (0.238)         (0.141)
   Floodgate       4   (+)       0.079               0.071              0.055          0.094            0.051           0.087
                                (0.254)             (0.325)            (0.307)        (0.262)          (0.397)         (0.197)
   Floodgate       5   (+)       0.051               0.043              0.031          0.064            0.021           0.063
                                (0.530)             (0.616)            (0.632)        (0.508)          (0.772)         (0.431)
   Floodgate       6   (+)       0.054               0.045              0.032          0.069            0.018           0.072
                                (0.579)             (0.665)            (0.692)        (0.544)          (0.839)         (0.455)
   Imprisoned 0             -12.502***          -12.534***         -14.623***      -11.582***      -13.671***      -12.136***
                                (0.000)             (0.000)            (0.000)        (0.000)          (0.000)         (0.000)
   Released 1                11.136***           10.885***          14.061***       9.984***        13.467***       10.530***
                                (0.000)             (0.000)            (0.000)        (0.001)          (0.001)         (0.000)
   Nb. Obs                       1549                 1549               1549           1549            1549             1549
     Notes: All regressions are run on the total violent crimes. Arrest rates of violent crimes, demographic and
     welfare controls, state and year fixed e↵ects and state-specific linear and quadratic time trends are
     controlled for but not reported.       0,   1   and   2   are coefficients of the constant, linear and quadratic terms of
     the exit function (of age).   j ’s   measure the surprise e↵ect in the j th year after SIL passage (years 7, 8, and
     9+ are not reported). Key coefficients relevant for testing the deterrence hypothesis are signed in
     parentheses. Standard errors are clustered at the state level. Two-sided p values are in parentheses. *, **,
     and *** indicate statistical significance at the 10, 5, and 1 percent level.




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                                 Table A.2: Parametrizations of Aging E↵ects

                                (1)           (2)                    (3)                   (4)            (5)              (6)
                             Constant       Linear               Quadratic               Cubic         Translog       Quad. Exp.
   Entry ↵00 (+)             0.025***        0.013                  0.013                 0.011          0.013            0.013
                              (0.006)       (0.118)                (0.197)              (0.252)         (0.169)          (0.197)
   SIL Entry ↵10 (-)         0.004**       0.002**                0.005***             0.007***        0.005**          0.005***
                              (0.011)       (0.030)                (0.010)              (0.003)         (0.012)          (0.010)
   Exit   0                  0.581***     -4.808***              60.110***           -132.621***     722.985***         6.021**
                              (0.000)       (0.000)                (0.004)              (0.001)         (0.001)          (0.010)
   Exit   1                                0.167***              -3.718***            12.860***      -416.823***       -1.433***
                                            (0.000)                (0.003)              (0.001)         (0.001)          (0.006)
   Exit   2                                                       0.054***            -0.407***       59.830***         0.054***
                                                                   (0.002)              (0.001)         (0.001)          (0.002)
   Exit   3                                                                            0.004***
                                                                                        (0.001)
   Selection   1   (-)        0.351**       0.276**                0.128*                0.023          0.183**          0.128*
                               (0.027)      (0.031)                (0.093)              (0.802)         (0.047)          (0.093)
   Floodgate       0   (+)    0.100***      0.055*                 0.106**              0.124**         0.095**          0.106**
                               (0.001)      (0.084)                (0.027)              (0.011)         (0.031)          (0.027)
   Floodgate       1   (+)    0.083**        0.043                 0.094**              0.116**          0.082*          0.093**
                               (0.032)      (0.212)                (0.049)              (0.018)         (0.061)          (0.049)
   Floodgate       2   (+)    0.098***       0.059                  0.098               0.129**           0.085           0.098
                               (0.005)      (0.163)                (0.130)              (0.048)         (0.156)          (0.130)
   Floodgate       3   (+)    0.091***       0.050                  0.084                0.124*           0.070           0.084
                               (0.005)      (0.215)                (0.191)              (0.070)         (0.232)          (0.191)
   Floodgate       4   (+)    0.083**        0.039                  0.076                0.123*           0.060           0.076
                               (0.016)      (0.368)                (0.278)              (0.084)         (0.360)          (0.278)
   Floodgate       5   (+)      0.057        0.015                  0.048                 0.100           0.032           0.048
                               (0.135)      (0.762)                (0.559)              (0.217)         (0.684)          (0.559)
   Floodgate       6   (+)      0.056        0.013                  0.051                 0.111           0.031           0.051
                               (0.206)      (0.814)                (0.609)              (0.235)         (0.739)          (0.609)
   Imprisoned 0             -9.394***    -5.553***              -12.542***           -6.719***       -13.039***       -12.541***
                               (0.000)      (0.000)                (0.000)              (0.000)         (0.000)          (0.000)
   Released 1               13.719***     8.543***               11.048***            6.442***        11.925***        11.047***
                               (0.000)      (0.008)                (0.000)              (0.001)         (0.000)          (0.000)
   Nb. Obs                      1549         1549                   1549                  1549            1549            1549
     Notes: All regressions are run on the total violent crimes. Arrest rates of violent crimes, demographic and
     welfare controls, state and year fixed e↵ects and state-specific linear and quadratic time trends are
     controlled for but not reported.    0,   1,   2   and   3   are coefficients of the constant, linear, quadratic and
     cubic terms of the exit function (of age). For the translog function, we replace age with log(age); for the
     quadratic experience column, we replace age with age               21.   j ’s   measure the surprise e↵ect in the j th year
     after SIL passage (years 7, 8, and 9+ are not reported). Standard errors are clustered at the state level.
     Two-sided p values are in parentheses. *, **, and *** indicate statistical significance at the 10, 5, and 1
     percent level.




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                                Table A.3: SIDD with Grouped Floodgate E↵ects

                                          (1)            (2)            (3)              (4)                (5)
                                       Violent        Murder           Rape           Robbery         Agg. Ast.
         Entry ↵00                      0.0111      0.0004**          0.0009          0.0102*             0.0079
                                      (0.2646)       (0.0307)       (0.2204)          (0.0568)          (0.1944)
         SIL Entry ↵10 (-)          0.0060***          0.0001        -0.0001         0.0015**             0.0016
                                      (0.0040)       (0.1419)       (0.6503)          (0.0122)          (0.1089)
         Exit    0                  59.4846***      16.9929**      15.5993**       136.2863***        13.9894***
                                      (0.0052)       (0.0260)       (0.0422)          (0.0001)          (0.0035)
         Exit    1                  -3.6783***       -0.8754*      -1.0921**        -8.4226***        -0.9673***
                                      (0.0041)       (0.0993)       (0.0148)          (0.0001)          (0.0006)
         Exit    2                   0.0538***         0.0104      0.0182***         0.1238***         0.0159***
                                      (0.0028)       (0.2272)       (0.0042)          (0.0000)          (0.0001)
         Selection    1   (-)          -0.0144        -0.2460        0.0947            0.4984            -0.0748
                                      (0.8523)       (0.6311)       (0.6035)          (0.1235)          (0.1973)
         Floodgate 0-1 (+)           0.1178***         0.1403        -0.0119         0.2122***            0.0418
                                      (0.0065)       (0.2236)       (0.8076)          (0.0058)          (0.2120)
         Floodgate 2-4 (+)            0.1157*          0.1426        -0.0153          0.2146*             0.0454
                                      (0.0529)       (0.1809)       (0.8067)          (0.0638)          (0.2282)
         Floodgate 5-9 (+)              0.0606         0.1739        -0.0629           0.1699            -0.0051
                                      (0.4854)       (0.2104)       (0.4405)          (0.4055)          (0.9247)
         Floodgate >9 (+)               0.0403         0.3761        -0.0609           0.0595            -0.0003
                                      (0.7096)       (0.1181)       (0.4929)          (0.8486)          (0.9963)
         Imprisoned 0             -12.4591***         1.6781         0.8750        -7.7667***         -8.4234**
                                      (0.0000)       (0.2836)       (0.6734)          (0.0000)          (0.0174)
         Released 1                11.1201***         0.2327        -1.2004         7.2127***          8.9469**
                                      (0.0002)       (0.3934)       (0.5780)          (0.0001)          (0.0214)
         Log-likelihood                 -7668          -2282          -4026            -6818              -7086
         F-statistic                     120.3          728.4          71.8             217.3              127.4
         Nb. Obs                         1549           1548           1547             1546               1549
    Notes: Arrest rates (of corresponding crime categories), demographic and welfare controls, state and year
    fixed e↵ects and state-specific linear and quadratic time trends are controlled for but not reported.        0,    1,

     2   are coefficients of the constant, linear and quadratic terms of the exit function (of age). The F-statistics
    test for the joint significance of all estimated coefficients and reject the null (all coefficients are equal to
    zero) in all specifications. Standard errors are clustered at the state level. Two-sided p values are in
    parentheses. *, **, and *** indicate statistical significance at 10, 5, and 1 percent level.




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                               Table A.4: SIDD with Linear Floodgate Trend

                                           (1)            (2)             (3)              (4)               (5)
                                        Violent        Murder            Rape          Robbery         Agg. Ast.
      Entry ↵00                          0.0117      0.0004**           0.0009         0.0101*            0.0084
                                       (0.2372)       (0.0281)        (0.2384)         (0.0579)          (0.1707)
      SIL Entry ↵10 (-)              0.0058***          0.0001         -0.0001        0.0016***           0.0016
                                       (0.0081)       (0.1498)        (0.6146)         (0.0090)          (0.1434)
      Exit     0                    59.7641***       17.3313**       16.0996**      136.3335***        14.8863***
                                       (0.0048)       (0.0220)        (0.0373)         (0.0001)          (0.0014)
      Exit     1                     -3.6950***       -0.8951*       -1.1235**       -8.4256***        -1.0220***
                                       (0.0037)       (0.0899)        (0.0137)         (0.0001)          (0.0002)
      Exit     2                      0.0540***         0.0106       0.0186***        0.1239***         0.0167***
                                       (0.0026)       (0.2133)        (0.0043)         (0.0000)          (0.0000)
      Selection      1   (-)             0.0164         0.0321          0.1636           0.4496           -0.0393
                                       (0.8453)       (0.9416)        (0.4582)         (0.1400)          (0.5306)
      Floodgate cons. (+)            0.1502***         0.1323           0.0161        0.2438***          0.0715**
                                       (0.0003)       (0.2629)        (0.7345)         (0.0001)          (0.0250)
      Floodgate slope (-)               -0.0152        -0.0008         -0.0153          -0.0066         -0.0141**
                                       (0.1090)       (0.9440)        (0.1717)         (0.8049)          (0.0270)
      Imprisoned                    -12.4224***         1.6473          0.8349       -7.8048***         -8.3531**
                                       (0.0000)       (0.2945)        (0.6712)         (0.0000)          (0.0192)
      Released                       10.9879***         0.2315         -1.3497        7.2699***          8.5237**
                                       (0.0003)       (0.3885)        (0.5118)         (0.0001)          (0.0315)
      Log-likelihood                     -7664          -2276           -4022            -6820             -7084
      F-statistic                         131.4          735.2           36.0             234.5             99.0
      Nb. Obs                             1549           1548            1547             1546              1549
    Notes: Arrest rates (of corresponding crime categories), demographic and welfare controls, state and year
    fixed e↵ects and state-specific linear and quadratic time trends are controlled for but not reported.        0,    1,

     2   are coefficients of the constant, linear and quadratic terms of the exit function (of age). The F-statistics
    test for the joint significance of all estimated coefficients and reject the null (all coefficients are equal to
    zero) in all specifications. Standard errors are clustered at the state level. Two-sided p values are in
    parentheses. *, **, and *** indicate statistical significance at 10, 5, and 1 percent level.




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               Table A.5: Preferred SIDD Specification by Crime Types: OLS Estimates

                                            (1)          (2)            (3)            (4)              (5)
                                          Violent      Murder          Rape        Robbery        Agg. Ast.
           Entry ↵00 (+)                  0.0113      0.0003*         0.0010         0.0085           0.0081
                                         (0.1695)     (0.0721)      (0.2426)       (0.1336)         (0.1359)
           SIL Entry ↵10 (-)            0.0037**    0.0002***        -0.0001       0.0011**          0.0011
                                         (0.0171)     (0.0001)      (0.6034)       (0.0378)         (0.2312)
           Exit    0                    23.9278**   26.2844***      13.5852      56.8658***          6.7145*
                                         (0.0254)     (0.0004)      (0.2431)       (0.0026)         (0.0760)
           Exit    1                    -1.5546**   -1.4362***       -0.9142     -3.5977***        -0.5281**
                                         (0.0174)     (0.0045)      (0.1765)       (0.0016)         (0.0157)
           Exit    2                     0.0239**     0.0182**        0.0149      0.0544***        0.0096***
                                         (0.0106)     (0.0244)      (0.1075)       (0.0008)         (0.0017)
           Selection     1   (-)          0.0782     0.9846***        0.2706        0.2853*          -0.0841
                                         (0.3342)     (0.0035)      (0.1809)       (0.0887)         (0.2897)
           Floodgate         0   (+)     0.0740**    0.3098***       -0.0173       0.1304*            0.0278
                                         (0.0473)     (0.0002)      (0.7218)       (0.0846)         (0.4259)
           Floodgate         1   (+)      0.0598     0.3305***       -0.0121      0.1413***           0.0096
                                         (0.1017)     (0.0001)      (0.8388)       (0.0057)         (0.7692)
           Floodgate         2   (+)      0.0710      0.2672**        0.0172         0.1092           0.0325
                                         (0.2004)     (0.0156)      (0.7788)       (0.2734)         (0.4281)
           Floodgate         3   (+)      0.0553     0.3491***       -0.0596        0.1536            0.0059
                                         (0.2709)     (0.0001)      (0.4972)       (0.1997)         (0.8671)
           Floodgate         4   (+)      0.0460     0.3064***       -0.0624        0.1171            0.0043
                                         (0.4008)     (0.0008)      (0.3322)       (0.3239)         (0.9103)
           Floodgate         5   (+)      0.0238     0.2806***       -0.0464        0.0583           -0.0051
                                         (0.7178)     (0.0089)      (0.5177)       (0.6997)         (0.9146)
           Floodgate         6   (+)      0.0319     0.2370***       -0.0534        0.0934           -0.0105
                                         (0.6728)     (0.0085)      (0.4779)       (0.5947)         (0.8519)
           Imprisoned 0               -7.7904***      1.3410         0.4806     -3.7638***       -9.9245***
                                         (0.0000)     (0.4183)      (0.8291)       (0.0067)         (0.0076)
           Released 1                  7.0690***      0.2185        -0.9636      4.1956***         8.7086**
                                         (0.0001)     (0.2568)      (0.6828)       (0.0006)         (0.0323)
           Nb. Obs                         1549         1548           1547           1546             1549
    Notes: Arrest rates (of corresponding crime categories), demographic and welfare controls, state and year
    fixed e↵ects and state-specific linear and quadratic time trends are controlled for but not reported.         0,    1,

     2   are coefficients of the constant, linear and quadratic terms of the exit function (of age).   j ’s   measure
    the surprise e↵ect in the j th year after SIL passage (years 7, 8, and 9+ are not reported). Key coefficients
    relevant for testing the deterrence hypothesis are signed in parentheses. Standard errors are clustered at
    the state level. Two-sided p values are in parentheses. *, **, and *** indicate statistical significance at the
    10, 5, and 1 percent level.




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                                   Table A.6: SIDD on Levels vs. Changes

                                                             (1)                    (2)
                                                       SIDD on changes      SIDD on levels
                            Lagged crime ✓                                      1.0531**
                                                                                (0.0171)
                            Entry ↵00 (+)                    0.0127               0.0113
                                                            (0.1973)            (0.2602)
                            SIL Entry ↵10 (-)             0.0055***             0.0043**
                                                            (0.0098)            (0.0166)
                            Exit   0                      60.1104***          33.5141***
                                                            (0.0044)            (0.0007)
                            Exit   1                      -3.7184***          -2.1545***
                                                            (0.0034)            (0.0002)
                            Exit   2                       0.0544***           0.0330***
                                                            (0.0024)            (0.0001)
                            Selection    1   (-)            0.1283*            0.2044**
                                                            (0.0928)            (0.0159)
                            Floodgate        0   (+)        0.1063**             0.0828*
                                                            (0.0267)            (0.0597)
                            Floodgate        1   (+)        0.0935**             0.0733*
                                                            (0.0494)            (0.0928)
                            Floodgate        2   (+)         0.0979              0.0832
                                                            (0.1295)            (0.1811)
                            Floodgate        3   (+)         0.0844              0.0699
                                                            (0.1912)            (0.2543)
                            Floodgate        4   (+)         0.0761              0.0567
                                                            (0.2783)            (0.3948)
                            Floodgate        5   (+)         0.0485              0.0300
                                                            (0.5588)            (0.7048)
                            Floodgate        6   (+)         0.0508              0.0335
                                                            (0.6086)            (0.7145)
                            Imprisoned 0                -12.5419***          -7.3298***
                                                            (0.0000)            (0.0000)
                            Released 1                   11.0485***           6.3333***
                                                            (0.0002)            (0.0000)
                            Nb. Obs                           1549                 1498
    Notes: Arrest rates (of corresponding crime categories), demographic and welfare controls, state and year
    fixed e↵ects and state-specific linear and quadratic time trends are controlled for but not reported.         0,    1,

     2   are coefficients of the constant, linear and quadratic terms of the exit function (of age).   j ’s   measure
    the surprise e↵ect in the j th year after SIL passage (years 7, 8, and 9+ are not reported). Key coefficients
    relevant for testing the deterrence hypothesis are signed in parentheses. Standard errors are clustered at
    the state level. Two-sided p values are in parentheses. *, **, and *** indicate statistical significance at the
    10, 5, and 1 percent level.




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                               Table B.1: SIL Passage Years by State, up to 2011

            Pre-1985                1986-1992                1995-1997              2002-2007                Post-2011

         Alabama (always)          Maine (1986 )            Alaska (1995 )        Michigan (2002 )          Iowa (2011 )

         Vermont (always)       North Dakota (1986 )       Arizona (1995 )        Missouri (2002 )        Wisconsin (2011 )

       New Hampshire (1960 )    South Dakota (1987 )      Tennessee (1995 )       Colorado (2004 )       California (never )

        Washington (1962 )         Florida (1988 )        Wyoming (1995 )        Minnesota (2004 )        Delaware (never )

        Connecticut (1970 )       Virginia (1989 )         Arkansas (1996 )      New Mexico (2004 )        Hawaii (never )

          Indiana (1981 )         Georgia (1990 )          Nevada (1996 )           Ohio (2005 )           Illinois (never )

                                Pennsylvania (1990 )    North Carolina (1996 )     Kansas (2007 )        Maryland (never )

                                West Virginia (1991 )     Oklahoma (1996 )        Nebraska (2007 )     Massachusetts (never )

                                    Idaho (1991 )           Texas (1996 )                                New Jersey (never )

                                 Mississippi (1991 )        Utah (1996 )                                 New York (never )

                                   Oregon (1991 )         Kentucky (1997 )                              Rhode Island (never )

                                  Montana (1992 )         Louisiana (1997 )                           Washington, D.C. (never )

                                                        South Carolina (1997 )

           Notes: State-level SIL passage years are loosely categorized by adoption waves. Years in
           parentheses indicate the year that state SIL went into e↵ect, typically the following year of
           law passage. We categorize any concealed carry laws that are equivalent to or more restrictive
           than may-issue laws (MILs) as non-SILs and laws that are more lenient than SILs (e.g., no
           permit required) as SILs.




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  Table B.2: Summary Statistics of Main Data Sources: Crime/Arrest Rates and Demographics

                                                   Mean       SD       Min      Max       N
                        Crime Rates
                   (Crimes/100,000 pop.)
                           Violent                 480.2     308.2    47.01    2922      1632
                           Murder                   6.69      6.95     0.16    80.60     1632
                            Rape                   35.08     13.42     7.30    102.2     1632
                          Robbery                  145.3     151.3    6.40     1635      1632
                        Agg. Assault               293.1     171.6    31.32    1558      1632
                        Arrest Rates
                   (Arrests/100,000 pop.)
                           Violent                 167.4     110.0     3.13    1314      1600
                           Murder                   5.14      4.97       0     52.00     1599
                            Rape                   10.41      6.48       0     92.49     1598
                          Robbery                  35.98     44.75     0.16    1252      1597
                        Agg. Assault               116.1     74.70     2.78    656.2     1600
                     Control Variables
                      State Pop. (M)                5.24      5.83     0.41    37.69     1632
                  Pop. Density (pp/mile2 )         313.3     1192      0.62    9306      1632
                     Inc. Mainten. ($)             404.5     179.7    104.3    1282      1632
                      Income ($000’s)              28.87     7.01     15.01    64.88     1632
                    Unemploy. Insur. ($)           142.9     103.1    18.86    780.5     1632
                    Retire. Pay. ($000’s)          3.53      1.13     1.18     7.00      1632
         Notes: Data contains 50 states and Washington, DC, for years 1980-2011. Crime type defini-
         tions - murder and non-negligent manslaughter is defined as the willful (non-negligent) killing
         of one human being by another; rape is defined as the carnal knowledge of a female forcibly
         and against her will; robbery is defined as the taking or attempting to take anything of value
         from the care, custody, or control of a person or persons by force or threat of force or vio-
         lence and/or by putting the victim in fear; aggravated assault is defined as an unlawful attack
         by one person upon another for the purpose of inflicting severe or aggravated bodily injury.
         Demographic control variables include state population, population density, income mainte-
         nance, real per capita personal income, unemployment insurance, and retirement payment for
         people older than 65.




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                  Table B.3: Replication and Variations of Lott and Mustard (1997)

                                   (1)             (2)              (3)           (4)             (5)          (6)
       SIL Dummy               -0.0881***       -0.0276*          -0.0063       -0.0260         -0.0015     -0.8789
                                (0.0000)        (0.0716)         (0.5885)      (0.1298)        (0.9615)    (0.9550)
       Dep. Var.                   log             log              log           log             log         level
        Sample                 1980-1992       1980-1999        1980-2011     1980-1992       1980-1992   1980-1992
   Race & age controls              Y               Y                Y             N               N            N
      State trends                  N               N                N             N               Y            Y
       Clustering                   N               N                N             N               Y            Y
   Demographic controls             Y               Y                Y             Y               Y            Y
     Notes: All regressions are run on the total violent crimes. Two-sided p values are in parentheses. *, **,
     and *** indicate two-sided statistical significance at the 10, 5, and 1 percent level.




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                 Table B.4: Replication and Variations of Ayres and Donohue (2003b)

                                   (1)             (2)             (3)           (4)             (5)          (6)
       SIL Dummy               0.0737***       -0.0832**         -0.0260     0.1088***        -0.0385*    -38.0306*
                                (0.0000)        (0.0135)        (0.1298)      (0.0000)        (0.0665)     (0.0582)
         SIL Trend                             0.0107***
                                                (0.0000)
       Dep. Var.                  log              log             log          log              log        level
        Sample                 1980-1999       1980-1999        1980-1992    1980-2011        1980-1999   1980-1999
   Race & age controls             N                N               N            N                N           N
      State trends                 N                N               N            N                Y           Y
       Clustering                  N                N               N            N                Y           Y
   Demographic controls            Y                Y               Y            Y                Y           Y
     Notes: All regressions are run on the total violent crimes. Two-sided p values are in parentheses. *, **,
     and *** indicate two-sided statistical significance at the 10, 5, and 1 percent level.




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                  Figure B.1: Flow and Stock of SIL Adoptions across the U.S.



                                                                               SIL Adoptions: 1980 - 2011
                                                                      45                                                7
                       Cumulative Total Passages (Number of States)




                                                                                                                            Annual Passages (Number of States)
                                                                      40
                                                                                                                        6
                                                                      35
                                                                                                                        5
                                                                      30

                                                                      25                                                4

                                                                      20                                                3

                                                                      15
                                                                                                                        2
                                                                      10
                                                                                                                        1
                                                                      5

                                                                      0                                                 0



                                                                           Annual Passage   Cumulative Total Passages




         Notes: Bars indicate the number of SIL passages in each year (right axis) and the line shows
         the cumulative total number of SIL states (left axis).




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                  Figure B.2: State Violent Crime Rates by SIL Passage Years



                                                                             Average Violent Crime Rates by SIL Adoption Waves
                                                                     1000
                      Violent Crime Rates (per 100,000 population)




                                                                      900

                                                                      800

                                                                      700

                                                                      600

                                                                      500

                                                                      400

                                                                      300

                                                                      200

                                                                      100
                                                                                                                           Mean Adoption Year
                                                                        0



                                                                            pre-1985   1986-1992   1995-1997   2002-2007        post-2011




         Notes: Total violent crime rates are averaged across states (weighted by state population)
         within same waves and plotted over time. The solid triangles indicate the average SIL passage
         year of the group.




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        Figure B.3: Stacked Comparison of Crime Rates: A Graphical DiD Illustration




         Notes: Solid lines represent crime rates for the treated group. Dashed lines represent crime
         rates for the control group. Treated and control groups are constructed similar to Gormley
         and Matsa (2011). X-axis indicates years from SIL adoption, centered around the adoption
         year. Y-axis indicates the number of (changes of) crimes per 100,000 population.




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                                                                 Figure B.4: Illustration of Cohort Size Evolutions



                                                                          Cohort Size Evolutions Example: Florida (SIL 1988)
                                                                 8000                                                                      900
                         Entry Cohort (per 100,000 population)




                                                                                                                                                 Exit Cohorts (per 100,000 population)
                                                                 7000                                                                      800

                                                                                                                                           700
                                                                 6000
                                                                                                                                           600
                                                                 5000
                                                                                                                                           500
                                                                 4000
                                                                                                                                           400
                                                                 3000
                                                                                                                                           300
                                                                 2000
                                                                                       SIL        LM            AD                         200

                                                                 1000                                                                      100

                                                                    0                                                                      0



                                                                        Entry Cohort         Exit Cohort    Selected Cohort   Surprised Cohort




    Notes: Entry cohort is measured per 100,000 population on the left axis. Exit cohorts are measured per
    100,000 population on the right axis. The solid vertical line indicates SIL passage in Florida in 1988. The
    vertical dashed lines indicate where LM and AD’s samples end, respectively.




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                      Figure B.5: Illustration of Average Cohort Age Evolutions



                                              Cohort Age Evolutions Example: Florida (SIL 1988)
                                       60


                                       50


                                       40
                         Average Age




                                       30


                                       20


                                       10
                                                           SIL

                                       0



                                            Entry Cohort         Exit Cohort    Selected Cohort   Surprised Cohort




    Notes: Evolutions of the average age in each cohort. The solid vertical line indicates SIL passage in Florida
    in 1988.




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             Figure B.6: Estimated Selection and Floodgate E↵ects by Crime Types




    Notes: Point estimates of selection (leftmost on each plot) and floodgate e↵ects from SIDD on violent
    crimes and sub-categories (Table V).




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                     Figure B.7: Arrests by Age in 1980 and 2010 (# of Arrests)




    Notes: Rugged blue lines represent the data as we simply divide arrests evenly in an age group. Smooth
    orange lines represent the well-fitted single-age arrests.




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                     Figure B.8: Aging E↵ects on Violent Crime Entry and Exit




    Notes: Year-to-year fraction changes of imputed age-specific crime rates, averaged across all state-year
    observations. The left panel shows the entire career span (13-64, entry and exit). The right panel zooms in
    on the 22-64 age range.




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                                                                                               ed
                     Smoking Gun? Linking Gun




                                                                                            iew
                   Ownership to Crime Victimization
                                                   Stephen B. Billings∗
                                                       January 6, 2023




                                                                                 v
                                                                              re
                                                             Abstract
            Using linked individual data on concealed handgun permits (CHP), reported crimes and
                                                                  er
            arrests, I examine the dynamics of gun-ownership and criminal victimization. I initially
            show that being male, Republican, older, born in-state and a recent crime victim increases
            the probability that an adult obtains a CHP. Getting a CHP increases property crime
                                                       pe
            victimization by 46% with the largest impact on having a firearm stolen. Individual CHP
            holders see no change in violent crime victimization thus dispelling any benefits in terms
            of protection. Obtaining a CHP has a small (2%) effect on total crime and a larger effect
            on violent crime using a gun (8%) within the CHP holders neighborhood. Results suggest
            stolen guns spillover to neighborhood crime which is an important component of the
            larger social costs of gun ownership.
                                            ot
                                tn
          rin




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        ep




                   stephen.billings@colorado.edu)
                  Acknowledgments: I thank the participants at the 2019 University of Colorado applied micro workshop,
                   the NC State applied micro seminar, University of Southern California, Rutgers University, the Transat-
                   lantic Economics of Crime Workshop 2021, the Economics of Crime Online Seminar Series 2020, APPAM
                   Fall Research Conference 2020 as well as helpful comments from Phil Cook, Robin McKnight and John
Pr




                   McDonald. I would also like to thank Monica Nguyen of the Charlotte-Mecklenburg Police Department
                   for all her assistance obtaining the reported crime/crime victimization data and the Mecklenburg
                   County Sheriff’s Office for allowing me to access to the CHP data. Gavin Off from the Charlotte
                   Observer for sharing gun permit data.




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            1. Introduction




                                                                                          ed
            The tragedy of gun violence is revisited with great regularity and each high profile
            shooting renews debates about the role of guns in US society. Even after shooting events
            such as Columbine High School in 1999, Rep. Gabrielle Giffords in 2011, Sandy Hook




                                                                                       iew
            Elementary School in 2012, San Bernardino in 2015 and Parkland High School in 2018,
            national gun legislation was unchanged and only with the recent Robb Elementary School
            shooting in 2022 was there a modification to national gun laws.2 Furthermore, following
            each shooting and COVID-19, we saw large increases in gun purchases.3 Local gun laws
            and enforcement did react to these high profile events with a number of subsequent




                                                                            v
            changes (both more and less restrictive) to gun accessibility and permitting (Yourish




                                                                         re
            et al. (2013)). These local policy changes have been incorporated into recent research
            which consistently finds a positive relationship between gun availability and crime.4
            Unfortunately, how gun policy and availability translates into criminal outcomes is
            less clear and complicated by limited data on gun ownership as well as a diverse set of
                                                              er
            channels through which legal guns end up in the hands of criminals.
                   At the crux of this policy debate is how are legal guns obtained and used by crimi-
            nals? Gun tracing data highlights a role for interstate trafficking or larger scale straw
                                                   pe
            purchasing within jurisdictions that have limited supply and typically more regulated
            gun access (Cook et al. (2015) , Collins et al. (2017)).5 Research also supports a substan-
            tial role for informal and local social connections to transfer guns between legal and
            illegal purchasers (Braga et al. (2010) , Papachristos (2009) , Papachristos et al. (2015) ,
                                        ot


            Papachristos and Wildeman (2014) , Miller et al. (2017) ) as well as evidence of a robust
            market for individuals to steal guns from homes, cars and persons and sell to criminals
            (Kleck and Wang (2008) , Khalil (2017)). Finally, there is even reason to suspect that
                             tn



            licensed gun dealers may be providing guns to individuals that later use them in criminal
            acts (Cook (2018), Cook et al. (2015) ).
                  Even with evidence supporting a diverse set of channels through which criminals
          rin




            obtain guns, there are some drawbacks to this literature. First, the decision to obtain a
            legal gun as well as how it is stored and used is endogenous to both individual as well as
            neighborhood crime risk. This endogeneity may be reflected in both the use of a legal
            gun as well as how a gun may enter the illegal market as underlying crime risk impacts
        ep




              2
                Luca et al. (2020) provides evidence that mass shootings lead to a 15% increase in gun legislative
                 discussions but no actual changes in the law.
Pr




              3
                Levine and McKnight (2017) find approximately a 60% increase in gun purchases after Sandy Hook.
              4
                Cook and Donohue (2017) and Cook and Ludwig (2019) provide a review of this literature.
              5
                A straw purchaser is defined as anyone who legally obtains a gun on behalf of another individual who
                 is unable to obtain the gun legally.




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            both the demand and supply of guns.6 Second, this literature is often based on surveys of




                                                                                          ed
            inmates, small samples of recovered guns or aggregated measures of gun availability and
            crime. Given data scarcity, there is limited revealed preference data on guns and crime at
            the individual or even neighborhood level. This type of data may help disentangle some
            of the various findings in the literature. For example, if individual gun owners are later




                                                                                       iew
            arrested for crimes or become victims of crime, it reveals quite different dynamics of
            how legal guns are being obtained for criminal acts. Disaggregated details about crimes
            also reveal how guns may enter illegal networks as one can use the location and timing
            of events like a stolen gun and look at subsequent crimes using guns.




                                                                            v
                  The paper presented here provides two main contributions to understanding how
            local gun ownership impacts crime. First, I provide evidence on criminal victimization




                                                                         re
            and arrests for individuals who obtain concealed handgun permits (CHPs). This evidence
            is compelling since my dataset allows for a rich description of the timing, location and
            details of victimization and arrests and thus can leverage temporal variation at the
            individual level while controlling for a rich set of confounding neighborhood factors.
                                                              er
            Individual analysis is rare in the guns and crime literature more broadly and is a yet an
            unexplored determinant of crime victimization. Second, I provide evidence that individual
                                                   pe
            gun ownership spills over onto broader neighborhood crime and thus can provide an
            estimate of the local social costs of crime.
                   My analysis begins with the creation of a unique individual panel dataset that links
            registered voters to concealed handgun permits (CHPs) and reported crime victims from
            2007 through 2011 in Charlotte, NC.7 All of these datasets are linkable by full name, birth
                                        ot


            year and residential address. CHP holders are typically white, age 30 and older, male,
            politically more Republican and more likely to have been a crime victim.
                             tn



                  I incorporate a stacked difference-in-difference model to estimate the impact of
            getting a CHP on individual crime victimization. This model avoids concerns regarding
            two-way fixed effects panel models with differential timing (Roth et al. (2022), Goodman-
            Bacon (2021)). Specifically, I create a control group by doing an exact match between CHP
          rin




            and non-CHP holders based on voter attributes, voter victimization history, neighborhood
            of residence and the month that a new CHP is issued and estimate a difference-in-
            difference model with matched group by time and individual fixed effects. To limit
        ep




            concerns about unobserved crime risk, I show that results are robust to limiting the sample

              6
                For example, higher crime in my neighborhood may lead more criminals to demand guns or obtain
                 guns through theft while at the same time inducing an increase in the supply of legal guns obtained
Pr




                 for personal protection.
              7
                Approximately 86% of CHP holders are also registered voters making them representative of the main
                 population of potential gun owners. In comparison, about 75% of the 18+ population in Charlotte are
                 registered voters.




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            to only those permits issued during shocks to gun demand following the inauguration of




                                                                                            ed
            Barack Obama and the shooting of Rep. Gabrielle Giffords. I also provide models that
            only focus on crime victims where the offender is unknown to the victim. Individual
            analysis highlights that getting a CHP increases overall victimization by 46%, but effects
            are limited to non-violent crimes.8




                                                                                         iew
                  Spillovers to broader neighborhood crime represent an important social cost of
            gun ownership, especially since CHP holders are more likely to be victims of a firearm
            being stolen. Given the scale of my data and a robust literature on the typical distance
            an offender travels to commit a criminal act, I test for neighborhood spillovers up to




                                                                              v
            the Census Block Group (CBG) 2000 definition of neighborhoods.9 I adopt the same
            methodology as the individual analysis but restrict matched CHP with non-CHP holders




                                                                           re
            to be living in different neighborhoods in the same census tract and then make the
            outcome the number of reported crimes for varying distances from the CHP and matched
            CHP control individuals. Results highlight a 2% increase in total neighborhood crimes.
                   In order to highlight a more direct role of guns in criminal outcomes, I estimate
                                                               er
            models on three hypothesized effect of more legal guns for both CHP holders and
            neighborhood spillovers: 1) guns offer personal protection and influence the quantity
                                                    pe
            and severity (injuries and death) of violent encounters between individuals (no effects);
            2) guns increase the payoff from property crimes (CHP holders experience a 69% increase
            in burglaries and a 268% increase in having a firearm stolen); 3) legal guns end up in
            illegal markets and are more likely to become part of crimes in the future (7.7% increase
            in neighborhood violent crimes using a gun). I also show limited changes in 911 calls,
                                         ot


            but a decrease in violent crime clearance in the neighborhood of a new CHP. Putting all
            the results together complements recent work by Donohue et al. (2022), where stolen
                             tn



            guns lead to an increase in violent crimes that is compounded by less effective policing.
            To put my results in terms of actual costs, I take estimates on the costs of crime from
            McCollister et al. (2010) and estimate crime category specific models to generate a per
            capita social cost of crime. Each additional CHP and its associated guns generate a social
          rin




            cost of crime of $17.14 per person.
                  Subsequent analysis that examines specific crime categories, as well as incorporates
            a sample of The Trace data for Charlotte suggests a limited role of interstate trade in guns
        ep




            or large-scale arms dealers, but rather a narrative that property crimes are yielding more

              8
                Each additional CHP coincides with multiple guns (based on Brauer et al. (2013)), so effects could be
                 interpreted as about 4.4 guns leading to these estimated impacts.
Pr




              9
                A sizable literature (Phillips (1980) , Gabor and Gottheil (1984) , Rhodes and Conly (1981) , Repetto
                 (1974) , Barker (2000) and Capone and Nichols Jr (1976) ) in criminology finds the distance between an
                 arrestee’s home address and the location of reported crimes to be on average between 0.35 and 2.41
                 miles across a range of urban settings, which is about the size of a CBG in my data.




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            guns as CHPs increase.10 These stolen guns coincide with a range of criminal activity in




                                                                                              ed
            the neighborhood such as violent crime using a gun (robbery) as well as theft from auto
            and burglary. I am unable to rule out criminals acquiring guns through social networks
            or illegal dealers, but do find evidence that CHP holders are no more likely to be subject
            to arrest after acquiring a CHP and if anything become more law abiding. This fact could




                                                                                           iew
            suggest the presence of straw purchasers who need to avoid criminal detection, but the
            fact that these individuals are not being arrested more often for weapons crimes does
            limit the scale of this underlying channel.
                  The localized nature of my results indicates that policies such as Child Access




                                                                                v
            Prevention and gun storage laws may limit their theft and thus prevent future neigh-
            borhood crimes. Even more promising for thwarting this mechanism of stolen guns are




                                                                             re
            biometric recognition devices that limit gun use to only registered owners ((Cook and
            Goss 2020)). These policy implications are not in contradiction to existing findings of a
            larger role of straw purchasers and interstate commerce for guns in places like Chicago
            (Cook et al. (2015) , Collins et al. (2017)) since the regulatory environment and supply of
                                                                er
            guns in southern cities like Charlotte may be more conducive to a local supply of guns
            through theft.11 In the end, my conclusions are specific to CHP holders and thus may
                                                     pe
            not reflect the specific impacts of other legal handgun purchases such as through pistol
            purchase permits (PPP) or gun shows.12
                  This paper contributes to a larger literature on the social costs of gun ownership.
            This literature does provide consistent evidence that more guns or easier access to guns
            in the home lead to higher rates of accidental shootings (e.g. Levine and McKnight (2017)
                                         ot


            , Grossman et al. (2012), DeSimone et al. (2013) ,Wiebe (2003a) , Hemenway (2011) ,
            Morrow and Hudson (1986) ) and higher rates of suicide ( e.g. Anestis and Houtsma
                             tn



            (2018) , Lang (2013) , Miller et al. (2006), Miller et al. (2007), Ghiani et al. (2019) and Wiebe
            (2003b), Miller et al. (2022), Wintemute et al. (1999), Studdert et al. (2020)). The research
            on the impact of legal guns on crime often focuses on Right To Carry (RTC) concealed
            handgum laws and recent work (Donohue et al. (2019), Donohue et al. (2022) and McElroy
          rin




            and Wang (2017)) provides more conclusive panel evidence that less restrictive RTC
            handgun laws increase violent crime. There are also a number of papers that use non-RTC
            variation in gun access to find more guns are often associated with an increase in gun
        ep




             10
                The Trace data collects administrative police data which provides individual observations linking
                 original purchasing jurisdiction to where the gun is later recovered as part of a criminal investigation.
                 This data is available for download at https://www.thetrace.org/missing-pieces-data/ .
             11
                Collins et al. (2017) does find stronger support for the stolen gun channel in New Orleans and Prince
Pr




                 George’s County, MD based on inmate interviews.
             12
                The fact that I do later provide evidence that the number of CHP holders in a neighborhood has an
                 almost one to one relationship with the number of PPP holders is suggestive that these effects may
                 hold across other types of gun purchases.




                                                                  5                                              Exhibit D
                                                                                                                 Page 306
                                                                                                                      378
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            homicides (Duggan (2001), Cheng and Hoekstra (2013), Williams Jr (2017) and McClellan




                                                                                    ed
            and Tekin (2017) ). Across this literature, lowering the psychological (e.g. "stand your
            ground laws") or transaction costs (e.g. permits, background checks) of obtaining a gun
            appears to increase gun related violence.




                                                                                 iew
                   The relationship between guns and crime victimization also contributes to a
            growing literature on the determinants of crime victimization. This literature spans
            a number of contexts but provides evidence of how policies, private actions and individual
            attributes impact criminal victimization. For example, Ayres and Levitt (1998) and Gonzalez-
            Navarro (2013) show that the adoption of Lojack anti-auto theft devices deterred auto




                                                                       v
            theft more broadly. Vollaard and Van Ours (2011) show that a policy to require burglary
            proof windows and doors for new homes in the Netherlands decreased burglaries by




                                                                    re
            26% and Van Ours and Vollaard (2016) show that a European Union policy that required
            automatic engine immobilizers decreases auto theft by 40%. Actions, such as alcohol
            consumption, may directly contribute to higher and lower victimization rates ( Chalfin
            et al. (2019) , Randi Hjalmarsson and Mitrut (2021)). More broadly, papers (Jensen and
                                                          er
            Brownfield (1986), Mayhew and Elliott (1990) ,Sampson and Lauritsen (1990), Wittebrood
            and Nieuwbeerta (1999), Pedersen (2001) ) in criminal justice show that routine activity
                                                pe
            or life style theory explains the positive association between being both a victim and
            offender.
                  The paper continues with a description on gum permitting in North Carolina
            (Section 2), details on the individual dataset incorporated into my analysis (Section 3) as
            well as specifics on the estimation model and individual results in Section 4. I estimate
                                      ot


            neighborhood spillovers in Section 5. Section 6 provides a discussion of mechanisms and
            an estimate of the local social costs from each additional CHP.
                            tn




            2. Gun Permitting in North Carolina
            Before providing details on data and estimation, one needs to understand how individuals
          rin




            obtain handguns in NC and the role of gun-permitting in generating my main measure
            of gun ownership. In 1995, North Carolina changed from a "no issue" to a "shall issue"
            state, which meant that prior to 1996, concealed handguns were not allowed and starting
        ep




            in 1996, residents could conceal carry if issued a permit by the state. North Carolina
            also requires a pistol purchase permit (PPP) to buy a handgun and NC Gen. Stat. 14-
            402 states that all sales of handguns (private or licensed gun dealers) must only be to
            permitted buyers. Specifically, a Concealed Handgun Permit (CHP) is needed to be able
Pr




            to carry a handgun under clothing or in other ways concealed into almost any structure
            or outside. There are some restrictions on carrying guns in government buildings as



                                                           6                                       Exhibit D
                                                                                                   Page 307
                                                                                                        379
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            well as institutions that serve alcohol, but the latter has been allowed in subsequent




                                                                                            ed
            legislative sessions. A person must be 21 years old, a resident of North Carolina for at
            least 30 days, have a valid driver’s license, undergo a mental health medical background
            check (this requirement was removed in 2015), undergo a criminal background check
            and participate in a firearm safety course to obtain a CHP.




                                                                                         iew
                  The background check does provide some discretion since a CHP may be approved
            or denied based on "good moral character" which is loosely defined as "honesty, fairness,
            and respect for the rights of others and for the laws of the State and nation" (Supreme
            Court of NC. Willis, 288 N.C. 1,10 (1975)). There is some evidence of individuals with




                                                                              v
            previous arrests receiving CHPs and based on my analysis, about 1.8% of new CHP
            holders between 2007 and 2011 had at least one previous arrest and 0.3% had a felony




                                                                           re
            arrest in the previous 5 years.13 In practice, only a felony conviction would disqualify an
            individual from obtaining a CHP. An application for a CHP costs $90 and allows a person
            to purchase unlimited guns without any additional background checks. The process for
            obtaining a CHP typically takes about 45 days, but can be longer or shorter depending
            on the number of applications.
                                                               er
                  The choice of a CHP versus simply purchasing a gun (pistol purchase permit (PPP))
                                                    pe
            is based on two main differences between these two types of ownership: 1) A CHP allows
            for multiple gun purchases for up to five years while a PPP allows for only one gun to be
            purchased. 2) A CHP allows for concealed carry while a PPP is more limited in the usage
            and carrying options for prospective gun owners. The exact reasons for choosing a CHP
            versus a PPP are not well documented, but CHPs are more amendable to individuals that
                                        ot


            want to regularly carry a gun outside the home for protection.14 Alternatively, one could
            purchase a handgun from a private owner or gun show, or one could purchase a long
                             tn



            gun which does not require a permit. These alternative methods of gun ownership are
            universally difficult to measure.
          rin




            3. Data
            In order to examine the impact of the supply of legal guns on individual crime victim-
            ization and arrest, one requires rich and spatially disaggregate data on reported crimes,
        ep




            arrests and permitted gun ownership. The requirements of such data limits national
            analysis but does allow for specific jurisdictions that have publicly available reported

             13
                For the general population of voters, 8.3% had any arrests and 0.8% had a felony arrest in the previous
Pr




                 five years.
             14
                According to a 2017 Pew Research survey on gun ownership (Igielnik and Brown (2017)), 67% of gun
                 owners cited protection as a major reason for getting a gun and 26% of gun owners say they regularly
                 carry a gun outside of the home.




                                                                7                                             Exhibit D
                                                                                                              Page 308
                                                                                                                   380
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            crime data as well as concealed handgun or purchase permit microdata. In my case, the




                                                                                           ed
            city of Charlotte and specifically Mecklenburg County which encompass the city of
            Charlotte, NC plus a few smaller towns has made this data available. My main measure
            of gun ownership is from a 2012 snapshot of the registry of concealed handgun permits
            which details individuals who received a CHP in the previous five years and I focus on




                                                                                        iew
            new permits and not permit renewals. Prior to 2014, Mecklenburg County, NC provided
            data on individuals with concealed handgun permits (CHPs). This data contains identifi-
            able information such as full name, date-of-birth, residential address, date permit issued
            and if this is a new permit or a renewed permit for the universe of active permit holders.




                                                                             v
            Few permits expire (10%) and even fewer permit application are denied (1%) during my
            study period of 2007 through 2011.




                                                                          re
                  I am limited to examining CHPs since pistol purchase permits (PPP) data does not
            contain the pistol permit issuance date and has more limited individual information.
            North Carolina changed public access laws to exclude gun permits in 2014 thus limiting
            the time frame for which I am able to directly incorporate this data to 2007 through
                                                               er
            the end of 2011, given the data was originally requested in 2012. Figure 1 provides the
            frequency of new CHPs over time.15 Two things to note: 1) the initial spike in CHPs due
                                                   pe
            to the introduction of CHPs in 1996 and the large spike in CHPs after the inauguration
            of Barack Obama in early 2009. The inauguration of Obama generated a large spike
            in the demand for guns as individuals feared that the federal government would pass
            policies limiting gun purchases or even the creation of a national registry of new gun
            owners.16 The shooting of US Representative Gabrielle Giffords in January 2011 produces
                                        ot


            a noticeable uptick in CHPs as legislation was introduced to expand background checks
            and additional gun restrictions.17 These spikes become even more pronounced after the
            end of my CHP dataset with events such as the mass shooting at Sandy Hook Elementary
                             tn



            in 2012.
                 To better understand how the number of CHPs compares to background checks
            for most firearms, I incorporate data from the National Instant Criminal Background
          rin




            Check System (NICS). This database provides the number of background checks by state
            and month since 1998 for handguns and long guns. I focus on handgun background
            checks and those associated with permits and purchases. Figure A2 provides the number
        ep




             15
                Throughout this paper, I will define the date of a CHP based on when the permit is issued, not the
                 application date. This measure of CHP will better match when an individual is able to purchase a new
                 gun.
             16
                See Depetris-Chauvin (2015) for an in-depth study of gun purchases around the inauguration of Barack
                 Obama in 2009.
Pr




             17
                Appendix Figure A1 confirms that the narrative around gun bans/restrictions and legislative actions on
                 guns spiked around the same time as the upticks in CHPs by examining Google trends for searches that
                 include gun bans. The spike in searches for Obama occurred closer to the election then the subsequent
                 inauguration seen in the CHPs, but is still consistent with this narrative.




                                                                8                                            Exhibit D
                                                                                                             Page 309
                                                                                                                  381
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            of monthly CHPs and NICS background checks for handguns in Mecklenburg County




                                                                                               ed
            over my study period.18 This figure has two purposes. First, this figure shows us that
            background checks correspond well with the timing of CHPs and are often conducted just
            prior to a CHP being issued.19 In some cases, the NICS background checks may precede
            the timing of CHPs as the background check can occur weeks or even months before the




                                                                                            iew
            CHP is actually issued. Second, I can later use this figure to scale up the number of CHPs
            to estimate the number of total background checks which provides an estimate of total
            guns. From this figure, one would expect roughly 4 background checks for every CHP
            and based on survey estimates of gun sellers (Brauer et al. (2013)) , these 4 background




                                                                                v
            checks would correspond to about 4.4 new guns.
                  In order to further explore the relationship between CHP holders and other gun




                                                                             re
            purchasers, I can leverage a dataset on pistol purchase permit (PPP) holders over this
            time period.20 This data provides enough information to assign individuals who received
            PPPs between 2008 and 2012 to neighborhoods of residence and represents the main
            avenue for purchasing legal guns, outside of CHPs and private/gun show purchases,
                                                                 er
            in Charlotte. Figure 2 provides the correlation between PPPs and CHPs across Census
            Block Group (CBG) neighborhoods. Results highlight a consistent and almost one-to-one
                                                     pe
            positive relationship between the number of CHPs and PPPs in a neighborhood. The
            similarity in neighborhoods for CHP and PPP holders as well as similar timing of CHPs
            and background checks in Figure A2 is reassuring that CHPs holders are representative
            of gun-buyers more broadly.
                  The primary dataset to link the underlying adult population to CHP holders and
                                         ot


            neighborhoods is the universe of registered voters based on annual snapshots from
            2005-2013. This publicly available dataset provides annual snapshots of registered voters
                              tn



            and contains a number of useful details including full name, residential address, birth
            year, political affiliation, race, age and gender. I exclude any voters that has been labeled
            removed. This dataset allows one to create a panel of registered voters including neigh-
            borhood of residence. These snapshots are typically taken right around annual elections
          rin




            in October and November and thus individuals who are politically active will have
            updated any new residence by the time of the snapshot if they were planning to vote in
            the upcoming election.21 The process for updating voter registrations and voting more
        ep




             18
                Since, NCIS is only available at the state level, I use a general population share to scale down NICS
                 counts for the state in order to indicate the total for Mecklenburg County (Charlotte, NC).
             19
                The two time series in this figure generate a correlation of 0.34.
             20
                Pistol Purchase Permit (PPP) data was provided from the reporters in Off and Henderson (May 12, 2013)
Pr




                 and provides individual information on anyone who obtained a PPP in the last 5 years but no info on
                 the timing of purchase.
             21
                Any concerns about updated voter registration information is partially mitigated by the fact that I attempt
                 to merge unmatched individuals across any year of voter registration records using the uniqueness of




                                                                  9                                               Exhibit D
                                                                                                                  Page 310
                                                                                                                       382
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            broadly during this time period is not onerous even though more recently (after my study




                                                                                            ed
            period) there were a number of state legislative changes that required voter identification
            as well as restrictions on early voting.
                   The main crime dataset incorporated into my analysis is the universe of reported




                                                                                         iew
            crimes from the Charlotte-Mecklenburg Police Department (CMPD) which contains exact
            latitudes and longitudes of reported crimes, whether a crime was cleared by arrest, details
            about the type of crime and even details about crime victims (including names, date-
            of-birth, address of crime victims). This dataset of reported crimes spans 2005 through
            2013 and allows the creation of detailed crime outcomes that can be gun-specific such as




                                                                              v
            violent crime using a firearm as well as if specific CHP holders are later crime victims
            or arrested for any crime. The detailed nature of the dataset allows me to link up crime




                                                                           re
            victims to registered voters even if a victim changed residences.
                  Given the individual nature of my data, I create an annual panel dataset of registered
            voters linked up to CHPs based on full name, birth year and address.22 Approximately 86%
            of CHP holders can be directly merged to registered voters based on name, age and address.
                                                               er
            This high match rate indicates that almost all gun owners are registered voters and have
            a number of demographic attributes that correlate with political participation.23 I lose
                                                    pe
            approximately 4% of the original voter data due to missing or incomplete geographical
            information. Since my focus is on the impacts of legal handgun ownership (which requires
            no felony convictions) on crimes, I am less concerned with other scholars (Uggen and
            Manza (2002), Hjalmarsson and Lopez (2010) ) finding that criminals are less likely to be
            registered voters.
                                        ot


                   Table 1 provides summary statistics for a monthly dataset of registered voters
            merged with CHP, crime and property data. This table highlights a couple interesting
                             tn



            differences between individuals who have new CHPs (N=8,555) and those that do not
            (N=739,990). First, CHP holders are more likely to be male, white, Republican and older.
            These permit holders also tend to have been registered voters for a longer time period
            (likely lived in NC longer) and have slightly higher levels of individual crime victimization
          rin




            and lower levels of arrest, but live in neighborhoods with lower levels of reported crimes.
                  Figure 3 highlights the general trends on crime victimization and CHPs that exist
            in this data.24 I include victimization rates separately for individuals that ever held a
        ep




            CHP versus did not have a CHP during the 2007-2011 time period. The bars provide the


                  full name and birth year. Additionally, the high match rates using my primary matching algorithm of
                  unique full names, age and residential address limits this concern.
Pr




             22
                See Appendix A1 for details on data merging
             23
                Registered voters in Mecklenburg County, NC represent about 75% of the population aged 18 and above.
             24
                I have historic monthly counts of CHPs issued but there is no identifying information for CHPs prior to
                  2007 in my dataset.




                                                                10                                            Exhibit D
                                                                                                              Page 311
                                                                                                                   383
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            monthly number of new CHPs. The general trend in crime from 2007 through the end of




                                                                                               ed
            2011 is a decline in crimes while there is a general increase in CHPs. These crime trends
            hold for violent and property crimes as well as other crimes in aggregate.25




                                                                                            iew
            4. CHPs and Individual Crime
            There are a number of threats to the validity of estimating the effect of obtaining a CHP on
            crime victimization including omitted individual and neighborhood attributes, of which
            some can be included as controls. For unobserved attributes such as risk preferences,




                                                                                v
            law-abiding beliefs and impulse control we have to rely on fixed effects for individuals
            and neighborhoods and assume that these attributes are unchanged during the time




                                                                             re
            period under examination. The remaining threats to validity relate to time varying
            unobservables such as an individual is fearful of being a crime victim which correlates
            with obtaining a gun and future victimization.26 There are three methods incorporated
                                                                 er
            into my analysis to address this concern. First, I will incorporate rich information of
            prior victimizations, which is the best measure of current crime risk available. Second, I
            run some of my analysis based only on gun permits obtained during exogenous shocks
                                                     pe
            to gun demand (the inauguration of Obama and shooting of Rep. Giffords). Third, I
            examine outcomes for only crime victimizations where the offender was unknown thus
            minimizing sources of crime risk known to a victim.
                                         ot


            4.1. Predictors of Getting a CHP
            To explore the role of individual attributes and crime risk in obtaining a CHP, I present
            two sets of results using linear probability models to predict getting a CHP. Table 2
                              tn



            provides some initial analysis to formalize the differences between CHP and non-CHP
            holders using a cross-section of my dataset based on the January 2007 voter snapshot. This
            table provides OLS analysis based on a dependent variable equal to 100 if an individual
          rin




            ever obtained a new permit between 2007 and 2011 and a zero otherwise. In Column
            1, I examine what factors explain ever getting a new CHP with column 2 including
            neighborhood (Census Block Group 2000) fixed effects. Across all models, individuals
        ep




             25
                I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and
                  define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property
                  and vandalism. These definitions expand FBI violent or property indexed crime categories to include a
                  larger set of crimes that are often reported to local police and likely incur social costs. Later results
Pr




                 would be quite similar with the more narrow FBI definitions.
             26
                The literature provides some evidence of this concern with Depew and Swensen (2019) , Tannenbaum
                 (2020) and Costanza et al. (2013) showing positive impacts of crime on permitting activity in smaller
                  cities in NC as well as Connecticut and New York.




                                                                  11                                              Exhibit D
                                                                                                                  Page 312
                                                                                                                       384
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            that are male, white, Republican, older and born in NC are more likely to get a CHP.27 In




                                                                                             ed
            terms of neighborhood attributes highlighted in Column 1, those neighborhoods that
            have higher population density, higher poverty rates and more neighborhood property
            crime in the previous year tend to have fewer people obtain CHPs, but the magnitude of
            these effects are small and the model is low in explanatory power. Across columns, being




                                                                                          iew
            a male and Republican have the largest magnitude of impacts on getting a new CHP.
                   Table 3 provides estimates of how dynamics factors impact getting a CHP. These
            results are based on my main dataset that uses annual data for voter attributes and
            residential information but allows CHPs and crime to be observed at the monthly time




                                                                               v
            period. I only include individuals that ever obtained a new CHP in this table and drop
            observations for an individual after they obtain a CHP since I code the dependent variable




                                                                            re
            as equal to 100 only in the month of obtaining a CHP. Table 3 provides the impact of
            if this is an individual’s first year in their current neighborhood, neighborhood crimes,
            number of CHPs issued in the neighborhood and if the individual was a crime victim over
            the last 12 months. Results highlight that once one controls for both neighborhood (CBG)
                                                                 er
            and individual fixed effects, neighborhood crime does not explain getting a CHP but
            being a crime victim matters. Variables for neighborhood crime and CHPs are normalized
                                                      pe
            to be mean zero and standard deviation one so that effect sizes for neighborhood CHPs
            in column 3 indicate that a one standard deviation increase in neighborhoods CHPs in
            the last year (14.9) increase an individual’s probability of getting a CHP by about 0.097
            p.p. or 45%. Being a victim of a property crime increase the probability of getting a CHP
            by 0.044 p.p. or 21% , while being a victim of a violent crime increased CHPs by 0.062
                                           ot


            p.p. or 29%. Given the predictive nature of neighborhood attributes and individual crime
            victimization, individual analysis will control for these factors.
                                tn



            4.2. CHPs and Crime Victimization
            As an initial analysis of the impacts of obtaining a CHP on individual crime victimization,
          rin




            I estimate the following Equation 1 where β1 represents the coefficient of interest for
            the time period (Postt ) after which an individual i obtained a new CHP. γi indicates an
            individual fixed effect; δnt indicates a CBG j by month t fixed effect; Xint−1 provides
            individual and neighborhood attributes that can vary over time and includes the variables
        ep




            listed in Table 2 for previous time period t − 1; and Yint is equal to 100 if individual i in
            neighborhood n is a crime victim. in month t.
Pr




             27
                  These attributes are consistent with existing research ( Glaeser and Glendon (1998) , Costanza et al.
                   (2013) , Thompson and Stidham (2010)) which highlights that being Republican, white, older and male
                   correlate with gun ownership survey data.




                                                                 12                                           Exhibit D
                                                                                                              Page 313
                                                                                                                   385
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                                                                                              ed
                        Yint = α + β1 Postt ∗ CHPi + β2 CHPi + Xint + γi + δnt + ϵint                                 (1)

                  Table 4 provides results from Equation 1 with models that include various fixed




                                                                                           iew
            effects. The model in column 4 represents a standard two-way fixed effect model and
            indicates that obtaining a new CHP generates a 15% (0.061/0.398) increase in any crime
            victimization relative to the mean crime victimization rate. Given the recent literature
            that highlights a number of issues in implementing standard two-way fixed effects model
            in the presence of heterogeneous treatment and differential timing (Roth et al. (2022)), I




                                                                                v
            implement a stacked difference-in-difference model in subsequent results in columns




                                                                             re
            5 through 7 of Table 4. As discussed by Goodman-Bacon (2021), creating cohorts of
            matched treatment and control groups allows implementation of difference-in-difference
            models that avoid sources of bias when treatment is staggered.
                  To estimate my stacked difference-in-difference model, I take all individuals who
                                                                er
            ever obtain a new CHP between 2007 and 2011 and match up to 10 non-CHP holders
            based on exactly matching all the individuals attributes given in Table 1 as well as the
            CBG neighborhood of residence in the month for which the CHP holder received a new
                                                     pe
            a CHP. Matching is done with replacement such that a non-CHP holder may be matched
            to multiple CHP holders. This month of matching provides the timing of treatment for
            later event study plots and difference-in-difference estimates. I further match exactly
            on the total number of previous crime victimizations an individual was subject to up to
                                         ot


            five years prior to the month of treatment.28 This final matching dimension is the best
            available measure of crime risk.
                  In the end, I am able to match 8,420 new CHP holders to an average of 5.2 control
                             tn



            observations.29 I observe these matched groups of CHP and non-CHP holders for the 12
            months prior and following the timing of when a CHP is issued to allow me to observe
            criminal victimization outcomes for a full year pre/post treatment. I estimate a two period
          rin




            difference-in-difference estimator given by Equation 2 where β1 is the main coefficient
            of interest and Postt is equal to one for the month and subsequent 12 months after a
            CHP is issued to group j. In order to limit comparisons between treatment and matched
            control observations in the same time period relative to treatment, I include matched
        ep




            group by month fixed effect δnjt . CHPi is my measure of treatment and indicates if an
            individual ever obtained a new CHP. I cluster standard errors at the level of the matched
Pr




             28
                Since my crime victimization data begins in 2005, individuals contain at least 2 years of victimization
                 data.
             29
                For later arrest outcomes the average number of control observation increases to 5.4 control observations.
                 I lose 135 CHP holders that do not have any valid control matches for victimization and arrest models.




                                                                 13                                              Exhibit D
                                                                                                                 Page 314
                                                                                                                      386
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            group as well as at the individual level.




                                                                                             ed
                              yinjt = α + β1 Postt ∗ CHPi + β2 CHPi + γi + δnjt + ϵinjt                             (2)




                                                                                          iew
                   In order to highlight the validity of the parallel pre-trends assumption in this stacked
            difference-in-difference estimation, I estimate a series of figures that provide coefficients
            for each month pre/post treatment for different crime categories using Equation 3.




                                                                               v
                                 yinjt = α + Σ12
                                              t=−12 βt Dnjt ∗ CHPi + γi + δnjt + ϵinjt                              (3)




                                                                            re
                  where yinjt represents criminal victimization outcomes, βt indicates the main
            coefficients of interest and highlights the additional effect on victimizations for CHP
            holders in the 12 month period prior to and after obtaining a CHP in time t=0. Dnjt
                                                                 er
            is a dummy for the month t for group j in CBG neighborhood n and I omit t-1 as the
            reference time period.
                  Result of this estimation for the full sample of matched CHP and non-CHP individ-
                                                      pe
            uals is provided in Figure 4. This figure highlights no presence of pre-trends in crime
            victimization as well as elevated crime victimization after a CHP for property crimes, but
            not for violent crimes. Effects for property crimes occur immediately as well as throughout
            the year following the new CHP and the largest effects occur for a stolen firearm. Results
                                           ot


            implementing this stacked difference-in-difference across crime categories with a focus
            on crimes that involves guns are presented in Table 5. Getting a new CHP is associated
            with a 46% (0.173/0.379) increase in being a crime victim relative to mean crime victim-
                                tn



            ization rates. In terms of gun specific crimes, a new gun owner is 268% (0.051/0.019) more
            likely to have a gun stolen.30 All together, these results suggest getting a CHP increases
            property crime victimization with additional victimization for gun-specific crimes.
          rin




                  Given concerns about unobserved crime risk impacting obtaining a CHP as well as
            future victimization, I estimate a version of Table 5 where I only include in the dependent
            variable victimizations where the victim does not know the offender (80% of crimes with
            victimizations). Appendix Table A1 shows results are quite similar when focusing on
        ep




            crimes with unknown offenders. Unknown offenders would be more consistent with
            unexpected or unknown crime risk. Appendix Table A2 provides results for a number of
            crime categories and shows that consistent with results for stolen property, only crime
            victimizations classified as burglaries increase for CHP holders.
Pr




             30
                  These results compare well with Hemenway et al. (2017) who finds a 2.4% 5-year victimization rate for
                   gun theft. The comparable 5 year stolen gun victimization rate for my sample of CHPs is 2.9%




                                                                 14                                           Exhibit D
                                                                                                              Page 315
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                  The lack of any effects on violent crime victimization is important since it rejects the




                                                                                               ed
            widespread belief that carrying a gun is an effective form of protection from victimization.
            The overall magnitude of property crimes indicates a number of additional property
            crimes beyond simply stealing a gun. This increase in property crimes may relate to
            behavioral changes by the gun owner who may become more careless about protecting




                                                                                            iew
            their property. Broader increases in property victimization by new CHP holders could
            also be a result of targeting victims with high valued items. To explore this further,
            Appendix Table A3 reports models that examine commonly stolen items that are high
            value. Specifically, I find results for any property being stolen (47% increase) with the




                                                                                v
            earlier increase in firearms stolen and other categories are positive, but not statistically
            significant. Table 6 disaggregates stolen gun outcomes into if the gun was stolen from




                                                                             re
            home, automobile or other locations. Results highlight that guns are stolen from both
            homes and automobiles but not from other locations. The fact that results for multiple
            guns stolen indicate even smaller effects as a percentage of the mean than any firearms
            stolen is inconsistent with straw purchasers obtaining legal guns to sell illegally. This
                                                                 er
            conclusion is based on the assumption that using a CHP to purchase a large number of
            guns increases your likelihood of being a victim of multiple stolen guns.31 I explore the
                                                     pe
            role of straw purchasers and illegal dealers in Section 6.


            4.3. CHPs and Arrest
            In order to highlight the potential of CHP holders being involved in transferring guns to
                                         ot


            criminals or using guns for criminal activities, I provide results for estimating Equation
            2 by simply replacing the outcome to being arrested and refining matching to be based
            on prior arrests.32 Matching for the arrest sample does generate more observations of
                              tn



            matched CHP holders and control non-CHP holders since prior arrests are less common
            than prior victimizations for CHP holders and the general population of registered voters.
            The results in Table 7 indicate that individuals who obtain a CHP are less likely to
          rin




            be arrested, but results are imprecise and insignificant for a number of arrest types.33
            Appendix Figure A3 confirms no pre-trends in arrests across arrest categories. The fact
             31
                It is unclear if straw purchasers would report stolen guns. One could imagine a straw purchaser
                  buying a large number of guns to sell for profit and then reporting these guns as stolen to avoid legal
        ep




                  repercussions as these illegal guns are used in later criminal acts. It also likely that straw purchasers
                  do not want to be involved with the police and thus may never report stolen guns.
             32
                Appendix Table A4 provides results for standard two-way fixed effects analogous to Table 4 for crime
                  victimizations. Results vary more across these arrest models than for victimizations and are consistent
                  with the noisy results related to arrest more broadly.
Pr




             33
                I classify arrests as likely felonies, misdemeanors or technical arrests based on the nature of crime
                  classifications. Felonies include FBI Indexed Property and Violent crimes, while Misdemeanors include
                  other arrests linked to reported crimes. Technical arrests contain arrests without a reported crime and
                  are typically vehicle or court violations.




                                                                  15                                              Exhibit D
                                                                                                                  Page 316
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            that CHP holders are, if anything, less likely to be arrested is suggestive of a general




                                                                                             ed
            narrative that individuals who legally obtain a gun may be more law abiding individuals
            and this only increases after getting a CHP. This result does not dispel the presence of
            straw purchasers since individuals who legally obtain guns to sell may take effort to
            avoid criminal detection and thus obtain fewer arrests. Overall, these results do suggest




                                                                                          iew
            that any concern about selection on unobservables for obtaining a CHP indicate that they
            would be along the dimensions of law abiding behavior. These results would correlate
            with behavior that leads to less crime victimization as CHP holders likely avoid situations
            involving criminal activities.34




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                                                                            re
            5. Neighborhood Spillovers from CHPs
            Since the largest impact of obtaining a CHP is on stolen firearm victimization, there
            is a large scope for impacts beyond the individual CHP holder. Therefore, this section
                                                                er
            provides an analysis of larger neighborhood effects of an individual obtaining a CHP.
            The goal to estimate crime spillovers that may be a result of more legal guns in the
            neighborhood, actions of the original CHP holder or actions by the various agents that
                                                    pe
            may obtain a firearm once it has been stolen. In this neighborhood analysis, impacts
            will be limited to the Census Block Group (CBG) of each CHP and matched control
            individual. The initial choice of CBG neighborhoods is justified for looking at crime
            outcomes because the CBG size encompasses the typical distance upon which a criminal
            travels from their home. The average distance traveled is similar to the average diameter
                                         ot


            of a CBG neighborhood in my study area.35 Additionally, Appendix Figure A4 shows that
            distance between an arrested individual’s home and the corresponding reported crime
                             tn



            that led to arrest for all crimes as well as violent crimes and just stolen gun reported
            crimes. The median distance from an arrestee’s home address and the reported crime
            location that led to arrest is 1.9 miles for all crimes, 0.38 miles for violent crimes and 1.25
            miles for stolen firearms.36
          rin




                  To estimate neighborhood spillovers, I estimate a version of the main model for
            individual crime victimization with two changes to the model. First, I no longer match on
        ep




             34
                A simple correlation between being a crime victim and arrested for a crime indicates a positive relation-
                 ship of 0.08 for all crimes and 0.09 for violent crimes.
             35
                A back on the envelope calculation weighted by the population of registered voters finds the average
                 CBG to be 2.4 square miles or a diameter of 1.5 miles which corresponds well with the distance to
                 crime literature (Townsley and Sidebottom (2010)).
Pr




             36
                Given these distances are calculated based on arrested individuals, one could imagine non-cleared
                 reported crimes could be be shorter or longer distances. Friends and neighborhoods could be less
                 cooperative with the police for short Journey to Crime (JTC) thus under-sampling short distances, but
                 criminals that travel further may make it more difficult for the police to find the offender.




                                                                16                                              Exhibit D
                                                                                                                Page 317
                                                                                                                     389
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            CBG of residence but rather a different CBG in the same Census tract of residence. This




                                                                                            ed
            change in matching criteria generates a small increase in the main crime victimization
            results (for Table 5, column 1 the coefficient increases from 0.173 to 0.219). Second, I
            modify the dependent variable (yindjt ) to represent the aggregate number of crimes
            in CBG n for individual i in month t at distance d. In some models, I simply include




                                                                                         iew
            the entire CBG as distance d, but in other models I will specific distance bands from
            individual i. I exclude any crime victimizations for individual i in estimating spillovers.




                                                                               v
                             yindjt = α + β1 Postt ∗ CHPi + β2 CHPi + γi + δnjt + ϵinjt                            (4)




                                                                            re
                    In order to get a sense of the spatial decay in effects for the main crime outcomes
            explored previously, I report the coefficients for all crimes as well as property, violent,
            violent crime injuries, firearms stolen and violent crimes using guns for four different
            distances up to the entire CBG. Figure 5 presents results for less than 1/10 mile which
                                                                er
            is equivalent to the same building as well as neighboring buildings for individual i.37
            Results for other distance bands highlight quite immediate neighbors up to 1 mile which
            is still smaller than a typical CBG. These figures show positive impacts for both property
                                                     pe
            and violent crimes that decay with distance. Focusing on gun-related crimes, one sees
            some small positive impacts for violent crime using a gun that decays with distance. To
            formalize neighborhood spillovers and generate estimates for the entire CBG, Table 8
            provides results for the main crime outcomes and highlights an increase in total crimes
                                           ot


            of 2% when an individual gets a new CHP as well as a 8% increase in violent crimes using
            guns.
                  A common concern in any study of neighborhood crime is the role of policing
                                tn



            behavior or changes in reporting of crimes by victims. Policing behavior may shift to
            gun-related crimes as officers are concerned about the increased number of new legal
            guns shifting to illegal activity which may impact both the reporting as well as clearance
          rin




            of crimes. For a subset of my study period (prior to 2010), Appendix Table A5 shows
            that there is almost no changes in calls for service in the neighborhood of a new CHP
            holder which is suggestive of no systematic change in how residents are reporting illegal
            activity to the police. The other aspect of policing would be how does law enforcement
        ep




            investigate and clear reported crime? As discussed by Donohue et al. (2022), increases in
            concealed handguns through changes in RTC laws led to more stolen guns and lower
            rates of violent crime clearance by police. Table 8 investigates if crime clearance changed
Pr




            in my difference-in-difference model at the neighborhood level and finds small and
             37
                  Models focusing only on likely family members were too underpowered to provide any additional
                   insight given the fuzzy matching that is needed to match on last name instead of full name and age.




                                                                 17                                           Exhibit D
                                                                                                              Page 318
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            insignificant effects on crime clearance with the exception of violent crimes that see a




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            decrease in clearance rates consistent with Donohue et al. (2022).38 These two sets of
            results are consistent with limited changes in crime reporting but that changes in policing
            behavior may be contributing to my main results through lowering the probability of
            being caught for potential criminals.




                                                                                            iew
            6. Mechanisms and Social Costs
            As discussed earlier, there are a number of mechanisms that may generate a positive




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            relationship between new CHPs and crime including interstate trafficking and large scale
            straw purchasing, informal transfer of guns to criminals based on social connections,




                                                                             re
            stolen guns and even licensed gun dealers acting outside of the law. The nature of my
            results does provide some limits to interstate trafficking and large scale straw purchasing
            as the immediate effects of CHPs on neighborhood crime is too soon to be a result of
                                                                 er
            larger-scale distribution to criminals. Nonetheless, to test for guns flowing in/out of my
            study area, I obtained additional data from the gun tracing database (thetrace.org) and
            calculated the number of guns originating in Charlotte that were later traced to crimes
                                                     pe
            outside of Charlotte from 2010 to 2012 and found less than 3% of guns left the city as
            well as calculated that only 3% of guns recovered in Charlotte were from outside of the
            city.39 This data does not support large flows of guns between Charlotte and other cities
            being the main driver of gun related upticks in crime.
                  The role of local straw purchases may still be important as people buy legal guns
                                         ot


            and sell/transfer to other people. There is really no way to highlight if legal gun buyers
            are providing guns through informal networks, especially if these transfers involve small
                              tn



            quantities of guns. One could even imagine that straw purchasers may be less likely to
            get arrested in order to continue their business of selling legally obtained guns. Of course,
            the sale of illegal guns does generate increased risk of weapons arrest. Earlier results
            suggest that gun buyers are largely law-abiding in general and this does not change
          rin




            after obtaining a CHP. This result does provide limits to the scale upon which CHPs
            holders are doing illegal activities such as transferring guns to friends or selling guns to
            people otherwise one would see an increase in arrests after obtaining a CHP (especially
        ep




            for weapons arrests).
             38
                Crime clearance outcomes in Columns 7-9 include controls for the number of reported crimes by specific
                 crime categories in order to control for any changes in crime composition which can impact clearance
                 rates.
Pr




             39
                These percentages (3%) are calculated from a total of 361 guns recovered and 363 guns reported stolen
                 in Charlotte. These percentages of guns leaving Charlotte as well as ended up in Charlotte are quite
                 low relative to other locations. For example, this dataset finds substantially larger (37%) percentages of
                 guns originating from other locations that are eventually recovered in Chicago.




                                                                  18                                              Exhibit D
                                                                                                                  Page 319
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                  The final and most consistent mechanism highlighted in my analysis is the role




                                                                                           ed
            of stolen guns. Results at the individual level provide strong evidence that increases in
            CHPs coincide with large increases in stolen guns and in general CHP holders are only
            victims of property crimes. Moving to the neighborhood spillovers highlights an increase
            in violent crimes using guns. This result is consistent with a mechanism of stolen guns




                                                                                        iew
            being transferred to criminals that are using guns to commit violent crimes.
                   To put my results in terms of actual social costs, I estimate the impacts of CHPs on
            CBG neighborhood crime for specific crime categories and combine these estimates with
            the costs of crime from McCollister et al. (2010) to generate a estimated impact of the




                                                                             v
            neighborhood social costs of the additional crime created by an expansion in CHPs.40
            Under a number of assumptions such as linear marginal effects and that the time window




                                                                          re
            for outcomes as well as definition of neighborhoods capture the full impacts of CHPs, one
            could estimate the aggregate impacts of new CHPs on crime and compute a social cost.
            As shown in Table 9, each additional CHP would predict 6.1 additional annual crimes in
            a neighborhood for a social cost of $42,835 per neighborhood which equates to about
                                                              er
            $ 17.14 per person.41 The presence of some significant effects on neighborhood crimes
            that are not directly related to guns (e.g. auto theft, theft from auto and vandalism) is
                                                   pe
            still consistent with an increase in property crimes due to a higher payoff from crimes
            that may yield more guns after more CHPs are issued. Since gun owners are more likely
            to be property crime victims, property crime costs which equate to $12.76 per person
            likely encompass some private costs, but may also incur social costs as gun availability
            may increase neighborhood criminality (which include more property crimes in general).
                                        ot


            The remaining $4.38 in violent crime costs per person are often born by other residents
            from earlier analysis and thus is a primarily a external cost that is not incorporated into
            gun ownership decisions.
                             tn



                  Directly comparing these cost estimates to existing literature is not easy, but Cook
            and Ludwig (2006) find marginal social costs of between $100 and $1800 for an additional
            gun. Cook et al. (2000) put gun assaults at $80 Billion and $20 Billion for accidental
          rin




            shootings/suicides. That would translate to about $285 per person for gun-related crimes
            ($80B/280M).42 The best comparison to my results would be if one were to eliminate all
            new CHPs over the study period and calculate how much social costs decreased in Table
            9. Eliminating all new CHPs in my dataset would be equivalent to removing 24.3 CHPs
        ep




             40
                Specifically, I estimate my main neighborhood spillover model (Equation 4) with the inclusion of the
                 individual CHP holders and matched non-CHP holders and report those estimate in column 3 of Table
                 9
Pr




             41
                The fact that one additional CHP generates 6 additional crimes reflects the fact that on average each
                 CHP corresponds with multiple background checks and gun purchases and that one gun that moves
                 to the illegal market may be used for multiple crimes and transferred across multiple criminals.
             42
                There were approximately 280 million people in the US in 2000.




                                                               19                                           Exhibit D
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            from each neighborhood which would reduce social costs by about $416 ($17.14 * 24.3)




                                                                                    ed
            per capita which is not that far out of line with the existing estimates mentioned above.
            My estimates may be larger because I account for a larger number of crime categories
            than existing estimates, but I may also underestimate the social costs of a gun that is
            used for crimes outside my definition of neighborhoods.




                                                                                 iew
            7. Conclusions
            Together, results highlight that gun owners are 46% more likely to be crime victims




                                                                       v
            and victimization often involves having a gun stolen. There is no evidence that legal
            gun owners are committing crimes themselves and CHP holders are more broadly law




                                                                    re
            abiding. Analysis of neighborhood spillovers from CHPs finds increases in total crimes
            of about 2% and violent crimes using a gun of 8%. Additional analysis using a sample
            of gun tracing data over this time period as well as further explorations of stolen gun
                                                          er
            crimes and other crime categories highlight a narrative of new CHP holders being a
            victim of stolen guns that are then used locally in a range of criminal activities.
                  Context and local gun restrictions may help explain while I find a large role for
                                                pe
            stolen guns, while some other scholars (e.g. Cook et al. (2015) , Collins et al. (2017)) stress
            a large role for straw purchase and transfer of guns from illegal dealers. For example,
            a place like Charlotte with moderate restrictions on obtaining legal guns is quite ripe
            for having stolen guns as a large supplier of illegal guns. Whereas a place like Chicago,
            which has high demand for guns in general and some of the strictest gun laws in the US,
                                      ot


            makes obtaining guns via theft more costly thus generating large incentives to bring in
            guns from outside the city and state. A place like Chicago also provides a larger potential
                            tn



            return to more established arm dealers within a large city to purchase illegal guns. This
            difference in context is important in thinking more broadly about gun policy since it
            suggests that different gun restrictions lend themselves to different mechanisms through
            which guns can be used by criminals.
          rin




                    My results suggest that policies that target gun security and storage may have
            substantial benefits beyond limiting the theft of guns including the prevention of future
            neighborhood violent crimes. Policies such as Child Access Prevention laws legally
        ep




            mandate safe and secure storage for homes with children and have been shown to
            decrease child access to guns and decrease injuries (Anderson and Sabia (2018) , DeSimone
            et al. (2013) , Webster et al. (2004) ). Safe storage laws are effective in limiting accidental
            deaths and suicides (Fleegler et al. (2013), Grossman et al. (2005) ). For both of these
Pr




            commonly used policies to promote the secure storage of guns, my results indicate that
            the benefits of these policies may be understated as they also prevent gun theft more



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            broadly and associated spillovers to nearby violent crime. It is unlikely that federal gun




                                                                                    ed
            policy will ever meaningfully limit gun ownership more broadly, but stronger policies
            that limit gun theft may have substantial benefits on local crime and thus something
            that may appeal to state and county policymakers and policing agencies.




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                                           Figure 1: New Concealed Handgun Permit Holders




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            This figure provides the frequency of new CHPs issued from 1996-2011. Month of CHP is based on the date
            the permit was issued to an individual, which in some cases may be months after the initial application
            for a new CHP.
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                 Figure 2: Concealed Handgun Permit Holders vs. Pistol Purchase Permit Holders




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                                                       Pistol Purchase Permits


            This figure provides the distribution of Concealed Handgun Permits (CHPs) per Census Block Group (CBG)
            neighborhood issued 2007-2011 relative to Pistol Purchase Permits (PPPs) per CBG neighborhood issued
            from 2008-2012. Since I cannot distinguish if an individual has previously obtained a PPP, I include all CHP
            holders regardless if they are new or renewing. There are a total of 14,468 CHPs issued and approximately
                                                ot


            20,749 PPPs issued over the five year time period. This figure highlights that the population of PPP holders
            live in similar neighborhoods as CHP holders.
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                                                                   Figure 3: Victimization Rates and CHPs




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               Victimization Rates (Total Crimes) p.p.




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            The figure plots monthly crime victimization rates separately for individuals that received a new Concealed
            Handgun Permit (CHP) at some point in 2007-2011 and non-CHP holders (2007-2011). The bars provide
            the monthly number of new CHPs.
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                                   Figure 4: Temporal Impacts of New CHPs on Crime Victimization




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                                      A. Property Crimes                                                    B. Violent Crimes
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            Difference-in-difference model based on pre-CHP matched individuals on observables and specified as
            Equation 3. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery
            and define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and
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            vandalism. Firearm stolen is any crime that involves a firearm in the list of items reported stolen. Serious
            Injury indicates any crime where the victim reports an injury other than a minor injury. Violent Crime
            Using Gun indicates any reported violent crimes where a firearm was included as part of the crime report.
            All models include fixed effects for each matching group by time as well as individual. Standard errors are
            clustered by matching group as well as by individual.
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                                               Table 1: Monthly Summary Statistics




                                                                                                        ed
                                             Registered Voters - No CHP Registered Voters - w/ CHP
                                             Mean         Std Dev       Mean         Std Dev
             Individual Attributes
             Male                             0.44             (0.50)            0.75             (0.43)




                                                                                                     iew
             Democrat                         0.45             (0.50)            0.27             (0.44)
             Republican                       0.29             (0.45)            0.49             (0.50)
             Black                            0.30             (0.46)            0.18             (0.38)
             Hispanic                         0.02             (0.13)            0.01             (0.10)
             age 30-50                        0.49             (0.50)            0.50             (0.50)
             age 51+                          0.33             (0.47)            0.37             (0.48)
             Registered in NC > 5 years       0.63             (0.48)            0.67             (0.47)




                                                                                       v
             Born Out-of-State                0.69             (0.46)            0.68             (0.47)
             Crime Victim (p.p.)




                                                                                    re
             Victim - Prop Crime              0.28             (5.25)            0.39             (6.27)
             Victim - Vio Crime               0.08             (2.79)            0.05             (2.32)
             Victim - Tot Crime               0.40             (6.52)            0.49             (7.12)
             Arrested - Any Crime             0.17             (4.19)            0.06             (2.59)
             Neigh Crimes                                               er
             Prop Crimes in Neigh             16.1             (19.5)            14.1             (18.7)
             Vio Crimes in Neigh               3.8              (4.7)             3.1              (4.1)
             Tot Crimes in Neigh              24.4             (27.5)            20.9             (26.2)
               Summary Statistics are based on monthly data for individual registered voters constructed from annual snapshots
                                                         pe
                 (2007-2011) merged with concealed handgun permits (CHP) in Mecklenburg County (Charlotte), NC. Criminal justice
                 data is based on individual reported crime victimizations and arrests merged with each individual. Datasets are
                 merged primarily based on full name, birth year and address. Neigh is defined as Census Block Group 2000 in
                 all models unless otherwise stated. Crime Victimizations and Arrest are reported in percentage points and thus
                 are scale to be 0 or 100 for a monthly victimization or arrest. Al individual attributes are binary variables.
              I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and define property crimes
                 as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism. Observations equal to
                 34,651,212 for individual that never obtained a CHP 2007-2011 and equal to 475,800 for new CHP holders 2007-2011.
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                                                                          Figure 5: Impact of New CHPs on Neighbor Crime




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                                                                                                          Distance Away

                                                                                              Total Crimes er         Property Crimes
                                                                                              Violent Crimes



                                                                                                  B. Gun Crimes
                                                                                         pe
                                                          40
                             Percent Effect (Coef. / Mean)
                                           0       20




                                                                                  ot
                           −40   −20




                                          tn                              ile




                                                                                                 ile




                                                                                                                           ile




                                                                                                                                              ile
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                                                    0




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                              <=




                                                                                                                  2
                                                                                                                 1/
                                                                                   10
                                                                                   1/




                                                                                                         Distance Away
          rin




                                                                                             Firearm Stolen           Serious Injury
                                                                                             Crime Using Gun



            Difference-in-difference model based on pre-CHP matched individuals on observables and specified as
        ep




            Equation 4. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery
            and define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and
            vandalism. Firearm stolen is any crime that involves a firearm in the list of items reported stolen. Serious
            Injury indicates any crime where the victim reports an injury other than a minor injury. Violent Crime
            Using Gun indicates any reported violent crimes where a firearm was included as part of the crime report.
            Dependent variable indicates the number of crimes in a given distance band and month for the specified
Pr




            category. Given the differing spatial extent of areas covered by each distance interval, I scale results to be
            percent effects (coefficient/mean of dependent variable.). Standard errors are clustered by matching group
            as well as by individual.




                                                                                                           32                                          Exhibit D
                                                                                                                                                       Page 333
                                                                                                                                                            405
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                                                                                                                  ed
                                            Table 2: Individual Attributes and New CHPs
                                                                             (1)                           (2)
                                                                            Ever                          Ever
                                                                          New CHP                       New CHP




                                                                                                               iew
             Individual Att.
             Homebuyer’s Income ($ 10k)                                     0.007                          0.007
                                                                           (0.004)                        (0.004)
             Male                                                           1.514***                       1.519***
                                                                           (0.052)                        (0.052)
             Democrat                                                      −0.221***                      −0.229***
                                                                           (0.041)                        (0.042)
             Republican                                                     0.681***                       0.672***




                                                                                                v
                                                                           (0.051)                        (0.050)
             Black                                                          0.038                         −0.011




                                                                                             re
                                                                           (0.047)                        (0.049)
             Hispanic                                                      −0.206                         −0.202
                                                                           (0.132)                        (0.134)
             age 30-50                                                      0.108**                        0.113**
                                                                           (0.051)                        (0.050)
             age 51+                                                        0.144**                        0.155***

             Born Out-of-State
                                                                              er
                                                                           (0.056)
                                                                           −0.319***
                                                                                                          (0.056)
                                                                                                          −0.283***
                                                                           (0.049)                        (0.047)
             Registered in NC > 5 years                                     0.059                          0.046
                                                               pe
                                                                           (0.039)                        (0.040)
             Homebuyer’s Income Missing                                     0.103                          0.139**
                                                                           (0.065)                        (0.065)
             Neigh Vars.
             CBG Black (%)                                                 −0.052
                                                                           (0.141)
                                                ot


             CBG Hispanic (%)                                               0.737
                                                                           (0.469)
             CBG Pop Density (00s pop/sq mi)                               −0.017***
                                                                           (0.002)
                                  tn



             CBG Median HH Income (00s)                                     0.000
                                                                           (0.000)
             HHs in Poverty (%)                                            −0.382***
                                                                           (0.111)
             Neigh Prop Crime (t-1)                                        −0.100***
                                                                           (0.038)
          rin




             Neigh Vio Crime (t-1)                                          0.035
                                                                           (0.039)
             CBG FEs                                                                                         ✓
             R-squared                                                       0.01                           0.01
             Dep. Var. (mean)                                               1.278                          1.278
        ep




             Observations                                                 505,812                        505,812


              Dataset is based on a 2007 annual snapshot of individual registered voters merged with each concealed handgun permits (CHP) in
                  Mecklenburg County (Charlotte), NC. Neighborhood crime is based on individual reported crimes in 2006 and scaled to be mean
Pr




                  zero and standard deviation one one across CBGs. Datasets are merged primarily based on full name, birth year and address.
                  Neighborhood is defined as Census Block Group 2000 in all models unless otherwise stated. Observation counts are smaller
                  than the total number of individuals given the focus only on individuals that are present in 2007 voter registration records.
              * p < 0.1, ** p < 0.05, *** p < 0.01. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and
                  define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism. Model is
                  based on a dependent variable equal to 100 if an individual ever gets a new CHP 2007-2011.




                                                                              33                                                          Exhibit D
                                                                                                                                          Page 334
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                                                                                                                   ed
                                                                                                                iew
                                                    Table 3: Crime Risk and New CHPs




                                                                                                v
                                                                        (1)                        (2)                       (3)
                                                                       New                        New                       New




                                                                                             re
                                                                       CHP                        CHP                       CHP
             New to Neighborhood                                     −0.078***                  −0.022**                  −0.017
                                                                     (0.009)                    (0.011)                   (0.011)
             Neigh Prop Crime (last year)                            −0.001                      0.086**                  −0.008
                                                                     (0.032)                    (0.040)                   (0.032)
             Neigh Vio Crime (last year)                             −0.009
                                                                     (0.015)
                                                                              er                 0.003
                                                                                                (0.020)
                                                                                                                          −0.008
                                                                                                                          (0.015)
             Neigh CHPs (last year)                                   0.097***                   0.097***                  0.097***
                                                                     (0.012)                    (0.008)                   (0.012)
                                                               pe
             Prop Crime Victim (last year)                            0.033***                   0.045***                  0.044***
                                                                     (0.008)                    (0.009)                   (0.010)
             Vio Crime Victim (last year)                             0.046**                    0.062**                   0.062**
                                                                     (0.021)                    (0.026)                   (0.027)
             CBG FEs                                                     ✓                                                   ✓
             Individual FEs                                                                        ✓                         ✓
                                                ot


             R-squared                                                0.040                      0.056                     0.065
             Dep. Var. (mean)                                         0.214                      0.214                     0.214
             Observations                                           475,800                    475,800                   475,800
                                  tn



              Dataset is based on a 2007-2011 monthly panel created from annual snapshot of individual registered voters merged with each
                  concealed handgun permits (CHP) in Mecklenburg County (Charlotte), NC. Neighborhood crime is based on individual reported
                  crimes in 2006-2011. Datasets are merged primarily based on full name, birth year and address. Neighborhood is defined as
                  Census Block Group 2000 in all models unless otherwise stated.
              * p < 0.1, ** p < 0.05, *** p < 0.01. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and
          rin




                  define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism. Model is
                  based on a dependent variable equal to 100 if an individual ever gets a new CHP in a given month. I only include individuals
                  that ever get a new CHP in this model and drop observations for months after an individual gets a new CHP.
        ep
Pr




                                                                               34                                                          Exhibit D
                                                                                                                                           Page 335
                                                                                                                                                407
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                                                                                                                         ed
                                             Table 4: Any Crime Victimization and CHPs
                                                           (1)               (2)               (3)             (4)            (5)          (6)         (7)
                                                                                                                                                      Any




                                                                                                                      iew
                                                                                                                                                     Crime
                                                         Any                Any           Any                 Any           Any          Any
                                                                                                                                                     Victim
                                                        Crime              Crime         Crime               Crime         Crime        Crime
                                                                                                                                                    Obama &
                                                        Victim             Victim        Victim              Victim        Victim       Victim
                                                                                                                                                     Gifford
                                                                                                                                                     Shocks
             New CHP                                     0.091***           0.105***         0.105***         0.061**       0.093*** 0.173***         0.234***
                                                        (0.014)            (0.014)          (0.014)          (0.027)       (0.035)   (0.043)         (0.076)




                                                                                                    v
             Covs. Individual               ✓          ✓          ✓          ✓




                                                                                                 re
             Covs. CBG                                 ✓
             CBG by month FEs                                     ✓          ✓
             Individual FEs                                                  ✓                    ✓                                                     ✓
             Matched Group by Month FEs                                                 ✓         ✓                                                     ✓
             Dep. Var. (mean)             0.398      0.398      0.398      0.398      0.379     0.379                                                 0.236
             Observations               35,127,012 35,127,012 35,127,012 35,127,012 1,786,079 1,786,079
                                                                               er                                                                    421,071


              * p < 0.1, ** p < 0.05, *** p < 0.01. Cols 1 through 4 incorporated a standard panel model based on Equation 1 and cols 5 through 7
                  incorporate difference-in-difference monthly models based on pre-CHP matched individuals on observables and specified as
                  Equation 2. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and define property
                                                                 pe
                  crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism. Standard errors are clustered
                  at CBG by month in columns 1-3; at CBG by month and individual in column 4; at matching group in column 5; at matching
                  group and individual in column 6-7. Columns 5-7 weight models by the inverse of the number of matched control individuals
                  for a given CHP holder. Columns one and two include month fixed effects. Column 7 limits my analysis to only permits and
                  matched controls obtained Jan.-June 2009 and Jan.-June 2011, which corresponds with the large uptick in CHPs following the
                  election and inauguration of Barack Obama and the shooting of Gabrielle Giffords.
                                                ot
                                 tn



                                                 Table 5: Crime Victimization and CHPs
                                                 (1)               (2)               (3)               (4)             (5)              (6)
                                                Any               Vio               Prop                              Gun           Vio Crime
                                                                                                     Injury
                                               Crime             Crime             Crime                             Stolen         Using Gun
                                                                                                     Victim
                                               Victim            Victim            Victim                            Victim          Victim
          rin




             New CHP Holder*Post                0.173***          0.011             0.135***          0.002           0.051***        0.005
                                               (0.043)           (0.015)           (0.038)           (0.006)         (0.013)         (0.009)
             Dep. Var. (mean) p.p.              0.379          0.050             0.292             0.008           0.019              0.016
             Observations                     1,786,079      1,786,079         1,786,079         1,786,079       1,786,079          1,786,079
        ep




              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include a difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. I define violent crimes as arson, (aggravated and simple) assault, manslaughter,
                  rape, robbery and define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and
                  vandalism. All models include fixed effects for each matching group by time period as well as individual. I weight models by
Pr




                  the inverse of the number of matched control individuals for a given CHP holder. Standard errors are clustered by matching
                  group as well as by individual.




                                                                                   35                                                            Exhibit D
                                                                                                                                                 Page 336
                                                                                                                                                      408
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                                                                                                               ed
                                                                                                            iew
                                           Table 6: Stolen Gun Victimizations and CHPs
                                                  (1)              (2)              (3)              (4)               (5)
                                                                                 Firearm          Firearm           Firearm
                                              Firearm        Multi Guns
                                                                                  Stolen           Stolen            Stolen
                                               Stolen         Stolen
                                                                                from Car        from Home         from Other
             New CHP Holder*Post                0.051***         0.006             0.017**          0.036***          0.004




                                                                                              v
                                               (0.013)          (0.005)           (0.008)          (0.011)           (0.004)
             Dep. Var. (mean) p.p.              0.019            0.004            0.005            0.014              0.002




                                                                                           re
             Observations                     1,786,079        1,786,079        1,786,079        1,786,079          1,786,079


              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include a difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. I weight models by the inverse of the number of matched control individuals
                  for a given CHP holder. All models include fixed effects for each matching group by time as well as individual. Standard errors
                  are clustered by matching group as well as by individual.
                                                                            er
                                                              pe
                                               ot


                                                          Table 7: Arrests and CHPs
                                                 (1)               (2)                 (3)           (4)              (5)
                                 tn



                                                 Any          Misdemeanor            Felony        Weapons         Technical
                                                Arrest           Arrest              Arrest         Arrest          Arrest
             New CHP Holder*Post               −0.023*           −0.018             −0.002            0.001          −0.010
                                               (0.013)           (0.012)            (0.005)          (0.002)         (0.011)
          rin




             Dep. Var. (mean) p.p.              0.064              0.045             0.014           0.002            0.040
             Observations                     1,962,041          1,962,041         1,962,041       1,962,041        1,962,041


              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include a difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. Felonies include FBI Indexed Property and Violent crimes (arson, assault,
        ep




                  manslaughter, rape, robbery, auto theft and burglary), while Misdemeanors include arrests linked to non-felony reported crimes.
                  Technical arrests contain arrests without a reported crime and are typically vehicle or court violations. I weight models by the
                  inverse of the number of matched control individuals for a given CHP holder. All model include fixed effects for matching
                  group by time and individual. Standard errors are clustered by matching group as well as by individual.
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                                                                                                                ed
                                                Table 8: Neighborhood Spillovers in Crime
                                          (1)         (2)          (3)            (4)          (5)          (6)           (7)         (8)    (9)
                                                                                                                                           Neigh




                                                                                                             iew
                                                                                                          Neigh        Neigh       Neigh
                                                                                                                                            Clear
                                      Neigh         Neigh        Neigh         Neigh        Neigh          Vio         Crimes       Clear
                                                                                                                                           Crimes
                                       Any           Vio         Prop          Injury        Gun          Crime         Clear        Vio
                                                                                                                                           Using
                                      Crime         Crime        Crime         Crime        Stolen        Using         Rate       Crimes
                                                                                                                                            Gun
                                                                                                           Gun          (p.p.)      (p.p.)
                                                                                                                                            (p.p.)
             New CHP*Post             0.511*        0.044         0.486** −0.004             0.009         0.043*** −0.160         −0.789** −0.180




                                                                                              v
                                     (0.269)       (0.042)       (0.191)  (0.006)           (0.008)       (0.010)   (0.190)        (0.400) (0.806)
             Dep. Var. (mean) 26.365      3.706    18.032     0.336     0.462     0.555     32.825 64.097 31.994




                                                                                           re
             Observations     1,646,655 1,646,655 1,646,655 1,646,655 1,646,655 1,646,655 1,242,747 933,169 527,494


              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include a difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 4. I define violent crimes as arson, (aggravated and simple) assault, manslaughter,
                  rape, robbery and define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and
                  vandalism. Dependent variable indicates the number of crimes in the CBG neighborhood in a given month for the specified
                                                                            er
                  category. The number of observations differs from other models since I have fewer matched control observations here given
                  the need to match to individuals in different neighborhoods. I omit any reported crimes directly linked to a given CHP or
                  matched non-CHP holder. I weight models by the inverse of the number of matched control individuals for a given CHP holder.
                  Observation counts are lower for crime clearances since neighborhoods by months without a reported crime are excluded.
                  Standard errors are clustered by matching group as well as by individual.
                                                              pe
                                                 ot


                                                 Table 9: Social Costs of Gun Ownership
                                                                                                        Per Capita
                            Mean Ann.    Est. Ann.          Costs             Neigh Social
                                                                                                          Social
             Crime Category   Neigh     Increase in       Estimates           Cost for add.
                                                                                                         Cost of
                            Tot Crime Crime per CHP McCollister et al. (2010)    CHP
                                                                                                        add. CHP
                                 tn



             Assaults             32.0             0.00                19,537                  $94
             Auto Theft           10.7            1.51***              10,534               $15,906
             Burglary             25.8             0.81*                6,170                $4,998
             Drugs                13.6             -0.03                8,347                $(250)
             Forgery              12.1            -0.54*                5,265               $(2,843)
          rin




             Hit and Run          10.0              0.11                8,347                 $922
             Larceny              35.7             -0.99                3,523               $(3,479)
             Murder                0.1              0.00              1,278,424             $(1,227)
             Other                30.7             -0.28                8,347               $(2,364)
             Robbery               6.0            0.41***               21,398               $8,773
             Sex Offenses          1.4              0.08                41,247               $3,300
             Stolen Property       0.9              0.01                7,974                  $48
        ep




             Theft from Auto      34.0            4.14***               3,523               $14,585
             Vandalism            19.6            0.90**                4,860                $4,374       $17.14
             Total                232.5            6.13*                                    $42,835
              In order to generate estimates, I simply scale up monthly estimates using Equation 4 with the dependent variable equal to the
                number of monthly crimes within the CBG neighborhood of a CHP or non-CHP holder classified by row heading. If cost estimates
                from MFF (2010) are not available , I use the weighted average of social costs across all crime categories with costs ($8,347)
                estimates. Given the time period of analysis and cost estimates, costs are roughly based on 2010 ($s) . I include all reported
Pr




                crimes even if they represent a victimization of a given CHP or matched non-CHP holder.




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            A. Online Appendix




                                                                                    ed
            A.1. Master Dataset Creation - Individuals
            This section provides some more details on the merging on datasets using individual
            information. The base dataset for the creation of the master dataset used in all analysis




                                                                                 iew
            is annual snapshots of voter registration records from the state of North Carolina for
            2005 through 2013 (https://dl.ncsbe.gov/index.html?prefix=data/). The main dataset that
            provides individual level data on Concealed Handgun Permit (CHP) holders is from the NC
            Department of Public Safety. This data was requested in 2012 and contains information
            on full name, residential address and date of birth. In 2014, state senate bill 226 removed
            the public record element of gun permit data and thus this data is no longer available




                                                                       v
            for public request and thus my analysis is limited to the data previously requested that
            contained 2007 through the end of 2011. The final main dataset merged with voter




                                                                    re
            registration records is incident level data for reported crimes in Charlotte/Mecklenburg
            County for 2005 through 2013. Some unique elements of this crime dataset include
            identifying individual data on crime victimization, lots of specific details on the location
            and crime categories of a reported crime, date and time of incident.
                                                          er
                  Voter registration data is merged with CHP data primarily based on full name,
            birth year and address. In some cases, data is merged based on full names and birth
            year that are unique in the voter registration dataset. The merging of CHP data to voter
            registration data was conducted in three stages. First, I match each CHP to all unique
                                                pe
            voters based on full name and home address. This matching algorithm does a good job of
            linking up individuals with 91% of matcheable CHPs merged using this method. Second,
            I match each CHP to unique voters based on age, full name and address. This method
            matches about 8% of matcheable CHPs and deals with multigenerational families such
            as fathers and sons of the same name living together. Third, I attempted to match based
                                      ot


            on full name and age or fuzzy versions of the first two matching algorithms. These fuzzy
            merges provided less than 1% of matcheable observations. In the end, approximately 86%
            of CHPs can be directly merged to a registered voter based on full name, age and address.
            Registered voters in Mecklenburg County, NC represent about 75% of the population
                            tn



            aged 18 and above. I lose approximately 4% of the original voter registration data due to
            missing or incomplete geographical information. Crime victimization data is merged
            to registered voters based on full name, birth year and address or unique full name and
            birth year. In general there is not a metric to determine the quality of matching across
          rin




            these datasets since they do not contain the same variables other than match variables.
        ep
Pr




                                                          38                                       Exhibit D
                                                                                                   Page 339
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            A.2. Appendix Tables and Figures




                                                                                                     ed
                                             Figure A1: Google Trends around Obama Spike and Giffords Shooting
                             100




                                                                                                  iew
               Popularity of Google Search
                               60     80




                                                                                       v
                        40




                                                                                    re
                20




                                                                            er
                             0
                                             07




                                                         08




                                                                       09




                                                                                    10




                                                                                                     11




                                                                                                                    12
                           n




                                                         n




                                                                       n




                                                                                    n




                                                                                                     n




                                                                                                                    n
                        Ja




                                                      Ja




                                                                    Ja




                                                                                 Ja




                                                                                                  Ja




                                                                                                                 Ja
                                                                             Week
                                                                   pe
                                                                 Google Search = Gun Ban AND Obama
                                                                 Google Search = Gun Ban AND Congress


            This figure provides the Google trends figure for my study period for the terms "Gun Ban AND Obama"
                                                             ot


            and "Gun Ban AND Congress". The y-scale is normalized to 100 for the most popular week upon which
            this search terms was used in the US.
                                                  tn
          rin
        ep
Pr




                                                                            39                                      Exhibit D
                                                                                                                    Page 340
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            Figure A2: New Concealed Handgun Permit Holders vs. NICS Handgun Background




                                                                                           ed
                       Checks




                                                                                                            2500
                  800




                                                                                        iew
                                                                                                            NICS Background Checks
                                                                                                                             2000
                  600
               CHPs




                                                                                                                     1500
                400




                                                                              v
                                                                                                             1000
                  200




                                                                           re
                                                                                                            500
                  0
                        07




                                      08




                                                      09




                                                                      10




                                                                                      11




                                                                                                       12
                                                              er
                   n




                                   n




                                                   n




                                                                    n




                                                                                   n




                                                                                                   n
                 Ja




                                 Ja




                                                 Ja




                                                                 Ja




                                                                                 Ja




                                                                                                  Ja
                                                             Date

                                      CHPs
                                                   pe
                                      NICS Background Checks Handguns (Est. Meck Co.)


            This figure provides the frequency of new CHPs issued versus estimated NICS handgun background checks
            for gun permits for Mecklenburg County, NC. NICS background checks for gun purchases are provided
            monthly at the state level, so I estimate for Mecklenburg County by taking the share of NC population in
                                        ot


            Mecklenburg County and multiplying it with the total NICS handgun background checks for the state. In
            some cases, the NICS background checks may precede the timing of CHPs as the background check can
            occur weeks or even months before the CHP is actually issued. These two time series have a correlation of
            0.34.
                             tn
          rin
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                                                  Figure A3: Temporal Impacts of New CHPs on Criminal Arrest




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                                                                 A. Any Arrest                                                                                                                                      B. Felony Crime




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                                             C. Misdemeanor Crime                                                                                                                                                      D. Technical
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                                                                       Time Period (monthly)                                                                                                                                     Time Period (monthly)

                                                                           NewCHP*time_period                                                                                                                                        NewCHP*time_period




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            Difference-in-difference model based on pre-CHP matched individuals on observables and specified as a
            quarterly version of Equation 3. These models aggregate months to quarters in specifying time periods
            interacted with being in the treatment group given the low frequency of arrests. All model include fixed
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            effects for matching group and individual. I weight models by the inverse of the number of matched
            control individuals for a given CHP holder. Standard errors are clustered by matching group by month as
            well as by individual. I classify arrests as likely felonies, misdemeanors or technical arrests based on the
            nature of crime classifications. Felonies include FBI Indexed Property and Violent crimes (arson, assault,
            manslaughter, rape, robbery, auto theft and burglary), while Misdemeanors include arrests linked to non
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            felony reported crimes. Technical arrests contain arrests without a reported crime and are typically vehicle
            or court violations.




                                                                                                                                                               41                                                                                                                             Exhibit D
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                                                Figure A4: Journey to Crime




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               Density




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                         0      1        2        3        4
                                                                er5      6
                                                      Journey to Crime (miles)
                                                                                       7         8        9       10


                                                   Total Crimes                    Vio Crimes
                                                   Stolen Guns
                                                      pe

            This figure provides the distance between an arrested individual’s home address and the location of the
            reported crime linked to the arrest. I conduct this analysis for all reported crimes with linked arrests from
            2007-2011 in Mecklenburg County, NC. This data was collected as part of a larger effort by the Charlotte
            Mecklenburg Police Department (CMPD) to better track crime clearance and profile potential offenders
                                         ot


            for non-cleared reported crimes. I limit analysis to up to 10 miles apart since less than 5% of observations
            register a longer journey to crime.
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                             Table A1: Crime Victimizations and CHPs - Unknown Offenders
                                                 (1)             (2)            (3)             (4)            (5)            (6)
                                                Any             Vio            Prop                           Gun         Vio Crime
                                                                                             Injury
                                               Crime           Crime          Crime                          Stolen       Using Gun
                                                                                             Victim
                                               Victim          Victim         Victim                         Victim        Victim




                                                                                                              iew
             New CHP Holder*Post                0.128***        0.005          0.109***       0.002           0.047***      −0.001
                                               (0.039)         (0.011)        (0.036)        (0.005)         (0.012)        (0.008)
             Dep. Var. (mean) p.p.              0.319          0.023          0.270           0.006          0.017           0.014
             Observations                     1,786,079      1,786,079      1,786,079       1,786,079      1,786,079       1,786,079




                                                                                               v
              Dataset is based on a monthly panel of individual registered voters from 2007-2011 merged with each concealed handgun permits
                  (CHP) in Mecklenburg County (Charlotte), NC. Criminal justice data is based on individual reported crimes and arrests from
                  2005-2013. Datasets are merged primarily based on full name, birth year and address. Neigh is defined as Census Block Group




                                                                                            re
                  2000 in all models unless otherwise stated.
              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include difference-in-difference monthly model based on pre-CHP matched individuals
                  on observables and specified as Equation 2. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape,
                  robbery and define property crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism.
                  All models include fixed effects for each matching group by time as well as individual. I weight models by the inverse of the
                  number of matched control individuals for a given CHP holder.Standard errors are clustered by matching group as well as by
                  individual. This table limits results to only crime victimization where the offender is unknown to the victim.
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                                         Table A2: Other Crime Victimizations and CHPs
                                                (1)          (2)              (3)              (4)
                                                                                              (6)        (7) (5)                                       (8)
                                                                                           Theft from
                                            Assault Burglary Fraud/Forgery Larceny Robbery            Vandalism                                      Other
                                                                                             Auto
                                            Victim   Victim     Victim      Victim  Victim             Victim                                        Victim
                                                                                            Victim




                                                                                                            iew
             New CHP Holder*Post              0.002         0.044***         0.005            0.017        0.001          0.019          0.001       −0.002
                                             (0.013)       (0.016)          (0.011)          (0.014)      (0.006)        (0.020)        (0.014)      (0.012)
             Dep. Var. (mean) p.p.           0.038     0.064                0.019            0.037     0.012     0.097                   0.036     0.036
             Observations                  1,786,079 1,786,079            1,786,079        1,786,079 1,786,079 1,786,079               1,786,079 1,786,079




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              Dataset is based on a monthly panel of individual registered voters from 2007-2011 merged with each concealed handgun permits
                  (CHP) in Mecklenburg County (Charlotte), NC. Criminal justice data is based on individual reported crimes and arrests from
                  2005-2013. Datasets are merged primarily based on full name, birth year and address. Neigh is defined as Census Block Group




                                                                                           re
                  2000 in all models unless otherwise stated.
              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. I weight models by the inverse of the number of matched control individuals
                  for a given CHP holder. I define crimes based on NIBRS classifications. All models include fixed effects for each matching group
                  by time as well as individual. Standard errors are clustered by matching group as well as by individual.

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                                                     Table A3: Stolen Items and CHPs
                                               (1)           (2)           (3)           (4)     (5)       (6)                      (7)              (8)
                                              Any                                              Other
                                                          Firearm        TV         Computer            Jewelry                  Money       Prop Value
                                              Prop                                           Electronic
                                                           Stolen       Stolen       Stolen              Stolen                  Stolen        $(000s)
                                             Stolen                                            Stolen




                                                                                                            iew
             New CHP Holder*Post              0.146*** 0.051*** 0.008                  0.010          0.005         0.007         0.009          1.572
                                             (0.039)   (0.013)  (0.011)               (0.014)        (0.010)       (0.011)       (0.015)        (1.704)
             Dep. Var. (mean) p.p.           0.309     0.019     0.021     0.036                      0.024     0.020     0.044     5.030
             Observations                  1,786,079 1,786,079 1,786,079 1,786,079                  1,786,079 1,786,079 1,786,079 1,786,079




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              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include a difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. I weight models by the inverse of the number of matched control individuals
                  for a given CHP holder. All models include fixed effects for each matching group by time as well as individual. Standard errors




                                                                                           re
                  are clustered by matching group as well as by individual.




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                                                     Table A4: Any Arrests and CHPs
                                                       (1)            (2)            (3)            (4)           (5)           (6)         (7)
                                                                                                                                           Any
                                                                                                                                          Crime
                                                      Any            Any            Any            Any           Any           Any        Victim




                                                                                                             iew
                                                     Arrest         Arrest         Arrest         Arrest        Arrest        Arrest     Obama &
                                                                                                                                          Gifford
                                                                                                                                          Shocks
             New CHP                                −0.023***      −0.019**       −0.021**       −0.015        −0.017*       −0.023*         0.022
                                                    (0.009)        (0.009)        (0.009)        (0.011)       (0.009)       (0.013)        (0.030)
             Covs. Individual             ✓          ✓          ✓          ✓




                                                                                               v
             Covs. CBG                               ✓
             CBG by month FEs                                   ✓          ✓
             Individual FEs




                                                                                            re
                                                                           ✓                    ✓                                             ✓
             Matched Group X Time FEs                                                 ✓         ✓                                             ✓
             Dep. Var. (mean)           0.170      0.170      0.170      0.170      0.064     0.064                                         0.051
             Observations             35,127,012 35,127,012 35,127,012 35,127,012 1,962,041 1,962,041                                      473,395

                                                                             er
              * p < 0.1, ** p < 0.05, *** p < 0.01. Cols 1 through 4 incorporated a standard panel model based on Equation 1 and cols 5 through 7
                  incorporate difference-in-difference monthly models based on pre-CHP matched individuals on observables and specified as
                  Equation 2. I define felony crime arrests as arson, (aggravated and simple) assault, manslaughter, rape, robbery, auto theft and
                  burglary. I define misdemeanor crime arrests as forgery/fraud , hit and run, larceny, stolen property and vandalism. Technical
                  arrests involve arrests for traffic or other violations not captured in felony or misdemeanor categories. Standard errors are
                  clustered at CBG by month in columns 1-3; at CBG by month and individual in column 4; at matching group in column 5; at
                                                              pe
                  matching group and individual in column 6-7. Columns 5-7 weight models by the inverse of the number of matched control
                  individuals for a given CHP holder. Columns one and two include month fixed effects. Column 7 limits my analysis to only
                  permits and matched controls obtained Jan.-June 2009 and Jan.-June 2011, which corresponds with the large uptick in CHPs
                  following the election and inauguration of Barack Obama and the shooting of Gabrielle Giffords.
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                                                   Table A5: Calls for Service and CHPs
                                                 (1)            (2)           (3)           (4)           (5)              (6)
                                                Any                          Susp.         Gun          Domestic           Car
                                                              Alarm
                                               Call for                     Person        Related       Disturb.         Accident
                                                               Call
                                               Service                        Call         Call           Call             Call




                                                                                                               iew
             New CHP Holder*Post               −0.186*         0.042*      −0.014         −0.008         −0.014           −0.014
                                               (0.109)        (0.024)      (0.016)        (0.008)        (0.016)          (0.017)
             Dep. Var. (mean)                  68.484         7.820          3.426         0.823           3.500           4.237
             Observations                      968,295       968,295        968,295       968,295         968,295         968,295




                                                                                                v
              * p < 0.1, ** p < 0.05, *** p < 0.01. All columns include difference-in-difference monthly model based on pre-CHP matched individ-
                  uals on observables and specified as Equation 2. I am limited to 2007-2009 given data availability and include all calls for service
                  within 1 mile of the focal individual. I weight models by the inverse of the number of matched control individuals for a given




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                  CHP holder. I define violent crimes as arson, (aggravated and simple) assault, manslaughter, rape, robbery and define property
                  crimes as auto theft, burglary, forgery/fraud , hit and run, larceny, stolen property and vandalism. Standard errors are clustered
                  by matching group as well as by individual.



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  Access to Guns in the Heat of the Moment:
   More Restrictive Gun Laws Mitigate the
     Effect of Temperature on Violence ∗
                        Jonathan Colmer                              Jennifer L. Doleac
                      University of Virginia                      Texas A&M University

                                                 August 20, 2022


                                                        Abstract

             Gun violence is a major problem in the United States, and extensive prior work has
         shown that higher temperatures increase violent behavior. In this paper we consider
         whether restricting the concealed carry of firearms mitigates or exacerbates the effect of
         temperature on violence. Using two identification strategies that exploit daily variation
         in temperatures, as well as within- and across-place variation in gun policies, we find
         that more prohibitive concealed carry laws almost completely reverse the baseline,
         positive effect of temperature on homicide.




     ∗
       Affiliations: Colmer – Department of Economics, University of Virginia, USA; Doleac – Department of Economics, Texas
  A&M University, USA. We are immensely grateful to Keanan Gleason, Kelsey Pukelis, and Savannah Quick for outstanding
  research assistance. We thank Amanda Agan, Naomi Colmer, John Donohue, David Eil, John Pepper, Megan Stevenson, and
  participants at the 2019 Conference on Empirical Legal Studies and the 2020 ASSA Annual Meeting for helpful comments.



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  1       Introduction
  Gun violence imposes significant costs on society. Loss of life is by far the largest of these
  costs. This is a particular problem in the United States, where gun violence is the leading
  cause of death for Black Americans aged 15-24 (CDC, 2020). Given the long-established
  link between higher temperatures and violent behavior, this problem is likely to worsen as
  temperatures rise due to climate change, unless this link can be mitigated.
      In this paper we consider whether gun regulations, in particular those governing the
  concealed carry of handguns, can mitigate the effect of temperature on homicide rates.
  We exploit the causal relationship established in the environmental economics, physiology,
  and psychology literatures that higher temperatures increase violent behavior as exogenous
  shocks to violence.1 Combined with state-by-month variation in concealed carry laws, we
  then test whether the effects of the resulting shocks to violent behavior vary with different
  policy regimes. Specifically, we examine whether strict concealed carry laws mitigate or
  exacerbate temperature-induced changes in homicide rates, holding other factors constant.
      We approach this in two ways, to address different identification concerns. First, we ex-
  ploit panel data on policy changes, using a Difference-in-Difference-in-Temperature (DiDiT)
  approach (akin to two-way fixed effect and staggered treatment designs). This compares
  within-place effects of temperature variation, before and after concealed carry laws change.
  If no other relevant factors change at the same time as the policy change, this will isolate
  the causal effect of concealed-carry policies on the temperature–homicide relationship.
      Next, we use a Difference-in-Temperature (DiT) approach. This exploits within-month,
  within-place changes in temperature, and residual cross-sectional variation in policy regimes
  between states. This approach addresses concerns that changes in gun laws are correlated
  with temporary changes in local preferences or priorities that soon revert back to normal
  – as might happen in the aftermath of a mass shooting, when gun violence is particularly
  salient. By considering average effects across places, rather than months just around the
  policy change, we avoid these confounding effects. If we adequately control for any other
  baseline differences in policy regimes and local norms that affect the temperature–homicide
  relationship, then this will identify the causal effect of concealed-carry laws.
      Both approaches yield similar results. Using data from the National Incident-Based
  Reporting System (NIBRS) from 1991-2016, we find that gun laws that limit residents’
  ability to carry concealed firearms reduce the effect of temperature spikes on homicide.
  Using our DiDiT strategy, we find that, in places with lenient concealed-carry laws, a one-
      1
       This relationship arises due to both physiological and psychological effects of heat on aggression (Ander-
  son, 2001; Groves and Anderson, 2016) and an increased propensity for social interaction when it is warmer
  outside (Jacob, Lefgren and Moretti, 2007).

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  degree Celsius increase in daily average temperature is associated with 1.3% more homicides.
  Strict concealed-carry laws completely reverse this effect, and the difference is statistically
  significant (p < 0.05). Using our DiT strategy, we find that, in places with lenient concealed-
  carry laws, a one-degree Celsius increase in daily average temperature is associated with 2.3%
  more homicides. Again we find that strict concealed-carry laws completely reverse this effect
  (p < 0.01).
      This effect is driven by homicides involving guns, as we would expect if we are isolating
  the effect of gun laws. The mitigating effect of more-prohibitive gun laws is larger in less
  urban areas. It is largest in the afternoon and evening hours, when temperatures are highest.
  We find no clear patterns across locations (i.e., whether the offense took place at home,
  outside, or somewhere else), suggesting that higher temperatures have widespread effects,
  and is consistent with evidence that air conditioning is not sufficient to mitigate the effects
  of temperature on decision-making.2
      Our estimates are consistent across seasons and climates, and robust to controlling for the
  baseline temperature–homicide relationship in states that ever have lenient concealed-carry
  laws (accounting for the possibility that other factors in such places affect the temperature–
  homicide relationship). They are also robust to controlling for other gun policies in effect in
  each state.
      These results imply that a one degree Celsius increase in daily average temperature
  would result in 191-338 additional homicides per year3 if less-prohibitive gun laws were in
  effect nationwide, while the same temperature increase would result in just 38-41 additional
  homicides4 if more-prohibitive gun laws were in effect instead.
      Our findings contribute to a lengthy and contentious literature on the average effects of
  gun laws on gun violence.5 Many of these studies consider the effects of concealed carry laws,
  as we do here. These state-level laws determine whether a permit is required – and who is
  eligible to get one – to carry a concealed firearm on their person within the state. In some

     2
        Hayes and Saberian (2019) document that higher outdoor temperatures reduce the likelihood of favor-
  able judge decisions in immigration cases, despite those decisions being made in climate controlled conditions.
      3
        DiDiT: 365.25 days per year × 0.000158 homicides per day per 100,000 people × 331,449,281 people
  in the US in 2020 = 191 homicides per year. DiT: 365.25 days per year × 0.000279 homicides per day per
  100,000 people × 331,449,281 people in the US in 2020 = 338 homicides per year.
      4
        DiDiT: 365.25 days per year × (0.000158 - 0.000127) homicides per day per 100,000 people × 331,449,281
  people in the US in 2020 = 38 homicides per year. DiT: 365.25 days per year × (0.000279 - 0.000245)
  homicides per day per 100,000 people × 331,449,281 people in the US in 2020 = 41 homicides per year.
      5
        Most studies focus on homicide as the primary outcome of interest for the same reason we do: there is
  less measurement error in reporting for this type of crime, since while other crime types may go unreported
  to police, the vast majority of homicides are reported. Two exceptions are studies using gunshot sensor data
  on shootings: Carr and Doleac (2016), and Carr and Doleac (2018). These data provide useful complements
  to homicide data since shootings occur much more often, and the sensors reduce concerns about nonrandom
  reporting. However, the data are available only in a limited number of cities for more recent years.

                                                        2                                            Exhibit D
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  states the legal ability to carry a concealed firearm is completely unrestricted; “shall issue”
  policies are slightly more restrictive, but instruct government officials to provide permits to
  all eligible residents; “may issue” policies provide more discretion to local officials to decide
  who can receive a permit and thus are considered substantially more restrictive in practice;
  finally, a state might prohibit any resident from carrying a concealed firearm in public. More
  lenient laws are often referred to as Right-to-Carry (RTC) laws. Lott and Mustard (1997)
  and Moody (2001) find that RTC laws reduce violent crime. Ludwig (1998) finds that such
  laws increase adult homicide rates. Black and Nagin (1998) and Ayres and Donohue (2003)
  find no effect of RTC laws on violent crime. Manski and Pepper (2018) demonstrate that
  results can be sensitive to bounding exercises, and find suggestive evidence that effects of
  RTC laws change over time (reducing crime in the 1990s but increasing it in the 2000s).
  Using data through 2014, Donohue, Aneja and Weber (2019) find that RTC laws increase
  violent crime.6
      We are aware of only one other paper that considers how gun laws interact with local
  events, to mitigate or exacerbate the effects of those events. In concurrent work, Koenig and
  Schindler (2021) test for differential effects of a spike in handgun purchases on homicides,
  in places with firearm purchase delay laws versus those without such laws. They find such
  policies reduced the effect of the Sandy Hook shooting on subsequent gun purchases and
  homicides. In our paper, we consider whether changes in temperature have different effects in
  places with lenient concealed-carry laws (i.e., RTC laws) versus places with more prohibitive
  concealed-carry laws.
      In addition to the literature on gun control and violent crime, a growing literature has
  sought to understand the effects of environmental quality on violent behavior, with a focus on
  temperature. A large set of studies have shown that higher temperatures are associated with
  increased violence, conflict, crime, and suicide, both in developed and developing countries
  (for recent reviews of the literature, see Hsiang, Burke and Miguel, 2013; Burke, Hsiang and
  Miguel, 2015; and Carleton and Hsiang, 2016). In the United States, the focus of our study,
  Ranson (2014) finds large effects of temperature across all crime categories, using a 30-year
  panel of monthly data from the Uniform Crime Reports (UCR). Heilmann and Kahn (2019)
  find that higher daily temperatures are associated with an increase in crime within Los
  Angeles City. Furthermore, they find that policing activity declines on extremely hot days,
  suggesting that higher temperatures could increase criminal activity through a reduction in
  the likelihood of being caught.
      Higher temperatures could affect criminal activity through a number of channels, includ-

     6
      For a more comprehensive review, see two recent studies: Wellford, Pepper and Petrie (2005), and
  Morral et al. (2018).

                                                    3                                      Exhibit D
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  ing the change in police behavior just described. Importantly, higher temperatures have
  been shown to directly increase aggressive behavior (Anderson, 2001).7 Higher tempera-
  tures may also affect criminal behavior by increasing the likelihood of people going outside,
  thereby increasing the likelihood of social interaction, the availability of potential victims,
  and the likelihood that an altercation arises (Jacob, Lefgren and Moretti, 2007). We ex-
  ploit the exogenous variation in violent behavior provided by daily variation in temperature
  to shed light on the consequences of different gun laws. Specifically, we explore whether
  the temperature–violent crime relationship is exacerbated or mitigated by more-prohibitive
  concealed carry laws.
      We make three contributions. First, ours is one of the first papers to test whether
  local policies interact with local shocks to mitigate or exacerbate effects of those shocks on
  violence. Second, we contribute to a broader literature seeking to understand the causal
  effects of gun regulations on violent crime. Finally, we contribute to a nascent literature
  seeking to understand the role that the economic and policy environment plays in translating
  environmental events into marginal economic damages (Colmer, 2019; Colmer et al., 2019;
  Garg, McCord and Monftfort, 2019; Mullins and White, 2019).
      The paper proceeds as follows: Section 2 describes our two empirical strategies. Section
  3 describes our data. Section 4 presents our results, including heterogeneity analyses and
  robustness checks. Section 5 discusses those results and concludes.


  2       Empirical Strategy
  Based on the existing literature, we expect that confrontations are more likely to occur and
  escalate when it is warmer outside, providing within-place variation in violent behavior that
  is unrelated to local gun laws. Appendix A presents evidence in support of this baseline re-
  lationship for our sample. The outcome of any confrontations could then depend on whether
  or not guns are available, which may in turn depend on local gun laws. We use exogenous
  variation in the supply of violence to understand the extent to which concealed-carry laws
  mitigate or exacerbate the number of homicides committed.

      7
       In field, lab, and natural experiments higher temperatures have been shown to: increase horn honking
  when cars fail to pull away at green lights (Kenrick and MacFarlane, 1986); increase tension, aggression, and
  negative perceptions of offenders, during police fire arms training (Vrij, Van Der Steen and Koppelaar, 1994);
  increase the likelihood that pitchers hit batters during baseball games when batters “crowd the plate,” or if
  a teammate has been struck in a previous inning (Reifman, Larrick and Fein, 1991; Larrick et al., 2011); and
  increase the likelihood of aggressive penalties in NFL football games (Curtis et al., 2016). More recently,
  Mukherjee and Sanders (2021) show that higher temperatures cause more violent incidents in prisons without
  air conditioning. This is notable because restrictions on inmates’ movements helps isolate the physiological
  responses to temperature from effects through increased social interactions.

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      To do this we use two research designs, which we refer to as “Difference-in-Differences-
  in-Temperature” (DiDiT) and “Differences-in-Temperature” (DiT) designs. Both research
  designs require that daily temperature realizations are uncorrelated with other factors that
  also affect the likelihood of committing a violent crime. We believe this assumption is
  plausible. Once we account for location-specific time-invariant factors, such as climate and
  institutions, and location-specific seasonality in weather and crime, day-to-day realizations
  of temperature are as good as random.


  2.1    Difference-in-Differences-in-Temperature
  A primary threat to identification in this context is that places with different concealed carry
  policies are different in other ways. Some of these confounding factors may not be observable,
  and thus we may be unable to control for them adequately. Unlike most of the prior literature
  on gun laws, our focus on the effect of temperature raises the standard identification concern
  to the level of the interaction term. It is unclear how many unobserved differences across
  states would affect the temperature–crime relationship that we are interested in, but some
  might.
      To address this identification concern, we use a DiDiT strategy. The DiDiT design
  identifies estimates based on within-place changes in concealed carry laws and within-place
  variation in temperature. This accounts for the possibility that gun laws are correlated with
  other differences across places – such as other policies, or long-standing preferences about
  gun ownership. In this case, it is helpful to exploit panel variation in gun laws over time,
  comparing the effects of temperature variation in the same place, before and after a policy
  change. We do this with the following specification:

          yjsdmy = β1 temperaturejsdmy + β2 temperaturejsdmy × More-Prohibitedsm               (1)
                      +β3 More-Prohibitedsm + γ1 rainjsdmy + αjsy + jsdmy ,

  where j denotes a jurisdiction (ORI – reporting police jurisdiction), s denotes state, d denotes
  day of the year, m denotes month of the year, and y denotes year. αjsy are jurisdiction by year
  fixed effects. Since temperature and precipitation are correlated, we control for the average
  amount of precipitation, rainjsdmy , to ensure we are isolating the effect of temperature. We
  also include jurisdiction-by-week-of-year fixed effects to control for place-specific seasonality
  in crime and weather conditions. We cluster standard errors at the state-level as this is the
  level of policy variation.
      More-Prohibited is an indicator for whether the ability to carry a concealed gun is pro-
  hibited or subject to a may-issue permit policy. More-Prohibited is coded at the state-month

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  level. For each month, the policy that was in place for the greatest number of days is applied.
      The jurisdiction-by-year fixed effects in equation 1 allow for within-jurisdiction variation
  in concealed carry laws. Our main parameters of interest are β1 , the coefficient on daily
  temperature, and β2 , the coefficient on the interaction between daily temperature and More-
  Prohibited.
      β2 tells us the degree to which there is a change in the temperature–homicide relationship,
  when a jurisdiction adopts a more-prohibitive concealed carry law. This approach controls for
  other time-invariant within-place factors that may confound the moderating effect of gun laws
  on the temperature–homicide relationship. To interpret β2 as causal we assume that there
  are no other relevant factors (i.e., factors that affect the temperature–crime relationship)
  that change at the same time as the concealed carry policy.
      As this design is subject to concerns raised about staggered-treatment/two-way-fixed-
  effect designs, we will show that our estimates are robust to accounting for staggered timing.
  See section 4.1 for more details.


  2.2    Differences-in-Temperature
  An alternative threat to identification is that concealed carry policy changes may happen at
  the same time as other temporary changes in preferences or local priorities. For instance,
  a local crime event like a mass shooting might make gun violence temporarily more salient,
  leading to a change in concealed carry laws as well as strong negative sentiment toward
  gun users. In such contexts, estimates based on policy changes will be confounded by these
  other changes. This may be a larger threat to identification in practice than unobserved,
  time-invariant differences across places.
      To address this identification concern, we use a DiT strategy. The DiT design compares
  the effects of within-place changes in temperature, holding concealed carry laws in that place
  constant. The residual variation in gun-laws is cross-sectional, which is not a problem if the
  primary threat to identification is that changes in gun laws are confounded by temporary
  changes in public sentiment or local priorities in the months around the policy change.
  This identification strategy relies on the assumption that we are adequately controlling for
  any other time-invariant differences between places with different policy regimes, that also
  moderate the temperature–homicide relationship.
      We estimate the following empirical specification,

          yjsdmy = β1 temperaturejsdmy + β2 temperaturejsdmy × More-Prohibitedsm              (2)
                      +γ1 precipitationjsd + αjsmy + jsdmy ,


                                                   6                                    Exhibit D
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  with all variables and subscripts as defined above. The difference from the DiDiT specifica-
  tion above is that equation 2 includes jurisdiction-by-month-of-sample fixed effects (αjsmy )
  rather than jurisdiction-by-year fixed effects. As before, we also include jurisdiction-by-week-
  of-year fixed effects, and control for daily precipitation.
      The endogenous direct effect of gun laws is absorbed by the jurisdiction-by-sample-month
  fixed effect, which absorbs time-varying local changes in policy and preferences. The inter-
  action term captures how gun policies affect the the temperature–homicide relationship.
      The DiT design combines day-level, within-month variation in local temperature, with
  residual cross-sectional variation in concealed carry laws. To interpret the interaction term as
  a causal moderator, we assume that there are no other (unobserved) policies or time-invariant
  local factors correlated with those laws that also moderate the temperature–homicide rela-
  tionship.
      This research design is preferred if the threats to identification we have in mind are other
  simultaneous, temporary changes that may have helped spur changes in concealed carry
  laws. For instance, anger about a local mass shooting may make the costs of gun violence
  (temporarily) more salient and lead to a change in gun laws as well as a (temporary) change
  in gun use or enforcement of gun laws, with the latter changes soon reverting to ‘normal’
  levels. In this case, comparing effects of temperature on homicide just before and after a
  policy change would confound the effect with this temporary change in sentiment/priorities.
  We will show that our DiT results are very similar if we drop observations from the year on
  either side of concealed carry law changes, as these are the months that are most likely to
  be confounded by other (temporary) changes.


  3     Data
  3.1    Homicide
  Our main outcome measure is the number of non-negligent homicides reported to police, per
  100,000 residents. We also explore sensitivity in our findings to alternative transformations
  of this outcome variable, including the inverse hyperbolic sine of the number of homicides
  and a binary measure for whether any homicides happened within a jurisdiction on a given
  day. We focus on homicides because this crime type is the most consistently reported across
  jurisdictions and time, and less subject to measurement error.
      Our main data source is the FBI’s National Incident-Based Reporting System (NIBRS);
  for robustness checks we also use data from the FBI’s Uniform Crime Reports (UCR).



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  3.1.1    NIBRS

  NIBRS provides rich data on an array of crimes reported to police departments across the
  country, though fewer departments report to NIBRS than to UCR. NIBRS tends not to
  include large cities, and places in the northeast and west are underrepresented. NIBRS
  includes information on the hour and date of the offense, where the offense took place (e.g.
  at home or on the street), and whether any weapons were involved. Incidents are associated
  with a specific police department (ORI, which we will also refer to as jurisdiction). We
  gather data on homicides, and aggregate these data to the ORI-day level. This allows us to
  match them to daily average temperatures.
      We use NIBRS data from 1991 through 2016. Figure B1 shows a map of jurisdictions
  in our NIBRS sample. This is an unbalanced panel, as departments drop in and out of the
  sample over time; information on how we account for the changing composition of the panel
  can be found in the sample restrictions section below.

  3.1.2    UCR

  In some robustness checks, and for easier comparison with other studies on temperature
  and crime, we use counts of homicide based on UCR data. UCR data provide the longest
  continuously-collected historical record of criminal activity in the United States, dating back
  to the 1930s. The data consist of monthly reports of what are known as Index I crimes from
  approximately 17,000 reporting agencies.8 UCR data provide counts of reported offenses,
  using standardized crime definitions, from jurisdictions across the country. However, the
  data are only available at the monthly level. This is less than ideal for our study because we
  want to match crimes with local temperatures that fluctuate on a daily basis.
      We aggregate these data to the ORI-month level for our analysis, using years 1970 to
  2016. Figure B2 shows a map of jurisdictions in our UCR sample. As with NIBRS, UCR is
  an unbalanced panel and so we account for the changing composition of reporting agencies
  that are included.

  3.1.3    Sample Restrictions

  The primary challenge associated with using NIBRS and UCR data is that the number of
  reporting agencies varies over time. To account for this, we will construct panels that are
  balanced at the year level, and exploit within-year variation to identify our estimates.


     8
       Index I crimes include violent crimes (homicide, sexual assault, robbery, aggravated assault) and prop-
  erty crimes (burglary, larceny, motor vehicle theft).

                                                       8                                           Exhibit D
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      To do this we drop observations for any reporting agency that did not report 12 months
  of data for that year. This includes agencies that only report on a quarterly, bi-annual, or
  annual basis, since we cannot be sure how crimes were allocated across the months. Since
  zeros are often recorded for all crime types when an agency did not report its data to the
  FBI, we consider any month during which an agency reported zero total crimes to be a
  missing observation. After eliminating years during which there were any missing monthly
  observations, we then sum the total number of reported crimes from remaining agencies to
  produce a total for each ORI-day (ORI-month for the UCR). To account for the changing
  number of reporting agencies across years within the sample, we include ORI-year or ORI-
  month-of-data fixed effects.


  3.2          Weather Data
  Data on weather, updated from Schlenker and Roberts (2009), comes from the PRISM
  Climate Group. This data provides daily minimum and maximum temperature as well as
  total precipitation on a 2.5 × 2.5 mile grid for the contiguous United States between 1950
  and 2017. Using this data we calculate the daily average temperature and total precipitation
  for each county-by-day (NIBRS) or county-by-month (UCR) observation. We then match
  counties to ORIs; counties typically encompass multiple ORIs.


  3.3          Policy Data
  We code concealed carry laws at the state-month level, considering a place treated by a
  particular policy if it was in effect in that state for the majority of a given month.9 We
  code concealed-carry gun laws into four categories: unrestricted, shall-issue, may-issue, and
  prohibited. To improve statistical power, we aggregate the first two types of laws into a
  “less prohibited” category, with the third and fourth types making up a “more prohibited”
  category.
      As shown in Figure 1, there has been a gradual movement from more prohibitive laws to
  less prohibitive laws over the period of interest.




        9
            We are grateful to Christopher Poliquin, Michael Luca, and Deepak Malhotra for sharing this data with
  us.

                                                           9                                          Exhibit D
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  3.4      Analysis Sample
  Using NIBRS data, our final combined dataset includes 5,934 ORIs from 1991–2016, provid-
  ing 13,495,334 unique ORI-by-day observations. Table 1 presents summary statistics.10


  4        Results
  4.1      Difference-in-Differences-in-Temperature
  First, we estimate the effect of concealed carry laws on the temperature–homicide relation-
  ship using our DiDiT design (as described in equation 1). This strategy is akin to a standard
  two-way-fixed-effect (TWFE) design, interacting the treatment × post indicator with tem-
  perature; it will estimate the causal effect of the policy change if the temperature–homicide
  relationship would have continued on the same trend absent the policy change, i.e., other
  factors that moderate the temperature–homicide relationship do not also change at the same
  time as the policy.
      Table 2 shows the results of this analysis. Column 1 shows baseline estimates based on
  equation 1. We estimate that a one-degree Celsius increase in temperature is associated
  with 0.000123 more homicides per 100,000 people (a 1.0% increase, p < 0.05). This effect is
  completely reversed during more-prohibitive policy regimes (the coefficient on Temperature
  × More-Prohibited is -0.000122), and the difference is statistically significant (p < 0.05).
      Column 2 controls for other baseline differences in the temperature–homicide relationship,
  between states that ever have less-prohibitive laws and those that never implement such
  laws. Controlling for these baseline differences has little effect on our estimates. Estimates
  are also robust to the much more computationally-intensive alternative of controlling for
  state-specific temperature effects.
      In Column 3 we address concerns about TWFE designs in contexts (like ours) with stag-
  gered policy adoption (de Chaisemartin and D’Haultfœ uille, 2020; Gardner, 2021; Goodman-
  Bacon, 2021; Borusyak, Jaravel and Spiess, 2021; Callaway and Sant’Anna, 2021). Given
  that we are not estimating a standard difference-in-differences model, but rather the dif-
  ferential effect of temperature on homicides following the introduction of less prohibited
  concealed carry laws, we are not able to implement the new difference-in-differences esti-
  mators directly. Instead, we draw inspiration from Callaway and Sant’Anna (2021) and
  estimate cohort-specific effects (where a cohort is a set of states that changed their policies
  at the same time). Because we end up comparing a cohort of states that transition to less
      10
      Using UCR data from 1970–2016, our final dataset includes 13,727 ORIs, with 4,480,752 unique ORI-
  by-month observations. Table B7 presents summary statistics.

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  prohibited regimes at the same time with those that never transition there is no staggered
  timing. We then produce a sample-weighted average of these cohort-specific effects. Our
  estimates are very similar to those in Column 2, indicating that concerns about negative
  weights that arise from staggered timing do not appear to be of first-order importance in
  this setting.
      Figure 2 presents our findings graphically. Using our preferred specification (column
  2) we explore how the relationship between temperature and homicide rates evolves over
  time, before and after a policy change (from more prohibitive to less prohibitive concealed
  carry laws, as this is the direction of most policy changes in practice). The estimates re-
  flect the average difference in the daily temperature–homicide between more-prohibited and
  less-prohibited states in each year relative to the policy change. Before the policy change
  we see no differential relationship between temperature and homicide – the effect of tem-
  perature on homicides is common between more-prohibited and eventually less-prohibited
  states. After the policy change, the responsiveness of the temperature–homicide relationship
  quickly increases in less prohibitive states compared to more-prohibitive states, leveling off
  just below 0.0002 homicides per 100,000 residents/1◦ C/day; this change persists for the full
  post-period. The rapid shift from one equilibrium to another is consistent with this policy
  change having caused the observed change.


  4.2    Differences-in-Temperature
  Our next analyses use the DiT strategy, which estimates differences in the within-month
  relationship between temperature and homicide between places with more or less-prohibitive
  gun control. The last two columns of Table 2 present our DiT results, based on equation 2.
      Column 4 shows our preferred DiT estimates. We estimate that, in places with less-
  prohibitive policies, a one-degree Celsius increase in temperature is associated with 0.000279
  additional homicides per 100,000 residents each day (a 2.3% increase, p < 0.01). This effect of
  temperature is almost completely reversed in more-prohibited states (reduced by 0.000245),
  and the difference is statistically significant (p < 0.01). As in column 2, this specification
  controls for baseline time-invariant differences in the temperature–homicide relationship be-
  tween states that ever have less-prohibitive laws and those that never implement such laws.
  This is of particular importance in the DiT research design as we assume that there are no
  other (unobserved) policies or time-invariant local factors correlated with those laws that
  also moderate the temperatureâhomicide relationship.
      Column 5 drops observations from one year on either side of each policy change. This
  gives us a sample that is more plausibly free of (temporary) confounding changes in local


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  preferences or priorities – the motivation for our DiT strategy. The estimates are very similar
  to those in Column 4.
      Figure 3 presents our findings graphically. It plots the relationship between temperature
  and homicide rates for each policy regime. In each case we run two separate regressions, with
  homicide rates and temperature on the left-hand side, and daily precipitation, jurisdiction-
  by-month-of-sample fixed effects, and jurisdiction-by-week-of-year fixed effects on the right-
  hand side. We then plot the non-parametric relationship between the residuals from these
  regressions; this approximates our empirical strategy in Column 4 of Table 2. Panels (a) and
  (b) show effects in less-prohibited and more-prohibited states, respectively. We see a clear
  positive relationship between temperature and homicide in less-prohibited states. Strikingly,
  we see no such trend in more-prohibited states: the line is flat and there is no apparent
  relationship between temperature and homicide at all.


  4.3       Heterogeneity
  The NIBRS data provide information on whether a weapon was used in the crime. This
  information is likely coded with error; it depends on whether police departments reported
  this information in the data they uploaded to the FBI, and they might not do so consis-
  tently. Nonetheless, in an exploratory analysis we use this information to estimate effects
  separately for homicides coded as having been committed with a gun and those coded as
  being committed without a gun. Table B1 shows the results using both our DiDiT and DiT
  analyses. Consistent with the hypothesis that our main estimates reflect the causal effect of
  gun laws, we find that, in both designs, the effects are driven by incidents involving guns.
      To see where concealed carry laws are affecting behavior, we consider how effects vary
  with urbanicity. To do this, we split counties in our NIBRS sample based on the share
  of the population that lives in urban Census tracts.11 Table B2 shows results separately
  for places with below-median (“more rural”) and above-median (“more urban”) urbanicity.
  While estimates are of similar size across both types of places, they are only statistically
  significant for more rural places.
      Table B3 shows effects by time of day. Estimates are very small and statistically insignif-
  icant for homicides occurring in the cooler morning hours between 6am and noon. They
  are larger and most statistically significant for homicides occurring between noon and 6pm,
  when temperatures are typically highest. Estimated effects at night (6pm to 6am) are still
  large, as this is when most homicides occur, but are less statistically significant.
      Table B4 shows effects by the location of the offense. We code homicides as occurring

    11
         Recall that NIBRS does not include very large cities.

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  at home, outside, or in another location. We don’t find any clear patterns across these
  locations, suggesting that the effects of temperature are widespread.


  4.4     Other Outcome Measures
  Table B5 shows estimates using other transformations of our main outcome measure. Columns
  1 and 2 show estimates when our outcome measure is the inverse hyperbolic since (IHS) of
  homicides, using our DiDiT and DiT designs, respectively.12 Columns 3 and 4 show esti-
  mates when our outcome measure is a binary indicator of whether there were any homicides
  on a given day. All estimates are qualitatively similar to our main results.
      Table B6 presents estimates using UCR data.13 The primary drawback of UCR data is
  that crime counts are only available at the month level (not the day level, as in NIBRS).
  This means we cannot use our DiT strategy here. All columns use our DiDiT strategy.
      Recall that many more jurisdictions report to the UCR than report to NIBRS. Columns
  1-3 show estimates based on the full UCR sample; columns 4-6 show equivalent results when
  we restrict the sample to those jurisdictions and years that are included in the NIBRS data.
      Columns 1 and 4 are the UCR version of column 1 in Table 2; columns 2 and 5 are the
  equivalent of column 2 in that main results table; and columns 3 and 6 are the equivalent
  of column 3 in that table. All estimates are qualitatively similar to our main estimates;
  coefficients are larger in magnitude, but so is the dependent variable mean. Furthermore,
  the unit of analysis is a month rather than a day and so a 1 degree increase in average monthly
  temperature reflects 30 days of average daily temperatures that are 1 degree higher. Scaling
  the estimates in this way results in smaller magnitudes than the NIBRS data. Consistent
  with our findings that the effects of concealed carry laws on the temperature–homicide
  relationship are more muted in urban areas, we estimate smaller effects in the full UCR
  sample (which includes more large cities) than when we restrict the UCR sample to the
  same places and years as our NIBRS analysis.
      Our outcome of interest throughout these analyses has been non-negligent homicides
  (as reported to police). Another outcome that might be affected is aggravated assaults
  (as reported to police). Table B8 shows results with aggravated assault as the outcome.
  Columns 1 and 2 show effects for the full set of aggravated assaults, using our DiDiT and
  DiT strategies, respectively. We find suggestive evidence that more-prohibitive laws increase

     12
      In the IHS results, we have scaled the coefficients such that all can be interpreted directly as the percent
  change in the outcome (that is, they have already been multiplied by 100).qGiven the IHS transformation
  we also apply the following adjustment to the estimated coefficients, β · 1 + ȳ12 . This is an important
  adjustment given the large number of zeros, resulting in a low dependent variable mean.
     13
        Table B7 shows summary statistics for the UCR data.

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  the effect of higher temperatures on aggravated assault rates. This noisy, positive effect
  reflects underlying variation by type of weapon used. Columns 3 and 4 show effects on
  aggravated assaults involving a firearm; columns 5 and 6 show effects on aggravated assaults
  without a firearm. It appears that more-prohibitive policies induce substitution from gun to
  non-gun offenses: more-prohibitive concealed-carry laws dampen the effect of temperature
  on gun-involved aggravated assaults, but increase the effect of temperature on aggravated
  assaults that don’t involve a gun. The latter effect is larger in magnitude, consistent with
  many would-be homicides being ‘downgraded’ to an aggravated assault when a gun is not
  available (that is, the conflict is less likely to be lethal). Estimates are only statistically
  significant using our DiDiT strategy, though the directions and magnitudes of these effects
  are similar across empirical specifications.


  4.5    Robustness checks
  We hypothesized above that temperature affects violence in two primary ways: (1) increased
  aggression and (2) more social interaction (i.e. if people are more likely to go outside when it
  is warmer). To consider the extent to which the second channel is driving our main results,
  we test the effect of other weather variation that should only affect violence through this
  social interaction channel: rain. Table B9 considers the effect of precipitation on homicide;
  column 1 shows DiDiT estimates, and column 2 shows DiT estimates. The Precipitation
  × More Prohibited coefficient is statistically insignificant in both cases. While this test
  does not completely rule out social interaction as a contributor to the temperature–homicide
  relationship, it does imply that social interaction is not driving this relationship.
      Table B10 shows that our estimates are robust to using maximum or minimum daily
  temperatures instead of mean temperature.
      Table B11 shows how our main estimates change when we drop one season at a time.
  DiDiT estimates are remarkably stable as we drop data from one season at a time. For our
  DiT estimates, we find a slight attenuation when we drop winter months (suggesting that
  temperature variation in those months contributes meaningfully to our main DiT estimate).
      Table B12 repeats this exercise, but dropping places based on their baseline climate (i.e.,
  average temperature). Again, our DiDiT estimates remain stable as we drop places with hot
  climates, warm climates, or cool climates. Our DiT estimates are again slightly more sensi-
  tive, attenuating slightly when we drop places with warm baseline climates (suggesting that
  temperature variation in those places contributes meaningfully to our main DiT estimate).
      Concealed carry laws are not the only policies that could affect the temperature–violent
  crime relationship, and a variety of gun laws could go into effect together. We thus control for


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  other gun policies, including how they affect the temperature–homicide relationship. Table
  B13 presents the results.
     For ease of comparison, column 1 shows our main estimates for the effect of concealed laws
  using our DiDiT approach (Panel A) and using our DiT approach (Panel B). We consider
  the effects of waiting periods and background check requirements, in particular, as well as
  the total number of gun laws in effect in a jurisdiction. When all of these policies (and
  their interactions with temperature) are included in the regression, Temperature × More
  Prohibited is statistically significant. The coefficients are very similar to our main results.
  This implies that (1) our main estimates are not confounded by the implementation of these
  other gun policies, and (2) that more prohibitive concealed carry laws are more effective at
  reducing the effect of temperature on homicide than are other gun laws.


  5    Discussion
  Our findings suggest that restricting the concealed carry of firearms dampen the effects of
  temperature on homicides. This finding is consistent with the hypothesis that, conditional
  on a violent altercation arising, those altercations are more likely to be lethal when guns are
  more easily accessible.
      Our preferred DiDiT estimates (column 2 of Table 2) imply that, if all states were to
  implement more prohibitive concealed carry laws, there would be 158 fewer homicides per
  year per one degree Celsius increase in daily average temperature (95% confidence interval:
  ± 130). Using the social cost of homicide ($8,982,907) from McCollister, French and Fang
  (2010) this corresponds to a social benefit of $1.4 billion/1◦ C per year (95% CI: ± $1.2
  billion) ($2008 US).




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  6     Figures and Tables




  Figure 1: The evolution of More-Prohibitive Concealed Carry Laws in the United States
  (1970-2016)




  Notes: Data source: Data hand coded by Chris Poliquin and coauthors using Cook and Ludwig’s Evaluating
  Gun Policy, Vernick and Hepburn’s State and Federal Gun Laws: Trends for 1970-1999 as well as state
  statutes and session laws.




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  Figure 2: Coefficient Plot of the Relationship Between Homicides per 100,000 people and
  Daily Average Temperature




  Notes: This figure plots estimates of the daily temperature-homicide relationship, averaged over the 12
  month periods before and after the introduction of less prohibited concealed carry laws. Homicides per
  100,000 people is regressed on daily average temperature interacted with indicator variables for each 12 month
  period before and after the implementation of the policy, separate indicator variables for these periods, daily
  precipitation, jurisdiction-by-year
                           Pτ          fixed effects, and jurisdiction-by-week-of-year
                                                                Pτ                     fixed effects. yjsdwmy =
  β1 temperaturejsd + βτ −τ temperaturejsd × RTCsτ + δτ −τ RT Csτ + γ1 rainjsd + αjsy + αjw + jsdwmy
  The figure plots the coefficients on the interaction terms between temperature and the indicator variables 6
  years before and 10 years after the policy implementation.




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  Figure 3: Differences in the Temperature-Homicide Relationship Between More Prohibited
  and Less Prohibited Right-to-Carry States




               (a) Less Prohibited States                            (b) More Prohibited States

  Notes: Homicides per 100,000 people and Daily Average Temperature are separately regressed on daily
  precipitation, jurisdiction-by-month-of-sample fixed effects, and jurisdiction-by-week-of-year fixed effects.
  Figure a) plots the non-parametric relationship between these regressions for the jurisdiction-day observations
  that are exposed to less prohibited concealed carry laws during our sample. Figure b) plots the non-
  parametric relationship between these regressions for the jurisdiction-day observations that are exposed to
  more prohibited concealed carry laws during our sample. We see that the relationship between temperature
  and homicides is flat when jurisdictions are under more prohibited concealed carry laws and increasing when
  jurisdictions are under less prohibited concealed carry laws.




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                                   Table 1: Difference in Means

                                    (1)          (2)           (3)          (4)          (5)
                                    All         Less         More       Difference       Obs
                                             Prohibited    Prohibited     (2-3)

         Homicides per            0.012         0.0131      0.0092        0.0039∗    13,495,334
         100,000 people          (0.0019)     (0.00179)    (0.00268)     (0.00204)
         Gun Homicides            0.0069       0.0076       0.0049        0.0026∗    13,495,334
         per 100,000 people      (0.00136)    (0.00181)    (0.00128)     (0.00137)
         Non-Gun Homicides        0.0051       0.0054       0.0042        0.0012∗    13,495,334
         per 100,000 people      (0.00059)    (0.00053)    (0.00089)     (0.00069)
         Any Homicide              0.0037       0.0041       0.0026       0.0015∗∗   13,495,334
                                 (0.00045)    (0.00041)    (0.00064)     (0.00060)
         Aggravated Assaults       0.894        0.882         0.928       -0.0464    13,495,334
         per 100,000 people       (0.149)      (0.154)       (0.179)      (0.128)
         Population               30,644       31,682        27,498        -4,184    13,495,334
                                  (2,108)      (2,510)       (2,129)      (3,035)
         Average Daily            11.981       12.290        11.042       1.248∗     13,495,334
         Temperature (◦ C)        (0.745)      (0.822)       (0.612)      (0.654)
         Precipitation (mm)        2.903        2.883         2.961        0.078     13,495,334
                                  (0.151)      (0.169)       (0.195)      (0.212)

        Notes: Standard errors are clustered at the state level. Significance levels are indicated
        as * 0.10 ** 0.05 *** 0.01.




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     Table 2: Main results: Concealed Carry Laws and the Temperature–Homicide Relationship

                                                                    Homicides per 100,000 People
                                                DiDiT           DiDiT         DiDiT            DiT            DiT
                                                  (1)             (2)           (3)            (4)            (5)

Temperature (◦ C)                             0.000123∗∗∗     0.000158∗∗∗   0.000250∗∗∗    0.000279∗∗∗    0.000257∗∗∗
                                              (0.0000401)     (0.0000578)   (0.0000268)    (0.0000756)    (0.0000805)
Temperature × More Prohibited                 -0.000122∗∗     -0.000127∗∗   -0.000220∗∗∗   -0.000245∗∗∗   -0.000217∗∗∗
                                              (0.0000519)     (0.0000546)    (0.0000212)    (0.0000726)    (0.0000789)
Temperature × Ever Less Prohibited                             -0.0000369   -0.000148∗∗∗   -0.000148∗∗∗   -0.000134∗∗
                                                              (0.0000519)    (0.0000187)    (0.0000506)   (0.0000555)

Observations                                  13,495,334      13,495,334    13,495,334      13,495,334    12,979,068
Dependent Variable Mean                          0.012           0.012         0.012          0.012          0.012

Jurisdiction by Year Fixed Effects               Yes             Yes            Yes             –              –
Jurisdiction by Month-of-Data Fixed Effects       No              No            No             Yes            Yes
Jurisdiction by Week-of-Year Fixed Effects       Yes             Yes            Yes            Yes            Yes
Aggregation of Cohort-Specific Estimates          No              No            Yes            No             No
Donut Specification                               No              No            No             No             Yes



         Notes: The outcome variable is the number of homicides per 100,000 people. The unit of
     analysis is a jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is
     defined as daily average temperature measured in degrees Celsius. We also control for daily
     precipitation. Ever Less Prohibited is a time-invariant indicator for whether a state ever
     had “less prohibited” concealed carry laws. “More Prohibited” is a time-varying indicator
     for whether the state is in a “More Prohibited” concealed carry policy environment. The
     “Donut Specification” drops the year before and after any concealed carry policy change.
     Standard errors are clustered at the state level. Significance levels are indicated as * 0.10 **
     0.05 *** 0.01.




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  A         The Baseline Relationship Between Temperature and
            Homicide
  In this appendix we provide a detailed overview of the baseline relationship between tem-
  perature and homicide, exploring the functional form of the dose response function and
  heterogeneity. We estimate the baseline relationship between temperature and homicide
  using the following specification,

                    yjdmy = f (temperaturejdmy ) + γ1 precipitationjdmy + αjmy + jdmy          (A1)

      The unit of analysis is a jurisdiction-day, where: yjdmy represents homicides per 100,000
  people in jurisdiction j, on day d of month m in year y; f (temperaturejdmy ) represents
  different functional form specifications for temperature; precipitationjdmy captures the total
  amount of precipitation in jurisdiction j on day d; and αjmy is a jurisdiction-by-month-of-
  sample fixed effect to account for time-invariant characteristics at the local level (average
  crime rate as well as cultural, historical, political, economic, geographic, or institutional
  factors) and within-month shocks that are common across everyone within a place – such as
  changes in economic conditions and local policies or events.14 We also include jurisdiction-
  by-week-of-year fixed effects to control for place-specific seasonality in crime and weather
  conditions. Standard errors are clustered at the county level.
      We first explore the extent to which there is a non-linear relationship between the
  temperature–homicide relationship. We do this in two ways. First, we estimate polyno-
  mial regressions between homicide and daily average temperature (up to 4th order),

                                                                     4
                                                                     X
                                        f (temperaturejdmy ) =             βp tpjdmy            (A2)
                                                                     p=1

      The results of this analysis are presented in Figure A1. We do not see much evidence
  of a strong non-linear relationship. Moving from a linear relationship to a quadratic re-
  lationship has almost no effect on the predicted relationship. Incorporating a cubic term
  results in more of a concave relationship as temperatures increase, which remains in the
  4th-order polynomial; however, in each specification, higher-order terms are always statisti-
  cally insignificant, resulting in a noisier relationship as we move from a linear to 4th-order
  polynomial relationship (Table A1).
      Second, we estimate 2-part linear splines of daily average temperature.


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         Results are robust to using less restrictive fixed effect specifications.

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                   f (wjdmy ) = β1 temperaturejdmy + β2 (temperaturejdmy − ξ)                  (A3)

     where ξ is the kinkpoint. We use a kinkpoint of 18◦ C,

                                    
                                    temperature
                                                       jdmy   − 18   if temperaturejdmy ≥ 18
       (temperaturejdmy − ξ) =
                                    0                               if temperaturejdmy ≤ 18

      This approach is appealing for several reasons. First, the existing literature suggests
  that this simple functional form delivers results that are very similar to those estimated
  using more complicated functional forms. Second, other functional forms typically feature
  higher order terms, which in a panel setting means that the unit-specific mean re-enters
  the estimation, as is the case with using the quadratic functions (McIntosh and Schlenker,
  2006 This raises omitted variable bias concerns, since identification in the panel models is
  no longer limited to location-specific variation over time.
      We do not estimate a statistically significant change in the slope at the kink point. Figure
  A2 presents the result of this analysis. We cannot reject that the relationship between
  temperature and homicides per 100,000 people is linear, or at least locally linear. We are
  not the first paper to show this. In earlier work Ranson (2014) shows that the violent-crime
  relationship in the United States is approximately linear. In contexts with a broader range
  of residual variation in temperatures, it is possible that a more complex response function
  exists. Our main analysis uses a linear specification, which is a reasonable fit, parsimonious,
  and reduces demands on the data when interaction terms are included – the focus of our
  main analysis.
      In addition to exploring non-linearity in the functional form we explore differences in the
  linear relationship between temperature and homicides per 100,000 people using daily mini-
  mum temperature and daily maximum temperature instead of the daily mean temperature.
      Table A2 presents the results of this analysis. In each specification, we estimate statisti-
  cally significant, positive relationships between each temperature measure and the number
  of homicides per 100,000. The estimated coefficients for daily maximum and daily minimum
  are marginally smaller than the estimated relationship between daily mean temperature and
  homicides per 100,000 people.
      In Table A3, we explore the relationship between daily average temperature and homi-
  cide, exploiting information on the time of day and location where the homicides occurred.
  We estimates statistically significant relationships between temperature and homicides that
  occur outside and during the day.


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      In Table A4, we explore heterogeneity in the relationship between daily average tem-
  perature and homicide across seasons. We do not estimate meaningful differences in the
  temperature–homicide relationship across seasons, although the magnitude of the estimate
  is slightly larger when we drop summer.
      In Table A4, we explore spatial heterogeneity in the relationship between daily average
  temperature and homicide across climates. We do not see a meaningful difference in the
  estimates when we drop hot or cool climates (defined as jurisdictions in the top and bottom
  terciles of the long-run daily average temperature distribution); however, if we drop warm
  climates, jurisdictions in the middle tercile the estimated effect is smaller in magnitude and
  statistically significant. This suggests that the temperature–homicide relationship is weaker
  in cool and hot climates.




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  Figure A1:   Exploring Non-Linearity in the Temperature–Homicide Relationship
  Temperature–Homicide Relationship (Flexible Polynomials)




                (a) Linear Relationship                             (b) 2nd-order Polynomial




               (c) 3rd-order Polynomial                             (d) 4th-order Polynomial

  Notes: Estimates reflect the association between daily mean temperature at T◦ C on homicides per 100,000
  people, relative to a day when the daily mean temperature is 11◦ C. Figure a) plots the linear relationship
  between homicides per 100,000 people and temperature. Figure b) plots a 2nd-order polynomial relationship
  between homicides per 100,000 people and temperature. Figure c) plots a 3rd-order polynomial relationship
  between homicides per 100,000 people and temperature. Figure d) plots a 4th-order polynomial relationship
  between homicides per 100,000 people and temperature. We also control for daily precipitation. Standard
  errors are clustered at the county level. Shaded areas reflect 95% confidence intervals.




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  Table A1: Exploring Non-Linearity in the Temperature–Homicide Relationship (Flexible
  Polynomials)

                                                                 Homicides per 100,000 People
                                                      (1)            (2)             (3)              (4)

  Temperature                                    0.0000829∗∗    0.0000812∗∗       0.000104∗∗     0.0000860∗
                                                 (0.0000351)    (0.0000372)      (0.0000443)     (0.0000494)
  Temperature2                                                  0.000000112      0.00000312       0.00000403
                                                                (0.00000167)    (0.00000261)     (0.00000386)
  Temperature3                                                                  -0.000000146       -6.37e-08
                                                                               (0.000000108)    (0.000000154)
  Temperature4                                                                                     -3.44e-09
                                                                                                  (7.21e-09)

  Observations                                    13,495,334     13,495,334      13,495,334       13,495,334
  Dependent Variable Mean                            0.012          0.012           0.012            0.012

  Jurisdiction by Month-of-Data Fixed Effects         Yes            Yes             Yes             Yes
  Jurisdiction by Week-of-Year Fixed Effects          Yes            Yes             Yes             Yes

  Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a
 jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is the daily mean tempera-
 ture measured in degrees Celsius. We also control for daily precipitation. Standard errors are clustered at the
 county level. Shaded areas reflect 95% confidence intervals.




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  Figure A2: Exploring Non-Linearity in the Temperature–Homicide Relationship (2-Part
  Linear Spline)




  Notes: The outcome variable is the number of homicides per 100,000 people. The unit of
  analysis is a jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is
  the daily mean temperature measured in degrees Celsius. The kinkpoint is 18◦C. Estimates
  reflect the association between daily mean temperature at T◦ C on homicides per 100,000
  people, relative to a day when the daily mean temperature is 11◦ C. We also control for daily
  precipitation. Standard errors are clustered at the county level. Shaded areas reflect 95%
  confidence intervals.




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           Table A2: The Temperature–Homicide Relationship (Mean/Max/Min)

                                                               Homicides per 100,000 People
                                                             (1)            (2)            (3)

        Daily Mean Temperature (◦ C)                     0.0000829∗∗
                                                         (0.0000339)
        Daily Max Temperature                                           0.0000677∗∗
                                                                        (0.0000295)
        Daily Min Temperature                                                          0.0000756∗∗
                                                                                       (0.0000301)
        Precipitation                                    -0.0000394∗∗   -0.0000339∗    -0.0000443∗∗
                                                          (0.0000188)   (0.0000184)     (0.0000197)

        Observations                                      13,495,334    13,495,334      13,495,334
        Dependent Variable Mean                             0.012          0.012          0.012

        Jurisdiction by Month-of-Data Fixed Effects          Yes            Yes            Yes
        Jurisdiction by Week-of-Year Fixed Effects           Yes            Yes            Yes

        Notes: The outcome variable is the number of homicides per 100,000 people. The unit of
       analysis is a jurisdiction-day. Homicide is defined as nonnegligent homicide. The temperature
       variables are daily mean, daily maximum, and daily minimum temperature measured in
       degrees Celsius. We also control for daily precipitation. Standard errors are clustered at the
       county level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                Table A3: RTC Laws and the Temperature–Homicide Relationship (Time of Day and Location)

                                                                                                                                                    Homicides per 100,000 People
                                                                                                                            (1)           (2)            (3)           (4)            (5)            (6)
                                                                                                                            All           Day          Night        At Home         Outside         Other

                                                                       Temperature (◦ C)                               0.0000829∗∗    0.0000448∗∗     0.0000329      0.0000426     0.0000381∗∗   0.00000217
                                                                                                                       (0.0000351)    (0.0000205)    (0.0000275)    (0.0000262)    (0.0000155)   (0.0000174)
                                                                  8




                                                                       Observations                                     13,495,334     13,495,334     13,495,334    13,495,334     13,495,334     13,495,334
                                                                       Dependent Variable Mean                             0.012         0.0045         0.0072        0.0072         0.0027         0.0021

                                                                       Jurisdiction by Month-of-Data Fixed Effects          Yes           Yes            Yes            Yes            Yes           Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects           Yes           Yes            Yes            Yes            Yes           Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-day. Homicide is
                                                                      defined as nonnegligent homicide. Temperature is defined as daily average temperature measured in degrees Celsius. We also control
                                                                      for daily precipitation. Standard errors are clustered at the county level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                             Table A4: Accounting for Seasonal Differences: The Temperature–Homicide Relationship

                                                                                                                                                     Differences by season
                                                                                                                          (1)            (2)          (3)            (4)          (5)
                                                                                                                         Main           Drop         Drop           Drop         Drop
                                                                                                                       estimate        spring       summer           fall        winter
                                                                       Temperature (◦ C)                              0.0000829∗∗   0.0000742∗    0.0000925∗∗   0.0000787∗    0.0000856∗∗
                                                                                                                      (0.0000351)   (0.0000416)   (0.0000377)   (0.0000404)   (0.0000431)

                                                                       Observations                                   13,495,334    10,077,969     9,952,812     10,121,159    10,334,062
                                                                  9




                                                                       Dependent Variable Mean                           0.012         0.012         0.012          0.012         0.012

                                                                       Jurisdiction by Month-of-Data Fixed Effects        Yes           Yes           Yes           Yes            Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects         Yes           Yes           Yes           Yes            Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-
                                                                      day. Homicide is defined as nonnegligent homicide. Temperature is defined as daily average temperature measured in
                                                                      degrees Celsius. We also control for daily precipitation. Winter is defined as December, January, and February. Spring
                                                                      is defined as March, April, May. Summer is defined as June, July, August. Fall is defined as September, October,
                                                                      November. Standard errors clustered at the county level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                          Table A5: Accounting for Climate Differences: The Temperature–Homicide Relationship

                                                                                                                                                   Differences by Climate
                                                                                                                              (1)           (2)             (3)              (4)
                                                                                                                             Main          Drop            Drop             Drop
                                                                                                                           estimate        Hot             Warm             Cool
                                                                           Temperature (◦ C)                              0.0000829∗∗   0.0000768∗∗      0.0000411    0.000131∗∗∗
                                                                                                                          (0.0000351)   (0.0000348)     (0.0000463)   (0.0000475)
                                                                  10




                                                                           Observations                                   13,495,334     9,002,210       8,995,758     8,992,700
                                                                           Dependent Variable Mean                           0.012         0.012           0.012            0.012

                                                                           Jurisdiction by Month-of-Data Fixed Effects        Yes           Yes             Yes             Yes
                                                                           Jurisdiction by Week-of-Year Fixed Effects         Yes           Yes             Yes             Yes

                                                                           Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a
                                                                          jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is defined as daily average
                                                                          temperature measured in degrees Celsius. We also control for daily precipitation. Climate terciles (Hot,
                                                                          Warm, and Cold) are calculated using the long-run average temperature of each location. Standard errors
                                                                          clustered at the county level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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  B    Additional Results and Robustness Checks for the
       Moderating Effect of Gun Laws

               Figure B1: Map of reporting jurisdictions: NIBRS sample




                Figure B2: Map of reporting jurisdictions: UCR sample




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                                                                                                            Table B1: Homicide: Firearm vs. Non-Firearm

                                                                                                                                            Homicides per 100,000 People
                                                                                                                             DiDiT Analysis                              DiT Analysis
                                                                                                                   All         Firearm      Non-Firearm        All         Firearm         Non-Firearm
                                                                                                                   (1)            (2)           (3)            (4)           (5)               (6)
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                                                                       Temperature (◦ C)                       0.000158∗∗∗     0.000112∗∗     0.0000460     0.000279∗∗∗     0.000177∗∗∗      0.000102
                                                                                                               (0.0000578)    (0.0000440)    (0.0000308)    (0.0000756)     (0.0000471)     (0.0000737)
                                                                       Temperature × More Prohibited           -0.000127∗∗   -0.0000962∗∗     -0.0000303    -0.000245∗∗∗    -0.000153∗∗∗     -0.0000921
                                                                                                               (0.0000546)    (0.0000431)    (0.0000198)     (0.0000726)     (0.0000449)    (0.0000682)
                                                                       Temperature × Ever Less Prohibited       -0.0000369     -0.0000247     -0.0000122    -0.000148∗∗∗   -0.0000892∗∗∗     -0.0000587
                                                                                                               (0.0000519)    (0.0000452)    (0.0000300)    (0.0000506)     (0.0000321)     (0.0000552)

                                                                       Observations                            13,495,334     13,495,334      13,495,334     13,495,334      13,495,334     13,495,334
                                                                       Dependent Variable Mean                    0.012         0.0069          0.0051          0.012          0.0069          0.0051
                                                                  2




                                                                       Jurisdiction by Month-of-Data FEs           No             No             No             Yes             Yes             Yes
                                                                       Jurisdiction by Year FEs                    Yes            Yes            Yes             No             No              No
                                                                       Jurisdiction by Week-of-Year FEs            Yes            Yes            Yes            Yes             Yes             Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-day. Homicide is
                                                                      defined as nonnegligent homicide. Temperature is defined as daily average temperature measured in degrees Celsius. We also control
                                                                      for daily precipitation. Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed
                                                                      carry laws. “More Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” concealed carry policy
                                                                      environment. Standard errors are clustered at the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                   Table B2: The Temperature–Homicide Relationship (Rural vs. Urban)

                                                                                                                                    Homicides per 100,000 People
                                                                                                                                More Rural                More Urban
                                                                                                                            DiDiT        DiT          DiDiT        DiT
                                                                                                                              (1)            (2)            (3)            (4)
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                                                                         Daily Mean Temperature (◦ C)                      -0.000104      0.000150       0.000165∗∗    0.000185∗
                                                                                                                          (0.000128)    (0.0000969)     (0.0000637)   (0.0000956)
                                                                         Temperature × More Prohibited                   -0.000147∗∗    -0.000342∗∗∗     -0.000102     -0.000126
                                                                                                                         (0.0000679)     (0.0000839)    (0.0000605)   (0.0000910)
                                                                         Temperature × Ever Less Prohibited               0.000238∗      0.0000100       -0.0000597    -0.0000874
                                                                                                                          (0.000134)    (0.0000766)     (0.0000691)   (0.0000581)

                                                                         Observations                                      6,661,551      6,661,551      6,833,783     6,833,783
                                                                         Dependent Variable Mean                             0.015          0.015          0.009         0.009
                                                                  3




                                                                         Jurisdiction by Year Fixed Effects                   Yes             –             Yes             –
                                                                         Jurisdiction by Month-of-Data Fixed Effects          No             Yes            No            Yes
                                                                         Jurisdiction by Week-of-Year Fixed Effects           Yes            Yes            Yes           Yes

                                                                         Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a
                                                                        jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is defined as daily average
                                                                        temperature measured in degrees Celsius. We also control for daily precipitation. More Rural is defined
                                                                        as jurisdictions that have urban population shares below the median urban population share. More Urabn
                                                                        is defined as jurisdictions that have urban population shares above the median urban population share.
                                                                        Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed
                                                                        carry laws. “More Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited”
                                                                        policy environment. Standard errors are clustered at the state level. Significance levels are indicated as *
                                                                        0.10 ** 0.05 *** 0.01.




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                                                                                                   Table B3: The Temperature–Homicide Relationship (Time of Day)

                                                                                                                                                     Homicides per 100,000 People
                                                                                                                          DiDiT            DiT          DiDiT            DiT            DiDiT           DiT
                                                                                                                            (1)            (2)            (3)              (4)            (5)            (6)

                                                                       Daily Mean Temperature (◦ C)                     0.00000441      -0.0000205    0.0000233∗      0.000111∗∗∗      0.000130∗     0.000158∗
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                                                                                                                        (0.0000179)    (0.0000224)    (0.0000130)     (0.0000375)     (0.0000657)   (0.0000821)
                                                                       Temperature × More Prohibited                   -0.000000725     0.0000158     -0.0000189∗∗   -0.0000982∗∗∗     -0.000110∗    -0.000134
                                                                                                                        (0.0000135)    (0.0000198)    (0.00000910)    (0.0000353)     (0.0000644)   (0.0000807)
                                                                       Temperature × Ever Less Prohibited                0.0000107      0.0000350     0.00000705     -0.0000650∗∗∗     -0.0000608    -0.000101∗
                                                                                                                        (0.0000172)    (0.0000213)    (0.0000196)     (0.0000233)     (0.0000623)   (0.0000542)

                                                                       Observations                                     13,495,334     13,495,334      13,495,334      13,495,334     13,495,334     13,495,334
                                                                       Dependent Variable Mean                            0.0019          0.0019         0.0024          0.0024         0.0075         0.0075
                                                                       Time of Day                                      6am-12pm       6am-12pm        12pm-6pm        12pm-6pm        6pm-6am       6pm-6am
                                                                  4




                                                                       Jurisdiction by Year Fixed Effects                   Yes             –             Yes              –              Yes             –
                                                                       Jurisdiction by Month-of-Data Fixed Effects          No             Yes            No              Yes             No            Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects           Yes            Yes            Yes             Yes             Yes           Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-day. Homicide is
                                                                      defined as nonnegligent homicide. Temperature is defined as daily average temperature measured in degrees Celsius. We also control for
                                                                      daily precipitation. Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed carry laws.
                                                                      “More Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” policy environment. Standard errors are
                                                                      clustered at the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                                       Table B4: The Temperature–Homicide Relationship (Location)

                                                                                                                                                    Homicides per 100,000 People
                                                                                                                         DiDiT          DiT          DiDiT          DiT          DiDiT                 DiT
                                                                                                                          (1)            (2)           (3)           (4)             (5)               (6)

                                                                       Daily Mean Temperature (◦ C)                   0.0000778∗      0.000100      0.0000512    0.000133∗∗∗     0.0000287∗∗        0.0000456
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                                                                                                                      (0.0000451)    (0.0000652)   (0.0000355)   (0.0000461)     (0.0000118)       (0.0000444)
                                                                       Temperature × More Prohibited                  -0.0000723∗∗    -0.000106∗    -0.0000208   -0.0000809∗    -0.0000334∗∗∗       -0.0000578
                                                                                                                       (0.0000344)   (0.0000596)   (0.0000297)   (0.0000409)     (0.0000105)       (0.0000432)
                                                                       Temperature × Ever Less Prohibited              -0.0000153     -0.0000337    -0.0000187   -0.0000823∗     -0.00000290        -0.0000318
                                                                                                                      (0.0000489)    (0.0000610)   (0.0000346)   (0.0000410)     (0.0000235)       (0.0000259)

                                                                       Observations                                    13,495,334    13,495,334    13,495,334    13,495,334       13,495,334       13,495,334
                                                                       Dependent Variable Mean                           0.0073        0.0073        0.0027        0.0027           0.0021           0.0021
                                                                       Location                                        At Home        At Home        Outside       Outside     Other Location    Other Location
                                                                  5




                                                                       Jurisdiction by Year Fixed Effects                 Yes             –            Yes            –              Yes                –
                                                                       Jurisdiction by Month-of-Data Fixed Effects        No             Yes           No            Yes             No                Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects         Yes            Yes           Yes           Yes             Yes               Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-day. Homicide is defined
                                                                      as nonnegligent homicide. Temperature is defined as daily average temperature measured in degrees Celsius. We also control for daily
                                                                      precipitation. Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed carry laws. “More
                                                                      Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” policy environment. Standard errors are clustered at
                                                                      the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                                            Table B5: Alternative transformations of the outcome variable

                                                                                                                            DiDiT                    DiT               DiDiT             DiT
                                                                                                                      asinh−1 (Homicides)    asinh−1 (Homicides)    Any Homicide     Any Homicide
                                                                                                                               (1)                    (2)               (3)              (4)

                                                                       Temperature (◦ C)                                    0.0107∗∗∗             0.0133∗∗∗         0.0000447∗∗∗      0.0000560∗∗∗
Electronic copy available at: https://ssrn.com/abstract=4195573




                                                                                                                            (0.00260)             (0.00375)          (0.0000118)       (0.0000163)
                                                                       Temperature × More Prohibited                       -0.00473∗∗             -0.00690∗∗        -0.0000183∗∗      -0.0000283∗∗
                                                                                                                            (0.00206)              (0.00273)        (0.00000870)       (0.0000110)
                                                                       Temperature × Ever Less Prohibited                    -0.00298              -0.00453           -0.0000131       -0.0000200
                                                                                                                            (0.00250)             (0.00338)          (0.0000110)      (0.0000148)

                                                                       Observations                                        13,495,334             13,495,334          13,495,334       13,495,334
                                                                       Dependent Variable Mean                               0.0039                 0.0039              0.0037           0.0037

                                                                       Jurisdiction by Year Fixed Effects                      Yes                    –                  Yes               –
                                                                  6




                                                                       Jurisdiction by Month-of-Data Fixed Effects             No                    Yes                 No               Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects              Yes                   Yes                 Yes              Yes

                                                                       Notes: The outcome variable the inverse hyperbolic sine of homicides (columns 1 and 2) or a binary indicator of whether any
                                                                      homicides occurred (columns 3 and 4). The unit of analysis is a jurisdiction-day. Homicide is defined as nonnegligent homicide.
                                                                      Temperature is defined as daily average temperature measured in degrees Celsius. We also control for daily precipitation.
                                                                      Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed carry laws. “More
                                                                      Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” policy environment. Standard errors
                                                                      are clustered at the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                         Table B6: Conceal Carry Laws and the Temperature–Homicide Relationship (UCR Data)

                                                                                                                                                              Homicides per 100,000 People
                                                                                                                                                                         DiDiT
                                                                                                                                                  Full UCR sample             Restricted to years/places in NIBRS
                                                                                                                                         (1)             (2)          (3)          (4)          (5)           (6)
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                                                                       Temperature (◦ C)                                              0.00374∗∗∗      0.00641∗∗    00663∗∗∗      0.00172      0.00261     0.00429∗∗∗
                                                                                                                                      (0.000989)      (0.00265)    (.00260)     (0.00183)    (0.00197)     (0.00158)
                                                                       Temperature × More Prohibited                                 -0.000941∗∗     -0.000983∗∗   -.00104∗∗∗    -0.00146∗    -0.00149∗   -0.00319∗∗∗
                                                                                                                                      (0.000386)      (0.000386)   (0.000317)   (0.000825)   (0.000830)    (0.000154)
                                                                       Temperature × Ever Less Prohibited                                              -0.00316     -0.00416                 -0.000978    -0.00358∗
                                                                                                                                                      (0.00280)    (0.00275)                 (0.00240)    (0.00192)

                                                                       Observations                                                   4,480,752       4,480,752    4,480,752     677,940      677,940      677,940
                                                                       Dependent Variable Mean                                          0.349           0.349        0.349        0.237        0.237        0.237
                                                                  7




                                                                       Jurisdiction by Year Fixed Effects                                Yes            Yes           Yes          Yes          Yes          Yes
                                                                       Jurisdiction by Month-of-Year Fixed Effects                       Yes            Yes           Yes          Yes          Yes          Yes
                                                                       Sample-Weighted Aggregation of Cohort-Specific Estimates          No              No           Yes          No           No           Yes
                                                                       NIBRS Sample                                                      No              No           No           Yes          Yes          Yes

                                                                       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-month. Homicide is defined
                                                                      as nonnegligent homicide. Temperature is defined as daily average temperature measured in degrees Celsius. We also control for total monthly
                                                                      precipitation. Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed carry laws. “More
                                                                      Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” policy environment. Standard errors are clustered at the
                                                                      state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                           Table B7: Difference in Means: UCR data

                                     (1)         (2)           (3)           (4)           (5)
                                     All        Less         More        Difference       Obs
                                             Prohibited    Prohibited      (2-3)

          Homicides per             0.012       0.305         0.377        -0.072∗      4,480,752
          100,000 people           (0.035)    (0.0283)      (0.00482)     (0.0427)
          Aggravated Assaults      11.111      11.795        10.691         1.104       4,480,752
          per 100,000 people       (1.287)     (1.502)       (1.474)       (1.508)
          Population               27,076      24,502        28,657         -4,154      4,480,752
                                   (2,668)     (1,666)       (3,934)       (4,103)
          Average Daily            12.271      12.290        11.042         1.248      13,495,334
          Temperature (◦ C)        (0.767)     (0.944)       (0.759)       (0.799)
          Precipitation (mm)       87.058      91.709        84.203         7.506      13,495,334
                                   (3.665)     (3.723)       (4.580)       (4.868)

          Notes: Standard errors are clustered at the state level. Significance levels are indicated
         as * 0.10 ** 0.05 *** 0.01.




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                                                                                                Table B8: The Temperature–Aggravated Assault Relationship

                                                                                                                                             Aggravated Assaults per 100,000 People
                                                                                                                                   All                      Firearm                 Non-Firearm
                                                                                                                        DiDiT              DiT         DiDiT        DiT          DiDiT        DiT
                                                                                                                          (1)               (2)          (3)          (4)          (5)          (6)
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                                                                       Daily Mean Temperature (◦ C)                     0.00200           0.00188    0.00128∗∗∗     0.00107∗∗   0.000718     0.000807
                                                                                                                       (0.00148)         (0.00225)   (0.000416)    (0.000479)   (0.00170)    (0.00214)
                                                                       Temperature × More Prohibited                   0.00179∗           0.00167    -0.000795∗∗    -0.000468   0.00259∗      0.00213
                                                                                                                       (0.00102)         (0.00175)    (0.000384)   (0.000463)   (0.00132)    (0.00148)
                                                                       Temperature × Ever Less Prohibited              0.00403∗           0.00435     0.000177      0.000404    0.00385∗     0.00395∗
                                                                                                                       (0.00238)         (0.00259)   (0.000443)    (0.000645)   (0.00216)    (0.00222)

                                                                       Observations                                   13,495,334     13,495,334      13,495,334    13,495,334   13,495,334   13,495,334
                                                                       Dependent Variable Mean                           0.893            0.893         0.142        0.142        0.751        0.751
                                                                  9




                                                                       Jurisdiction by Year Fixed Effects                Yes                –           Yes            –           Yes           –
                                                                       Jurisdiction by Month-of-Data Fixed Effects        No               Yes           No           Yes          No           Yes
                                                                       Jurisdiction by Week-of-Year Fixed Effects        Yes               Yes          Yes           Yes          Yes          Yes

                                                                       Notes: The outcome variable is the number of aggravated assaults per 100,000 people. The unit of analysis is a jurisdiction-
                                                                      day. Temperature is defined as daily average temperature measured in degrees Celsius. We also control for daily precipitation.
                                                                      Ever Less Prohibited is a time-invariant indicator for whether a state ever had “less prohibited” concealed carry laws. “More
                                                                      Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited” policy environment. Standard errors are
                                                                      clustered at the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                    Table B9: The Precipitation–Homicide Relationship

                                                            Homicides per 100,000 People
                                                              DiDiT             DiT
                                                                (1)             (2)

            Daily Precipitation (mm)                         -0.00219         -0.00211
                                                            (0.00185)        (0.00193)
            Precipitation × More Prohibited                 -0.0000538       -0.000114
                                                             (0.00104)       (0.00125)
            Precipitation × Ever Less Prohibited            -0.000735        -0.000883
                                                            (0.00192)        (0.00203)

            Observations                                    13,495,334      13,495,334
            Dependent Variable Mean                            0.012           0.012

            Jurisdiction by Year Fixed Effects                 Yes               –
            Jurisdiction by Month-of-Data Fixed Effects         No              Yes
            Jurisdiction by Week-of-Year Fixed Effects         Yes              Yes

            Notes: The outcome variable is the number of homicides per 100,000 people.
           The unit of analysis is a jurisdiction-day. Homicide is defined as nonnegligent
           homicide. Precipitation is defined as daily total precipitation in mm. We also
           control for daily average temperature. Ever Less Prohibited is a time-invariant
           indicator for whether a state ever had “less prohibited” concealed carry laws.
           “More Prohibited” is a time-varying indicator for whether the state is in a “More
           Prohibited” policy environment. Standard errors are clustered at the state level.
           Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                                                                        Table B10: The Temperature–Homicide Relationship (Mean/Max/Min Temperature)

                                                                                                                                                      Homicides per 100,000 People
                                                                                                                           DiDiT           DiT           DiDiT           DiT           DiDiT            DiT
                                                                                                                             (1)            (2)            (3)            (4)            (5)            (6)

                                                                        Daily Mean Temperature (◦ C)                    0.000158∗∗∗     0.000279∗∗∗
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                                                                                                                        (0.0000578)     (0.0000756)
                                                                        Mean Temperature × More Prohibited              -0.000127∗∗    -0.000245∗∗∗
                                                                                                                        (0.0000546)     (0.0000726)
                                                                        Daily Max Temperature (◦ C)                                                     0.000141∗∗   0.000255∗∗∗
                                                                                                                                                       (0.0000546)    (0.0000736)
                                                                        Max Temperature × More Prohibited                                              -0.000119∗∗   -0.000227∗∗∗
                                                                                                                                                       (0.0000531)    (0.0000737)
                                                                        Daily Min Temperature                                                                                        0.000159∗∗∗    0.000225∗∗∗
                                                                                                                                                                                     (0.0000569)    (0.0000672)
                                                                        Min Temperature × More Prohibited                                                                            -0.000123∗∗   -0.000192∗∗∗
                                                                                                                                                                                     (0.0000518)    (0.0000631)
                                                                  11




                                                                        Observations                                     13,495,334     13,495,334      13,495,334    13,495,334     13,495,334     13,495,334
                                                                        Dependent Variable Mean                             0.012          0.012          0.012         0.012          0.012          0.012

                                                                        Jurisdiction by Year Fixed Effects                   Yes             –             Yes             –             Yes             –
                                                                        Jurisdiction by Month-of-Data Fixed Effects          No             Yes            No             Yes            No             Yes
                                                                        Jurisdiction by Week-of-Year Fixed Effects           Yes            Yes            Yes            Yes            Yes            Yes

                                                                        Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-day. Homicide is
                                                                       defined as nonnegligent homicide. The temperature variables are daily mean, daily maximum, and daily minimum temperature measured
                                                                       in degrees Celsius. We also control for daily precipitation, and for Temperature × Ever Less Prohibited (where “Ever Less Prohibited” is
                                                                       a time-invariant indicator for whether a state ever had less prohibitive laws). “More Prohibited” is a time-varying indicator for whether
                                                                       the state is in a “More Prohibited” policy environment. Standard errors are clustered at the state level. Significance levels are indicated
                                                                       as * 0.10 ** 0.05 *** 0.01.




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  Table B11: Accounting for Seasonal Differences: The Effect of Temperature on Homicide when
  Guns are More Prohibited

                                                            Homicides per 100,000 People
                                           Main           Drop         Drop           Drop             Drop
                                         estimate        Spring       Summer           Fall            Winter
                                            (1)            (2)           (3)           (4)              (5)

   Panel A: DiDiT

   Temperature (◦ C)                    0.000158∗∗∗    0.000162∗∗∗     0.000131∗     0.000195∗∗∗      0.000143∗
                                        (0.0000531)    (0.0000590)    (0.0000696)     (0.0000609)   (0.0000756)
   Temperature × More Prohibited       -0.000127∗∗∗   -0.000134∗∗∗     -0.000121∗    -0.000132∗∗∗    -0.000114∗
                                        (0.0000448)    (0.0000510)    (0.0000638)     (0.0000454)   (0.0000649)

   Panel B: DiT
   Temperature (◦ C)                    0.000279∗∗∗    0.000341∗∗∗     0.000307∗∗∗   0.000290∗∗        0.000161
                                        (0.0000975)     (0.000118)      (0.000102)    (0.000118)     (0.000122)
   Temperature × More Prohibited       -0.000245∗∗∗   -0.000303∗∗∗    -0.000302∗∗∗   -0.000222∗∗      -0.000132
                                        (0.0000930)     (0.000112)     (0.0000977)    (0.000111)     (0.000116)

   Observations                         13,495,334     10,077,969      9,952,812      10,121,159     10,334,062

   Dependent Variable Mean                 0.012            0.012        0.012           0.012          0.012

   Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a
  jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is defined as daily average tem-
  perature measured in degrees Celsius. We also control for daily precipitation, and for Temperature × Ever
  Less Prohibited (where “Ever Less Prohibited” is a time-invariant indicator for whether a state ever had less
  prohibitive laws). “More Prohibited” is a time-varying indicator for whether the state is in a “More Prohibited”
  policy environment. Winter is defined as December, January, and February. Spring is defined as March, April,
  May. Summer is defined as June, July, August. Fall is defined as September, October, November. Standard
  errors are clustered at the state level. Significance levels are indicated as * 0.10 ** 0.05 *** 0.01.




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      Table B12: Accounting for Climate Differences: The Effect of Temperature on
      Homicide when Guns are More Prohibited

                                                             Homicides per 100,000 People
                                                 Main            Drop           Drop            Drop
                                               estimate          Hot           Warm             Cool
                                                  (1)             (2)            (3)             (4)

       Panel A: DiDiT

       Temperature (◦ C)                      0.000158∗∗∗      0.000134∗∗∗     0.000125     0.000209∗∗∗
                                              (0.0000531)      (0.0000465)   (0.0000833)    (0.0000790)
       Temperature × More Prohibited         -0.000127∗∗∗     -0.0000932∗∗   -0.000123∗∗    -0.000176∗∗
                                              (0.0000448)      (0.0000395)   (0.0000588)    (0.0000713)

       Panel B: DiT
       Temperature (◦ C)                      0.000279∗∗∗      0.000268∗∗∗     0.000153      0.000408∗∗∗
                                              (0.0000975)      (0.0000882)   (0.000142)       (0.000144)
       Temperature × More Prohibited         -0.000245∗∗∗     -0.000227∗∗∗    -0.000161     -0.000362∗∗∗
                                              (0.0000930)      (0.0000833)   (0.000130)       (0.000140)

       Observations                           13,495,334       9,002,210      8,995,758       8,992,700

       Dependent Variable Mean                  0.012            0.012          0.012           0.012

       Notes: The outcome variable is the number of homicides per 100,000 people. The unit of
      analysis is a jurisdiction-day. Homicide is defined as nonnegligent homicide. Temperature is
      defined as daily average temperature measured in degrees Celsius. We also control for daily
      precipitation, and for Temperature × Ever Less Prohibited (where “Ever Less Prohibited” is a
      time-invariant indicator for whether a state ever had less prohibitive laws). “More Prohibited”
      is a time-varying indicator for whether the state is in a “More Prohibited” policy environment.
      Climate terciles (Hot, Warm, and Cold) are calculated using the long-run average temperature
      of each location. Standard errors are clustered at the state level. Significance levels are indicated
      as * 0.10 ** 0.05 *** 0.01.




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                        Table B13: Accounting for Other Gun-Related Policies

                                                              Homicides per 100,000 People
                                              (1)             (2)           (3)            (4)            (5)

 Panel A: DiDiT
 Temperature (◦ C)                        0.000158∗∗∗    0.000104∗∗∗     0.000102∗    0.0000932∗∗      0.000117
                                          (0.0000578)    (0.0000366)    (0.0000567)   (0.0000346)     (0.000114)
 Temperature × More Prohibited            -0.000127∗∗                                                -0.000124∗∗
                                          (0.0000546)                                                (0.0000558)
 Temperature × Waiting Period                             -0.0000882                                  -0.0000460
                                                         (0.0000561)                                 (0.0000564)
 Temperature × Background Check                                          -0.0000222                   0.0000214
                                                                        (0.0000793)                  (0.0000800)
 Temperature × std(# of Gun Laws)                                                      -0.0000188    0.00000833
                                                                                      (0.0000191)    (0.0000367)

 Panel B: DiT
 Temperature (◦ C)                        0.000279∗∗∗    0.0000905∗∗    0.000135∗∗∗   0.0000819∗∗     0.000259∗
                                          (0.0000756)    (0.0000339)    (0.0000366)   (0.0000330)     (0.000139)
 Temperature × More Prohibited           -0.000245∗∗∗                                                -0.000254∗∗
                                         (0.0000726)                                                 (0.0000946)
 Temperature × Waiting Period                             -0.0000683                                   0.000148
                                                         (0.0000978)                                  (0.000121)
 Temperature × Background Check                                         -0.000145∗∗                    -0.000156
                                                                        (0.0000694)                   (0.000127)
 Temperature × std(# of Gun Laws)                                                      -0.0000240     0.0000643
                                                                                      (0.0000142)    (0.0000679)

 Observations                             13,495,334     13,495,334     13,495,334     13,495,334     13,495,334
 Dependent Variable Mean                     0.012           0.012         0.012          0.012         0.012

 Notes: The outcome variable is the number of homicides per 100,000 people. The unit of analysis is a jurisdiction-
day. Homicide is defined as nonnegligent homicide. Temperature is defined as daily average temperature measured
in degrees Celsius. The DiDiT analysis includes jurisdiction by year fixed effects; the DiT analysis includes
jurisdiction by month-of-data fixed effects. We also control for daily precipitation, jurisdiction by week-of-year
fixed effects, and Temperature × Ever Less Prohibited (where “Ever Less Prohibited” is a time-invariant indicator
for whether a state ever had less prohibitive laws). “More Prohibited” is a time-varying indicator for whether the
state is in a “More Prohibited” concealed carry policy environment. “Waiting Period” is a time-varying indicator
for whether the state requires a handgun waiting period. “Background Check” is a time-varying indicator for
whether the state requires a background check. “std(# of Gun Laws)” is a standardized (mean zero, standard
deviation one) measure of the number of prohibiting gun laws implemented each state in a given year, provided
by https://www.statefirearmlaws.org/national-data. Standard errors are clustered at the state level. Significance
levels are indicated as * 0.10 ** 0.05 *** 0.01.




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                                NBER WORKING PAPER SERIES




                    MORE GUNS, MORE UNINTENDED CONSEQUENCES:
                         THE EFFECTS OF RIGHT-TO-CARRY ON
                    CRIMINAL BEHAVIOR AND POLICING IN US CITIES

                                         John J. Donohue
                                          Samuel V. Cai
                                        Matthew V. Bondy
                                          Philip J. Cook

                                        Working Paper 30190
                                http://www.nber.org/papers/w30190


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                                      June 2022




  We are grateful to Richard Sweeney as well as participants at the ETH Zürich Workshop and
  Lecture Series in Law and Economics and Tel Aviv University for comments on the paper.
  Theodora Boulouta, Ammar Inayatali, and Nicolas Peña Tenjo provided outstanding research
  assistance. John Donohue has at various times served as an expert witness in litigation involving
  firearm regulation. The views expressed herein are those of the authors and do not necessarily
  reflect the views of the National Bureau of Economic Research.

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  More Guns, More Unintended Consequences: The Effects of Right-to-Carry on Criminal Behavior
  and Policing in US Cities
  John J. Donohue, Samuel V. Cai, Matthew V. Bondy, and Philip J. Cook
  NBER Working Paper No. 30190
  June 2022
  JEL No. K0,K14,K40,K42

                                            ABSTRACT

  We analyze a sample of 47 major US cities to illuminate the mechanisms that lead Right-to-Carry
  concealed handgun laws to increase crime. The altered behavior of permit holders, career
  criminals, and the police combine to generate 29 and 32 percent increases in firearm violent crime
  and firearm robbery respectively. The increasing firearm violence is facilitated by a massive 35
  percent increase in gun theft (p=0.06), with further crime stimulus flowing from diminished police
  effectiveness, as reflected in a 13 percent decline in violent crime clearance rates (p=0.03). Any
  crime-inhibiting benefits from increased gun carrying are swamped by the crime-stimulating
  impacts.

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             More Guns, More Unintended Consequences: The Effects of
             Right-to-Carry on Criminal Behavior and Policing in US Cities

       By John J. Donohue, Samuel V. Cai, Matthew V. Bondy, and Philip J. Cook




    In 2019, police agencies in the United States reported nearly 300,000 aggravated assaults, rob-
  beries, and homicides committed with a firearm (Federal Bureau of Investigation, 2020). At the
  political epicenter of this social problem is the legal right of individuals to carry concealed hand-
  guns in public. Many economists, beginning with Lott and Mustard (1997), have attempted to
  measure the effect of Right-to-Carry (RTC) concealed handgun laws on violent crime (see Smart
  et al. (2020) for a serviceable review of the early literature on the topic). While much of this early
  literature found no statistically significant effects of RTC laws on crime rates (Dezhbakhsh and
  Rubin, 1998; Ludwig, 1998; Black and Nagin, 1998), the predominant conclusion from studies in
  the last five years has been that RTC laws increase violent crime.1 This more recent literature has
  benefited from 1) more complete data, which enables the use of longer panels with greater treatment
  variation as more states have passed RTC laws, 2) advances in policy evaluation, such as improved
  econometric techniques in model selection and standard error estimation, and 3) the development
  of new tools such as synthetic controls (Donohue, Aneja and Weber, 2019) and Bayesian methods
  (Schell et al., 2020).2 Using a state-level panel from 1979-2014, Donohue, Aneja and Weber (2019)
  estimated that RTC laws increased violent crime by 9.02 percent (p < 0.01) and provided event-
  study analyses that both supported the critical parallel-trends assumption and illustrated that the
  upward trend in violent crime began in the year following adoption of the RTC law. Since we
  now have five additional years of data beyond the 1979-2014 data period used by Donohue, Aneja
  and Weber (2019), we begin by running this same state-level panel data model over the 1979-2019
  period. The results are virtually identical: the static estimate shows that RTC laws increase violent
  crime by 9.25 percent (p < 0.01), and the event-study analysis shown in Figure 1 again highlights
  the validity of the model and buttresses the causal finding that RTC laws elevate violent crime.
    While the weight of the most advanced research on RTC laws now supports a finding that such
     1 See Table 1 of Donohue (2022) summarizing 14 recent papers that reach this conclusion.
     2 Schellet al. (2020) find that firearm homicides increased one year after implementation of RTC laws with probability of
  .99, but suggest that this effect weakens over time.
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  Figure 1. : The Impact of RTC Laws on Violent Crime, Donohue, Aneja and Weber (2019) model,
  1979-2019.
  Note: We regress crime on dummies for pre-and post-passage years and DAW covariates. Year 0 represents the first year with
  RTC in place at any time, meaning that in states that adopt after January 1, this will capture only a partial effect of RTC laws.
  We display the 95 percent confidence interval for each estimate using cluster-robust standard errors and show the number of
  RTC jurisdictions that contribute to each estimate.
  Source: Author-cleaned data set.



  laws generate net increases in violent crime, there has been relatively little work clarifying the
  mechanisms that lead to this outcome. Donohue, Aneja and Weber (2019) discussed a number of
  plausible pathways, ranging from increased violence and road rage by permit holders to diminishing
  police effectiveness as officers became less able or willing to engage in crime-suppressing activity
  after RTC adoption (see also Fridel, 2021). In addition, Donohue, Aneja and Weber (2019) drew
  upon survey data from Hemenway, Azrael and Miller (2017) to estimate that the increased gun
  carrying in the wake of RTC adoption would lead to an additional 100,000 guns stolen from permit
  holders each year. Additionally, Billings (2020), using rich data from a single county in North
  Carolina concluded that RTC laws facilitate gun thefts that stimulate violent crime increases. Of
  course, there can be crime-reducing benefits from gun carrying by private citizens if crimes are
  thwarted or deterred and criminals are captured or injured from defensive gun use, but if the
  current weight of the evidence is correct any such benefits are substantially offset by the crime-
  enhancing impacts of increased gun carrying. It is these pernicious mechanisms that this paper
  attempts to clarify and measure.
    To this end, we exploit differential timing in the adoption of RTC to examine the effect of
  concealed carrying on the rates of and mechanisms driving firearm and nonfirearm violent crime
  in America’s largest cities during the period from 1979 to 2019. We introduce an author-cleaned
                                                   2


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  dataset derived from agency-level Uniform Crime Reporting (UCR) and Supplementary Homicide
  Reports (SHR) records and perform a difference-in-differences (DiD) analysis to estimate the impact
  of RTC laws on firearm and non-firearm violent crimes, clearance rates (the rate at which police
  are able to identify and arrest the perpetrators of crime), and the monetary value of stolen guns.3

    We present evidence to suggest that the mechanisms of greater levels of gun loss and theft and
  reduced police effectiveness are potent drivers of increased crime following RTC adoption. We
  find that RTC laws cause a roughly 13 percent decline in the rates that police clear violent crime,
  suggesting that RTC laws strike at the very heart of law enforcement’s abilities to address criminal
  conduct. Moreover, this significant decline in police clearance rates is not simply a product of RTC
  laws encouraging more crime, which implies that the strains on police are due to more than simply
  an increase in the number of crimes. Even when we control for this increased violent crime rate,
  RTC laws still dampen the rate at which violent crime is cleared. We also find that the introduction
  of an RTC law elevates gun thefts by roughly 35 percent, introducing tens of thousands of guns
  into the hands of criminals or illegal gun markets each year.

    We also show RTC laws cause statistically significant increases in crime, thus indicating that
  the summation of these two (and other) criminogenic effects unambiguously dominate any crime-
  reducing benefits derived from criminals’ perceived increased probability that they will meet armed
  resistance while committing a crime or from actual incidents of effective defensive gun use. The rate
  of firearm violent crimes rises by 29 percent due to RTC, with the largest increases shown in firearm
  robberies. We address issues regarding the robustness of our findings to threats from heterogenous
  treatment effects, non-parallel pretrends, and other DiD assumptions using Goodman-Bacon (2021)
  decompositions and event-study analyses.

    Our paper offers several contributions. First, we illustrate that widespread gun carrying has many
  implications for the dynamics of crime that go beyond whether a permit-holder can defend against
  crime or uses a gun to cause harm in a moment of anger. Indeed, the effects of RTC laws that we
  are able to document most precisely—increased gun thefts and diminished police effectiveness—are
  largely caused by criminogenic mechanisms unleashed by even law-abiding concealed carry permit-
  holders.4 This paper is the first of which we are aware that provides credible causal estimates of
  the effects of RTC laws on gun theft or policing. Situating our findings within the Becker (1968)

      3 Note that in discussing our analysis and results, we make the simplifying assumption that the monetary value of guns
  stolen is directly proportional to the number of guns stolen.
      4 Recognizing the dangers to the public from stolen guns, Israel imposes substantial criminal penalties, including jail time,
  for negligent storage of weapons resulting in theft, which would include the common practices of many American RTC permit
  holders (and gun toters in permitless carry states) that elevate the risk of gun theft, such as leaving firearms in unlocked cars.
                                                                  3


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  crime model, we provide both a theoretical and empirical basis for understanding these effects.


    Second, our focus on major cities, where violent crime is most concentrated, stands in contrast
  to the vast preponderance of the existing literature, which has been focused on state-level and
  county-level panel data for the last several decades. County-level crime data have been shown to
  be marred by problematic imputation practices (Kaplan, 2021e). Kovandzic, Marvell and Vieraitis
  (2005) were among the most recent to examine the causal effect of RTC across major cities in the
  US.5 The study covered the period from 1980 to 2000 and used a linear spline model to identify
  the effect of RTC laws on trends in violent crime.6 Our current study, which relies on agency-level
  UCR data from 1979 to 2019, uses better quality data covering a longer time period, and presents
  findings on overall average treatment effects as well as event-study analyses.


    Finally, we seek to make a methodological contribution to the empirical literature through the
  application of rigorous new techniques of robustness testing for panel data policy analysis. We
  provide event studies to consider concerns regarding potential violation of parallel trends as well as
  Goodman-Bacon (2021) decompositions of our regressions into individual 2x2 treatment vs. control
  comparisons to 1) demonstrate the robustness of our findings to heterogenous treatment effects and
  2) consider the validity of our proposed counterfactual by performing weighted covariate balance
  testing. Our application of the insights gained from recent DiD econometric scholarship reinforces
  a large body of research finding that RTC laws elevate violent crime.


    The remainder of this paper is organized as follows. Section I presents a brief overview of
  concealed carry laws in the US. Section II presents the theoretical motivation for our study using
  the Becker (1968) economic model of crime. Section III describes the data used to complete our
  main empirical analysis. Section IV contains our empirical estimates. Section V discusses how
  our results conform to the outcomes predicted within our theoretical model and to the existing
  literature on the economics of crime. Section VI concludes.



      5 In their literature review, Smart et al. (2020) also note the findings of La Valle and Glover (2012) and La Valle (2013), but
  we find several serious flaws in their coding of the adoption of RTC laws that lead to the results being unreliable as estimates
  of the true effect of RTC laws on crime in US cities.
      6 KMV essentially found that each component of violent crime rose by roughly 1 percent per year following RTC adoption,
  except for aggravated assault which grew at twice that rate (and was the only one of the four estimates that was statistically
  significant). The specific estimated annual increment to crime for the four crime categories (with t statistics in parentheses)
  were 1.1 percent (0.80) for homicide, 1.0 percent (0.91) for robbery, 1.2 percent (1.33) for rape, and 1.9 percent (2.59) for
  aggravated assault, in their main specification. Regressions were “weighted by a function of population as determined by the
  Breusch-Pagan Test.”
                                                                  4


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                                                     I.   Background


    The United States has undergone a major shift in gun policy over the last four decades. In 1980,
  the vast majority of American states either banned the concealed carry of firearms or had laws that
  required someone who wished to carry a gun to apply for a permit and perhaps justify a need to do
  so or establish that the individual was a person of good character. Most states that initially allowed
  concealed carry tended to have may-issue laws, so called because they stipulated that authorities
  “may issue” concealed carry licenses under certain conditions, but did not guarantee it as a basic
  right. In contrast to may-issue regimes, RTC laws require that the state “shall issue” a license to any
  individual who requests one with certain narrow exceptions, such as those with felony convictions
  or underage individuals. For example, from 1870 to 1995, Texas banned carrying of firearms outside
  the home, with few exceptions. This applied to both openly carried and concealed firearms (Rivas,
  2019). In 1996, it transitioned to a RTC regime, thereby allowing concealed carrying of handguns,
  and in 2015 it endorsed open carry of firearms. Finally, in September 2021 the state adopted
  “permitless carry” allowing all citizens older than 21 to carry firearms without a license.7
    An extensive and highly successful gun lobby campaign designed to promote lagging gun sales
  gradually encouraged most states to adopt RTC laws. The gun lobbying campaign to promote
  RTC laws enlisted gun enthusiasts who believe the right to carry was a “principle of individual
  right, of personal honor” (Patrick, 2010) that could be advanced by promoting an individualistic
  interpretation of the Second Amendment (Charles, 2018). Politicians who supported expanding the
  right to carry often cited the Second Amendment as their rationale (Marley and Glauber, 2011) or
  asserted that these laws could protect civilians from crime.
    This last factor raises a possible difficulty for researchers if RTC adoption is endogenously linked
  to rising crime rates. However, the systematic review of the role of RTC laws in affecting crime
  that is now frequently cited in legislative hearings and court cases did not begin until the late
  1990s, by which time most states who would adopt RTC laws had already done so. Furthermore,
  RTC adoption came via different paths for different states (either court ordered or legislatively
  mandated), often only after repeated failed attempts, and was driven by a relatively small group of
  highly politically active progun operatives and citizens (Patrick, 2010). Additionally, the RTC laws
  present in the cities in our sample were adopted at the state level, suggesting that forces driving the
  passage of state RTC laws were at least one step removed from the forces driving city crime trends.

      7 Donohue, Aneja and Weber (2019) analyzed the statutory history of RTC laws in conjunction with an extensive search of
  newspaper archives to determine the dates of concrete changes in concealed carry law through 2014. We update this data to
  reflect relevant legal changes since 2014.
                                                              5


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           Figure 2. : Trends in Violent Crime in 30 RTC Cities Prior to Passage of RTC Law
  Note: Crime rates are shown as a percent change from the 10th year prior to RTC passage. Cities that pass RTC laws in
  the same year are collapsed into a single population-weighted unit for clarity. The 1996 group consists of: Austin, Charlotte,
  Dallas, El Paso, Fort Worth, Houston, Las Vegas, Oklahoma City, Philadelphia, Raleigh, San Antonio, and Tulsa. Seattle
  (1961), Indianapolis (1980), Jacksonville (1988), Miami (1988), Louisville (1997), and Omaha (2007) are omitted due to lack of
  sufficient data.
  Source: Author-cleaned data set.




  Indeed, Figure 2 visually shows that violent crime rates do not follow any noticeable pattern in
  cities in the ten years prior to RTC adoption. Thus, we conclude that the adoption of RTC across
  cities in our sample can be considered reasonably exogenous to the outcomes we study. In our
  section on robustness, we produce event-study plots and perform qualitative tests of conditional
  parallel pre-trends to further justify our empirical strategy.


                                              II.    Theoretical Motivation


    We draw insight from the Becker (1968) crime model to consider theoretically how a rational
  criminal may react to the passage of RTC laws.8 Becker models the expected utility of an individual

      8 Note that the Becker model is not without its drawbacks, as it does not provide a direct basis for understanding the
  rate of committing crime. The framework models a single individual making a yes/no decision about whether to commit a
  crime, but in reality potential criminals choose from a rich environment of possibilities. Further, the model does not consider
  how committing crimes in the past affects the decision to commit a crime in the present, which Mocan, Billups and Overland
  (2005) have tried to overcome in developing a dynamic economic model of crime. Nevertheless, we inform our discussion of the
  mechanisms by which RTC laws influence crime using the Becker model because its parsimonious nature enables us to provide
  some useful predictions that find support in our empirical analysis.
                                                                6


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  considering crime as


  (1)                                        EU = pU (Y − f ) + (1 − p)U (Y )


  where p represents the probability of getting caught, Y represents the income associated with com-
  mitting a crime,9 and f represents the average sanction associated with getting caught committing
  a crime. For our analysis, we make some small modifications to Becker’s model: we define income
  as net income after costs, and we also split f and p into two separate sanctions and probabilities:
  fj represents legal sanctions (like jailtime), while fs represents the sanction of being shot at by a
  firearm (and possibly injured or killed) while committing a crime, and p(j) and p(s) represent the
  probabilities of each of these events respectively. Thus, we redefine expected utility of crimes as10


  (2)                                     EU = U (Y ) − p(j)U (fj ) − p(s)U (fs )


    Using this framework, we consider the expected utility of crime before and after an RTC regime.
  Let variables denoted with 0 signify that they refer to post-RTC implementation. Then the change
  in expected utilities due to an RTC regime can be modeled as


  (3)                  EU 0 − EU = U (Y 0 − Y ) − [p0 (s) − p(s)]U (fs ) − [p0 (j) − p(j)]U (fj )
                                   | {z } |                 {z        } |            {z        }
                                               1                      2                           3


  Our following analysis considers the deterrence effect and criminal response to RTC laws, and
  identifies under what conditions EU 0 − EU > 0 (when expected utility grows under an RTC
  regime).
    The easier access to guns that RTC laws enable can trigger both stimulants to and constraints
  on crime. RTC laws can suppress overall violent crime by deterring, thwarting, or incapacitating
  criminals due to the enhanced risk of attack from an armed victim, which increases the cost of
  crime. Within the above framework, if an RTC law raises the probability of adverse outcomes
  for criminal actors, p0 (s) > p(s), and so Term 2 will reduce the net utility of crime under a RTC
  regime, all else equal. An unintended consequence of the enhanced potential danger from permit
  holders, however, may be that criminals arm themselves in response to this increased perceived
     9 As Becker notes, this income can be both “monetary and psychic.”
    10 Suppose  that p(s) and p(j) are independent. Then we can decompose the expected utility into the four distinct possibilities,
  (1 − p(j))(1 − p(s))U (Y ) + p(j)(1 − p(s))U (Y − fj ) + (1 − p(j))p(s)U (Y − fs ) + p(s)p(j)U (Y − fs − fj ), which simplifies to
  Expression (2) if one assumes linear addition of utilities, e.g. U (fj ) + U (fs ) = U (fj + fs ).
                                                                  7


                                                                                                                      Exhibit D
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  threat, elevating the proportion of crime committed with a firearm. Additionally, there are at
  least two other mechanisms tied to the criminal response to RTC laws that may have damaging
  criminogenic effects.11
    First, RTC laws may decrease the cost of obtaining firearms for criminals. We refer to this
  mechanism as the “facilitation effect.” Billings (2020) establishes a strong link between RTC
  permits leading to increased gun thefts using 2007-2011 data from Charlotte, North Carolina.
  Increased legal carrying of firearms outside the home may lead to more opportunities for gun theft,
  particularly from vehicles (Elinson and McWhirter, 2022). The increased supply of illegally obtained
  firearms would be expected to decrease the price of illegal firearms on the informal market, thereby
  facilitating illegal firearm use even beyond the original gun thief. Lowering the cost of committing
  a firearm crime would increase the net income of committing a firearm crime (i.e. Y 0 > Y for
  firearm crimes), and have no effect on the utility of non-firearm crimes. It is of note that only 40
  percent of robberies are committed with a firearm in our sample, despite the fact that firearms
  greatly increase payoff to robbery by increasing the probability of “success” and allowing criminals
  to pursue more robust targets like commercial establishments (Cook, 1987, 1991). This suggests
  that firearms are scarce to robbers, and that the availability of firearms is an important margin in
  criminals’ decision-making on whether to pursue more lucrative firearm crimes. Additionally, RTC
  laws may decrease the risk of carrying an illegal firearm, as police may be less proactive about
  searching individuals for illegal firearms.
    Second, increased gun carrying by citizens will increase crime if it impairs police effectiveness
  in any of a number of ways.12 RTC laws may generate a host of demands on police time and
  resources that reduces the amount of time they have to fight crime. Processing complaints about
  the increased gun thefts, accidental discharges and injuries, processing RTC permit applications,
  and taking time to check for permit validity by those carrying guns will all encumber police resources
  (Donohue, Aneja and Weber, 2019). Additionally, police officers may be more likely to shy away
  from confronting (possibly) armed citizens, investigating certain suspicious activities, or engaging
  in effective crime-fighting actions due to the increased risk that guns pose to them. Moreover,
  Doucette et al. (2022) found that adoption of permitless carry laws between 2014 and 2020 caused
  a 13 percent average increase in officer-involved shootings and argued this effect may be because
  concealed carrying increases officers’ perceived risk of coming under fire in the line of duty. Increased

    11 For a more thorough discussion of the theoretical mechanisms for RTC laws to affect crime, see Donohue, Aneja and Weber
  (2019).
    12 An established literature that has shown, on the margins, additional policing reduces crime rates (Levitt, 1997; Mello,
  2019; Klick and Tabarrok, 2005).
                                                               8


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  killings by police can strain relations with the community in ways that impair the solving of crimes.
  If RTC laws degrade police effectiveness through this array of mechanisms, then the probability of
  facing legal sanctions decreases. In the context of our model, p0 (j) < p(j) and Term 3 will increase
  EU 0 − EU .13
    The findings from our model indicate that if violent crime increases due to an RTC law, then
  the criminal response to RTC laws — whether through the facilitation effect or diminished police
  effectiveness — is unambiguously larger than the impact of the deterrence effect for the marginal
  potential criminal. Given our focus on illuminating empirically the mechanisms that generate the
  net adverse consequences of RTC laws, we do not model the effects of RTC laws on permit holders
  since our data does not directly address their behavior. We recognize, however, that increased
  carrying of guns by this group may also lead directly to more criminal acts, since a person legally
  carrying a concealed weapon would have more opportunity to reach for a gun in a moment of anger
  (e.g when experiencing road rage (Goodman, 2022)), leading to more assaults and homicides.14
  We also note that Becker’s framework only models a single individual, and we expect there to
  be heterogeneity in how perceptions of expected utility will change in response to RTC laws. In
  particular, we consider how career criminals may react differently than other individuals in our
  discussion section, below.

                                                            III.    Data


    The primary data used for our analysis comes from the 47 U.S. cities with a 2019 population
  estimate of 400,000 or more.15 We take agency-level monthly crime, clearance, and stolen property
  data cleaned by Jacob Kaplan from the FBI Uniform Crime Reporting (UCR) Return A files
  (Kaplan, 2021b,c) and Supplementary Homicide Reports (SHR) (Kaplan, 2021d) and aggregate to
  the city-year level using an agency-city crosswalk published by the Bureau of Justice Statistics
  (2018). We use SHR data for homicides because UCR data do not disaggregate firearm and
     13 It is also possible, however, that the probability of going to jail increases for a criminal who is shot or constrained by
  armed resistance. If this is the case, then an RTC law will have two effects on p(j) that work in opposite directions, leaving the
  direction of term 3 ambiguous.
     14 Changes in permit holder behavior may also indirectly influence the utility for other individuals. First, permit holders
  may be emboldened to go to higher crime areas or carry more valuables, which can indirectly increase crime committed by
  others by increasing the availability of suitable targets and the size of payouts. Second, if the victim is carrying a gun on their
  person or in their vehicle, this can be taken as part of the robbery, increasing the expected income of the robbery (Ludwig and
  Cook, 2004). These mechanisms would increase the net expected income of robberies, particularly for firearm robberies, since
  robbers with firearms are less likely to shun a firearm-carrying victim. We do not address these mechanisms in our modeling,
  but they would act in the same direction as our theoretical and empirical findings, since the RTC-induced increase in income
  from committing a crime would rise (Y’ increases), just as it does with the facilitation effect.
     15 While there are benefits to using more agencies to increase the power of analysis or to observe non-urban settings, there are
  also potential costs. Specifically, UCR agency crime data, whose biases in imputation procedures may already be attenuating
  our estimates (Boylan, 2019a), appears to have even greater reporting flaws for agencies serving smaller populations (Boylan,
  2019b).
                                                                   9


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  nonfirearm homicides.16
    Our choice of control variables makes only one addition to the nine socioeconomic and demo-
  graphic controls used in Kovandzic, Marvell and Vieraitis (2005) (hereinafter “KMV”), one of the
  most recent city-level studies of the effect of RTC laws. The KMV nine controls are the percentage
  of the population made up of female headed households, the percentage of people living alone, per
  capita income, percentage of people in poverty, and four demographic controls, all at the city level
  and obtained through Census and American Community Survey (ACS) data, as well as one-year
  lagged incarceration rates at the state-level from the Bureau of Justice Statistics. We add one-
  year lagged sworn officers per capita at the city level obtained from UCR police employment data
  (Kaplan, 2021a), due to the well-established relationship between police and crime.17
    We apply a cleaning procedure that removed crime observations that were sharp discontinuities
  from the preceding and following year. We also removed all observations for a particular city-crime
  if that city-crime was missing more than 15 observations out of the 41 total city-crime observations
  from 1979 to 2019. This is because we suspect that the data with high degrees of missingness
  would lead to unreliable estimates for the years in which the particular crime data for that city
  does exist. This applies to all variables for Louisville; to homicide (and by extension, violent crime)
  in Jacksonville, Miami, and Omaha; to violent crime clearance in Chicago; and to the value of
  stolen guns in Chicago, Minneapolis, New York, Omaha, San Jose, and Washington DC. Further, if
  a city is missing data for any robbery-related outcome variable (total robberies, firearm robberies,
  or nonfirearm robberies) in a given year, we remove the data for all robbery related variables for
  that city-year to maximize interpretability of results within different robbery regressions. We do
  the same for homicide and aggravated assault. More details on our data cleaning procedure can be
  found in Online Appendix A.
    Table 1 reports summary statistics from UCR crime, clearance, and stolen property data.18
  Column 1 shows overall values for our entire sample, and columns 2-5 show these values for both
  1979 and 2019 for never-adopters (the cities in our sample that were never covered by RTC laws),
  and for switchers (cities in our sample that adopted an RTC law between 1979 and 2019). A survey
  of the difference in the change in crime between 1979 and 2019 for never-adopting and switching
     16 While we recognize the SHR homicide data is less reliable than the CDC’s Vital Statistics data, only the former is available
  at the city level.
     17 In Online Appendix B, we show that that the removal of police as a control variable only increases the magnitude of our
  findings of the effect of RTC laws on crime.
     18 UCR defines aggravated assault as an “unlawful attack by one person upon another for the purpose of inflicting severe or
  aggravated bodily injury. The UCR Program further specifies that this type of assault is usually accompanied by the use of
  a weapon or by other means likely to produce death or great bodily harm.” This is distinguished from simple assaults, which
  UCR defines as “[a]ssaults that do not involve the use of a firearm, knife or cutting instrument, or other dangerous weapon,
  and in which the victim did not sustain serious or aggravated injuries” (Federal Bureau of Investigation, 2020).
                                                                 10


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  cities provides a preview of our main results reported in section IV, below. Violent crime decreases
  across both samples, but the never-adopting cities show much larger decreases, particularly for
  firearm violent crimes. Table 1 reveals that police effectiveness as measured by the clearance rates
  changed dramatically for the two sets of cities from 1979 to 2019. Over this period, clearance
  rates improved in never-adopting cities but worsened in cities adopting RTC laws. While the value
  of stolen guns per capita declined in both groups of cities, the decrease is larger in never-treated
  cities, both in absolute and percentage terms. These simple comparisons are consistent with our
  theory of the criminogenic effects of RTC laws, which is more fully explicated by the more complete
  statistical analysis below.




                                              Table 1—: Summary Statistics

            Variable               Overall    Never-Adopters 1979     Never-Adopters 2019     Switchers 1979    Switchers 2019
         Violent Crime               11.28           15.39                    6.04                  8.87              7.81
                                     (6.06)          (4.06)                  (2.59)                 (3.9)            (3.58)
     Firearm Violent Crime            3.81            4.53                    1.12                  3.66              3.44
                                     (2.57)          (1.04)                  (1.24)                 (1.9)            (2.23)
            Robbery                   5.19            9.25                    2.13                  4.84              2.27
                                     (3.59)          (2.94)                  (1.42)                (2.53)              (1)
        Firearm Robbery               2.08            3.05                    0.49                  2.23              1.05
                                     (1.56)          (0.79)                  (0.75)                (1.34)            (0.61)
            Homicide                 15.98           23.06                    6.61                 23.95             13.31
                                    (11.05)          (5.72)                  (9.54)               (11.79)            (7.81)
       Firearm Homicide              11.16            13.45                   4.74                 15.75             10.45
                                     (8.51)          (3.87)                  (8.79)                (8.51)            (6.67)
       Aggravated Assault             6.05             5.9                    3.84                   3.9              5.27
                                     (3.18)          (1.38)                  (1.21)                 (1.9)            (2.69)
  Firearm Aggravated Assault          1.67            1.35                    0.59                  1.28              2.21
                                     (1.21)          (0.45)                  (0.45)                (0.72)            (1.65)
    Violent Crime Clearance           0.41             0.32                   0.51                  0.46              0.36
                                     (0.11)          (0.09)                  (0.14)                (0.09)             (0.1)
       Robbery Clearance              0.26            0.19                    0.39                  0.34              0.27
                                     (0.09)          (0.06)                  (0.12)                 (0.1)             (0.1)
       Homicide Clearance             0.66            0.61                    0.78                  0.75              0.61
                                     (0.16)          (0.07)                  (0.16)                (0.11)            (0.15)
  Aggravated Assault Clearance        0.52             0.49                   0.55                  0.61              0.41
                                     (0.13)           (0.1)                  (0.15)                (0.11)            (0.11)
        Stolen Gun Value            683.45           772.62                  466.91               986.07            790.58
                                   (466.89)         (518.16)                (371.86)             (538.45)           (473.8)
  Note: All values are weighted by population, excluding values removed via cleaning procedure (see Online A). The units for
  violent crime, robbery, aggravated assaults are incidents per 1,000 population, while the units for homicide are incidents per
  100,000 population. The unit for stolen guns is thousands of nominal dollars of firearms stolen per 1,000 population. Clearance
  rates are proportions between 0 and 1. Population-weighted standard deviations in parentheses. Owing to missing data on
  stolen guns for the large city of Los Angeles, the values reported in columns 2 and 4 for stolen guns are not 1979 values but
  1986 values (the first year Los Angeles reported stolen guns data).




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                                                 IV.     Empirical Estimates


                                                         A.   Methodology


    Our two-way fixed effects model takes the following form:


  (4)                                      yit = βRT Cit + Xit γ + αt + δi + it


  where yit represents some outcome variable in unit i at time t and X represents a set of covariates
  and a constant.19 The coefficient β reflects the average estimated treatment effect of adopting
  a RTC law on crime, and α and δ represent time and city fixed effects, respectively. For total
  crimes, firearm crimes, nonfirearm crimes, and clearance rates, we use 100 times the logged rate as
  the dependent variable; for stolen guns, the dependent variable is 100 times the logged monetary
  value of stolen guns per 1,000 people. We define violent crime as the sum of robbery, homicide,
  and aggravated assault; we exclude rape due to the change in definition of rape in UCR coding in
  2013 and because rape data is not disaggregated by firearm and nonfirearm crime.20 We cluster
  robust standard errors at the state level, the level at which “random assignment” occurs, since all
  RTC laws in our study are state-level changes. All regressions are weighted by time-varying city
  populations.
    Our RT C treatment variable is coded as a 0 for each observation where concealed carrying is
  prohibited or a may-issue regime is in place and is coded as a 1 starting from when a “shall-issue”
  law goes into effect and remains a 1 even if a city moves to a permitless-carry system.21 Since RTC
  laws do not always go into effect at the start of the year, we code the first year as a fractional value
  that reflects the proportion of the year that the law is in place. Carrying forward our example
  of Texas from Section I, the RTC variable for Dallas is coded as a 0 in our sample from 1979
     19 While KMV use the natural logarithms of their control variables, we opt for unlogged covariates instead, as we expect
  that using unlogged control variables will intuitively be more likely to yield conditional parallel trends between our treated and
  nontreated units. Additionally, KMV include the lagged dependent variable as a control, but we opt for static panel model
  instead, since we do not expect that there are strong dynamic mechanisms causing current values of our dependent variables to
  be dependent on previous values, and the interpretation of the coefficients of the dynamic model is more difficult to conceptualize
  and compare to other results in the literature.
     20 There are two other reasons why empirical researchers may want to consider rape separately from other categories of
  violent crime. First, the data quality for this crime are questionable. As the head of the Bureau of Justice Statistics stated
  to the National Research Council: “[rape and sexual assault] remain the darkest of the ‘dark figure’ of crime” (Kruttschnitt
  et al., 2014). Second, legal and social changes have encouraged women to report sexual violence, and police have become more
  likely to report assaults (Clay-Warner and Burt, 2005; Miczek, Reiss and Roth, 1993, 408-416). Thus, trends in the reporting
  of sexual violence could quite plausibly be changing temporally and geographically throughout our study window to a greater
  degree than for other types of crime. The study of the effect of RTC laws on this category of violence merits further research
  using more suitable data.
     21 The treatment variable is monotonic because no cities in our sample moved from a less-restrictive regime back to a more-
  restrictive one. This was the categorization scheme adopted in the original Lott and Mustard (1997) paper, maintained in the
  National Research Council et al. (2005) report on Firearms and Violence, and followed in Donohue, Aneja and Weber (2019).
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  until 1995, inclusive, during which time the Lone Star State prohibited concealed carry, and then
  switches to a 1 starting in 1996 because Texas became a shall-issue state on January 1, 1996. While
  different methods of capturing the time-varying effect of RTC are possible, we choose to estimate
  the average effect of RTC laws using a static model and then to provide event-study analyses that
  illustrate the change in the effect of RTC laws over time.


             B.   The Impact of RTC Laws on Violent Crime Rates and Its Underlying Mechanisms



  Violent Crime. — Table 2 provides our first set of empirical results for our city-level analysis, using
  the specification in Equation (4). Our point estimates for violent crime, robbery, and aggravated
  assault indicate overall crime rises roughly 11 to 15 percent, with the firearm component increasing
  by roughly twice that level. While point estimates for nonfirearm crimes in these three categories
  are positive and sizable, the similarly large standard errors render inconclusive our findings on
  nonfirearm crimes. For violent crime and robbery, the roughly 30 percent increases in firearm
  crime are statistically significant at the 0.05 level and for firearm aggravated assault the 24.5 percent
  estimated increase is significant at the 0.01 level. Homicide is estimated to rise by 9 percent and
  firearm homicide by 13 percent, and nonfirearm homicide is estimated to drop by 3.4 percent, but
  these coefficients are not statistically significant at conventional levels (with p-values of 0.39, 0.29,
  and 0.70 respectively).22 Robberies is the violent crime subtype with the largest estimated impact
  of RTC laws, for both total crimes and firearm crimes. In our discussion, we suggest that the
  criminogenic mechanisms we proposed in our model may be particularly strong among individuals
  prone to commit robberies relative to individuals prone to commit other violent crimes.
    Having confirmed the findings of the recent literature on the impact of RTC laws on violent
  crime rates, we now present empirical evidence concerning two possible criminogenic mechanisms:
  declines in police effectiveness and the facilitation effect.



  Declines in Police Effectiveness. — To empirically estimate the impact of RTC laws on police
  effectiveness, we use the same specification in Equation (4), using police clearance rates as our
  outcome variables. The first four columns of Table 3 provide these estimates controlling for the
  same set of covariates used in our crime regressions above. Across the four violent crime categories,

     22 If one were just looking at the 3 homicide point estimates in Table 2, one might interpret them to mean that RTC laws
  have a very large impact in increasing firearm murders by over 12.5 percent but perhaps one-quarter of this increase comes
  from killers switching from other methods to firearms to complete their crimes. The -3.4 value for nonfirearm doesn’t convey
  much information, though, since its standard error is more than 2.5 times as great as the point estimate.
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                         Table 2—: Effect of Right to Carry on Crime, OLS Estimates
                                                  100 times log rate of ...
                                      Violent Crime                         Robbery
                           Total        Firearm        Nonfirearm          Total        Firearm        Nonfirearm
                RTC        12.54          28.78           6.86             14.86          31.91           6.96
                          (7.48)         (11.94)         (6.71)           (10.02)        (14.62)         (7.88)
                         p = 0.10       p = 0.02        p = 0.31         p = 0.14       p = 0.03        p = 0.38

                 N         1,673          1,673            1,673           1,811          1,811            1,811
                 R2        0.87            0.86             0.84           0.90            0.86            0.91
                                         Homicide                                  Aggravated Assault
                           Total        Firearm        Nonfirearm          Total        Firearm        Nonfirearm
                RTC        8.52           12.62          −3.43             11.18          24.51           6.16
                          (9.75)         (11.75)         (8.86)           (7.00)         (9.30)          (7.87)
                         p = 0.39       p = 0.29        p = 0.70         p = 0.12       p = 0.01        p = 0.44

                 N         1,740          1,740            1,740           1,824          1,824            1,824
                 R2        0.85            0.83             0.82           0.77            0.84            0.72
  Note: City-level panel data estimates with city and year fixed effects, 1979-2019. Cluster-robust standard errors with clustering
  at the state level shown in parentheses. All models control for lagged sworn officers per capita as well as a set of nine unlogged
  KMV controls that are not shown to conserve space. Jacksonville, Louisville, Miami, and Omaha are dropped from homicide
  and violent crime regressions because of missing homicide data. Louisville is also dropped from robbery and aggravated assault
  regressions due to missing data. Violent crime, robberies, and aggravated assaults are measured as crimes per 1,000 population;
  homicides are measured per 100,000 population.




  clearance rates fall by roughly 7.5 to 15 percent due to RTC laws.23 The statistically significant 13.0
  percent drop (p = 0.03) in the clearance rate of all violent crimes is striking. Given the generally
  low rate at which violent crimes are cleared, these RTC-induced reductions in the ability of police
  to detect and sanction violent criminals are noteworthy and troubling.
    One reason that clearance rates might fall in the wake of RTC adoption is that the crime increases
  resulting from the new regime burdens the police, thereby impairing their ability to clear crimes
  at the same rate. For example, the police only have the ability to solve 40 out of 100 crimes, if
  crime rises by 20 percent and they still can only solve 40 crimes, the clearance rate would fall from
  40 percent to 33 percent (40 out of 120). To determine if this factor alone explains some or all
  of the RTC-induced drop in clearance rates, columns 5-8 in Table 3 re-estimate our clearance rate
  regressions controlling for violent crime rates. The resulting estimates show that the estimated
  decline in the clearance rate ranges from 7 to 14 percent.24 This suggests that the RTC-triggered

     23 Note that while our preceding analysis used SHR homicide data, the variable for violent crime clearance rate in this section
  is based on UCR homicide data, since those are the only homicide clearance data available.
     24 Note that the regression estimate on the column (5) controlling for violent crime is likely biased downward by the presence

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  decline in police effectiveness is primarily caused by factors other than the overall increase in
  violent crime that RTC laws stimulate, such as the burdens on police time caused by greater gun
  carrying, police hesitation to engage with a more heavily armed civilian population, or weakened
  police-community relations.


                                        Table 3—: Effect of Right to Carry on Clearance Rates
                                                                    100 times log clearance rate for ...

                           Violent Crime    Robbery    Homicide   Aggravated Assault     Violent Crime     Robbery     Homicide   Aggravated Assault

                                (1)           (2)        (3)             (4)                   (5)            (6)        (7)             (8)
  RTC Law                     −12.96         −14.90     −7.48           −14.29               −11.79         −10.41      −6.79           −13.64
                              (5.89)         (6.63)     (4.39)          (7.54)               (5.98)         (6.51)      (4.22)          (7.52)
                             p = 0.03       p = 0.03   p = 0.09        p = 0.06             p = 0.05       p = 0.12    p = 0.11        p = 0.07

  Log Violent Crime Rate                                                                     −6.91          −31.47      −4.48           −4.65
                                                                                             (6.02)         (10.08)     (5.03)          (8.63)
                                                                                            p = 0.26       p = 0.002   p = 0.38        p = 0.60

  Observations                 1,484         1,667      1,550           1,667                1,484           1,667      1,550           1,667
  R2                           0.55          0.58       0.40            0.44                 0.55            0.61       0.40            0.44
  Adjusted R2                  0.52          0.56       0.36            0.41                 0.52            0.59       0.36            0.41

  Note: City-level panel data estimates with city and year fixed effects, 1979-2019. Cluster-robust standard errors with clustering
  at the state level shown in parentheses. All models control for lagged sworn officers per capita as well as a set of nine unlogged
  KMV controls but are not shown to conserve space. Jacksonville, Miami, and Omaha are dropped from homicide clearance and
  violent crime clearance regressions because of missing homicide data. While Chicago is included in robbery clearance, homicide
  clearance, and aggravated assault clearance regressions, it is dropped from violent crime clearance regressions because when
  these categories are combined, the amount of missing data is excessive.




  Increases in Gun Theft. — We also estimate the impact of the facilitation effect by examining
  the effect of RTC on reported gun theft. In Table 4, we regress 100 times the logged monetary value
  of stolen guns per 1,000 persons on our RTC dummy, controlling for city and year fixed effects, and
  our standard set of covariates. We find that RTC laws are associated with a sizeable 35 percent
  increase in stolen gun value per capita (p = 0.06). Assuming a constant average value per stolen
  gun, then for roughly every three guns that were being stolen before RTC, four are being stolen
  after. And if the magnitude of our finding on the effect of RTC laws on stolen guns in major US
  cities is roughly the same as the effect of RTC laws on stolen guns across the US, then we would
  predict that over 100,000 guns were stolen in 2015 due to RTC laws,25 quite similar to the estimate

  of ratio bias. This occurs because overall violent crime is in the denominator of the clearance rate dependent variable and in the
  numerator of the independent variable, which will bias the estimate downward because violent crime is measured with error.
  The same rationale also applies, albeit to a lesser extent, to the regressions in columns (6)-(8), since violent crime will also be
  correlated with the component crimes of overall violent crime.
     25 Hemenway, Azrael and Miller (2017) estimates that 380,000 guns were stolen in the US in 2015, and Bureau of Alcohol,
  Tobacco, Firearms and Explosives (2015) indicates that over 85 percent of National Firearms Act registered weapons were from
  RTC states. If we assume that this suggests that 85 percent of gun thefts occurred in RTC states and that RTC laws increased
  gun thefts by 35 percent, then there were about 113,000 RTC-induced gun thefts in 2015. Given the upward trend in gun thefts
  that Azrael and Miller observed over their data period, as well as the increased number of RTC and permitless jurisdictions
  with the attendant greater carrying of guns outside the home, the total number of gun thefts in the country and those induced
  by more permissive gun carrying are likely higher today than these figures based on 2015 data.
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  provided by (Donohue, Aneja and Weber, 2019) based on survey data showing higher rates of gun
  thefts for those who take the gun outside the home.26


                                 Table 4—: Effect of Right to Carry on Gun Theft
                                                  100 times log dollar value per 1,000 persons of ...

                                                                     Stolen Guns

                                  RTC Law                                34.77
                                                                        (18.36)
                                                                       p = 0.06

                                  Observations                          1,538
                                  R2                                    0.78
                                  Adjusted R2                           0.77
  Note: City-level panel data estimates with city and year fixed effects, 1979-2019. Cluster-robust standard errors with clustering
  at the state level shown in parentheses. All models control for lagged sworn officers per capita as well as a set of nine unlogged
  KMV controls but are not shown to conserve space. Chicago, Louisville, Minneapolis, New York, Omaha, San Jose, and
  Washington DC are dropped because of excessive missing data.




                                             C.    Addressing Potential Concerns


    We supplement our main empirical analyses with an event-study analysis as well as Goodman-
  Bacon (2021) decompositions of our regressions. The event-study analysis gives us a framework
  for investigating the validity of the conditional parallel trends assumption in our empirical context
  as well as the evolution of the impact in RTC laws over time. Goodman-Bacon (2021) decomposi-
  tions provide insight into the robustness of our regressions to heterogenous treatment effects. We
  also perform covariate balance tests using the weights obtained from the Goodman-Bacon (2021)
  decomposition to assess how well the regression counterfactual matches the treatment group on
  observable characteristics.



  Event-Study Analysis. — We employ an event-study design to allow us to inspect the stability
  of our pre-passage time trends and examine how the impact of RTC law evolves over time. The
  findings of a DiD OLS design such as those presented in Table 2 depend on the following assumption:
  conditional on covariates, if treated units never adopted the treatment, their outcomes would have
  evolved in parallel to the untreated units. In our empirical context, this assumption might not hold
  if, for instance, selected states were experiencing a secular increase in violent crime rates in their

    26 The specific estimate in (Donohue, Aneja and Weber, 2019) was that of the roughly 400,000 guns stolen each year, the
  RTC-induced increase in thefts had increased that number from 300,000 to 400,000.
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  major cities and adopted RTC laws as a response. As stated previously in Section I, we argue that
  the adoption of RTC laws is unrelated to pre-existing crime trends.

    While this parallel trends assumption cannot be tested directly because we cannot observe the
  counterfactual city, we can examine whether conditional parallel trends held in the period prior to
  RTC adoption. To do this, we ran regressions including the values on yearly dummy variables for
  each of the 10 years prior to RTC adoption to 10 years after RTC adoption as well as catch-all
  variables for 11 or more years before and 11 or more years after RTC adoption, to measure the
  dynamic effect of the policy change in the cities that switched RTC laws during our study window.
  The dummy for one year prior is omitted, so all coefficients are normalized to the value in the
  year prior to RTC adoption. Equation 5 shows the model used for our analyses: let AdoptY ear be
  the rounded year of RTC implementation for the cities that came under a RTC regime during our
  1979-2019 data period, and equal to zero for all other cities. That is, with some shorthand notation
  for the “11-or-more” variables, we computed the least squares fit for:

                                X
  (5)       yit =                                    βk 1[t = AdoptY eari + k] + Xit γ + αt + δi + it
                    k∈{−11+ ,−10,...,10,11+ }\{−1}



    We then plotted the point estimates and confidence intervals of each of the yearly dummies βk .
  Figure 3 presents these event-study estimates for the firearm violent crime and firearm robbery
  rate. We see that in both cases, the trend is flat in pre-passage years and rises sharply following
  RTC adoption. We find a similar pattern for overall robberies and overall violent crime rates, as
  well as overall aggravated assault and firearm aggravated assault rates. Our plots suggest that the
  adoption of RTC laws leads to sharp increases in these crime rates in the first three years, followed
  by a far more slowly rising crime rate thereafter. A similar pattern is also seen for both clearance
  rates and stolen guns. The finding that in RTC-adopting cities crime clearance starts dropping
  and the value of stolen guns starts increasing at the same time crimes start rising lends support to
  our hypothesis that declines in police effectiveness and the facilitation effect are key mechanisms
  by which RTC laws generate increased violent crime.

    A standard test for assessing the parallel trends assumption is to establish that one cannot reject
  the assumption that the yearly dummies from two up to five years prior to adoption are jointly
  different from zero. With the exception of nonfirearm aggravated assault, we find non-significance
  at the ten percent level for all F-tests on our crime rate, clearance rate, and stolen guns outcome
  variable regressions. Event-study plots and F-tests for all outcome variables are provided in Online
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                (a) Firearm Violent Crime                                          (b) Firearm Robbery

             Figure 3. : Firearm Crimes Rise Sharply at the Point of Adoption of RTC Laws
  Note: 95 percent confidence intervals with cluster-robust standard errors displayed. The number of switcher cities contributing
  to each coefficient are indicated on the chart.
  Source: Author-cleaned data set.




  Appendix D.
    Beyond our F-tests and visual inspections of the event-study analyses, we also note that for all our
  statistically significant outcome variables, any deviations from parallel pretrends are small relative
  to the treatment effect. Manski and Pepper (2018) used partial identification analysis to study the
  effect of RTC laws on crime in three states (albeit using an incorrect date for RTC passage for
  the state of Virginia). As a quantitative analysis in the spirit of Manski and Pepper (2018), we
  consider the magnitude of our estimated treatment effects relative to any prepassage deviation from
  parallel pretrends. For example, consider how our point estimate that RTC laws increase firearm
  violent crime by 28.96 percent compares to the largest deviation from zero in any of the the five
  placebo years prior to RTC passage, θ̂ = max{|β̂−5 |, ..., |β̂−2 |} = 2.50. The estimated treatment
  effect is 28.96/2.50 = 11.58 times as large as this θ̂, meaning that the magnitude of the deviation
  from parallel trends in the post-treatment period that would be required to reverse the sign of our
  average treatment effect is more than 11 times as large as any deviation observed in the five years
  prior to passage.



  Heterogeneous Treatment Effects. — Goodman-Bacon (2021) illustrates how heterogeneous
  treatment effects and trends could undermine the robustness of the staggered DiD OLS estimator
  of the average treatment effect on the treated (ATT), and provides a method for decomposing the
  estimates to assess their validity. Goodman-Bacon demonstrates that the overall ATT estimate is
  a weighted average of many “2x2” DiD comparisons divided into the following five categories:
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    1) Timing Group vs Timing Group: This is the combination of 2 different cases:

         a) An earlier treated group as the treatment group with a later treated group as a control;
            or

         b) A later treated group as the treatment group with an earlier treated group as the control

    2) A treated group as the treatment group with the always-treated group as the control;

    3) A treated group as the treatment group with the never-treated group as the control;

    4) The always-treated group as the treatment group with the never-treated group as the control;

    5) Within Timing Groups: using differences in covariates as variation, this category compares
       two units that implemented an RTC law at the same time to each other.

    Only comparison 3 (treated group vs. never-treated group) remains unbiased if treatment effects
  change over time. How heavily weighted a 2x2 DiD comparison will be is related to the population of
  the control and treatment units in that comparison, as well as the timing of the change in the RTC
  law in the treatment group (since groups that change their treatment indicator in the middle of the
  time frame of a study tend to be more heavily weighted than those who changed their treatment
  indicator at the beginning or end of the study period). All weights vary between 0 and 1 and sum
  to 1. Note that due to limitations in the Stata program “BACONDECOMP” (Goodman-Bacon,
  Goldring and Nichols, 2019), we are unable to use population-varying weights for the Goodman-
  Bacon decomposition, so we instead used fixed weights within each city based on their average
  population throughout the study period. Additionally, Goodman-Bacon decompositions currently
  do not consider partial treatment values, so we round all of our treatment values meaning that
  all states that adopted an RTC law in a given (rounded) year are considered to be part of the
  same treatment group. Lastly, the procedure does not support unbalanced data, so we used a
  multiple imputation procedure by Honaker, King and Blackwell (2011) to fill in missing data. In
  Online Appendix C, we explain the imputation procedure and replicate the main findings using
  our balanced dataset of imputed values and show that the results do not change substantially from
  those of our complete case analysis.
    The Goodman-Bacon decomposition results are supportive of our conclusions. The calculated
  ATTs and relative weights of each type of comparison (the category “Timing Groups” combines
  both comparisons 1 and 2, which are currently not able to be disaggregated with the current Stata
  program when including control variables) for the regressions on firearm violent crime and firearm
                                                 19


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  robbery are presented in Table 5. In Online Appendix E, we provide equivalent tables for all crime
  outcome variables, and we also present decomposition plots showing the weight and ATT of each
  individual comparison. As illustrated in Table 5, the never vs. timing comparisons, which are not
  vulnerable to bias from heterogeneous treatment effects over time, are the most heavily weighted
  type of comparison. In every model the single most heavily weighted comparison of any two groups
  is the 1996 treatment group, consisting of 12 cities, to the 11 never-adopting cities.27 Across all
  regressions, the never-treated vs. timing comparisons consistently have higher estimated treatment
  effects greater than or roughly equivalent to the overall group of 2x2 comparisons, suggesting that
  the removal of “unclean” comparisons would increase our aggregate ATTs.


                           Table 5—: Goodman-Bacon (2021) Decomposition Results
                                                     Firearm Violent Crime    Firearm Robbery
                                                      Beta       Weight       Beta     Weight
                                  Timing Groups      -11.27         0.40      -11.38   0.42
                                 Always vs. Timing    7.58          0.02       14.45   0.02
                                 Never vs. Timing    39.93          0.43       44.90   0.42
                                 Always vs. Never     6.16          0.001      20.80   0.001
                                      Within         -52.71         0.15      -34.95   0.14
  Note: OLS decomposition weights for the regression on firearm violent crimes and firearm robberies from Table 2, with imputed
  data, rounded treatment values, and fixed 2019 population weighting. Missing data imputed using imputation procedure
  described in Appendix A.2.4.




    The Goodman-Bacon decomposition allows us to identify the weight of each 2x2 comparison in
  the regression. Using this information, we can conduct weighted balance tests of the covariates
  used in our regressions. Following the reweighted balance testing procedure proposed in Goodman-
  Bacon (2019), we determine the “balance weight” for each timing group (e.g all cities that passed
  RTC laws in 1996 constitute a single timing group) based on the relative weight of the comparisons
  in which it is used as a treatment group versus the comparisons in which it is used as a control
  group. We then run a cross-sectional regression of each covariate on a dummy variable representing
  whether a timing group is weighted more as a treatment group than it is a control group in
  the overall regression. These regressions are weighted by each timing group’s “balance weight.”
  The reweighted balance test provides a more accurate assessment of the similarity (with respect to
  covariates) of the treated vs. counterfactual comparison in the regression than a traditional balance
  test.
    Table 6 indicates reasonable covariate balance between our treated and counterfactual groups.
    27 The 1996 treatment group consists of: Austin, Charlotte, Dallas, El Paso, Fort Worth, Houston, Las Vegas, Oklahoma
  City, Philadelphia, Raleigh, San Antonio, and Tulsa. The never-treated cities are: Baltimore, Boston, Fresno, Long Beach, Los
  Angeles, New York, Oakland, Sacramento, San Diego, San Francisco, and San Jose.
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          Table 6—: Goodman-Bacon (2021) Reweighted Balance Test, Firearm Violent Crime


                                                                                      Percent Hispanic     Percent Female
                      Percent 18 to 24     Percent 25 to 44       Percent Black
                                                                                                          Headed Households

  Treatment Group            0.16               −0.99                 −0.19                 0.89                 −0.76
                           (0.71)               (0.65)                (7.00)               (9.01)                (1.51)
                          p = 0.83             p = 0.13              p = 0.98             p = 0.93              p = 0.62
  N                         1,763                1,763                 1,763                1,763                 1,763

                       Percent Living     Percent in Poverty Per Capita Income             Lagged           Lagged Officers
                           Alone                                                        Incarceration

  Treatment Group          −0.68                −1.09                −444.13               119.89                −0.01
                           (1.13)               (1.45)               (167.08)              (45.78)               (0.58)
                          p = 0.55             p = 0.46              p = 0.01             p = 0.01              p = 0.99

  N                         1,763                1,763                 1,763                1,763                 1,763
  Note: To create balance weights, we sum the decomposition weight for all 2x2 comparisons where a group k is the treatment
  group and subtract the sum of the decomposition weights for all 2x2 comparisons where group k is the control group. We then
  create a dummy that equals one for all groups k for whom the balance weight is positive. The coefficients in the table represent
  the results of a cross-sectional regression of each covariate on that dummy, weighting by the balance weight. To match the
  analysis on firearm violent crime, Louisville, Omaha, Miami, and Jacksonville are dropped from the regression.




  Most covariates show only small differences between the treated and counterfactual groups that are
  not statistically significant at a meaningful level. While the difference in per capita income between
  the treated and counterfactual groups that is significant at the 5 percent level, the difference of
  $444 is marginal compared to the average per capita income in our sample of $3921 (both values in
  1967 dollars). As noted in Donohue, Aneja and Weber (2019), RTC states had larger increases in
  incarceration than other states following RTC adoption, and we observe that treatment observations
  have higher incarceration levels in our panel. If we restrict the comparison to only the years prior
  to RTC, however, we find no statistically significant difference between ever-treated and never-
  treated cities (see Online Appendix F for details). Thus, we conclude that generally the regression
  counterfactual is reasonably similar to the treatment group on observable covariates.


                                                         V.   Discussion



      In this section, we revisit our theoretical model and discuss the implications of our empirical
  findings for how we understand the effect of RTC on criminal behavior and policing. We then
  explain why the greater proportion of robberies committed by “career criminals” may explain the
  more sizable effects for RTC on robbery compared to homicide and aggravated assault. Finally, we
  compare our empirical results to other findings from the recent literature.
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                         A.    Deterrence is Outweighed by Criminogenic Effects of RTC Laws


    One of the major theoretical and empirical shortcomings of the policy discourse concerning the
  impact of laws promoting gun carrying outside the home is the implicit assumption that there are
  only two sets of actors relevant to the inquiry: criminals who will tend to be deterred by RTC
  laws and permit holders who may use their guns in a criminal fashion, either in a moment of anger
  or provocation or in some opportunistic act. This paper widens the lens with a theoretical model
  that shows that much of the prior literature has overlooked the numerous unintended consequences
  of RTC laws, which uniformly tend to elevate crime. Specifically, the prior literature has largely
  ignored the ways in which police and criminals respond to RTC laws in ways that increase crime
  and its social costs.
    Recall that our theoretical model suggests that the impact of RTC laws on crime can be de-
  composed into three key effects: the facilitation effect (increased ease of obtaining and using guns)
  and declining police effectiveness both work to increase crime, and the deterrence effect (increased
  threat of retaliation from their victims, thereby increasing the perpetrators risk of injury, death, or
  arrest) pushes in the opposite direction.28 The literature appears to be converging on the finding
  that the net effect of RTC laws is to significantly elevate violent crime (Cook and Donohue, 2017;
  Donohue, 2022), and this paper adds to this literature by once again illustrating the harmful net
  effect of RTC laws both with an updated state-level panel data analysis and also using a new data
  set of major U.S. cities. The most important new contribution of this work goes further to establish
  empirically how changes in the behavior of criminals and police following the adoption of RTC laws
  stimulate crime. While permit holders will also be influenced by the passage of RTC laws in ways
  both good and ill, this paper shows that the criminogenic effects of RTC laws broadly stimulate
  firearm violent crimes.
    Our finding that the net effect of RTC laws is crime-inducing implies that the combination of
  the criminogenic influences of RTC laws outweigh any associated deterrence effect associated with
  RTC adoption, though we still have not empirically tested for the direct presence of any deterrent
  effect.29 Recent work on legal expansions on defensive use of force have also found that any beneficial

     28 As noted in Section II, the increased threat of facing an armed victim may cause some criminals to respond not by
  foregoing crime, but rather by carrying out offenses with firearms whereas they previously would have used another weapon or
  gone unarmed.
     29 There is anecdotal evidence of some thwarting, injuring, and killing of criminals by permit holders as well as anecdotal
  evidence of permit holders inadvertently killing noncriminals or trying to portray their own criminal assaults as self-defense gun
  use. Prior empirical research has linked observable victim precaution measures, such as private security (Meehan and Benson,
  2017), security alarm systems (Zimmerman, 2014), and neighborhood public safety organizations (Cook and MacDonald, 2011),
  to lower rates of robbery. Ayres and Levitt (1998) analyze the staggered rollout of Lojack across US geographic markets and
  find that the introduction of Lojack decreased auto-theft rates, which suggests that the deterrence effect of unobservable victim
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  deterrence they afford has been outweighed by their criminogenic effects. Specifically, Cheng and
  Hoekstra (2013) and McClellan and Tekin (2017) find that the adoption of stand-your-ground
  laws on balance escalates violence and has led to statistically significant increases in homicides.
  Like these two studies, we are unable to directly measure the deterrence effect of increased firearm
  carrying on crime, but we show that such an effect, if it exists, is small compared to the criminogenic
  effects of RTC laws. This point is driven home most dramatically by the fact that we find that
  RTC laws induced large increases in robberies since this is the crime most often committed outside
  the home with the largest potential for RTC-induced deterrence (Cook, Moore and Braga, 2004).30



  How Large is the Policing Effect?. — Our results showed that RTC laws decreased the police
  clearance rates across many violent crime categories. Our finding that the drop in clearance rates
  does not change substantially when controlling for the rate of violent crime suggests that the
  decrease in clearance rates is driven by causes other than police being overwhelmed with the
  need to address increased violent crime. Possible other factors could include the taxing of police
  resources to deal with the RTC-induced increases in gun thefts, accidental gun discharges and
  shootings, processing of gun permits, and the array of factors that flow from police interactions
  with a more heavily armed public. Specifically, police effectiveness may be undermined because
  officers may be more hesitant to engage with a more heavily armed civilian population (Donohue,
  Aneja and Weber, 2019).31 In addition to this police “pull-back” effect, there is little doubt that
  police react more aggressively because of their fears about being shot, and the deaths and beatings
  at police hands that emanate from this fear can degrade police-community relations in ways that
  further dampens police effectiveness at solving crime (as the community pulls back from assisting
  the police).
    Table 3 revealed that RTC laws cause the probability of arrest for violent crime to fall by 12.96
  percent, which would translate to about a 5.4 percentage point reduction relative to the population-
  weighted average clearance rate of 42 percent in adopting cities the calendar year immediately

  protection can have positive externalities even for unprotected victims. It will take further work to establish if there is any
  similar protective effect from concealed carry, and also to ascertain whether and to what extent criminals respond with greater
  violence to all potential victims because they cannot observe those who are carrying weapons.
     30 Cook, Moore and Braga (2004) also notes that Lott (2000), which supersedes the work from Lott and Mustard (1997),
  provides little support for RTC laws reducing robbery, while his reported results for homicide are generally negative and
  statistically significant. Cook, Moore and Braga (2004) suggests that such findings are inconsistent with the predicted deterrence
  effect of RTC laws.
     31 This effect is distinct from the de-policing hypothesis in response to “viral” incidents of deadly force on police effectiveness
  studied in Devi and Fryer Jr (2020) and other literature investigating the potential “Ferguson effect,” as discussed in Donohue
  (2017). We note that work in this area is still preliminary, and police fear for their personal safety due to the potential increase
  in confrontations with armed civilians is distinct from police concerns about the consequences of the increased salience of police
  activity.
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  preceding RTC adoption.32 Previous empirical estimates place the elasticity of violent crime with
  respect to arrest rates in the neighborhood of -0.225 to -0.9, and between -0.26 and -0.5 for the
  elasticity of robbery with respect to arrests (see Bun et al. (2020), pp. 2308-2310, for a summary
  of estimates). If the true elasticity falls within the range given by the literature, then our empirical
  estimates would imply that impaired police effectiveness due to RTC laws could be responsible
  for an increase in violent crime of roughly 3 to 12 percent. This seems within the right order
  of magnitude compared to our estimate of the aggregate effect of RTC laws (which includes the
  facilitation and deterrence effects) driving a 13 percent increase in violent crime rates.



  How Large is the Facilitation Effect?. — Our empirical analysis also suggests that RTC laws
  increase the total value of stolen guns by around 35 percent, providing the first causal estimate of
  the effect of RTC laws on gun thefts. Compared to the literature on the elasticity of crime with
  respect to arrests, fewer studies have estimated the relationship between crime and stolen guns.
  Khalil (2017) estimates that the elasticity of of firearm assaults with respect to illegal firearm flows
  within the last year is 0.15, which would suggest that the 35 percent increase in stolen guns due
  to RTC laws would lead to a 5 percent increase in firearm assaults.33 Khalil’s estimated harm
  from gun theft may also be understated since it does not consider how illegal gun flows may cross
  borders, creating negative spillover effects. Studies of firearms recovered in Chicago between 2009
  and 2013 (Cook et al., 2014) and Boston between 1991 and 1995 (Braga, 2017) suggest that around
  60 to 70 percent of guns recovered come from out of state, and Knight (2013) suggests that guns
  may flow from states with weaker gun laws to those with stronger gun laws. The large externalities
  associated with increased gun theft in a particular jurisdiction suggest that our estimates understate
  the harmful impact of RTC laws on crime and clearance rates.



  Criminogenic Mechanisms and the Proportion of Violent Crimes Committed with a Firearm.
  — For both robberies and overall violent crimes, our results showed a strong and significant increase
  in firearm crime, positive but insignificant point estimates on nonfirearm crimes, and marginally

    32 Similarly, the estimate that robbery clearances fall by 14.90 percent due to RTC (Table 3) translates to a 4.0 percentage
  point decline in the probability of arrest relative to the weighted average clearance rate of 27 percent the year prior to RTC
  adoption in our sample.
    33 While the Kahlil study is impressive in many respects, Kahlil acknowledges the challenges for his estimation strategy
  without plausibly exogenous variation of gun theft. Nonetheless, this estimate may be within the right order of magnitude.
  Prisoner surveys suggest that less than three percent of incarcerated individuals who used a gun to commit a felony stole the
  gun themselves but about a quarter to a third of them obtained guns on the black market (and an unknown proportion obtained
  the gun from a friend or relative who obtained the weapon illegally). Assaults are by far the most common crime committed
  with firearms, so an estimated elasticity of 0.15 of firearm assaults with respect to illegal gun flows within the last year does
  not seem unreasonable.
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  significant positive effects for overall crime. The difference in magnitude of findings on firearm and
  nonfirearm crimes indicate that in addition to increasing total rates of violent crimes, RTC laws
  also shift the composition of crimes towards more frequent criminal firearm usage. This pattern is
  consistent with our hypothesis that both the facilitation effect, which would increase the utility of
  firearm crimes, and declines in police effectiveness, which would increase both the utility of firearm
  and nonfirearm crimes, contribute to increases in crime linked to RTC laws. It is also consistent
  with the possibility that criminals arm themselves proactively due to the perceived increased threat
  of meeting armed resistance. Aside from providing further evidence bolstering our hypothesis, the
  shifting composition of violent crimes towards increased firearm usage is striking in and of itself
  due to its societal implications. Firearm robberies are far more likely to result in murder and
  serious injury than nonfirearm robberies, which increases the social burden from RTC laws (Cook,
  1987). Moreover, firearm robberies are more lucrative, and therefore more costly to society, than
  nonfirearm robberies.

                                    B.    RTC’s Heterogeneous Effects by Crime Type


    The statistically significant estimates that RTC laws increase overall firearm violent crime as
  well as the component crimes of firearm robbery and firearm aggravated assault by remarkably
  large amounts with an attendant finding of no sign of any benefit from RTC laws represent a
  remarkable indictment of permissive gun carrying laws. Perhaps the most noteworthy and novel
  result is the finding that RTC laws increase firearm robbery by a striking 32 percent. Our estimates
  of the varying declines in police effectiveness across different crime types, as well as Khalil (2017)’s
  findings on the elasticity of stolen guns relative to different crime types, suggest that it is reasonable
  to expect heterogeneous effects of RTC laws on different types of violent crime.
    One key distinction between robberies and other components of violent crime that may be driving
  heterogeneous treatment effects is that a significantly larger share of robberies are committed by
  “career criminals.”34 These criminals differ from other individuals in their risk assessment due
  to their experience in criminal settings (Anwar and Loughran, 2011). We reason that most will
  respond to RTC laws not by ending their criminal careers but rather by adjusting their behavior
  to continue to effectuate their criminal designs by using guns themselves and more aggressively
  confronting their victims to foreclose the prospect of armed resistance. They are aided in these
    34 While the share of each type of violent crime that is committed by career criminals is difficult to determine, a proxy for
  this may be the share of each type of crime that is committed by strangers. National crime victimization data suggests that the
  proportion of robberies committed by strangers is substantially higher than the proportion of aggravated assaults or homicides
  committed by strangers (Harrell, 2012).
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  efforts by the law-abiding citizens who carry guns outside the home, thereby leading to their theft
  on the order of about 100,000 stolen guns per year and by the cascade of influences operating
  on police that ultimately result in lower police effectiveness, as shown in our documentation of
  substantial drops in the clearance rates of violent crime.
    Since an influx of stolen guns and diminished police effectiveness are both factors that can lead
  to the success and profitability of criminal misconduct, we would expect that the criminogenic
  effects of RTC laws are likely to be stronger among career criminals than other potential criminals.
  The illicit facilitation effect mechanism through increased gun theft will disproportionately aid
  career criminals, and we suspect for three reasons that they will perceive the increased risk of
  victim retaliation to be smaller and the decreased risk of legal sanctions to be larger than other
  individuals will. First, because of their past experiences in crime, career criminals are likely to
  better assess the increased risk posed to them by an armed victim, and are thus less likely to inflate
  the increased risk due to risk averse preferences (Schulz, 2014). Second, their past experiences,
  social networks, and active interest in observing law enforcement, will make them more likely to
  perceive the RTC-induced declines in police effectiveness. Third, career criminals may be more
  selective about their victims and may simply choose to commit crimes against victims they predict
  are less likely to be armed or engineer their attacks in ways that thwart any defensive response.


                             C.   Situating Our Findings in Existing Literature


    By applying the methodology from Goodman-Bacon (2021), we join the emerging literature ap-
  plying new econometric techniques that provides evidence of the link between RTC laws and violent
  crime. Colmer and Doleac (2021) avoid many of the challenges we describe in the robustness sec-
  tion of our paper by instead studying how RTC laws affect the homicide-temperature relationship,
  finding that lenient gun laws lead to substantially greater increases in homicide as temperatures
  rise. McElroy and Wang (2017) employ a “seemingly inextricable dynamic differences (SIDiD)
  estimator” using a proxy for age-specific violent crime rates to study entry and exit behaviors of
  violent criminal cohorts and and find that RTC laws led to a substantial increase in violent crime.
    Comparison of our current city-level analysis of 1979-2019 data to the state-level panel data
  analysis for 1979-2014 in Donohue, Aneja and Weber (2019) may also be a useful benchmark, as
  both studies use a parsimonious set of socioeconomic and demographic covariates and are similar in
  many of their other specifications. Our present study has a higher estimate of the effect of violent
  crime, although the two estimates are not statistically distinct when compared with a two-sample
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  z-test (Clogg, Petkova and Haritou, 1995). If it is the case that RTC laws cause a larger increase
  in violent crime in our present study sample than in the study sample of Donohue, Aneja and
  Weber (2019) and in the updated state-level estimates we provide in this paper, one reasonable
  interpretation is that the harmful effect of RTC laws on violent crimes is greater in large urban
  areas than in other parts of the country. This may be due to the fact that there are more guns to
  steal in cities or that police effectiveness degrades more in cities, where most violent crimes occur.


                                                       VI.    Conclusion


    Using a novel data set on crime in the most highly populated US cities, we showed that RTC
  laws cause an increase in firearm violent crimes, robberies and aggravated assaults, and provide
  suggestive evidence of increases in overall violent crimes, robberies and aggravated assaults as well.
  We emphasize the importance of rigorous robustness checks of the various assumptions made in an
  empirical model. To that end, we use both context-dependent qualitative and quantitative demon-
  strations of the robustness of our population-weighted least squares regression to the possibility of
  non-parallel pretrends and bias due to heterogeneous treatment effects.
    We then provide important new information on two mechanisms that underlie these increases
  in crime following the adoption of RTC laws. The increasing firearm violence is facilitated by
  a massive 35 percent increase in gun theft (p = 0.06), with further crime stimulus flowing from
  diminished police effectiveness, as reflected in a 13 percent decline in violent crime clearance rates.
  Taking the midpoint of the relevant elasticities discussed above, these two factors would generate
  an 8.7 percent increase in violent crime, when the total increase in violent crime from RTC laws is
  estimated to be 13 percent.35 On this accounting, roughly two-thirds of the increase in violent crime
  resulting from RTC laws is caused by impaired policing and increased gun theft. It is plausible that
  two other factors whose individual effects we have not been able to estimate in this study contribute
  to this increase in firearm violence: 1) criminals who previously committed crime without carrying
  guns decided to arm themselves in response to the increased potential of armed resistance and 2)
  some permit holders responded to stressful situations by engaging in criminal violence with their
  newly carried weapons. At the same time, any benefits from deterrence or thwarting/incapacitating

     35 We noted that impaired police effectiveness due to RTC laws could increase violent crime by roughly 3 to 12 percent, so
  the above calculation takes the midpoint value of 7.5 percent. Using Khalil (2017)’s measure of determining elasticities of each
  component of violent crime with respect to stolen guns, we estimate that overall firearm violent crime has an elasticity of about
  0.10 with respect to stolen guns, based on the relative proportion of each sub-type of firearm violent crime. Given that firearms
  were used in about 34 percent of violent crimes in our sample, a reasonable estimate is that the elasticity of violent crime with
  respect to gun theft is in the neighborhood of 0.034. This means that a 35 percent increase in stolen guns would lead to an
  additional increase in violent crime of 1.2 percent. The combined increase in violent crime from these (admittedly imprecise)
  estimates would be 7.5 + 1.2 = 8.7 percent.
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  criminals from increased gun carrying under RTC laws would dampen crime. All we can conclude
  at this time is that the combined effect of these unobserved factors seems to explain only half as
  much of the violent crime increase as the mechanisms we have measured.36

    These findings are illuminating for both policymakers and researchers considering the effect of
  different types of gun laws on criminal behavior. Our study investigates the criminogenic effects
  associated with increased gun carrying. The same mechanisms we identify in our paper with respect
  to increased gun carrying are relevant in other policy contexts as legal changes that promote or
  decrease gun theft will presumably have predictable repercussions for criminal activity. Similarly,
  the end of the federal assault weapons ban and the attendant federal ban on high-capacity magazine
  ban or eliminating gunfree zones might well be associated with declines in police effectiveness.
  Certainly, the experience in the Parkland High School mass shooting in 2018 and the Uvalde mass
  shooting of 2022 were examples of police reluctance to confront a teenage killer armed with an AR-
  15. A key contribution of our article is to advance our understanding of the mechanisms governing
  criminal and police responses to gun laws, thereby clarifying how these laws may affect crime and
  public safety.

    Our findings suggest a number of avenues for future research. First, while our study contributes to
  the literature finding that RTC laws elevate crime on balance, more work needs to be done to tease
  out the individual contributions of the three factors whose combined effect (but not necessarily their
  individual effects) is likely to be small in comparison to the criminogenic effects we have identified
  herein. For example, it will be interesting to nail down whether there is any detectable benefit
  associated with these laws and if the burdens of the law that we have clearly identified fall equally on
  permit holders and others. Second, given the right data, it may be possible to clarify the reasons for
  RTC-induced declines in police effectiveness by measuring whether RTC laws reduce police-civilian
  interactions, effectively pose a tax on police time, degrade police-community relations, or diminish
  risky but effective crime-suppressing police interventions or operations. Third, more granular data
  on the black market for stolen guns and the flow of illegal firearms could clarify the extent to which
  firearms stolen under an RTC regime increase crime by converting thieves into violent criminals
  or simply increasing the weaponry available to violent criminals. Finally, Goodman-Bacon (2021)
  is only one of the many developments emerging from the active econometric methods research on

     36 Note that since the three other factors that we cannot individually estimate work in opposition (two would stimulate crime
  and one would suppress it), their individual effects could be meaningful, even if their combined influence was negligible. Using
  our elasticity calculations in footnote 38, above, we would surmise that the combined effect of all other factors, including these
  three and possibly others we have not addressed, would be to increase violent crime by about one-third of the total 13 percent
  increase that flows from RTC adoption.
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  staggered-adoption panel data analyses. Further research will likely refine the best econometric
  techniques in this domain.

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